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EXHIBIT “A”
                                                                                                                            Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 2 of 82



Claimant Source     Claimant Name                   Affected Property Address        City             State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia        Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                             from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                    Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                                  Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                      May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                                 Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
   1     Ex 10/79   Sheridan Beach Club             509 E Sheridan Street Unit 103   Dania Beach      FL      33004   [IX], [XV],             5/5/2011     Yes         1,150     Builder's Floor    Yes                                                                  Taishan            Photo                  2, 6, 11       J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                              509 SHERIDAN STREET 103
                    Condominium Number Three,                                                                         [XVI], [XVII]                                                   Plan                                                                                                                                                                                                                                                                                                    Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                    0.81                $88.98          $102,327.00                                                                           LAND TR                            Owner as of 6/9/15              Tax Records + Title/Deed          5/15/2007           Current Owner                                                                                                                               $0.00
                    Inc. (509 Sheridan Street 103                                                                                                                                                                                                                                                                                                                                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                              BURNS,SIDNEY T TRSTEE
                    Land Trust)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
   2     Ex 10/79 & 8227 Oak Street, LLC            104 Covington Meadows,           Covington        LA      70433   [XV], [XVI],            7/5/2011     Yes          890         Appraisal       Yes                                                                  Taihe              Photo                  21             I                                                                                                                                                           Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.            (985) 292-2300   jean@paullea.com
         Omni XX                                    Circle, Unit A                                                    [XVII], [XX]                                               Showing Floor                       0.79              $86.78            $77,234.20                                                                           8227 OAK STREET LLC                Owner as of 6/9/15              Condo Dues                        7/8/2015            Current Owner                                         724 East Boston Street                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                             Covington, LA 70433
   3     Ex 10/79 & 8227 Oak Street, LLC            104 Covington Meadows,           Covington        LA      70433   [XV], [XVI],            7/5/2011     Yes         1,476        Appraisal       Yes                                                                  Taihe              Photo                  15             I                                                                                                                                                           Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.            (985) 292-2300   jean@paullea.com
         Omni XX                                    Circle, Unit G                                                    [XVII], [XX]                                               Showing Floor                       0.79              $86.78           $128,087.28                                                                           8227 OAK STREET LLC                Owner as of 6/9/15              Tax Records + Title/Deed         10/18/2002           Current Owner                                         724 East Boston Street                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                             Covington, LA 70433
   4     Ex 10/79 & 8227 Oak Street, LLC            104 Covington Meadows,           Covington        LA      70433   [XV], [XVI],            7/5/2011     Yes         1,476        Appraisal       Yes                                                                  Taihe              Photo                  21             I                                                                                                                                                           Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.            (985) 292-2300   jean@paullea.com
         Omni XX                                    Circle, Unit H                                                    [XVII], [XX]                                               Showing Floor                       0.79              $86.78           $128,087.28                                                                           8227 OAK STREET LLC                Owner as of 6/9/15              Tax Records + Title/Deed         10/18/2002           Current Owner                                         724 East Boston Street                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                             Covington, LA 70433
   5     Ex 10/79 & 8227 Oak Street, LLC            104 Covington Meadows,           Covington        LA      70433   [XV], [XVI],            7/5/2011     Yes         1,476        Appraisal       Yes                                                                  Taihe              Photo                  18             I                                                                                                                                                           Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.            (985) 292-2300   jean@paullea.com
         Omni XX                                    Circle, Unit I                                                    [XVII], [XX]                                               Showing Floor                                                                                                                                                                                                                                                                                                                               724 East Boston Street
                                                                                                                                                                                                                     0.79              $86.78           $128,087.28                                                                           8227 OAK STREET LLC                Owner as of 6/9/15              Tax Records + Title/Deed         10/18/2002           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                             Covington, LA 70433
                                                                                                                                                                                     Footage
   6     Ex 10/79 & 8227 Oak Street, LLC            104 Covington Meadows,           Covington        LA      70433   [XV], [XVI],            7/5/2011     Yes         1,476        Appraisal       Yes                                                                  Taihe              Photo                  18, 21         I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
         Omni XX                                    Circle, Unit J                                                    [XVII], [XX]                                               Showing Floor                       0.79              $86.78           $128,087.28                                                                           8227 OAK STREET LLC                Owner as of 6/9/15              Tax Records + Title/Deed         10/18/2002           Current Owner                                       724 East Boston Street                                                                  $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                           Covington, LA 70433
   7     Ex 10/79 & 8227 Oak Street, LLC            106 Covington Meadows Circle, Covington           LA      70433   [XV], [XVI],            7/5/2011     Yes         1,476        Appraisal       Yes                                                                  Taihe              Photo                  15             I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
         Omni XX                                    Unit D                                                            [XVII], [XX]                                               Showing Floor                       0.79              $86.78           $128,087.28                                                                           8227 OAK STREET LLC                Owner as of 6/9/15              Tax Records + Title/Deed         10/18/2002           Current Owner                                       724 East Boston Street                                                                  $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                           Covington, LA 70433
   8     Ex 10/79   Abadi, Jamal and Hamzey         11546 Hammocks Glade Drive       Riverview        FL      33569   [XV], [XVI],            7/5/2011     Yes         1,550       Property Tax     Yes                                                                  Taishan            Photo                  11             J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              GONZALEZ DAVID                     Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                        Assessor's                       0.83              $91.18           $141,329.00                                                                                                                                          Tax Records + Title/Deed             9/12/2006              4/16/2014                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                              GONZALEZ ISAMARY                   Property on 6/9/15                                                                                                                        Bonita Springs, FL 34134
   9     RP         Abbott, Carl D. and Adele       10320 SW Stephanie Way, Unit Port St. Lucie       FL      34987   [III], [IX], [XV],      10/7/2009    Yes         1,250       Property Tax     Yes                                                                  Taishan            Photo                  5              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                    7-206; Port St. Lucie, Florida                                    [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                   Previous Owner, Did Not Own City or County Tax                                                                                            Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $112,600.00                                                                           FORECAR REALTY CORP                                                                                 4/21/2006              3/25/2011                                                                                                                                 $0.00
                                                    34987                                                                                                                        Document with                                                                                                                                                                                   Property on 6/9/15          Records                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
  10     RP         Abel, Kenneth                   10400 SW Stephanie Way           Port St. Lucie   FL      34987   [VII], [XV],            1/14/2011    Yes         1,209       Property Tax     Yes                                                                  Taishan            Photo                  5              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                    #5210                                                             [XVI], [XVII]                                                 Assessor's                       0.82              $90.08           $108,906.72                                                                           UNKNOWN                            Records Not Available                                                                                                                     27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                             Bonita Springs, FL 34134
  11     Ex 10/79   Abner, Hosey, Jr. and Cohelle D. 1528 Mims Street, NW            Birmingham       AL      35211   [II(A)], [XV],          9/16/2010    Yes         1595        Property Tax     Yes                                                                  Taihe              Photo                  13, 19         I                                                                                                                                                           McCallum Hoagland/           Eric Hoagland, Esq.                 (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                              ABNER HOSEY JR &                                                   City or County Tax
                                                                                                                      [XVI], [XVII],                                                Assessor's                       0.84              $92.27           $147,170.65                                                                                                              Owner as of 6/9/15                                                8/1/1995           Current Owner           Whitfield, Bryson & Mason,   905 Montgomery Highway, Suite                                                           $0.00
                                                                                                                      [XXI]                                                      Document with
                                                                                                                                                                                                                                                                                                                                              ROCHELLE D                                                         Records                                                                      LLP                          201
  12     Ex 10/79   Abraham, Kondoor and Mary       109 Pine Lane                    Lehigh Acres     FL      33971   [II(A)], [XV],          9/16/2010    Yes         1,125        Appraisal       Yes                                                                  ProWall            Photo                  43             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                              Showing Floor                                                                                                                                                CJJ REAL ESTATE                                                    City or County Tax                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88            $98,865.00                                                                                                              Owner as of 6/9/15                                                5/1/2005           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                              HOLDINGS, INC                                                      Records                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
  13     Ex 10/79   Abraham, Kondoor and Mary       111 Pine Lane                    Lehigh Acres     FL      33971   [II(A)], [XV],          9/16/2010    Yes         1,125      Builder's Floor   Yes                                                                  ProWall            Photo                  43, 44         G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                    Plan                                                                                                                                                   CJJ REAL ESTATE                                                    City or County Tax                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88            $98,865.00                                                                                                              Owner as of 6/9/15                                                2/1/2005           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                              HOLDINGS, INC                                                      Records                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  14     Ex 10/79   Abraham, Thomas and             8866 Cobblestone Point Circle    Boynton Beach    FL      33472   [II(A)], [XV],          9/16/2010    Yes         2,792     Builder's Floor    Yes                                                                  BNBMDB             Photo                  24             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Mariamma                                                                                          [XVI], [XVII]                                                   Plan                                                                                                                                                                                                                                                                                                                                 Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $251,503.36                                                                           THOMAS MARIAMMA                    Owner as of 6/9/15              Tax Records + Title/Deed          3/9/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  15     Ex 10/79   Abromatts, Clifford and         3437 Lago de Talavera            Wellington       FL      33467   [II(C)], [XV],          1/24/2011    Yes         4,411      Property Tax       No                                                                  Dragon Brand/      Photo                  24, 25, 26     A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Worobec, Janice                                                                                   [XVI], [XVII]                                                Assessor's                                                                            BNBM                                                                                                                                                                                                                 Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                                                                                                                                              LEE ALGUSTUS WALTON JR Previous Owner, Did Not Own
                                                                                                                                                                                 Document with                       0.82              $90.08           $397,342.88                                                                                                                              Tax Records + Title/Deed                         2/21/2007              8/30/2011            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                 Square Footage                                                                                                                                               & LEE SHEILA YVETTE    Property on 6/9/15                                                                                                       Richard J. Serpe             Coral Gables, FL 33134

  16     Ex 10/79   Acosta-Mesa, Wilda and Ariel    3913 10th Street SW              Lehigh Acres     FL      33976   [XIII], [XV],           7/5/2011     Yes         1,610      Property Tax      Yes                                                                  ProWall            Photo                  43, 44         G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                                                 City or County Tax
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.80              $87.88           $141,486.80                                                                           ACOSTA-MESA WILDA                  Owner as of 6/9/15                                               10/21/2008          Current Owner                                          12800 University Drive, Suite 600                  m                                  $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                                                                                                 Records                                                                                                     Fort Myers, FL 33907
  17     Ex 10/79   Adam’s Mortgage, LLC            4278 Tyler Circle                St. Petersburg   FL      33709   [XIII], [XV],           7/5/2011     Yes         1,455      Property Tax      Yes                                                                  Taihe              Photo                  18             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                   City or County Tax                                                                                          12800 University Drive, Suite 600                  m
                                                                                                                                                                                                                     0.82              $90.08           $131,066.40                                                                           ADAMS MTG LLC                      Owner as of 6/9/15                                               2/24/2011           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                   Records                                                                                                     Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
  18     Ex 10/79   Adams, Eddie and Rose           900 Union Avenue                 Bogalusa         LA      70427   [III], [VII], [XV],     10/7/2009    Yes         2,066        Appraisal       Yes                                                                  Taihe              Photo                  20             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XVI], [XVII]                                              Showing Floor                                                                                                                                                                                                                   City or County Tax                                                           LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                     0.79              $86.78           $179,296.16                                                                           ADAMS, EDDIE J. ET UX              Owner as of 6/9/15                                               11/28/2007          Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                 Records                                                                                                   425 W. Airline Hwy, Suite B
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
  19     Ex 10/79   Adams, John and                 10440 SW Stephanie Way, 4-       Port St. Lucie   FL      34987   [II], [IX], [XV],       3/15/2010    Yes           0             N/A          N/A                                                                  Taishan            Photo                  2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com                              See Promenade at
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own City or County Tax
                    Andrea(MAKB, LLC)               202                                                               [XVI], [XVII]                                                                                  0.82              $90.08              $0.00                                                                              MONICA P S HAMON                                                                                    9/18/2009              9/19/2013                                         12 SE 7th St #801                                                                       $0.00           Tradition
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records                                                                                                       Fort Lauderdale, FL 33301-3434
  20     Ex 10/79   Adams, Richard and Marilyn      5748 Stay Sail Ct.               Cape Coral       FL      33914   [XV], [XVI],            7/5/2011     Yes         4,128        Appraisal       Yes                                                                  Taishan            Photo                  2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              ADAMS RICHARD M +                                                  City or County Tax
                                                                                                                      [XVII]                                                     Showing Floor                       0.80              $87.88           $362,768.64                                                                                                              Owner as of 6/9/15                                               12/13/2004          Current Owner                                        900 W. Morgan Street                                                                 $293,073.71
                                                                                                                                                                                 Plan and Square
                                                                                                                                                                                                                                                                                                                                              MARILYN                                                            Records                                                                                                   Raleigh, NC 27603
  21     Ex 10/79   Adamson, Andre                  5650 NW 54th Avenue              Tamarac          FL      33319   [II(C)], [XV],          1/24/2011    Yes         3,629      Builder's Floor   Yes                                                                  Taishan            Photo                  2              J                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVI], [XVII]                                                    Plan                                                                                                                                                                                                                      City or County Tax                                                                                        14 Southeast 4th Street
                                                                                                                                                                                                                     0.81              $88.98           $322,908.42                                                                           ADAMSON,ANDRE                      Owner as of 6/9/15                                               12/26/2000          Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                 Records                                                                                                   Boca Raton, Florida 33432

  22     Ex 10/79   Adcock, Jerry                   3612 Chalona Drive               Chalmette        LA      70043   [XV], [XVI],            7/5/2011     Yes         1,602       Property Tax     Yes                                                                  Crescent City      Photo                  27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                                                                 City or County Tax
                                                                                                                      [XVII]                                                        Assessor's                       0.86              $94.47           $151,340.94                                                                           ADCOCK, JERRY R.                   Owner as of 6/9/15                                               5/23/2013           Current Owner                                          701 Poydras Street, Suite 3650                                                        $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                                                                                                 Records                                                                                                     New Orleans, LA 70139
  23     RP         Adolph, Jane                    1617 SE 8th Place                Cape Coral       FL      33990   [XIII], [XV],           7/5/2011     Yes         1,833        Appraisal       Yes                                                                  Taishan            Inspection Report      12             L                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                              Showing Floor                                                                                                                                                INDELLICATI GIOVANNI &             Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $161,084.04                                                                                                                                          Tax Records + Title/Deed             4/28/2008              1/23/2014                                                                                                                               $49,289.45
                                                                                                                                                                                 Plan and Square                                                                                                                                              CHICA CLAUDIA                      Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  24     Ex 10/79   Aguilar, Delsa                  1690 Renaissance Commons         Boynton Beach    FL      33426   [II(A)], [XV],          9/16/2010    Yes          817       Builder's Floor   Yes                                                                  Taishan            Affidavit of Andrew 2                 J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              EQUITY TRUST COMPANY Previous Owner, Did Not Own City or County Tax
                                                    Blvd. Unit 1209                                                   [XVI], [XVII]                                                    Plan                          0.82              $90.08            $73,595.36                         Lemmon                                                                                                                                                5/14/2007               9/9/2013                                           900 W. Morgan Street                                                                $93,674.58
                                                                                                                                                                                                                                                                                                                                              FBO; SELAME IRA, ROBERT Property on 6/9/15       Records                                                                                                                       Raleigh, NC 27603
  25     Ex 10/79   Aldi, Inc.                      6503 Interbay Boulevard          Tampa            FL      33611   [IX], [XIII],           5/5/2011     Yes         2,785      Property Tax      Yes                                                                  Taihe              Affidavit from      13                I                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.               (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XV], [XVI],                                                 Assessor's                                                                                               Rebuilding Together                                                                                                  City or County Tax                                                                                          14 Southeast 4th Street
                                                                                                                                                                                                                     0.83              $91.18           $253,936.30                                                                           ALDI INC                           Owner as of 6/9/15                                               6/28/2010           Current Owner                                                                                                                                $0.00
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                                                   Records                                                                                                     Boca Raton, Florida 33432
                                                                                                                                                                                 Square Footage
  26     Ex 10/79   Aldred, Timothy and Pearl       9001 Sunrise Lakes Blvd. #201 Sunrise             FL      33322   [XIII], [XV],           7/5/2011     Yes          850       Property Tax      Yes                                                                  Taihe              Affidavit of Lori      18             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                              ALDRED,TIMOTHY &                                                   City or County Tax
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.81              $88.98            $75,633.00                         Streit                                                                               Owner as of 6/9/15                                               3/31/2003           Current Owner                                        316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                                PEARL                                                              Records                                                                                                   Pensacola, FL 32502
  27     Ex 10/79   Aleman, Axas and Salazar,       376 NE 34th Avenue               Homestead        FL      33033   [VII], [XV],            1/14/2011    Yes         1,762      Property Tax      Yes                                                                  Taishan            Affidavit of Lori      2              J                                                                                                                                                           VM Diaz and Partners         Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                                                                                                                                                                                                                                              SUN REALTY                                                         City or County Tax
                    Enrique                                                                                           [XVI], [XVII]                                                Assessor's                        0.81              $88.98           $156,782.76                         Streit                                                                               Owner as of 6/9/15                                                4/4/2007           Current Owner                                        1900 Washington Ave., Suite 402                                                         $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                              INVESTMENTS INC                                                    Records                                                                                                   Miami Beach, FL 33139
  28     RP         Alexander, Henry and Penny      4968 Pauline Drive               New Orleans      LA      70126   [III], [VII], [XV],     10/7/2009    Yes         2,236      Property Tax      Yes                                                                  Taihe              Photo                  13, 17         I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                              CARTER STAFFORD D JR,  Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $211,234.92                                                                                                                              Tax Records + Title/Deed                         9/28/1995               7/2/2012                                         425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                              CARTER YOLANDA B, ETAL Property on 6/9/15                                                                                                                                    LaPlace, LA 70064
  29     Ex 10/79   Alexander, Kerry L. and         No. 3 Loren Lane                 Perkinston       MS      39573   [IX], [XV],             5/5/2011     Yes         1,717      Property Tax      Yes                                                                  Taihe              Photo                  15, 21         I                                                                                                                                                           Vaughn & Bowden, PA          Michael Beckman, Esq.               (239) 334-3933   michael@vilesandbeckman.
                                                                                                                                                                                                                                                                                                                                              ALEXANDER KERRY                                                    City or County Tax
                    Taunton, Kim                                                                                      [XVI], [XVII]                                                Assessor's                        0.84              $92.27           $158,427.59                                                                                                              Owner as of 6/9/15                                               6/14/2007           Current Owner                                        6350 Presidential Court                              com                                $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                              TAUNTON KIM                                                        Records                                                                                                   Fort Myers, FL 33919
  30     Ex 10/79   Alexander, Lynne                1660 Renaissance Commons         Boynton Beach    FL      33426   [XV], [XVI],            7/5/2011     Yes         1,460     Builder's Floor    Yes                                                                  C&K                Photo                  36             B                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              MAURO LANCE K &                    Owner as of 6/9/15, No Longer
                                                    Blvd., Unit 2505                                                  [XVII]                                                          Plan                           0.82              $90.08           $131,516.80                                                                                                                                            Tax Records + Title/Deed           6/22/2007             12/30/2016                                         900 W. Morgan Street                                                                  $95,424.70
                                                                                                                                                                                                                                                                                                                                              REYNOLDS CYNTHIA L                 Owns Property                                                                                                                             Raleigh, NC 27603
  31     RP         Alexis, Roselene and Louis,     4727 Rosalia Drive               New Orleans      LA      70163   [IX], [XV],             5/5/2011     Yes         1,707          Other         Yes                                                                  Taihe              Photo                  13, 17         I                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                    Exilus                                                                                            [XVI], [XVII]                                                                                                                                                                                                                                              Previous Owner, Did Not Own City or County Tax                                                                                            2800 Energy Centre
                                                                                                                                                                                                                     0.86              $94.47           $161,260.29                                                                           HARRELL TANISHA R                                                                                   6/14/2007              3/20/2013                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records                                                                                                       1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  32     Ex 10/79   Allen, Cathy Williams           3380 Montgomery Street           Mandeville       LA      70448   [IX], [XV],             5/5/2011     Yes         1,154          Other         Yes                                                                  Chinese            Photo                  37             C                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              WILLIAMS, CATHERINE
                                                                                                                      [XVI], [XVII]                                                                                  0.79              $86.78           $100,144.12      Manufacturer 2                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed         6/27/2002           Current Owner                                        900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                              MARIE                                                                                                                                                                        Raleigh, NC 27603
  33     Ex 10/79   Allen, Philip and Clarine       907 Eastfield Lane               Newport News     VA      23602   [II], [XV], [XVI],      3/15/2010    Yes         2,227      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice &     N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                       Assessor's                                                                                               Venture Project File                              SECRETARY OF VETERANS Owner as of 6/9/15, No Longer City or County Tax                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.95              $104.36          $232,409.72                                                                                                                                                                                9/4/2007              3/31/2017                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                AFFAIRS,              Owns Property                 Records                                                                                     Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                               Richard J. Serpe             Coral Gables, FL 33134
  34     RP         Almeida Properties, LLC         3325 Golden Drive, Apartments Chalmette           LA      70043   [II], [VII], [XV],      3/15/2010    Yes         4,542         Other          Yes                                                                  Crescent City      Photo                  27             D                                                                                                                                                           Thornhill Law Firm, Fayard & Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                                                    A-D                                                               [XVI], [XVII]                                                                                                                                                                                                                                              Previous Owner, Did Not Own City or County Tax                                                               Honeycutt APLC and N. Frank Thornhill Law Firm
                                                                                                                                                                                                                     0.86              $94.47           $429,082.74                                                                           BSD DEVELOPMENT, LLC                                                                                1/23/2007             12/15/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records                                                                          Elliot III, LLC              1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Slidell, LA 70458
  35     Ex 10/79   Almeida, Ximena                 3513 Golden Drive                Chalmette        LA      70043   [II], [XV], [XVI],      3/15/2010    Yes         3,856      Property Tax      Yes                                                                  Crescent City      Photo                  27             D                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                       Assessor's                        0.86              $94.47           $364,276.32                                                                           NGHS, LLC                                                      Tax Records + Title/Deed             11/8/2006              1/30/2007                                         900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                   Property on 6/9/15                                                                                                                        Raleigh, NC 27603
  36     RP         Almeida, Ximena Bragg, Elisa    3329 Golden Drive                Chalmette        LA      70043   [XIII], [XV],           7/5/2011     Yes         3,600      Property Tax      Yes                                                                  Crescent City      Photo                  27             D                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $340,092.00                                                                           NGHS, LLC                                                      Tax Records + Title/Deed             1/23/2007              12/6/2010                                         900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                        Raleigh, NC 27603
  37     Ex 10/79   Alonso, Miguel and Liudmila     5135 Balmer Street               Lehigh Acres     FL      33971   [XV], [XVI],            7/5/2011     Yes         1,969      Property Tax      Yes                                                                  Taishan            Photo                  12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              ALONSO MIGUEL +                                                    City or County Tax
                                                                                                                      [XVII]                                                       Assessor's                        0.80              $87.88           $173,035.72                                                                                                              Owner as of 6/9/15                                               8/23/2005           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                ALONSO LIUDMILA H/W                                                Records                                                                                                   Fort Myers, FL 33907
  38     Ex 10/79   Alonzo, Lana                    3205 Maureen Lane                Meraux           LA      70075   [III], [VII], [XV],     10/7/2009    Yes         1,550      Property Tax      Yes                                                                  Taihe              Photo                  15             I                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                    City or County Tax                                                                                        2800 Energy Centre
                                                                                                                                                                                                                     0.86              $94.47           $146,428.50                                                                           ALONZO, LANA GONZALES Owner as of 6/9/15                                                             4/5/2011           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                   Records                                                                                                   1100 Poydras Street
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70163
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 3 of 82



Claimant Source     Claimant Name                    Affected Property Address    City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of     Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                    Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square       Verficiation Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                        Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                 Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                       or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                   May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                              Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
  39     Ex 10/79   Altidor, Julie                   4757 Tuscan Loon Drive       Tampa            FL      33619   [II(A)], [IX],            9/16/2010    Yes         1,200      Property Tax     Yes                                                                   C&K                Photo               34             B                                                                                                                                                          Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                                                                                                                   [XV], [XVI],                                                    Assessor's                      0.83                $91.18          $109,416.00                                                                        MENDEZ WILMELIZ                                                  Tax Records + Title/Deed          4/22/2009               4/5/2017                                           27300 Riverview Center Blvd                                                            $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                Owns Property                                                                                                                              Bonita Springs, FL 34134
  40     Ex 10/79   Altizio, Ignazio and Macciavello, 19250 Stone Hedge Dr.       Tampa            FL      33647   [XIII], [XV],             7/5/2011     Yes         1,278      Property Tax     Yes                                                                   Taihe              Photo               14             H                                                                                                                                                          Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                    Giovanni                                                                                       [XVI], [XVII]                                                   Assessor's                      0.83                $91.18          $116,528.04                                                                        DANSKY JUSTINE TRUSTEE                                         Tax Records + Title/Deed            1/19/2007              5/19/2014                                           27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         Bonita Springs, FL 34134
  41     Ex 10/79   Alvarez, Ricardo                 8013 W. 36th Ave., Unit 3    Hialeah          FL      33157   [XV], [XVI],              7/5/2011     Yes         1,356      Property Tax     Yes                                                                   IMT                Photo               31             F                                                                                                                                                          Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVII]                                                          Assessor's                                                                                                                                             KF TRADING                         Previous Owner, Did Not Own City or County Tax                                                                                             Baron & Budd
                                                                                                                                                                                                                   0.81                $88.98          $120,656.88                                                                                                                                                                           1/26/2007             11/14/2014                                                                                                                                  $0.00
                                                                                                                                                                                Document with                                                                                                                                             INTERNATIONAL LLC                  Property on 6/9/15          Records                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  42     RP         Alveris, Lucille                 3220 Oaks Drive              Violet           LA      70092   [II], [VII], [XV],        3/15/2010    Yes         1,925      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                          Willis & Buckley               William Buckley, Esq.               (504) 488-6301   bill@willisbuckley.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                   Assessor's                      0.86                $94.47          $181,826.41                                                                        JILES, MICHAEL W., SR.                                         Tax Records + Title/Deed            12/9/2007              2/22/2008                                           3723 Canal Street                                                                      $0.00
                                                                                                                                                                                Document with
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15                                                                                                                         New Orleans, LA 70119
  43     Ex 10/79   Alveris, Nina Ricci, Dwight, Sr., 3009 Oak Drive              Violet           LA      70092   [XIII], [XV],             7/5/2011     Yes         1,639       Inspection      Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                          Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                          ALVERIS, NINARICCI                                                City or County Tax
                    Herbert and Ballard, Nita                                                                      [XVI], [XVII]                                                Showing Floor                      0.86                $94.47          $154,836.33                                                                                                           Owner as of 6/9/15                                              7/19/2006           Current Owner                                          701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                Plan and Under
                                                                                                                                                                                                                                                                                                                                          VERNEK                                                            Records                                                                                                     New Orleans, LA 70140
  44     Ex 10/79   Amadeo, Antonio and Oliva,       543 West Davis Blvd.         Tampa            FL      33606   [XIII], [XV],             7/5/2011     Yes         2,625      Property Tax     Yes                                                                   Taihe              Photo               18             I                                                                                                                                                          Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          OLIVA EDELBERTO G
                    Edelerto                                                                                       [XVI], [XVII]                                                   Assessor's                      0.83                $91.18          $239,347.50                                                                                                           Owner as of 6/9/15             Tax Records + Title/Deed          1/1/1992           Current Owner                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                Document with
                                                                                                                                                                                                                                                                                                                                          AMADEO ANTONIO J                                                                                                                                                              Fort Myers, FL 33907
  45     Ex 10/79   Amaral, Antonio and Isabel       5221 Athens Way              Venice           FL      34293   [II], [VII], [XV],        3/15/2010    Yes         1,709      Property Tax     Yes                                                                   IMT                Photo               33             F           AMARAL ANTONIO M                                                                                                                               Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                            City or County Tax
                                                                                                                   [XVI], [XVII]                                                   Assessor's                      0.83                $91.18          $155,826.62                                                                        AMARAL ISABEL M                    Owner as of 6/9/15                                              12/29/2006          Current Owner                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                Document with
                                                                                                                                                                                                                                                                                                                                                                                                            Records                                                                                                     Bonita Springs, FL 34134
  46     Ex 10/79   Ambrose, Rosalie                 7631 Scottwood Drive         New Orleans      LA      70128   [II], [VII], [XV],        3/15/2010    Yes         1,320       Inspection      Yes                                                                   Taihe              Photo               20             I                                                                                                                                                          Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                   [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                               City or County Tax                                                                                          855 Baronne Street                                   m
                                                                                                                                                                                                                   0.86                $94.47          $124,700.40                                                                        AMBROSE ROSALIE                    Owner as of 6/9/15                                               2/8/1991           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Plan and Under                                                                                                                                                                                                              Records                                                                                                     New Orleans, 70113
                                                                                                                                                                                  Air Square
  47     Ex 10/79   Ancer, Jason and Heather         21523 Draycott Way           Land O'Lakes     FL      34637   [VII], [XV],              1/14/2011    No          3,113      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                          Pro Se                         N/A                                 N/A              techjd99@yahoo.com                                Pro Se. His email is
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                              WILMINGTON SAVINGS                                                City or County Tax                                                                                                                                                                                                 techjd99@yahoo.com
                                                                                                                                                                                                                    0.83               $91.18          $283,843.34                                                                                                           Owner as of 6/9/15                                               7/2/2009           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                             FUND SOCIETY FSB                                                  Records
                                                                                                                                                                                Square Footage
  48     Ex 10/79   Andersen, Michael                2105 SW 39th Terrace         Cape Coral       FL      33914   [II(C)], [III],           10/7/2009    Yes         2,025     Builder's Floor    Yes                                                                  Taishan            Photo               7              J                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XV], [XVI],                                                      Plan                           0.80               $87.88          $177,957.00                                                                        ANDERSEN, MICHAEL                  Owner as of 6/9/15             Title/Deed                       10/10/2008          Current Owner                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                   [XVII]                                                                                                                                                                                                                                                                                                                                                                                             Bonita Springs, FL 34134
  49     Ex 10/79   Anderson, Alexander              309 Preservation Reach       Chesapeake       VA      23320   [II], [XV], [XVI],        3/15/2010    Yes         2,622       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                   [XVII]                                                          Assessor's                                                                                              Property Assessment                                                                                              City or County Tax                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.94              $103.26          $270,747.72                                                                        ANDERSON ALEXANDER D Owner as of 6/9/15                                                             6/4/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                               Records                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  50     Ex 10/79   Anderson, Clarence and           4113 Willow Street           New Orleans      LA      70115   [III], [VII], [XV],       10/7/2009    Yes          713        Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                          Martzell & Bickford          Scott Bickford, Esq.                  (504) 581-9065   srb@mbfirm.com
                    Constance                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                             ANDERSON CLARENCE J JR                                            City or County Tax                                                                                        338 Lafayette Street
                                                                                                                                                                                                                    0.86               $94.47           $67,357.11                                                                                               Owner as of 6/9/15                                                          1/10/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                             ANDERSON CONSTANCE P                                              Records                                                                                                   New Orleans, LA 70130
                                                                                                                                                                                Square Footage
  51     Ex 10/79   Anderson, Clarence and           4115 Willow Street           New Orleans      LA      70115   [III], [VII], [XV],       10/7/2009    Yes          713        Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                          Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                    Constance                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                             ANDERSON CLARENCE J JR                                            City or County Tax                                                                                          338 Lafayette Street
                                                                                                                                                                                                                    0.86               $94.47           $67,357.11                                                                                               Owner as of 6/9/15                                                          1/10/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                             ANDERSON CONSTANCE P                                              Records                                                                                                     New Orleans, LA 70130
                                                                                                                                                                                Square Footage
  52     Ex 10/79   Anderson, Clarence and           7510 Dalewood                New Orleans      LA      70126   [XV], [XVI],              7/5/2011     Yes         1,978        Appraisal       Yes                                                                  Taihe              Photo               17, 20         I                                                                                                                                                          Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                          ANDERSON CLARENCE J JR                                            City or County Tax
                    Constance                                                                                      [XVII]                                                       Showing Floor                       0.86               $94.47          $186,861.66                                                                                               Owner as of 6/9/15                                                          10/9/1987           Current Owner                                          338 Lafayette Street                                                                   $0.00
                                                                                                                                                                                Plan and Square
                                                                                                                                                                                                                                                                                                                                          PAPPAS WIFE CONSTANCE                                             Records                                                                                                     New Orleans, LA 70130
  53     RP         Magdalena Gardens Condo          240 W. End Drive, Unit 911   Punta Gorda      FL      33950   [II], [II(B)], [III],     10/7/2009    Yes         1,300      Builder's Floor   Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Association (Anderson, Samuel                                                                  [VII], [IX], [XV],                                                 Plan                                                                                                                                                                                                                                                                                               Budd, P.C.                     Baron & Budd
                    Gregory)                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                                                                                                                    0.80               $87.88          $114,244.00                                                                        NECKER PAUL & CAROL                                            Tax Records + Title/Deed            10/26/2006             2/11/2011                                           Dallas, TX 75219                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15



  54     Ex 10/79   Anderson, Timothy and Attorney 2492 North Landing Road, Suite Virginia Beach   VA      23456   [IX], [XV],               5/5/2011     Yes         1,600          Other         Yes                                                                  Venture Supply     Photo               38             K                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Landholdings, LLC              104                                                             [XVI], [XVII]                                                                                                                                                                                                          ATTORNEY                                                          City or County Tax                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.94              $103.26          $165,216.00                                                                                                           Owner as of 6/9/15                                               9/2/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                          LANDHOLDINGS LLC                                                  Records                                                                      Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Richard J. Serpe               Coral Gables, FL 33134
  55     Ex 10/79   Anderson, Valerie (Richard and   1010 Hollymeade Circle       Newport News     VA      23602   [II], [XIII], [XV],       3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Delores Jones/Valerie Jones)                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                              JONES RICHARD B JR &,                                             City or County Tax                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.95              $104.36          $187,534.92                                                                                                           Owner as of 6/9/15                                              8/14/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                             VALARIE H WILLIAMS                                                Records                                                                      Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
  56     Ex 10/79   Anderton, Gloria and George      6227 Paradise Point Dr.      Palmetto Bay     FL      33157   [III], [XV],              10/7/2009    Yes         2,920      Property Tax       No                                                                  Taishan            Photo               7              J                                                                                                                                                          Podhurst Orseck                Robert C. Josefsberg, Esq.          (305) 358-2800   rjosefsberg@podhurst.com                          BKC confirmed square
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            Suntrust International Center                                                                          footage.
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                           One S.E. 3rd Avenue, Suite 2700
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                          Miami, FL 33131




                                                                                                                                                                                                                                                                                                                                          CARLOS BARED                       Owner as of 6/9/15, No Longer
                                                                                                                                                                                                                    0.81               $88.98          $259,821.60                                                                                                                                         Tax Records + Title/Deed          9/10/2009              7/22/2015                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                          HANNA BARED                        Owns Property




  57     RP         Andreoli, Robert                 17827 Lake Azure Way         Boca Raton       FL      33496   [XV], [XVI],              7/5/2011     Yes         4,593        Appraisal       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVII]                                                       Showing Floor                                                                                                                                                                                Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                    0.82               $90.08          $413,737.44                                                                        KHANAT BARBARA                                                 Tax Records + Title/Deed            8/31/2006              9/19/2013                                                                                                                               $135,756.21
                                                                                                                                                                                Plan and Square                                                                                                                                                                              Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  58     RP         Anello, Joe and Delma            3957 Border Way              Virginia Beach   VA      23456   [II], [XV], [XVI],        3/15/2010    Yes         3,831       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice/   38             K                                                                                                                                                          Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                                            City or County Tax
                                                                                                                   [XVII]                                                          Assessor's                       0.94              $103.26          $395,589.06                         Photo                                          SCHWINDT SHAUN P SR                Records Not Available                                            8/8/2006               9/1/2010            Serpe                          580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                Document with
                                                                                                                                                                                                                                                                                                                                                                                                            Records                                                                                                     Norfolk, VA 23510
  59     Ex 10/79   Angel, Wendel and Dawn           2051 NW 3rd Terrace          Cape Coral       FL      33993   [XV], [XVI],              7/5/2011     Yes         1,973       Property Tax     Yes                                                                  Taishan            Photo               9              J                                                                                                                                                          Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          ANGEL WENDEL G + DAWN                                             City or County Tax
                                                                                                                   [XVII]                                                          Assessor's                       0.80               $87.88          $173,387.24                                                                                              Owner as of 6/9/15                                                           11/7/2008           Current Owner                                          12800 University Drive, Suite 600                    m                              $108,657.65
                                                                                                                                                                                Document with
                                                                                                                                                                                                                                                                                                                                          D                                                                 Records                                                                                                     Fort Myers, FL 33907
  60     RP         Anise, Maikel and Karen          9661 Cobblestone Creek       Boynton Beach    FL      33472   [II], [IX], [XV],         3/15/2010    Yes         3,791       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          9661 COBBLESTONE CREEK Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                   Assessor's                       0.82               $90.08          $341,493.28                                                                                                                           Tax Records + Title/Deed                        9/15/2006              5/15/2012                                           12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                Document with
                                                                                                                                                                                                                                                                                                                                          DRIVE LLC              Property on 6/9/15                                                                                                                                     Fort Lauderdale, FL 33301-3434
  61     Ex 10/79   Ankiel, Rick and Lory            138 Ocean Bay Drive          Jensen Beach     FL      34957   [II(B)], [VII],           12/6/2010    Yes         2,171      Builder's Floor   Yes                                                                  IMT                Photo               33             F                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XIII], [XV],                                                      Plan                                                                                                                                                                                   Previous Owner, Did Not Own City or County Tax                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                    0.82               $90.08          $195,563.68                                                                        RCA HOLDINGS LLC                                                                                   1/25/2007             12/17/2012                                                                                                                                  $0.00
                                                                                                                   [XVI], [XVII]                                                                                                                                                                                                                                             Property on 6/9/15          Records                                                                         Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  62     Ex 10/79   Ankum, Freda G.                  1016 North J. Street         Pensacola        FL      32501   [XIII], [XV],             7/5/2011     Yes         1,573     Builder's Floor    Yes                                                                  Taihe              Photo               13             I                                                                                                                                                          Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                   [XVI], [XVII]                                                     Plan                           0.85               $93.37          $146,871.01                                                                        ANKUM FREDA GAIL                   Owner as of 6/9/15             Tax Records + Title/Deed         9/21/2006           Current Owner                                          316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
  63     Ex 10/79   Antinarelli, Paulette            914 SW 23rd Street           Cape Coral       FL      33991   [II], [II(B)], [IX],      3/15/2010    Yes         2,252       Property Tax     Yes                                                                  ProWall            Photo               43             G                                                                                                                                                          Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XV], [XVI],                                                    Assessor's                       0.80               $87.88          $197,905.76                                                                        ANTINARELLI PAULETTE               Owner as of 6/9/15             Tax Records + Title/Deed         4/30/2004           Current Owner                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  64     Ex 10/79   Antoine, Carol                   209 Llama Drive              Arabi            LA      70032   [IX], [XV],               5/5/2011     Yes         1,456       Property Tax     Yes                                                                  Taihe              Photo               13             I                                                                                                                                                          Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                       0.86               $94.47          $137,548.32                                                                        HEFT, CAROL PHYLLIS                Owner as of 6/9/15             Tax Records + Title/Deed         7/13/1999           Current Owner                                          701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70141
  65     Ex 10/79   Antoun, Ivan                     3604-3606 Pakenham Drive     Chalmette        LA      70043   [III], [IX], [XV],        10/7/2009    Yes         1,976        Appraisal       Yes                                                                  Taihe              Photo               13             I                                                                                                                                                          Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                                                                                            City or County Tax
                                                                                                                   [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $186,672.72                                                                        ANTOUN, IVAN M.                    Owner as of 6/9/15                                               2/2/2009           Current Owner           Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                Plan and Square
                                                                                                                                                                                                                                                                                                                                                                                                            Records                                                                                                     303
  66     Ex 10/79   Aponte, Sandra Hallums, Baron    20442 SW 317th Street        Homestead        FL      33030   [II(A)], [III],           10/7/2009    Yes         1,964       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          VM Diaz and Partners           Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                                                                                                                                                                                                                                          SANDRA APONTE JTRS &                                              City or County Tax
                                                                                                                   [XV], [XVI],                                                    Assessor's                       0.81               $88.98          $174,756.72                                                                                                           Owner as of 6/9/15                                               7/1/2009           Current Owner                                          1900 Washington Ave., Suite 402                                                        $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             BARON V HALLUMS JTRS                                              Records                                                                                                     Miami Beach, FL 33139
  67     Ex 10/79   Appelman, Louis and Sara         1157 SW 39th Terrace         Cape Coral       FL      33914   [XV], [XVI],              7/5/2011     Yes         1,996       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          APPELMAN LOU +                                                    City or County Tax
                                                                                                                   [XVII]                                                          Assessor's                       0.80               $87.88          $175,408.48                                                                                                           Owner as of 6/9/15                                              12/21/2004          Current Owner                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                Document with
                                                                                                                                                                                                                                                                                                                                          APPELMAN SARA T/C                                                 Records                                                                                                     Fort Myers, FL 33907
  68     Ex 10/79   Ard, Tryan Chance                22424 Ard Road               Robertsdale      AL      36567   [XV], [XVI],              7/5/2011     Yes         1900        Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                          Daniell, Upton & Perry, P.C.   Jonathan Law                        (251) 625-0046   JRL@dupm.com
                                                                                                                                                                                                                                                                                                                                                                                                            City or County Tax
                                                                                                                   [XVII], [XXI]                                                   Assessor's                       0.84               $92.27          $175,313.00                                                                        ARD, TRYAN C                       Owner as of 6/9/15                                              11/10/2005          Current Owner                                          30421 State Highway 181                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                               Records                                                                                                     Daphne, Alabama 36527
  69     RP         Areces, Miguel and Jacqueline    5300 Seagrape Drive          Ft. Pierce       FL      34982   [II], [IX], [XV],         3/15/2010    Yes         1,326      Builder's Floor   Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          DAVID P KRUPA                      Previous Owner, Did Not Own City or County Tax
                                                                                                                   [XVI], [XVII]                                                      Plan                          0.82               $90.08          $119,446.08                                                                                                                                                                           7/21/2006             10/26/2011                                           12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                          VALERIE M KRUPA                    Property on 6/9/15          Records                                                                                                        Fort Lauderdale, FL 33301-3434
                                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 4 of 82



Claimant Source     Claimant Name                     Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                    Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                        Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                                 Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided      Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                       or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                   May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                              Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                       Sharefile
  70     Ex 10/79   Arevalo, Luis and Johns, Silvia   8218 Santa Monica Avenue       Tamarac           FL      33321   [III(A)], [IX],           9/16/2010    Yes         1,362      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                          Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                              AREVALO,LUIS E &                                                  City or County Tax                                                           Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                       0.81                $88.98          $121,190.76                                                                                                           Owner as of 6/9/15                                               6/6/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                             JOHNS,SILVIA E                                                    Records                                                                      Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  71     Ex 10/79   Arguello, John and Laura          12430 SW 50th Street, Unit 107 Miramar           FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,426     Builder's Floor    Yes                                                                  Taihe              Photo               14             H                                                                                                                                                          Baron & Budd, P.C.            Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVII]                                                            Plan                                                                                                                                                 ARGUELLO,JOHN S &                                                 City or County Tax                                                                                         Baron & Budd
                                                                                                                                                                                                                       0.81                $88.98          $126,885.48                                                                                                           Owner as of 6/9/15                                               2/4/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                              LAURA R                                                           Records                                                                                                    3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  72     Ex 10/79   Argueta, Gabriel and Garcia       2620 61st Street W             Lehigh Acres      FL      33971   [IX], [XV],               5/5/2011     Yes         1,524      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J           ARGUETA GABRIEL +                                                                                                                              Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                    Suyopa, Elisabeth                                                                                  [XVI], [XVII]                                                   Assessor's                       0.80               $87.88          $133,929.12                                                                        GARCIA SUYOPA                      Owner as of 6/9/15                                              12/14/2010          Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                    Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                              ELISABETH H/W
  73     Ex 10/79   Arnold, Gloria                    4385 Genoa Road                New Orleans       LA      70129   [II], [IX], [XV],         3/15/2010    Yes         3,401       Inspection       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                          Law Offices of Sidney D.      Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                       [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $321,311.36                                                                        ARNOLD GLORIA J                    Owner as of 6/9/15                                              10/30/2009          Current Owner           Torres, III                   8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                    Plan and Under
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                    303
  74     RP         Arnold, Mike and Nicole           9413 Brighton Avenue           Elberta           AL      36530   [III(A)], [VII],          9/16/2010    Yes         1,440      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                          Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              TURBERVILLE, NICHOLAS              Previous Owner, Did Not Own
                                                                                                                       [XV], [XVI],                                                    Assessor's                       0.84               $92.27          $132,868.80                                                                                                                                       Tax Records + Title/Deed            4/24/2003               6/5/2014                                          900 W. Morgan Street                                                                    $0.00
                                                                                                                       [XVII], [XXI]                                                Document with
                                                                                                                                                                                                                                                                                                                                              D ETAL MULLINS, DE                 Property on 6/9/15                                                                                                                        Raleigh, NC 27603
  75     Ex 10/79   Arquimides, Rafi, Jr. and         7557 County Road 721           Lorida            FL      33857   [XIII], [XV],             7/5/2011     Yes         2,808      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                          Pita Weber Del Prado          H.K. Skip Pita, Esq.                (305) 670-8060   spita@pdfirm.com
                    Alonso, Isel Y.                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                             RAFI ARQUIMEDES JR +                                                                                                                                                         9350 S. Dixie Hwy., Suite 1200
                                                                                                                                                                                                                        0.80               $87.88          $246,767.04                                                                                                           Owner as of 6/9/15             Tax Records + Title/Deed         3/12/2002           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                             ALONSO ISEL YAMILA                                                                                                                                                           Miami, FL 33156
                                                                                                                                                                                    Square Footage
  76     Ex 10/79   Arrington, Angel                  2113 Delightful Drive          Ruskin            FL      33570   [VII], [XV],              1/14/2011    Yes         1,402      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.83               $91.18          $127,834.36                                                                        ARRINGTON ANGELA                   Owner as of 6/9/15             Tax Records + Title/Deed         2/10/2006           Current Owner                                        4265 San Felipe, Suite 1000                           om                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Houston, TX 77027
  77     Ex 10/79   Arriola, Ruben and Martha,        17181 Morris Bridge Road       Thonotosassa      FL      33592   [II(C)], [XIII],          1/24/2011    Yes         3,652     Builder's Floor    Yes                                                                  Taihe              Photo               21             I                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                    Barriento, Marc                                                                                    [XV], [XVI],                                                      Plan                                                                                                                                                 ARRIOLA RUBEN                                                     City or County Tax                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.83               $91.18          $332,989.36                                                                                                           Owner as of 6/9/15                                              12/19/2000          Current Owner                                                                                                                                 $0.00
                                                                                                                       [XVII]                                                                                                                                                                                                                 ARRIOLA MARTHA                                                    Records                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
  78     Ex 10/79   Astrin, Scott and Terri           8600 Athena Court              Lehigh Acres      FL      33971   [II(C)],[III], [VII],     10/7/2009    Yes         1,322      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $116,177.36                                                                        ASTRIN SCOTT H + TERRI J Owner as of 6/9/15                                                        6/26/2006           Current Owner                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                       [XVII]                                                       Document with
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                   Bonita Springs, FL 34134
  79     Ex 10/79   Atianzar, Pedro and Sandra        3004 Nancy Street              Meraux            LA      70075   [II(A)], [III(A)],        9/16/2010    Yes         1,085      Property Tax      Yes                                                                  Taihe              Photo               14, 15         H, I                                                                                                                                                       Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                City or County Tax                                                                                        Baron & Budd
                                                                                                                                                                                                                        0.86               $94.47          $102,499.95                                                                        ATIANZAR, PEDRO V., JR.            Owner as of 6/9/15                                              1/27/2011           Current Owner                                                                                                                                 $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                               Records                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  80     RP         Atkins, Taddarreio and Mattea     955 Hollymeade Circle          Newport News      VA      23602   [II], [XIII], [XV],       3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                          Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own City or County Tax
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.95              $104.36          $187,534.92                                                                        BARONE DANIEL M,                                                                                   5/14/2007             11/19/2012            Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records                                                                                                      Norfolk, VA 23510
  81     Ex 10/79   Attard, Kenneth & Dahlfues,       194 SE 2nd Avenue              Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,398      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                              DAHLFUES,JOHN EDWIN &
                    John                                                                                               [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                City or County Tax                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $125,931.84                                                                        ATTARD,KENNETH        Owner as of 6/9/15                                                            8/2/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                                               Records                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                            CHARLES                                                                                                                                                                     Dallas, TX 75219
  82     Ex 10/79   Attard, Steve and Samantha        13369 Little Gem Circle        Ft. Myers         FL      33913   [III], [IX], [XV],        10/7/2009    Yes         2,278      Property Tax      Yes                                                                  Taishan            Photo               2, 6           J                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              ATTARD STEVEN +                                                   City or County Tax                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.80               $87.88          $200,190.64                                                                                                           Owner as of 6/9/15                                              6/22/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                             SAMANTHA                                                          Records                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  83     Ex 10/79   Atwell, Roger                     5516 Brixton Road              Williamsburg      VA      23185   [II], [XV], [XVI],        3/15/2010    Yes         2,115      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                         Assessor's                                                                                               Property Assessment                                                                                              City or County Tax                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.96              $105.46          $223,047.90                                                                        ATWELL, ROGER A                    Owner as of 6/9/15                                               2/2/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                               Records                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  84     Ex 10/79   Aubert, John and Pamela           7400 Mayo Blvd.                New Orleans       LA      70126   [III], [VII], [XV],       10/7/2009    Yes         1,800      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                          Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                              AUBERT JOHN P JR                                                  City or County Tax
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $170,046.00                                                                                                           Owner as of 6/9/15                                              3/26/2003           Current Owner                                        4265 San Felipe, Suite 1000                           om                                 $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                              AUBERT PAMELA                                                     Records                                                                                                   Houston, TX 77027
  85     Ex 10/79   Auguste, Alide                    2182 SE North Blackwell Drive Port St. Lucie     FL      34952   [XIII], [XV],             7/5/2011     Yes         2,091      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $188,357.28                                                                        ALIDE AUGUSTE                      Owner as of 6/9/15                                              11/14/2006          Current Owner                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                   Bonita Springs, FL 34134
  86     Ex 10/79   Auker, Dan and Frances            10820 Tiberio Drive            Ft. Myers         FL      33913   [II], [XV], [XVI],        3/15/2010    Yes         2,245      Property Tax      Yes                                                                  Taishan            Photo               2, 6           J                                                                                                                                                          Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                              AUKER FRANCES M TR +
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                                                                                                City or County Tax                                                                                        Baron & Budd
                                                                                                                                                                                                                        0.80               $87.88          $197,290.60                                                                        AUKER DANIEL B TR FOR Owner as of 6/9/15                                                           8/21/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                               Records                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                            FRANCES M AUKER TRUST                                                                                                                                                       Dallas, TX 75219
  87     RP         Aumack, Gary and Nancy            1195 SE Westminster Place      Stuart            FL      34997   [III], [XV],              10/7/2009    Yes         1,527     Builder's Floor    Yes                                                                  Chinese            Photo               37             C                                                                                                                                                          Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              ORLANDI ARTHUR R &                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                     Plan                           0.82               $90.08          $137,552.16      Manufacturer 2                                                                                                                   Tax Records + Title/Deed            11/15/2001             4/11/2013                                         12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                              DONNA L                            Property on 6/9/15                                                                                                                       Fort Myers, FL 33907
  88     Ex 10/79   Austin, Jason and Tara            403 Dearmanville Drive         Anniston          AL      36207   [III], [VII], [XV],       10/7/2009    Yes         2564         Appraisal       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                          McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                    (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                              AUSTIN, JASON L & TARA                                            City or County Tax
                                                                                                                       [XVI], [XVII],                                               Showing Floor                       0.82               $90.08          $230,965.12                                                                                                           Owner as of 6/9/15                                              9/14/2009           Current Owner           Irby                         905 Montgomery Highway, Suite                                                            $0.00
                                                                                                                       [XXI]                                                        Plan and Square
                                                                                                                                                                                                                                                                                                                                              TALLEY                                                            Records                                                                                                   201
  89     Ex 10/79   Avenue A, LLC (D.J. Craven,       6700 Avenue A                  New Orleans       LA      70124   [III], [IX], [XV],        10/7/2009    Yes         2,369        Appraisal       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Member)                                                                                            [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.86               $94.47          $223,799.43                                                                        AVENUE A LLC                       Owner as of 6/9/15             Tax Records + Title/Deed         6/23/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                                                                                                                                          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  90     RP         Avery, Janet                      10671 Camarelle Circle         Ft. Myers         FL      33913   [II], [IX], [XV],         3/15/2010    Yes         1,227      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                          Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              HORVATH DARLYNN R +                Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.80               $87.88          $107,828.76                                                                                                                                       Tax Records + Title/Deed            11/30/2007             7/22/2011                                         12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                              HORVATH TODD R J/T                 Property on 6/9/15                                                                                                                       Fort Myers, FL 33907
  91     Ex 10/79   Avner, Brett and Wendy            18020 Via Bellamare Lane       Miramar Lakes     FL      33913   [II], [XV], [XVI],        3/15/2010    Yes         3,525      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                       [XVII]                                                          Assessor's                       0.80               $87.88          $309,777.00                                                                        AVNER WENDY                        Owner as of 6/9/15                                              6/16/2005           Current Owner                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                               Records                                                                                                   Bonita Springs, FL 34134
  92     RP         Ayala, Cynthia                    4720 S.W. 166th Court          Miami             FL      33185   [IX], [XV],               5/5/2011     Yes         1,626        Appraisal       Yes                                                                  Taishan            Photo               8              J                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                Showing Floor                                                                                                                                             LIDUVINA LIMA LE                   Previous Owner, Did Not Own City or County Tax                                                              Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $144,681.48                                                                                                                                                                           12/30/2010              6/9/2011                                                                                                                                  $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                           REM DOUGLAS M OTERO                Property on 6/9/15          Records                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  93     Ex 10/79   Ayanbadejo, Oladele and           1360 Bayview Drive             Fort Lauderdale   FL      33304   [II(B)], [III], [IX],     10/7/2009    Yes         3,782      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Uzcategu, Natalee                                                                                  [XV], [XVI],                                                    Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                               Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $336,522.36                                                                        TEACH USA INC                                                    Tax Records + Title/Deed          2/26/2008              4/19/2016                                                                                                                                  $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                Owns Property                                                                                               Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  94     RP         Ayers, Randy and Carrie           2379 Ridgemont Drive           Birmingham        AL      35244   [III(A)], [VII],          9/16/2010    Yes         1,379        Appraisal       Yes                                                                  Taihe              Photo               17, 20         I                                                                                                                                                          McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                    (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                              BARNETT CHAD A &                   Previous Owner, Did Not Own
                                                                                                                       [XV], [XVI],                                                 Showing Floor                       0.84               $92.27          $127,240.33                                                                                                                                       Tax Records + Title/Deed            10/31/2006              6/2/2011            Irby                         905 Montgomery Highway, Suite                                                            $0.00
                                                                                                                       [XVII], [XXI]                                                Plan and Square
                                                                                                                                                                                                                                                                                                                                              CECILY L                           Property on 6/9/15                                                                                                                       201
  95     Ex 10/79   Aymerich, Jason                   11318 Bridge Pine Drive        Riverview         FL      33569   [XV], [XVI],              7/5/2011     Yes         2,072      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XVII]                                                          Assessor's                       0.83               $91.18          $188,924.96                                                                        AYMERICH JASON                     Owner as of 6/9/15             Tax Records + Title/Deed         11/6/2006           Current Owner                                        27300 Riverview Center Blvd                                                            $66,077.10
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  96     RP         Ayodeji, Olayiwola and Kifayat 1027 Hollymeade Circle            Newport News      VA      23602   [II(A)], [XV],            9/16/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                          Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own City or County Tax
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.95              $104.36          $187,534.92                                                                        NORI JANNA L                                                                                        6/5/2006              6/26/2013            Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                Property on 6/9/15          Records                                                                                                      Norfolk, VA 23510
  97     Ex 10/79   Azor, Harry and Stephania         12430 SW 50th Street, Unit 105 Miramar           FL      33027   [III], [VII], [XV],       10/7/2009    Yes         1,426      Property Tax      Yes                                                                  Taihe              Photo               14, 15         H, I                                                                                                                                                       Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                              27300 Riverview Center Blvd
                                                                                                                                                                                                                        0.81               $88.98          $126,885.48                                                                        TODIPAL 5 LLC                                                  Tax Records + Title/Deed            9/24/2008             10/28/2011                                                                                                                                  $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                       Bonita Springs, FL 34134
                                                                                                                                                                                    Square Footage
  98     RP         Babamov, Hristo and Cvetanka      11570 Hammocks Glade Drive     Riverview         FL      33569   [XV], [XVI],              7/5/2011     Yes         1,169      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              ROBERTS AIDA                       Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                          Assessor's                       0.83               $91.18          $106,589.42                                                                                                                                       Tax Records + Title/Deed            11/3/2008             10/29/2013                                          12800 University Drive, Suite 600                    m                                $35,038.51
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                              ROBERTSJULIO                       Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
  99     RP         Bacon, Doug and Joy               19712 Lake Osceola Lane        Odessa            FL      33556   [XIII], [XV],             7/5/2011     Yes         4,882      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                          Allison Grant, P.A.           Allison Grant, Esq.               (561) 994-9646     agrant@allisongrantpa.com
                                                                                                                       [XVI], [XVII]                                                   Assessor's                                                                                                                                             LYALL JONATHAN & LYALL Previous Owner, Did Not Own                                                                                                                           14 Southeast 4th Street
                                                                                                                                                                                                                        0.83               $91.18          $445,140.76                                                                                                                           Tax Records + Title/Deed                        10/29/1999              3/3/2015                                                                                                                                  $0.00
                                                                                                                                                                                    Document with                                                                                                                                             REGGIN                 Property on 6/9/15                                                                                                                                    Boca Raton, Florida 33432
                                                                                                                                                                                    Square Footage
  100    RP         Baez, Ramon and Franca, Sylvia 904 Sistina Avenue                Coral Gables      FL      33146   [XV], [XVI],              7/5/2011     Yes         2,179      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                          Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              EDDY BLANCO                        Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                          Assessor's                       0.81               $88.98          $193,887.42                                                                                                                                       Tax Records + Title/Deed            9/14/2000              8/23/2013                                          900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                              NATALIE ANN BLANCO                 Property on 6/9/15                                                                                                                        Raleigh, NC 27603
  101    RP         Bailey, Christopher               958 Hollymeade Circle          Newport News      VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         2,227      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice/   40             K                                                                                                                                                          Law Offices of Richard J.     Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                       [XVII]                                                          Assessor's                                                                                              Photo                                                                                                                                                                                         Serpe                         580 East Main Street, Suite 310
                                                                                                                                                                                    Document with                                                                                                                                                                                Previous Owner, Did Not Own City or County Tax                                                                                            Norfolk, VA 23510
                                                                                                                                                                                    Square Footage
                                                                                                                                                                                                                        0.95              $104.36          $232,409.72                                                                        ANDERSON KELLI MARIE                                                                               12/18/2006             12/1/2011                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records


  102    Ex 10/79   Bailey, Delores                   2213 Beachhead Lane            Violet            LA      70092   [II], [VII], [XV],        3/15/2010    Yes         1,928       Inspection       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                          Bruno & Bruno, LLP            Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                              BAILEY, DELORES                                                   City or County Tax
                                                                                                                       [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $182,138.16                                                                                                           Owner as of 6/9/15                                              8/20/2008           Current Owner                                         855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                    Plan and Under
                                                                                                                                                                                                                                                                                                                                              JACKSON                                                           Records                                                                                                    New Orleans, 70113
  103    RP         Bailey, Dorothy                   3304 Rannock Moor              Williamsburg      VA      23188   [II(A)], [XV],            9/16/2010    Yes         1,352      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                          Law Offices of Richard J.     Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own City or County Tax
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.96              $105.46          $142,581.92                         Property Assessment                            GLENN, SHANIN                                                                                      5/31/2006              1/29/2013            Serpe                         580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records                                                                                                       Norfolk, VA 23510
  104    Ex 10/79   Baker, Connie                     2339 Valmont Street            New Orleans       LA      70115   [XIII], [XV],             7/5/2011     Yes         4,423       Inspection       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                          Bruno & Bruno, LLP            Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                       [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $417,840.81                                                                        BAKER CONNIE K                     Owner as of 6/9/15                                              5/28/1993           Current Owner                                         855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                    Plan and Under
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                    New Orleans, 70113
  105    RP         Baker, Garry and Lynn             2817 NW 4th Terrace            Cape Coral        FL      33993   [II], [VII], [XV],        3/15/2010    Yes         1,479      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                          Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.80               $87.88          $129,974.52                                                                        GONZALES DOUGLAS L                                             Tax Records + Title/Deed            2/26/2004              8/18/2010                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
  106    RP         Baker, Keith and Linda            12077 Honeysuckle Road         Ft. Myers         FL      33966   [II], [II(B)], [XV],      3/15/2010    Yes         6,758          Other         Yes                                                                  ProWall            Photo               44             G                                                                                                                                                          Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                             Previous Owner, Did Not Own                                                                                 Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                        0.80               $87.88          $593,893.04                                                                        KEREN AYAL                                                     Tax Records + Title/Deed            7/15/2002              1/10/2013                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
                                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 5 of 82



Claimant Source     Claimant Name                    Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia       Markings #     Product                                                                                                                                                    Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                            from Taishan   Bucket(s)                                                                                                                        Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                                   Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                                 Product ID                                                                                                                                       or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                     May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                                Catalog                                                                                                                                              Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                       Sharefile
  107    Ex 10/79   Baker, Rudolph and Doris         2417 Flamingo Drive             St. Bernard       LA      70085   [IX], [XV],               5/5/2011     Yes         1,955      Property Tax     Yes                                                                   Crescent City      Photo                 27             D                                                                                                                                                          Hurricane Legal Center, LLC   Jacob Young, Esq.                  (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                  City or County Tax                                                                                         Young Law Firm
                                                                                                                                                                                                                       0.86                $94.47          $184,688.85                                                                          BAKER, DORIS REGGIO                Owner as of 6/9/15                                              10/12/2012          Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                 Records                                                                                                    1010 Common St., Suite 3040
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
  108    Ex 10/79   Ball, Jeffery                    205 12th Street                 Pleasant Grove    AL      35127   [IX], [XV],               5/5/2011     Yes         1590       Property Tax     Yes                                                                   Taihe              Photo                 17             I                                                                                                                                                          Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                                                  City or County Tax
                                                                                                                       [XVI], [XVII],                                                 Assessor's                       0.84                $92.27          $146,709.30                                                                          BALL JEFFREY                       Owner as of 6/9/15                                               5/1/1996           Current Owner                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                       [XXI]                                                        Document with
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                                                    Raleigh, NC 27603
  109    Ex 10/79   Ballard, Marcia (Trustee Ballard 11216 Godwit Court              New Port Richey   FL      34654   [IX], [XIII],             5/5/2011     Yes         1,981      Property Tax     Yes                                                                   C&K                Photo                 34             B                                                                                                                                                          Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                   Owner as of 6/9/15, No Longer
                    Marcia Revocable Living Trust)                                                                     [XV], [XVI],                                                   Assessor's                       0.83                $91.18          $180,627.58                                                                          CATOR LINDA LEE                                                  Tax Records + Title/Deed          7/14/2008              2/15/2016                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                  Owns Property                                                                                                                             Bonita Springs, FL 34134
  110    RP         Banner, Luke and Deborah         1766 SE North Buttonwood        Port St. Lucie    FL      34952   [II(A)], [II(B)],         9/16/2010    Yes         2,091      Property Tax     Yes                                                                   Taishan            Photo                 9              J                                                                                                                                                          Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                     Drive                                                             [VII], [XV],                                                   Assessor's                                                                                                                                                                                   Previous Owner, Did Not Own City or County Tax                                                              Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                       0.82                $90.08          $188,357.28                                                                          ROBERT MICHELETTI                                                                                  11/29/2006            11/13/2014                                                                                                                                 $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                  Property on 6/9/15          Records                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  111    Ex 10/79   Banner, Tammy                    1206 Aycort Street              Arabi             LA      70032   [III], [VII], [XV],       10/7/2009    Yes          700        Property Tax     Yes                                                                  Taihe              Photo                 19             I                                                                                                                                                          The Lambert Firm              Hugh Lambert, Esq.                 (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                                                                  City or County Tax
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.86               $94.47           $66,129.00                                                                          BANNER, TAMMY M.                   Owner as of 6/9/15                                              1/27/2006           Current Owner                                         701 Magazine St,                                    om                                 $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                                                    New Orleans LA 70130
  112    Ex 10/79   Baptiste, Harrison and Regina    10831 Harrow Road               New Orleans       LA      70127   [III], [VII], [XV],       10/7/2009    Yes         2,170        Inspection      Yes                                                                  Taihe              Photo                 17, 18         I                                                                                                                                                          Bruno & Bruno, LLP            Joseph Bruno, Esq.                 (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                       [XVI], [XVII]                                                 Showing Floor                                                                                                                                              BAPTISTE HARRISON                                                 City or County Tax                                                                                         855 Baronne Street                                  m
                                                                                                                                                                                                                        0.86               $94.47          $204,999.90                                                                                                             Owner as of 6/9/15                                              9/14/1995           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Plan and Under                                                                                                                                              BAPTISTE REGINA A                                                 Records                                                                                                    New Orleans, 70113
                                                                                                                                                                                       Air Square
  113    Ex 10/79   Baptiste, Judy                   6131 Craigie Road               New Orleans       LA      70126   [II(B)], [III],           10/7/2009    Yes         1,426        Appraisal       Yes                                                                  Taihe              Photo                 13, 17         I                                                                                                                                                          Whitfield, Bryson & Mason,   Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                                                  City or County Tax
                                                                                                                       [XV], [XVI],                                                 Showing Floor                       0.86               $94.47          $134,714.22                                                                          BAPTISTE JUDY                      Owner as of 6/9/15                                              5/31/2007           Current Owner           LLP                          900 W. Morgan Street                                                                    $0.00
                                                                                                                       [XVII]                                                       Plan and Square
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                      Don Barrett, PA Lovelace Law Raleigh, NC 27603
  114    Ex 10/79   Barber, David and Joyce          4435 Gevalia Drive              Brooksville       FL      34604   [XV], [XVI],              7/5/2011     Yes         2,412       Property Tax     Yes                                                                  Taishan            Photo                 5, 6           J                                                                                                                                                          Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                BARBER, DAVID AND                                                 City or County Tax
                                                                                                                       [XVII]                                                          Assessor's                       0.83               $91.18          $219,926.16                                                                                                             Owner as of 6/9/15                                              9/14/2006           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                    Document with                                                                                                                                               JOYCE                                                             Records                                                                                                   Fort Myers, FL 33907
  115    Ex 10/79   Barcia, Aurora                   6119 NW Densaw Terrace          Port St. Lucie    FL      34986   [IX], [XV],               5/5/2011     Yes         2,242       Property Tax     Yes                                                                  Taishan            Photo                 2, 9           J                                                                                                                                                          Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                SHAM KIRPALANI                     Previous Owner, Did Not Own City or County Tax
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.82               $90.08          $201,959.36                                                                                                                                                                             5/31/2007              5/27/2010            Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                BERYL BARRETT                      Property on 6/9/15          Records                                                                                                      300
  116    Ex 10/79   Bargky, David                    14512 Tilbury Rd.               New Orleans       LA      70129   [VII], [XIII],            1/14/2011    Yes         1,296       Property Tax     Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                          Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                       [XV], [XVI],                                                    Assessor's                       0.86               $94.47          $122,433.12                                                                          BARGKY DAVID                       Owner as of 6/9/15             Tax Records + Title/Deed         10/21/2002          Current Owner                                        425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
  117    Ex 10/79   Barisich, Frances and Joseph     408 Livingston Avenue           Arabi             LA      70032   [III], [VII], [XIII],     10/7/2009    Yes         1,802        Appraisal       Yes                                                                  Taihe              Photo                 18             I                                                                                                                                                          Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    Barisich, George Sever-Barischi,                                                                   [XV], [XVI],                                                 Showing Floor                                                                                                                                                                                                                                                                                                                           820 O'Keefe Avenue
                    Anne Marie                                                                                         [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                                BARISICH, FRANCES 1/4,                                            City or County Tax
                                                                                                                                                                                        Footage                         0.86               $94.47          $170,234.94                                                                                                             Owner as of 6/9/15                                              9/22/2011           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                ETALS                                                             Records



  118    Ex 10/79   Barlow, Regine and John          2644 Pelican Bay Blvd.          Marrero           LA      70072   [III], [XV],              10/7/2009    Yes         1,595        Appraisal       Yes                                                                  Taihe              Photo                 21             I                                                                                                                                                          Galante & Bivalacqua, LLC    Scott Galante, Esq.                 (504) 648-1858   scott@gb-lawfirm.com
                                                                                                                                                                                                                                                                                                                                                BARLOW,JOHN B & REGINE
                                                                                                                       [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $150,679.65                                                                                                 Owner as of 6/9/15                         Tax Records + Title/Deed         7/31/2008           Current Owner                                        650 Poydras St., Ste. 2615                                                              $0.00
                                                                                                                                                                                    Plan and Square
                                                                                                                                                                                                                                                                                                                                                I BARLOW                                                                                                                                                                    New Orleans, Louisiana 70130
  119    Ex 10/79   Barnes, Arlana                   4745 and 4747 28th Street South Lehigh Acres      FL      33973   [II], [VII], [XV],        3/15/2010    Yes         2,355       Property Tax     Yes                                                                  IMT                Photo                 31             F                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                                  City or County Tax
                                                     West (1178 & 2356 sq ft)                                          [XVI], [XVII]                                                   Assessor's                       0.80               $87.88          $206,957.40                                                                          BARNES ARLANDA                     Owner as of 6/9/15                                               9/9/2008           Current Owner                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                                                   Bonita Springs, FL 34134
  120    Ex 10/79   Barnes, Gerald and Michelle      5588 Brixton Road               Williamsburg      VA      23185   [II], [XV], [XVI],        3/15/2010    Yes         2,176       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice & N/A               K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                          Assessor's                                                                                              Property Assessment                                                                                                City or County Tax                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.96              $105.46          $229,480.96                                                                          BARNES, GERALD L                   Owner as of 6/9/15                                              3/13/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                 Records                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
  121    Ex 10/79   Barnett, Dean on behalf of       9420 Eden Manor                 Parkland          FL      33076   [III], [IX], [XV],        10/7/2009    Yes         3,782      Builder's Floor   Yes                                                                  Taishan            Photo                 5, 7           J                                                                                                                                                          Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                                                                  City or County Tax
                    Wilbar Investments, LLC                                                                            [XVI], [XVII]                                                      Plan                          0.81               $88.98          $336,522.36                                                                          WILBAR INVESTMENTS LLC Owner as of 6/9/15                                                          6/15/2006           Current Owner                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                                                   Fort Lauderdale, FL 33301-3434
  122    Ex 10/79 & Barning, Sheryl                  4142 Bismarck Palm Dr.          Tampa             FL      33610   [XIII], [XV],             7/5/2011     Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo                 1              H                                                                                                                                                          Lucas Magazine               Martin Macyszyn, Esq.               (727) 849-5353   martin@lgmlawgroup.com
         Omni XX                                                                                                       [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                                                  City or County Tax                                                                                        Liberty Professional Building
                                                                                                                                                                                                                        0.83               $91.18          $113,063.20                                                                          BARNING SHERYL                     Owner as of 6/9/15                                              6/19/2007           Current Owner                                                                                                                                $0.00
                                                                                                                       [XX]                                                         Document with                                                                                                                                                                                                                 Records                                                                                                    8606 Government Drive
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                           New Port Richey, FL 34654
  123    Ex 10/79   Barragan, Fernando and Barbara 8935 SW 228th Lane                Cutler Bay        FL      33190   [IX], [XV],               5/5/2011     Yes         2,201      Property Tax      Yes                                                                  Taishan            Photo                 8              J                                                                                                                                                          Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own City or County Tax
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $195,844.98                                                                          LISSY JO LUGO                                                                                      2/12/2007              4/22/2014            Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15          Records                                                                                                      300
  124    Ex 10/79   Barreto, Adolfo and Gonzalez,    8111 W 36th Avenue Unit #3      Hialeah           FL      33018   [II(C)], [III],           10/7/2009    Yes         1,337     Builder's Floor    Yes                                                                  Taishan            Photo                 8              J                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                ADOLFO BARRETO CRUZ &                                             City or County Tax
                    Laura                                                                                              [XIII], [XV],                                                     Plan                           0.81               $88.98          $118,966.26                                                                                                Owner as of 6/9/15                                                           6/26/2008           Current Owner                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                       [XVI], [XVII]
                                                                                                                                                                                                                                                                                                                                                W LAURA E GONZALEZ                                                Records                                                                                                   Bonita Springs, FL 34134
  125    Ex 10/79   Barrett, Robert                  310 Preservation Reach          Chesapeake        VA      23320   [II], [XV], [XVI],        3/15/2010    Yes         2,752      Property Tax      Yes                                                                  Venture Supply     Photo                 40             K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                                BARRETT ROBERT W &                                                City or County Tax                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.94              $103.26          $284,171.52                                                                                                             Owner as of 6/9/15                                              3/10/2009           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                               LISA A                                                            Records                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
  126    Ex 10/79   Barriento, Marc                  4057 SW Cheribon Street         Port St. Lucie    FL      34953   [II], [XV], [XVI],        3/15/2010    Yes         2,094     Builder's Floor    Yes                                                                  Taishan            Photo                 2, 9           J                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                            Plan                                                                                                                                                                                      Previous Owner, Did Not Own City or County Tax                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.82               $90.08          $188,627.52                                                                          MICHAEL DEMASK                                                                                     10/13/2006              3/3/2015                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15          Records                                                                         Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Richard J. Serpe             Coral Gables, FL 33134
  127    Ex 10/79   Barrios, Ana and Becerra,        11584 Hammocks Glade Drive      Riverview         FL      33569   [II(C)], [III(A)],        9/16/2010    Yes         1,150     Builder's Floor    Yes                                                                  Taishan            Photo                 2              J                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                    Alexander                                                                                          [IX], [XV],                                                       Plan                           0.83               $91.18          $104,857.00                                                                          BECERRA ALEXANDER                  Owner as of 6/9/15             Tax Records + Title/Deed         9/28/2006           Current Owner                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
  128    Ex 10/79   Barry, Crystal and Roy           8063 Bi County Road             Norfolk           VA      23518   [II(C)], [XV],            1/24/2011    Yes         2,394      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice/     40             K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                               Photo                                                                                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                                                                                                                                                BARRY, ROY F & CRYSTAL                                            City or County Tax
                                                                                                                                                                                    Document with                       0.94              $103.26          $247,204.44                                                                                                 Owner as of 6/9/15                                                          1/23/2007           Current Owner           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                    Square Footage                                                                                                                                              L                                                                 Records                                                                      Richard J. Serpe             Coral Gables, FL 33134

  129    Ex 10/79   Bart, Eugene and Cynthia         5531 Rickert Drive              New Orleans       LA      70126   [III], [VII], [XV],       10/7/2009    Yes         2,100      Property Tax      Yes                                                                  Taihe              Photo                 17             I                                                                                                                                                          Reich & Binstock             Dennis Reich, Esq.                  (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                                BART EUGENE M                                                     City or County Tax
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $198,387.00                                                                                                             Owner as of 6/9/15                                               9/5/1985           Current Owner                                        4265 San Felipe, Suite 1000                          om                                 $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                GOUGIS CYNTHIA L                                                  Records                                                                                                   Houston, TX 77027
  130    RP         Bartholomew, Bonnie              2820 Meadow Drive               Violet            LA      70092   [VII], [XV],              1/14/2011    Yes         1,260         Other          Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                          Lemmon Law Firm              Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                               Previous Owner, Did Not Own City or County Tax                                                                                           PO Box 904 (mailing address)                         om
                                                                                                                                                                                                                        0.86               $94.47          $119,032.20                                                                          LEBOUEF, CAMERON                                                                                    4/3/2008              6/11/2013                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15          Records                                                                                                      15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Hahnville, LA 70057
  131    Ex 10/79   Bartschat, Eric and Anne Marie   7855 Hawthorne Terrace, Unit    Naples            FL      34113   [VII], [XV],              1/14/2011    Yes         2,523      Property Tax      Yes                                                                  IMT                Photo                 31             F                                                                                                                                                          Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                BARTSCHAT, ERIC S &                                               City or County Tax
                                                     1604                                                              [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $221,721.24                                                                                                             Owner as of 6/9/15                                              6/11/2007           Current Owner                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                ANNE MARIE                                                        Records                                                                                                   Bonita Springs, FL 34134
  132    RP         Bas, Ayse                        1690 Renaissance Commons        Boynton Beach     FL      33426   [XV], [XVI],              7/5/2011     Yes         1,460      Property Tax      Yes                                                                  Taishan            Photo                 2              J                                                                                                                                                          Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                  City or County Tax
                                                     Blvd. #1419                                                       [XVII]                                                         Assessor's                        0.82               $90.08          $131,516.80                                                                          BAS AYSE NUR                       Owner as of 6/9/15                                              5/31/2012           Current Owner                                        2100 Southbridge Parkway, Suite                                                       $94,546.55
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                                                   650
  133    Ex 10/79   Bast, Peter and Robin            1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes          817      Builder's Floor    Yes                                                                  Taishan            Photo                 2              J                                                                                                                                                          Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                BAST, PETER W; BAST                                               City or County Tax
                                                     Blvd., Unit 1428                                                  [XVII]                                                            Plan                           0.82               $90.08           $73,595.36                                                                                                             Owner as of 6/9/15                                              4/27/2007           Current Owner                                        900 W. Morgan Street                                                                  $91,896.70
                                                                                                                                                                                                                                                                                                                                                ROBIN L                                                           Records                                                                                                   Raleigh, NC 27603
  134    Ex 10/79   Batiste, Ben, Terrence, Frank and 5632 6th Street                Violet            LA      70092   [III], [VII], [XV],       10/7/2009    Yes         1,750      Property Tax      Yes                                                                  Taihe              Photo                 20, 21         I                                                                                                                                                          Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                                                  City or County Tax
                    Gralina                                                                                            [XVI], [XVII]                                                   Assessor's                       0.86               $94.47          $165,322.50                                                                          BATISTE, GRALINA TAYLOR Owner as of 6/9/15                                                         9/16/2011           Current Owner                                        425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                                                   LaPlace, LA 70064
  135    Ex 10/79   Batsch, Kevin                    186 S.E. 2nd Street, Unit 186   Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,398      Property Tax      Yes                                                                  Taishan            Photo                 11             J                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [XV],                                                    Assessor's                                                                                                                                               REVEST MASTER LIMITED              Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $125,931.84                                                                                                                                         Tax Records + Title/Deed            11/5/2007              3/11/2015                                                                                                                                 $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                               PARTNERSHIP                        Property on 6/9/15                                                                                          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  136    Ex 10/79   Battie, Silas                    4668 Corrinne Street            New Orleans       LA      70127   [III(A)], [VII],          9/16/2010    Yes         2,544      Property Tax      Yes                                                                  Taihe              Photo                 13, 17         I                                                                                                                                                          Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                BATTIE SILAS                                                      City or County Tax
                                                                                                                       [XV], [XVI],                                                    Assessor's                       0.86               $94.47          $240,331.68                                                                                                             Owner as of 6/9/15                                              12/5/2006           Current Owner                                        425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                       [XVII]                                                       Document with
                                                                                                                                                                                                                                                                                                                                                BATTIE RENEE' A                                                   Records                                                                                                   LaPlace, LA 70064
  137    Ex 10/79   Battista, Leo                    9001 Sunrise Lakes Blvd. 311    Sunrise           FL      33322   [III], [IX], [XV],        10/7/2009    Yes          850       Property Tax      Yes                                                                  Taihe              Photo                 18             I                                                                                                                                                          Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                BATTISTA,MARY                      Previous Owner, Did Not Own City or County Tax
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.81               $88.98           $75,633.00                                                                                                                                                                             12/23/2011             6/16/2012                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                    Document with
                                                                                                                                                                                                                                                                                                                                                %BATTISTA                          Property on 6/9/15          Records                                                                                                      Fort Lauderdale, FL 33301-3434
  138    Ex 10/79   Bauman, Robert                   5401 Bancraft Drive             New Orleans       LA      70112   [IX], [XV],               5/5/2011     Yes         3,037       Inspection       Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                          Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                                BAUMAN ROBERT                                                     City or County Tax
                                                                                                                       [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $286,905.39                                                                                                             Owner as of 6/9/15                                              9/28/2010           Current Owner                                        855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                    Plan and Under
                                                                                                                                                                                                                                                                                                                                                BAUMAN ZIVAH H                                                    Records                                                                                                   New Orleans, 70113
  139    RP         Bautista, Mario                  184 SE 2nd Street               Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,398      Property Tax      Yes                                                                  Taishan            Photo                 5              J                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [XV],                                                    Assessor's                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                 Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $125,931.84                                                                          BENES,MARY ANNE                                                Tax Records + Title/Deed            10/17/2006             4/25/2014                                                                                                                                 $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                  Property on 6/9/15                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  140    Ex 10/79   Bazemore, Larry                  183 Mulberry Lane               Hertford          NC      27944   [XV], [XVI],              7/5/2011     No          2,360          Other          No                                                                  Venture Supply     Delivery Invoice      N/A            K           HINKLEY-LOPEZ,                                                                                                                                 Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                 Sq ft confirmed by
                                                                                                                       [XVII], [XXIV]                                                                                                                                                          (different delivery                              STEPHANIE LISA                     Previous Owner, Unknown        City or County Tax                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson                                                                                   BKC
                                                                                                                                                                                                                        0.92              $101.06          $238,501.60                                                                                                                                                                                                                                                                                                                                              $0.00
                                                                                                                                                                                                                                                                                               address)                                         &CURTIS R&SYLVIA                   Purchase Date                  Records                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                LHINKLEY                                                                                                                                       Richard J. Serpe             Coral Gables, FL 33134
  141    RP         Bdaiwi, Dirar                    12421 SW 50 CT Unit 335         Miramar           FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,474      Property Tax      Yes                                                                  Taihe              Photo                 14             H                                                                                                                                                          Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                                                                   Previous Owner, Did Not Own City or County Tax                                                                                           Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $131,156.52                                                                          DE LA CRUZ,MARCIAL                                                                                 4/10/2008               2/6/2014                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                  Property on 6/9/15          Records                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  142    Ex 10/79   Bean, Marquesa and Shantez       10200 Flossmoor Drive           New Orleans       LA      70127   [II], [IX], [XV],         3/15/2010    Yes         1,596     Builder's Floor    Yes                                                                  Crescent City      Photo                 27             D           THE SECRETARY OF                                                                                                                               Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com                             See Marquesa Murray
                                                                                                                                                                                                                                                                                                                                                                                   Owner as of 6/9/15, No Longer
                                                                                                                       [XVI], [XVII]                                                     Plan                           0.86               $94.47          $150,774.12                                                                          HOUSING                                                          Tax Records + Title/Deed          4/13/2007               2/6/2017            Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00           Gilmore on OCXX
                                                                                                                                                                                                                                                                                                                                                                                   Owns Property                                                                                                                            303
                                                                                                                                                                                                                                                                                                                                                AND URBAN
  143    Ex 10/79   Beasley, Anika                   7071 Whitmore Place             New Orleans       LA      70128   [III], [IX], [XV],        10/7/2009    Yes         1,812     Builder's Floor    Yes                                                                  Taihe              Photo                 20             I                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                     City or County Tax                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.86               $94.47          $171,179.64                                                                          BEASLEY ANIKA                      Owner as of 6/9/15                                              2/24/2011           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                  Records                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
                                                                                                                              Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 6 of 82



Claimant Source      Claimant Name                    Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                    Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                   2017 RS Means
Identifier                                                                                                                                       Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                        Sell Date if Applicable
                                                                                                                                                                                                                 Residential Location                                                                                                                Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                                     Omni                 Footage       Provided      Verifying                       [B = A x $109.85]       Damages                                              Product ID                                                                                                                                       or Current Owner Per
                                                                                                                                                                                                                       Factor                                                                                                                  May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                                      Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                              Brown Greer
                                                                                                                                                                                                                         [A]
                                                                                                                                                                                        Sharefile
  144    RP          Becker, Tiffany and Broadbent,   4611 Town Creek Drive           Williamsburg      VA      23188   [II(A)], [XIII],          9/16/2010    Yes         2,088      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                          Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                              ESPINAL, JACK L & BYRNE, Previous Owner, Did Not Own City or County Tax
                     Roger and Donna                                                                                    [XV], [XVI],                                                   Assessor's                       0.96               $105.46          $220,200.48                         Property Assessment                                                                                                                               5/1/2006              4/11/2013            Serpe                        580 East Main Street, Suite 310                                                        $0.00
                                                                                                                        [XVII]                                                       Document with                                                                                                                                            PATRICIA ANN             Property on 6/9/15          Records                                                                                                                Norfolk, VA 23510
  145    Ex 10/79    Sheridan Beach Club              519 E. Sheridan Blvd. #206      Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor    Yes                                                                  Taishan            Photo              12             L                                                                                                                                                          Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                     Condominium Number Three,                                                                          [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                               Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.81                $88.98          $102,327.00                                                                       BECKMEIER,MARC G                   Owner as of 6/9/15             Tax Records + Title/Deed          2/7/2007           Current Owner                                                                                                                               $0.00
                     Inc. (Beckmeier, Marc and                                                                                                                                                                                                                                                                                                                                                                                                                                               Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                     Gavidia, Laura)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Dallas, TX 75219
  146    Ex 10/79    Beerbower, Michael               11417 Bridge Pine Drive         Riverview         FL      33569   [XIII], [XV],             7/5/2011     Yes         3,425     Builder's Floor    Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                          Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                        [XVI], [XVII]                                                     Plan                           0.83              $91.18           $312,291.50                                                                       BEERBOWER MICHAEL S                Owner as of 6/9/15             Tax Records + Title/Deed         2/23/2007           Current Owner                                        12800 University Drive, Suite 600                    m                              $133,087.76
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  147    Ex 10/79    Bekhor, Lidan                    14141 Citrus Crest Circle       Tampa             FL      33625   [VII], [IX], [XIII],      1/14/2011    Yes         1,898       Property Tax     Yes                                                                  Taihe              Photo              20             I                                                                                                                                                          Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XV], [XVI],                                                    Assessor's                                                                                                                                            BIG OLIVE LLC                                                     City or County Tax                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.83              $91.18           $173,059.64                                                                                                          Owner as of 6/9/15                                              4/12/2007           Current Owner                                                                                                                               $0.00
                                                                                                                        [XVII]                                                       Document with                                                                                                                                            BEKHOR LIDAN                                                      Records                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  148    Ex 10/79    Belfour, Ed and Ashli            7260 Wisteria Avenue            Parkland          FL      33076   [II], [XV], [XVI],        3/15/2010    Yes         3,680       Property Tax     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                          Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XVII]                                                          Assessor's                                                                                                                                            HOILES,STEPHEN N & GINA Owner as of 6/9/15, No Longer                                                                                                                       Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $327,446.40                                                                                                                             Tax Records + Title/Deed                     9/25/2006             12/28/2016                                                                                                                                $0.00
                                                                                                                                                                                     Document with                                                                                                                                            ANN                     Owns Property                                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  149    Ex 10/79    Bell, Dimple                     6033 Campus Blvd.               New Orleans       LA      70126   [IX], [XV],               5/5/2011     Yes         1,849       Property Tax     Yes                                                                  Taihe              Photo              19, 20         I                                                                                                                                                          Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                        [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                              City or County Tax                                                                                        Young Law Firm
                                                                                                                                                                                                                         0.86              $94.47           $174,675.03                                                                       BELL DIMPLE G                      Owner as of 6/9/15                                              10/14/1991          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                     Document with                                                                                                                                                                                                              Records                                                                                                   1010 Common St., Suite 3040
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70112
  150    Ex 10/79    Bell, Frank                      4313 Hazelwood Road             Adamsville        AL      35005   [XV], [XVI],              7/5/2011     Yes         2740        Property Tax     Yes                                                                  Taihe              Photo              20             I                                                                                                                                                          Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                        [XVII]                                                          Assessor's                       0.84              $92.27           $252,819.80                                                                       BELL FRANK                         Owner as of 6/9/15                                              11/1/2005           Current Owner                                        2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                     Document with                                                                                                                                                                                                              Records                                                                                                   650
  151    Ex 10/79    Bell, Marvalean                  4720 Terrace Street             Birmingham        AL      35208   [III], [VII], [XV],       10/7/2009    Yes         1272        Property Tax     Yes                                                                  Taihe              Photo              13, 20         I                                                                                                                                                          Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                        [XVI], [XVII],                                                  Assessor's                       0.84              $92.27           $117,367.44                                                                       HEIRS OF NELSON BELL               Owner as of 6/9/15                                              4/26/1986           Current Owner                                        900 W. Morgan Street                                                                   $0.00
                                                                                                                        [XXI]                                                        Document with
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                   Raleigh, NC 27603
  152    Ex 10/79    Bell, Peter and Karen            5140 SE Mariner Gardens         Stuart            FL      34997   [II], [XIII], [XV],       3/15/2010    Yes         1,530       Property Tax     Yes                                                                  IMT                Photo              30             F                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                      Circle, Unit I-65                                                 [XVI], [XVII]                                                   Assessor's                                                                                                                                            TANGERINE COMMUNITY                Previous Owner, Did Not Own City or County Tax                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.82              $90.08           $137,822.40                                                                                                                                                                           5/7/2007              10/6/2010                                                                                                                                $0.00
                                                                                                                                                                                     Document with                                                                                                                                            PARTNERS LP                        Property on 6/9/15          Records                                                                         Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
  153    RP          Bell, Thomes E.                  180 Tessa Circle                Albertville       AL      35950   [III], [VII], [XV],       10/7/2009    Yes         1,320       Property Tax     Yes                                                                  Taihe              Photo              20             I                                                                                                                                                          Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                        [XVI], [XVII],                                                  Assessor's                                                                                                                                            MARTINEZ GONZALEZ,                 Previous Owner, Did Not Own                                                                                                              900 W. Morgan Street
                                                                                                                                                                                                                         0.82              $90.08           $118,905.60                                                                                                                                      Tax Records + Title/Deed            7/18/2007               1/7/2013                                                                                                                                $0.00
                                                                                                                        [XXI]                                                        Document with                                                                                                                                            CAMILO                             Property on 6/9/15                                                                                                                       Raleigh, NC 27603
                                                                                                                                                                                     Square Footage
  154    Ex 10/79    Belsom, Scott and Jennifer       2912 Bradbury Drive             Meraux            LA      70075   [III], [VII], [XV],       10/7/2009    Yes         2,800       Property Tax     Yes                                                                  Taihe              Photo              20             I                                                                                                                                                          Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                        [XVI], [XVII]                                                   Assessor's                       0.86              $94.47           $264,516.00                                                                       BELSOM, SCOTT J.                   Owner as of 6/9/15                                               2/9/2012           Current Owner                                         425 W. Airline Hwy, Suite B                                                           $0.00
                                                                                                                                                                                     Document with
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                    LaPlace, LA 70064
  155    Ex 10/79    Belson, Luydmila                 198 Medici Terrace              North Venice      FL      34275   [XIII], [XV],             7/5/2011     Yes         2,608        Appraisal       Yes                                                                  Taishan            Photo              6              J                                                                                                                                                          Krupnick Cambell              Michael Ryan, Esq.                 (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                        [XVI], [XVII]                                                Showing Floor                       0.83              $91.18           $237,797.44                                                                       LYUDMILA BELSON TRUST Owner as of 6/9/15                          Tax Records + Title/Deed         2/29/2008           Current Owner                                         12 SE 7th St #801                                                                   $76,511.43
                                                                                                                                                                                     Plan and Square                                                                                                                                                                                                                                                                                                                       Fort Lauderdale, FL 33301-3434
  156    Ex 10/79    Benes, Mary Anne                 174 SE 2nd Street               Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,398       Property Tax     Yes                                                                  Taishan            Photo              5              J                                                                                                                                                          Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [VII], [XV],                                                    Assessor's                                                                                                                                            BENES,MARY ANNE H/E ALI-                                                                                                                       Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                         0.82              $90.08           $125,931.84                                                                                                Owner as of 6/9/15                       Tax Records + Title/Deed         8/28/2008           Current Owner                                                                                                                               $0.00
                                                                                                                        [XVI], [XVII]                                                Document with                                                                                                                                            BOCAS,AZARD                                                                                                                                    Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  157    Ex 10/79    Benfatti, Mary C.                101 Coney Drive                 Arabi             LA      70032   [IX], [XV],               5/5/2011     Yes         1,723        Appraisal       Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                          Gainsburgh Benjamin           Gerald Meunier, Esq.               (504) 522-2304   gmeunier@gainsben.com
                                                                                                                        [XVI], [XVII]                                                Showing Floor                                                                                                                                            BENFATTI, MARY M.                                                 City or County Tax                                                                                         2800 Energy Centre
                                                                                                                                                                                                                         0.86              $94.47           $162,771.81                                                                                                          Owner as of 6/9/15                                              1/15/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                     Plan and Square                                                                                                                                          CULLURA                                                           Records                                                                                                    1100 Poydras Street
                                                                                                                                                                                         Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  158    Ex 10/79    Benish, Frances                  11353 SW Mountain Ash Circle Port St. Lucie       FL      34987   [II(C)], [IX],            1/24/2011    Yes         1,695       Property Tax     Yes                                                                  IMT                Photo              33             F                                                                                                                                                          Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                        [XV], [XVI],                                                    Assessor's                       0.82              $90.08           $152,685.60                                                                       FRANCES P BENISH                   Owner as of 6/9/15                                              7/16/2007           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                        [XVII]                                                       Document with
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                    Bonita Springs, FL 34134
  159    Ex 10/79    Bennett, Andrew                  100 Jewell Circle               Bessemer          AL      35020   [III(A)], [VII],          9/16/2010    Yes         4160        Property Tax     Yes                                                                  Taihe              Photo              20             I                                                                                                                                                          Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              MCCRAY JAMES & JESSIE              Owner as of 6/9/15, No Longer City or County Tax
                                                                                                                        [XV], [XVI],                                                    Assessor's                       0.84              $92.27           $383,843.20                                                                                                                                                                          1/14/2008              7/31/2015                                          900 W. Morgan Street                                                                  $0.00
                                                                                                                        [XVII], [XXI]                                                Document with
                                                                                                                                                                                                                                                                                                                                              MAE                                Owns Property                 Records                                                                                                     Raleigh, NC 27603
  160    RP          Bennett, Marlene                 8770 Cobblestone Point Circle   Boynton Beach     FL      33472   [II], [XV], [XVI],        3/15/2010    Yes         3,830       Property Tax     Yes                                                                  Dragon Brand       Photo              25             A                                                                                                                                                          Baron & Budd, P.C.            Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XVII]                                                          Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                         0.82              $90.08           $345,006.40                                                                       GLADYS GUERRERO LLC                                            Tax Records + Title/Deed            1/16/2007             12/16/2014                                                                                                                                $0.00
                                                                                                                                                                                     Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  161    Ex 10/79    Benoit, Richard and Carol        262 Broken Oak Trail            Jensen Beach      FL      34957   [II(A)], [III],           10/7/2009    Yes         1,458       Property Tax     Yes                                                                  Chinese            Photo              37             C                                                                                                                                                          Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XV], [XVI],                                                    Assessor's                                                                           Manufacturer 2                                                   RICHARD L & CAROL C                Previous Owner, Did Not Own City or County Tax                                                              Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                         0.82              $90.08           $131,336.64                                                                                                                                                                          4/24/2003              9/19/2011                                                                                                                                $0.00
                                                                                                                        [XVII]                                                       Document with                                                                                                                                            BENOIT LIVING TR                   Property on 6/9/15          Records                                                                         Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  162    Ex 10/79    Bentley, Lonnette and Lowery,    4458 Preacher Lane              Jay               FL      32565   [III], [VII], [XV],       10/7/2009    Yes         2,080      Builder's Floor   Yes                                                                  Taihe              Photo              13, 17         I                                                                                                                                                          Levin Papantonio              Ben Gordon, Esq.                   (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                     Kenneth                                                                                            [XVI], [XVII]                                                      Plan                          0.85              $93.37           $194,209.60                                                                       LOWERY KENNETH BUCK                Owner as of 6/9/15                                              6/19/2004           Current Owner                                         316 South Baylen St.                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                    Pensacola, FL 32502
  163    Ex 10/79    Benzo, Ramon and Candida         2576 Sea Wind Way               Clearwater        FL      33763   [II(C)], [III], [IX],     10/7/2009    Yes         1,146      Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                          Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              WILSON, MELINDA AND                Previous Owner, Did Not Own City or County Tax
                                                                                                                        [XV], [XVI],                                                   Assessor's                        0.82              $90.08           $103,231.68                                                                                                                                                                          9/27/2007               6/4/2012                                          27300 Riverview Center Blvd                                                           $0.00
                                                                                                                        [XVII]                                                       Document with
                                                                                                                                                                                                                                                                                                                                              WILSON, MARK                       Property on 6/9/15          Records                                                                                                       Bonita Springs, FL 34134
  164    RP          Bereijo, Joseph                  8007 West 36th Avenue, Apt. 5 Hialeah             FL      33018   [III(A)], [VII],          9/16/2010    Yes         1,356     Builder's Floor    Yes                                                                  Taishan            Photo              8              J           ANDRES ISAAC YANG                                                                                                                              Colson Hicks Eidson           Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own City or County Tax
                                                                                                                        [XIII], [XV],                                                     Plan                           0.81              $88.98           $120,656.88                                                                       YOUNG                                                                                               6/1/2007             11/20/2013                                          255 Alhambra Circle, PH                                                               $0.00
                                                                                                                        [XVI], [XVII]
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records                                                                                                       Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                              MONICA J ZHONG CHENG
  165    RP          Berlin, John and Wightman,       322 Bernard Drive               Newport News      VA      23602   [IX], [XIII],             5/5/2011     Yes         2,213      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                          Law Offices of Richard J.     Richard J. Serpe, Esq.             (757) 233-0009   rserpe@serpefirm.com                              *VA settlement
                     Karen                                                                                              [XV], [XVI],                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own City or County Tax                                                              Serpe                         580 East Main Street, Suite 310                                                                       payment to Fannie Mae
                                                                                                                        [XVII]                                                       Document with                       0.95              $104.36          $230,948.68                                                                       FARMER BOBBY G JR                                                                                  11/1/1999              1/19/2012                                          Norfolk, VA 23510                                                                     $0.00           c/o David R. Box
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15          Records
                                                                                                                                                                                     Square Footage
  166    Ex 10/79    Berra, Dale and Jane and         310 Mestre Place                North Venice      FL      34275   [XIII], [XV],             7/5/2011     Yes         1,681      Property Tax      Yes                                                                  Taishan            Photo              6              J           BERRA JANE W BERRA                                                                                                                             Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                     Woodruff, Henry and Nancy                                                                          [XVI], [XVII]                                                   Assessor's                       0.83              $91.18           $153,273.58                                                                       DALE A WOODRUFF HENRY Owner as of 6/9/15                          Tax Records + Title/Deed         6/27/2006           Current Owner                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                     Document with                                                                                                                                            III WOODRUFF NANCY                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  167    Ex 10/79    Berry, Elaine and Kirk           13830 Pierre’s Court            New Orleans       LA      70129   [IX], [XV],               5/5/2011     Yes         1,546      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                          Hurricane Legal Center, LLC  Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                        [XVI], [XVII]                                                   Assessor's                                                                                                                                            BERRY KIRK D                                                      City or County Tax                                                                                        Young Law Firm
                                                                                                                                                                                                                         0.86              $94.47           $146,050.62                                                                                                          Owner as of 6/9/15                                               3/8/1996           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                     Document with                                                                                                                                            BERRY ELAINE B                                                    Records                                                                                                   1010 Common St., Suite 3040
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70112
  168    Ex 10/79    Berry, Keith and Elizabeth       607 Mansion Road                Yorktown          VA      23693   [II], [XV], [XVI],        3/15/2010    Yes         2,700      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                        [XVII]                                                          Assessor's                                                                                              Property Assessment                                                                                             City or County Tax                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.95              $104.36          $281,772.00                                                                       BERRY KEITH A ETUX                 Owner as of 6/9/15                                              4/28/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                     Document with                                                                                                                                                                                                              Records                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
  169    RP          Berthaut, Colin and Gelpi, Colin 1218 Magnolia Alley, Lot 42     Mandeville        LA      70471   [III], [VII], [XV],       10/7/2009    Yes         1,737        Appraisal       Yes                                                                  Taihe              Photo              15             I                                                                                                                                                          Martzell & Bickford          Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                        [XVI], [XVII]                                                Showing Floor                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                              338 Lafayette Street
                                                                                                                                                                                                                         0.79              $86.78           $150,736.86                                                                       ANDERSON, KATRINA                                              Tax Records + Title/Deed            11/11/2008             3/15/2011                                                                                                                                $0.00
                                                                                                                                                                                     Plan and Square                                                                                                                                                                             Property on 6/9/15                                                                                                                       New Orleans, LA 70130
                                                                                                                                                                                         Footage
  170    RP          Bertholette, Anna and Lund,      4412 Olive Drive                Meraux            LA      70075   [III], [VII], [IX],       10/7/2009    Yes         1,776        Appraisal       Yes                                                                  Taihe              Photo              21             I                                                                                                                                                          Bencomo & Associates         Raul Bencomo, Esq.                  (504) 289-2239   raul@bencomolaw.com
                     Leslie                                                                                             [XV], [XVI],                                                 Showing Floor                                                                                                                                            WAUKESHA, JACKSON &                Previous Owner, Did Not Own                                                                                                              639 Loyola Avenue
                                                                                                                                                                                                                         0.86              $94.47           $167,778.72                                                                                                                                      Tax Records + Title/Deed            7/30/2008               3/4/2013                                                                                                                                $0.00
                                                                                                                        [XVII]                                                       Plan and Square                                                                                                                                          STEWART, CHRISTOPHER               Property on 6/9/15                                                                                                                       Suite 2110
                                                                                                                                                                                         Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  171    Ex 10/79    Bertrand, Yolanda J.; Joseph,    5535 Vermillion Blvd.           New Orleans       LA      70122   [XV], [XVI],              7/5/2011     Yes         1,823      Property Tax      Yes                                                                  Taihe              Photo              20             I           JOSEPH CHARLES                                                                                                                                 Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                     Terry L., Charles, Jr., Toran W.                                                                   [XVII]                                                          Assessor's                       0.86              $94.47           $172,218.81                                                                       JOSEPH TERRY L                     Owner as of 6/9/15                                               4/1/2011           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                     And Troylon                                                                                                                                                     Document with                                                                                                                                                                                                              Records                                                                                                   New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                              JOSEPH CHARLES JR
  172    RP          Bertucci, Elizabeth/ 5925 Patton 5925 Patton Street              New Orleans       LA      70115   [III(A)], [IX],           9/16/2010    Yes         3,764        Appraisal       Yes                                                                  Taihe              Photo              20             I                                                                                                                                                          Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                     Street, LLC                                                                                        [XV], [XVI],                                                 Showing Floor                                                                                                                                                                                                                                                                                                                        Baron & Budd
                                                                                                                                                                                                                         0.86              $94.47           $355,585.08                                                                       PATTON STREET LLC                  Owner as of 6/9/15             Tax Records + Title/Deed         1/30/2009           Current Owner                                                                                                                               $0.00
                                                                                                                        [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                         Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  173    Ex 10/79    Betz, Kenneth and JM & MA,       2488 North Landing Road, Unit Virginia Beach      VA      23456   [IX], [XV],               5/5/2011     Yes         1,600          Other         Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                     LLC                              110                                                               [XVI], [XVII]                                                                                                                                                           Property Assessment                           VIRGINIA PROPERTY                  Owner as of 6/9/15, No Longer City or County Tax                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.94              $103.26          $165,216.00                                                                                                                                                                           7/3/2006              7/24/2015                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                              MANAGERS, LLC                      Owns Property                 Records                                                                       Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
  174    Ex 10/79    Bibb, Gregory                    1825 Quebec Drive               Bessemer          AL      35022   [XIII], [XV],             7/5/2011     Yes         2072       Property Tax      Yes                                                                  Taihe              Photo              13, 17         I                                                                                                                                                          Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                City or County Tax
                                                                                                                        [XVI], [XVII]                                                  Assessor's                        0.84              $92.27           $191,183.44                                                                       BIBB, NATALIE                      No Record of Ownership                                          11/30/2005                                                               2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                     Document with
                                                                                                                                                                                                                                                                                                                                                                                                                Records                                                                                                   650
  175    Ex 10/79 & Bienemy, Brandy Shelton           2820 Shannon Drive              Violet            LA      70092   [IX], [XV],               5/5/2011     Yes         1,125     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                          Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                              SHELTON, BRANDY                                                   City or County Tax
         Omni XX                                                                                                        [XVI], [XVII],                                                    Plan                           0.86              $94.47           $106,278.75                                                                                                          Owner as of 6/9/15                                              5/26/2000           Current Owner           Torres, III                  8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                        [XX]
                                                                                                                                                                                                                                                                                                                                              ROBINSON                                                          Records                                                                                                   303
  176    Ex 10/79    Bienemy, Eric                    2823 Daniel Drive               Violet            LA      70092   [II], [VII], [IX],        3/15/2010    Yes         1,080      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                          Bencomo & Associates         Raul Bencomo, Esq.                  (504) 289-2239   raul@bencomolaw.com
                                                                                                                        [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                               City or County Tax                                                                                        639 Loyola Avenue
                                                                                                                                                                                                                         0.86              $94.47           $102,027.60                                                                       BEINEMY, ERIC GERARD               Owner as of 6/9/15                                              3/30/2009           Current Owner                                                                                                                               $0.00
                                                                                                                        [XVII]                                                       Document with                                                                                                                                                                                                              Records                                                                                                   Suite 2110
                                                                                                                                                                                     Square Footage                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70113
  177    Ex 10/79    Bierria, Cindy and Nathaniel     7631 Brevard Avenue             New Orleans       LA      70127   [II], [VII], [XV],        3/15/2010    Yes         1,769         Other          Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                          Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                        [XVI], [XVII]                                                                                                                                                                                                         BIERRIA NATHANIEL A SR                                            City or County Tax                                                           LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                         0.86              $94.47           $167,117.43                                                                                                          Owner as of 6/9/15                                              11/30/1993          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                              BIERRIA CINDY J                                                   Records                                                                                                   425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  178    Ex 10/79 & Bilbo, Chester M. Jr.             403 Seventh Street              Bay St. Louis     MS      39520   [III], [XV],              10/7/2009    Yes         1,841          Other         Yes                                                                  Taihe              Photo              20             I                                                                                                                                                          Reeves & Mestayer            Jim Reeves, Esq.                    (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                                                                                                                                                                                                 Current Owner, Unknown
         Omni XX                                                                                                        [XVI], [XVII],                                                                                   0.84              $92.27           $169,869.07                                                                       BILBO CHESTER M JR ETAL                                                                                                Current Owner                                        160 Main St                                                                            $0.00
                                                                                                                        [XX], [XXXI]
                                                                                                                                                                                                                                                                                                                                                                                 Purchase Date                                                                                                                             Biloxi, MS 39530
  179    RP          Billy, Ronald and Tabitha        3261 Lee Way Court Unit 506     Ft. Myers         FL      33903   [IX], [XV],               5/5/2011     Yes         1,459     Builder's Floor    Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                          Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              MATTESON MARK R +                  Previous Owner, Did Not Own
                                                      North                                                             [XVI], [XVII]                                                     Plan                           0.80              $87.88           $128,216.92                                                                                                                                      Tax Records + Title/Deed            3/22/2007              4/17/2014                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                              CONNIE M                           Property on 6/9/15                                                                                                                       Fort Myers, FL 33907
  180    Ex 10/79    Billy, William and Thadius       9900 Grant Street               New Orleans       LA      70127   [III], [VII], [XV],       10/7/2009    Yes         1,390      Property Tax      Yes                                                                  Taihe              Photo              16, 17         I                                                                                                                                                          Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                        [XVI], [XVII]                                                  Assessor's                                                                                                                                             BILLY WILLIAM SR                                                  City or County Tax                                                                                        820 O'Keefe Avenue
                                                                                                                                                                                                                         0.86              $94.47           $131,313.30                                                                                                          Owner as of 6/9/15                                              9/11/1995           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                     Document with                                                                                                                                            BILLY THADIUS MARI J                                              Records                                                                                                   New Orleans, LA 70113
                                                                                                                                                                                     Square Footage
                                                                                                                            Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 7 of 82



Claimant Source     Claimant Name                   Affected Property Address       City              State   Zip     Omni(s)                Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                    Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                        Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                 Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                  Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                       or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                   May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                              Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                    Sharefile
  181    Ex 10/79   Binda, Coral                    3366 S.W. Frankford Street      Port St. Lucie    FL      34953   [IX], [XV],              5/5/2011     Yes         2,154     Builder's Floor    Yes                                                                  Taishan            Photo               5, 6           J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                    Plan                                                                                                                                                                                                                   City or County Tax                                                           Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82                $90.08          $194,032.32                                                                        CORAL V BINDA                      Owner as of 6/9/15                                              6/15/2005           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                              Records                                                                      Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  182    Ex 10/79   Binetti, Michael                2929 Riddick Lane               Virginia Beach    VA      23456   [II(C)], [XV],           1/24/2011    Yes         2,933      Property Tax      Yes                                                                  Venture Supply     Photo               40             K                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $302,861.58                                                                        MICHAEL BINETTI                    Owner as of 6/9/15             Tax Records + Title/Deed         7/29/2005           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
  183    RP         Birkholz, Berlyn and Elaine     12644 20th Street               East Parrish      FL      34129   [II(A)], [III],          10/7/2009    Yes         3,466      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                             SWENSON, RYAN                      Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $304,592.08                                                                                                                                       Tax Records + Title/Deed            10/16/2007             3/14/2011                                                                                                                                 $0.00
                                                                                                                      [XVII]                                                      Document with                                                                                                                                             SWENSON, CYNTHIA                   Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  184    RP         Bishop, Brian                   60 Oak Lane                     Waynesboro        MS      39367   [III], [VII], [XV],      10/7/2009    Yes         1,836      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                          Hawkins Gibson                 Edward Gibson, Esq.               (228) 467-4225   egibson@hgattorneys.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.81              $88.98           $163,367.28                                                                        UNKNOWN                            Records Not Available                                                                                                                      153 Main St                                                                           $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Bay St Louis, MS 39520
  185    RP         Sheridan Beach Club             529 E. Sheridan Street #403     Dania Beach       FL      33004   [IX], [XV],              5/5/2011     Yes         1,575      Property Tax      Yes                                                                  Taishan            Photo               6, 11          J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                         [XVI], [XVII]                                                  Assessor's                                                                                                                                             BRUCK,VIVIANA E       Previous Owner, Did Not Own                                                                                              Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $140,143.50                                                                                                                          Tax Records + Title/Deed                         5/15/2007              12/9/2014                                                                                                                                 $0.00
                    Inc. (Bishop, Chad)                                                                                                                                           Document with                                                                                                                                             BRUCKDETOURN,MONICA I Property on 6/9/15                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  186    Ex 10/79   Bishop, Michael                 2310 SW 19th Street             Cape Coral        FL      33991   [III], [XV],             10/7/2009    Yes         2,044      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Viles & Beckman, LLC           Michael Beckman, Esq.             (239) 334-3933   michael@vilesandbeckman.
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.80              $87.88           $179,626.72                                                                        BISHOP MICHAEL G                   Owner as of 6/9/15             Tax Records + Title/Deed         5/19/2008           Current Owner                                          6350 Presidential Court                            com                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33919
  187    Ex 10/79   Black, Douglas and Elizabeth    833 King Leon Way               Sun City Center   FL      33573   [III], [XIII], [XV],     10/7/2009    Yes         1,808      Property Tax      Yes                                                                  Taishan            Photo               6              J           BLACK DOUGLAS LIFE                                                                                                                             Krupnick Cambell               Michael Ryan, Esq.                (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.83              $91.18           $164,853.44                                                                        ESTATE                             Owner as of 6/9/15             Tax Records + Title/Deed          8/4/2006           Current Owner                                          12 SE 7th St #801                                                                     $0.00
                                                                                                                                                                                  Document with                                                                                                                                             BLACK ELIZABETH LIFE                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  188    Ex 10/79   Blackburn, Benton and Amy       2076 Mohican Drive              Waverly           AL      36879   [II(C)], [XV],           1/24/2011    Yes         1776       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                          Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                            BLACKBURN AMY V &                                                 City or County Tax
                                                                                                                      [XVI], [XVII],                                                 Assessor's                       0.84              $92.27           $163,871.52                                                                                                           Owner as of 6/9/15                                              8/16/2007           Current Owner                                          900 W. Morgan Street                                                                  $0.00
                                                                                                                      [XXI]                                                       Document with
                                                                                                                                                                                                                                                                                                                                            BENTON C                                                          Records                                                                                                     Raleigh, NC 27603
  189    Ex 10/79 & Blaise, Ervin                   1414 Reynes Street              New Orleans       LA      70117   [III], [XV],             10/7/2009    Yes         1,512      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                          Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
         Omni XX                                                                                                      [XVI], [XVII],                                                 Assessor's                       0.86              $94.47           $142,838.64                                                                        BLAISE ERVIN J                     Owner as of 6/9/15             Tax Records + Title/Deed          3/4/2002           Current Owner                                          27300 Riverview Center Blvd                                                           $0.00
                                                                                                                      [XX]                                                        Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  190    Ex 10/79   Blalock, Angeles                3400 Napoleon Avenue            New Orleans       LA      70125   [III], [VII], [XV],      10/7/2009    Yes         6,485        Appraisal       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                          Martzell & Bickford            Scott Bickford, Esq.              (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                                                                                              City or County Tax
                                                                                                                      [XVI], [XVII]                                               Showing Floor                       0.86              $94.47           $612,637.95                                                                        BLALOCK ANGELES P                  Owner as of 6/9/15                                              3/21/2000           Current Owner                                          338 Lafayette Street                                                                  $0.00
                                                                                                                                                                                  Plan and Square
                                                                                                                                                                                                                                                                                                                                                                                                              Records                                                                                                     New Orleans, LA 70130
  191    Ex 10/79   Blanchard, Abelar               418 Vine Cliff Street           Ruskin            FL      33570   [IX], [XV],              5/5/2011     Yes         2,915      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                          Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            PAUL JESSICA METELLUS              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.83              $91.18           $265,789.70                                                                                                                                       Tax Records + Title/Deed            7/31/2007               5/8/2014                                           27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                  Document with
                                                                                                                                                                                                                                                                                                                                            JOSEPH WILLIAMS II                 Property on 6/9/15                                                                                                                         Bonita Springs, FL 34134
  192    Ex 10/79   Blanchard, Kimberly L.          1349 Franklin Street            Mandeville        LA      70048   [XV], [XVI],             7/5/2011     Yes         1,250        Appraisal       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                          Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                            BLANCHARD, KIMBERLY
                                                                                                                      [XVII]                                                      Showing Floor                       0.86              $94.47           $118,087.50                                                                                                           Owner as of 6/9/15             Tax Records + Title/Deed         7/24/2008           Current Owner                                          820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                           LANDRY                                                                                                                                                                        New Orleans, LA 70113
  193    Ex 10/79   Bland, Elbert and Gloria        2315-17 Industry Street         New Orleans       LA      70122   [II], [VII], [XV],       3/15/2010    Yes         1,971      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                          Reich & Binstock               Dennis Reich, Esq.                (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                                                               Owner as of 6/9/15, No Longer City or County Tax
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.86              $94.47           $186,200.37                                                                        JOHNSON RAMEL V                                                                                     4/1/1999              9/22/2015                                           4265 San Felipe, Suite 1000                        om                                 $0.00
                                                                                                                                                                                  Document with
                                                                                                                                                                                                                                                                                                                                                                               Owns Property                 Records                                                                                                      Houston, TX 77027
  194    Ex 10/79   Blay, Mark and Anitra           620 Magnolia Ridge Road         Boutte            LA      70039   [IX], [XV],              5/5/2011     Yes         8,077          Other         Yes                                                                  DUN                Photo               42             E                                                                                                                                                          Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                            BLAY, MARK & BLAY,                                                City or County Tax
                                                                                                                      [XVI], [XVII]                                                                                   0.86              $94.47           $763,034.19                                                                                                           Owner as of 6/9/15                                               6/2/2008           Current Owner                                          820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                            ANITRA BRADSTREET                                                 Records                                                                                                     New Orleans, LA 70113
  195    RP         Blount, Demitrous and Rivera,   963 Hollymeade Circle           Newport News      VA      23602   [II], [XV], [XVI],       3/15/2010    Yes         1,844        Appraisal       Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                          Law Offices of Richard J.      Richard J. Serpe, Esq.            (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                            BENSON JOSEPH WILLIAM, Previous Owner, Did Not Own City or County Tax
                    Brian                                                                                             [XVII]                                                      Showing Floor                       0.95              $104.36          $192,439.84                                                                                                                                                                           4/20/2007              6/17/2013            Serpe                          580 East Main Street, Suite 310                                                       $0.00
                                                                                                                                                                                  Plan and Square
                                                                                                                                                                                                                                                                                                                                            BENSON MARY ANGELICA Property on 6/9/15            Records                                                                                                                    Norfolk, VA 23510
  196    Add.       Blue Water Coach Homes          174 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [XIII], [XV],            7/5/2011     Yes         2,381      Builder's Floor   Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com                                Homeowner,
         Taishan    Condominium Association         1003                                                              [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                               Budd, P.C.                     Baron & Budd                                                                                          Hornbeck, is
                                                                                                                                                                                                                                                                                                                                            HORNBECK RONALD +                  Previous Owner, Did Not Own
         Prop.                                                                                                                                                                                                        0.80              $87.88           $209,242.28                                                                                                                                       Tax Records + Title/Deed             1/5/2005             11/21/2006                                           3102 Oak Lawn Ave., Ste. 1100                                                         $0.00           represented by Parker
                                                                                                                                                                                                                                                                                                                                            HORNBECK LINDA T/C                 Property on 6/9/15                                                                                                                         Dallas, TX 75219                                                                                      Waichman. Per
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                5/15/17 email from
  197    Add.       Blue Water Coach Homes          175 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [XV], [XVI],             7/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo               5              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com                                See Don Throgmartin
         Taishan    Condominium Association         1103                                                              [XVII]                                                           Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd                                                                                          on OCXX
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                        ZELLER ELINOR JO ANN TR                                        Tax Records + Title/Deed             1/5/2005              4/27/2010                                                                                                                                 $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  198    Add.       Blue Water Coach Homes          202 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [II(C)], [XV],           1/24/2011    Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo               2, 7           J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Taishan    Condominium Association         403                                                               [XVI], [XVII]                                                    Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                        ZAREMBA YVONNE E TR                                            Tax Records + Title/Deed             1/5/2005              4/27/2010                                                                                                                                 $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  199    Add.       Blue Water Coach Homes          221 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [XV], [XVI],             7/5/2011     Yes         1,646     Builder's Floor    Yes                                                                  C&K                Photo               36             B                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Taishan    Condominium Association         1302                                                              [XVII]                                                           Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $144,650.48                                                                        SUAREZ RENE + EMMA                                             Tax Records + Title/Deed             1/5/2005              4/27/2010                                                                                                                               $80,591.54
         Prop.                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  200    Add.       Blue Water Coach Homes          221 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [XV], [XVI],             7/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taihe/ C&K         Photo               12, 35, 36     B, I                                                                                                                                                       Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Taishan    Condominium Association         1303                                                              [XVII]                                                           Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                        JORDAN JOHN E TR                                               Tax Records + Title/Deed             1/5/2005              4/27/2010                                                                                                                               $26,999.02
         Prop.                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  201    Add.       Blue Water Coach Homes          221 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [XV], [XVI],             7/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo               12             L                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com                                See Don Throgmartin
         Taishan    Condominium Association         1304                                                              [XVII]                                                           Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd                                                                                          on OCXX
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                        ZAREMHA YVONNE E TR                                            Tax Records + Title/Deed             1/5/2005              4/27/2010                                                                                                                                 $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  202    Ex 10/79 & Blue Water Coach Homes          174 Shadroe Cove Circle, Unit Cape Coral          FL      33991   [II], [II(B)],           3/15/2010    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Omni XX Condominium Association, Inc.      1002                                                              [II(C)], [VII],                                                  Plan                                                                                                                                                 DIEBOLD BURTON                     Previous Owner, Did Not Own City or County Tax                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $144,650.48                                                                                                                                                                            1/5/2004             11/13/2006                                                                                                                                 $0.00
                                                                                                                      [XV], [XVI],                                                                                                                                                                                                          GERALDINE                          Property on 6/9/15          Records                                                                         Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XVII], [XX]                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  203    Ex 10/79 & Blue Water Coach Homes          174 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [VII], [XV],             1/14/2011    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Omni XX Condominium Association, Inc.      1001                                                              [XVI], [XVII],                                                   Plan                                                                                                                                                 FEDERAL NATIONAL                   Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $144,650.48                                                                                                                                       Tax Records + Title/Deed             1/5/2005               5/9/2008                                                                                                                                 $0.00
                                                                                                                      [XX]                                                                                                                                                                                                                  MORTGAGE ASSN                      Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  204    Ex 10/79 & Blue Water Coach Homes          174 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [II(C)], [VII],          1/14/2011    Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo/ Inspection   8              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                            ZAREMBA YVONNE E TR
         Omni XX Condominium Association, Inc.      1004                                                              [IX], [XV],                                                      Plan                                                                                                  Report                                                                            Previous Owner, Did Not Own City or County Tax                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                        FOR YVONNE E ZAREMBA                                                                                1/5/2004              4/27/2010                                                                                                                                 $0.00
                                                                                                                      [XVI], [XVII],                                                                                                                                                                                                                                           Property on 6/9/15          Records                                                                         Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XX]                                                                                                                                                                                                                  TRUST                                                                                                                                                                         Dallas, TX 75219
  205    Add.       Blue Water Coach Homes          181 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [XV], [XVI],             7/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo               6, 9           J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Taishan    Condominium Association, Inc.   1204, Cape Coral, FL 33991                                        [XVII]                                                           Plan                                                                                                                                                 RIEGER ROBERT JR +                 Previous Owner, Did Not Own                                                                                 Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                                                                                       Tax Records + Title/Deed             1/5/2005             11/17/2006                                                                                                                                 $0.00
         Prop.                                                                                                                                                                                                                                                                                                                              SUZANNE                            Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  206    Ex 10/79 & Blue Water Coach Homes          194 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [II(B)], [II(C)],        12/6/2010    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Omni XX Condominium Association, Inc.      601                                                               [VI], [XVII],                                                    Plan                                                                                                                                                 HILL GERALD P +                    Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $144,650.48                                                                                                                                       Tax Records + Title/Deed             1/5/2005              7/21/2008                                                                                                                                 $0.00
                                                                                                                      [XX]                                                                                                                                                                                                                  SHARMON A                          Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  207    Ex 10/79 & Blue Water Coach Homes          194 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [VII], [XV],             1/14/2011    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Omni XX Condominium Association, Inc.      602                                                               [XVI], [XVII],                                                   Plan                                                                                                                                                                                    Previous Owner, Did Not Own City or County Tax                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $144,650.48                                                                        SPOTTS RUSSELL + LINDA                                                                              1/5/2004             11/25/2008                                                                                                                                 $0.00
                                                                                                                      [XX]                                                                                                                                                                                                                                                     Property on 6/9/15          Records                                                                         Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  208    Ex 10/79 & Blue Water Coach Homes          194 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [VII], [XV],             1/14/2011    Yes         2,393     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                            HESTON LAWRENCE H TR
         Omni XX Condominium Association, Inc.      604                                                               [XVI], [XVII],                                                   Plan                                                                                                                                                                       Previous Owner, Did Not Own                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $210,296.84                                                                        FOR LAWRENCE H HESTON                             Tax Records + Title/Deed                          1/5/2005              4/27/2010                                                                                                                                 $0.00
                                                                                                                      [XX]                                                                                                                                                                                                                                        Property on 6/9/15                                                                                                       Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                            TRUST                                                                                                                                                                         Dallas, TX 75219
  209    Ex 10/79   Blue Water Condo Assoc.         178 Shadroe Cove Circle Unit    Cape Coral        FL      33991   [IX], [XV],              5/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo               2              J           MCSHANE MICHAEL L TR +                                                                                                                         Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    904                                                               [XVI], [XVII]                                                    Plan                                                                                                                                                 FOR MICHAEL L MCSHANE Previous Owner, Did Not Own                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                                                                          Tax Records + Title/Deed                          1/5/2005             12/28/2006                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                            TRUST MCSHANE SUSAN K Property on 6/9/15                                                                                                       Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                            TR FOR SUSAN K                                                                                                                                                                Dallas, TX 75219
  210    Ex 10/79   Blue Water Condo Assoc.         182 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],              5/5/2011     Yes         2,393     Builder's Floor    Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    803                                                               [XVI], [XVII]                                                    Plan                                                                                                                                                 SCHMITT RONALD E +                 Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $210,296.84                                                                                                                                       Tax Records + Title/Deed             1/5/2005             12/21/2006                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                            RENEE                              Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  211    Ex 10/79   Blue Water Condo Assoc.         182 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [XV], [XVI],             7/5/2011     Yes         2,393     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    804                                                               [XVII]                                                           Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $210,296.84                                                                        BLUE WATER 804 LLC                                             Tax Records + Title/Deed             1/5/2005              4/27/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
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  212    Ex 10/79   Blue Water Condo Assoc.         190 Shadroe Cove Circle Unit    Cape Coral        FL      33991   [IX], [XV],              5/5/2011     Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    701                                                               [XVI], [XVII]                                                    Plan                                                                                                                                                 WHITE MARSHALL R +                 Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $144,650.48                                                                                                                                       Tax Records + Title/Deed             1/5/2005              7/29/2008                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                            CYNTHIA S                          Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  213    Ex 10/79   Blue Water Condo Assoc.         190 Shadroe Cove Circle Unit    Cape Coral        FL      33991   [II], [II(B)],           3/15/2010    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    702                                                               [III(A)], [IX],                                                  Plan                                                                                                                                                 DAPRILE ANTHONY +                  Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $144,650.48                                                                                                                                       Tax Records + Title/Deed             1/5/2005             12/24/2007                                                                                                                                 $0.00
                                                                                                                      [XV], [XVI],                                                                                                                                                                                                          MARCIA                             Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
  214    Ex 10/79   Blue Water Condo Assoc.         190 Shadroe Cove Circle Unit    Cape Coral        FL      33991   [IX], [XV],              5/5/2011     Yes         2,393     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                            ZAREMBA YVONNE E TR
                                                    703                                                               [XVI], [XVII]                                                    Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $210,296.84                                                                        FOR YVONNE E ZAREMBA                                           Tax Records + Title/Deed             1/5/2005             12/28/2006                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                            TRUST                                                                                                                                                                         Dallas, TX 75219
  215    Ex 10/79   Blue Water Condo Assoc.         190 Shadroe Cove Circle Unit    Cape Coral        FL      33991   [XIII], [XV],            7/5/2011     Yes         2,393     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                          Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    704                                                               [XVI], [XVII]                                                    Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $210,296.84                                                                        KOLAR JAMES JOHN                                               Tax Records + Title/Deed             1/7/2005              5/19/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
                                                                                                                            Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 8 of 82



Claimant Source     Claimant Name                   Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                        Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                            Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                               Current Owner as of             Ownership Status of Named      Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                   Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                             Product ID                                                                                                                                           or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer                  Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                                  Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                     Sharefile
  216    Ex 10/79   Blue Water Condo Assoc.         198 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [III(A)], [IX],           9/16/2010    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    501                                                               [XV], [XVI],                                                      Plan                                                                                                                                               CRAWFORD MICHAEL L +               Previous Owner, Did Not Own City or County Tax                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80                $87.88          $144,650.48                                                                                                                                                                              1/5/2004              4/10/2008                                                                                                                                 $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                               LINDA A                            Property on 6/9/15          Records                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  217    Ex 10/79   Blue Water Condo Assoc.         198 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    502                                                               [XVI], [XVII]                                                     Plan                                                                                                                                               STILLITANO MATTHEW M & Previous Owner, Did Not Own                                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,650.48                                                                                                                         Tax Records + Title/Deed                            6/10/2013              3/31/2014                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           STILLITANO LESLIE G    Property on 6/9/15                                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  218    Ex 10/79   Blue Water Condo Assoc.         198 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    504                                                               [XVI], [XVII]                                                     Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $209,242.28                                                                      DIMMER MARK A                                                  Tax Records + Title/Deed                 1/5/2005              4/27/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  219    Ex 10/79   Blue Water Condo Assoc.         202 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [II(C)], [IX],            1/24/2011    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                           ZAREMBA YVONNE E TR
                                                    401                                                               [XV], [XVI],                                                      Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,650.48                                                                      FOR YVONNE E ZAREMBA                                           Tax Records + Title/Deed                 1/5/2005              4/27/2010                                                                                                                                 $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                                                                  Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           TRUST                                                                                                                                                                             Dallas, TX 75219
  220    Ex 10/79   Blue Water Condo Assoc.         202 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com                                Parker Waichman
                                                    402                                                               [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt        Baron & Budd                                                                                          represents the property
                                                                                                                                                                                                                                                                                                                                           FENIMORE CHARLES +                 Previous Owner, Did Not Own
                                                                                                                                                                                                                       0.80              $87.88           $144,650.48                                                                                                                                     Tax Records + Title/Deed                 1/5/2005               1/9/2007            Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100                                                         $0.00           owner, Eugene Reaves
                                                                                                                                                                                                                                                                                                                                           CHARLENE                           Property on 6/9/15                                                                                                                             Dallas, TX 75219

  221    Ex 10/79   Blue Water Condo Assoc.         202 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    404                                                               [XVI], [XVII]                                                     Plan                                                                                                                                               WILLMES RONALD L +                 Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $209,242.28                                                                                                                                     Tax Records + Title/Deed                 1/5/2005             12/18/2006                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           ANITA L                            Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  222    Ex 10/79   Blue Water Condo Assoc.         206 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    302                                                               [XVI], [XVII]                                                     Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,650.48                                                                      GRANT SCOTT E + LISA F                                         Tax Records + Title/Deed                11/29/2010             1/25/2013                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  223    Ex 10/79   Blue Water Condo Assoc.         206 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    303                                                               [XVI], [XVII]                                                     Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $209,242.28                                                                      SHAFER MARY L                                                  Tax Records + Title/Deed                 1/5/2005              2/22/2007                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  224    Ex 10/79   Blue Water Condominium          178 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [VII], [XV],              1/14/2011    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    902                                                               [XVI], [XVII]                                                     Plan                                                                                                                                               BARTLETT RICKIE A +                Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,650.48                                                                                                                                     Tax Records + Title/Deed                 1/5/2005              4/27/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           CHERYL A                           Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  225    Ex 10/79   Blue Water Condominium          178 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [VII], [XV],              1/14/2011    Yes         2,381     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    903                                                               [XVI], [XVII]                                                     Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $209,242.28                                                                      UNKNOWN                                                        Title/Deed                               1/5/2004              4/27/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  226    Ex 10/79   Blue Water Condominium          178 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [II(B)], [II(C)],         10/7/2009    Yes         1,646     Builder's Floor    Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                           FERMOILE JAMES L S TR
                    Association                     901                                                               [III], [VII], [XV],                                               Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                     Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,650.48                                                                      FOR JAME L S FERMOILE                                          Tax Records + Title/Deed                 1/5/2005              1/18/2007                                                                                                                                 $0.00
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                           Property on 6/9/15                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           TRUST                                                                                                                                                                             Dallas, TX 75219
  227    Ex 10/79   Blue Water Condominium          194 Shadroe Cove Circle, Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         2,393     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                              Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                    Association                     603                                                               [XVI], [XVII]                                                     Plan                                                                                                                                                                                  Previous Owner, Did Not Own City or County Tax                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $210,296.84                                                                      SANTELLE THOMAS D                                                                                       1/5/2004              2/27/2009                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15          Records                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  228    Ex 10/79   Blue, John and Rachelle         422 28th Street                 New Orleans       LA      70124   [III], [VII], [XV],       10/7/2009    Yes         2,544       Property Tax     Yes                                                                  Taihe              Photo             15             I                                                                                                                                                              The Lambert Firm               Hugh Lambert, Esq.                (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                           BLUE JOHN B
                                                                                                                      [XVI], [XVII]                                                   Assessor's                       0.86              $94.47           $240,331.68                                                                                                         Owner as of 6/9/15                 City or County Tax Records        7/29/2003            Current Owner                                        701 Magazine St,                                   om                                 $0.00
                                                                                                                                                                                   Document with
                                                                                                                                                                                                                                                                                                                                           BLUE RACHELLE R                                                                                                                                                                   New Orleans LA 70130
  229    Ex 10/79   Boasso, Raymond                 4600 E. St. Bernard Hwy.        Meraux            LA      70075   [XIII], [XV],             7/5/2011     Yes         5,345        Appraisal       Yes                                                                  Taihe              Photo             17, 18         I                                                                                                                                                              Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.            (985) 292-2300   jean@paullea.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                                                             724 East Boston Street
                                                                                                                                                                                                                       0.86              $94.47           $504,942.15                                                                      BOASSO, RAYMOND J.                 Owner as of 6/9/15                 City or County Tax Records        9/17/2008            Current Owner                                                                                                                              $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                           Covington, LA 70433
                                                                                                                                                                                       Footage
  230    RP         Boasso, Walter                  12 Brittany Place               Arabi             LA      70032   [XIII], [XV],             7/5/2011     Yes         3,102        Appraisal       Yes                                                                  Taihe              Photo             17, 18         I                                                                                                                                                              Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.            (985) 292-2300   jean@paullea.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                                                                           DOODY, KATHLEEN                    Previous Owner, Did Not Own                                                                                                                    724 East Boston Street
                                                                                                                                                                                                                       0.86              $94.47           $293,045.94                                                                                                                                            City or County Tax Records        6/28/2006             10/19/2012                                                                                                                                $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                         BRIDGET                            Property on 6/9/15                                                                                                                             Covington, LA 70433
                                                                                                                                                                                       Footage
  231    Ex 10/79   Bobrow, Scott and Cheryl        7217 Wisteria Avenue            Parkland          FL      33076   [XIII], [XV],             7/5/2011     Yes         3,660      Builder's Floor   Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                              Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                      [XVI], [XVII]                                                      Plan                          0.81              $88.98           $325,666.80                                                                      BOBROW,CHERYL & SCOTT Owner as of 6/9/15                              City or County Tax Records        9/22/2008            Current Owner                                      12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
  232    RP         Boersma, Kenneth and Victoria   9664 Cobblestone Creek Drive    Boynton Beach     FL      33472   [II], [IX], [XV],         3/15/2010    Yes         3,975      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                              Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           FURR SCOTT            Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.82              $90.08           $358,068.00                                                                                                                                            Tax Records + Title/Deed          10/6/2006              10/7/2013                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                   Document with
                                                                                                                                                                                                                                                                                                                                           HETHERINGTON DAMIEN & Property on 6/9/15                                                                                                                                        Fort Lauderdale, FL 33301-3434
  233    Ex 10/79   Boglin, Richard and Regina      2028 Pratt Highway              Birmingham        AL      35214   [III], [VII], [XV],       10/7/2009    Yes         2016       Property Tax      Yes                                                                  Taihe              Photo             19             I                                                                                                                                                              Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $186,016.32                                                                      BOGLIN REGINA S                    Owner as of 6/9/15                 City or County Tax Records        8/14/2001            Current Owner                                      900 W. Morgan Street                                                                    $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
  234    Ex 10/79   Bohler, Ann and Robert          1360 Julian Drive               Watkinsville      GA      30677   [IX], [XV],               5/5/2011     Yes         2,434      Property Tax      Yes                                                                  Venture Supply     Photo             41             K                                                                                                                                                              Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                                                                                                                               Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                      [XXII]                                                       Document with                                                                                                                                           VICKI LYNN & BOHLER                                                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                      0.81              $88.98           $216,577.32                                                                      ANDREW CRAWFORD                    Owner as of 6/9/15                 City or County Tax Records        6/22/2006            Current Owner         Richard J. Serpe             Coral Gables, FL 33134                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                           FROSS


  235    Ex 10/79   Bohorquez, Noe A. Machado       10837 NW 79 Street              Miami             FL      33185   [III], [VII], [XV],       10/7/2009    Yes         1,501     Builder's Floor    Yes                                                                  Taishan            Photo             8              J                                                                                                                                                              Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                                                                               NOE ANTONIO MACHADO                                                                                                                                Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.81              $88.98           $133,558.98                                                                                                         Owner as of 6/9/15                 Tax Records + Title/Deed          12/22/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           BOHORQUEZ                                                                                                                                          Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Richard J. Serpe               Coral Gables, FL 33134
  236    Ex 10/79   Boland Marine                   4426 Cessna Court               New Orleans       LA      70126   [XIII], [XV],             7/5/2011     Yes          585       Property Tax      Yes                                                                  Taihe              Photo             16, 17, 21     I                                                                                                                                                              Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47            $55,264.95                                                                      4426 CESSNA COURT, LLC             Owner as of 6/9/15                 City or County Tax Records        8/10/2010            Current Owner                                        820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
  237    Ex 10/79   Boland Marine                   5919 Boeing Street              New Orleans       LA      70126   [XIII], [XV],             7/5/2011     Yes          741       Property Tax      Yes                                                                  Taihe/ DUN         Photo             17, 42         E, I                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                              820 O'Keefe Avenue
                                                                                                                                                                                                                       0.86              $94.47            $70,002.27                                                                      5919 BOEING STREET, LLC            Owner as of 6/9/15                 City or County Tax Records         8/3/2010            Current Owner                                                                                                                              $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
                                                                                                                                                                                   Square Footage
  238    Ex 10/79   Boland Marine                   6006 Boeing Street              New Orleans       LA      70126   [XIII], [XV],             7/5/2011     Yes          741       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                              Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47            $70,002.27                                                                      6006 BOEING STREET, LCC            Owner as of 6/9/15                 City or County Tax Records        8/10/2010            Current Owner                                        820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
  239    Ex 10/79   Boland Marine                   6025 Boeing Street              New Orleans       LA      70126   [XIII], [XV],             7/5/2011     Yes          741       Property Tax      Yes                                                                  Taihe              Photo             20, 21         I                                                                                                                                                              Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47            $70,002.27                                                                      6025 BOEING STREET LLC             Owner as of 6/9/15                 City or County Tax Records        8/13/2010            Current Owner                                        820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
  240    Ex 10/79   Boland Marine                   5942 Boeing Street              New Orleans       LA      70126   [XIII], [XV],             7/5/2011     Yes          741       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                              Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47            $70,002.27                                                                      5942 BOEING STREET, LLC            Owner as of 6/9/15                 City or County Tax Records        8/10/2010            Current Owner                                        820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
  241    Ex 10/79   Boland Marine                   5943 Boeing Street              New Orleans       LA      70126   [XIII], [XV],             7/5/2011     Yes          702       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                              Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47            $66,317.94                                                                      5943 BOEING STREET, LLC            Owner as of 6/9/15                 City or County Tax Records        8/10/2010            Current Owner                                        820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
  242    RP         Bollenberg, Craig               100 Patricks Court              Carrollton        VA      23314   [II(C)], [XV],            1/24/2011    Yes         3,140      Property Tax      Yes                                                                  Venture Supply     Photo             39             K                                                                                                                                                              Law Offices of Richard J.      Richard J. Serpe, Esq.            (757) 233-0009   rserpe@serpefirm.com                               *VA settlement
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                            MCDANIEL BRENT J &                 Previous Owner, Did Not Own                                                                                     Serpe                          580 East Main Street, Suite 310                                                                       payment to Fannie Mae
                                                                                                                                                                                   Document with                       0.94              $103.26          $324,236.40
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                 City or County Tax Records        11/1/2006              3/15/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Norfolk, VA 23510                                                                     $0.00           c/o David R. Box
                                                                                                                                                                                                                                                                                                                                           LESLIE K
                                                                                                                                                                                   Square Footage
  243    Ex 10/79   Bonome-Rodriguez, Ramon         8031 W 36th Avenue Unit #1      Hialeah           FL      33018   [XIII], [XV],             7/5/2011     Yes         1,361      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                              Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.81              $88.98           $121,101.78                                                                      RAMON BONOME                       Owner as of 6/9/15                 City or County Tax Records        6/11/2007            Current Owner                                      27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  244    RP         Bontu, Praksah R. and Rupa      809 King Leon Way               Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,819     Builder's Floor    Yes                                                                  Venture Supply     Photo             38             K                                                                                                                                                              Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                     Plan                           0.83              $91.18           $165,856.42                                                                      ORTMANN DAVID                                                         Tax Records + Title/Deed          12/20/2006             2/27/2014                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
  245    RP         Bookman, Sheryl and Jarrod      9821 Cobblestone Creek          Boynton Beach     FL      33472   [II], [II(B)], [VII],     3/15/2010    Yes         3,692      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                              Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                     Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.82              $90.08           $332,575.36                                                                      MARGEOTES GARY S                                                      Tax Records + Title/Deed          7/21/2006               1/7/2014                                                                                                                                $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  246    Ex 10/79   Boothe, Nell                    483 Tranquil Drive              Winder            GA      30680   [II(A)], [XV],            9/16/2010    Yes         1,870      Property Tax      Yes                                                                  Venture Supply     Photo             38             K                                                                                                                                                              Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.81              $88.98           $166,392.60                                                                      BOOTHE NELL W                      Owner as of 6/9/15                 City or County Tax Records        9/20/2006            Current Owner                                      900 W. Morgan Street                                                                    $0.00
                                                                                                                      [XXII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
  247    Ex 10/79   Borgardt, David and Katherine   2160 NW 23rd Avenue             Cape Coral        FL      33993   [IX], [XV],               5/5/2011     Yes         1,712      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                              Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           BORGARDT DAVID SR +
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $150,450.56                                                                                                         Owner as of 6/9/15                 City or County Tax Records        1/22/2009            Current Owner         Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                   Document with
                                                                                                                                                                                                                                                                                                                                           KATHERINE                                                                                                                                                                       300
  248    Ex 10/79   Borges, Virgilio and Janaina    5660 Kensington Loop            Ft. Myers         FL      33912   [II(C)], [III],           10/7/2009    Yes         1,675      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                              Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $147,199.00                                                                      REID RICHARD + MARY                                                   City or County Tax Records        11/7/2006              8/3/2010                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  249    Ex 10/79   Borklund, Stephen               917 Alford Avenue               Hoover            AL      35226   [II(C)], [XV],            1/24/2011    Yes         1821       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                              Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                            BORKLUND STEPHEN E &
                                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $168,023.67                                                                                                         Owner as of 6/9/15                 City or County Tax Records         3/1/2005            Current Owner                                      900 W. Morgan Street                                                                    $0.00
                                                                                                                      [XXI]                                                        Document with
                                                                                                                                                                                                                                                                                                                                           JESSICA B                                                                                                                                                                       Raleigh, NC 27603
  250    RP         Borne, Barry and Mary           1217 Magnolia Avenue            Mandeville        LA      70124   [II(C)], [III],           10/7/2009    Yes         1,652     Builder's Floor    Yes                                                                  Taihe              Photo             15, 17, 21     I                                                                                                                                                              The Lambert Firm             Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Unknown Purchase
                                                                                                                      [VII], [XV],                                                      Plan                           0.86              $94.47           $156,064.44                                                                      JACKSON, DONNA S                                                    Tax Records + Title/Deed             6/6/2007                                                               701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Date
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                        New Orleans LA 70130
  251    Ex 10/79 & Borne, Kim                      6145 General Diaz               New Orleans       LA      70124   [XV], [XVI],              7/5/2011     Yes         3,000          Other         Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                              Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
                                                                                                                                                                                                                                                                                                                                           AERTKER SCOTT T                    Owner as of 6/9/15, No Longer Owns
         Omni XX                                                                                                      [XVII], [XX]                                                                                     0.86              $94.47           $283,410.00                                                                                                                                            City or County Tax Records         4/1/2003              11/5/2015                                        724 East Boston Street                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                           WEISS ASHLEY L                     Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Covington, LA 70433
                                                                                                                           Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 9 of 82



Claimant Source     Claimant Name                     Affected Property Address     City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                          Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                              Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named      Proof of Ownership Per Brown     Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                  Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                             or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer                  Greer                   Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                                    Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                    Sharefile
  252    Ex 10/79   Borowski, Jason and Christine     11141 Laurel Walk Road        Wellington       FL      33449   [IX], [XV],               5/5/2011     Yes         3,002     Builder's Floor    Yes                                                                  Chinese            Photo               37             C                                                                                                                                                                Allison Grant, P.A. Baron &  Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                     Plan                                                                               Manufacturer 2                                                    BOROWSKI JASON &                                                                                                                                     Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.82                $90.08          $270,420.16                                                                                                           Owner as of 6/9/15                 Tax Records + Title/Deed            10/9/2008            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                            BOROWSKI CHRISTINE                                                                                                                                   Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
  253    Ex 10/79   Bosch, Yunia and Muris, Luis      8049 W 36th Avenue #2         Hialeah          FL      33018   [II(B)], [III],           10/7/2009    Yes         1,358       Property Tax     Yes                                                                  Taishan            Photo               8              J                                                                                                                                                                Allison Grant, P.A. Baron &  Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $120,834.84                                                                        YUNIA BOSCH                        Owner as of 6/9/15                 City or County Tax Records          1/18/2007            Current Owner                                                                                                                               $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                  Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
  254    RP         Bosse, David and Christina        1916 Bright Water Drive       Gulf Breeze      FL      32563   [III], [VII], [XV],       10/7/2009    Yes         1,570       Property Tax     Yes                                                                  Taihe              Photo               20             I                                                                                                                                                                Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                             COX JOSEPH H III & JANET           Previous Owner, Did Not Own                                                                                       Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.85              $93.37           $146,590.90                                                                                                                                              City or County Tax Records          7/31/2007              4/14/2014                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                             M                                  Property on 6/9/15                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
  255    RP         Boucvalt, Shane                   14147 Citrus Crest Circle     Tampa            FL      33625   [VII], [XIII],            1/14/2011    Yes         1,598       Property Tax     Yes                                                                  Taihe              Photo               13, 14         H, I                                                                                                                                                             Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                    Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                       Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.83              $91.18           $145,705.64                                                                        PROVENZANO JULIE                                                      Tax Records + Title/Deed            4/30/2008              8/31/2012                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
  256    Ex 10/79   Boudreaux, Shaun and Justine      3005 Blanchard Drive          Chalmette        LA      70043   [III], [IX], [XV],        10/7/2009    Yes         1,340        Appraisal       Yes                                                                  Taihe              Photo               17             I           BOUDREAUX, SHAUN                                                                                                                                     Law Offices of Sidney D.     Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                     [XVI], [XVII]                                                Showing Floor                       0.86              $94.47           $126,589.80                                                                        MICHAEL & TRUDEAU,                 Owner as of 6/9/15                 City or County Tax Records           3/1/2011            Current Owner         Torres, III                  8301 W. Judge Perez Drive, Suite                                                         $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                           JUSTINE ELIZABETH                                                                                                                                                                 303
  257    RP         Bourg, Junius                     2031 Benjamin Street          Arabi            LA      70032   [III], [VII], [XV],       10/7/2009    Yes          748        Property Tax     Yes                                                                  Taihe              Photo               13             I                                                                                                                                                                Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                             WILCOX, BELLAZAR                   Previous Owner, Did Not Own                                                                                       LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86              $94.47            $70,663.56                                                                                                                                              City or County Tax Records          1/24/2007              5/16/2014                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                             HERNANDEZ                          Property on 6/9/15                                                                                                                             425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
  258    Ex 10/79   Bourgeois, Patricia and Glenn     409 Sable Drive               Arabi            LA      70032   [IX], [XV],               5/5/2011     Yes         1,781        Appraisal       Yes                                                                  Taihe              Photo               13             I           21ST. MORTGAGE                                                                                                                                       The Lambert Firm Greg DiLeo Hugh Lambert, Esq.                    (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                               Owner as of 6/9/15, No Longer Owns
                                                                                                                     [XVI], [XVII]                                                Showing Floor                       0.86              $94.47           $168,251.07                                                                        CORPORATION                                                           City or County Tax Records          4/21/2011              10/5/2016           Law Offices Kanner &         701 Magazine St,                                      om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property
                                                                                                                                                                                  Plan and Square                                                                                                                                           MORTGAGEE                                                                                                                                            Whiteley, LLC Milstein,      New Orleans LA 70130
  259    Add.       Bourgois, Marc and Julie          4315 Annunciation Street      New Orleans      LA      70115   [II(A)], [III(A)],        9/16/2010    Yes         2,112      Builder's Floor   Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                                Gainsburgh Benjamin          Gerald Meunier, Esq.                 (504) 522-2304   gmeunier@gainsben.com                              See First National Bank
         Taishan                                                                                                     [VII], [XV],                                                       Plan                                                                                                                                                SHOEMAKER MARC D &                 Previous Owner, Did Not Own                                                                                                                    2800 Energy Centre                                                                                       on OCXX
                                                                                                                                                                                                                      0.86              $94.47           $199,520.64                                                                                                                                              City or County Tax Records           8/1/2007               2/1/2011                                                                                                                                 $0.00
         Prop.                                                                                                       [XVI], [XVII]                                                                                                                                                                                                          SHOEMAKER SHERI L                  Property on 6/9/15                                                                                                                             1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70163
  260    RP         Bourguignon, Susan                14149 Citrus Crest Circle     Tampa            FL      33625   [IX],[XIII], [XV],        5/5/2011     Yes         1,598      Property Tax      Yes                                                                  Taihe              Photo               14, 20         H, I                                                                                                                                                             Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                              ROLLE ZACHARY B JR                 Previous Owner, Did Not Own                                                                                       Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.83              $91.18           $145,705.64                                                                                                                                              Tax Records + Title/Deed            1/11/2007              2/14/2014                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                             ROLLE CHRISTOPHER D                Property on 6/9/15                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
  261    Ex 10/79   Boutte, Gloria                    3537 Republic Street          New Orleans      LA      70122   [III], [VII], [XV],       10/7/2009    Yes         1,308      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                                Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                   LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86              $94.47           $123,566.76                                                                        BOUTTE GLORIA THOMAS Owner as of 6/9/15                               City or County Tax Records          12/2/2000            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                               425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
  262    Ex 10/79   Boutte, Kevin                     4947 Pauline Drive            New Orleans      LA      70126   [III(A)], [VII],          9/16/2010    Yes         1,545      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                                Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                        0.86              $94.47           $145,956.15                                                                        BOUTTE LILLIE M                    Owner as of 6/9/15                 City or County Tax Records          11/30/1998           Current Owner                                      425 W. Airline Hwy, Suite B                                                              $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
  263    RP         Bowden, Charles and Tracy         73 Thomas School Road         Lumberton        MS      39455   [III(A)], [VII],          9/16/2010    Yes         1,280         Other          Yes                                                                  Taihe              Photo               20             I                                                                                                                                                                Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XV], [XVI],                                                                                                                                                                                                                                                                                                                                                                LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.79              $86.78           $111,078.40                                                                        UNKNOWN                            Records Not Available                                                                                                                                                                                                                   $0.00
                                                                                                                     [XVII], [XXIII]                                                                                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
  264    Ex 10/79   Bowers, Gail and Roger            2805 W. Shelton Avenue        Tampa            FL      33611   [II(C)], [III], [IX],     10/7/2009    Yes         2,688      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                                Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                              BOWERS ROGER                                                                                                                                                                      27300 Riverview Center Blvd
                                                                                                                                                                                                                      0.83              $91.18           $245,091.84                                                                                                           Owner as of 6/9/15                 City or County Tax Records          7/10/2008            Current Owner                                                                                                                               $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                             BOWERS GAIL                                                                                                                                                                       Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage
  265    Ex 10/79 & Boyce, Gary E. And Christine      4049 Greenway Way Drive       Gulf Shores      AL      36542   [II(A)], [III],           10/7/2009    Yes         3058       Property Tax      Yes                                                                  Taihe              Photo               13, 17         I           CODY, EUGENE J ETAL CODY, Previous Owner, Did Not Own                 City or County Tax Records     8/8/2008              10/17/2014                Gentle, Turner & Sexton       K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
         RP         L.(Deceased)                                                                                     [XIII], [XV],                                                  Assessor's                                                                                                                                              DONNA E                   Property on 6/9/15                                                                                                                                       501 Riverchase Parkway East,
                                                                                                                                                                                                                      0.84              $92.27           $282,161.66                                                                                                                                                                                                                                                                                                                                                   $0.00
                                                                                                                     [XVI], [XVII],                                               Document with                                                                                                                                                                                                                                                                                                                                Suite 100
                                                                                                                     [XX], [XXI]                                                  Square Footage                                                                                                                                                                                                                                                                                                                               Hoover, AL 35244
  266    Ex 10/79   Boyer, Donata S. Milligan         1333 Sylvia Avenue            Metairie         LA      70005   [XIII], [XV],             7/5/2011     Yes         1,522         Other          Yes                                                                  Taihe              Photo               18             I                                                                                                                                                                Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                     [XVI], [XVII]                                                                                    0.86              $94.47           $143,783.34                                                                        BOYER,DONATA S                     Owner as of 6/9/15                 Tax Records + Title/Deed               2013              Current Owner                                       820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70113
  267    Ex 10/79   Sheridan Beach Club               529 E. Sheridan Street #406   Dania Beach      FL      33004   [IX], [XV],               5/5/2011     Yes         1,575      Property Tax      Yes                                                                  Taishan            Inspection Report   12             L                                                                                                                                                                Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                        [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                   Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $140,143.50                                                                        BRACCO, KIRSTEN                    Owner as of 6/9/15                 Tax Records + Title/Deed            2/15/2007            Current Owner                                                                                                                               $0.00
                    Inc. (Bracco, Kirsten)                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                  Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
  268    Ex 10/79   Bradley, Leon Sr. and Robin       1661 Lewis Road               Milton           FL      32570   [VII], [XV],              1/14/2011    Yes         2,434      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                                Levin Papantonio              Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                            BRADLEY LEON M SR &
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.85              $93.37           $227,262.58                                                                                                           Owner as of 6/9/15                 Tax Records + Title/Deed             2/1/1999            Current Owner                                       316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                  Document with
                                                                                                                                                                                                                                                                                                                                            ROBIN J                                                                                                                                                                            Pensacola, FL 32502
  269    Ex 10/79   Bradley, Rebecca                  438 34th Avenue N.            St. Petersburg   FL      33704   [XV], [XVI],              7/5/2011     Yes         1,478      Property Tax      Yes                                                                  Taihe              Photo               14, 15, 18     H, I                                                                                                                                                             Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                                 12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Unknown Purchase
                                                                                                                                                                                  Document with                       0.82              $90.08           $133,138.24                                                                        FELLOWS, BONNIE LYNN                                                City or County Tax Records            6/24/2008               7/2/2015                                         Fort Myers, FL 33907                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                               Date
                                                                                                                                                                                  Square Footage

  270    RP         Bradshaw, Patrick                 109010 Observatory Way        Tampa            FL      33647   [XIII], [XV],             7/5/2011     No          2,077       Property Tax     Yes                                                                  C&K                Photo               34             B                                                                                                                                                                Lucas Magazine                Martin Macyszyn, Esq.               (727) 849-5353   martin@lgmlawgroup.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                                     Liberty Professional Building
                                                                                                                                                                                                                      0.83              $91.18           $189,380.86                                                                        BROOKS MARSHELLE                                                      Tax Records + Title/Deed            10/20/2008              4/7/2014                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                               8606 Government Drive
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                New Port Richey, FL 34654
  271    RP         Bradshaw, Steven                  1128 Barclay Wood Drive       Ruskin           FL      33570   [II(C)], [XV],            1/24/2011    Yes         1,800      Homeowner's       Yes                                                                  Taihe              Photo               14, 15         H, I                                                                                                                                                             Colson Hicks Eidson           Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                Insurance Form                                                                                                                                            JOSEPH CHERISARD                   Previous Owner, Did Not Own                                                                                                                     255 Alhambra Circle, PH
                                                                                                                                                                                                                      0.83              $91.18           $164,124.00                                                                                                                                              Tax Records + Title/Deed            2/27/2007              11/9/2011                                                                                                                                 $0.00
                                                                                                                                                                                    with Square                                                                                                                                             JOSEPH ALOURDES                    Property on 6/9/15                                                                                                                              Coral Gables, FL 33134
                                                                                                                                                                                    Footage and
  272    Ex 10/79   Brady, Michael and Barbara        1704 NW 9th Terrace           Cape Coral       FL      33993   [IX], [XV],               5/5/2011     Yes         1,712       Property Tax     Yes                                                                  Taishan            Photo               2, 7           J                                                                                                                                                                Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            BRADY MICHAEL J SR +
                                                                                                                     [XVI], [XVII]                                                   Assessor's                       0.80              $87.88           $150,450.56                                                                                                           Owner as of 6/9/15                 City or County Tax Records          1/14/2009            Current Owner                                       12800 University Drive, Suite 600                    m                                $58,995.04
                                                                                                                                                                                  Document with
                                                                                                                                                                                                                                                                                                                                            BARBARA                                                                                                                                                                            Fort Myers, FL 33907
  273    Ex 10/79   Braga, Henry and Deborah          1325 NW 1st Avenue            Cape Coral       FL      33993   [II(C)], [III], [IX],     10/7/2009    Yes         1,732       Property Tax     Yes                                                                  Taishan            Photo               2, 9           J           MORALES-MCLARNEY                                                                                                                                     Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                    Assessor's                       0.80              $87.88           $152,208.16                                                                        CHERRYLIN +                                                           Tax Records + Title/Deed             4/3/2009              2/26/2010                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                             MCLARNEY PATRICK M T/C                                                                                                                                                             Bonita Springs, FL 34134
  274    Ex 10/79   Bragoli, Frank and Carolyn        1690 Renaissance Commons      Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,240      Builder's Floor   Yes                                                                  Taishan            Photo               2              J                                                                                                                                                                Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                            BRAGOLI, CAROLYN;
                                                      Blvd., Unit 1314                                               [XVII]                                                             Plan                          0.82              $90.08           $111,699.20                                                                                                           Owner as of 6/9/15                 City or County Tax Records          4/27/2007            Current Owner                                       900 W. Morgan Street                                                                  $94,164.70
                                                                                                                                                                                                                                                                                                                                            BRAGOLI, FRANK                                                                                                                                                                     Raleigh, NC 27603
  275    Ex 10/79   Brahmbhatt, Jatin and Niketa      9601 Kenley Court             Parkland         FL      33076   [XV], [XVI],              7/5/2011     Yes         3,520      Property Tax      Yes                                                                  Dragon Brand       Photo               26             A                                                                                                                                                                Krupnick Cambell              Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                              BRAHMBHATT,JATIN R &                                                                                                                                                               12 SE 7th St #801
                                                                                                                                                                                                                      0.81              $88.98           $313,209.60                                                                                                           Owner as of 6/9/15                 City or County Tax Records          12/27/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                             NIKETA J                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
                                                                                                                                                                                  Square Footage
  276    Ex 10/79   Branning, William and Betty       4066 McFarland Road           Mobile           AL      36695   [III], [VII], [XV],       10/7/2009    Yes         1390      Builder's Floor    Yes                                                                  Taihe              Photo               20             I                                                                                                                                                                C.S. Chiepalich, PC           C.S. Chiepalich, Esq.               (251) 478-1666   csc@cscpc.net
                                                                                                                     [XVI], [XVII]                                                     Plan                                                                                                                                                 BRANNING WILLIAM J &                                                                                                                                                               P.O. Box 6505
                                                                                                                                                                                                                      0.84              $92.27           $128,255.30                                                                                                           Owner as of 6/9/15                 Tax Records + Title/Deed            7/29/2008            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                            BETTY                                                                                                                                                                              Mobile, AL 36660-0505

  277    Ex 10/79   Brantley, Collett                 2128 NW 17th Avenue           Cape Coral       FL      33993   [VII], [XV],              1/14/2011    Yes         2,102      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                                Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $184,723.76                                                                        BRANTLEY COLLETTE                  Owner as of 6/9/15                 Tax Records + Title/Deed            3/16/2009            Current Owner                                       12800 University Drive, Suite 600                    m                                $36,712.67
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                Fort Myers, FL 33907
  278    RP         Brathwaite, Melvin and Maryann 4904 19th Street N.              St. Petersburg   FL      33714   [II(B)], [IX],            12/6/2010    Yes         1,577     Builder's Floor    Yes                                                                  Taihe              Photo               18             I                                                                                                                                                                Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                     [XV], [XVI],                                                      Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                                                     12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                      0.82              $90.08           $142,056.16                                                                        NUNEZ, LILYVETTE                                                      Tax Records + Title/Deed            3/31/2006               8/7/2012                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                                                                                                                                                                                                                    Property on 6/9/15                                                                                                                              Fort Myers, FL 33907

  279    RP         Bray, Andy and Chandra            141 Dorsey Springs Drive      Hampton          GA      30228   [XV], [XVI],              7/5/2011     Yes         2,449       Property Tax     Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                                Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XVII], [XXII]                                                  Assessor's                       0.89              $97.77           $239,438.73                                                                        SMITH THERESA M                                                       City or County Tax Records          5/31/2006               1/2/2013                                        4265 San Felipe, Suite 1000                           om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                               Houston, TX 77027
  280    Ex 10/79   Brazile, Darrell G. And Valeria   9311 Grant Street             New Orleans      LA      70127   [XV], [XVI],              7/5/2011     Yes         1,531       Property Tax     Yes                                                                  Taihe              Photo               19             I                                                                                                                                                                Herman, Herman & Katz        Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                            BRAZILE DARRELL G
                    M.                                                                                               [XVII]                                                          Assessor's                       0.86              $94.47           $144,633.57                                                                                                           Owner as of 6/9/15                 City or County Tax Records          3/23/1988            Current Owner                                      820 O'Keefe Avenue                                                                       $0.00
                                                                                                                                                                                  Document with
                                                                                                                                                                                                                                                                                                                                            PICHON VALERIA M                                                                                                                                                                  New Orleans, LA 70113
  281    Ex 10/79   Breaux, Roy, Jr.                  2517 Volpe Drive              Chalmette        LA      70043   [III], [IX], [XV],        10/7/2009    Yes         2,232        Inspection      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                                Law Offices of Sidney D.     Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                     [XVI], [XVII]                                                 Showing Floor                      0.86              $94.47           $210,857.04                                                                        BREAUX, ROY LOUIS, JR              Owner as of 6/9/15                 Title/Deed                          3/18/1971            Current Owner         Torres, III                  8301 W. Judge Perez Drive, Suite                                                         $0.00
                                                                                                                                                                                  Plan and Under                                                                                                                                                                                                                                                                                                                              303
  282    Ex 10/79   Breckenridge, Russell             311 South Laurel Street       Amite            LA      70422   [III(A)], [VII],          9/16/2010    Yes         2,214       Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                                Hawkins Gibson               Edward Gibson, Esq.                  (228) 467-4225   egibson@hgattorneys.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                    Assessor's                       0.79              $86.78           $192,130.92                                                                        KORNEGAY KAREN G                                                      Tax Records + Title/Deed            10/25/2005               2013                                           153 Main St                                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                               Bay St Louis, MS 39520
  283    RP         Brennan, Arlene                   7 NW 13 Place                 Cape Coral       FL      33993   [III], [VII], [XIII],     10/7/2009    Yes         2,122       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                                Colson Hicks Eidson          Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                    Assessor's                       0.80              $87.88           $186,481.36                                                                        SCHLITTER JOHN A III                                                  Tax Records + Title/Deed             1/9/2004               8/9/2011                                        255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                               Coral Gables, FL 33134
  284    Ex 10/79   Breslow, Mark and Amanda          3408 Grossglen Place          Wesley Chapel    FL      33544   [XV], [XVI],              7/5/2011     Yes         3,064       Property Tax     Yes                                                                  C&K                Photo               35             B           BRESLOW MARK &                                                                                                                                       Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVII]                                                          Assessor's                       0.83              $91.18           $279,375.52                                                                        HARLLEE-BRESLOW                    Owner as of 6/9/15                 City or County Tax Records          11/20/2008           Current Owner                                      12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                             AMANDA R                                                                                                                                                                          Fort Myers, FL 33907
  285    Ex 10/79   Brett, Patrick and Layne and      2492 North Landing Road Suite Virginia Beach   VA      23456   [IX], [XV],               5/5/2011     Yes         1,700        Appraisal       Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                                Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                    S&A Property Group, LLC           106                                                            [XVI], [XVII]                                                Showing Floor                                                                                                                                             S & A PROPERTY GROUP,                                                                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $175,542.00                                                                                                           Owner as of 6/9/15                 City or County Tax Records          12/15/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                           LLC                                                                                                                                                  Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                      Footage                                                                                                                                                                                                                                                                                                    Richard J. Serpe             Coral Gables, FL 33134
  286    Ex 10/79   Brewster, Stephen and Layla       8339 NW 125th Lane            Parkland         FL      33076   [II(A)], [XV],            9/16/2010    Yes         3,039       Property Tax     Yes                                                                  Dragon Brand/      Photo               25, 26         A                                                                                                                                                                Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                           BNBMDB                                                                                                                                                                                                                                              Baron & Budd
                                                                                                                                                                                                                                                                                                                                            CUEVAS,GUILLERMO &                 Previous Owner, Did Not Own
                                                                                                                                                                                  Document with                       0.81              $88.98           $270,410.22                                                                                                                                              Tax Records + Title/Deed            3/20/2009              5/28/2015                                        3102 Oak Lawn Ave., Ste. 1100                                                            $0.00
                                                                                                                                                                                                                                                                                                                                            TRACEY                             Property on 6/9/15
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219

  287    Ex 10/79   Brewton, I.D. and Sonia III       8804 Jernigan Road            Pensacola        FL      32514   [III], [VII], [XV],       10/7/2009    Yes         1,928      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                                Levin Papantonio              Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.85              $93.37           $180,017.36                                                                        HOLT TANYA A                                                          Tax Records + Title/Deed            1/12/2006             12/19/2013                                         316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                Pensacola, FL 32502
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 10 of 82



Claimant Source     Claimant Name                   Affected Property Address       City              State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
  288    Ex 10/79   Brice, Philip                   1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XV], [XVI],      3/15/2010    Yes          817      Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                    Blvd., Unit 1227                                                  [XVII]                                                          Plan                          0.82                $90.08           $73,595.36                                                                        BRICE, PHILIP F                    Owner as of 6/9/15              City or County Tax Records        11/14/2007           Current Owner                                      900 W. Morgan Street                                                                   $96,908.88
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
  289    Ex 10/79   Bridges, Juanita and William    1449 Mirabeau Avenue            New Orleans       LA      70122   [IX], [XV],             5/5/2011     Yes         2,144      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Hurricane Legal Center, LLC  Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                                                                                                                                              BRIDGES WILLIAM                                                                                                                                                              Young Law Firm
                                                                                                                                                                                                                     0.86              $94.47           $202,543.68                                                                                                           Owner as of 6/9/15              City or County Tax Records         4/8/1994            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                             BRIDGES JUANITA G                                                                                                                                                            1010 Common St., Suite 3040
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112
  290    Ex 10/79   Bright, David and Melonie       187 Mulberry Lane               Hertford          NC      27944   [II(A)], [XV],          9/16/2010    Yes         2,192      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                           HINKLEY, CURTIS ROYAL
                                                                                                                      [XVI], [XVII],                                               Assessor's                                                                                               Property Assessment                                                               Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.92              $101.06          $221,523.52                                                                        JR                                                                 City or County Tax Records        11/3/2006                2011                                                                                                                                    $0.00
                                                                                                                      [XXIV]                                                     Document with                                                                                                                                                                                Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                            & SYLVIA LYNN HINKLEY                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  291    Ex 10/79   Brock, Ora                      2026 Clouet Street              New Orleans       LA      70117   [III], [IX], [XV],      10/7/2009    Yes         1,593      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                           BROCK ORA W
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $150,490.71                                                                                                           Owner as of 6/9/15              City or County Tax Records        10/9/2007            Current Owner                                      4265 San Felipe, Suite 1000                           om                                 $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                                                                                                                                                                           BROCK PATRICK O                                                                                                                                                              Houston, TX 77027
  292    Ex 10/79   Broesder, Stanley               3012 Charles Drive              Chalmette         LA      70043   [III], [XV],            10/7/2009    Yes         1,500         Other          Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                                                  0.86              $94.47           $141,705.00                                                                        SALINAS, IRMA                                                      City or County Tax Records        6/29/2010             10/24/2012                                        4265 San Felipe, Suite 1000                           om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Houston, TX 77027
  293    Ex 10/79   Brohm, Brian & Tara             2976 Yellowwood Court           Buford            GA      30519   [IX], [XV],             5/5/2011     Yes         3,392      Property Tax      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII],                                               Assessor's                        0.82              $90.08           $305,551.36                                                                        WALDEN ERIK L                                                      City or County Tax Records        8/16/2005              6/15/2012                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XXII]                                                     Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  294    RP         Brown, Alganan and Regina       4297 S.W. McClellan Street,     Port St. Lucie    FL      34953   [III], [IX], [XV],      10/7/2009    Yes         2,462      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                    Port St. Lucie, Florida 34953                                     [XVI], [XVII]                                                Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $221,776.96                                                                        ROLANDO R VALENZUELA Property on 6/9/15                            City or County Tax Records        4/30/2012              1/15/2014                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  295    RP         Magdalena Gardens Condo         240 W. End Drive Unit 1512      Punta Gorda       FL      33950   [II], [II(A)],          10/7/2009    Yes         1,282     Builder's Floor    Yes                                                                  IMT                Inspection Report   N/A            F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Association (Brown, Cortland)                                                                     [II(B)], [III],                                                 Plan                                                                                                                                                                                                                                                                                                 Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [VII], [IX], [XV],                                                                             0.80              $87.88           $112,662.16                                                                        MICHAEL JOSEPH                                                     Tax Records + Title/Deed          12/28/2006              3/6/2013                                        3102 Oak Lawn Ave., Ste. 1100                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                     Dallas, TX 75219

  296    RP         Brown, Craig and Angela         1031 Hollymeade Circle          Newport News      VA      23602   [II], [XV], [XVI],      3/15/2010    Yes         1,897      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                        Assessor's                       0.95              $104.36          $197,970.92                                                                        SPANGLER CARLES                                                    City or County Tax Records        6/26/2006              7/30/2013           Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
  297    RP         Brown, David                    3101 W. Oakellar Avenue         Tampa             FL      33611   [IX], [XV],             5/5/2011     Yes         2,530      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           LEAVINE ANTHONY                    Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.83              $91.18           $230,685.40                                                                                                                                           Tax Records + Title/Deed          10/10/2006             6/15/2012                                        12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           LEAVINE LAIREEN                    Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  298    Ex 10/79   Brown, James and Virginia       3091 Cider House Road           Toano             VA      23168   [IX], [XV],             5/5/2011     Yes         2,950      Property Tax      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                             BROWN, JAMES R & VIRGINIA                                                                                                                       Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $311,107.00                                                                                                  Owner as of 6/9/15                       City or County Tax Records        6/12/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             L                                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  299    Ex 10/79   Brown, Keith and Lacy           2446 Presburg Street            New Orleans       LA      70122   [II], [IX], [XV],       3/15/2010    Yes         2,061        Appraisal       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           DOMINIQUE JOSHUA M                 Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                              Showing Floor                       0.86              $94.47           $194,702.67                                                                                                                                           City or County Tax Records         5/6/2009              6/5/2015                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           DOMINIQUE CARMEN H                 Property on 6/9/15
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
  300    Ex 10/79   Brown, Kerri and Jack           2729 Reunion Drive              Violet            LA      70092   [IX], [XV],             5/5/2011     Yes         1,800      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                     (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                               Young Law Firm
                                                                                                                                                                                                                     0.86              $94.47           $170,046.00                                                                        LEONARD, JEMAYEL                                                   City or County Tax Records         6/3/2009              1/7/2014                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        1010 Common St., Suite 3040
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112
  301    RP         Brown, Monique and Darryl       219 Wildlife Trace              Chesapeake        VA      23320   [II(A)], [XV],          9/16/2010    Yes         3,104      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                           FLOWERS STEPHEN M & RITA Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.94              $103.26          $320,519.04                         Property Assessment                                                                                               City or County Tax Records         2/1/2007              2/5/2013            Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           A                        Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
  302    RP         Brown, Morton and Ruth          10360 S.W. Stephanie Way,       Port St. Lucie    FL      34953   [III], [XV],            10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                    Unit 6-105                                                        [XVI], [XVII]                                                 Assessor's                                                                                                                                             GREEN MOUNTAIN                     Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $160,612.64                                                                                                                                           City or County Tax Records        5/30/2006              6/29/2011                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             MANAGEMENT LLC                     Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  303    Ex 10/79   Brown, Shameca                  2917 E. 31st Avenue             Tampa             FL      33610   [XIII], [XV],           7/5/2011     Yes         1,402      Property Tax      Yes                                                                  Taihe              Photo               14, 18, 20     H, I                                                                                                                                                        Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                                                          12800 University Drive, Suite 600                     m
                                                                                                                                                                                                                     0.83              $91.18           $127,834.36                                                                        BROWN SHAMECA S                    Owner as of 6/9/15              City or County Tax Records        6/23/2010           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
  304    Ex 10/79   Browne, James and Jill          2507 Tylers River Run           Lutz              FL      33559   [III], [VII], [XV],     10/7/2009    Yes         8,280      Property Tax      Yes                                                                  Taihe              Photo               19, 20         I                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                             BROWNE JAMES J & BROWNE                                                                                                                                                        27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.83              $91.18           $754,970.40                                                                                                Owner as of 6/9/15                         Tax Records + Title/Deed          4/28/2009           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             JILL A                                                                                                                                                                         Bonita Springs, FL 34134
                                                                                                                                                                                 Square Footage
  305    Ex 10/79   Brumbaugh, Russell and Carol    232 SE 15th Terrace             Cape Coral        FL      33990   [III], [IX], [XV],      10/7/2009    Yes         2,582      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J           BRUMBAUGH RUSSELL R JR                                                                                                                          Roberts & Durkee PA Milstein C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                             TR +                                                                                                                                            Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                                 Document with                       0.80              $87.88           $226,906.16                                                                        BRUMBAUGH CAROL A TR       Owner as of 6/9/15                      Tax Records + Title/Deed         12/23/2003           Current Owner                                       300                                                                                      $0.00
                                                                                                                                                                                 Square Footage                                                                                                                                            FOR RUSSELL R JR + CAROL A                                                                                                                                                   Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                           BRUMBAUGH
  306    Ex 10/79   Brumfield, Damon                7721 Newcastle Street           New Orleans       LA      70126   [XV], [XVI],            7/5/2011     Yes         1,729       Property Tax     Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                           BRUMFIELD DAMON K
                                                                                                                      [XVII]                                                        Assessor's                       0.86              $94.47           $163,338.63                                                                                                           Owner as of 6/9/15              City or County Tax Records         2/2/1999           Current Owner                                       2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           BRUMFIELD ALISHA L
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          650
  307    Ex 10/79   Bryant, Debra                   27 South Oak Ridge Court        New Orleans       LA      70128   [III], [VII], [XV],     10/7/2009    Yes         2,002       Property Tax     Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                     0.86              $94.47           $189,128.94                                                                        BRYANT DEBRA P                     Owner as of 6/9/15              City or County Tax Records        7/29/1987           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  308    Ex 10/79   Bryant, Victor and Falana       1910 Randall Drive              Demopolis         AL      36732   [III], [VII], [XV],     10/7/2009    Yes         1659         Appraisal       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                    (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                      [XVI], [XVII]                                              Showing Floor                                                                                                                                                                                                                                                                                             Irby                         905 Montgomery Highway, Suite
                                                                                                                                                                                                                     0.83              $91.18           $151,267.62                                                                        BRYANT VICTOR O.                   Owner as of 6/9/15              City or County Tax Records       11/22/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                        201
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                            Vestavia Hills, AL 35216
  309    Ex 10/79   Brynn, Gerald E. and Brynn,     511 Rimini Vista Way            Sun City Center   FL      33573   [II], [IX], [XV],       3/15/2010    Yes         2,192      Builder's Floor   Yes                                                                  Taishan/ C&K       Photo               2, 9, 34       B, J                                                                                                                                                        Krupnick Cambell             Michael Ryan, Esq.                   (954) 763-8181   mryan@krupnicklaw.com
                    Betty J.                                                                                          [XVI], [XVII]                                                    Plan                                                                                                                                                BRYNN GERALD E                                                                                                                                                               12 SE 7th St #801
                                                                                                                                                                                                                     0.83              $91.18           $199,866.56                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/15/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                           BRYNN BETTY J                                                                                                                                                                Fort Lauderdale, FL 33301-3434

  310    RP         Bucaj, Alfons                   8320 Meredith Place             Vero Beach        FL      32968   [XIII], [XV],           7/5/2011     Yes         3,526     Builder's Floor    Yes                                                                  BNBMDB             Photo               25             A                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVI], [XVII]                                                   Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                     0.84              $92.27           $325,344.02                                                                        CALCAGNO, JOHN                                                     Tax Records + Title/Deed         12/13/2006              4/27/2012                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                                                          Boca Raton, Florida 33432

  311    RP         Buck, David and Wendy           10320 SW Stephanie Way Unit Port St. Lucie        FL      34987   [VII], [IX], [XV],      1/14/2011    Yes         1,250       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Billing, Cochran, Lyles, Mauro Manuel Comras, Esq.               (561) 659-5970    MRC@bclmr.com
                                                                                                                                                                                                                                                                                                                                           CAPITAL RESOURCE GROUP             Previous Owner, Did Not Own
                                                    207                                                               [XVI], [XVII]                                                 Assessor's                       0.82              $90.08           $112,600.00                                                                                                                                           City or County Tax Records        4/25/2006              3/29/2010           & Ramsey, P.A.                 1601 Forum Place, Suite 400                                                            $0.00
                                                                                                                                                                                                                                                                                                                                           INC                                Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            West Palm Beach, FL 33401
  312    Ex 10/79   Buckley, Stephen and Cathleen   3041 59th Avenue, South         St. Petersburg    FL      33712   [XV], [XVI],            7/5/2011     Yes         3,615       Property Tax     Yes                                                                  Taihe              Photo               14, 17         H, I                                                                                                                                                        Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                        Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                                 12800 University Drive, Suite 600                   m
                                                                                                                                                                                                                     0.82              $90.08           $325,639.20                                                                        PAUMO LLC                                                          City or County Tax Records        5/26/2010              2/9/2015                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
  313    Ex 10/79   Burgohy, Demetria               950 Hollymeade Circle           Newport News      VA      23602   [II], [XV], [XVI],      3/15/2010    Yes         2,227       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                        Assessor's                                                                                                                                             JACKSON CHRISTOPHER,               Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.95              $104.36          $232,409.72                                                                                                                                           City or County Tax Records         6/7/2007              9/12/2012                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             JACKSON MICHELLE R                 Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
  314    Ex 10/79   Burke, Amanda and Kevin         8150 North View Blvd.           Norfolk           VA      23518   [II(C)], [XV],          1/24/2011    Yes         2,420       Property Tax      No                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                 Pro Se per BG portal.
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                Previous Owner, Unknown                                                                                      Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                  Sq ft confirmed by
                                                                                                                                                                                                                     0.94              $103.26          $249,889.20                                                                        O'BRIEN, LAURA ET AL                                               City or County Tax Records                                                                                                                                                                         $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Purchase Date                                                                                                Hausfeld LLP Law Offices of    255 Alhambra Circle, PH                                                                                BKC
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
  315    Ex 10/79   Burkhead, Samantha and John L. 4457 Marvin Reaves Road          Jay               FL      32565   [III], [VII], [XV],     10/7/2009    Yes         1,241        Appraisal       Yes                                                                  Taihe              Photo               17             I           BURKHEAD SAMANTHA                                                                                                                               Levin Papantonio               Ben Gordon, Esq.                   (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                              Showing Floor                       0.85              $93.37           $115,872.17                                                                        LEIGH & BURCKHEAD JOHN L Owner as of 6/9/15                        City or County Tax Records        5/24/2007           Current Owner                                         316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                           JR                                                                                                                                                                             Pensacola, FL 32502
  316    Ex 10/79 & Burks, Pamela                   1500 Paula Street               New Orleans       LA      70122   [XIII], [XV],           7/5/2011     Yes         1,454        Appraisal       Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.             (985) 292-2300   jean@paullea.com
                                                                                                                                                                                                                                                                                                                                           BURKS GARY L
         Omni XX                                                                                                      [XVI], [XVII],                                             Showing Floor                       0.86              $94.47           $137,359.38                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/22/1997           Current Owner                                         724 East Boston Street                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           BURKS PAMELA F
                                                                                                                      [XX]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                          Covington, LA 70433
  317    Ex 10/79   Burns, Ronald and Joan          3237 NW 21st Terrace            Cape Coral        FL      33993   [II(B)], [III],         10/7/2009    Yes         2,233      Builder's Floor   Yes                                                                  Taishan            Inspection Report   2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                     Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $196,236.04                                                                        BURNS RONALD J + JOAN              Owner as of 6/9/15              City or County Tax Records        5/11/2001           Current Owner                                                                                                                                $0.00
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  318    Ex 10/79   Burton, Rose and Tebault        3711 Golden Drive, Apt. 1       Chalmette         LA      70043   [III], [IX], [XV],      10/7/2009    Yes          861      Builder's Floor    Yes                                                                  Taihe              Photo               18             I           3711 GOLDEN, LLC 1/2 &                                                                                                                          Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.86              $94.47            $81,338.67                                                                        BURTON, BROOKS ANTHONY Owner as of 6/9/15                          Tax Records + Title/Deed         11/20/1991           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           1/2                                                                                                                                                                            303
  319    Ex 10/79   Burton, Rose and Tebault        3711 Golden Drive, Apt. 2       Chalmette         LA      70043   [III], [IX], [XV],      10/7/2009    Yes          861      Builder's Floor    Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.86              $94.47            $81,338.67                                                                        3711 GOLDEN, LLC 1/2                                               Tax Records + Title/Deed         11/22/1991              2/24/2012           Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          303
  320    Ex 10/79   Burton, Rose and Tebault        3711 Golden Drive, Apt. 3       Chalmette         LA      70043   [III], [IX], [XV],      10/7/2009    Yes          861      Builder's Floor    Yes                                                                  Taihe              Photo               18             I           3711 GOLDEN, LLC 1/2 &                                                                                                                          Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.86              $94.47            $81,338.67                                                                        BURTON, BROOKS ANTHONY             Owner as of 6/9/15              Tax Records + Title/Deed         11/20/1991           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           1/2                                                                                                                                                                            303
  321    Ex 10/79   Burton, Rose and Tebault        3713 Golden Drive, Apt. 1 [Unit Chalmette         LA      70043   [III], [IX], [XV],      10/7/2009    Yes          860      Builder's Floor    Yes                                                                  Taihe              Photo               17             I           3713 GOLDEN, LLC 1/2 &                                                                                                                          Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                    A]                                                                [XVI], [XVII]                                                   Plan                           0.86              $94.47            $81,244.20                                                                        BURTON, BROOKS ANTHONY             Owner as of 6/9/15              Tax Records + Title/Deed          7/12/1991           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           1/2                                                                                                                                                                            303
  322    Ex 10/79   Burton, Rose and Tebault        3713 Golden Drive, Apt. 2       Chalmette         LA      70043   [III], [IX], [XV],      10/7/2009    Yes          860      Builder's Floor    Yes                                                                  Taihe              Photo               18             I           3713 GOLDEN, LLC 1/2 &                                                                                                                          Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.86              $94.47            $81,244.20                                                                        BURTON, BROOKS ANTHONY             Owner as of 6/9/15              Tax Records + Title/Deed          7/12/1991           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           1/2                                                                                                                                                                            303
  323    Ex 10/79   Burton, Rose and Tebault        3713 Golden Drive, Apt. 3       Chalmette         LA      70043   [III], [IX], [XV],      10/7/2009    Yes          860      Builder's Floor    Yes                                                                  Taihe              Photo               17             I           3713 GOLDEN, LLC 1/2 &                                                                                                                          Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.86              $94.47            $81,244.20                                                                        BURTON, BROOKS ANTHONY             Owner as of 6/9/15              Tax Records + Title/Deed          7/12/1991           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           1/2                                                                                                                                                                            303
  324    Ex 10/79   Burton, Rose and Tebault        3713 Golden Drive, Apt. 4       Chalmette         LA      70043   [III], [IX], [XV],      10/7/2009    Yes          860      Builder's Floor    Yes                                                                  Taihe              Photo               17             I           3713 GOLDEN, LLC 1/2 &                                                                                                                          Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.86              $94.47            $81,244.20                                                                        BURTON, BROOKS ANTHONY             Owner as of 6/9/15              Tax Records + Title/Deed          7/12/1991           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           1/2                                                                                                                                                                            303
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 11 of 82



Claimant Source     Claimant Name                    Affected Property Address    City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                  Sharefile
  325    Ex 10/79   Busbee, Clarence and Sheri Jr.   3031 Lake Manatee Court      Cape Coral       FL      33909   [III], [VII], [XIII],     10/7/2009    Yes         2,706     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XV], [XVI],                                                      Plan                                                                                                                                                                                                                                                                                                 Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                   0.80                $87.88          $237,803.28                                                                        BUSBEE CLARENCE JR                 Owner as of 6/9/15              Tax Records + Title/Deed           8/1/2006           Current Owner                                                                                                                                $0.00
                                                                                                                   [XVII]                                                                                                                                                                                                                                                                                                                                                                 Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
  326    Ex 10/79   Butler, Bernice                  2999 Silver Hill Drive       Douglasville     GA      30135   [II(B)], [III],           10/7/2009    Yes         1,104      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                   [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                                                                                                                             900 W. Morgan Street
                                                                                                                                                                                                                    0.89              $97.77           $107,938.08                                                                        BUTLER, BERNICE                    Owner as of 6/9/15              City or County Tax Records        2/13/2004           Current Owner                                                                                                                                $0.00
                                                                                                                   [XVI], [XVII],                                               Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
                                                                                                                   [XXII]                                                       Square Footage
  327    Ex 10/79   Butler, Clarice                  629 Forstall Street          New Orleans      LA      70117   [IX], [XV],               5/5/2011     Yes         1,218     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com                              See Preservation
                                                                                                                   [XVI], [XVII]                                                     Plan                           0.86              $94.47           $115,064.46                                                                        BUTLER CLARICE M                   Owner as of 6/9/15              City or County Tax Records        1/31/1984           Current Owner                                         701 Poydras Street, Suite 3650                                                         $0.00           Alliance of New
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70142                                                                                  Orleans, Inc. on OCXX
  328    RP         Butler, Kenneth (Deceased) and   1309 Wenasoga Road           Corinth          MS      38834   [IX], [XIII],             5/5/2011     Yes         2,028      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Gentle, Turner & Sexton        K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com                             Home is NOT a
                    Mary                             1311 Wenasoga Road                                            [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                             501 Riverchase Parkway East,                                                                           duplex. 2 homes on 1
                                                                                                                   [XVII], [XXIII]                                              Document with                       0.75              $82.39           $167,086.92                                                                        BUTLER MARY                        Owner as of 6/9/15              Tax Records + Title/Deed          6/15/2009           Current Owner                                         Suite 100                                                                              $0.00           parcel of land- each
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Hoover, AL 35244                                                                                       1,014 sq ft

  329    Ex 10/79   Butzer, Albert and Betsy         9519 26th Bay Street         Norfolk          VA      23518   [IX], [XV],               5/5/2011     Yes         2,898      Property Tax      Yes                                                                  Venture Supply     Photo               38             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                                                                                                                                             BUTZER, ALBERT G III &                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.94              $103.26          $299,247.48                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/24/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                             BETSY T                                                                                                                                         Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
  330    Ex 10/79   Caballero, Frank and Carmen      12761 SW 53rd Street         Miramar          FL      33027   [XV], [XVI],              7/5/2011     Yes         1,696       Property Tax     Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVII]                                                          Assessor's                       0.81              $88.98           $150,910.08                                                                        CABALLERO,CARMEN                   Owner as of 6/9/15              City or County Tax Records       10/26/2001           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  331    RP         Cabrera, Israel and Diana        8037 W 36th Avenue 2         Hialeah          FL      33018   [II(B)], [VII],           12/6/2010    Yes         1,356       Property Tax     Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XV], [XVI],                                                    Assessor's                                                                                                                                             YUK W YUEN                         Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                    0.81              $88.98           $120,656.88                                                                                                                                           City or County Tax Records        2/27/2007             11/14/2012                                                                                                                                 $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             SU QIONG WU                        Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  332    RP         Caburian, Eugene and Genalin     2501 Rowan Place             Virginia Beach   VA      23456   [II(B)], [XV],            12/6/2010    Yes         2,697       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                       0.94              $103.26          $278,492.22                                                                        ELLENWOOD PAUL B                   Records Not Available           City or County Tax Records        4/28/1995              2/5/2014            Serpe                          580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
  333    Ex 10/79   Cadet, Yolande                   2832 Springbluff Lane        Buford           GA      30519   [XV], [XVI],              7/5/2011     Yes         5,345         Appraisal      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVII], [XXII]                                               Showing Floor                       0.82              $90.08           $481,477.60                                                                        CADET YOLANDE                      Owner as of 6/9/15              City or County Tax Records         7/7/2006           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                Plan and Square                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  334    Ex 10/79   Cahill, Susan and Thomas;        99 Vivante Blvd, Unit 410    Punta Gorda      FL      33950   [XV], [XVI],              7/5/2011     Yes         1,485        Benchmark       Yes                                                                  Dragon Brand       Photo               26             A                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                    Lengemann, Robert and Mary                                                                     [XVII]                                                          Inspection                                                                                                                                             ALASTANOS CHRISTOPHER D Previous Owner, Did Not Own                                                                                                                            27300 Riverview Center Blvd
                                                                                                                                                                                                                    0.80              $87.88           $130,501.80                                                                                                                                           City or County Tax Records         5/8/2007             11/15/2013                                                                                                                               $86,838.54
                                                                                                                                                                                 Report Using                                                                                                                                             & PAMELA J              Property on 6/9/15                                                                                                                                     Bonita Springs, FL 34134
                                                                                                                                                                                Zillow.com for
  335    RP         Cain, Victoria                   1020 Hollymeade Circle       Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                          Assessor's                       0.95              $104.36          $187,534.92                                                                        BAZEMORE DANITRA R                                                 City or County Tax Records       10/25/2007              9/15/2010           Serpe                          580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
  336    Ex 10/79   Callais, Gary and Michelle       14 Callais Lane              St. Bernard      LA      70085   [III], [VII], [XV],       10/7/2009    Yes         2,128      Builder's Floor   Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                   [XVI], [XVII]                                                      Plan                                                                                                                                                                                                                                                                                                                               338 Lafayette Street
                                                                                                                                                                                                                    0.86              $94.47           $201,032.16                                                                        CALLAIS, GARY J., JR.              Owner as of 6/9/15              City or County Tax Records        5/28/2010           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70130

  337    Ex 10/79   Callan, Paul and Gloria          8650 Athena Court            Lehigh Acres     FL      33971   [II(A)], [III],           10/7/2009    Yes         1,445       Property Tax     Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          CALLAN PAUL + GLORIA +
                                                                                                                   [XV], [XVI],                                                    Assessor's                       0.80              $87.88           $126,986.60                                                                                                           Owner as of 6/9/15              City or County Tax Records        7/24/2006           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          CALLAN PAUL JR J/T
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
  338    Ex 10/79   Callia, Roger                    2329 Marietta                Chalmette        LA      70043   [XIII], [XV],             7/5/2011     Yes         1,024       Property Tax     Yes                                                                  Taihe              Photo               14, 20         H, I                                                                                                                                                        Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300     DBarrios@bkc-law.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                       0.86              $94.47            $96,737.28                                                                        CALLIA, ROGER J.                   Owner as of 6/9/15              Tax Records + Title/Deed         10/11/2011           Current Owner                                         701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70143
  339    Ex 10/79   Callihan, William and Courtney   6577 General Diaz Street     New Orleans      LA      70124   [III(A)], [XV],           9/16/2010    Yes         1,800        Inspection      Yes                                                                  Taihe              Photo               13, 20         I                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.              (504) 581-9065     srb@mbfirm.com
                                                                                                                   [XVI], [XVII]                                                 Showing Floor                                                                                                                                            ALTOBELLO JOHN III                 Previous Owner, Did Not Own                                                                                                                 338 Lafayette Street
                                                                                                                                                                                                                    0.86              $94.47           $170,046.00                                                                                                                                           City or County Tax Records       12/19/2007              4/23/2012                                                                                                                                 $0.00
                                                                                                                                                                                Plan and Under                                                                                                                                            ALTOBELLO JOHN JR                  Property on 6/9/15                                                                                                                          New Orleans, LA 70130
                                                                                                                                                                                   Air Square
  340    Ex 10/79   Calloway, Frederic (Kent) and    2333 Hwy. 168                Century          FL      32535   [II], [III], [VII],       10/7/2009    Yes         1,881       Property Tax     Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                    Amanda                                                                                         [XV], [XVI],                                                    Assessor's                                                                                                                                             CALLOWAY KENT                                                                                                                                                                  316 South Baylen St.
                                                                                                                                                                                                                    0.85              $93.37           $175,628.97                                                                                                           Owner as of 6/9/15              City or County Tax Records        3/10/2006           Current Owner                                                                                                                                $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             &CALLOWAY AMANDA                                                                                                                                                               Pensacola, FL 32502
                                                                                                                                                                                Square Footage
  341    RP         Callwood, Sandy and Alberto      11522 Hammocks Glade Drive   Riverview        FL      33569   [XIII], [XV],             7/5/2011     Yes         1,446       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          ROLL VICTORIA M                    Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                   Assessor's                       0.83              $91.18           $131,846.28                                                                                                                                           Tax Records + Title/Deed          12/1/2006              8/24/2011                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                          ROLL NATHAN ANDREW                 Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  342    Ex 10/79   Camden, Sidney and Susan         109 Algonquin Trail          Shawboro         NC      27973   [IX], [XV],               5/5/2011     Yes         2,521        Appraisal       Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII],                                               Showing Floor                                                                                              Property Assessment                            CAMDEN, SIDNEY H                                                                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.92              $101.06          $254,772.26                                                                                                           Owner as of 6/9/15              City or County Tax Records        1/29/2009           Current Owner                                                                                                                                $0.00
                                                                                                                   [XXIV]                                                       Plan and Square                                                                                                                                           CAMDEN, SUSAN R                                                                                                                                 Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                               Richard J. Serpe             Coral Gables, FL 33134
  343    Ex 10/79   Caminita (Gray), Jennifer        42787 Snapper Way            Franklinton      LA      70438   [IX], [XIII],             5/5/2011     Yes         1,465          Other         Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           Wolfe Law Group              Seth Smiley                           (504) 208-1124   seth@smileyfirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                                                     0.79              $86.78           $127,132.70                                                                        KENNETH GUTIERREZ ET UX                                            City or County Tax Records         5/3/2007              8/3/2012                                         365 Canal St Suite 1680                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                   [XVII]                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70130
  344    Ex 10/79   Cammarata, Louis and Michele     1660 Renaissance Commons     Boynton Beach    FL      33426   [III], [XV],              10/7/2009    Yes          817      Builder's Floor    Yes                                                                  Taihe              Photo/ Inspection   17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          CAMMARATA, LOUIS;
                                                     Blvd., Unit 2503                                              [XVI], [XVII]                                                     Plan                           0.82              $90.08            $73,595.36                         Report                                                                            Owner as of 6/9/15              City or County Tax Records        2/21/2007           Current Owner                                       900 W. Morgan Street                                                                   $93,590.18
                                                                                                                                                                                                                                                                                                                                          CAMMARATA, MICHELE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
  345    Ex 10/79   Campana, Ronald, Jr.             4323 Eleanors Way            Williamsburg     VA      23188   [II], [XV], [XVI],        3/15/2010    Yes          960        Property Tax     Yes                                                                  Venture Supply     Delivery Invoice/   40             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                   [XVII]                                                          Assessor's                                                                                              Photo                                                                                                                                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.96              $105.46          $101,241.60                                                                        CAMPANA, RONALD A JR               Owner as of 6/9/15              City or County Tax Records       12/27/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  346    Ex 10/79   Campola, Patsy and Maureen       9607 Cinnamon Court          Parkland         FL      33076   [II], [IX], [XV],         3/15/2010    Yes         3,559        Appraisal       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          CAMPOLA,PATSY S &
                                                                                                                   [XVI], [XVII]                                                Showing Floor                       0.81              $88.98           $316,679.82                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/28/2006           Current Owner                                       12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          MAUREEN M
                                                                                                                                                                                Plan and Square                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  347    Ex 10/79   Campos, Carlos A.                940 N. Carrollton Avenue     New Orleans      LA      70119   [III(A)], [VII],          9/16/2010    Yes         1,658       Property Tax     Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                   [XV], [XVI],                                                    Assessor's                       0.86              $94.47           $156,631.26                                                                        CAMPOS CARLOS A                    Owner as of 6/9/15              City or County Tax Records       12/17/1990           Current Owner                                       820 O'Keefe Avenue                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  348    Ex 10/79   Candebat, Richard Sr.            2417 Nancy Drive             Meraux           LA      70075   [IX], [XV],               5/5/2011     Yes         1,296        Inspection      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.           504-271-8422     storres@torres-law.com
                                                                                                                   [XVI], [XVII]                                                 Showing Floor                      0.86              $94.47           $122,433.12                                                                        CANDEBAT, RICHARD, SR.             Owner as of 6/9/15              City or County Tax Records        1/25/2007           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                         $0.00
                                                                                                                                                                                Plan and Under                                                                                                                                                                                                                                                                                                                         303
  349    Ex 10/79   Cantrell, Loretta H.             2805 Campagna Drive          Chalmette        LA      70043   [XV], [XVI],              7/5/2011     Yes         2,404          Other         Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Thornhill Law Firm, Fayard & Tom Thornhill, Esq.                   800-989-2707     tom@thornhilllawfirm.com
                                                                                                                                                                                                                                                                                                                                          CANTRELL, LORETTA
                                                                                                                   [XVII]                                                                                                                                                                                                                                                                                                                                                                 Honeycutt APLC and N. Frank Thornhill Law Firm
                                                                                                                                                                                                                    0.86              $94.47           $227,075.65                                                                        HERNANDEZ & CANTRELL,              Owner as of 6/9/15              City or County Tax Records        3/10/1966           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Elliot III, LLC              1308 9th St
                                                                                                                                                                                                                                                                                                                                          ANTHONY N.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Slidell, LA 70458
  350    Ex 10/79   Cape Quality Homes, Inc.         1132 SW 18th Avenue          Cape Coral       FL      33991   [XV], [XVI],              7/5/2011     Yes         2,034      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                                                                                                                   [XVII]                                                         Assessor's                        0.80              $87.88           $178,747.92                                                                        EBEL DENNIS MACGREGOR                                              Tax Records + Title/Deed          4/30/2004              5/31/2016                                        12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  351    Ex 10/79   Caple, Janelle                   946 South West 6th Court     Cape Coral       FL      33991   [II(C)], [III],           10/7/2009    Yes         1,718     Builder's Floor    Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                      Plan                           0.80              $87.88           $150,977.84                                                                        ODEGAARD ARTHUR D                                                  Tax Records + Title/Deed         11/21/2007              7/9/2010                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                   [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Bonita Springs, FL 34134
  352    Ex 10/79   Capote, Emerito and Norma        2382 SW Halissee Street      Port St. Lucie   FL      34953   [XV], [XVI],              7/5/2011     Yes         1,698      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          EMERITO CAPOTE
                                                                                                                   [XVII]                                                         Assessor's                        0.82              $90.08           $152,955.84                                                                                                           Owner as of 6/9/15              City or County Tax Records        12/9/2002           Current Owner                                       12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          NORMA CAPOTE
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  353    RP         Capps, Wilburn and Joyce         1402 SW 4th Lane             Cape Coral       FL      33991   [II(A)], [XV],            9/16/2010    Yes         2,016      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $177,166.08                                                                        SOCA EDDY                                                          Tax Records + Title/Deed          4/24/2008             10/12/2012                                        12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  354    Ex 10/79   Caputo, Marc Turer, Scott        2220 Soho Bay Court          Tampa            FL      33606   [II(B)], [IX],            12/6/2010    Yes         1,605      Property Tax      Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               27300 Riverview Center Blvd
                                                                                                                                                                                                                    0.83              $91.18           $146,343.90                                                                        SOHO REAL ESTATE LLC                                               Tax Records + Title/Deed          5/10/2007              4/28/2011                                                                                                                                 $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        Bonita Springs, FL 34134
                                                                                                                                                                                Square Footage
  355    Ex 10/79   Carbonell, Wayne and Kimberly 1718 NE 27th Terrace            Cape Coral       FL      33909   [II(C)], [III(A)],        9/16/2010    Yes         2,048      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XIII], [XV],                                                  Assessor's                        0.80              $87.88           $179,978.24                                                                        STEWART MARCELLUS G                                                Tax Records + Title/Deed         10/19/2004              12/5/2013                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  356    RP         Cardamone, Steve and Annette     1112 SE 16th Terrace         Cape Coral       FL      33990   [XV], [XVI],              7/5/2011     Yes         2,241      Property Tax      Yes                                                                  Taishan            Photo               2, 12          J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          DICKMAN JAMES M + CONNIE Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                         Assessor's                        0.80              $87.88           $196,939.08                                                                                                                                           Tax Records + Title/Deed          12/9/2004              7/31/2013                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          R                        Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
  357    RP         Cardenas, Edward                 5030 SW 126 Avenue, Unit 203 Miramar          FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,426      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                    0.81              $88.98           $126,885.48                                                                        BUILDING POINT INC                                                 City or County Tax Records                               4/1/2014                                                                                                                                  $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  358    Ex 10/79   Cardenas, Francisco and Elsa     6928 Marble Fawn Place       Riverview        FL      33578   [II], [XV], [XVI],        3/15/2010    Yes         1,708      Property Tax      Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                                                                                                                   [XVII]                                                         Assessor's                        0.83              $91.18           $155,735.44                                                                        WILLIAMS CONSUELA                                                  Tax Records + Title/Deed         10/31/2007              1/25/2016                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  359    Ex 10/79   Cardenas, Frank, III             4402 Ruth Avenue South       Lehigh Acres     FL      33972   [II], [XV], [XVI],        3/15/2010    Yes         1,486      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                             27300 Riverview Center Blvd
                                                                                                                                                                                                                    0.80              $87.88           $130,589.68                                                                        CARDENAS FRANK M                   Owner as of 6/9/15              City or County Tax Records       10/22/2004           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
                                                                                                                                                                                Square Footage
  360    Ex 10/79   Cardiello, Frank and Gayle       1006 NW 38th Place           Cape Coral       FL      33993   [II(C)], [III], [IX],     10/7/2009    Yes         2,233     Builder's Floor    Yes                                                                  Taishan            Photo               2, 9           J           CARDIELLO FRANK + GAYLE                                                                                                                         Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XV], [XVI],                                                      Plan                                                                                                                                                 S TR                                                                                                                                                                           27300 Riverview Center Blvd
                                                                                                                                                                                                                    0.80              $87.88           $196,236.04                                                                                                Owner as of 6/9/15                         City or County Tax Records        1/18/2002           Current Owner                                                                                                                                $0.00
                                                                                                                   [XVII]                                                                                                                                                                                                                 FOR CARDIELLO FAMLY                                                                                                                                                            Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                          TRUST
  361    Ex 10/79   Cardinal, Michael and Suyon      4883 Registry Lane           Kennesaw         GA      30152   [IX], [XV],               5/5/2011     Yes         2,943      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          CARDINAL MICHAEL &
                                                                                                                   [XVI], [XVII],                                                 Assessor's                        0.89              $97.77           $287,737.11      Manufacturer 2                                                                                       Owner as of 6/9/15              City or County Tax Records        5/21/2004           Current Owner                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                          SUYON
                                                                                                                   [XXII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 12 of 82



Claimant Source     Claimant Name                    Affected Property Address       City             State   Zip     Omni(s)               Date of Earliest PPF      Verified       Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square       Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided      Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                    Sharefile
  362    RP         Cardoza, Robert                  1615 91st Court                 Vero Beach       FL      32966   [II], [XV], [XVI],      3/15/2010    Yes         1,971      Property Tax      Yes                                                                   Dragon Brand       Photo             26             A                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                        Assessor's                                                                                                                                            GAROFALO, JOSEPH AND               Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                     0.84                $92.27          $181,864.17                                                                                                                                         Tax Records + Title/Deed          12/7/2006              5/21/2010                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                            DONNA L                            Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  363    RP         Cardoza, Robert                  1617 91st Court                 Vero Beach       FL      32966   [II], [XV], [XVI],      3/15/2010    Yes         1,952      Property Tax      Yes                                                                   Dragon Brand       Photo             26             A                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                        Assessor's                                                                                                                                            GAROFALO, JOSEPH AND               Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                     0.84                $92.27          $180,111.04                                                                                                                                         Tax Records + Title/Deed          12/7/2006              5/21/2010                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                            DONNA L                            Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  364    Ex 10/79   Caricato, Lisa                   13471 Little Gem Circle         Ft. Myers        FL      33913   [II(C)], [III],         10/7/2009    Yes         1,884      Property Tax      Yes                                                                   Taishan            Photo             2              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                  Assessor's                       0.80                $87.88          $165,565.92                                                                      ZALEWSKI DELPHINE J                                                City or County Tax Records        6/30/2006              8/12/2010                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  365    RP         Carlson, Albert and Olson,       12661 Oak Bend Drive            Ft. Myers        FL      33905   [XIII], [XV],           7/5/2011     Yes         5,019      Property Tax      Yes                                                                   ProWall            Photo             43, 44         G                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          FRICKE RANDALL J + NANCY Previous Owner, Did Not Own
                    Sandra                                                                                            [XVI], [XVII]                                                 Assessor's                       0.80                $87.88          $441,069.72                                                                                                                                         Tax Records + Title/Deed          4/24/2007             12/30/2013                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          K                        Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  366    Add.       Carmen, Anthony and              698 Darlington Ave SW           Palm Bay         FL      32908   [XV], [XVI],            7/5/2011     Yes         1,553        Appraisal       Yes                                                                   Chinese            Photo             37             C           PIRCZHALSKI, ANTHONY C;                                                                                                                         Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
         Taishan    Pirczhalski, Joseph                                                                               [XVII]                                                     Showing Floor                                                                            Manufacturer 2                                                  PIRCZHALSKI, JOSEPH J SR                                                                                                                                                      27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.84                $92.27          $143,295.31                                                                                                Owner as of 6/9/15                       Tax Records + Title/Deed          6/19/2000           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   Plan and Square                                                                                                                                          TRUSTEE; PIRCZHALSKI,                                                                                                                                                         Bonita Springs, FL 34134
                                                                                                                                                                                    Footage                                                                                                                                               ELIZABETH T TRUSTEE
  367    Ex 10/79   Carney, Garnet and William       11001 Gulf Reflections Drive,   Ft. Myers        FL      33908   [III], [XV],            10/7/2009    Yes         1,416      Property Tax       Yes                                                                  Taishan            Photo             2, 9           J           CARNEY WILLIAM G TR                                                                                                                             Seeger Weiss                  Christopher Seeger, Esq.            (877) 912-2668   cseeger@seegerweiss.com
                                                     Unit 302                                                         [XVI], [XVII]                                                Assessor's                                                                                                                                             FOR WILLIAM G CARNEY                                                                                                                                                          77 Water Street
                                                                                                                                                                                 Document with                        0.80              $87.88           $124,438.08                                                                      TRUST 1/2 + CARNEY GARNET Owner as of 6/9/15                       City or County Tax Records         2/6/2007           Current Owner                                        New York, NY 10005                                                                     $0.00
                                                                                                                                                                                 Square Footage                                                                                                                                           K TR FOR GARNET K CARNEY
                                                                                                                                                                                                                                                                                                                                          TRUST 1/2 T/C
  368    Ex 10/79   Carney, Garnet and William       11001 Gulf Reflections Drive,   Ft. Myers        FL      33908   [III], [XV],            10/7/2009    Yes         1,416      Property Tax       Yes                                                                  Taishan            Photo             2, 9           J           CARNEY WILLIAM G TR                                                                                                                             Seeger Weiss                  Christopher Seeger, Esq.            (877) 912-2668   cseeger@seegerweiss.com
                                                     Unit 306                                                         [XVI], [XVII]                                                Assessor's                                                                                                                                             FOR WILLIAM G CARNEY                                                                                                                                                          77 Water Street
                                                                                                                                                                                 Document with                        0.80              $87.88           $124,438.08                                                                      TRUST 1/2 + CARNEY GARNET Owner as of 6/9/15                       City or County Tax Records        2/21/2008           Current Owner                                        New York, NY 10005                                                                     $0.00
                                                                                                                                                                                 Square Footage                                                                                                                                           K TR FOR GARNET K CARNEY
                                                                                                                                                                                                                                                                                                                                          TRUST 1/2 T/C
  369    Ex 10/79 & Carr, David                      3602 Oakwood Dr.                Wesley Chapel    FL      33543   [II], [XV], [XVI],      3/15/2010    Yes         5,190      Property Tax       No                                                                   BNBMDB             Photo             25             A                                                                                                                                                           Lucas Magazine               Martin Macyszyn, Esq.                (727) 849-5353   martin@lgmlawgroup.com                            Sq ft confirmed by
         Omni XX                                                                                                      [XVII], [XX]                                                 Assessor's                                                                                                                                                                                                                                                                                                                          Liberty Professional Building                                                                           BKC
                                                                                                                                                                                                                      0.83              $91.18           $473,224.20                                                                      CARR DAVID LEE                     Owner as of 6/9/15              City or County Tax Records        11/1/2005           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          8606 Government Drive
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         New Port Richey, FL 34654
  370    Ex 10/79   Carter, Andrea                   10201 Deerfield Drive           New Orleans      LA      70128   [III], [VII], [XV],     10/7/2009    Yes         2,097      Property Tax       Yes                                                                  Taihe              Photo             19             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                             LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86              $94.47           $198,103.59                                                                      CARTER ANDREA F                    Owner as of 6/9/15              City or County Tax Records        2/27/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         425 W. Airline Hwy, Suite B
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
  371    Ex 10/79   Carter, Daniel and My-Duyen      508 NW 38th Avenue              Cape Coral       FL      33993   [II(C)], [III],         10/7/2009    Yes         2,241      Property Tax       Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                 Assessor's                         0.80              $87.88           $196,939.08                                                                      AGRI-TRAIN INC                                                     Tax Records + Title/Deed          7/29/2005              1/28/2011                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  372    Ex 10/79   Carter, Daniel and My-Duyen      522 NW 36th Place               Cape Coral       FL      33993   [II(C)], [III],         10/7/2009    Yes         2,241      Property Tax       Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                 Assessor's                         0.80              $87.88           $196,939.08                                                                      EMER JOSEPH L + RHONDA R                                           Tax Records + Title/Deed          7/13/2005              1/20/2010                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  373    RP         Carter, Henry and Verline        5319 N. Rampart Street          New Orleans      LA      70117   [IX], [XV],             5/5/2011     Yes          937      Builder's Floor     Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com                              See Preservation
                                                                                                                                                                                                                                                                                                                                          CARTER HENRY
                                                                                                                      [XVI], [XVII]                                                   Plan                            0.86              $94.47            $88,518.39                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          6/15/2000           Current Owner                                       701 Poydras Street, Suite 3650                                                          $0.00           Alliance of New
                                                                                                                                                                                                                                                                                                                                          CARTER VERLINE H
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70144                                                                                   Orleans, Inc. on OCXX
  374    Ex 10/79   Carter, John                     703 Waverly Place               Opelika          AL      36804   [XIII], [XV],           7/5/2011     Yes         1183       Property Tax       Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                      0.84              $92.27           $109,155.41                                                                      CARTER JOHN A & JILL M             Owner as of 6/9/15              City or County Tax Records       12/22/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         650
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        Birmingham, AL 35209
  375    RP         Casalengo, Roger and Kramer,     1690 Renaissance Commons        Boynton Beach    FL      33426   [II], [XV], [XVI],      3/15/2010    Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          COORDINATION                       Previous Owner, Did Not Own
                    Betty Ann                        Blvd., Unit 1324                                                 [XVII]                                                          Plan                            0.82              $90.08           $111,699.20                                                                                                                                         Tax Records + Title/Deed          4/30/2007             12/31/2014                                        900 W. Morgan Street                                                                  $94,293.40
                                                                                                                                                                                                                                                                                                                                          MANAGEMENT LLC                     Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
  376    Ex 10/79   Casanas, Dulce Guerra, Enrique 8019 W 36th Avenue #2             Hialeah          FL      33018   [II(B)], [III(A)],      9/16/2010    Yes         1,356      Property Tax       Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                 Assessor's                                                                                                                                             ENRIQUE GUERRA JTRS &                                                                                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $120,656.88                                                                                                         Owner as of 6/9/15              City or County Tax Records        3/10/2008           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVI], [XVII]                                              Document with                                                                                                                                            DULCE M CASANAS JTRS                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  377    Ex 10/79   Casanova, Carlos                 34830 Turnbury Court 44         Zephyr Hills     FL      33541   [IX], [XV],             5/5/2011     Yes         1,274     Builder's Floor     Yes                                                                  C&K                Photo             34             B                                                                                                                                                           Seeger Weiss                 Christopher Seeger, Esq.             (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                      [XVI], [XVII]                                                   Plan                                                                                                                                                                                                                                                                                                                             77 Water Street
                                                                                                                                                                                                                                                                                                                                          FEDERAL NATIONAL                   Owner as of 6/9/15, No Longer
                                                                                                                                                                                                                      0.83              $91.18           $116,163.32                                                                                                                                         Title/Deed                         6/9/2008             11/18/2016                                        New York, NY 10005                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                          MORTGAGE ASSOCIATION               Owns Property


  378    Ex 10/79   Casburn, Richard and Judy        2120 Della Drive                Naples           FL      34117   [III], [XV],            10/7/2009    Yes         2,144      Property Tax       Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Assessor's                         0.80              $87.88           $188,414.72                                                                      TOPOLSKI, JOHN PETER                                               Tax Records + Title/Deed          2/27/2009              1/27/2010                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  379    Ex 10/79   Cashion, William                 183 Cashion Avenue              Wetumpka         AL      36092   [III], [VII], [XV],     10/7/2009    Yes         2793       Property Tax       Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          CLARIDY KATHY A & LORI             Owner as of 6/9/15, No Longer
                                                                                                                      [XVI], [XVII],                                               Assessor's                         0.83              $91.18           $254,665.74                                                                                                                                         Tax Records + Title/Deed         11/15/2005              8/3/2015                                         900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                          LEIGH                              Owns Property
                                                                                                                      [XXI]                                                      Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  380    Ex 10/79   Blue Water Coach Homes           206 Shadroe Cove Circle, #304 Cape Coral         FL      33991   [XV], [XVI],            7/5/2011     Yes         2,381     Builder's Floor     Yes                                                                  Taishan/ C&K       Photo             2, 12, 36      B, J                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                          CASPER BARBARA C TR +
                    Condominium Association, Inc.                                                                     [XVII]                                                          Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $209,242.28                                                                      CASPER BRUCE W TR FOR              Owner as of 6/9/15              City or County Tax Records       12/18/2006           Current Owner                                                                                                                             $86,082.93
                    (Casper, Bruce and Barbara)                                                                                                                                                                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                          CASPER TRUST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  381    Ex 10/79   Castillo, Jorge                  128 NE 8th Terrace              Cape Coral       FL      33909   [XV], [XVI],            7/5/2011     Yes         1,785       Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          GARCIA LUCIA +
                                                                                                                      [XVII]                                                        Assessor's                        0.80              $87.88           $156,865.80                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed           2/6/2009           Current Owner                                       12800 University Drive, Suite 600                     m                              $100,613.31
                                                                                                                                                                                                                                                                                                                                          CASTILLO JORGE D W/H
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  382    Ex 10/79   Castro, Lidice                   1147 NW 19 Avenue               Cape Coral       FL      33993   [II(C)], [XIII],        1/24/2011    Yes         2,020        Appraisal        Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                      [XV], [XVI],                                               Showing Floor                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.80              $87.88           $177,517.60                                                                      CASTRO LIDICE                      Owner as of 6/9/15              City or County Tax Records         6/4/2007           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVII]                                                     Plan and Square                                                                                                                                                                                                                                                                                          Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
  383    RP         Catalano, Pete and Annett        1458 SW Goodman Avenue          Port St. Lucie   FL      34952   [II], [IX], [XV],       3/15/2010    Yes         2,252       Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                   (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          JOY MORGAN                         Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.82              $90.08           $202,860.16                                                                                                                                         City or County Tax Records        2/17/2005              3/21/2014                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                          WADE MORGAN                        Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
  384    Ex 10/79   Catalanotto, Mary Ann            743 Louque Street               New Orleans      LA      70124   [III], [III(A)],        10/7/2009    Yes         1,200       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [VII], [XIII],                                                Assessor's                                                                                                                                                                                                                                                                                                                         820 O'Keefe Avenue
                                                                                                                                                                                                                      0.86              $94.47           $113,364.00                                                                      CATALANOTTO MARY ANN               Owner as of 6/9/15              City or County Tax Records        12/2/1997           Current Owner                                                                                                                               $0.00
                                                                                                                      [XV], [XVI],                                               Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
                                                                                                                      [XVII]                                                     Square Footage
  385    Ex 10/79   Catalfamo, Edmondo               8791 Cobblestone Point Circle   Boynton Beach    FL      33472   [II], [XV], [XVI],      3/15/2010    Yes         4,215      Builder's Floor    Yes                                                                  Dragon Brand       Photo             26             A                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                           Plan                                                                                                                                               CATALFAMO EDMONDO &                                                                                                                                                           Baron & Budd
                                                                                                                                                                                                                      0.82              $90.08           $379,687.20                                                                                                         Owner as of 6/9/15              City or County Tax Records        9/29/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                          PORTANOVA LAURA                                                                                                                                                               3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  386    Add.       Cathalougne, Thelma              3116 Pakenham Drive             Chalmette        LA      70043   [XIII], [XV],           7/5/2011     Yes         1,210      Property Tax       Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Paul A. Lea, Jr., APLC        Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
                                                                                                                                                                                                                                                                                                                                          CATHALOUGNE, THELMA
         Taishan                                     Chalmette, LA 70433                                              [XVI], [XVII],                                               Assessor's                         0.86              $94.47           $114,308.70                                                                                                         Owner as of 6/9/15              City or County Tax Records        5/23/1986           Current Owner                                        724 East Boston Street                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                          WHEELER 1/2
         Prop. &                                                                                                      [XX]                                                       Document with                                                                                                                                                                                                                                                                                                                          Covington, LA 70433
  387    RP         Catholic Charities Archdiocese   1134 Horace Street (Ruth &      New Orleans      LA      70114   [IX], [XV],             5/5/2011     Yes         1,225      Property Tax       Yes                                                                  Crescent City      Affidavit from    N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                          HARRISON SHIRLEEN &
                    of New Orleans                   Shirleen Harrison)                                               [XVI], [XVII]                                                Assessor's                         0.86              $94.47           $115,725.75                         counsel                                                                         No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                          HARRISON RUTH, ET AL
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  388    RP         Catholic Charities Archdiocese   1426 S. Gayoso Street (Harry & New Orleans       LA      70125   [IX], [XV],             5/5/2011     Yes          912       Property Tax       Yes                                                                  Crescent City      Affidavit from    N/A            D           SLUSS HARRY L, SLUSS                                                                                                                            Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Charlene Sluss)                                                  [XVI], [XVII]                                                Assessor's                         0.86              $94.47            $86,156.64                         counsel                                      CHARLINE R, & SLUSS                No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                            CHARLINE R                                                                                                                                                                    New Orleans, LA 70113
  389    RP         Catholic Charities Archdiocese   1606 N. Broad Street (Olivia    New Orleans      LA      70119   [IX], [XV],             5/5/2011     Yes         1,130      Property Tax       Yes                                                                  Crescent City      Affidavit from    N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Terance (deceased))                                              [XVI], [XVII]                                                Assessor's                         0.86              $94.47           $106,751.10                         counsel                                      TERANCE WILFRED L ET ALS No Record of Ownership                    City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  390    RP         Catholic Charities Archdiocese   1814 N. Miro Street (Annette    New Orleans      LA      70119   [IX], [XV],             5/5/2011     Yes         2,332      Property Tax       Yes                                                                  Crescent City      Affidavit from    N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Joseph)                                                          [XVI], [XVII]                                                Assessor's                         0.86              $94.47           $220,304.04                         counsel                                      JOSEPH ANNETTE                     No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  391    RP         Catholic Charities Archdiocese   1905 4th Street (Sherlyn        New Orleans      LA      70113   [IX], [XIII],           5/5/2011     Yes          675      Builder's Floor     Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Turner)                                                          [XV], [XVI],                                                    Plan                            0.86              $94.47            $63,767.25                                                                      TURNER SHERLYN N.H                 No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70113
  392    RP         Catholic Charities Archdiocese   1907 4th Street (Sherlyn        New Orleans      LA      70113   [XIII], [XV],           7/5/2011     Yes          571      Builder's Floor     Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Turner)                                                          [XVI], [XVII]                                                   Plan                            0.86              $94.47            $53,942.37                                                                      TURNER SHERLYN N.H                 No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
  393    RP         Catholic Charities Archdiocese   1940 Congress Street (Lucille   New Orleans      LA      70117   [IX], [XV],             5/5/2011     Yes         1,309      Property Tax       Yes                                                                  Crescent City      Affidavit from    N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                          HILLS LUCILLE M
                    of New Orleans                   Hills)                                                           [XVI], [XVII]                                                Assessor's                         0.86              $94.47           $123,661.23                         counsel                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          8/30/1971           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                          HILLS WILLIE J
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  394    RP         Catholic Charities Archdiocese   2008-10 Franklin Avenue         New Orleans      LA      70117   [IX], [XIII],           5/5/2011     Yes         2,028      Property Tax       Yes                                                                  Crescent City      Photo             27             D           PAYNE ROSE A, PAYNE                                                                                                                             Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   (Warren Payne, Jr.)                                              [XV], [XVI],                                                 Assessor's                         0.86              $94.47           $191,585.16                                                                      WARREN J, & WARREN                 No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                      [XVII]                                                     Document with                                                                                                                                            PAYNE JR                                                                                                                                                                      New Orleans, LA 70113
  395    RP         Catholic Charities Archdiocese   2019 N. Robertson (Dorothy      New Orleans      LA      70116   [XIII], [XV],           7/5/2011     Yes          880       Property Tax       Yes                                                                  Crescent City      Photo             27             D           WATSON JAMES H                                                                                                                                  Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Watson)                                                          [XVI], [XVII]                                                Assessor's                         0.86              $94.47            $83,133.60                                                                      WATSON DOROTHY                     Owner as of 6/9/15              Tax Records + Title/Deed          5/29/1958           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                            WATSON DOROTHY P                                                                                                                                                              New Orleans, LA 70113
  396    RP         Catholic Charities Archdiocese   2024-26 Franklin Avenue (both New Orleans        LA      70117   [IX], [XIII],           5/5/2011     Yes         1,508      Property Tax       Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   sides) (Errol Remy)                                              [XV], [XVI],                                                 Assessor's                         0.86              $94.47           $142,460.76                                                                      REMY ERROL D                       No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  397    RP         Catholic Charities Archdiocese   2032 St. Roch Avenue (Joeretta New Orleans       LA      70117   [IX], [XV],             5/5/2011     Yes          962      Builder's Floor     Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Roman)                                                           [XVI], [XVII]                                                   Plan                            0.86              $94.47            $90,880.14                                                                      ROMAN JOERETTA N                   Owner as of 6/9/15              City or County Tax Records        12/9/1992           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
  398    RP         Catholic Charities Archdiocese   2337-2339 Valmont (Connie       New Orleans      LA      70115   [IX], [XV],             5/5/2011     Yes         2,102     Builder's Floor     Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Baker)                                                           [XVI], [XVII]                                                   Plan                            0.86              $94.47           $198,575.94                                                                      BAKER CONNIE K                     Owner as of 6/9/15              City or County Tax Records         5/1/1993           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
  399    RP         Catholic Charities Archdiocese   2412 Annunciation Street (Alos New Orleans       LA      70130   [IX], [XV],             5/5/2011     Yes         1,468      Property Tax       Yes                                                                  Crescent City      Affidavit from    N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Taylor)                                                          [XVI], [XVII]                                                Assessor's                         0.86              $94.47           $138,681.96                         counsel                                      TAYLOR ALOS T                      Owner as of 6/9/15              City or County Tax Records        8/31/1999           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 13 of 82



Claimant Source     Claimant Name                    Affected Property Address       City             State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
  400    RP         Catholic Charities Archdiocese   2735 Higgins (Jeanette Wilson) New Orleans       LA      70126   [IX], [XV],             5/5/2011     Yes         1,440     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                    of New Orleans                                                                                    [XVI], [XVII]                                                   Plan                          0.86                $94.47          $136,036.80                                                                        COBBS EARLYN W                                                     Tax Records + Title/Deed          8/31/2004              1/25/2016                                         820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  401    RP         Catholic Charities Archdiocese   2754 Edna Street (Barbara       New Orleans      LA      70126   [IX], [XV],             5/5/2011     Yes         1,715     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D           MARTIN LAWERNCE A JR                                                                                                                            Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Martin)                                                          [XVI], [XVII]                                                   Plan                           0.86              $94.47           $162,016.05                                                                        MARTIN BARBARA W                   Owner as of 6/9/15              Tax Records + Title/Deed           6/2/1999           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                           MARTIN BARBARA W                                                                                                                                                              New Orleans, LA 70113
  402    RP         Catholic Charities Archdiocese   2837 A.P. Turead Avenue         New Orleans      LA      70119   [IX], [XV],             5/5/2011     Yes         2,156          Other         Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   (Eloise Simmons)                                                 [XVI], [XVII]                                                                                  0.86              $94.47           $203,677.32                         counsel                                        SIMMONS ELOISE B                   Owner as of 6/9/15              City or County Tax Records        1/22/2007           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  403    RP         Catholic Charities Archdiocese   318 S. Gayoso Street (Wilma     New Orleans      LA      70119   [IX], [XV],             5/5/2011     Yes         1,083     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    of New Orleans                   Holmes)                                                          [XVI], [XVII]                                                   Plan                           0.86              $94.47           $102,311.01                                                                        DABNEY JUAN                                                        City or County Tax Records        12/1/1986              1/2/2014                                          820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  404    RP         Catholic Charities Archdiocese   320 S. Gayoso Street (Wilma     New Orleans      LA      70119   [IX], [XV],             5/5/2011     Yes         1,083     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    of New Orleans                   Holmes)                                                          [XVI], [XVII]                                                   Plan                           0.86              $94.47           $102,311.01                                                                        DABNEY JUAN                                                        City or County Tax Records        12/1/1986              1/2/2014                                          820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  405    RP         Catholic Charities Archdiocese   3610 Jumonville Street (Antonio New Orleans      LA      70122   [IX], [XV],             5/5/2011     Yes         1,435     Builder's Floor    Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   & Laurette Bernard)                                              [XVI], [XVII]                                                   Plan                           0.86              $94.47           $135,564.45                         counsel                                        BERNARD ANTONIO F                  Owner as of 6/9/15              Tax Records + Title/Deed          12/3/2007           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  406    RP         Catholic Charities Archdiocese   3936 Louisiana Avenue           New Orleans      LA      70125   [IX], [XV],             5/5/2011     Yes         2,043     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Unknown
                    of New Orleans                   Parkway (Cynthia Dubose)                                         [XVI], [XVII]                                                   Plan                           0.86              $94.47           $193,002.21                                                                        ARMBRUSTER CHARLES A                                               Tax Records + Title/Deed          7/23/1998                                                                820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                              Purchase Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  407    RP         Catholic Charities Archdiocese   4106 Eagle Street (Lydia White) New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes          872      Builder's Floor    Yes                                                                  Crescent City      Inspection Report   N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                                                                                    [XVI], [XVII]                                                   Plan                           0.86              $94.47            $82,377.84                                                                        WHITE LYDIA                        Owner as of 6/9/15              City or County Tax Records        8/17/2006           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  408    RP         Catholic Charities Archdiocese   4222 Rayne Street (Melvin       New Orleans      LA      70122   [IX], [XV],             5/5/2011     Yes         1,230     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Wheeler)                                                         [XVI], [XVII]                                                   Plan                           0.86              $94.47           $116,198.10                                                                        WHEELER MELVIN H                   Owner as of 6/9/15              Tax Records + Title/Deed           5/9/1977           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  409    RP         Catholic Charities Archdiocese   4557 Mark Twain Drive           New Orleans      LA      70126   [IX], [XV],             5/5/2011     Yes         1,184      Property Tax      Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   (Yvonne Jones)                                                   [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $111,852.48                         counsel                                        JONES YVONNE R                     Owner as of 6/9/15              Tax Records + Title/Deed          12/3/1996           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  410    RP         Catholic Charities Archdiocese   4823 Shalimar Street (Kenneth   New Orleans      LA      70126   [IX], [XV],             5/5/2011     Yes         2,512      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Gaspard)                                                         [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $237,308.64                                                                        GASPARD KENNETH J                  Owner as of 6/9/15              Tax Records + Title/Deed          12/6/1977           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  411    RP         Catholic Charities Archdiocese   4910 S. Claiborne Ave. (Pauline New Orleans      LA      70115   [IX], [XV],             5/5/2011     Yes         1,535      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                             Sq ft confirmed by
                    of New Orleans                   Hurst)                                                           [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $145,011.45                                                                        HURST PAULINE W                    Owner as of 6/9/15              Tax Records + Title/Deed         11/16/1988           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00           BKC
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  412    RP         Catholic Charities Archdiocese   5130 Pauline Drive (Lydia       New Orleans      LA      70126   [IX], [XV],             5/5/2011     Yes         1,534     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Taylor)                                                          [XVI], [XVII]                                                   Plan                           0.86              $94.47           $144,916.98                                                                        TAYLOR LYDIA                       Owner as of 6/9/15              Tax Records + Title/Deed          4/25/1994           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  413    RP         Catholic Charities Archdiocese   5429 N. Villere Street (Olga    New Orleans      LA      70117   [IX], [XV],             5/5/2011     Yes         1,178     Builder's Floor    Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Walker)                                                          [XVI], [XVII]                                                   Plan                           0.86              $94.47           $111,285.66                         counsel                                        WALKER OLGA J                      Owner as of 6/9/15              City or County Tax Records        6/28/1993           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  414    RP         Catholic Charities Archdiocese   5709 Wingate Drive (Rosie       New Orleans      LA      70122   [IX], [XV],             5/5/2011     Yes         1,280      Property Tax      Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                           ROBICHAUX CRAIN M
                    of New Orleans                   Robichaux)                                                       [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $120,921.60                         counsel                                                                Owner as of 6/9/15                         Tax Records + Title/Deed           8/4/2004           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                           ROBICHAUX ROSIE WALLACE
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  415    RP         Catholic Charities Archdiocese   5724 Music Street (Guillermo & New Orleans       LA      70122   [IX], [XV],             5/5/2011     Yes         1,386     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Anita Salgado)                                                   [XVI], [XVII]                                                   Plan                           0.86              $94.47           $130,935.42                                                                        SALGADO GUILLERMO                  Owner as of 6/9/15              Tax Records + Title/Deed          3/30/1979           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  416    RP         Catholic Charities Archdiocese   5729 Vermillion Blvd. (Augusta New Orleans       LA      70122   [IX], [XV],             5/5/2011     Yes         1,325      Property Tax      Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Carter)                                                          [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $125,172.75                         counsel                                        CARTER AUGUSTA H                   Owner as of 6/9/15              Tax Records + Title/Deed          5/21/1984           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  417    RP         Catholic Charities Archdiocese   6321 Baccich Street (Lucille    New Orleans      LA      70122   [IX], [XV],             5/5/2011     Yes         1,449     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Segura)                                                          [XVI], [XVII]                                                   Plan                           0.86              $94.47           $136,887.03                                                                        SEGURA LUCILLE                     Owner as of 6/9/15              City or County Tax Records        3/11/1999           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  418    RP         Catholic Charities Archdiocese   7435 Alabama Street (Anthony    New Orleans      LA      70126   [IX], [XV],             5/5/2011     Yes         2,332      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                           COLE ANTHONY
                    of New Orleans                   and Gloria Cole)                                                 [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $220,304.04                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          5/27/2005           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                           GLORIA JONES COLE
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  419    Ex 10/79 & Catholic Charities Archdiocese   7531 Eastmore Road              New Orleans      LA      70126   [XIII], [XV],           7/5/2011     Yes         2,332      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                             Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
         Omni XX of New Orleans                                                                                       [XVI], [XVII],                                               Assessor's                        0.86              $94.47           $220,304.04                                                                        SCOTT VALARIE M                                                    City or County Tax Records                               9/29/1997                                         820 O'Keefe Avenue                                                                     $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XX]                                                       Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  420    RP         Catholic Charities Archdiocese   7542 Briarwood (Carrie          New Orleans      LA      70128   [IX], [XV],             5/5/2011     Yes         1,889      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                             Sq ft confirmed by
                    of New Orleans                   Williams)                                                        [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $178,453.83                                                                        WILLIAMS CARRIE H                  Owner as of 6/9/15              City or County Tax Records        5/13/2004           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00           BKC
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  421    RP         Catholic Charities Archdiocese   8631 Hammond Street (Sheila     New Orleans      LA      70127   [IX], [XV],             5/5/2011     Yes         1,087      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Morris)                                                          [XVI], [XVII]                                                Assessor's                        0.86              $94.47           $102,688.89                                                                        EMILIEN SHEILA H                   Owner as of 6/9/15              Tax Records + Title/Deed         12/17/1997           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
  422    RP         Catholic Charities Archdiocese   9000 Lake Forest Blvd.          New Orleans      LA      70127   [IX], [XV],             5/5/2011     Yes         2,705      Property Tax      Yes                                                                  Crescent City      Photo               27             D           BYRD PRINCETTA G                                                                                                                                Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   (Alexander Byrd)                                                 [XVI], [XVII]                                                Assessor's                                                                                                                                              LUCKETT TRESA                                                                                                                                                                 820 O'Keefe Avenue
                                                                                                                                                                                 Document with                                                                                                                                             BRIGGS NADINE                                                                                                                                                                 New Orleans, LA 70113
                                                                                                                                                                                 Square Footage
                                                                                                                                                                                                                     0.86              $94.47           $255,541.35                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed           9/9/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           NELSON KAREN
                                                                                                                                                                                                                                                                                                                                           BYRD ALEXANDER E JR
                                                                                                                                                                                                                                                                                                                                           BYRD TIFFANY
  423    RP         Catholic Charities Archdiocese   9126 Fig Street (Gwendolyn      New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes         2,088     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans                   Jasmine)                                                         [XVI], [XVII]                                                   Plan                           0.86              $94.47           $197,253.36                                                                        JASMMINE GWENDOLYN                 Owner as of 6/9/15              City or County Tax Records        7/16/1991           Current Owner                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  424    RP         Catholic Charities Archdiocese   6101 Perlita St.                New Orleans      LA      70122   [III(A)], [IX],         9/16/2010    Yes         2,599      Property Tax      Yes                                                                  Crescent City      Photo               27             D           BRECKENRIDGE MARYDIA                                                                                                                            Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                    of New Orleans (Marydia                                                                           [XV], [XVI],                                                 Assessor's                                                                                                                                              JENNINGS                                                                                                                                                                      820 O'Keefe Avenue
                                                                                                                                                                                                                     0.86              $94.47           $245,527.53                                                                                                Owner as of 6/9/15                         City or County Tax Records          2007              Current Owner                                                                                                                               $0.00
                    Breckenridge-Jennings)                                                                            [XVII]                                                     Document with                                                                                                                                             BRECKENRIDGE MARTINIQUE                                                                                                                                                       New Orleans, LA 70113
                                                                                                                                                                                 Square Footage                                                                                                                                            L( 1/6)
  425    Ex 10/79   Cattano, Phyllis                 2107 N.E. Juanita Place         Cape Coral       FL      33909   [III], [III(A)],        10/7/2009    Yes         1,790     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [IX], [XV],                                                     Plan                                                                                                                                                                                                                                                                                                 Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $157,305.20                                                                        CATTANO PHYLLIS G L/E              Owner as of 6/9/15              City or County Tax Records        4/12/2005           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  426    RP         Cavalieri, Sam, John, Jennifer   8177 Emerald Avenue             Parkland         FL      33076   [IX], [XV],             5/5/2011     Yes         4,713      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com                               Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                           CASTANEDA,CARLOS A &               Previous Owner, Did Not Own
                    and Candace                                                                                       [XVI], [XVII]                                                Assessor's                        0.81              $88.98           $419,362.74                                                                                                                                           Tax Records + Title/Deed           9/8/2006              5/31/2011                                        27300 Riverview Center Blvd                                                             $0.00           BKC
                                                                                                                                                                                                                                                                                                                                           JANET L                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  427    Ex 10/79   Cayre, Jack                      4351 Bellaria Way #445          Ft. Myers        FL      33916   [XV], [XVI],            7/5/2011     No          1,228     Builder's Floor    Yes                                                                  ProWall            Photo               44             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                          Plan                                                                                                                                                 JP MORGAN CHASE BANK NA Owner as of 6/9/15, No Longer                                                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $107,916.64                                                                                                                                           City or County Tax Records        8/23/2007             10/28/2016                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                           ASSN                    Owns Property                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  428    Ex 10/79   Cegielski, Boguslaw and Ning     246 SW 26th Street              Cape Coral       FL      33993   [IX], [XV],             5/5/2011     Yes         2,044       Property Tax     Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           CEGIELSKI BOGUSLAW +
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.80              $87.88           $179,626.72                                                                                                           Owner as of 6/9/15              City or County Tax Records         3/7/2008           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           NING X
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
  429    Ex 10/79   Ceglio, Carmine and Donna        10511 Sarah Way                 Port St. Lucie   FL      34987   [XV], [XVI],            7/5/2011     Yes         3,416        Appraisal       Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                     Showing Floor                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                                             Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $307,713.28                                                                        JPMORGAN CHASE BANK NA                                             City or County Tax Records        7/30/2007             11/14/2016                                                                                                                             $166,825.57
                                                                                                                                                                                 Plan and Square                                                                                                                                                                              Owns Property                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
  430    Ex 10/79   Celino, Christian                105 East Desoto Street          Bay St. Louis    MS      39520   [XIII], [XV],           7/5/2011     Yes         2,244       Property Tax     Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                              Current Owner, Unknown
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.84              $92.27           $207,053.88                                                                        CELINO CHRISTIAN J ETUX                                            City or County Tax Records                            Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Purchase Date
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          650
  431    Ex 10/79   Chalmers, Ryan and Julie         6359 Marshall Foch              New Orleans      LA      70124   [III], [VII], [XV],     10/7/2009    Yes         1,561        Appraisal       Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           The Lambert Firm             Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                      [XVI], [XVII]                                              Showing Floor                                                                                                                                             CHALMERS RYAN G                                                                                                                                                              701 Magazine St,                                     om
                                                                                                                                                                                                                     0.86              $94.47           $147,467.67                                                                                                           Owner as of 6/9/15              City or County Tax Records         8/6/2004           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                           CHALMERS JULIE                                                                                                                                                               New Orleans LA 70130
                                                                                                                                                                                     Footage
  432    Ex 10/79   Chambers, Jewel                  1016 Cougar Drive               Arabi            LA      70032   [XV], [XVI],            7/5/2011     Yes         1,293        Inspection      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.      Sidney D. Torres, III, Esq.       504-271-8422      storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                           CHAMBERS, JEWEL
                                                                                                                      [XVII]                                                      Showing Floor                      0.86              $94.47           $122,149.71                                                                                                           Owner as of 6/9/15              City or County Tax Records         6/6/2002           Current Owner          Torres, III                   8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           WILLIAMS
                                                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                          303
  433    Ex 10/79   Chamblish, Thomas and Evelyn     2901 Avenue V. Ensley           Birmingham       AL      35218   [XIII], [XV],           7/5/2011     Yes         1564        Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII],                                                Assessor's                                                                                                                                             CHAMBLISH THOMAS &                                                                                                                                                            12800 University Drive, Suite 600                   m
                                                                                                                                                                                                                     0.84              $92.27           $144,310.28                                                                                                           Owner as of 6/9/15              City or County Tax Records         3/4/1992           Current Owner                                                                                                                               $0.00
                                                                                                                      [XXI]                                                      Document with                                                                                                                                             EVELYN                                                                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
  434    Ex 10/79   Chan, Yut Siong                  3702 Ralston Road               Plant City       FL      33566   [II(A)], [IX],          9/16/2010    Yes         3,708       Property Tax     Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                                27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.83              $91.18           $338,095.44                                                                        DAVIS ANTHONY E                                                    Tax Records + Title/Deed          3/21/2007             11/25/2013                                                                                                                                $0.00
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         Bonita Springs, FL 34134
                                                                                                                                                                                 Square Footage
  435    Ex 10/79   Chandler, Rasheeta               11112 Ancient Futures Drive     Tampa            FL      33647   [XV], [XVI],            7/5/2011     Yes         1,846       Property Tax     Yes                                                                  C&K                Photo               34             B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                        Assessor's                       0.83              $91.18           $168,318.28                                                                        CHANDLER RASHEETA                  Owner as of 6/9/15              City or County Tax Records        7/30/2008           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  436    Ex 10/79   Chaney, Wesley and Sheila        411 Sandflat Road               Thomasville      AL      36784   [IX], [XIII],           5/5/2011     Yes         2779       Builder's Floor   Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason,   Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           CHANEY WESLEY MICHAEL
                                                                                                                      [XV], [XVI],                                                     Plan                          0.83              $91.18           $253,389.22                                                                                                           Owner as of 6/9/15              City or County Tax Records         9/5/2008           Current Owner          LLP Gentle, Turner & Sexton 900 W. Morgan Street                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                           & SHEILA DIANE
                                                                                                                      [XVII], [XXI]                                                                                                                                                                                                                                                                                                                                                                                     Raleigh, NC 27603
  437    Ex 10/79   Chappell, Lucius and Kristie     2125 Benefit Road               Chesapeake       VA      23322   [II(B)], [XV],          12/6/2010    Yes         3,219      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                                                                                                                                              SOLOMON STONE SERVICES             Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $332,393.94                                                                                                                                           City or County Tax Records       12/16/2004              7/21/2012                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             LLC                                Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  438    Ex 10/79   Chatmon, Lillian                 4151 Bismarck Palm Drive        Tampa            FL      33610   [II(A)], [VII],         9/16/2010    Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XV], [XVI],                                                 Assessor's                        0.83              $91.18           $113,063.20                                                                        CHATMON LILLIAN E                  Owner as of 6/9/15              City or County Tax Records        3/30/2007           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 14 of 82



Claimant Source     Claimant Name                   Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided      Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
  439    Ex 10/79   Chau, Van and Waas, John        18238 Hepatica Road             Ft. Myers         FL      33967   [XV], [XVI],              7/5/2011     Yes         1,534      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                              CHAU AND WAAS PROPERTY                                                                                                                                                        27300 Riverview Center Blvd
                                                                                                                                                                                                                      0.80                $87.88          $134,807.92                                                                                               Owner as of 6/9/15                          City or County Tax Records        2/16/2012           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                             INVESTMENT 1 LLC                                                                                                                                                              Bonita Springs, FL 34134
                                                                                                                                                                                   Square Footage
  440    Ex 10/79   Chavez, Rolando Javier          11215 Laurel Brook Court        Riverview         FL      33569   [IX], [XV],               5/5/2011     Yes         1,775     Builder's Floor    Yes                                                                  Taishan            Photo               6              J           RENDON ROLANDO JAVIER                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                                                                                 CHAVEZ DELGARDO DE                                                                                                                              Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                      0.83                $91.18          $161,844.50                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          4/12/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                             CHAVEZ RAQUEL VILMA                                                                                                                             Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                             ALCANTARA                                                                                                                                                                     Dallas, TX 75219
  441    Ex 10/79   Cheeran, David C. and Mary      987 Fish Hook Cove              Bradenton         FL      34212   [II], [IX], [XV],         3/15/2010    Yes         4,236      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                 (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             CHEERAN, DAVID C. AND
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $386,238.48                                                                                                           Owner as of 6/9/15              City or County Tax Records        9/28/2007           Current Owner                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                             MARY
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
  442    Ex 10/79   Cheramie, Bertoul J. and Joan   266 Carriage Pines              Covington         LA      70435   [II(B)], [III],           10/7/2009    Yes         1,750         Other          Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [III(A)], [VII],                                                                                                                                                                                                                                          Previous Owner, Unknown                                                                                                                    820 O'Keefe Avenue
                                                                                                                                                                                                                       0.79               $86.78          $151,865.00                                                                        CELINO, JOSEPH R JR ETUX                                           Tax Records + Title/Deed          1/22/2008                2015                                                                                                                                   $0.00
                                                                                                                      [XV], [XVI],                                                                                                                                                                                                                                              Purchase Date                                                                                                                              New Orleans, LA 70113
                                                                                                                      [XVII]
  443    Add.       Chestnut, Sean and Holly        4416 Stella Drive               Meraux            LA      70075   [XV], [XVI],              7/5/2011     Yes         1540       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Doyle Law Firm              Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
         Taishan                                                                                                      [XVII]                                                          Assessor's                       0.86               $94.47          $145,483.80                                                                        PALMERI, JAMES L.                                                  City or County Tax Records        2/13/2007              4/11/2016                                       2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                                                         650
  444    RP         Chetta, Rosary                  1614 Charlton Drive             New Orleans       LA      70122   [VII], [XV],              1/14/2011    Yes         2,551        Appraisal       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Gainsburgh Benjamin         Gerald Meunier, Esq.                 (504) 522-2304   gmeunier@gainsben.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                              2800 Energy Centre
                                                                                                                                                                                                                       0.86               $94.47          $240,992.97                                                                        THOMAS LANCE                                                       City or County Tax Records        2/23/2007              7/10/2013                                                                                                                                $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                                              Property on 6/9/15                                                                                                                       1100 Poydras Street
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  445    Ex 10/79   Chevalier, Randy and G. And     2585 Jonquil Street             New Orleans       LA      70122   [XV], [XVI],              7/5/2011     Yes          900           Other         Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz       Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                    Antoinette                                                                                        [XVII]                                                                                           0.86               $94.47           $85,023.00                                                                        CHEVALIER RANDY G                  Owner as of 6/9/15              City or County Tax Records        9/16/2006           Current Owner                                      820 O'Keefe Avenue                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  446    Ex 10/79   Chevalier, Randy and G. And     3900-3902 Franklin Avenue       New Orleans       LA      70122   [XV], [XVI],              7/5/2011     Yes         2,125      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz       Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                    Antoinette                                                                                        [XVII]                                                         Assessor's                        0.86               $94.47          $200,748.75                                                                        CHEVALIER RANDY G                  Owner as of 6/9/15              City or County Tax Records        9/19/2006           Current Owner                                      820 O'Keefe Avenue                                                                       $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  447    RP         Chimelis, Ariel and Michelle    561 SW Prater Avenue            Port St. Lucie    FL      34953   [II], [XV], [XVI],        3/15/2010    Yes         2,609      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan             Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.82               $90.08          $235,018.72                                                                        ODEISY MARTINEZ                                                    City or County Tax Records        8/27/2005              3/18/2014                                       12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  448    Ex 10/79   Chinoy, Vinita and Raymond      11525 Hammocks Glade Drive      Riverview         FL      33569   [II(C)], [III], [IX],     10/7/2009    Yes         2,226      Property Tax      Yes                                                                  Taishan            Photo               2, 5           J                                                                                                                                                           Parker Waichman             Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             AMERICAN RESIDENTIAL               Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $202,966.68                                                                                                                                           Tax Records + Title/Deed          9/11/2007              8/23/2013                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                             LEASING COMPANY LLC                Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  449    Ex 10/79   Christodoulou, Louis and        11221 Godwit Court              New Port Richey   FL      34654   [IX], [XIII],             5/5/2011     Yes         2,041      Property Tax      Yes                                                                  C&K                Photo               35             B                                                                                                                                                           Parker Waichman             Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             GONZALEZ ESTHER M &                Previous Owner, Did Not Own
                    Maryann                                                                                           [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $186,098.38                                                                                                                                           Tax Records + Title/Deed          7/15/2008              3/31/2011                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                             SANTIAGO                           Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  450    Ex 10/79   Ciancimino, Gianpaolo and       8914 Cobblestone Point Circle   Boynton Beach     FL      33472   [II(A)], [IX],            9/16/2010    Yes         3,417      Property Tax       No                                                                  BNBMDB             Photo               24             A           COBBLESTONE HOLDINGS                                                                                                                            McIntosh, Sawran, Peltz &   Manuel Comras, Esq.                  (561) 659-5970   MRC@bclmr.com                                      BKC confirmed square
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    Danielle                                                                                          [XV], [XVI],                                                   Assessor's                        0.82               $90.08          $307,803.36                                                                        TRUST                                                              Tax Records + Title/Deed          5/31/2007              6/29/2012           Cartaya, PA                 1601 Forum Place, Suite 400                                                              $0.00           footage.
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                             STITSKY STEVEN B TR                                                                                                                                                         West Palm Beach, FL 33401
  451    RP         Cintula, Theodore               2212 Sifield Greens Way         Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,682     Builder's Floor    Yes                                                                  C&K                Photo               34             B                                                                                                                                                           Krupnick Cambell            Michael Ryan, Esq.                   (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                     Plan                           0.83               $91.18          $153,364.76                                                                        UPPERMAN JUDITH L                                                  Tax Records + Title/Deed         12/14/2007              7/29/2013                                       12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
  452    Ex 10/79   City of Westover, Westover      3312 Westover Road              Westover          AL      35147   [XV], [XVI],              7/5/2011     Yes          810       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                   (205) 545-8334   ehoaglund@mhcilaw.com.
                    Library                                                                                           [XVII], [XXI]                                                  Assessor's                                                                                                                                                                                                                                                                                              Irby                        905 Montgomery Highway, Suite
                                                                                                                                                                                                                       0.84               $92.27           $74,738.70                                                                        TOWN OF WESTOVER                   Owner as of 6/9/15              Tax Records + Title/Deed          3/25/2003           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         201
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Vestavia Hills, AL 35216
  453    RP         Clark, Jimmy and Patricia       3432 SW 15th Terrace            Cape Coral        FL      33914   [II], [XV], [XVI],        3/15/2010    Yes         2,031      Property Tax      Yes                                                                  ProWall            Photo               43             G           IRVINE BARBARA BONARINE                                                                                                                         Morgan & Morgan             Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.80               $87.88          $178,484.28                                                                        + TURGEON EDMUND JOHN                                              Tax Records + Title/Deed          12/9/2004              5/20/2010                                       12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                             W/H                                                                                                                                                                         Fort Myers, FL 33907
  454    Ex 10/79   Clark, John and Mary            10854 Tiberio Drive             Ft. Myers         FL      33913   [II(B)], [IX],            12/6/2010    Yes         1,823      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan             Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             CLARK JOHN PATTERSON +
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $160,205.24                                                                                                Owner as of 6/9/15                         City or County Tax Records        10/4/2007           Current Owner                                      12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             MARY TR FOR CLARK TRUST
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  455    Ex 10/79   Clark, Robert and Linda         816 Chapel Avenue               Lehigh Acres      FL      33971   [XV], [XVI],              7/5/2011     Yes         2,261      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Parker Waichman             Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                         Assessor's                        0.80               $87.88          $198,696.68                                                                        CLARK ROBERT W + LINDA T Owner as of 6/9/15                        City or County Tax Records        7/25/2002           Current Owner                                      27300 Riverview Center Blvd                                                           $119,347.41
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  456    Ex 10/79   Clark, William and Tracy        11329 Bridge Pine Drive         Riverview         FL      33569   [XIII], [XV],             7/5/2011     Yes         1,662     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan             Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             CLARK WILLIAM E CLARK
                                                                                                                      [XVI], [XVII]                                                     Plan                           0.83               $91.18          $151,541.16                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          12/7/2006           Current Owner                                      12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             TRACY M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  457    RP &       Clarke, Joseph and Sandra       325 Cipriani Way                Nokomis           FL      34275   [XV], [XVI],              7/5/2011     Yes         1,688          Other         Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason   Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
         Omni XX                                                                                                      [XVII], [XX]                                                                                     0.83               $91.18          $153,911.84                                                                        GUTMANN WERNER                     Previous Owner, Did Not Own                                                                                                              900 W. Morgan Street                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                             GUTMANN ROSEANNE                   Property on 6/9/15          Tax Records + Title/Deed             7/28/2006              7/19/2013                                        Raleigh, NC 27603
  458    Ex 10/79   Clarke, Paul and Heather        8723 SW 21st Court              Miramar           FL      33025   [XV], [XVI],              7/5/2011     Yes         1,359       Property Tax     Yes                                                                  Taishan            Photo               6              J           CLARKE,PAUL M &                                                                                                                                 Parker Waichman             Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                          Assessor's                       0.81               $88.98          $120,923.82                                                                        MCCLYMONT-                         Owner as of 6/9/15              Tax Records + Title/Deed          7/21/2006           Current Owner                                      27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                   Document with                                                                                                                                             CLARKE,HEATHER B                                                                                                                                                            Bonita Springs, FL 34134
  459    RP         Clarke, Roger                   17979 Lake Azure Way            Boca Raton        FL      33496   [XIII], [XV],             7/5/2011     Yes         4,590        Appraisal       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                                                                             HECHT NICOLE A                     Previous Owner, Did Not Own                                                                                  Budd, P.C.                  Baron & Budd
                                                                                                                                                                                                                       0.82               $90.08          $413,467.20                                                                                                                                           Tax Records + Title/Deed          10/6/2006              12/2/2013                                                                                                                             $284,303.24
                                                                                                                                                                                   Plan and Square                                                                                                                                           PHILLIPS MAC S &                   Property on 6/9/15                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  460    Ex 10/79   Claro, Felix                    6399 Fielding Street            North Port        FL      34288   [XV], [XVI],              7/5/2011     Yes         1,544       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan             Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             CLARO FELIX APONTE
                                                                                                                      [XVII]                                                          Assessor's                       0.83               $91.18          $140,781.92                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          5/29/2009           Current Owner                                      12800 University Drive, Suite 600                     m                                $14,084.20
                                                                                                                                                                                                                                                                                                                                             CELESTE
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  461    Ex 10/79   Cloud, Deidra                   7831-33 Keats Street            New Orleans       LA      70126   [IX], [XV],               5/5/2011     Yes         2,663       Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           The Lambert Firm Greg DiLeo Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                      [XVI], [XVII]                                                   Assessor's                       0.86               $94.47          $251,573.61                                                                        CLOUD DEIADRE T                    Owner as of 6/9/15              City or County Tax Records        7/29/2002           Current Owner          Law Offices Kanner &        701 Magazine St,                                      om                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                             Whiteley, LLC Milstein,     New Orleans LA 70130
  462    Ex 10/79   Coates, Tammy and Jesse         638 County Road 30              Greensboro        AL      36744   [IX], [XIII],             5/5/2011     Yes         4054       Builder's Floor   Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm              Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XV], [XVI],                                                       Plan                          0.83               $91.18          $369,643.72                                                                        COATES, TAMMY AND JESSE            Owner as of 6/9/15              Mortgage Statement                6/15/2007           Current Owner                                      2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                             650
  463    Add.       Cobblestone on the Lake Master 4351 Bellaria Way, Unit 444,     Fort Myers        FL      33916   [XV], [XVI],              7/5/2011     Yes         1,228     Builder's Floor    Yes                                                                  ProWall            Inspection Report   43             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association, Inc.              Fort Myers, FL 33196                                               [XVII]                                                            Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                  Baron & Budd
                                                                                                                                                                                                                       0.80               $87.88          $107,916.64                                                                        GESTION SEBRING IB LLC                                             Tax Records + Title/Deed          2/11/2004             12/21/2006                                                                                                                                $0.00
         Prop. &                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
         Omni XX                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  464    Ex 10/79   Cobblestone on the Lake Master 4385 Cortina Circle Unit 137     Ft. Myers         FL      33916   [XIII], [XV],             7/5/2011     No          1,157      Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc.                                                                                 [XVI], [XVII]                                                  Assessor's                                                                                                                                              COBBLESTONE ON THE                                                                                                                              Budd, P.C. Alters Boldt     Baron & Budd
                                                                                                                                                                                                                       0.80               $87.88          $101,677.16                                                                                                           Owner as of 6/9/15              City or County Tax Records       10/19/2010           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                             LAKES CORP                                                                                                                                      Brown Rash & Culmo          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  465    Add.       Cobblestone on the Lake Master 4351 Bellaria Way, Unit 447      Fort Myers        FL      33916   [XV], [XVI],              7/5/2011     Yes         1,228     Builder's Floor    Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association, Inc.                                                                                 [XVII], [XX]                                                      Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                  Baron & Budd
                                                                                                                                                                                                                       0.80               $87.88          $107,916.64                                                                        COLLANTES VIVIAN C                                                 Tax Records + Title/Deed          2/11/2004             12/15/2006                                                                                                                                $0.00
         Prop. &                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
         Omni XX                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  466    RP &       Cobblestone on the Lake Master 4351 Bellaria Way #443           Ft. Myers         FL      33916   [II(A)], [VII],           9/16/2010    Yes         1,228     Builder's Floor    Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
         Omni XX    Association, Inc. (Cocquerelle,                                                                   [IX], [XV],                                                       Plan                                                                                                                                                                                                                                                                                                 Budd, P.C.                  Baron & Budd
                    Nicolas)                                                                                          [XVI], [XVII]                                                                                                                                                                                                          PORTER JERRY R + MICHELLE Previous Owner, Did Not Own                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                       0.80               $87.88          $107,916.64                                                                                                                                           Tax Records + Title/Deed         12/21/2006             10/27/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                             J                         Property on 6/9/15


  467    Ex 10/79   Cohen, Jay and Shari            1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,119     Builder's Floor    Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                             COHEN, JAY G; COHEN,
                                                    Blvd., Unit 1405                                                  [XVII]                                                            Plan                           0.82               $90.08          $100,799.52                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/23/2007           Current Owner                                       900 W. Morgan Street                                                                  $99,427.31
                                                                                                                                                                                                                                                                                                                                             SHARI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
  468    RP         Cohen, Lawrence                 1690 Renaissance Commons      Boynton Beach       FL      33426   [II], [XIII], [XV],       3/15/2010    No          1,246        Appraisal       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                    Apartment 1426 Boynton Beach,                                     [XVI], [XVII]                                                Showing Floor                                                                                                                                             RIZK RAYMOND &                     Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.82               $90.08          $112,239.68                                                                                                                                           Tax Records + Title/Deed           6/8/2007              2/9/2010                                                                                                                              $100,566.98
                                                    Florida 33426                                                                                                                  Plan and Square                                                                                                                                           RIZK ROGINA                        Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
  469    Ex 10/79   Cole, John and Star             2766 Blue Cypress Lake Court    Cape Coral        FL      33909   [III], [IX], [XV],        10/7/2009    Yes         1,685       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                       0.80               $87.88          $148,077.80                                                                        COLE JOHN L + STAR                 Owner as of 6/9/15              City or County Tax Records       10/12/2006           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          300
  470    Ex 10/79   Colello, Jenine                 2201 NW Embers Terrace          Cape Coral        FL      33993   [II], [XV], [XVI],        3/15/2010    Yes         1,806       Property Tax     Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             US SFE ASSET COMPANY 3             Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                          Assessor's                       0.80               $87.88          $158,711.28                                                                                                                                           Tax Records + Title/Deed          11/2/2007              11/3/2014                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             LLC                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  471    Ex 10/79   Coleman, Tim and Misty          13091 Concord Drive             West Lillian      AL      36549   [II(A)], [III],           10/7/2009    Yes         2069        Property Tax     Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XIII], [XV],                                                   Assessor's                                                                                                                                             COLEMAN, TIMOTHY D ETAL                                                                                                                                                      900 W. Morgan Street
                                                                                                                                                                                                                       0.84               $92.27          $190,906.63                                                                                                Owner as of 6/9/15                         City or County Tax Records       10/29/2004           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVI], [XVII],                                               Document with                                                                                                                                             COLEMAN, MISTY                                                                                                                                                               Raleigh, NC 27603
                                                                                                                      [XXI]                                                        Square Footage
  472    RP         Collingwood, Sharon and         12777 Kentwood Avenue           Ft. Myers         FL      33913   [VII], [IX], [XV],        1/14/2011    Yes         2,210       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    Samuel                                                                                            [XVI], [XVII]                                                   Assessor's                       0.80               $87.88          $194,214.80                                                                        WHELPLEY JOHN                                                      Tax Records + Title/Deed          7/31/2006              4/1/2014                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  473    Ex 10/79   Collins, James and Laura        22866 Country Ridge Parkway     McCallla          AL      35111   [II(C)], [III(A)],        9/16/2010    Yes         1858         Appraisal       Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Current Owner, Unknown
                                                                                                                      [XV], [XVI],                                                 Showing Floor                       0.84               $92.27          $171,437.66                                                                        UNKNOWN                                                            Mortgage Documents                                                                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Purchase Date
                                                                                                                      [XVII], [XXI]                                                Plan and Square                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
  474    Ex 10/79   Colman, Kevin and Maria         2248 NE 19 Terrace              Homestead         FL      33035   [XV], [XVI],              7/5/2011     Yes         2,792      Builder's Floor   Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                             Plan                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.81               $88.98          $248,432.16                                                                        2248 SE 19TH TERRACE LLC                                           City or County Tax Records        9/11/2006              4/23/2013                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
  475    Ex 10/79   Colomb, John and Sharon         419 Florida Blvd.               New Orleans       LA      70124   [III(A)], [VII],          9/16/2010    Yes         2,754      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com                             Sq ft confirmed by
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $260,170.38                                                                        COLOMB JOHN J III                  Owner as of 6/9/15              City or County Tax Records        6/19/1992           Current Owner                                       820 O'Keefe Avenue                                                                      $0.00           BKC
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  476    Ex 10/79   Sheridan Beach Club             519 E. Sheridan Street, #101    Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor    Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                         [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                                 Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $102,327.00                                                                        COMAZE-FL, LLC                     Owner as of 6/9/15              Tax Records + Title/Deed         12/16/2010           Current Owner                                                                                                                               $0.00
                    Inc. (Comaze-FL, LLC- Javier                                                                                                                                                                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                    Zepeda)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
                                                                                                                    Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 15 of 82



Claimant Source     Claimant Name                    Affected Property Address   City             State   Zip     Omni(s)              Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                          2017 RS Means
Identifier                                                                                                                              Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                        Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                            Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                              Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                             Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                [A]
                                                                                                                                                                               Sharefile
  477    Ex 10/79   Combs, Larkin                    3305 Arran Thistle          Williamsburg     VA      23188   [II(A)], [XV],         9/16/2010    Yes         1,418      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                  [XVI], [XVII]                                               Assessor's                                                                                               Property Assessment                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                               0.96               $105.46          $149,542.28                                                                        COMBS, LARKIN D                    Owner as of 6/9/15              City or County Tax Records         6/1/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                            Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
  478    Ex 10/79   Community Associates (Jackie     4221 Elba Street            New Orleans      LA      70125   [IX], [XV],            5/5/2011     Yes         2,976      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                         Previous Owner, Did Not Own
                    Pottinger)                                                                                    [XVI], [XVII]                                               Assessor's                       0.86                $94.47          $281,142.72                                                                        FORBES AARON C                                                     City or County Tax Records       11/20/2009              2/28/2011                                          701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                         Property on 6/9/15
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                                                            New Orleans LA 70130
  479    Ex 10/79   Condra, Jerome                   6399 Old Stage Hwy          Smithfield       VA      23430   [XIII], [XV],          7/5/2011     Yes         4,165      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                  [XVI], [XVII]                                               Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                               0.94               $103.26          $430,077.90                                                                        CONDRA JEROME P & TRINA            Owner as of 6/9/15              City or County Tax Records         4/2/1997           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                            Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
  480    Ex 10/79   Cone, Terence                    4324 Lydias Drive           Williamsburg     VA      23188   [II(B)], [XV],         12/6/2010    Yes         2,442      Property Tax      Yes                                                                  Venture Supply     Photo               9, 40          K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                  [XVI], [XVII]                                               Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                0.96              $105.46          $257,533.32                                                                        CONE, TERENCE M                    Owner as of 6/9/15              City or County Tax Records        10/9/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                            Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
  481    Ex 10/79   Coney, Jr., Ernest and Anika     2109 N. Jefferson Street    Tampa            FL      33602   [III(A)], [XV],        9/16/2010    Yes         2,294      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                      JONES KEVIN W                      Owner as of 6/9/15, No Longer
                                                                                                                  [XVI], [XVII]                                               Assessor's                        0.83               $91.18          $209,166.92      Manufacturer 2                                                                                                                       Tax Records + Title/Deed         11/15/2001              8/31/2016                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                      JONES LAURA E                      Owns Property
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
  482    Ex 10/79   Conlin, Patrick                  1690 Renaissance Commons    Boynton Beach    FL      33426   [II], [XV], [XVI],     3/15/2010    Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                     Blvd., Unit 1218                                             [XVII]                                                         Plan                           0.82               $90.08          $111,699.20                                                                        CONLIN, PATRICK                    Owner as of 6/9/15              Tax Records + Title/Deed         12/21/2007           Current Owner                                         900 W. Morgan Street                                                                 $100,566.96
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Raleigh, NC 27603
  483    Ex 10/79   Connell, Rebecca W.              236 County Road 3310        Troy             AL      36079   [IX], [XIII],          5/5/2011     Yes         4689         Appraisal       Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                  [XV], [XVI],                                              Showing Floor                       0.83               $91.18          $427,543.02                                                                        CONNELL REBECCA W                  Owner as of 6/9/15              City or County Tax Records        2/12/1999           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                  [XVII]                                                    Plan and Square                                                                                                                                                                                                                                                                                                                          650
  484    Ex 10/79   Connolly, Megan                  1976 NW 79 Terrace          Pembroke Pines   FL      33024   [III], [XV],           10/7/2009    No          1,693       Property Tax     Yes                                                                  Chinese            Inspection Report   N/A            C                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                  [XVI], [XVII]                                                Assessor's                                                                           Manufacturer 2                                                                                                                                                                                                    Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                0.81               $88.98          $150,643.14                                                                        CONNOLLY,MEGAN K                   Owner as of 6/9/15              Tax Records + Title/Deed         11/29/2001           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                            Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
  485    RP         Conrad, Ariane                   2921 Monica Lane            Marrero          LA      70072   [III(A)], [VII],       9/16/2010    Yes         1,797      Builder's Floor   Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                      DESALVO,JAKE R III &               Previous Owner, Did Not Own
                                                                                                                  [XV], [XVI],                                                    Plan                          0.86               $94.47          $169,762.59                                                                                                                                           Tax Records + Title/Deed         11/22/2006              5/8/2013                                           425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                      LAUREN L                           Property on 6/9/15
                                                                                                                  [XVII]                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
  486    Ex 10/79   Conrad, Jesse and Gelone         2318 Piety Street           New Orleans      LA      70117   [III], [XV],           10/7/2009    Yes         1,200      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Becnel Law Firm/ Morris Bart   Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                  [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                             LLC                            Becnel Law Firm, LLC
                                                                                                                                                                                                                0.86               $94.47          $113,364.00                                                                        CONRAD JESSE J II                  Owner as of 6/9/15              City or County Tax Records         1/7/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                                                            425 W. Airline Hwy, Suite B
                                                                                                                                                                            Square Footage                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
  487    Ex 10/79   Conrad, Melody for Murray,       114 W. Claiborne Square     Chalmette        LA      70043   [XV], [XVI],           7/5/2011     Yes         1,554       Inspection       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                      MURRAY, CHARLES B., JR. &
                    Charles Conrad, Justin Conrad,                                                                [XVII]                                                    Showing Floor                       0.86               $94.47          $146,825.27                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/17/2009           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                      MURRAY, CHRISTINE GRAF
                    Jessica                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                           303
  488    RP         Conroy, John                     1750 NW 24th Place          Cape Coral       FL      33993   [IX], [XV],            5/5/2011     Yes         2,374      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee               C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                         Previous Owner, Did Not Own
                                                                                                                  [XVI], [XVII]                                                Assessor's                       0.80               $87.88          $208,627.12                                                                        DILS SCOTT A + SANDRA D                                            Tax Records + Title/Deed          1/14/2005              5/9/2013                                           2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                         Property on 6/9/15
                                                                                                                                                                            Document with                                                                                                                                                                                                                                                                                                                            300
  489    Ex 10/79   Conway Centre, LLC               1609 Port St. Lucie Blvd.   Port St. Lucie   FL      34952   [XIII], [XV],          7/5/2011     Yes         2,814     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                0.82               $90.08          $253,485.12                                                                        CONWAY CENTRE LLC                  Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  490    Ex 10/79   Conway Centre, LLC               1621 Port St. Lucie Blvd.   Port St. Lucie   FL      34952   [XIII], [XV],          7/5/2011     Yes         1,875     Builder's Floor    Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                0.82               $90.08          $168,900.00                                                                        CONWAY CENTRE LLC                  Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  491    Ex 10/79   Conway Centre, LLC               1637 Port St. Lucie Blvd.   Port St. Lucie   FL      34952   [XIII], [XV],          7/5/2011     Yes         1,750     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                0.82               $90.08          $157,640.00                                                                        CONWAY CENTRE LLC                  Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  492    Ex 10/79   Conway Centre, LLC               1645 Port St. Lucie Blvd.   Port St. Lucie   FL      34952   [XIII], [XV],          7/5/2011     Yes         2,000     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                0.82               $90.08          $180,160.00                                                                        CONWAY CENTRE LLC                  Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  493    Ex 10/79   Conway Centre, LLC               1649 Port St. Lucie Blvd.   Port St. Lucie   FL      34952   [XIII], [XV],          7/5/2011     Yes          875      Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                0.82               $90.08           $78,820.00                                                                        CONWAY CENTRE LLC                  Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  494    Ex 10/79   Conway Centre, LLC               1653 Port St. Lucie Blvd.   Port St. Lucie   FL      34952   [XIII], [XV],          7/5/2011     Yes          875      Builder's Floor    Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                0.82               $90.08           $78,820.00                                                                        CONWAY CENTRE LLC                  Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  495    Ex 10/79   Conway Centre, LLC               1657 Port St. Lucie Blvd.   Port St. Lucie   FL      34952   [XIII], [XV],          7/5/2011     Yes         2,000     Builder's Floor    Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                0.82               $90.08          $180,160.00                                                                        CONWAY CENTRE LLC                  Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  496    Ex 10/79   Coolidge, Sheila                 3055 Royal Palm Drive       North Port       FL      34288   [IX], [XIII],          5/5/2011     Yes         1,626     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                (239) 433-6880       PAlbanis@ForThePeople.co
                                                                                                                  [XV], [XVI],                                                   Plan                           0.83               $91.18          $148,258.68                                                                        COOLIDGE SHEILA                    Owner as of 6/9/15              Tax Records + Title/Deed         11/10/2008           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                  [XVII]                                                                                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  497    Ex 10/79   Coombs, Thomas and Sheri         3454 Lago de Talavera       Wellington       FL      33467   [II], [XV], [XVI],     3/15/2010    Yes         4,857     Builder's Floor    Yes                                                                  Dragon Brand       Photo               26             A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.             (305) 476-7400       patrick@colson.com
                                                                                                                  [XVII]                                                         Plan                                                                                                                                                                                                                                                                                                 Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                                                                                                                                      COOMBS THOMAS E &
                                                                                                                                                                                                                0.82               $90.08          $437,518.56                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          8/25/2009           Current Owner          Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                      COOMBS SHERI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Richard J. Serpe             Coral Gables, FL 33134

  498    Ex 10/79 & Cooper, Warren Jr., Independent 1812-14 Mazant Street        New Orleans      LA      70128   [XV], [XVI],           7/5/2011     Yes         1,293       Inspection       Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Carol A. Newman APLC         Carol A. Newman, Esq.                 (504) 861-0008   Carol@carolanewmanlawfir
                                                                                                                                                                                                                                                                                                                                                                         Previous Owner, Did Not Own
         Omni XX Administrator of the Estate of                                                                   [XVII]                                                    Showing Floor                       0.86               $94.47          $122,149.71                                                                        AUGUST NELSON E JR                                                 City or County Tax Records        10/3/2007              9/14/2012                                        813 S. Carrollton Ave.                                 m.com                            $80,033.95
                                                                                                                                                                                                                                                                                                                                                                         Property on 6/9/15
                    Brenda Lorraine Cooper                                                                                                                                  Plan and Under                                                                                                                                                                                                                                                                                                                         New Orleans, LA. 70118
  499    Ex 10/79 Coratti, Philip                   130 Ocean Bay Drive          Jensen Beach     FL      34957   [IX], [XV],            5/5/2011     Yes         2,327     Builder's Floor    Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                  [XVI], [XVII]                                                  Plan                                                                                                                                                 PHILIP CORATTI & JENNIFER                                                                                                                       Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                0.82               $90.08          $209,616.16                                                                                                           Owner as of 6/9/15              City or County Tax Records       11/20/2010           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                      CORATTI                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Dallas, TX 75219
  500    Ex 10/79   Corbett, Janie                   3203 Arran Thistle          Williamsburg     VA      23188   [II(A)], [XV],         9/16/2010    Yes         1,244      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                  [XVI], [XVII]                                                Assessor's                                                                                              Property Assessment                                                               Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                0.96              $105.46          $131,192.24                                                                        HELLER, BRITTANY A                                                 City or County Tax Records        6/28/2006              6/11/2015                                                                                                                                  $0.00
                                                                                                                                                                            Document with                                                                                                                                                                                Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                            Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  501    Add.       Corbett, Steve                   1705 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,344      Homeowner's       Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $124,010.88                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  502    Add.       Corbett, Steve                   1707 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,092      Homeowner's       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $100,758.84                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  503    Add.       Corbett, Steve                   1711 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,214      Homeowner's       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $112,015.78                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  504    Add.       Corbett, Steve                   1719 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,116      Homeowner's       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $102,973.32                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  505    Add.       Corbett, Steve                   1722 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,303      Homeowner's       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $120,227.81                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  506    Add.       Corbett, Steve                   1724 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,303      Homeowner's       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $120,227.81                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records        9/25/2007           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  507    Add.       Corbett, Steve                   1725 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,303      Homeowner's       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $120,227.81                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  508    Add.       Corbett, Steve                   1726 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,303      Homeowner's       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $120,227.81                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  509    Add.       Corbett, Steve                   1728 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,303      Homeowner's       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $120,227.81                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  510    Add.       Corbett, Steve                   1730 Tradition Way          Phenix City      AL      36867   [XV], [XVI],           7/5/2011     Yes         1,303      Homeowner's       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                  [XVII]                                                    Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                0.84               $92.27          $120,227.81                                                                        CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                                 $0.00
         Prop.                                                                                                                                                                with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                              Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 16 of 82



Claimant Source     Claimant Name                    Affected Property Address    City             State   Zip     Omni(s)                Date of Earliest PPF      Verified       Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                 Filed Taishan (Yes/No)   Square       Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                               Omni                 Footage       Provided      Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                  Sharefile
  511    Add.       Corbett, Steve                   1732 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's       Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                   0.84                $92.27          $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  512    Add.       Corbett, Steve                   1734 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's       Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                   0.84                $92.27          $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  513    Add.       Corbett, Steve                   1736 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,330      Homeowner's       Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                   0.84                $92.27          $122,719.10                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  514    Add.       Corbett, Steve                   1737 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  515    Add.       Corbett, Steve                   1800 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,330      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $122,719.10                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  516    Add.       Corbett, Steve                   1802 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  517    Add.       Corbett, Steve                   1804 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  518    Add.       Corbett, Steve                   1806 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  519    Add.       Corbett, Steve                   1807 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,508      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $139,143.16                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  520    Add.       Corbett, Steve                   1808 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  521    Add.       Corbett, Steve                   1810 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,508      Homeowner's        Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $139,143.16                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  522    Add.       Corbett, Steve                   1812 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,508      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $139,143.16                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  523    Add.       Corbett, Steve                   1814 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,508      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $139,143.16                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  524    Add.       Corbett, Steve                   1817 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,330      Homeowner's        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $122,719.10                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  525    Add.       Corbett, Steve                   1818 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  526    Add.       Corbett, Steve                   1819 Tradition Way           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                                                                                                                                                                                                                                                                         2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records       12/12/2006           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  527    Add.       Corbett, Steve                   3808 Holland Court           Phenix City      AL      36867   [XV], [XVI],             7/5/2011     Yes         1,303      Homeowner's        Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                   [XVII]                                                      Insurance Form                                                                           Manufacturer 2                                                                                                                                                                                                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84              $92.27           $120,227.81                                                                       CORBETT STEVEN W                   Owner as of 6/9/15              City or County Tax Records         8/7/2014           Current Owner                                                                                                                               $0.00
         Prop.                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          650
                                                                                                                                                                                 Footage and                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  528    Ex 10/79   Corea, Edgar and Gilmore, Elsie 12600 SW 50th Court, #407     Miramar          FL      33027   [II], [II(C)], [XV],     3/15/2010    Yes         1,426       Property Tax      Yes                                                                  Taihe              Photo              14             H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.81              $88.98           $126,885.48                                                                       RPB REAL ESTATE LLC                                                Tax Records + Title/Deed         10/23/2008              9/18/2014                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  529    Ex 10/79   Costanza, Francie                2383 Ridgemont Drive         Birmingham       AL      35244   [IX], [XV],              5/5/2011     Yes         2663         Appraisal        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVI], [XVII]                                               Showing Floor                        0.84              $92.27           $245,715.01                                                                       COSTANZA, FRANCIE                  Owner as of 6/9/15              City or County Tax Records         6/1/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                        650
  530    RP         Costanzo, Richard and Beverly    6920 Long Leaf Drive         Parkland         FL      33076   [IX], [XV],              5/5/2011     Yes         3,093      Builder's Floor    Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                     Plan                           0.81              $88.98           $275,215.14                                                                       SNYDER,SCOTT & LAURA                                               Tax Records + Title/Deed         11/17/2006             10/15/2013                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Fort Lauderdale, FL 33301-3434
  531    RP         Cotraccia, Manfredo and Maria    11569 Hammocks Glade Drive   Riverview        FL      33569   [II], [XV], [XVI],       3/15/2010    Yes         1,150     Builder's Floor     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                           Plan                            0.83              $91.18           $104,857.00                                                                       TORRES MARLENE                                                     Tax Records + Title/Deed          8/29/2006              5/24/2010                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Fort Myers, FL 33907
  532    RP         Cousins, Edwin, III and Leslie   952 Hollymeade Street        Newport News     VA      23602   [II], [XV], [XVI],       3/15/2010    Yes         1,797       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                         Assessor's                        0.95              $104.36          $187,534.92                                                                       PERDUE BILLY R JR                                                  City or County Tax Records        2/14/2007              5/31/2012           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
  533    Ex 10/79   Couture, Kasie and Patrick       5728 4th Street              Violet           LA      70092   [III], [IX], [XV],       10/7/2009    Yes         1,530        Appraisal        Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                   [XVI], [XVII]                                               Showing Floor                        0.86              $94.47           $144,539.10                                                                       COUTURE, PATRICK GEORGE Owner as of 6/9/15                         City or County Tax Records       11/20/2006           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                        303
  534    Ex 10/79   Cove, Joseph, Jr                 214 SW 39th Terrace          Cape Coral       FL      33914   [XV], [XVI],             7/5/2011     Yes         2,498       Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVII]                                                         Assessor's                        0.80              $87.88           $219,524.24                                                                       COVE JOSEPH E JR                   Owner as of 6/9/15              Tax Records + Title/Deed           5/3/2005           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  535    Add.       Covetta, Melvin                  1203 NW 24th Place           Cape Coral       FL      33993   [II], [XV], [XVI],       3/15/2010    Yes         1,735      Builder's Floor    Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
         Taishan                                                                                                   [XVII], [XX]                                                      Plan                           0.80              $87.88           $152,471.80                                                                       CORDERO RAMIREZ JAVIER E                                           Tax Records + Title/Deed          7/21/2006              1/12/2015                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
         Prop. &                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Fort Myers, FL 33907
  536    Ex 10/79   Covos, Sebastian and Villaneuva, 8129 W 36th Avenue Unit #6   Hialeah          FL      33018   [XIII], [XV],            7/5/2011     Yes         1,464      Property Tax       Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         SEBASTIAN COVOS & EMILSE
                    Emilse                                                                                         [XVI], [XVII]                                                 Assessor's                         0.81              $88.98           $130,266.72                                                                                                Owner as of 6/9/15                        City or County Tax Records        8/25/2010           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                         VILLANUEVA
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  537    Ex 10/79   Cox, Shawn and Lisa              9404 Scarborough Court       Port St. Lucie   FL      34986   [II(B)], [III],          10/7/2009    Yes         2,846     Builder's Floor     Yes                                                                  Taishan/ Taihe     Photo              2, 14          H, J                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [VII], [IX], [XV],                                               Plan                                                                                                                                                                                                                                                                                                 Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.82              $90.08           $256,367.68                                                                       SHAWN P COX LISA J COX             Owner as of 6/9/15              City or County Tax Records       11/20/2003           Current Owner                                                                                                                               $0.00
                                                                                                                   [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Dallas, TX 75219
  538    RP         Crabtree, Steven Cole            4805 Royal Birkdale Way      Wesley Chapel    FL      33543   [XV], [XVI],             7/5/2011     Yes         3,098      Property Tax       Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVII]                                                        Assessor's                                                                                                                                              QUINONES RENE E &                  Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                    0.83              $91.18           $282,475.64                                                                                                                                          Tax Records + Title/Deed         10/15/2007              4/22/2013                                                                                                                                $0.00
                                                                                                                                                                               Document with                                                                                                                                             MARIBEL                            Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  539    Ex 10/79   Craig, Bill and Jill             4143 Wildstar Circle         Wesley Chapel    FL      33544   [IX], [XV],              5/5/2011     Yes         2,660      Property Tax       Yes                                                                  Taishan            Photo              1              H                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                   [XVI], [XVII]                                                 Assessor's                         0.83              $91.18           $242,538.80                                                                       CRAIG WILLIAM & JILL ANN           Owner as of 6/9/15              City or County Tax Records        6/29/2007           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          300
  540    RP         Craig, Michael and Deborah       4678 19th Avenue S.          St. Petersburg   FL      33711   [XIII], [XV],            7/5/2011     Yes         1,436      Property Tax       Yes                                                                  Taihe              Photo              14, 17, 21     H, I                                                                                                                                                        Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                    0.82              $90.08           $129,354.88                                                                       SAIL6 LLC                                                          Tax Records + Title/Deed          4/25/1983             12/30/2011                                                                                                                                $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                               Square Footage
  541    Ex 10/79   Craik, Diane                     5910 Memphis Street          New Orleans      LA      70124   [II(B)], [VII],          12/6/2010    Yes         3,542         Other           Yes                                                                  Crescent City      Affidavit of Andrew N/A           D                                                                                                                                                           Lemmon Law Firm               Andrew Lemmon, Esq.                985-783-6789     andrew@lemmonlawfirm.c                             See Adavantage
                                                                                                                   [XV], [XVI],                                                                                                                                                            Lemmon                                        AKERS MICHAEL J                    Previous Owner, Did Not Own                                                                                                                PO Box 904 (mailing address)                        om                                                 Acquisitions on OCXX
                                                                                                                                                                                                                    0.86              $94.47           $334,612.74                                                                                                                                          City or County Tax Records       12/14/2006              7/21/2011                                                                                                                                $0.00
                                                                                                                   [XVII]                                                                                                                                                                                                                AKERS LAURA C                      Property on 6/9/15                                                                                                                         15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Hahnville, LA 70057
  542    Ex 10/79   Crandle, Angela                  2232/2234 Joliet Street      New Orleans      LA      70118   [III], [VII], [XV],      10/7/2009    Yes         2,604      Property Tax       Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Reich & Binstock              Dennis Reich, Esq.                 (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                   [XVI], [XVII]                                                 Assessor's                         0.86              $94.47           $245,999.88                                                                       CRANDLE ANGELA                     Owner as of 6/9/15              City or County Tax Records       10/31/2002           Current Owner                                        4265 San Felipe, Suite 1000                         om                                 $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                           Houston, TX 77027
  543    Ex 10/79   Cresson, Robert, Sr.             67337 Salt Lick Lane         Lacombe          LA      70445   [III(A)], [VII],         9/16/2010    Yes         1,152         Other           Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XV], [XVI],                                                                                                                                                                                                                                             Previous Owner, Did Not Own                                                                                                                425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                    0.79              $86.78            $99,970.56                                                                       TIMOTHY RYAN BODE                                                  Tax Records + Title/Deed          7/27/1966                2014                                                                                                                                   $0.00
                                                                                                                   [XVII]                                                                                                                                                                                                                                                   Property on 6/9/15                                                                                                                         LaPlace, LA 70064

  544    RP         Crist, Byron and Maria           2408 Caitlan Loch Lane       Virginia Beach   VA      23456   [II], [XV], [XVI],       3/15/2010    Yes         3,198        Appraisal        Yes                                                                  Venture Supply     Photo              38, 39         K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.             (757) 233-0009   rserpe@serpefirm.com                               *VA settlement
                                                                                                                   [XVII]                                                      Showing Floor                                                                                                                                                                                                                                                                                             Serpe                         580 East Main Street, Suite 310                                                                        payment to Fannie Mae
                                                                                                                                                                               Plan and Square                      0.94              $103.26          $330,225.48                                                                       HIBBEN MICHAEL                     Records Not Available           City or County Tax Records         6/8/2006             10/28/2011                                         Norfolk, VA 23510                                                                      $0.00           c/o David R. Box
                                                                                                                                                                                   Footage
  545    RP         Croley, Paul                     140 S. Dixie Hwy. Unit 512   Hollywood        FL      33020   [XIII], [XV],            7/5/2011     Yes         1,189     Builder's Floor     Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                   [XVI], [XVII]                                                    Plan                                                                                                                                                                                                                                                                                                                               900 W. Morgan Street
                                                                                                                                                                                                                    0.81              $88.98           $105,797.22                                                                       ARV HOLDINGS LLC                   Owner as of 6/9/15              City or County Tax Records         9/4/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 17 of 82



Claimant Source     Claimant Name                    Affected Property Address    City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of      Counsel's                                                               Product Brand(s)   Type of Indicia      Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square       Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                           from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                  Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                Omni                 Footage       Provided      Verifying                        [B = A x $109.85]       Damages                                                Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                    May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                               Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
  546    Ex 10/79   Crow, Joshua and Melinda         875 Lovejoy Road             Ashville         AL      35953   [XV], [XVI],              7/5/2011     Yes         2358         Appraisal       Yes                                                                   Taihe              Photo                20             I                                                                                                                                                           Collins & Horsley              W. Brian Collins, Esquire         (205) 529-4988   thecollinslawoffices@gmail.
                                                                                                                   [XVII], [XXI]                                                Showing Floor                                                                                                                                                                                                                                                                                                                              Collins Law Firm                                   com
                                                                                                                                                                                                                    0.82                $90.08          $212,408.64                                                                         CROW, JOSH AND MELINDA             Owner as of 6/9/15              City or County Tax Records        1/12/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Plan and Square                                                                                                                                                                                                                                                                                                                            1461 Shades Crest Road
                                                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                Hoover, AL 35226
  547    Ex 10/79   Crowder, Kenneth and Sandra      7041 Lilac Court             Norfolk          VA      23518   [IX], [XV],               5/5/2011     Yes         5,043      Property Tax      Yes                                                                   Venture Supply     Delivery Invoice/    38             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                                                                                               Photo                                           CROWDER, KENNETH W &                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.94               $103.26          $520,740.18                                                                                                            Owner as of 6/9/15              City or County Tax Records        8/28/2003           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                               SANDRA                                                                                                                                          Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                              Richard J. Serpe               Coral Gables, FL 33134
  548    RP         Crowe, Nicholas and Jennifer     5824 Memphis Street          New Orleans      LA      70124   [IX], [XV],               5/5/2011     Yes         1,844          Other         Yes                                                                   Crescent City      Photo                27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                                                    0.86                $94.47          $174,202.68                                                                         KUBA JENNIFER L                                                    Tax Records + Title/Deed           7/1/2008              9/30/2011                                          701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70145
  549    Ex 10/79   Cruchfield, James and Louella    5915 N. Claiborne Avenue     New Orleans      LA      70117   [III], [XV],              10/7/2009    Yes         2,094        Appraisal        Yes                                                                  Taihe              Photo                18             I           CRUTCHFIELD JAMES S                                                                                                                             Martzell & Bickford            Scott Bickford, Esq.              (504) 581-9065   srb@mbfirm.com
                                                                                                                   [XVI], [XVII]                                                Showing Floor                                                                                                                                               CRUTCHFIELD LOUELLA S                                                                                                                                                          338 Lafayette Street
                                                                                                                                                                                                                     0.86              $94.47           $197,820.18                                                                                                            Owner as of 6/9/15              City or County Tax Records        3/11/1988           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Plan and Square                                                                                                                                             CRUTCHFIELD LOUELLA                                                                                                                                                            New Orleans, LA 70130
                                                                                                                                                                                    Footage                                                                                                                                                 SHERIDAN
  550    Ex 10/79   Cruz, Alfredo                    417 Fire Brand Street        Palm Bay         FL      32908   [XIII], [XV],             7/5/2011     Yes         1,814      Builder's Floor    Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            CRUZ, ALFREDO JR;
                                                                                                                   [XVI], [XVII]                                                      Plan                           0.84              $92.27           $167,377.78                                                                                                            Owner as of 6/9/15              City or County Tax Records        9/27/2010           Current Owner                                       12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                            MANTILLA, YOSVANI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  551    Ex 10/79   Cruz, Eduardo                    4304 21 Street SW            Lehigh Acres     FL      33976   [IX], [XV],               5/5/2011     Yes         1,914      Property Tax       Yes                                                                  ProWall            Photo                43             G                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $168,202.32                                                                         CRUZ EDUARDO                       Owner as of 6/9/15              City or County Tax Records         6/7/2007           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            300
  552    Ex 10/79   Cruz, Robert and Sandra          12444 South Bridge Terrace   Hudson           FL      34669   [II], [IX], [XV],         3/15/2010    Yes         2,062      Property Tax       Yes                                                                  C&K                Photo                34             B                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.83              $91.18           $188,013.16                                                                         CSH 2016-2 BORROWER LLC                                            City or County Tax Records       11/29/2007              7/25/2013                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  553    Ex 10/79   Cubas, Mirtha and Hernandez,     1050 NW 36th Place           Cape Coral       FL      33993   [IX], [XV],               5/5/2011     Yes         2,099      Property Tax       Yes                                                                  Taishan            Photo                2, 7           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Aida                                                                                           [XVI], [XVII]                                                   Assessor's                                                                                                                                               SHEVCHENKO THOMAS +                Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $184,460.12                                                                                                                                            Tax Records + Title/Deed          9/11/2005              10/6/2015                                                                                                                                  $0.00
                                                                                                                                                                                Document with                                                                                                                                               SILAIDOS BERNADETTE                Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  554    Ex 10/79   Cuellar, Javier and Echeverri,   12735 Kentwood Avenue        Ft. Myers        FL      33913   [II], [IX], [XV],         3/15/2010    Yes         2,351       Benchmark         Yes                                                                  Taishan            Photo                2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                    Laura                                                                                          [XVI], [XVII]                                                  Inspection                                                                                                                                                CAMPANINI JOSEPH +                 Owner as of 6/9/15, No Longer                                                                                                             12 SE 7th St #801
                                                                                                                                                                                                                     0.80              $87.88           $206,605.88                                                                                                                                            City or County Tax Records        9/11/2006              6/17/2015                                                                                                                                  $0.00
                                                                                                                                                                                 Report Using                                                                                                                                               DAMBROSCA DORINA L                 Owns Property                                                                                                                             Fort Lauderdale, FL 33301-3434
                                                                                                                                                                                Zillow.com for
  555    RP         Cueva, Elia and Romera,          11103 NW 83rd Street, Apt.   Doral            FL      33178   [II(A)], [VII],           9/16/2010    Yes         1,256     Builder's Floor     Yes                                                                  Taishan/           Photo                8, 24          A, J                                                                                                                                                        Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Christian                        205, Bldg. 2                                                  [XIII], [XV],                                                     Plan                                                                                BNBMDB                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.81              $88.98           $111,758.88                                                                         ENRIQUE ORTIZ                                                      Tax Records + Title/Deed         10/30/2007              7/12/2013                                                                                                                                  $0.00
                                                                                                                   [XVI], [XVII]                                                                                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  556    Ex 10/79   Cummings, Brian and Leslie       221 SE 24th Street           Cape Coral       FL      33990   [II(C)], [III], [IX],     10/7/2009    Yes         2,934      Property Tax       Yes                                                                  Taishan            Photo                2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                   Assessor's                         0.80              $87.88           $257,839.92                                                                         CARAOTTA KEVIN                                                     Tax Records + Title/Deed         10/16/2006              5/25/2010                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  557    Ex 10/79   Curtis, Gregory and Nancy        221 Wildlife Trace           Chesapeake       VA      23320   [II], [XIII], [XV],       3/15/2010    Yes         2,814      Property Tax       Yes                                                                  Venture Supply     Photo/ Delivery      40             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                Invoice & Property                              MARS BYRON W & JANEZECK Owner as of 6/9/15, No Longer                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $290,573.64                                                                                                                                            City or County Tax Records        3/27/2007              12/7/2015                                                                                                                                  $0.00
                                                                                                                                                                                Document with                                                                                               Assessment                                      DEBRA G                 Owns Property                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
  558    Ex 10/79   Curtis, Sean                     4919 Lancelot Drive          New Orleans      LA      70127   [XV], [XVI],              7/5/2011     Yes         1,236      Property Tax       Yes                                                                  Taihe              Photo                19             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                             27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.86              $94.47           $116,764.92                                                                         CURTIS SEAN                        Owner as of 6/9/15              City or County Tax Records        6/20/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
                                                                                                                                                                                Square Footage
  559    Ex 10/79   Cusack, Cherl and Maddox,        11313 Laurel Book Court      Riverview        FL      33569   [XV], [XVI],              7/5/2011     Yes         2,281      Property Tax       Yes                                                                  Taishan            Photo                12             L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            CUSACK CHERYL MADDOX
                    Cecil                                                                                          [XVII]                                                         Assessor's                         0.83              $91.18           $207,981.58                                                                                                            Owner as of 6/9/15              Tax Records + Title/Deed         11/10/2006           Current Owner                                         12800 University Drive, Suite 600                  m                                    $0.00
                                                                                                                                                                                                                                                                                                                                            CECIL A
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
  560    Ex 10/79   Cushen, Mark                     1309 Little Alafia Drive     Plant City       FL      33567   [II(C)], [XV],            1/24/2011    Yes         3,525      Property Tax       Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.               (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                CUSHEN MARK                                                                                                                                                                    14 Southeast 4th Street
                                                                                                                                                                                                                     0.83              $91.18           $321,409.50                                                                                                            Owner as of 6/9/15              City or County Tax Records        2/10/2009           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                               CUSHEN JENNIFER                                                                                                                                                                Boca Raton, Florida 33432
                                                                                                                                                                                Square Footage
  561    Ex 10/79   D & B Assets, LLC                11812 Bayport Lane #2403     Ft. Myers        FL      33908   [XV], [XVI],              7/5/2011     Yes         1,661      Property Tax       Yes                                                                  Taishan            Photo/ Inspection    2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                         Assessor's                         0.80              $87.88           $145,968.68                         Report                                          HATZOKOS ARIS + ANGELA                                             City or County Tax Records        3/13/2007              3/23/2012                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                              Bonita Springs, FL 34134
  562    RP         D’Ambrosio, Angelo and           1660 Renaissance Commons     Boynton Beach    FL      33426   [II], [III], [XV],        10/7/2009    Yes         1,460     Builder's Floor     Yes                                                                  Taishan            Photo                12             L                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                    Deborah                          Blvd., Unit 2305                                              [XVI], [XVII]                                                     Plan                            0.82              $90.08           $131,516.80                                                                         TURSI JOSEPH E JR                                                  Tax Records + Title/Deed          2/27/2007              3/30/2012                                          900 W. Morgan Street                                                                 $102,216.71
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
  563    RP         D’Ambrosio, John and Pamela      338 Mestre Place             North Venice     FL      34275   [III], [IX], [XV],        10/7/2009    Yes         1,482        Appraisal        Yes                                                                  Taishan            Photo                2, 9           J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                            BIEVER JAMES G & BIEVER            Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                Showing Floor                        0.83              $91.18           $135,128.76                                                                                                                                            City or County Tax Records        9/20/2006              8/27/2010                                          12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                            PAMELA H                           Property on 6/9/15
                                                                                                                                                                                Plan and Square                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
  564    Ex 10/79   D’Loughy, Daniel                 9424 Scarborough Court       Port St. Lucie   FL      34952   [XIII], [XV],             7/5/2011     Yes         4,074      Property Tax       Yes                                                                  Taishan            Photo                12             L                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.               (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                                                                                                                                               THOMAS M PAYNE                     Previous Owner, Did Not Own                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                     0.82              $90.08           $366,985.92                                                                                                                                            City or County Tax Records        4/10/2007              9/15/2014                                                                                                                                $55,518.62
                                                                                                                                                                                Document with                                                                                                                                               CYNTHIA A PAYNE                    Property on 6/9/15                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                Square Footage
  565    Ex 10/79   Daboval, John and Rosemary       6740 Milne Blvd.             New Orleans      LA      70124   [III(A)], [IX],           9/16/2010    Yes         2,797        Appraisal        Yes                                                                  Taihe              Photo                14, 21         H, I                                                                                                                                                        Barrios, Kingsdorf & Casteix                                     (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                   [XV], [XVI],                                                 Showing Floor                                                                                                                                                                                                                                                                                                                              Dawn M. Barrios, Esq.
                                                                                                                                                                                                                     0.86              $94.47           $264,232.59                                                                         DABOVAL JOHN H                     Owner as of 6/9/15              City or County Tax Records        7/25/2003           Current Owner                                                                                                                                 $0.00
                                                                                                                   [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                            701 Poydras Street, Suite 3650
                                                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70146
  566    Ex 10/79   Daigle, Eric                     3913-5 SW Santa Barbara Place Cape Coral      FL      33914   [XV], [XVI],              7/5/2011     Yes         2,720      Property Tax       Yes                                                                  ProWall            Photo                43, 44         G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVII]                                                          Assessor's                                                                                                                                               MONTAK BENJAMIN Z &                Owner as of 6/9/15, No Longer                                                                                                               27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.80              $87.88           $239,033.60                                                                                                                                            Tax Records + Title/Deed           4/4/2005              8/15/2016                                                                                                                                  $0.00
                                                                                                                                                                                Document with                                                                                                                                               DEBRA L                            Owns Property                                                                                                                               Bonita Springs, FL 34134
                                                                                                                                                                                Square Footage
  567    Ex 10/79   Dakin, Kim                       3521 Lyndell                 Chalmette        LA      70043   [III], [VII], [XV],       10/7/2009    Yes         1,170      Property Tax       Yes                                                                  Crescent City      Photo                27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.86              $94.47           $110,529.90                                                                         DAKIN, KIM M, JR. ETALS            Owner as of 6/9/15              City or County Tax Records        8/30/2007           Current Owner                                       425 W. Airline Hwy, Suite B                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
  568    Ex 10/79   Daley, Donnett                   2518 55th Street W.          Lehigh Acres     FL      33971   [II], [VII], [XV],        3/15/2010    Yes         2,096      Property Tax       Yes                                                                  ProWall            Photo                43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $184,196.48                                                                         DALEY DONNETT A                    Owner as of 6/9/15              City or County Tax Records        2/21/2007           Current Owner                                       12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
  569    Ex 10/79   Dallas, David                    640 Rosalyn Place            Gulfport         MS      39503   [XIII], [XV],             7/5/2011     Yes         1,107      Property Tax       Yes                                                                  Taihe              Photo                15             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.84              $92.27           $102,142.89                                                                         DALLAS PAMELA & DAVID              Owner as of 6/9/15              Tax Records + Title/Deed          1/24/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                           $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            650
  570    Ex 10/79   Dalton, Inc.                     502 A&B Shiloh Road          Corinth          MS      38834   [VII], [XIII],            1/14/2011    Yes         1,500      Property Tax       Yes                                                                  Taihe              Photo                20             I                                                                                                                                                           Whitfield, Bryson & Mason,   Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                   [XV], [XVI],                                                    Assessor's                        0.75              $82.39           $123,585.00                                                                         DALTON INC                         Owner as of 6/9/15              Tax Records + Title/Deed          4/16/2010           Current Owner          LLP Gentle, Turner & Sexton 900 W. Morgan Street                                                                       $0.00
                                                                                                                   [XVII], [XXIII]                                              Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
  571    Ex 10/79   Daniels, Anatoly                 1907 SE 21st Court           Homestead        FL      33035   [II(C)], [III(A)],        9/16/2010    Yes         3,058      Property Tax       Yes                                                                  Taishan            Photo                2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                    Assessor's                        0.81              $88.98           $272,100.84                                                                         KARIN VICKERS                                                      City or County Tax Records        8/24/2006              4/22/2013                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  572    Ex 10/79   Daniels, Lula                    5918 Bilek Drive             Pensacola        FL      32526   [III], [VII], [XV],       10/7/2009    Yes         1,289      Property Tax       Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.85              $93.37           $120,353.93                                                                         DANIELS LULA D                     Owner as of 6/9/15              Tax Records + Title/Deed         10/27/2006           Current Owner                                       316 South Baylen St.                                                                      $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
  573    Ex 10/79   Danza, Madelina                  3550 Lansing Loop Unit 101   Estero           FL      33928   [XIII], [XV],             7/5/2011     Yes         1,917      Property Tax       Yes                                                                  C&K                Photo                34             B                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $168,465.96                                                                         DANZA MADELINA                     Owner as of 6/9/15              City or County Tax Records        3/31/2010           Current Owner                                       27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  574    Ex 10/79   Dao, Cuc                         857 SW 17th Street           Cape Coral       FL      33991   [III], [XV],              10/7/2009    Yes         2,232          Other          Yes                                                                  Taishan            Photo                12             L                                                                                                                                                           Viles & Beckman, LLC         Michael Beckman, Esq.               (239) 334-3933   michael@vilesandbeckman.
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                                                     0.80              $87.88           $196,148.16                                                                         UNKNOWN                                                            Tax Records + Title/Deed         11/14/2008              9/21/2012                                        6350 Presidential Court                              com                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33919
  575    Ex 10/79   Dasilva, Jose and Maria          4465 San Marco Road          New Orleans      LA      70124   [II(B)], [III], [IX],     10/7/2009    Yes         2,784     Builder's Floor     Yes                                                                  Taihe              Photo                20, 21         I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                            DA SILVA JOSE
                                                                                                                   [XV], [XVI],                                                      Plan                            0.86              $94.47           $263,004.48                                                                                                            Owner as of 6/9/15              City or County Tax Records         2/1/2007           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                            DA SILVA MARIA C
                                                                                                                   [XVII]                                                                                                                                                                                                                                                                                                                                                                                                303
  576    Ex 10/79   DaSilva, Manuel                  5210 SW 24th Avenue          Cape Coral       FL      33914   [IX], [XV],               5/5/2011     Yes         2,591      Property Tax       Yes                                                                  Taishan            Photo                2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            DASILVA MANUEL J +
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $227,697.08                                                                                                            Owner as of 6/9/15              City or County Tax Records        7/14/2005           Current Owner                                       12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                            QUINTANILLA MARIA A T/C
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
  577    Ex 10/79   Davenport, Janelle and DuShane 4045 Bradshaw Road             Williamsburg     VA      23188   [II(C)], [XV],            1/24/2011    Yes         2,484      Property Tax       Yes                                                                  Venture Supply     Photo                38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                                                                                                                                               DAVENPORT, DUSHANE &                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $261,962.64                                                                                                            Owner as of 6/9/15              City or County Tax Records         3/1/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                               PRIDGEN, JANELL                                                                                                                                 Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
  578    Ex 10/79   Davis, Alicia and Anthony        467 Monroe Tyler Road        Monticello       GA      31064   [II(A)], [XV],            9/16/2010    Yes         2,350      Property Tax       Yes                                                                  Venture Supply     Photo                38             K                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII],                                                  Assessor's                        0.80              $87.88           $206,518.00                                                                         SMITH KEITH & JULIE                                                City or County Tax Records        12/8/2005              6/3/2014                                         316 South Baylen St.                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                   [XXII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
  579    RP         Davis, Alvin                     4721 Majorie Lane            New Orleans      LA      70122   [XIII], [XV],             7/5/2011     Yes         1,602       Inspection        Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                Showing Floor                        0.86              $94.47           $151,340.94                                                                         BRUNIOUS RITA                                                      City or County Tax Records        7/29/1999              2/10/2015                                        855 Baronne Street                                   m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                Plan and Under                                                                                                                                                                                                                                                                                                                           New Orleans, 70113
  580    Ex 10/79   Davis, Chris                     300 East Bogia Road          McDavid          FL      32568   [III], [VII], [XV],       10/7/2009    Yes         1,344      Property Tax       Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                   [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                                                            316 South Baylen St.
                                                                                                                                                                                                                     0.85              $93.37           $125,489.28                                                                         DAVIS CHRISTOPHER K                Owner as of 6/9/15              Tax Records + Title/Deed          7/28/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
                                                                                                                                                                                Square Footage
  581    Ex 10/79   Davis, Gordon and Estela         201 Medici Terrace           North Venice     FL      34275   [IX], [XV],               5/5/2011     Yes         2,562      Property Tax       Yes                                                                  Taishan            Photo                1, 6           H, J                                                                                                                                                        Parker Waichman            Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            DAVIS GORDON DAVIS
                                                                                                                   [XVI], [XVII]                                                   Assessor's                        0.83              $91.18           $233,603.16                                                                                                            Owner as of 6/9/15              Tax Records + Title/Deed         10/29/2007           Current Owner                                     27300 Riverview Center Blvd                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                            ESTELA
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  582    Ex 10/79   Davis, Juanita                   4105-4107 Elba Street        New Orleans      LA      70125   [III(A)], [IX],           9/16/2010    Yes         2,906     Builder's Floor     Yes                                                                  Taihe              Photo                20             I                                                                                                                                                           Herman, Herman & Katz      Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                   [XIII], [XV],                                                     Plan                            0.86              $94.47           $274,529.82                                                                         ALEXANDER JUANITA D                Owner as of 6/9/15              Tax Records + Title/Deed         12/16/1987           Current Owner                                     820 O'Keefe Avenue                                                                          $0.00
                                                                                                                   [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70113
  583    Ex 10/79   Davis, Lakeisha                  5543 Charlotte Drive         New Orleans      LA      70122   [II(B)], [III(A)],        9/16/2010    Yes         1,859      Property Tax       Yes                                                                  Taihe              Photo                20             I                                                                                                                                                           Whitfield, Bryson & Mason, Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                         0.86              $94.47           $175,619.73                                                                         DAVIS LAKEISHA                     Owner as of 6/9/15              City or County Tax Records       10/24/2008           Current Owner          LLP Herman, Herman & Katz 900 W. Morgan Street                                                                         $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 18 of 82



Claimant Source     Claimant Name                    Affected Property Address      City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square       Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                  Omni                 Footage        Provided      Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
  584    Ex 10/79   Davis, Lolita                    4821 Piety Drive               New Orleans      LA      70126   [III(A)], [VII],          9/16/2010    Yes         1,350       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XV], [XVI],                                                    Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86                $94.47          $127,534.50                                                                        HAMPTON SHEMEKIA T                                                 City or County Tax Records        8/16/1995              5/31/2012                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                 Property on 6/9/15                                                                                                                        425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  585    Ex 10/79   Davis, Walter and Melissa        276 Jessie Smith Road          Lucedale         MS      39452   [II(B)], [XV],            12/6/2010    Yes         2,500        Appraisal        Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                             DAVIS, WALTER H. II ETUX,
                                                                                                                     [XVI], [XVII],                                               Showing Floor                       0.79                $86.78          $216,950.00                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/10/2010           Current Owner                                       900 W. Morgan Street                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                             MELISSA R. S/C
                                                                                                                     [XXIII]                                                      Plan and Square                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  586    Ex 10/79   Dawkins, Benny                   13103 Linden Drive             Spring Hill      FL      34609   [II(C)], [XV],            1/24/2011    Yes         1,813      Builder's Floor    Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                      Plan                          0.83                $91.18          $165,309.34                                                                        DAWKINS BENNY                      Owner as of 6/9/15              City or County Tax Records        8/14/2008           Current Owner                                       12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  587    Ex 10/79   Dawkins, Stephen                 78 Spring Lake Boulevard       Clanton          AL      35045   [XIII], [XV],             7/5/2011     Yes         1244         Appraisal        Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                    (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                     [XVI], [XVII],                                               Showing Floor                        0.84              $92.27           $114,783.88                                                                        DAWKINS, STEPHEN                   Owner as of 6/9/15              City or County Tax Records                            Current Owner          Irby                         905 Montgomery Highway, Suite                                                            $0.00
                                                                                                                     [XXI]                                                        Plan and Square                                                                                                                                                                                                                                                                                                                         201
  588    Ex 10/79   Dawson, Robert                   4326 Lydias Drive              Williamsburg     VA      23188   [II], [IX], [XV],         3/15/2010    Yes         2,352       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                               Property Assessment                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.96              $105.46          $248,041.92                                                                        DAWSON, ROBERT E                   Owner as of 6/9/15              City or County Tax Records         2/9/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                              Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
  589    RP         Day, Dan and Maureen             1804 Mayberry Drive            Virginia Beach   VA      23456   [II], [XV], [XVI],        3/15/2010    Yes         4,224       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                     [XVII]                                                          Assessor's                        0.94              $103.26          $436,170.24                         Property Assessment                            PARKER KENNETH                     Records Not Available           City or County Tax Records       12/27/2006             11/17/2011           Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
  590    RP         De Jesus, Amelia                 9653 Cobblestone Creek Drive   Boynton Beach    FL      33472   [II(B)], [XIII],          12/6/2010    Yes         3,638      Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                             PATEL JALPA &                      Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                       Plan                           0.82              $90.08           $327,711.04                                                                                                                                           Tax Records + Title/Deed         10/22/2008              2/15/2012                                        255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                             PATEL MAHESH                       Property on 6/9/15
                                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Coral Gables, FL 33134
  591    Ex 10/79   de Leon, James and Melinda       3013 Bradbury Drive            Meraux           LA      70075   [II(A)], [XV],            9/16/2010    Yes         1,812       Property Tax      Yes                                                                  Crescent City      Photo               27             D           WARREN, EUPHORIA                                                                                                                                Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                              LA'SHINDA 1/2           Previous Owner, Did Not Own                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                                                                                       0.86              $94.47           $171,179.64                                                                                                                                           City or County Tax Records        11/2/2009              8/15/2011                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                              WILLIAMS, NATONYA AGNES Property on 6/9/15                                                                                                                                   Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage                                                                                                                                             1/2
  592    RP         De Vicente, Evelyn Duboq         8049 NW 108 Place              Doral            FL      33178   [III], [VII], [XV],       10/7/2009    Yes         1,671        Appraisal        Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                Showing Floor                        0.81              $88.98           $148,685.58                                                                        1202 BISCAYNE PLAZA LLC                                            Tax Records + Title/Deed         12/12/2006             10/21/2013                                        255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                         Coral Gables, FL 33134
  593    Ex 10/79   Dean, Brian                      21635 Glass and Spivey         Robertsdale      AL      36567   [XV], [XVI],              7/5/2011     Yes         1566        Property Tax      Yes                                                                  Taihe              Affidavit of Lori   17             I                                                                                                                                                           Daniell, Upton & Perry, P.C. Jonathan Law                         (251) 625-0046   JRL@dupm.com
                                                                                                                     [XVII], [XXI]                                                   Assessor's                        0.84              $92.27           $144,494.82                         Streit                                         DEAN, BRIAN D                      Owner as of 6/9/15              City or County Tax Records       11/20/2003           Current Owner                                       30421 State Highway 181                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Daphne, Alabama 36527
  594    RP         Dearborn, John & Charlotte       1703 NW 44TH Avenue            Cape Coral       FL      33993   [III], [IX], [XV],        10/7/2009    Yes         1,952      Builder's Floor    Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                      Plan                                                                               Manufacturer 2                                                    HARRISON FRANCIS J &               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $171,541.76                                                                                                                                           Tax Records + Title/Deed          12/6/1999              3/12/2014                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                             HARRISON DEBRA L                   Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  595    Ex 10/79   Deeg, David and Hooker,          516 Southwest Akron Avenue     Stuart           FL      34994   [II], [XV], [XVI],        3/15/2010    Yes         2,549        Inspection       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,   Gregory Weiss, Esq.                  (561) 355-6993   gweiss@mrachek-law.com
                                                                                                                                                                                                                                                                                                                                             POMFREY ROBERT POMFREY Owner as of 6/9/15, No Longer
                    Deborah                                                                                          [XVII]                                                        Showing Floor                       0.82              $90.08           $229,613.92                                                                                                                                           City or County Tax Records       10/11/2007              5/2/2016            Konopka, Thomas & Weiss,     505 S. Flagler Drive, Suite 600                                                          $0.00
                                                                                                                                                                                                                                                                                                                                             KELLIE                 Owns Property
                                                                                                                                                                                  Plan and Under                                                                                                                                                                                                                                                                                             P.A.                         West Palm Beach, FL 33401
  596    Ex 10/79   DeFrancesco, Joyce and Richard 2218 S.W. Embers Terrace         Cape Coral       FL      33991   [II], [II(B)], [VII],     3/15/2010    Yes         1,991       Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                    Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $174,969.08                                                                        DEFRANCESCO JOYCE W                Owner as of 6/9/15              Tax Records + Title/Deed          4/22/2005           Current Owner                                                                                                                                $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                              Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  597    Ex 10/79   Degruy, David and Tiffany        531 Poinciana Drive            Homewood         AL      35209   [IX], [XV],               5/5/2011     Yes         1835         Appraisal        Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                    (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                             DEGRUY TIFFANY J & DAVID
                                                                                                                     [XVI], [XVII],                                               Showing Floor                        0.84              $92.27           $169,315.45                                                                                                 Owner as of 6/9/15                        City or County Tax Records         4/1/2010           Current Owner          Irby                         905 Montgomery Highway, Suite                                                            $0.00
                                                                                                                                                                                                                                                                                                                                             V III
                                                                                                                     [XXI]                                                        Plan and Square                                                                                                                                                                                                                                                                                                                         201
  598    Ex 10/79   Dejan, Waldo W. and Shirley L. 4931 Chantilly Drive             New Orleans      LA      70126   [IX], [XV],               5/5/2011     Yes         1,942       Property Tax      Yes                                                                  Crescent City      Photo               27             D           DE JAN WALDO                                                                                                                                    Herman, Herman & Katz        Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                        0.86              $94.47           $183,460.74                                                                        DEJAN SHIRLEY LLORENS              Owner as of 6/9/15              City or County Tax Records        11/1/1979           Current Owner                                       820 O'Keefe Avenue                                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                              DEJAN SHIRLEY L                                                                                                                                                              New Orleans, LA 70113
  599    Ex 10/79   DeKeyser, Lee and Phyllis        6051 Jonathan’s Bay Circle Unit Ft. Myers       FL      33908   [II(C)], [III],           10/7/2009    Yes         1,832       Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                     401                                                             [VII], [IX], [XV],                                              Assessor's                                                                                                                                              DEKEYSER LEE M +                                                                                                                                                             27300 Riverview Center Blvd
                                                                                                                                                                                                                       0.80              $87.88           $160,996.16                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/26/2006           Current Owner                                                                                                                                $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                              DEKEYSER PHYLLIS N H/W                                                                                                                                                       Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage
  600    RP         Del Toro, Gilbert and Zamira     7565 Bristol Circle            Naples           FL      34124   [XV], [XVI],              7/5/2011     Yes         2,054        Appraisal        Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                       Showing Floor                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $180,505.52                                                                        ADRIANA INV 2.0 LLC                                                Tax Records + Title/Deed           2/2/2007             11/13/2012                                                                                                                                 $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                      Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  601    Ex 10/79   Del Valle, Craig                 3830 Misty Landing Drive       Valrico          FL      33594   [XV], [XVI],              7/5/2011     Yes         2,769        Appraisal        Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                       Showing Floor                        0.83              $91.18           $252,477.42                                                                        JIMMIE JESSE J                                                     City or County Tax Records       12/25/2005              3/20/2012                                        2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                         650
  602    Ex 10/79   Delayo, William and Jennifer     19848 Maddelena Circle         Ft. Myers        FL      33967   [II], [XV], [XVI],        3/15/2010    Yes         2,647       Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                          Assessor's                                                                                                                                              BARNIUM BRUCE + BARNIUM Owner as of 6/9/15, No Longer                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.80              $87.88           $232,618.36                                                                                                                                           City or County Tax Records       12/13/2006              7/29/2015                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                              SHELIA                  Owns Property                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
  603    Ex 10/79   DeLeon, Gordon and Donna         1209 East Avide Street         Chalmette        LA      70043   [II], [XV], [XVI],        3/15/2010    Yes         2,496        Appraisal        Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             WILLIAMS, CHARLES, LIVING Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                       Showing Floor                        0.86              $94.47           $235,797.12                                                                                                                                           City or County Tax Records                               1/4/2011                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                             TRUST                     Property on 6/9/15
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  604    Ex 10/79   Delgado, Pedro and Margarita     2023 SW 30th Terrace           Cape Coral       FL      33914   [II], [XV], [XVI],        3/15/2010    Yes         2,411       Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                          Assessor's                                                                                                                                              DELGADO PEDRO +                                                                                                                                 Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $211,878.68                                                                                                           Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                              MARGARITA                                                                                                                                       Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  605    Ex 10/79   Delisser, John and Marvalyn      1120 SW Gardena Avenue         Port St. Lucie   FL      34953   [II(C)], [III], [IX],     10/7/2009    Yes         2,044       Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             JOHN DELISSER
                                                                                                                     [XV], [XVI],                                                    Assessor's                        0.82              $90.08           $184,123.52                                                                                                           Owner as of 6/9/15              City or County Tax Records        8/31/2005           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                              MARVALYN L DELISSER
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  606    Ex 10/79   Delmas, Hantz and Melmas,        22796 S.W. 89th Place          Cutler Bay       FL      33190   [IX], [XV],               5/5/2011     Yes         1,988       Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Mary Menzies                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                              HANTZ DELMAS &W MARY M                                                                                                                          Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $176,892.24                                                                                               Owner as of 6/9/15                          City or County Tax Records         6/7/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                              MENZIES                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  607    Ex 10/79   Demarrais, William S.            205 41st St. South             Birmingham       AL      35222   [VII], [XV],              1/14/2011    Yes         3200        Property Tax      Yes                                                                  Taihe              Photo               20, 21         I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                  Assessor's                        0.84              $92.27           $295,264.00                                                                        DEMARAIS WILLIAM S                 Owner as of 6/9/15              City or County Tax Records       10/28/2002           Current Owner                                       900 W. Morgan Street                                                                     $0.00
                                                                                                                     [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
  608    Ex 10/79   Demirgian, Edward and Tonia      24504 Sunrise Drive            Port Charlotte   FL      33980   [III], [XV],              10/7/2009    Yes         2,085       Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $183,185.86                                                                        VITALE DENICE M                                                    City or County Tax Records         1/5/2007              7/16/2012                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  609    Ex 10/79   DeMonaco, Charles                92 Belle Grove Lane            Royal Palm Beach FL      33411   [IX], [XV],               5/5/2011     Yes         2,499      Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,   Gregory Weiss, Esq.                  (561) 355-6993   gweiss@mrachek-law.com
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                                                                                                                     [XVI], [XVII]                                                      Plan                           0.82              $90.08           $225,109.92                                                                        SZYMANSKI TAMMY                                                    Tax Records + Title/Deed           2/4/2010              1/8/2016            Konopka, Thomas & Weiss,     505 S. Flagler Drive, Suite 600                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             P.A.                         West Palm Beach, FL 33401
  610    Ex 10/79   DeNaeva, Marta                   1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                     Blvd., Unit 1224                                                [XVII]                                                            Plan                            0.82              $90.08           $111,699.20                                                                        DENAVEA, MARTA                     Owner as of 6/9/15              City or County Tax Records        4/26/2007           Current Owner                                       900 W. Morgan Street                                                                  $100,566.98
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
  611    Ex 10/79   DeNavea, Martha Lisa             1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                     Blvd., Unit 1429                                                [XVII]                                                            Plan                            0.82              $90.08           $111,699.20                                                                        DENAVEA, MARTA LISA                Owner as of 6/9/15              City or County Tax Records         4/4/2007           Current Owner                                       900 W. Morgan Street                                                                   $93,156.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
  612    Ex 10/79   DeOliveira, Harry                1819 Carriage Oak Ct.          Hartsville       SC      29550   [III(A)], [VII],          9/16/2010    Yes         1,306          Other          Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                     [XV], [XVI],                                                                                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                                             4265 San Felipe, Suite 1000                           om
                                                                                                                                                                                                                       0.91              $99.96           $130,547.76                                                                        VIRGINIA CHRISTINE WRIGHT                                          Tax Records + Title/Deed          6/25/2007              8/31/2015                                                                                                                                 $0.00
                                                                                                                     [XVII], [XXV]                                                                                                                                                                                                                                              Owns Property                                                                                                                             Houston, TX 77027

  613    Ex 10/79   Derzhko, Miroslam and            6953 Topeka Lane               North Port       FL      34291   [XV], [XVI],              7/5/2011     Yes         2,020       Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             RINKEWICH EDWARD J &               Previous Owner, Did Not Own
                    Jaroslawa (Gloria)                                                                               [XVII]                                                          Assessor's                        0.83              $91.18           $184,183.60                                                                                                                                           City or County Tax Records       12/20/2006              9/20/2013                                         27300 Riverview Center Blvd                                                          $107,067.86
                                                                                                                                                                                                                                                                                                                                             RINKEWICH MARY R                   Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  614    Add.       Desire, Marie                    4734 14th St. SW , Lehigh      Lehigh Acres     FL      33973   [II], [XV], [XVI],        3/15/2010    Yes         1,239       Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
         Taishan                                     Acres, FL 33973                                                 [XVII]                                                          Assessor's                        0.80              $87.88           $108,883.32                                                                        DESIRE MARIE M                     Owner as of 6/9/15              Tax Records + Title/Deed           6/6/2006           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
  615    Add.       Desire, Marie                    4736 14th Street SW, Lehigh    Lehigh Acres     FL      33973   [XV], [XVI],              7/5/2011     Yes         1,239       Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
         Taishan                                     Acres, FL 33973                                                 [XVII]                                                          Assessor's                        0.80              $87.88           $108,883.32                                                                        DESIRE MARIE M                     Owner as of 6/9/15              Tax Records + Title/Deed           6/6/2006           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
  616    RP         Desmore, Judy and Barry          115 West Celestine             Chalmette        LA      70043   [III], [VII], [XV],       10/7/2009    Yes         1,286       Property Tax      Yes                                                                  Taihe              Photo               19, 20         I                                                                                                                                                           Gainsburgh Benjamin           Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                2800 Energy Centre
                                                                                                                                                                                                                       0.86              $94.47           $121,488.42                                                                        LANDRY, DANIELLE                                                   City or County Tax Records         5/8/1980             12/18/2014                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                 Property on 6/9/15                                                                                                                         1100 Poydras Street
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  617    Ex 10/79   Desselle, Brent                  2917 Monica Lane               Marrero          LA      70072   [III], [VII], [XV],       10/7/2009    Yes         1,553      Homeowner's        Yes                                                                  Taihe              Photo               16, 17         I                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                Insurance Form                                                                                                                                                                                                                                                                                                                           425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                       0.86              $94.47           $146,711.91                                                                        DESSELLE,BRENT T                   Owner as of 6/9/15              Tax Records + Title/Deed          12/6/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    with Square                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
                                                                                                                                                                                    Footage and
  618    Ex 10/79   Destacamento, Marilou and        910 Alaska Avenue              Lehigh Acres     FL      33971   [II], [XV], [XVI],        3/15/2010    Yes         2,029       Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                    Aladin                                                                                           [XVII]                                                          Assessor's                                                                                                                                                                                                                                                                                                                            12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                       0.80              $87.88           $178,308.52                                                                        DESTACAMENTO MARILOU D Owner as of 6/9/15                          City or County Tax Records        2/12/2002           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
                                                                                                                                                                                  Square Footage
  619    RP         DeYoung, John C.                 4147 Courtside Way             Tampa            FL      33618   [II], [XV], [XVI],        3/15/2010    Yes         2,409      Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             ORMSBY KEVIN                       Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                             Plan                           0.83              $91.18           $219,652.62                                                                                                                                           Tax Records + Title/Deed           6/7/2006             11/29/2012                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             ORMSBY LAURA LYNN                  Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  620    Ex 10/79   Diallo, Alfa and Molero, Karla   7300 Wisteria Avenue           Parkland         FL      33076   [IX], [XV],               5/5/2011     Yes         3,782     Builder's Floor     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             DIALLO,ALFA
                                                                                                                     [XVI], [XVII]                                                     Plan                            0.81              $88.98           $336,522.36                                                                                                           Owner as of 6/9/15              City or County Tax Records         5/1/2008           Current Owner                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                             MOLERO,KARLA SOTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
  621    Ex 10/79   Diaz, Nelisbet                   20441 SW 317th Street          Homestead        FL      33030   [XV], [XVI],              7/5/2011     Yes         1,964      Property Tax       Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           VM Diaz and Partners          Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                     [XVII]                                                         Assessor's                         0.81              $88.98           $174,756.72                                                                        NELISBET DIAZ                      Owner as of 6/9/15              City or County Tax Records         6/4/2009           Current Owner                                        1900 Washington Ave., Suite 402                                                         $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Miami Beach, FL 33139
  622    RP         Dickey, Jeremy                   60 Pinebark Court              Wetumpka         AL      36093   [II], [XV], [XVI],        3/15/2010    Yes         2,003      Property Tax       Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Gentle, Turner & Sexton       K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                     [XVII], [XXI]                                                  Assessor's                         0.83              $91.18           $182,633.54                                                                        ENSIGN CAPITOL LLC                                                 City or County Tax Records        8/18/2006             10/29/2013                                         501 Riverchase Parkway East,                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Suite 100
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 19 of 82



Claimant Source     Claimant Name                    Affected Property Address    City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of       Counsel's                                                              Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square       Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage        Provided      Verifying                       [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
  623    Ex 10/79   Dier, Amanda and Campo,          2912 Blanchard Drive         Chalmette         LA      70043   [VII], [XV],              1/14/2011    Yes         1,420        Appraisal        Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz      Russ Herman, Esq.                       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                          CAMPO, DEREK & DIER,
                    Derek                                                                                           [XVI], [XVII]                                                Showing Floor                       0.86                $94.47          $134,147.40                                                                                                         Owner as of 6/9/15              City or County Tax Records       11/20/2012           Current Owner                                     820 O'Keefe Avenue                                                                         $0.00
                                                                                                                                                                                                                                                                                                                                          AMANDA
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
  624    RP         Diffley, Matthew and Christa     7484 Dickey Springs Road     Bessemer          AL      35022   [III], [VII], [XV],       10/7/2009    Yes         3,705       Property Tax      Yes                                                                  Taihe              Photo             13             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                     (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                          HEATON GERALD LEE (D) &            Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII],                                                  Assessor's                       0.84                $92.27          $341,860.35                                                                                                                                         City or County Tax Records       12/26/2001              8/1/2011            Irby                       905 Montgomery Highway, Suite                                                              $0.00
                                                                                                                                                                                                                                                                                                                                          PATSY LYNN                         Property on 6/9/15
                                                                                                                    [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                       201
  625    Ex 10/79   Diggs, David                     228 Vintage Drive            Covington         LA      70433   [XIII], [XV],             7/5/2011     Yes         1,842      Builder's Floor    Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Martzell & Bickford        Scott Bickford, Esq.                    (504) 581-9065   srb@mbfirm.com
                                                                                                                    [XVI], [XVII]                                                      Plan                          0.79                $86.78          $159,848.76                                                                      DAVID DIGGS                        Owner as of 6/9/15              Tax Records + Title/Deed          10/5/2007           Current Owner                                     338 Lafayette Street                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70130
  626    RP         Dillard, Vida                    1219 Avondale Lane           Newport News      VA      23602   [II], [XIII], [XV],       3/15/2010    Yes         2,227      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Law Offices of Richard J.  Richard J. Serpe, Esq.                  (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.95              $104.36          $232,409.72                         Property Assessment                          WILLIAMS ASHLEY M                                                  City or County Tax Records        1/26/2009              10/2/2013           Serpe                      580 East Main Street, Suite 310                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                       Norfolk, VA 23510
  627    Ex 10/79   Dillinger, Norbert and Svetty,   3531 NW 14th Street          Cape Coral        FL      33993   [III], [XV],              10/7/2009    Yes         1,952      Property Tax       Yes                                                                  Chinese            Photo             37             C           SVETLY RITA M TR                                                                                                                                Morgan & Morgan            Pete Albanis, Esq.                      (239) 433-6880   PAlbanis@ForThePeople.co
                    Rita                                                                                            [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $171,541.76      Manufacturer 2                                                  FOR RITA M SVETLY                  Owner as of 6/9/15              Tax Records + Title/Deed         10/15/2008           Current Owner                                     12800 University Drive, Suite 600                        m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                            REVOCABLE TRUST                                                                                                                                                            Fort Myers, FL 33907
  628    Ex 10/79   Dillon, Ray and Selestin         30147 Ola Magee Road         Angie             LA      70426   [III], [VII], [XV],       10/7/2009    Yes         1,440         Other           Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Martzell & Bickford        Scott Bickford, Esq.                    (504) 581-9065   srb@mbfirm.com
                                                                                                                    [XVI], [XVII]                                                                                                                                                                                                         DILLON, RAY CHARLES ET                                                                                                                                                     338 Lafayette Street
                                                                                                                                                                                                                      0.79              $86.78           $124,963.20                                                                                                         Owner as of 6/9/15              City or County Tax Records        8/30/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                          UX                                                                                                                                                                         New Orleans, LA 70130

  629    Ex 10/79   Dimitrov, Nokolay and Ilyana     1925 Maxey Manor Court       Virginia Beach    VA      23454   [II(C)], [VII],           1/14/2011    Yes         1,842      Property Tax       Yes                                                                  Venture Supply     Photo             40             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $190,204.92                                                                      NIKOLAY DIMITROV                   Owner as of 6/9/15              City or County Tax Records        6/12/2009           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
  630    Ex 10/79   Dimon, Charles and Lynn          482 N.W. Emilia Way          Jensen Beach      FL      34957   [IX], [XV],               5/5/2011     Yes         1,832      Property Tax       Yes                                                                  Chinese            Photo             37             C                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                             Manufacturer 2                                                  BRADLEY GREGORY S &                Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.82              $90.08           $165,026.56                                                                                                                                         City or County Tax Records         4/3/2009              6/22/2012                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                            DEIDRE K                           Property on 6/9/15                                                                                           Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  631    Ex 10/79   Dinette, Rodney and Geraldine    573 Huseman Lane             Covington         LA      70435   [III], [IX], [XV],        10/7/2009    Yes         2,701     Builder's Floor     Yes                                                                  Taihe              Photo             13, 21         I                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.79              $86.78           $234,392.78                                                                      RODNEY DINETTE ET UX               Owner as of 6/9/15              Tax Records + Title/Deed          1/30/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  632    RP         Dinneen, Walter F. and Vickie L. 10360 S.W. Stephanie Way,    Port St. Lucie    FL      34987   [III], [IX], [XV],        10/7/2009    Yes           0            N/A            N/A                                                                  Taishan            Photo             6              J                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                               See Promenade at
                                                     Unit 6-203                                                     [XVI], [XVII]                                                                                                                                                                                                                                            Previous Owner, Did Not Own                                                                                                                 Baron & Budd                                                                                           Tradition
                                                                                                                                                                                                                      0.82              $90.08              $0.00                                                                         SEMNAC TECHNOLOGIES                                                City or County Tax Records        5/17/2006             12/31/2014                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  633    RP         Dion, David and Parks, Eunice    9781 Cobblestone Creek       Boynton Beach     FL      33472   [II], [IX], [XV],         3/15/2010    Yes         3,653      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.82              $90.08           $329,062.24                                                                      RICH NANCY                                                         Tax Records + Title/Deed          7/18/2006              1/21/2014                                          12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
  634    Ex 10/79   DiPonti, Robert and Dolores      4139 NE 9th Avenue           Cape Coral        FL      33909   [IX], [XV],               5/5/2011     Yes         2,355      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          MAYO ALAN K +                      Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $206,957.40                                                                                                                                         Tax Records + Title/Deed          4/10/2003              5/27/2015                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          MAYO KAREN A                       Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  635    Ex 10/79 & DiSapio, Tonya and Carmine       24518 Wallaby Lane           Punta Gorda       FL      33955   [II(A)], [III],           10/7/2009    Yes         2,221      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
         RP                                                                                                         [XV], [XVI],                                                   Assessor's                         0.80              $87.88           $195,181.48                                                                      HELMINEN KENNETH & ANN                                             City or County Tax Records       12/21/2006              8/27/2013                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                    [XVII], [XX]                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  636    Ex 10/79   Disla, David                     4101 Country Club Blvd.      Cape Coral        FL      33904   [IX], [XV],               5/5/2011     Yes         1,712      Property Tax       Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $150,450.56                                                                      DISLA DAVID                        Owner as of 6/9/15              City or County Tax Records        9/26/2008           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  637    RP         Distel, Matthew and Stephanie    1145 NW 28th Avenue          Cape Coral        FL      33993   [II], [II(A)], [III],     10/7/2009    Yes         1,718      Property Tax       Yes                                                                  Taishan            Photo             7              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [VII], [XV],                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                                 12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                      0.80              $87.88           $150,977.84                                                                      LLERENA TITO B + LUZ A                                             Tax Records + Title/Deed          7/31/2007              12/9/2011                                                                                                                                 $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
  638    Ex 10/79   Ditianquin, Marlon               1690 Renaissance Commons     Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes          817      Builder's Floor     Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                     Blvd., Unit 1309                                               [XVII]                                                            Plan                            0.82              $90.08            $73,595.36                                                                      DITIANQUIN, MARLON                 Owner as of 6/9/15              City or County Tax Records        3/30/2007           Current Owner                                         900 W. Morgan Street                                                                 $96,908.88
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  639    RP         Dixon, Demetrius                 11421 Mountain Bay Drive     Riverview         FL      33569   [II], [XV], [XVI],        3/15/2010    Yes         1,850      Property Tax       Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                         0.83              $91.18           $168,683.00                                                                      LOPEZ ROBERTO                                                      Tax Records + Title/Deed          1/30/2009              1/29/2013                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  640    RP         Dobric, Mario                    1690 Renaissance Commons     Boynton Beach     FL      33426   [II(B)], [XV],            12/6/2010    Yes          817      Builder's Floor     Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                     Blvd., Unit 1228                                               [XVI], [XVII]                                                     Plan                            0.82              $90.08            $73,595.36                                                                      VAZQUEZ HERNAN P                                                   Tax Records + Title/Deed          3/30/2007              12/5/2013                                          900 W. Morgan Street                                                                 $96,908.88
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  641    Ex 10/79   Doerre, Christopher J.           5280 Tamiami Court           Cape Coral        FL      33904   [II(B)], [VII],           12/6/2010    Yes         3,192        Appraisal        Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                          HSBC BANK USA NATIONAL
                                                                                                                    [IX], [XV],                                                  Showing Floor                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.80              $87.88           $280,512.96                                                                      ASSOCIA                                                            Tax Records + Title/Deed         12/21/2007              8/8/2016                                                                                                                                  $0.00
                                                                                                                    [XVI], [XVII]                                                Plan and Square                                                                                                                                                                             Owns Property                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                          FOR WELLS FARGO ASSET
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
  642    Ex 10/79   Doherty, Alicia and Kenneth      4080 Walter Moore Road       Chunchula         AL      36521   [XV], [XVI],              7/5/2011     Yes         3574       Property Tax       Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          DOHERTY KENNETH &
                    Randall                                                                                         [XVII]                                                          Assessor's                        0.84              $92.27           $329,772.98                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed         12/23/2005           Current Owner                                         2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          ALICIA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           650
  643    RP         Dolan, Christopher and Carrie    3302 Rannock Moor            Williamsburg      VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,192      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                          IRVING, KEVIN P SR &               Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                          Assessor's                        0.96              $105.46          $125,708.32                         Property Assessment                                                                                             City or County Tax Records        5/31/2006              5/1/2012            Serpe                          580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          CLAUDIA B                          Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
  644    RP         Domingue, Craig and Lesa         205 Thistledown Court        Pearl River       LA      70452   [III], [VII], [XV],       10/7/2009    Yes         2,786        Appraisal        Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                Showing Floor                        0.79              $86.78           $241,769.08                                                                      MASSARINI, ADAM W ETUX                                             Tax Records + Title/Deed          3/17/2003                2011                                             425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  645    Ex 10/79   Dominguez, Antonio and           15539 SW 182nd Lane          Miami             FL      33187   [XV], [XVI],              7/5/2011     Yes         1,765      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                    Zenedia                                                                                         [XVII]                                                          Assessor's                        0.81              $88.98           $157,049.70                                                                      DCG INVESTMENTS INC                                                Tax Records + Title/Deed           2/2/2007              4/4/2016                                           27300 Riverview Center Blvd                                                         $101,956.94
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  646    Ex 10/79   Donaldson, Jill and Oertling,    18 Log Cabin Lane            Pearl River       LA      70452   [III], [VII], [XV],       10/7/2009    Yes         6,494        Appraisal        Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                    Jared                                                                                           [XVI], [XVII]                                                Showing Floor                                                                                                                                            OERTLING, JOHN JARED                                                                                                                                                           425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                      0.79              $86.78           $563,558.00                                                                                                         Owner as of 6/9/15              Mortgage Documents                  2013              Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                          ETUX                                                                                                                                                                           LaPlace, LA 70064
                                                                                                                                                                                     Footage
  647    Ex 10/79   Dong, Chi and Lu, Qun            1562 Hextel Avenue SW        Port St. Lucie    FL      34953   [II(B)], [IX],            12/6/2010    Yes         1,997        Appraisal        Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                 Showing Floor                        0.82              $90.08           $179,889.76                                                                      GVENSHA M CEUS                                                     City or County Tax Records        4/25/2005              1/14/2013                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                    [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  648    Ex 10/79   Donmeyer, Scott D. and Kristin   4436 Park Shore Drive        Marrero           LA      70072   [III], [VII], [XV],       10/7/2009    Yes         1,478        Appraisal        Yes                                                                  Taihe              Photo             14, 17, 21     H, I                                                                                                                                                        Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                    [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                                                           900 W. Morgan Street
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
                                                                                                                                                                                                                                                                                                                                          ROBERT WOLFE                       Owner as of 6/9/15, No Longer
                                                                                                                                                                                     Footage                          0.86              $94.47           $139,626.66                                                                                                                                         Mortgage Statement                3/28/2007                                                                                                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          CONSTRUCTION INC                   Owns Property



  649    Ex 10/79   Donofrio, Michael and Kristin    2401 Jefferson Avenue        New Orleans       LA      70115   [VII], [XV],              1/14/2011    Yes         3,076      Property Tax       Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com                            Sq ft confirmed by
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                            DONOFRIO MICHAEL R                                                                                                                                                             820 O'Keefe Avenue                                                                                     BKC
                                                                                                                                                                                                                      0.86              $94.47           $290,589.72                                                                                                         Owner as of 6/9/15              City or County Tax Records        8/11/2003           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                            DONOFRIO KRISTIN C                                                                                                                                                             New Orleans, LA 70113
                                                                                                                                                                                 Square Footage
  650    Ex 10/79   Donohue, Francis J. Jr.          408 Jefferson Avenue         Cape Charles      VA      23310   [II(B)], [VII],           12/6/2010    Yes         1,400      Homeowner's        Yes                                                                  Venture Supply     Photo             38             K                                                                                                                                                           Seeger Weiss                   Christopher Seeger, Esq.            (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                    [IX], [XV],                                                  Insurance Form                                                                                                                                           GRANGER, JAMES ARTHUR II Owner as of 6/9/15, No Longer                                                                                                                         77 Water Street
                                                                                                                                                                                                                      0.94              $103.26          $144,564.00                                                                                                                                         City or County Tax Records         4/4/2005              8/31/2015                                                                                                                                 $0.00
                                                                                                                    [XVI], [XVII]                                                  with Square                                                                                                                                            & KIMBERLY DAWN          Owns Property                                                                                                                                         New York, NY 10005
                                                                                                                                                                                   Footage and
  651    RP         Donohue, Mark and Lori           3833 Langdrum Drive          Wesley Chapel     FL      33543   [II(B)], [IX],            12/6/2010    Yes         1,702      Property Tax       Yes                                                                  C&K                Photo             34             B           CURRENT OWNERS DO NOT                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                    Assessor's                        0.83              $91.18           $155,188.36                                                                      APPEAR TO BE THE                                                   Title/Deed                         8/1/2008              2/11/2014                                        12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                            DONOHUES                                                                                                                                                                     Fort Myers, FL 33907
  652    Ex 10/79   Dooling, Jay                     645 Roland Drive             Norfolk           VA      23509   [IX], [XV],               5/5/2011     Yes         2,476      Property Tax       Yes                                                                  Venture Supply     Photo             39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                            DOOLING, JAY L K &                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $255,671.76                                                                                                         Owner as of 6/9/15              City or County Tax Records        12/2/2005           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                            RICHARD G                                                                                                                                       Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  653    Ex 10/79   Dora, Rolanda                    2206 SW Plymouth Street      Port St. Lucie    FL      34953   [XV], [XVI],              7/5/2011     Yes         2,094      Property Tax       Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          OLLIE DORA
                                                                                                                    [XVII]                                                          Assessor's                        0.82              $90.08           $188,627.52                                                                                                         Owner as of 6/9/15              City or County Tax Records       10/20/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                          ROLANDA DORA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         650
  654    RP         Dorman, Timothy and Melissa      10703 Rockledge View Drive   Riverview         FL      33579   [II], [XV], [XVI],        3/15/2010    Yes         2,512      Property Tax       Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          FRISCH JOY L                       Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                          Assessor's                        0.83              $91.18           $229,044.16                                                                                                                                         Tax Records + Title/Deed          5/25/2007              2/5/2014                                         12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          WEBB KENNETH H                     Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  655    Ex 10/79   Dorsey, Rachael and David        102 NW 24th Avenue           Cape Coral        FL      33993   [III], [XV],              10/7/2009    Yes         1,718      Property Tax       Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Viles & Beckman, LLC         Michael Beckman, Esq.                 (239) 334-3933   michael@vilesandbeckman.
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $150,977.84                                                                      LARRIVIERE CHRISTOPHER R                                           Tax Records + Title/Deed         12/19/2007              6/15/2011                                        6350 Presidential Court                                com                               $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33919
  656    Ex 10/79   Dos Ramos, Jose J. Pereira       10841 NW 79 Street           Doral             FL      33178   [III], [VII], [XV],       10/7/2009    Yes         1,894      Property Tax       Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                            JOSE JOAO PEREIRA DOS                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98           $168,528.12                                                                                                         Owner as of 6/9/15              City or County Tax Records        10/9/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                            RAMOS                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  657    Ex 10/79   Dos Santos, Ana S. Sanches,      8415 NW 113th Place          Doral             FL      33178   [XV], [XVI],              7/5/2011     Yes         2,390       Benchmark         Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                    Migel Borturiera                                                                                [XVII]                                                          Inspection                                                                                                                                            MIGUEL BOUTUREIRA                                                                                                                               Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98           $212,662.20                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          2/20/2007           Current Owner                                                                                                                             $135,440.29
                                                                                                                                                                                  Report Using                                                                                                                                            SANCHEZ                                                                                                                                         Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Zillow.com for                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  658    RP         Dow, Jared                       172 S.E. 2nd Street          Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,398      Property Tax       Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [VII], [XV],                                                    Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.82              $90.08           $125,931.84                                                                      VAZ,JOSUE S                                                        Tax Records + Title/Deed         < 6/12/2012            12/10/2014                                                                                                                                 $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  659    Ex 10/79   Dowell, Darren and Kim           421 Lavoisier Street         Gretna            LA      70053   [III], [VII], [XV],       10/7/2009    Yes         2,315        Appraisal        Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                  (504) 581-9065   srb@mbfirm.com
                                                                                                                    [XVI], [XVII]                                                Showing Floor                                                                                                                                                                               Previous Owner, Unknown                                                                                                                   338 Lafayette Street
                                                                                                                                                                                                                      0.86              $94.47           $218,698.05                                                                      FAITH FRIEDMAN                                                     Tax Records + Title/Deed            2008                                                                                                                                                           $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                             Purchase Date                                                                                                                             New Orleans, LA 70130
                                                                                                                                                                                     Footage
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 20 of 82



Claimant Source     Claimant Name                    Affected Property Address     City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified     Type of             Counsel's                                                               Product Brand(s)   Type of Indicia       Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                      2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation        Declaration                        2017 Cost Per SF   2017 Remediation                                            from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                    Residential Location                                                                                                                   Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                  Omni                 Footage      Provided            Verifying                        [B = A x $109.85]       Damages                                                 Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                          Factor                                                                                                                     May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to       Square Footage                                              [SF x B]                                                Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                            [A]
                                                                                                                                                                                    Sharefile
  660    Ex 10/79   Downey, Brent and Tina           1308 Maplewood Drive          Harvey            LA      70058   [XIII], [XV],             7/5/2011     Yes         1,688        Other                Yes                                                                   Taihe              Photo                 18             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                     [XVI], [XVII]                                                                                         0.86               $94.47           $159,465.36                                                                          BRENT DOWNEY                       Owner as of 6/9/15              Tax Records + Title/Deed          7/10/1996           Current Owner                                         701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70147
  661    Ex 10/79   Downing, Kenneth and Maria       10540 E. Park Avenue          Port St. Lucie    FL      34987   [II(C)], [III],           10/7/2009    Yes         2,570     Builder's Floor         Yes                                                                   Taishan            Photo                 2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                      Plan                                                                                                                                                         KENNETH J DOWNING (TR)                                                                                                                          Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                           0.82               $90.08           $231,505.60                                                                                                             Owner as of 6/9/15              City or County Tax Records       10/31/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                  MARIA F DOWNING (TR)                                                                                                                            Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Dallas, TX 75219
  662    Ex 10/79 & Driskell, Jamie                  4150 Bismarck Palm Dr.        Tampa             FL      33610   [XIII], [XV],             7/5/2011     Yes         1,692      Property Tax           Yes                                                                   Taishan            Photo                 1              H                                                                                                                                                           Lucas Magazine                 Martin Macyszyn, Esq.               (727) 849-5353   martin@lgmlawgroup.com
         Omni XX                                                                                                     [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                                                                                                                                                                     Liberty Professional Building
                                                                                                                                                                                                                           0.83               $91.18           $154,276.56                                                                          DRISKELL JAMIE                     Owner as of 6/9/15              City or County Tax Records        4/13/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                     [XX]                                                         Document with                                                                                                                                                                                                                                                                                                                                     8606 Government Drive
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                    New Port Richey, FL 34654
  663    Ex 10/79   Dryman, Lauren f/k/a Bove,       10211 Avelar Ridge Drive      Riverview         FL      33578   [II(C)], [III(A)],        9/16/2010    Yes         1,715      Property Tax           Yes                                                                   Taishan            Photo                 8              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                    EVANS PAUL L EVANS                 Previous Owner, Did Not Own
                    Lauren                                                                                           [IX], [XV],                                                    Assessor's                             0.83               $91.18           $156,373.70                                                                                                                                             Tax Records + Title/Deed         11/29/2006              3/25/2013                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                    MEGAN N                            Property on 6/9/15
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                                    Bonita Springs, FL 34134
  664    Ex 10/79   Duarte, Jennifer M.              3317 Corinne Drive            Chalmette         LA      70043   [XV], [XVI],              7/5/2011     Yes         1,100      Property Tax           Yes                                                                   Crescent City      Photo                 27             D                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                     [XVII]                                                         Assessor's                             0.86               $94.47           $103,917.00                                                                          DUARTE, JENNIFER MARIE             Owner as of 6/9/15              City or County Tax Records         7/1/2008           Current Owner                                         820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113
  665    Ex 10/79   Duckett, Larry and Lori          332 Granite Circle            Albertville       AL      35950   [III], [IX], [XV],        10/7/2009    Yes         1322       Property Tax           Yes                                                                   Taihe              Photo                 9, 19, 20      I, J                                                                                                                                                        Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                         Previous Owner, Did Not Own                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                           0.82               $90.08           $119,085.76                                                                          BRITT, VERA                                                        Tax Records + Title/Deed          6/22/2007                2009                                                                                                                                     $0.00
                                                                                                                     [XXI]                                                        Document with                                                                                                                                                                                        Property on 6/9/15                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage
  666    Ex 10/79   Dudreck, Albert and Thomas       10622 Camarelle Circle        Ft. Myers         FL      33913   [II(C)], [III],           10/7/2009    Yes         1,692      Property Tax           Yes                                                                   Taishan            Photo                 2, 9           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                    DUDRECK THOMAS A
                                                                                                                     [XV], [XVI],                                                   Assessor's                             0.80               $87.88           $148,692.96                                                                                                             Owner as of 6/9/15              City or County Tax Records        6/30/2006           Current Owner                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                    +DUDRECK ALBERT W J/T
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                    Bonita Springs, FL 34134
  667    Ex 10/79   Dumas, Bertrand and Pamela       11130 Winchester Park Drive   New Orleans       LA      70128   [XIII], [XV],             7/5/2011     Yes         4,215      Property Tax           Yes                                                                   Taihe              Photo                 18             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                    DUMAS BERTRAND P
                                                                                                                     [XVI], [XVII]                                                  Assessor's                             0.86               $94.47           $398,191.05                                                                                                             Owner as of 6/9/15              City or County Tax Records       12/30/1994           Current Owner                                         701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                    DUMAS PAMELA F
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70148
  668    RP         Dumas, John                      10560 Stephanie Way Unit 1-   Port St. Lucie    FL      34987   [III(A)], [IX],           9/16/2010    Yes         1,448      Property Tax           Yes                                                                   Taishan            Photo                 12             L                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                                    THOMAS O FITZPATRICK
                                                     104                                                             [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                                     Baron & Budd
                                                                                                                                                                                                                           0.82               $90.08           $130,435.84                                                                          PATRICK A BRADY                    Owner as of 6/9/15              City or County Tax Records         3/9/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                    3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                    JOHN DUMAS
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                   Dallas, TX 75219
  669    RP         Dunaway, Lisa and Jason          27037 Flaggy Run Road         Courtland         VA      23837   [II], [XV], [XVI],        3/15/2010    Yes         1,864      Property Tax           Yes                                                                   Venture Supply     Delivery Invoice/     40             K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                     Photo                                            MAYO MALCOLM & RIDDICK- Previous Owner, Did Not Own                                                                                             Serpe                          580 East Main Street, Suite 310
                                                                                                                                                                                                                           0.95               $104.36          $194,527.04                                                                                                                                             City or County Tax Records        8/29/2006              9/11/2012                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                     MAYO ETHEL W            Property on 6/9/15                                                                                                                                     Norfolk, VA 23510
                                                                                                                                                                                  Square Footage
  670    Ex 10/79   Duncan, Brian                    1408 Cypress Avenue           Virginia Beach    VA      23451   [XIII], [XV],             7/5/2011     Yes         3,836     Builder's Floor         Yes                                                                   Venture Supply     Delivery Invoice/     40             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                     Plan                                                                                                        Photo                                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                           0.94               $103.26          $396,105.36                                                                          BRIAN DUNCAN                       Owner as of 6/9/15              City or County Tax Records        5/13/2011           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Richard J. Serpe               Coral Gables, FL 33134
  671    Ex 10/79   Dunn, Jeffrey                    8170 N. View Boulevard        Norfolk           VA      23518   [II], [XV], [XVI],        3/15/2010    Yes         2,420       Property Tax          Yes                                                                   Venture Supply     Porter-Blaine job     N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                          Assessor's                                                                                                    sheet showing                                                                       Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                           0.94               $103.26          $249,889.20                                                                          ZERISHNEK-GOWER, JANICE                                            City or County Tax Records        4/17/2006              1/20/2016                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                    Venture Supply                                                                      Owns Property                                                                                                Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                   drywall delivery to                                                                                                                                                                              Richard J. Serpe               Coral Gables, FL 33134
  672    Ex 10/79   Dunn, Keith and Crystal          11547 Hammocks Glade Drive    Riverview         FL      33569   [II(C)], [III], [IX],     10/7/2009    Yes         1,140       Property Tax          Yes                                                                   Taishan            Photo                 2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                    Assessor's                            0.83               $91.18           $103,945.20                                                                          MAPES KIRSI M                                                      Tax Records + Title/Deed           4/4/2007              6/30/2011                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                    Bonita Springs, FL 34134
  673    Ex 10/79   Durrance, Barry and Denise       18030 Driftwood Lane          Lutz              FL      33558   [II(C)], [III],           10/7/2009    Yes         3,417       Property Tax          Yes                                                                   Taihe              Photo                 21             I                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [VII], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                                                                    27300 Riverview Center Blvd
                                                                                                                                                                                                                           0.83               $91.18           $311,562.06                                                                          DURRANCE BARRY C                   Owner as of 6/9/15              City or County Tax Records        7/12/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                                    Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage
  674    Ex 10/79   Duvernay, Victor                 5115 Chamberlin Street        New Orleans       LA      70122   [IX], [XV],               5/5/2011     Yes         1,374       Property Tax          Yes                                                                   Taihe              Photo                 20             I                                                                                                                                                           Hurricane Legal Center, LLC    Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                        Previous Owner, Did Not Own                                                                                                                 Young Law Firm
                                                                                                                                                                                                                           0.86               $94.47           $129,801.78                                                                          GREGOIRE KRISTIE LEBEAU                                            City or County Tax Records       11/14/2007              6/19/2014                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                        Property on 6/9/15                                                                                                                          1010 Common St., Suite 3040
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70112
  675    RP         Dwight, Randy and Hutchinson, 12430 SW 50th Street #127        Miramar           FL      33027   [II], [XIII], [XV],       3/15/2010    Yes         1,481       Property Tax          Yes                                                                   Taihe              Photo                 14, 18         H, I                                                                                                                                                        Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Mercedes                                                                                         [XVI], [XVII]                                                   Assessor's                                                                                                                                                     DWIGHT,RANDY &                                                                                                                                                                 255 Alhambra Circle, PH
                                                                                                                                                                                                                           0.81               $88.98           $131,779.38                                                                                                             Owner as of 6/9/15              City or County Tax Records        4/23/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                     HUTCHINSON,MERCEDES                                                                                                                                                            Coral Gables, FL 33134
                                                                                                                                                                                  Square Footage
  676    RP         Dykes, Jacob and Anny            1690 Montague Street          Leeds             AL      35094   [IX], [XV],               5/5/2011     Yes         1,956        Appraisal            Yes                                                                   Taihe              Photo                 17             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII],                                               Showing Floor                            0.84               $92.27           $180,480.12                                                                          TURNER JESSE                                                       City or County Tax Records        6/17/2009              8/30/2013                                          900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                     [XXI]                                                        Plan and Square                                                                                                                                                                                                                                                                                                                                  Raleigh, NC 27603
  677    RP         Early, Amanda and Peter          15828 Caloosa Creek Circle    Ft. Myers         FL      33908   [II], [VII], [XV],        3/15/2010    Yes         2,518       Property Tax          Yes                                                                   IMT                Photo                 33             F                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                        Previous Owner, Did Not Own                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                           0.80               $87.88           $221,281.84                                                                          ALBACH JAMES TR                                                    Tax Records + Title/Deed          9/30/2005              3/26/2010                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                        Property on 6/9/15                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage
  678    Ex 10/79   Eastman, Julie Mae, as Trustee   7050 Ambrosia Lane Unit #3408 Naples            FL      34119   [XIII], [XV],             7/5/2011     Yes         1,828       Property Tax          Yes                                                                   Taishan            Photo                 12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000     jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                            0.80               $87.88           $160,644.64                                                                          EASTMAN TR, JULIE MAE              Owner as of 6/9/15              City or County Tax Records        9/28/2009           Current Owner                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    Bonita Springs, FL 34134
  679    RP         Eck, August and Tina             3910 Embers Parkway           Cape Coral        FL      33933   [II(A)], [XV],            9/16/2010    Yes         2,378       Property Tax          Yes                                                                   ProWall            Photo                 43, 44         G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                        Previous Owner, Did Not Own                                                                                                                 12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                           0.80               $87.88           $208,978.64                                                                          MIELE GIUSEPPE                                                     Tax Records + Title/Deed           6/8/2005              4/29/2013                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                        Property on 6/9/15                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                  Square Footage
  680    Ex 10/79   Edgerly, Lyle and Leslie         9618 Hildreth Road            Perdido Beach     AL      36530   [XIII], [XV],             7/5/2011     Yes         2640       Builder's Floor        Yes                                                                   Taihe              Photo                 20             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                     [XVI], [XVII],                                                     Plan                                                                                                                                                        STEPHENS, THOMAS G ETAL            Owner as of 6/9/15, No Longer                                                                                                               316 South Baylen St.
                                                                                                                                                                                                                           0.84               $92.27           $243,592.80                                                                                                                                             City or County Tax Records          2007                2015-2016                                                                                                                                   $0.00
                                                                                                                     [XXI]                                                                                                                                                                                                                          STEPHENS                           Owns Property                                                                                                                               Pensacola, FL 32502

  681    Ex 10/79   Edmonds, Rick                    801 Holly Street              Richmond          VA      23220   [II], [XIII], [XV],       3/15/2010    Yes         1,728      Property Tax           Yes                                                                   Venture Supply     Delivery Invoice/     38, 39         K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                     Photo                                            BAMBERGER ROBERT A &               Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                           0.96               $105.46          $182,234.88                                                                                                                                             City or County Tax Records        7/26/2006              3/24/2015                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                     ROBIN W & ROBERT H                 Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                    Richard J. Serpe               Coral Gables, FL 33134
  682    Ex 10/79   Edouard, Louis and Kathleen      815 King Leon Way             Sun City Center   FL      33573   [IX], [XV],               5/5/2011     Yes         1,760      Property Tax           Yes                                                                   Taishan            Photo                 2, 6           J           EDOUARD LOUIS TRUSTEE                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                             0.83               $91.18           $160,476.80                                                                          EDOUARD KATHLEEN                   Owner as of 6/9/15              City or County Tax Records        6/30/2008           Current Owner                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                                     TRUSTEE                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  683    Ex 10/79   Edwards, Cecile                  1006 Bristol Greens Court     Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,322      Property Tax           Yes                                                                   Chinese            Photo                 37             C                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                             0.83               $91.18           $120,539.96      Manufacturer 2                                                      EDWARDS CECILE B TRUSTEE Owner as of 6/9/15                        City or County Tax Records       10/20/2005           Current Owner                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    Fort Lauderdale, FL 33301-3434
  684    Ex 10/79   Edwards, Franklin                703 Clay Street               Marion            AL      36756   [XIII], [XV],             7/5/2011     Yes         5504       Property Tax           Yes                                                                   Taihe              Photo                 20             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                             0.83               $91.18           $501,854.72                                                                          EDWARDS, FRANKLIN                  Owner as of 6/9/15              Property Tax                                          Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    650
  685    Add.       Edwards, Norma                   1050 NW Leonardo Circle       Port St. Lucie    FL      34986   [IX], [XV],               5/5/2011     Yes         2,236      Property Tax           Yes                                                                   IMT                Photo                 30             F                                                                                                                                                           Roberts & Durkee               C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                       Owner as of 6/9/15, No Longer
         Taishan                                                                                                     [XVI], [XVII]                                                  Assessor's                             0.82               $90.08           $201,418.88                                                                          US BANK TRUST NA (TR)                                              City or County Tax Records        2/28/2007             10/21/2016                                          2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                       Owns Property
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                                    300
  686    RP         Edwards, Richard                 1629 SW 14th Place            Cape Coral        FL      33991   [II], [XV], [XVI],        3/15/2010    Yes         1,375      Property Tax           Yes                                                                   Taishan            Photo                 2, 6           J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                             0.80               $87.88           $120,835.00                                                                          ROSSI PAUL F JR & JEAN                                             Tax Records + Title/Deed          11/6/2002              2/9/2011                                           12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    Fort Myers, FL 33907
  687    RP         Egermayer, Craig                 21705 First Street            Silverhill        AL      36576   [XV], [XVI],              7/5/2011     Yes         1,404      Property Tax           Yes                                                                   Taihe              Photo                 17             I                                                                                                                                                           Gentle, Turner & Sexton        K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                                                                                                                                                                                                                                                                                                                                                    BURGETT, WILLIAM V ETAL            Previous Owner, Did Not Own
                                                                                                                     [XVII], [XXI]                                                  Assessor's                             0.84               $92.27           $129,547.08                                                                                                                                             Tax Records + Title/Deed           3/7/2007              7/29/2014                                          501 Riverchase Parkway East,                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                    BURGETT                            Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    Suite 100
  688    RP         Eggeling, William                6231 NW Hacienda Lane         Port St. Lucie    FL      34986   [XIII], [XV],             7/5/2011     Yes         2,415      Property Tax           Yes                                                                   Taishan            Photo                 2, 5, 11       J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                      WILLIAM P KRICK                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                           0.82               $90.08           $217,543.20                                                                                                                                             City or County Tax Records        7/11/2008              3/2/2012                                                                                                                                   $0.00
                                                                                                                                                                                  Document with                                                                                                                                                     SHANNON A KRICK                    Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                   Dallas, TX 75219
  689    RP         Ehrsam, Howard and Lisa          10320 S.W. Stephanie Way,     Port St. Lucie    FL      34987   [III], [VII], [XV],       10/7/2009    Yes         1,231      Property Tax           Yes                                                                   Taishan            Photo                 12             L                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                     Unit 209                                                        [XVI], [XVII]                                                  Assessor's                                                                                                                                                      DADDY MACK PROPERTIES              Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                           0.82               $90.08           $110,888.48                                                                                                                                             City or County Tax Records        4/27/2006             12/22/2011                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                     LLC                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                   Dallas, TX 75219
  690    Ex 10/79   Eide, Stale and Anne             1201 Magnolia Alley           Mandeville        LA      70471   [II(B)], [VII],           12/6/2010    Yes         2,016     Builder's Floor         Yes                                                                   Taihe              Photo                 14             H                                                                                                                                                           The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                      Plan                                0.79               $86.78           $174,948.48                                                                          HALLAL, BRETT ANDREW                                               Tax Records + Title/Deed          5/11/2007             12/27/2011                                          701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans LA 70130
  691    RP         Eldurone, Florencia              1623 Roosevelt Avenue         Lehigh            FL      33972   [III(A)], [XV],           9/16/2010    Yes         2,363     Builder's Floor         Yes                                                                   Taishan            Photo                 12             L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                    SYVERSON CATHY + SMITH             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                     Plan                                0.80               $87.88           $207,660.44                                                                                                                                             Tax Records + Title/Deed          1/28/2004              4/26/2011                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                    TOBY T/C                           Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Fort Myers, FL 33907
  692    Ex 10/79   Elias, Mark                      3028 Ivy Place                Chalmette         LA      70043   [II], [VII], [XV],        3/15/2010    Yes         1,966        Appraisal            Yes                                                                   Crescent City      Photo                 27             D                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                Showing Floor                            0.86               $94.47           $185,746.91                                                                          ELIAS, MARK A.                     Owner as of 6/9/15              City or County Tax Records        9/29/2011           Current Owner                                         425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                                  LaPlace, LA 70064
  693    Ex 10/79   El-Khoury, Amine                 8121 NW 108th Place           Doral             FL      33178   [XIII], [XV],             7/5/2011     Yes         1,894       Property Tax          Yes                                                                   Dragon Brand       Photo                 25, 26         A                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                                See Kore
                                                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                                     Budd, P.C. Alters Boldt        Baron & Budd                                                                                            Development, LLC on
                                                                                                                                                                                                                           0.81               $88.98           $168,528.12                                                                          KORE DEV GROUP LLC                 Owner as of 6/9/15              Tax Records + Title/Deed           9/4/2010           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                     Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100                                                                           OCXX
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                   Dallas, TX 75219
  694    RP         Ellington, Peter and Robyn       1213 NW 37 Place              Cape Coral        FL      33993   [II], [XIII], [XV],       3/15/2010    Yes         2,233      Builder's Floor        Yes                                                                   Taishan            Photo                 2, 6           J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                      Plan                               0.80               $87.88           $196,236.04                                                                          DICK RANDY + SHELLEY                                               Tax Records + Title/Deed         10/16/2006              11/9/2012                                          255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Coral Gables, FL 33134
  695    RP         Elliott, Mary                    2996 Centerwood Drive         Jacksonville      FL      32218   [III], [XV],              10/7/2009    Yes         1,459      Property Tax           Yes                                                                   Taishan            Photo                 12             L                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                             0.82               $90.08           $131,426.72                                                                          AMH 2014 1 BORROWER LLC                                            City or County Tax Records        8/17/2005              2/2/2011                                           701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70149
  696    Ex 10/79   Elliott, Roger and Allison       2003 SW Laredo Street         Stuart            FL      34994   [II], [IX], [XV],         3/15/2010    Yes         3,479      Property Tax           Yes                                                                   Taishan            Photo                 2              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                             0.82               $90.08           $313,388.32                                                                          BOOTH-ELLIOTT ALLISON J            Owner as of 6/9/15              City or County Tax Records         5/6/2005           Current Owner                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                                    Fort Lauderdale, FL 33301-3434
                                                                                                                            Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 21 of 82



Claimant Source     Claimant Name                      Affected Property Address       City               State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                     2017 RS Means
Identifier                                                                                                                                         Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                   Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                       Omni                 Footage       Provided      Verifying                       [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                         Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                        Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                           [A]
                                                                                                                                                                                          Sharefile
  697    Ex 10/79   Ellison, Kenton and Tammy          3637 Shellcracker Drive         Lake Wales         FL      33898   [XV], [XVI],              7/5/2011     Yes         1,269      Property Tax      Yes                                                                  BNBMDB             Photo              25             A                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                          [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                           12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                          0.80                $87.88          $111,519.72                                                                       ELLISON KENTON M                   Owner as of 6/9/15              City or County Tax Records        12/6/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                       Square Footage
  698    Ex 10/79   Ellison, Maynard and David         6060 Jonathan’s Bay Circle,     Ft. Myers          FL      33908   [IX], [XV],               5/5/2011     Yes         2,162     Builder's Floor    Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                FEDERAL NATIONAL                   Owner as of 6/9/15, No Longer
                                                       Unit 202                                                           [XVI], [XVII]                                                     Plan                          0.80                $87.88          $189,996.56                                                                                                                                          City or County Tax Records        6/15/2006             12/20/2016                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                MORTGAGE ASSN                      Owns Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Bonita Springs, FL 34134
  699    Ex 10/79   Elly, Ernest and Portia            4516 Desire Drive               New Orleans        LA      70126   [XV], [XVI],              7/5/2011     Yes         1,561      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                          [XVII]                                                         Assessor's                        0.86               $94.47          $147,467.67                                                                       ELLY ERNEST A                      Owner as of 6/9/15              Mortgage Documents                 9/3/2003           Current Owner                                        820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  700    Ex 10/79   Eltahawy, Sherif and Leyon,        2195 3rd Lane SW                Vero Beach         FL      32962   [II(B)], [III(A)],        9/16/2010    Yes         2,325     Builder's Floor    Yes                                                                  IMT                Photo              30             F                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                    Mikhail                                                                                               [VII], [XV],                                                      Plan                           0.84               $92.27          $214,527.75                                                                       LEYON, MIKHAIL (25%) &             Owner as of 6/9/15              Tax Records + Title/Deed         10/17/2007           Current Owner                                        900 W. Morgan Street                                                                    $0.00
                                                                                                                          [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
  701    Ex 10/79   Elzie, Henry and Edna              1335 Alvar Street               New Orleans        LA      70117   [IX], [XV],               5/5/2011     Yes         1,248      Property Tax      Yes                                                                  Taihe/ Crescent    Photo              17, 27         D, I                                                                                                                                                        Hurricane Legal Center, LLC   Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                          [XVI], [XVII]                                                  Assessor's                                                                            City                                                                                                                                                                                                                                           Young Law Firm
                                                                                                                                                                                                                                                                                                                                                ELZIE HENRY
                                                                                                                                                                                       Document with                       0.86               $94.47          $117,898.56                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/12/2000           Current Owner                                        1010 Common St., Suite 3040                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                ELZIE JEAN S
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112

  702    Ex 10/79   Emandez, Vincent and Doren         11310 Bridge Pine Drive         Riverview          FL      33569   [II], [XV], [XVI],        3/15/2010    Yes         2,283     Builder's Floor    Yes                                                                  Taishan            Photo              9              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                DOUGLAS JERMEY A                   Owner as of 6/9/15, No Longer
                                                                                                                          [XVII]                                                            Plan                           0.83               $91.18          $208,163.94                                                                                                                                          Tax Records + Title/Deed          8/29/2006              9/2/2016                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                DOUGLAS MELISSA E                  Owns Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
  703    Ex 10/79   Emerald Greens at Carrollwood, 13942 Clubhouse Drive (6B)          Tampa              FL      33618   [II(B)], [XV],            12/6/2010    Yes         2,403      Property Tax       Yes                                                                 Taishan            Photo              2, 6           J                                                                                                                                                           Cook Sadorf Law               Rick Sadorf, Esq.                 (727) 726-1514     rick@cooksadorf.com                                Declaration submitted
                    LLC                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                             BROOKS WALTER F BROOKS             Previous Owner, Did Not Own                                                                                                                1744 N. Belcher Rd., Suite 150                                                                          by attorney under
                                                                                                                                                                                                                           0.83               $91.18          $219,105.54                                                                                                                                          Tax Records + Title/Deed          8/25/2005              7/12/2011                                                                                                                                 $0.00
                                                                                                                                                                                       Document with                                                                                                                                            MARY H                             Property on 6/9/15                                                                                                                         Clearwater, FL 33765                                                                                    Brooks, Walter and
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                                                                                                                                 Mary
  704    Ex 10/79   Emerald Greens at Carrollwood, 4143 Courtside Way (2C)             Tampa              FL      33618   [II(B)], [XV],            12/6/2010    Yes         2,403      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Cook Sadorf Law               Rick Sadorf, Esq.                   (727) 726-1514   rick@cooksadorf.com                                Declaration submitted
                    LLC                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                                1744 N. Belcher Rd., Suite 150                                                                          by attorney under Russ
                                                                                                                                                                                                                           0.83               $91.18          $219,105.54                                                                       MELTON KREG A                                                      Tax Records + Title/Deed          8/25/2005              7/2/2011                                                                                                                                  $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                         Clearwater, FL 33765                                                                                    Cruse and Black Jung
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                                                                                                                                 Sun
  705    Ex 10/79   Emerald Greens at Carrollwood, 4145 Courtside Way (2B)             Tampa              FL      33618   [II(B)], [XV],            12/6/2010    Yes         2,582      Property Tax       Yes                                                                 Taishan            Photo              2, 6           J                                                                                                                                                           Cook Sadorf Law               Rick Sadorf, Esq.                   (727) 726-1514   rick@cooksadorf.com                                Declaration submitted
                    LLC                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                             CRUSE RUSS                         Previous Owner, Did Not Own                                                                                                                1744 N. Belcher Rd., Suite 150                                                                          by attorney under
                                                                                                                                                                                                                           0.83               $91.18          $235,426.76                                                                                                                                          Tax Records + Title/Deed          8/25/2005              7/12/2011                                                                                                                                 $0.00
                                                                                                                                                                                       Document with                                                                                                                                            BLACK JUNG SUN                     Property on 6/9/15                                                                                                                         Clearwater, FL 33765                                                                                    Melton, Kreg A.
                                                                                                                                                                                       Square Footage
  706    Ex 10/79   Encalade, Letitia and Thorne,      5520 Ricket Drive               New Orleans        LA      70126   [III(A)], [VII],          9/16/2010    Yes         1,649      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                    Dontroy                                                                                               [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $155,781.03                                                                       TRAN RICKY                                                         City or County Tax Records        2/21/2007                                                                425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                          [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  707    Ex 10/79   Eng, James and Yvonne              2520 Cape Coral Parkway         Cape Coral         FL      33914   [IX], [XV],               5/5/2011     Yes         3,716     Builder's Floor    Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                ENG JAMES + YVONNE +
                                                                                                                          [XVI], [XVII]                                                     Plan                           0.80               $87.88          $326,562.08                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          5/29/1997           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                ENG JONATHAN J/T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
  708    Ex 10/79   Engasser, Paul and Patricia        1451 NW 39th Avenue             Cape Coral         FL      33993   [II(C)], [III],           10/7/2009    Yes         2,233     Builder's Floor    Yes                                                                  Taishan            Photo              12             L           ENGASSER PAUL P &                                                                                                                               Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                          [VII], [XV],                                                      Plan                                                                                                                                                PATRICIA TR                                                                                                                                     Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                           0.80               $87.88          $196,236.04                                                                                                          Owner as of 6/9/15              City or County Tax Records        7/20/2004           Current Owner                                                                                                                                $0.00
                                                                                                                          [XVI], [XVII]                                                                                                                                                                                                         FOR ENGASSER FAMILY                                                                                                                             Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                TRUST                                                                                                                                                                         Dallas, TX 75219
  709    Ex 10/79   England, Charles P., Sr.           2516 Reunion Drive              Violet             LA      70092   [II(B)], [II(C)],         10/7/2009    Yes         1,092      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                          [III], [XV],                                                   Assessor's                        0.86               $94.47          $103,161.24                                                                       ENGLAND, CHARLES P., SR.           Owner as of 6/9/15              City or County Tax Records        12/5/2006           Current Owner                                        900 W. Morgan Street                                                                    $0.00
                                                                                                                          [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
  710    RP         Englander, Mark                    1690 Renaissance Commons        Boynton Beach      FL      33426   [II(B)], [III],           10/7/2009    Yes         1,240     Builder's Floor    Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                REN LEMIN                          Previous Owner, Did Not Own
                                                       Blvd., Unit 1508                                                   [XV], [XVI],                                                      Plan                           0.82               $90.08          $111,699.20                                                                                                                                          Tax Records + Title/Deed          4/12/2007              3/14/2014                                         900 W. Morgan Street                                                                  $93,871.48
                                                                                                                                                                                                                                                                                                                                                WU ZHIFENG &                       Property on 6/9/15
                                                                                                                          [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Raleigh, NC 27603
  711    Ex 10/79   Englert, Thomas and Karen          1657 SW Mackey Avenue           Port St. Lucie     FL      33973   [III], [XV],              10/7/2009    Yes         2,386      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                           0.80               $87.88          $209,681.68                                                                       ANDREW HEIDEBRECHT                                                 City or County Tax Records        2/27/2007              7/13/2015                                                                                                                                 $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                               Owns Property                                                                                                Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  712    Ex 10/79   Enterprising Management Group, 7000 West 12 Avenue, Suite 4        Hialeah            FL      33014   [XV], [XVI],              7/5/2011     Yes         2,887     Builder's Floor    Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Allison Grant, P.A.           Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    LLC                                                                                                   [XVII]                                                            Plan                                                                                                                                                ENTERPRISING                                                                                                                                                                  14 Southeast 4th Street
                                                                                                                                                                                                                           0.81               $88.98          $256,911.95                                                                                                          Owner as of 6/9/15              City or County Tax Records        4/10/2001           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                MANAGEMENT GROUP LLC                                                                                                                                                          Boca Raton, Florida 33432

  713    Add.       Entrust (Edward Adams)             11843 Bayport Lane 801          Fort Myers         FL      33908   [II(C)], [IX],            1/24/2011    Yes         2,203      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                HALL JOSEPH P + PARODI             Previous Owner, Did Not Own
         Taishan                                                                                                          [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $193,599.64                                                                                                                                          Tax Records + Title/Deed          10/2/2006              3/25/2014                                        27300 Riverview Center Blvd                                                           $129,842.00
                                                                                                                                                                                                                                                                                                                                                CARLA C H/W                        Property on 6/9/15
         Prop.                                                                                                            [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  714    Ex 10/79   Ercolino, Vincent                  1690 Renaissance Commons        Boynton Beach      FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                       Blvd., Unit 1206                                                   [XVII]                                                            Plan                           0.82               $90.08          $111,699.20                                                                       ERCOLINO, VINCENT                  Owner as of 6/9/15              City or County Tax Records        4/18/2007           Current Owner                                       900 W. Morgan Street                                                                   $93,912.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Raleigh, NC 27603
  715    Ex 10/79   Erickson, William Charles          161 Partridge Street            Lehigh Acres       FL      33974   [IX], [XV],               5/5/2011     Yes         1,448      Property Tax      Yes                                                                  ProWall            Photo              43             G           ERICKSON WILLIAM C +                                                                                                                            Seeger Weiss                 Christopher Seeger, Esq.             (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                          [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $127,250.24                                                                       ERICKSON ANGELINE                  Owner as of 6/9/15              City or County Tax Records        9/18/2009           Current Owner                                       77 Water Street                                                                          $0.00
                                                                                                                                                                                       Document with                                                                                                                                            BILLONES H/W                                                                                                                                                                 New York, NY 10005
  716    RP         Escalona, Ileana and Delgado,      8141 W 36th Avenue #4           Hialeah            FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Ruben                                                                                                 [VII], [XV],                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                           0.81               $88.98          $120,656.88                                                                       FOM 1 LLC                                                          City or County Tax Records        1/25/2008              11/6/2014                                                                                                                                 $0.00
                                                                                                                          [XVI], [XVII]                                                Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  717    Ex 10/79   Escorcia, David and Tricia         2216 Half Section Line Road     Albertville        AL      35950   [XV], [XVI],              7/5/2011     Yes         1520       Property Tax      Yes                                                                  Taihe              Photo              20, 21         I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                          [XVII]                                                         Assessor's                        0.82               $90.08          $136,921.60                                                                       GASKIN, JOSHUA R                                                   Tax Records + Title/Deed         12/17/2009              2/5/2015                                         2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                         650
  718    Ex 10/79   Escudie, Mary                      4724 Butler National Drive      Wesley Chapel      FL      33543   [IX], [XV],               5/5/2011     Yes         2,488     Builder's Floor    Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                CHATAWA EQUIANO &                  Previous Owner, Did Not Own
                                                                                                                          [XVI], [XVII]                                                     Plan                           0.83               $91.18          $226,855.84                                                                                                                                          Tax Records + Title/Deed          8/22/2008              1/17/2014                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                FLORA W                            Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Bonita Springs, FL 34134
  719    Ex 10/79   Espinal, Jeffrey Byrne, Patricia   4615 Town Creek Drive           Williamsburg       VA      23188   [II(A)], [XIII],          9/16/2010    Yes         3,072      Property Tax      Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                          [XV], [XVI],                                                   Assessor's                                                                                                                                             ESPINAL, JACK L & BYRNE,                                                                                                                        Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                           0.96              $105.46          $323,973.12                                                                                                          Owner as of 6/9/15              City or County Tax Records        5/25/2006           Current Owner                                                                                                                                $0.00
                                                                                                                          [XVII]                                                       Document with                                                                                                                                            PATRICIA A                                                                                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  720    Add.       Ess (deceased) , Thomas/Judy       3131 Sea Trawler Bend, #4,      North Fort Myers   FL      33903   [XV], [XVI],              7/5/2011     Yes         2,063      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
         Taishan                                       North Fort Myers, FL 33903                                         [XVII]                                                         Assessor's                        0.80               $87.88          $181,296.44                                                                       BURNETT BRIAN D                                                    Tax Records + Title/Deed          1/19/2007              1/22/2014                                        12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
         Prop.                                                                                                                                                                         Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  721    RP         Estadt, Barry and Jean             529 Rimini Vista Way            Sun City Center    FL      33571   [II], [IX], [XV],         3/15/2010    Yes         2,140      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                   (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                SPANGARD ROBERT D                  Previous Owner, Did Not Own
                                                                                                                          [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $195,125.20                                                                                                                                          Tax Records + Title/Deed          12/1/2006              4/15/2014                                        12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                SPANGARD EVELYN D                  Property on 6/9/15
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
  722    Ex 10/79   Estes, Jeffrey                     308 Preservation Reach          Chesapeake         VA      23320   [II], [XV], [XVI],        3/15/2010    Yes         2,933      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                          [XVII]                                                         Assessor's                                                                                               Property Assessment                                                                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                           0.94              $103.26          $302,861.58                                                                       ESTES JEFFREY F                    Owner as of 6/9/15              City or County Tax Records       12/26/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  723    Ex 10/79   Estrela, Jose Antonio and Maria 1690 Renaissance Commons           Boynton Beach      FL      33426   [XV], [XVI],              7/5/2011     Yes         1,119     Builder's Floor    Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                    Agostinha Estrela as Trustees of Blvd., Unit 1423                                                     [XVII]                                                            Plan                                                                                                                                                ESTRELA FAMILY LIVING                                                                                                                                                        900 W. Morgan Street
                    the Estrela Family Living Trust                                                                                                                                                                        0.82               $90.08          $100,799.52                                                                       TRUST; ESTRELA, JOSE A TR; Owner as of 6/9/15                      City or County Tax Records         4/1/2008           Current Owner                                       Raleigh, NC 27603                                                                      $99,427.30
                    under agreement dated the 1st                                                                                                                                                                                                                                                                                               ESTRALA MARIA A TR
                    day of April, 2008
  724    Ex 10/79   Etter, Steven and Cathy          18894 SE Jupiter Inlet Way        Tequesta           FL      33469   [IX], [XV],               5/5/2011     Yes         4,389      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Mrachek, Fitzgerald, Rose,   Gregory Weiss, Esq.                  (561) 355-6993   gweiss@mrachek-law.com
                                                                                                                                                                                                                                                                                                                                                CORNS DANIEL W CORNS               Owner as of 6/9/15, No Longer
                                                                                                                          [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $395,361.12                                                                                                                                          City or County Tax Records        12/8/2004              9/27/2016           Konopka, Thomas & Weiss,     505 S. Flagler Drive, Suite 600                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                JESSICA L                          Owns Property
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                            P.A.                         West Palm Beach, FL 33401
  725    RP         Evans, Cassie                      4321 Eleanors Way               Williamsburg       VA      23188   [II], [XV], [XVI],        3/15/2010    Yes          944       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                          [XVII]                                                         Assessor's                        0.96              $105.46           $99,554.24                                                                       PINE TREE LLC                                                      City or County Tax Records        2/21/2008              9/23/2014           Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
  726    Ex 10/79   Evans, Donald and Barbara          13944 Clubhouse Drive           Tampa              FL      33618   [II(C)], [III], [IX],     10/7/2009    Yes         2,582      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                          [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $235,426.76                                                                       NEGLIO JOHN J                                                      Tax Records + Title/Deed          8/16/2006             12/17/2014                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                          [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  727    Ex 10/79   Evans, Jamie Lynn                  7505 Mercury Drive              Violet             LA      70092   [II], [IX], [XV],         3/15/2010    Yes         1,879      Property Tax      Yes                                                                  Taihe              Photo              14             H                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                                                                   Current Owner, Acquired
                                                                                                                          [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $177,509.13                                                                       EVANS, JAMIE LYNN                                                  City or County Tax Records         9/6/2015           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property after 6/9/15
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                         303
  728    Ex 10/79   Evans, Ronald                      9235 Olive Street               New Orleans        LA      70118   [III], [VII], [XV],       10/7/2009    Yes         1,757      Property Tax      Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                           0.86               $94.47          $165,983.79                                                                       EVANS RONALD G                     Owner as of 6/9/15              City or County Tax Records         9/9/2002           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                         425 W. Airline Hwy, Suite B
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
  729    Ex 10/79   Evans, Wessels and Pauline         5235 Skyline Blvd.              Cape Coral         FL      33914   [II(A)], [XV],            9/16/2010    Yes         2,386      Property Tax      Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                                                                                           0.80               $87.88          $209,681.68                                                                       EVANS WESSELS + PAULINE            Owner as of 6/9/15              City or County Tax Records        6/25/2008           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
                                                                                                                                                                                       Square Footage
  730    Ex 10/79   Everard, Elliott and Angelia       3000 N. Palm Drive              Slidell            LA      70458   [III], [VII], [XV],       10/7/2009    Yes         3,377      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Gainsburgh Benjamin        Gerald Meunier, Esq.                   (504) 522-2304   gmeunier@gainsben.com
                                                                                                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                        2800 Energy Centre
                                                                                                                                                                                                                           0.79               $86.78          $293,056.06                                                                       EVERARD, ELLIOTT J ETUX            Owner as of 6/9/15              Mortgage Documents                  2009              Current Owner                                                                                                                                $0.00
                                                                                                                                                                                       Document with                                                                                                                                                                                                                                                                                                                       1100 Poydras Street
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                      New Orleans, LA 70163
  731    Ex 10/79   Everett, Michael                   202 Allison Circle              Gulfport           MS      39503   [III], [IX], [XIII],      10/7/2009    Yes         1,180      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Gentle, Turner & Sexton    K. Edward Sexton, II                   (205)-716-3000   esexton@gtandslaw.com
                                                                                                                          [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                        501 Riverchase Parkway East,
                                                                                                                                                                                                                           0.84               $92.27          $108,878.60                                                                       EVERETT MICHAEL J                  Owner as of 6/9/15              City or County Tax Records                            Current Owner                                                                                                                                $0.00
                                                                                                                          [XVII], [XXIII]                                              Document with                                                                                                                                                                                                                                                                                                                       Suite 100
                                                                                                                                                                                       Square Footage                                                                                                                                                                                                                                                                                                                      Hoover, AL 35244
  732    Ex 10/79   Everette, Charles and Eugene,      393 Rothley Avenue              Fairhope           AL      36532   [VII], [XV],              1/14/2011    Yes         2530       Property Tax      Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                    (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                                                                   Owner as of 6/9/15, No Longer
                    Dawn Newell                                                                                           [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $233,443.10                                                                       FST JDC PROPERTIES L L C                                           City or County Tax Records        1/22/2008              3/14/2016           Irby                       905 Montgomery Highway, Suite                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Owns Property
                                                                                                                          [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                       201
  733    Ex 10/79   Ewald, Thomas and Christina        6050 Jonathan’s Bay, Unit 401   Ft. Myers          FL      33908   [II(C)], [III],           10/7/2009    Yes         1,789      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Parker Waichman            Jerrold Parker, Esq.                   (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                EWALD THOMAS D + GRECO
                                                                                                                          [VII], [XV],                                                   Assessor's                        0.80               $87.88          $157,217.32                                                                                                          Owner as of 6/9/15              City or County Tax Records        5/19/2006           Current Owner                                     27300 Riverview Center Blvd                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                CHRISTINA L H/W
                                                                                                                          [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                       Bonita Springs, FL 34134
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 22 of 82



Claimant Source     Claimant Name                    Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                    Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                       Sharefile
  734    Ex 10/79   Ewell, Timothy and Abby          1638 Cicero Court               Chesapeake        VA      23322   [II(C)], [XIII],          1/24/2011    Yes         4,510      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.             (305) 476-7400    patrick@colson.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                               Property Assessment                          EWELL M TIMOTHY & ABBY                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94               $103.26          $465,702.60                                                                                                         Owner as of 6/9/15              City or County Tax Records        5/18/2006           Current Owner                                                                                                                               $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                           EH                                                                                                                                              Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
  735    Ex 10/79   Eyrich, Lillian                  130 22nd Street                 New Orleans       LA      70124   [IX], [XV],               5/5/2011     Yes         1,938      Property Tax     Yes                                                                   Taihe              Photo             21             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300    DBarrios@bkc-law.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $183,082.86                                                                      EYRICH LILLIAN E                   Owner as of 6/9/15              City or County Tax Records        6/13/2001           Current Owner                                         701 Poydras Street, Suite 3650                                                        $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70150
  736    Ex 10/79   Ezeogu, Franklin                 3506 E. 11th Ave.               Tampa             FL      33605   [XV], [XVI],              7/5/2011     Yes         1,200      Property Tax     Yes                                                                   Taihe              Photo             18             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                           12800 University Drive, Suite 600                   m
                                                                                                                                                                                    Document with                      0.83                $91.18          $109,416.00                                                                      EZEOGU FRANKLEIN E                 Owner as of 6/9/15              City or County Tax Records        11/9/2007           Current Owner                                         Fort Myers, FL 33907                                                                  $0.00
                                                                                                                                                                                    Square Footage

  737    Ex 10/79   Fadl, Yahya and Nawal            5301 Center Street              Williamsburg      VA      23188   [II(A)], [XV],            9/16/2010    Yes         2,352      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                          DRYDEN, DAVID NICHOLAS & Owner as of 6/9/15, No Longer                                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.96              $105.46          $248,041.92                                                                                                                                         City or County Tax Records        4/25/2007              8/21/2015                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                           RITA ENNIS               Owns Property                                                                                                          Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
  738    Ex 10/79   Falgout, Christopher             2005 Flamingo Drive             St. Bernard       LA      70085   [III(A)], [XV],           9/16/2010    Yes         2,450      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                                        0.86               $94.47          $231,451.50                                                                      FALGOUT, CHRISTOPHER A.            Owner as of 6/9/15              City or County Tax Records         6/7/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  739    Ex 10/79   Falls, Jameson and Lauren        852 Barkley Drive               Alabaster         AL      35007   [III], [VII], [XV],       10/7/2009    Yes         2889       Property Tax      Yes                                                                  Taihe              Photo             19             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $266,568.03                                                                      ROBINSON JOAUNKA                                                   City or County Tax Records        9/29/2005             10/15/2010                                        900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                       [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
  740    Ex 10/79   Farley, Nancy A.                 551 NE 61 Terrace               Ocala             FL      34470   [III], [XV],              10/7/2009    Yes         1,975      Property Tax      Yes                                                                  Chinese            Photo             37             C                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                            Manufacturer 2                                                  ORLANDO REALTY GROUP               Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98          $175,735.50                                                                                                                                         Tax Records + Title/Deed          6/30/2000             12/19/2016                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                           LLC                                Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
  741    Ex 10/79   Farley, Patrick, Michael and     9013 Amour Drive                Chalmette         LA      70043   [III], [IX], [XV],        10/7/2009    Yes         2,100      Property Tax      Yes                                                                  Taihe              Photo             13, 17         I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Josephine                                                                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.86               $94.47          $198,387.00                                                                      SERIGNE, ROSS                                                      City or County Tax Records        7/16/1997             11/22/2016                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                              Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  742    Ex 10/79   Farve, Crystal                   5032 Sixth Street               Bay St. Louis     MS      39520   [III], [XV],              10/7/2009    Yes         1,920      Property Tax      Yes                                                                  Taihe              Photo             19             I                                                                                                                                                           Reeves & Mestayer            Jim Reeves, Esq.                     (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                                                                                                                                                                                               Current Owner, Unknown
                                                                                                                       [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $177,158.40                                                                      FAVRE JOHN S ETUX                                                                                                        Current Owner                                       160 Main St                                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                               Purchase Date
                                                                                                                       [XX], [XXXI]                                                 Document with                                                                                                                                                                                                                                                                                                                         Biloxi, MS 39530
  743    Ex 10/79   Fatta, Joseph and Tracy          2622 College Street             Slidell           LA      70458   [II], [XV], [XVI],        3/15/2010    Yes         2,890      Property Tax      Yes                                                                  Taishan            Photo             7              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                       [XVII]                                                         Assessor's                        0.79               $86.78          $250,750.81                                                                      FATTA, JOSEPH A ETUX               Owner as of 6/9/15              Tax Records + Title/Deed                              Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
  744    Ex 10/79   Feldkamp, Andrew and Dawn        5237 Butte Street               Lehigh Acres      FL      33971   [XV], [XVI],              7/5/2011     Yes         1,968      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            PARISH RUSDIANA S + WEIL           Owner as of 6/9/15, No Longer
                                                                                                                       [XVII]                                                         Assessor's                        0.80               $87.88          $172,947.84                                                                                                                                         City or County Tax Records         8/4/2008              9/24/2015                                        12800 University Drive, Suite 600                     m                                 $0.00
                                                                                                                                                                                                                                                                                                                                            RICHARD A                          Owns Property
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  745    RP         Felix, Bruno                     11102 NW 83rd Street #106       Doral             FL      33178   [II(B)], [XIII],          12/6/2010    Yes         1,207      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                            MELQUIADES RAFAEL PEREZ Previous Owner, Did Not Own                                                                                             Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $107,398.86                                                                                                                                         Tax Records + Title/Deed          2/15/2008              1/19/2012                                                                                                                                $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                           LARA                    Property on 6/9/15                                                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  746    Ex 10/79   Feltner, Donna                   4139 Constantine Loop           Wesley Chapel     FL      33543   [II(B)], [III],           10/7/2009    Yes         1,776      Property Tax      Yes                                                                  Taishan            Photo             7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            FELTNER DONNA M TRUST
                                                                                                                       [VII], [XV],                                                   Assessor's                        0.83               $91.18          $161,935.68                                                                                              Owner as of 6/9/15                         City or County Tax Records        8/15/2008           Current Owner                                       12800 University Drive, Suite 600                     m                                 $0.00
                                                                                                                                                                                                                                                                                                                                            FELTNER DONNA M TRUSTEE
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  747    RP         Fenalson, Jarred and Rochelle    10440 SW Stephanie Way, Unit Port St. Lucie       FL      34987   [II], [II(B)], [VII],     3/15/2010    Yes           0        Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com                               See Promenade at
                                                     212                                                               [IX], [XV],                                                    Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd                                                                                            Tradition
                                                                                                                                                                                                                        0.82               $90.08             $0.00                                                                         RAYL ENTERPRISES LLC                                               City or County Tax Records        7/19/2006             12/30/2011                                                                                                                                $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  748    RP         Fernandez, Frederico and Maria 8061 W 36th Avenue #1             Hialeah           FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,464      Property Tax      Yes                                                                  IMT                Photo             33             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [XV],                                                   Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $130,266.72                                                                      ANAYANSY RAMOS                                                     City or County Tax Records         2/1/2007              9/25/2014                                                                                                                                $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  749    Ex 10/79   Fernandez, Hely and Fuermayor, 15090 SW 16th Street              Davie             FL      33326   [III(A)], [IX],           9/16/2010    Yes         4,339      Property Tax      Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Carmen                                                                                             [XV], [XVI],                                                   Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $386,084.22                                                                      SRZMIA 1 LLC                                                       Tax Records + Title/Deed           8/4/2006              5/31/2016                                                                                                                                $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                              Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  750    Ex 10/79   Fernandez, Victor and Iris       402 Lincoln Blvd.               Lehigh Acres      FL      33936   [II(B)], [XV],            12/6/2010    Yes         1,936      Property Tax      Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            FERNANDEZ VICTOR R +
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $170,135.68                                                                                                         Owner as of 6/9/15              City or County Tax Records         4/7/2003           Current Owner                                       12800 University Drive, Suite 600                     m                                 $0.00
                                                                                                                                                                                                                                                                                                                                            FERNANDEZ IRIS T/C
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  751    Ex 10/79   Ferrara, Elena                   8031 W. 36th Avenue #4          Hialeah           FL      33018   [IX], [XV],               5/5/2011     Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $120,656.88                                                                      ELENA RODRIGUEZ FERRARA Owner as of 6/9/15                         City or County Tax Records        3/28/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  752    Ex 10/79   Sheridan Beach Club               509 E. Sheridan Street, #308   Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Taihe              Photo             14             H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                            FERRARI, ERCOLE AND                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $102,327.00                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          4/13/2007           Current Owner                                                                                                                               $0.00
                    Inc. (Ferrari, Ercole and Divina)                                                                                                                               Document with                                                                                                                                           DIVINA                                                                                                                                          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  753    Ex 10/79   Ferrer, Haydee                   10845 NW 79 Street              Miami             FL      33178   [III], [VII], [XV],       10/7/2009    Yes         1,683      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98          $149,753.34                                                                      HAYDEE M FERRER                    Owner as of 6/9/15              Tax Records + Title/Deed         10/19/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
  754    RP         Ferrigno, Joseph and Christina   3713 Embers Parkway             Cape Coral        FL      33993   [II(B)], [IX],            12/6/2010    Yes         2,380      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            CONCHA MARIANA +                   Previous Owner, Did Not Own
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $209,154.40                                                                                                                                         Tax Records + Title/Deed          6/21/2004              9/25/2013                                        12800 University Drive, Suite 600                     m                                 $0.00
                                                                                                                                                                                                                                                                                                                                            EXPOSITO BERNIE J/T                Property on 6/9/15
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  755    Ex 10/79   Ferroni, Peter and Christian     188 SE 2nd Street               Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,398      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [XV],                                                   Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $125,931.84                                                                      LEMA INVESTMENTS II LLC                                            Tax Records + Title/Deed           7/9/2007             10/17/2015                                                                                                                                $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                              Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
  756    Ex 10/79   Fields, Lawrence                 384 Hunter Avenue               Pass Christian    MS      39571   [III(A)], [VII],          9/16/2010    Yes         1,372      Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Hawkins Gibson               Edward Gibson, Esq.                  (228) 467-4225   egibson@hgattorneys.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.84               $92.27          $126,594.44                                                                      FIELDS DONNA -EST-                 No Record of Ownership          City or County Tax Records                                                                                153 Main St                                                                             $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Bay St Louis, MS 39520
  757    RP         Figueroa, Ramon and Lillian      4230 Tyler Circle               St. Petersburg    FL      33771   [II(A)], [XV],            9/16/2010    Yes         1,685      Property Tax      Yes                                                                  Taihe              Photo             18, 20, 21     I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                               12800 University Drive, Suite 600                     m
                                                                                                                                                                                                                        0.82               $90.08          $151,784.80                                                                      MORAL, JACOB                                                       Tax Records + Title/Deed          2/28/2007              4/12/2013                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                                    Square Footage
  758    Ex 10/79   Filardo, Thomas and Thomas, Jr. 182 SE 2nd Street                Deerfield Beach   FL      33441   [II], [VII], [XV],        3/15/2010    Yes         1,398      Property Tax      Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                            FILARDO,THOMAS C &                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $125,931.84                                                                                                         Owner as of 6/9/15              City or County Tax Records         9/5/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                           FILARDO,THOMAS JR                                                                                                                               Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  759    Ex 10/79   Findorf, Fredene                 2608 Creely Drive               Chalmette         LA      70043   [IX], [XV],               5/5/2011     Yes         1,536      Property Tax      Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $145,105.92                                                                      FINDORFF, FREDENE MORIN            Owner as of 6/9/15              City or County Tax Records        1/29/2009           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                      $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          303
  760    Ex 10/79   Finn, Dale and Evelyn, Glenn     8848 Cobblestone Pointe Circle Boynton Beach      FL      33472   [II(A)], [XV],            9/16/2010    Yes         4,272      Property Tax      Yes                                                                  Dragon Brand/      Photo             25             A                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                            BNBMDB                                                                                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                    Document with                       0.82               $90.08          $384,821.76                                                                      EVELYN GLEN                        Owner as of 6/9/15              Tax Records + Title/Deed          4/25/2007           Current Owner                                         3102 Oak Lawn Ave., Ste. 1100                                                         $0.00
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219

  761    Ex 10/79   First Baptist Church of Seminole, 32619 Browns Landing Road      Seminole          AL      36574   [XV], [XVI],              7/5/2011     Yes         5716       Property Tax      Yes                                                                  Taihe              Photo             17, 20         I                                                                                                                                                           Daniell, Upton & Perry, P.C.   Jonathan Law                       (251) 625-0046   JRL@dupm.com
                    Alabama, Inc. a/k/a Seminole                                                                       [XVII], [XXI]                                                  Assessor's                                                                                                                                            FIRST BAPTIST CHURCH OF                                                                                                                                                        30421 State Highway 181
                                                                                                                                                                                                                        0.84               $92.27          $527,415.32                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed            2007              Current Owner                                                                                                                               $0.00
                    Baptist Church c/o Pastor                                                                                                                                       Document with                                                                                                                                           SEMINOLE                                                                                                                                                                       Daphne, Alabama 36527
                    Raymond Williamson                                                                                                                                              Square Footage
  762    RP         First CZ Real Estate, LLC         1909 SW 25th Street            Cape Coral        FL      33914   [II(A)], [XV],            9/16/2010    Yes         1,718      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            LIGHTNER KEITH R &                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $150,977.84                                                                                                                                         Tax Records + Title/Deed          1/23/2009              9/30/2010                                          12800 University Drive, Suite 600                   m                                 $0.00
                                                                                                                                                                                                                                                                                                                                            MARIAH M                           Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  763    RP         Fischer, Dirk                    424 NW 38th Avenue              Cape Coral        FL      33993   [IX], [XV],               5/5/2011     Yes         1,807      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Roberts & Durkee               C. David Durkee, Esq.             (305) 442-1700    durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $158,799.16                                                                      DEYOUNG DENNIS CYRIL JR                                            Tax Records + Title/Deed         12/24/2008              2/22/2013                                          2665 South Bayshore Drive Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          300
  764    Ex 10/79   Fisher, Regina                   1518 Thompson Ave               Lehigh Acres      FL      33972   [XV], [XVI],              7/5/2011     Yes         1,875      Property Tax      Yes                                                                  ProWall            Photo             43, 44         G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000    jerry@yourlawyer.com
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                           27300 Riverview Center Blvd
                                                                                                                                                                                                                        0.80               $87.88          $164,775.00                                                                      FISHER REGINA J                    Owner as of 6/9/15              Tax Records + Title/Deed          7/17/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                    Square Footage
  765    Ex 10/79   Flaherty, Catherine              3501 Grassglen Place            Wesley Chapel     FL      33544   [IX], [XIII],             5/5/2011     Yes         3,073      Property Tax      Yes                                                                  C&K                Photo             34             B                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Owner as of 6/9/15, No Longer
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $280,196.14                                                                      STEPHENS SEAN & SIMONE                                             Tax Records + Title/Deed          2/25/2009              4/24/2017                                          27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                               Owns Property
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  766    RP         Flaherty, Sean                   1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [III], [XV],        10/7/2009    Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                            GOROVETS IZYA &                    Previous Owner, Did Not Own
                                                     Blvd., Unit 1402                                                  [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $111,699.20                                                                                                                                         Tax Records + Title/Deed          4/12/2007              6/28/2011                                          900 W. Morgan Street                                                               $100,566.97
                                                                                                                                                                                                                                                                                                                                            GOROVETS LYUDMILA                  Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
  767    RP         Flanagan, Robert                 4501 Olive Drive                Meraux            LA      70075   [XV], [XVI],              7/5/2011     Yes         1,600      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com                            See Barbara Civello on
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                         Assessor's                        0.86               $94.47          $151,152.00                                                                      CIVELLO, BARBARA MOLERO                                            City or County Tax Records         3/1/2011             12/12/2014           Torres, III                    8301 W. Judge Perez Drive, Suite                                                      $0.00           OCXX
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          303
  768    Ex 10/79   Flax, Yvonne                     2700 Edna Street                New Orleans       LA      70126   [XV], [XVI],              7/5/2011     Yes         1,490      Property Tax      Yes                                                                  Taihe              Photo             19, 20         I                                                                                                                                                           Barrios, Kingsdorf & Casteix                                      (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                            FLAX YVONNE A                                                                                                                                                                  Dawn M. Barrios, Esq.
                                                                                                                                                                                                                        0.86               $94.47          $140,760.30                                                                                                         Owner as of 6/9/15              City or County Tax Records        2/29/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                           PRICE SYLVIA                                                                                                                                                                   701 Poydras Street, Suite 3650
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70151
  769    Ex 10/79   Flint, Joseph and Sloan, Danielle 1192 S.W. Kickaboo Road        Port St. Lucie    FL      34953   [III], [VII], [XV],       10/7/2009    Yes         2,143      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $193,041.44                                                                      KINO RICHARDSON                                                    City or County Tax Records        3/27/2008             11/24/2015                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                              Owns Property                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 23 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                                Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
  770    Ex 10/79   Flores, David and Vasquez,      8936 SW 228th Lane             Miami             FL      33190   [III], [XV],            10/7/2009    Yes         2,445      Property Tax     Yes                                                                   Taishan            Photo              8              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                    Monica                                                                                           [XVI], [XVII]                                                Assessor's                       0.81                $88.98          $217,556.10                                                                       NEW LAND SERVICES LLC                                              Tax Records + Title/Deed           7/2/2007              8/28/2012           Adelman LLP                  2665 South Bayshore Drive Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         300
  771    Ex 10/79   Flot, Denise                    2501-2503 Elder Street         New Orleans       LA      70122   [II(A)], [XV],          9/16/2010    Yes         2,055      Property Tax     Yes                                                                   Crescent City      Photo              27             D                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                       0.86                $94.47          $194,135.85                                                                       FLOT DENISE R                      Owner as of 6/9/15              City or County Tax Records        8/30/1995           Current Owner                                       338 Lafayette Street                                                                   $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70130
  772    RP         Floyd, Leroy and Bernadette     2602 Rhode Island Avenue       Fort Pierce       FL      34947   [II], [IX], [XV],       3/15/2010    Yes         2,086      Property Tax     Yes                                                                   Taishan            Photo              2, 9           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                Assessor's                       0.82                $90.08          $187,906.88                                                                       JOSEPH G HAYEK                                                     City or County Tax Records        2/17/1996              5/27/2014                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
  773    Ex 10/79   Fluence, Joseph                 2716 Veronica Drive            Chalmette         LA      70043   [II], [IX], [XV],       3/15/2010    Yes         1,784      Property Tax     Yes                                                                   Crescent City      Photo              27             D                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                Assessor's                       0.86                $94.47          $168,534.48                                                                       HUYNH, LINH & QUACH, LOI                                           City or County Tax Records        3/12/2007              4/7/2014                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  774    Ex 10/79   Fluharty, Carson and Charlene   1706 Graduate Way              Pensacola         FL      32514   [III], [VII], [XV],     10/7/2009    Yes         2,913      Property Tax     Yes                                                                   Taihe              Photo              20             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                                                                                                                                             FLUHARTY CARSON L &                                                                                                                                                          316 South Baylen St.
                                                                                                                                                                                                                   0.85                $93.37          $271,986.81                                                                                                          Owner as of 6/9/15              City or County Tax Records       11/30/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                Document with                                                                                                                                            CHARLENE F                                                                                                                                                                   Pensacola, FL 32502
                                                                                                                                                                                Square Footage
  775    Ex 10/79   Fong, Charmaine                 9816 Cobblestone Lakes Court   Boynton Beach     FL      33472   [II], [XIII], [XV],     3/15/2010    Yes         3,731      Property Tax     Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                   0.82                $90.08          $336,088.48                                                                       FONG CHARMAINE                     Owner as of 6/9/15              City or County Tax Records        7/27/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  776    Ex 10/79   Fontana, Patricia               2509 Mumphrey Road             Chalmette         LA      70043   [III], [XV],            10/7/2009    Yes         1,344      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                        0.86               $94.47          $126,967.68                                                                       FONTANA, PATRICIA BRYAN            Owner as of 6/9/15              City or County Tax Records        2/22/2002           Current Owner                                       701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70152
  777    Ex 10/79   Fontenot, Perry and Cassandra   1016 Hollymeade Circle         Newport News      VA      23602   [II], [XV], [XVI],      3/15/2010    Yes         2,227      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                       Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.95              $104.36          $232,409.72                                                                       KINSMAN GREGORY S,                                                 City or County Tax Records         9/5/2006              9/3/2015                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                               Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  778    RP         Forest, Gerard and Hopal        564 Conover Avenue             Palm Bay          FL      32907   [VII], [XV],            1/14/2011    Yes         2,185      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                                                                                                                                             USHER, ADAM S; USHER,              Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.84               $92.27          $201,609.95                                                                                                                                          Tax Records + Title/Deed          9/15/2004              3/24/2014                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                            ALYSON R                           Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  779    RP         Forman, Stephen and Beverly     254 Mestre Place               North Venice      FL      34275   [IX], [XV],             5/5/2011     Yes         1,201      Property Tax      Yes                                                                  Venture Supply     Photo              39             K                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                Assessor's                        0.83               $91.18          $109,507.18                                                                       BLUE MOUNTAIN HOMES LLC                                            City or County Tax Records        6/29/2006              8/19/2014                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
  780    Ex 10/79   Forsyth, Nathan and Lanette     640 County Road 960            Crane Hill        AL      35053   [XV], [XVI],            7/5/2011     Yes         1500       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                                                                                                                                             FORSYTH, NATHAN                                                                                                                                                              2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.84               $92.27          $138,405.00                                                                                                          Owner as of 6/9/15              City or County Tax Records        5/21/2010           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                Document with                                                                                                                                            DOUGLAS & LANETTE                                                                                                                                                            650
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Birmingham, AL 35209
  781    Ex 10/79   Forsythe, Blaise and Patsy      2733 South Lake Blvd.          Violet            LA      70092   [II(A)], [VII],         9/16/2010    Yes         1,535      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XV], [XVI],                                                 Assessor's                        0.86               $94.47          $145,011.45                                                                       FORSYTHE, BLAISE A.                Owner as of 6/9/15              City or County Tax Records       11/13/1987           Current Owner                                       425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                     [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  782    Ex 10/79   Forte, John                     3002 Paris Road                Chalmette         LA      70043   [XIII], [XV],           7/5/2011     Yes         1,784      Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                                                            Owner as of 6/9/15, No Longer
                                                                                                                     [XVI], [XVII]                                                Assessor's                        0.86               $94.47          $168,534.48                                                                       COLT PROPERTIES, LLC                                               City or County Tax Records        8/14/2006              8/19/2015                                        855 Baronne Street                                   m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         New Orleans, 70113
  783    Ex 10/79   Foster, Gregg                   615-617 Memorial Drive         Sebring           FL      33870   [III], [IX], [XV],      10/7/2009    Yes         2,220      Property Tax      Yes                                                                  Taishan            Photo              1              H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                        0.80               $87.88          $195,093.60                                                                       G S F ENTERPRISE INC               Owner as of 6/9/15              City or County Tax Records        11/2/2006           Current Owner                                       27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  784    Ex 10/79   Foster, Van                     1514 11th Street N             Birmingham        AL      35204   [III], [VII], [XV],     10/7/2009    Yes         1414       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                               Assessor's                        0.84               $92.27          $130,469.78                                                                       GOOD OL'BOYS LLC                   Owner as of 6/9/15              Tax Records + Title/Deed           3/2/2007           Current Owner                                       900 W. Morgan Street                                                                   $0.00
                                                                                                                     [XXI]                                                      Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  785    Ex 10/79   Foster, Van                     1610 13th Street N             Birmingham        AL      35204   [II], [XV], [XVI],      3/15/2010    Yes         1490       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                     [XVII], [XXI]                                                Assessor's                        0.84               $92.27          $137,482.30                                                                       FOSTER VAN                         Owner as of 6/9/15              City or County Tax Records        2/12/2008           Current Owner                                       900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  786    Ex 10/79   Foster, William and Vicki       10814 Fortina Drive            Ft. Myers         FL      33913   [II], [III], [IX],      10/7/2009    Yes         1,823      Property Tax      Yes                                                                  Taishan            Photo              2, 3, 4, 9     J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XV], [XVI],                                                 Assessor's                        0.80               $87.88          $160,205.24                                                                       FOSTER WILLIAM P + VICKI D Owner as of 6/9/15                      City or County Tax Records        3/21/2007           Current Owner                                       12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                     [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  787    RP         Fowle, Amanda                   957 Hollymeade Circle          Newport News      VA      23602   [II], [XV], [XVI],      3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                         KEESEE MICHAEL S & GINA D Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                       Assessor's                        0.95              $104.36          $187,534.92                                                                                                                                          City or County Tax Records        4/27/2009             12/27/2012           Serpe                        580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                         KEESEE                    Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
  788    Ex 10/79   Fowler, Gerald and Darlene      1219 Gordon Oaks Drive         Plant City        FL      33563   [XV], [XVI],            7/5/2011     Yes         1,452      Property Tax      Yes                                                                  Taishan            Photo              5              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                       Assessor's                        0.83               $91.18          $132,393.36                                                                       OSBORNE KYLE                                                       Tax Records + Title/Deed          4/14/2006              4/4/2014                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  789    RP &       Fox, Edwin and Lisa             512 Southwest Camden Avenue Stuart               FL      34994   [XV], [XVI],            7/5/2011     Yes         2,520      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
         Omni XX                                                                                                     [XVII], [XX]                                                 Assessor's                        0.82               $90.08          $227,001.60                                                                       FORD JOSEPH J FORD JAE G                                           Tax Records + Title/Deed         10/17/2006              1/21/2014                                        900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  790    Ex 10/79   Foxwell, Craig and Linda        11207 Laurel Brook Court       Riverview         FL      33569   [VII], [XV],            1/14/2011    Yes         1,794      Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         METELLUS EMMANUEL                  Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                Assessor's                        0.83               $91.18          $163,576.92                                                                                                                                          Tax Records + Title/Deed          5/18/2006              5/1/2012                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                         EMURAT MARIE                       Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  791    Ex 10/79   Foxworth, Margie                360 Church Avenue              Pass Christian    MS      39571   [III], [XV],            10/7/2009    Yes         1,410      Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Reeves & Mestayer            Jim Reeves, Esq.                    (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                     [XVI], [XVII],                                               Assessor's                        0.84               $92.27          $130,100.70                                                                       FOXWORTH MARGIE OLIVIA             Owner as of 6/9/15              City or County Tax Records                            Current Owner                                       160 Main St                                                                            $0.00
                                                                                                                     [XX], [XXXI]                                               Document with                                                                                                                                                                                                                                                                                                                          Biloxi, MS 39530
  792    Add.       Francipane, Sal & Susan         4005 SW 23rd Avenue, Cape      Cape Coral        FL      33914   [II(B)], [III],         10/7/2009    Yes         2,248      Property Tax      Yes                                                                  Taishan            Photo              9, 12          J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                         FRANCIPANE SALVATORE L/E
         Taishan                                    Coral, FL 33914                                                  [VII],[XV],                                                  Assessor's                                                                                                                                                                                                                                                                                             Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80               $87.88          $197,554.24                                                                       + FRANCIPANE SUSAN H/W   Owner as of 6/9/15                        Tax Records + Title/Deed         12/23/2004           Current Owner                                                                                                                              $0.00
         Prop.                                                                                                       [XVI], [XVII]                                              Document with                                                                                                                                                                                                                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                         L/E
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  793    Ex 10/79   Francisco, Thomas and Jane      1728 Bobcat Trail              North Port        FL      34288   [II(B)], [III],         10/7/2009    Yes         2,570      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                 Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.83               $91.18          $234,332.60                                                                       FIRM LIFE INVESTMENTS LLC                                          Tax Records + Title/Deed           5/2/2008              5/2/2016                                                                                                                                $0.00
                                                                                                                     [XVI], [XVII]                                              Document with                                                                                                                                                                               Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  794    RP         Frank, David and Catherine      826 King Leon Way              Sun City Center   FL      33573   [III], [IX], [XV],      10/7/2009    Yes         1,910      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                Assessor's                        0.83               $91.18          $174,153.80                                                                       LE LONG MY LE NIM VY                                               Tax Records + Title/Deed          8/17/2006              9/30/2014                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
  795    Ex 10/79   Frank, Peter and Elizabeth      11230 North Idlewood Court     New Orleans       LA      70128   [VII], [XV],            1/14/2011    Yes         1,879      Property Tax      Yes                                                                  Taihe              Photo              17             I           FRANK PETER R JR                                                                                                                                Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                        0.86               $94.47          $177,509.13                                                                       FRANK ELIZABETH P                  Owner as of 6/9/15              City or County Tax Records         6/1/1998           Current Owner                                       425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                Document with                                                                                                                                            FRANK ELIZABETH P                                                                                                                                                            LaPlace, LA 70064
  796    Ex 10/79   Frankhouser, Roy and Mary       9853 Whipporwill Trail         Jupiter           FL      33478   [II], [XV], [XVI],      3/15/2010    Yes         4,055      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                       Assessor's                                                                                                                                             BOVA FRANK A & BOVA                Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.82               $90.08          $365,274.40                                                                                                                                          City or County Tax Records        5/10/2005              2/4/2016                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                            CLARA                              Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  797    RP         Franklin, Aileen and Thomas     17543 N.W. 91st Avenue         Miami             FL      33018   [IX], [XV],             5/5/2011     Yes         3,530      Property Tax      Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                Assessor's                                                                            Manufacturer 2                                                   EKLIS R ALMANZA                    Owner as of 6/9/15, No Longer                                                                                Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.81               $88.98          $314,099.40                                                                                                                                          City or County Tax Records         6/4/2004             11/19/2015                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                            JUAN E DIAZ GONZALEZ               Owns Property                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  798    Ex 10/79   Franklin, Allen and Tiffany     1133 NW 27th Court Cape        Cape Coral        FL      33993   [XV], [XVI],            7/5/2011     Yes         2,118      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J           LEGENDARY FUNDING                                                                                                                               Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Owner as of 6/9/15, No Longer
                                                                                                                     [XVII]                                                       Assessor's                        0.80               $87.88          $186,129.84                                                                       SOLUTIONS LL                                                       Tax Records + Title/Deed          1/23/2009              3/23/2017                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Owns Property
                                                                                                                                                                                Document with                                                                                                                                            RJJ INVESTMENTS LLC                                                                                                                                                          Fort Myers, FL 33907
  799    Ex 10/79   Franklin, Max                   1700 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1125       Property Tax      Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $103,803.75                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  800    Ex 10/79   Franklin, Max                   1701 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1374       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  801    Ex 10/79   Franklin, Max                   1702 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1456       Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $134,345.12                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  802    Ex 10/79   Franklin, Max                   1702 Tradition Way             Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1374       Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  803    Ex 10/79   Franklin, Max                   1703 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1406       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $129,731.62                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  804    Ex 10/79   Franklin, Max                   1704 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1332       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $122,903.64                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  805    Ex 10/79   Franklin, Max                   1705 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1183       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $109,155.41                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  806    Ex 10/79   Franklin, Max                   1706 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1195       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $110,262.65                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  807    Ex 10/79   Franklin, Max                   1706 Tradition Way             Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1374       Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  808    Ex 10/79   Franklin, Max                   1707 Tradition Court           Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1307       Property Tax      Yes                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $120,596.89                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
  809    Ex 10/79   Franklin, Max                   1708 Tradition Way             Phenix City       AL      36867   [XV], [XVI],            7/5/2011     Yes         1374       Property Tax      Yes                                                                  Taihe              Photo              20, 21         I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                       Assessor's                        0.84               $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 24 of 82



Claimant Source     Claimant Name                    Affected Property Address       City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
  810    Ex 10/79   Franklin, Max                    1709 Tradition Court            Phenix City      AL      36867   [XV], [XVI],              7/5/2011     Yes         1374       Property Tax     Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVII]                                                         Assessor's                       0.84                $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           650
  811    Ex 10/79   Franklin, Max                    1710 Tradition Way              Phenix City      AL      36867   [XV], [XVI],              7/5/2011     Yes         1374       Property Tax     Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVII]                                                         Assessor's                       0.84                $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           650
  812    Ex 10/79   Franklin, Max                    1712 Tradition Way              Phenix City      AL      36867   [XV], [XVI],              7/5/2011     Yes         1374       Property Tax     Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVII]                                                         Assessor's                       0.84                $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           650
  813    Ex 10/79   Franklin, Max                    1718 Tradition Way              Phenix City      AL      36867   [XV], [XVI],              7/5/2011     Yes         1374       Property Tax     Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVII]                                                         Assessor's                       0.84                $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           650
  814    Ex 10/79   Franklin, Max                    1816 Tradition Way              Phenix City      AL      36867   [XV], [XVI],              7/5/2011     Yes         1289       Property Tax     Yes                                                                   Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVII]                                                         Assessor's                       0.84                $92.27          $118,936.03                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           650
  815    Ex 10/79   Franklin, Max                    1821 Tradition Way              Phenix City      AL      36867   [XV], [XVI],              7/5/2011     Yes         1374       Property Tax     Yes                                                                   Taihe              Photo              20, 21         I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVII]                                                         Assessor's                       0.84                $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           650
  816    Ex 10/79   Franklin, Max (Max Franklin      1823 Tradition Way              Phenix City      AL      36867   [XV], [XVI],              7/5/2011     No          1374       Property Tax     Yes                                                                   Taihe              Photo              20, 21         I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                    Builders)                                                                                         [XVII]                                                         Assessor's                       0.84                $92.27          $126,778.98                                                                       MAX FRANKLIN BUILDER INC Owner as of 6/9/15                        Tax Records + Title/Deed         12/12/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           650
  817    RP         Frankze, Julianne and Joshua     1201 NW 2 Street                Cape Coral       FL      33993   [II], [XIII], [XV],       3/15/2010    Yes         1,806      Property Tax     Yes                                                                   Taishan            Photo              2, 9           J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                            HERTZER FAMILY                     Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $158,711.28                                                                                                                                          Tax Records + Title/Deed         12/18/2008              7/15/2011                                          255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                            REVOCABLE TRUST                    Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Coral Gables, FL 33134
  818    Ex 10/79   Frasiolas, Steve and Harriet     11436 Mountain Ash Circle       Port St. Lucie   FL      34987   [II(C)], [VII],           1/14/2011    Yes         2,137      Property Tax     Yes                                                                   IMT                Photo              33             F                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            STEVE FRASIOLAS
                                                                                                                      [IX], [XV],                                                    Assessor's                       0.82                $90.08          $192,500.96                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/28/2007           Current Owner                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                            HARRIET FRASIOLAS
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  819    Ex 10/79   Fraveletti, Frank and Carolann   203 SE 30th Terrace             Cape Coral       FL      33904   [XIII], [XV],             7/5/2011     Yes         1,998      Property Tax     Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            FRAVELETTI FRANK +
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $175,584.24                                                                                                          Owner as of 6/9/15              City or County Tax Records        12/1/2006           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                            CAROLANN
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
  820    RP         Frazier, Debra                   10231 Castlewood Drive          New Orleans      LA      70127   [II], [VII], [XV],        3/15/2010    Yes         1,346      Property Tax     Yes                                                                   Crescent City      Photo              27             D                                                                                                                                                           Reich & Binstock               Dennis Reich, Esq.                  (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                            AMBROSE EMILE A JR                 Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $127,156.62                                                                                                                                          City or County Tax Records        2/23/2000              5/10/2011                                          4265 San Felipe, Suite 1000                          om                                 $0.00
                                                                                                                                                                                                                                                                                                                                            AMBROSE MARY A                     Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Houston, TX 77027
  821    Ex 10/79   Frazier, Sr., Frank and Jessie   412 S. First Street             Pensacola        FL      32507   [XIII], [XV],             7/5/2011     Yes         1,620      Property Tax     Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.85                $93.37          $151,259.40                                                                       FRAZIER JESSIE A                   Owner as of 6/9/15              City or County Tax Records         3/8/1958           Current Owner                                         316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Pensacola, FL 32502
  822    Ex 10/79   Freel, Kevin                     2236 Soho Bay Court             Tampa            FL      33606   [II(C)], [III], [IX],     10/7/2009    Yes         2,155      Property Tax     Yes                                                                   Taihe              Photo              21             I                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                       0.83                $91.18          $196,492.90                                                                       SOHO REAL ESTATE LLC                                               Tax Records + Title/Deed          6/29/2007             10/24/2011                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  823    RP         Freeman, Carroll                 951 Hollymeade Circle           Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         2,267      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                            951 HOLLYMEADE CIRCLE              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                       0.95               $104.36          $236,531.94                                                                                                                                          City or County Tax Records        5/31/2007              3/18/2011           Serpe                          580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                            LLC                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
  824    Ex 10/79   Freijo, Isis                     8049 W 36th Avenue #7           Hialeah          FL      33018   [II(B)], [VII],           12/6/2010    Yes         1,344      Property Tax     Yes                                                                   Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.81                $88.98          $119,589.12                                                                       ISIS A FREIJO                      Owner as of 6/9/15              City or County Tax Records        12/8/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                            Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  825    Ex 10/79   Frelich, Kathy                   14059 Danpark Loop              Ft. Myers        FL      33912   [II(A)], [XV],            9/16/2010    Yes         1,830      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                             TURNER DANIEL MICHAEL + Owner as of 6/9/15, No Longer                                                                                                                          14 Southeast 4th Street
                                                                                                                                                                                                                       0.80              $87.88           $160,820.40                                                                                                                                          City or County Tax Records         5/6/2008              9/30/2015                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                            TURNER MELODY ELIZABETH Owns Property                                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
  826    Ex 10/79   Freudiger, George                135 S.W. 57th Terrace           Cape Coral       FL      33914   [IX], [XIII],             5/5/2011     Yes         2,402      Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                             FREUDIGER GEORGE R TR                                                                                                                           Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $211,087.76                                                                                                          Owner as of 6/9/15              City or County Tax Records        9/10/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                            FREUDIGER REV TRUST                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  827    Ex 10/79   Friel, Dan and Kathryn           6511 General Diaz Street        New Orleans      LA      70124   [III(A)], [XV],           9/16/2010    Yes         2,026      Property Tax      Yes                                                                  Taihe              Photo              17, 20         I                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                             FRIEL DANIEL P                                                                                                                                                                 338 Lafayette Street
                                                                                                                                                                                                                       0.86              $94.47           $191,396.22                                                                                                          Owner as of 6/9/15              City or County Tax Records        3/14/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                            FRIEL KATHRYN S                                                                                                                                                                New Orleans, LA 70130
                                                                                                                                                                                   Square Footage
  828    Ex 10/79   Frucht, Jeffrey                  5305 Center Street              Williamsburg     VA      23188   [II(A)], [XV],            9/16/2010    Yes         1,674      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                                                                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.96              $105.46          $176,540.04                                                                       FRUCHT, JEFFREY P                  Owner as of 6/9/15              City or County Tax Records       12/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  829    Ex 10/79   Frugard, Roy and Lori            4646 Lake Drive                 Virginia Beach   VA      23455   [II(A)], [XV],            9/16/2010    Yes         2,527      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94              $103.26          $260,938.02                                                                       LORI FRUGARD-DAVIDSON              Owner as of 6/9/15              City or County Tax Records        5/30/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  830    Ex 10/79   Fugazy, Lenni and Justin         157 SE 16th Terrace             Cape Coral       FL      33990   [II(C)], [III], [IX],     10/7/2009    Yes         1,718      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            DESCOTEAU TRAVIS CLAY +            Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $150,977.84                                                                                                                                          Tax Records + Title/Deed          8/28/2017             11/22/2013                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                            DESCOTEAU MELISSA ANN              Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  831    Ex 10/79   Fuller, David                    213 Wildlife Trace              Chesapeake       VA      23320   [IX], [XV],               5/5/2011     Yes         2,884      Property Tax      Yes                                                                  Venture Supply     Photo              40             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94              $103.26          $297,801.84                                                                       FULLER DAVID E                     Owner as of 6/9/15              City or County Tax Records         8/4/2010           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  832    RP         Fuller, John and Sandra          3452 Kentia Palm Court          North Port       FL      34288   [XV], [XVI],              7/5/2011     Yes         2,868      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            AGNEW JAMES E & AGNEW              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.83              $91.18           $261,504.24                                                                                                                                          City or County Tax Records        12/6/2006             12/21/2011                                        12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                            KAREN GARNER                       Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  833    Ex 10/79   Fulmer, Tiffani and Rory         3804 Holland Court              Phenix City      AL      36867   [III(A)], [XV],           9/16/2010    Yes         1312       Property Tax      Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Unknown
                                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $121,058.24      Manufacturer 2                                                   RENFROE JAMES RYAN                                                                                   3/28/2003                                                               27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                               Purchase Date
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
  834    RP         Fulton, David and Marjorie       3370 Montgomery Street          Mandeville       LA      70448   [IX], [XV],               5/5/2011     Yes         1154       Property Tax      Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com                                     BKC confirmed sq ft
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                            Manufacturer 2                                                                                                                                                                                                                                900 W. Morgan Street
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Unknown
                                                                                                                                                                                   Document with                       0.79              $86.78           $100,144.12                                                                       PENN, LESLIE ANN                                                   Tax Records + Title/Deed          6/27/2002                                                               Raleigh, NC 27603                                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                               Purchase Date
                                                                                                                                                                                   Square Footage

  835    Ex 10/79   Gaines, Timothy and Julia        5302 SW 27th Place              Cape Coral       FL      33914   [II(B)], [III],           10/7/2009    Yes         2,248      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $197,554.24                                                                       GAINES TIMOTHY A + JULIA A Owner as of 6/9/15                      City or County Tax Records        7/31/2002           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  836    Ex 10/79   Gainey, Billy C. and Kathryn     1831 Carriage Oak Court         Hartsville       SC      29550   [XIII], [XV],             7/5/2011     Yes         1,397      Property Tax      Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           Strom Law Firm, LLC          John Alphin, Esq.                     (803) 252-4800   jalphin@stromlaw.com
                                                                                                                                                                                                                                                                                                                                            CHAREST FRANCES N &                Previous Owner, Unknown
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.91              $99.96           $139,644.12                                                                                                                                          City or County Tax Records                                                                                2110 N Beltline Blvd                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                            JOSHUA A                           Purchase Date
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Columbia, SC 29204-3999
  837    RP         Gaita, Gina                      10480 SW Stephanie Way, Unit Port St. Lucie      FL      34986   [III], [XV],              10/7/2009    Yes           0        Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com                                 See Promenade at
                                                     #3-202                                                           [XVI], [XVII]                                                  Assessor's                        0.82              $90.08              $0.00                                                                          GINA C GAITA                       Owner as of 6/9/15              City or County Tax Records        8/10/2006           Current Owner                                       255 Alhambra Circle, PH                                                                   $0.00           Tradition
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Coral Gables, FL 33134
  838    Ex 10/79   Galanda, John and Margaret       186 Cedarwood Boulevard         Hertford         NC      27944   [II], [XV], [XVI],        3/15/2010    Yes         2,639      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII], [XXIV]                                                 Assessor's                                                                                               Property Assessment                           GALANDA, JOHN &                                                                                                                                 Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.92              $101.06          $266,697.34                                                                                                          Owner as of 6/9/15              City or County Tax Records        12/1/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                            MARGARET                                                                                                                                        Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  839    Ex 10/79   Galatas, Lloyd E. and Sherrie R. 4637 Mandeville Street          New Orleans      LA      70122   [VII], [XV],              1/14/2011    Yes         1,827      Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                            GALATAS SHERRIE R
                    Jr.                                                                                               [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $172,596.69                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/10/2013           Current Owner                                       820 O'Keefe Avenue                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                            GALATAS LLOYD E JR
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  840    Ex 10/79   Gale, Thomas and Dawn            614 Plum Street                 Cape Charles     VA      23310   [II(C)], [XV],            1/24/2011    Yes         1,672      Property Tax      Yes                                                                  Venture Supply     Photo              39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94              $103.26          $172,650.72                                                                       GALE, THOMAS M & DAWN M Owner as of 6/9/15                         City or County Tax Records        9/18/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  841    Ex 10/79   Galgano, Barbara and Peter       8105 Kirkcaldy Court            Williamsburg     VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         2,475      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                               Property Assessment                           GALGANO, PETER R JR &                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.96              $105.46          $261,013.50                                                                                                          Owner as of 6/9/15              City or County Tax Records        7/21/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                            BARBARA A                                                                                                                                       Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
  842    RP         Sheridan Beach Club              509 E. Sheridan, Unit 405       Dania Beach      FL      33004   [IX], [XV],               5/5/2011     Yes         1,575      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                         [XVI], [XVII]                                                  Assessor's                                                                                                                                             MOLINA-ARAGON                      Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $140,143.50                                                                                                                                          Tax Records + Title/Deed          4/13/2007             12/18/2013                                                                                                                                  $0.00
                    Inc. (Galiardo, Frederick and                                                                                                                                  Document with                                                                                                                                            INVESTMENT LLC                     Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                    Jeanne)                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  843    Ex 10/79   Gallacher, Michael and Baker,    8911 Cobblestone Point Circle   Boynton Beach    FL      33472   [II], [XV], [XVI],        3/15/2010    Yes         3,830      Property Tax      Yes                                                                  Dragon Brand       Photo              26             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Randall                                                                                           [XVII]                                                         Assessor's                                                                                                                                             BAKER RANDAL J                                                                                                                                                               Baron & Budd
                                                                                                                                                                                                                       0.82              $90.08           $345,006.40                                                                                                          Owner as of 6/9/15              City or County Tax Records        3/13/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                            GALLACHER MICHAEL &                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  844    Ex 10/79   Gallegos, Porfirio               16541 SW 62nd Street            Southwest Ranches FL     33331   [XIII], [XV],             7/5/2011     Yes         5,975      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                            GALLEGOS,PORFIRO R &
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $531,655.50                                                                       MARIA LE                           Owner as of 6/9/15              City or County Tax Records        4/28/2004           Current Owner                                                                                                                               $83,242.13
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                            GALLEGOS FAM REV LIV TR
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
  845    Ex 10/79   Gallucci, Gary and Patricia      10862 Tiberio Drive             Ft. Myers        FL      33913   [II], [VII], [IX],        3/15/2010    Yes         2,249      Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            GALLUCCI GARY A +
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $197,642.12                                                                                                          Owner as of 6/9/15              City or County Tax Records        4/27/2007           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                            PATRICIA M
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
  846    RP         Galmiche, Stephen and Tiffany    3516 Jacob Drive                Chalmette        LA      70043   [III], [VII], [XV],       10/7/2009    Yes         1,854      Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                    (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $175,147.38                                                                       LE, PENNY                                                          City or County Tax Records        3/24/2008              6/25/2010                                        4265 San Felipe, Suite 1000                            om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Houston, TX 77027
  847    Ex 10/79   Galvis, Luis and Beatriz         9669 Cobblestone Creek Drive    Boynton Beach    FL      33472   [III], [IX], [XV],        10/7/2009    Yes         3,731      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                             GALVIS BEATRIZ                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.82              $90.08           $336,088.48                                                                                                          Owner as of 6/9/15              City or County Tax Records        7/20/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                            GALVIS LUIS &                                                                                                                                   Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 25 of 82



Claimant Source     Claimant Name                   Affected Property Address     City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
  848    RP         Gandy, Tappan                   1215 Avondale Lane            Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,897      Property Tax     Yes                                                                   Venture Supply     Photo               40             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                         Assessor's                       0.95               $104.36          $197,970.92                                                                        PAYNE DEMETRIUS                                                    City or County Tax Records        5/12/2009             10/31/2011           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
  849    Ex 10/79   Garcia, Alexander and Sylvia    8049 West 36th Avenue, Unit #1 Hialeah         FL      33018   [IX], [XV],               5/5/2011     Yes         1,464      Property Tax     Yes                                                                   Taishan            Photo               8              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          ALEXANDER GARCIA &W
                                                                                                                   [XVI], [XVII]                                                  Assessor's                       0.81                $88.98          $130,266.72                                                                                                           Owner as of 6/9/15              City or County Tax Records         8/1/2007           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                          SILVIA R
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  850    Ex 10/79   Garcia, Armando                 12421 SW 50 Court, Unit 305   Miramar          FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,426      Property Tax     Yes                                                                   Taihe              Photo               14             H                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                           Baron & Budd
                                                                                                                                                                                                                   0.81                $88.98          $126,885.48                                                                        GARCIA,ARMANDO                     Owner as of 6/9/15              City or County Tax Records         2/6/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  851    RP         Garcia, Ernesto and Ortega      422 Belle Grove Lane          Royal Palm Beach FL      33411   [II(B)], [III(A)],        9/16/2010    Yes         1,822      Property Tax     Yes                                                                   Taishan            Photo               2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Zilghean                                                                                       [IX], [XV],                                                    Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                   0.82                $90.08          $164,125.76                                                                        KELLY CASSANDRA A                                                  Tax Records + Title/Deed          4/29/2008              8/10/2010                                                                                                                                $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  852    Ex 10/79   Garcia, Irma and Diaz, Marvin   3479 NE 4th Street            Homestead        FL      33033   [XV], [XVI],              7/5/2011     Yes         2,170      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           VM Diaz and Partners         Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                   [XVII]                                                         Assessor's                        0.81               $88.98          $193,086.60                                                                        IRNA GARCIA                        Owner as of 6/9/15              City or County Tax Records       11/29/2006           Current Owner                                       1900 Washington Ave., Suite 402                                                         $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Miami Beach, FL 33139
  853    Ex 10/79   Garcia, Joseph                  10452 SW Sarah Way            Port St. Lucie   FL      34987   [III], [IX], [XV],        10/7/2009    Yes         2,413      Property Tax      Yes                                                                  Taishan            Photo               2, 6           J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.82               $90.08          $217,363.04                                                                        JOSEPH J GARCIA                    Owner as of 6/9/15              City or County Tax Records        7/20/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  854    Ex 10/79   Gardette, Emile, Jr.            700 Lakeview Lane             Covington        LA      70435   [III(A)], [XV],           9/16/2010    Yes         1,510      Property Tax      Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.79               $86.78          $131,037.80                                                                        EMILE GARDETTE, JR.                Owner as of 6/9/15              Tax Records + Title/Deed          3/23/2007           Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  855    Ex 10/79   Garner, Toni                    7639 Stonewood Street         New Orleans      LA      70128   [XIII], [XV],             7/5/2011     Yes         1,112      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           The Lambert Firm Kanner & Hugh Lambert, Esq.                     (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $105,050.64                                                                        GARNER TONI J                      Owner as of 6/9/15              City or County Tax Records        8/29/1983           Current Owner          Whitely Greg Dileo           701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130
  856    RP         Garraffa, Ronald and Debra      13025 Beech Street            Odessa           FL      33556   [VII], [XV],              1/14/2011    Yes         1,991      Property Tax      Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          GRZYBEK JOSEPH &                   Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $181,539.38                                                                                                                                           Tax Records + Title/Deed          4/30/2007              7/22/2011                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                          GRZYBEK CAROLYN                    Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  857    Ex 10/79   Garrett, June                   2310-2312 NE 8th Place        Cape Coral       FL      33909   [IX], [XV],               5/5/2011     Yes         2,384      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $209,505.92                                                                        CROWLEY BETTY A                                                    Tax Records + Title/Deed          5/31/2005              9/26/2011                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  858    Ex 10/79   Garrido, Carlos and Olga        8111 West 36th Avenue #4      Hialeah          FL      33018   [II(C)], [III(A)],        9/16/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [IX], [XV],                                                    Assessor's                        0.81               $88.98          $120,656.88                                                                        KUKAS LLC                                                          City or County Tax Records        2/28/2007             11/13/2013                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  859    Ex 10/79   Garrity, Scott and Amy          14820 Ninebark Court          Land O'Lakes     FL      34638   [II], [XV], [XVI],        3/15/2010    Yes         3,491      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XVII]                                                         Assessor's                        0.83               $91.18          $318,309.38                                                                        GARRITY SCOTT C & AMY N            Owner as of 6/9/15              City or County Tax Records        12/8/2006           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  860    Ex 10/79   Garvey, Stephen and Karen       11813 Bayport Lane #3         Ft. Myers        FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         1,552      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          HOST PHILIP +                      Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $136,389.76                                                                                                                                           City or County Tax Records        7/24/2006              7/29/2014                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                          RIZZIO LISA J/T                    Property on 6/9/15
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  861    Ex 10/79   Gatchell, David and Linda       11116 Ancient Futures Drive   Tampa            FL      33647   [XV], [XVI],              7/5/2011     Yes         2,091      Property Tax      Yes                                                                  C&K                Photo               34             B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XVII]                                                         Assessor's                        0.83               $91.18          $190,657.38                                                                        GATCHELL DAVID A                   Owner as of 6/9/15              City or County Tax Records        6/25/2008           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  862    RP         Gatto, Charles                  273 Swan Lane                 Jupiter          FL      33458   [II], [IX], [XV],         3/15/2010    Yes         3,554      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          HOBEN MAURICE JR &                 Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $320,144.32                                                                                                                                           City or County Tax Records         2/6/2009             12/20/2011                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                          HOBEN SARAH K T                    Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  863    Ex 10/79   Gaynor, Peter and Tracy         6860 Long Leaf Drive          Parkland         FL      33076   [III], [IX], [XV],        10/7/2009    Yes         5,025      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          GAYNOR,PETER M
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $447,124.50                                                                                                           Owner as of 6/9/15              City or County Tax Records        6/30/2006           Current Owner                                       12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                          GAYNOR,TRACEY M
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  864    Ex 10/79   Geisler, Walter                 3901 Ventura Drive            Chalmette        LA      70043   [IX], [XV],               5/5/2011     Yes         3,037      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                          GEISER, DEBORAH ABRAM &
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $286,905.39                                                                                                Owner as of 6/9/15                         City or County Tax Records        12/7/1976           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          GEISER, WALTER R.
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          303
  865    RP         Gelman, Aleksandra and Roza     2849 St. Barts Square         Vero Beach       FL      33483   [II], [II(C)], [XV],      3/15/2010    Yes         2,725      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                          MANTEK, ROBERT W AND               Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $245,468.00                                                                                                                                           Tax Records + Title/Deed           2/2/2007              8/2/2014                                         255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                          HENRIETTA A                        Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
  866    Ex 10/79   Genta, Michael                  409 Evening Falls Drive       Pensacola        FL      32534   [XIII], [XV],             7/5/2011     Yes         1,560      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          KOCHER BRUCE                       Owner as of 6/9/15, No Longer
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.85               $93.37          $145,657.20                                                                                                                                           Tax Records + Title/Deed          6/18/2008              10/1/2015                                        2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                          BOYETT APRIL L                     Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          650
  867    RP         Geraci, Vincent and Joan        420 NW 38th Avenue            Cape Coral       FL      33993   [IX], [XV],               5/5/2011     Yes         2,314      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee             C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                          TRUDELL NICHOLAS L +               Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $203,354.32                                                                                                                                           Tax Records + Title/Deed          3/10/2005              1/29/2013                                        2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                          TRUDELL CHRISTINA J H/W            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          300
  868    Ex 10/79   Gerber, Avis and Russell        3800 Mossy Oak Drive          Ft. Myers        FL      33905   [XV], [XVI],              7/5/2011     Yes         4,562      Property Tax      Yes                                                                  IMT                Photo               32             F           SCIARRONE JOHN TR FOR                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                                                                                                                   [XVII]                                                         Assessor's                        0.80               $87.88          $400,908.56                                                                        SCIARRONE FAMILY                                                   City or County Tax Records        12/2/2005              7/1/2016                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                Document with                                                                                                                                             REVOCABLE TRUST                                                                                                                                                              Bonita Springs, FL 34134
  869    Ex 10/79   Germano, Michelle               8171 N. View Boulevard        Norfolk          VA      23518   [II], [XV], [XVI],        3/15/2010    Yes         2,625      Property Tax      Yes                                                                  Venture Supply     Photo               38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                              FEDERAL HOME LOAN MTG              Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.94              $103.26          $271,057.50                                                                                                                                           City or County Tax Records         6/1/2006              2/17/2016                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                             CORP                               Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  870    RP         Gesualdo, Domenic and Darlene 3232 NE 4 Street                Pompano Beach    FL      33062   [III], [IX], [XV],        10/7/2009    Yes         2,477      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          GOFF,WARREN DOUGLAS                Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $220,403.46                                                                                                                                           Tax Records + Title/Deed          11/8/2006              4/28/2011                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                          GOFF,ANDREA MARGARET               Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  871    RP         GFB Properties, LLC c/o Daniel 325 NW 25th Terrace            Cape Coral       FL      33991   [II(B)], [XV],            12/6/2010    Yes         1,833      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                    Gleinig                                                                                        [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                           12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                    0.80               $87.88          $161,084.04                                                                        GFB PROPERTIES LLC                 Owner as of 6/9/15              Tax Records + Title/Deed           4/4/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                Square Footage
  872    Ex 10/79   Ghafari, David and Sylvia       921 Acroft Avenue             Lehigh Acres     FL      33971   [II(B)], [XV],            12/6/2010    Yes         1,895      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $166,532.60                                                                        DIAZ HERMES TABARES                                                City or County Tax Records       12/21/2007             12/12/2016                                          701 Poydras Street, Suite 3650                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70153
  873    Ex 10/79   Ghanta, Madhav                  11458 Water Oak Place         Davie            FL      33330   [III], [IX], [XV],        10/7/2009    Yes         5,186      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                    0.81               $88.98          $461,450.28                                                                        PAHWA,RAJENDRA N                                                   Tax Records + Title/Deed          5/31/2006              5/6/2013                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                           Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  874    Ex 10/79   Giannini Trust, Dominic         622 SW 31st Street            Cape Coral       FL      33914   [II(C)], [III],           10/7/2009    Yes         2,251      Property Tax      Yes                                                                  Taishan            Inspection Report   2, 9           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $197,817.88                                                                        DOMINIC GIANNINI TRUST             Owner as of 6/9/15              Tax Records + Title/Deed           2/8/2005           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  875    Ex 10/79   Giannoussidis, Nikolaos         1189 Bayport Lane Unit 404    Ft. Myers        FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         1,804      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $158,535.52                                                                        GIANNOUSSIDIS NIKOLAOS             Owner as of 6/9/15              City or County Tax Records        7/19/2006           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  876    Ex 10/79   Gibbs, Gene                     701 Waverly Place             Opelika          AL      36804   [XIII], [XV],             7/5/2011     Yes         1237       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.84               $92.27          $114,137.99                                                                        GIBBS GENE R & DARLA D             Owner as of 6/9/15              Tax Records + Title/Deed           6/1/2007           Current Owner                                         2100 Southbridge Parkway, Suite                                                       $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            650
  877    Ex 10/79   Gibson, Glennel                 2216 Veronica Drive           Chalmette        LA      70043   [XIII], [XV],             7/5/2011     Yes         1,380      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $130,368.60                                                                        GIBSON, GLENNEL                    Owner as of 6/9/15              City or County Tax Records         7/2/2007           Current Owner                                         701 Poydras Street, Suite 3650                                                        $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70154
  878    Ex 10/79   Gibson, Robert and Peggy        494 County Road 800           Calera           AL      35040   [IX], [XV],               5/5/2011     Yes         3692       Property Tax      Yes                                                                  Taihe              Photo               13, 17         I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                   [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $340,660.84                                                                        GIBSON ROBERT L & PEGGY J Owner as of 6/9/15                       Tax Records + Title/Deed          3/26/1964           Current Owner                                         900 W. Morgan Street                                                                  $0.00
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
  879    Ex 10/79   Gil, Franklin                   5030 SW 126th Avenue, Unit    Miramar          FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,426      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                    205                                                            [XVII]                                                         Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                                               Baron & Budd
                                                                                                                                                                                                                    0.81               $88.98          $126,885.48                                                                        LOPEZ,SAID                                                         Tax Records + Title/Deed           2/4/2008             11/12/2015                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                Owns Property                                                                                                                               3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  880    Ex 10/79   Gilchrist, Norman and Sharon    2408 Culotta Street           Chalmette        LA      70043   [III(A)], [VII],          9/16/2010    Yes         1,200      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Berrigan Litchfield, LLC       Karen Sher, Esq.                  (504) 568-0541   ksher@berriganlaw.net
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                              GILCHRIST, NORMAN J., JR. &                                                                                                                                                    201 Saint Charles Ave, Ste 4204
                                                                                                                                                                                                                    0.86               $94.47          $113,364.00                                                                                                    Owner as of 6/9/15                     City or County Tax Records         6/7/1985           Current Owner                                                                                                                               $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             GILCHRIST, SHARON WOLFE                                                                                                                                                        New Orleans, LA 70170-4204
                                                                                                                                                                                Square Footage
  881    Ex 10/79   Gill, Pamela and Theodore       13464 Little Gem Circle       Ft. Myers        FL      33913   [II(C)], [III],           10/7/2009    Yes         2,534      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $222,687.92                                                                        BROIT SERGIO A & DIANA L                                           Tax Records + Title/Deed         10/15/2009              8/22/2014                                          27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
  882    RP         Gillette, Henry and Jane        2406 31st Avenue              Tampa            FL      33610   [IX], [XV],               5/5/2011     Yes         1,474      Property Tax      Yes                                                                  Taihe              Photo               14, 21         H, I                                                                                                                                                        Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                    0.83               $91.18          $134,399.32                                                                        RAHMAN MIKE                                                        Tax Records + Title/Deed          9/17/2009              1/14/2015                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  883    Ex 10/79   Gillman, James c/o Carolyn      6435 Dallas Avenue            Pensacola        FL      32526   [III], [VII], [XV],       10/7/2009    Yes         1,331      Property Tax      Yes                                                                  Taihe              Photo               20             I           GILLMAN JAMES G LIFE EST                                                                                                                        Levin Papantonio               Ben Gordon, Esq.                  (850) 435-7000   bgordon@levinlaw.com
                    Houck                                                                                          [XVI], [XVII]                                                  Assessor's                        0.85               $93.37          $124,275.47                                                                        HOUK CAROLYN M &                   Owner as of 6/9/15              Tax Records + Title/Deed         12/28/2007           Current Owner                                         316 South Baylen St.                                                                  $0.00
                                                                                                                                                                                Document with                                                                                                                                             KUHL SANDRA L                                                                                                                                                                  Pensacola, FL 32502
  884    Ex 10/79   Gittens, Dian                   4130 Bismark Palm Drive       Tampa            FL      33610   [II], [XIII], [XV],       3/15/2010    Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             27300 Riverview Center Blvd
                                                                                                                                                                                                                    0.83               $91.18          $113,063.20                                                                        GITTENS DIAN                       Owner as of 6/9/15              City or County Tax Records         9/6/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
                                                                                                                                                                                Square Footage
  885    RP         Gitto, Frank                    10360 S.W. Stephanie Way,     Port St. Lucie   FL      34987   [III], [XV],              10/7/2009    Yes           0        Property Tax      Yes                                                                  Taishan            Inspection Report   12             L                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com                                See Promenade at
                                                    Apt. 202                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             Baron & Budd                                                                                          Tradition
                                                                                                                                                                                                                    0.82               $90.08             $0.00                                                                           FRANK GITTO MARK GITTO             Owner as of 6/9/15              City or County Tax Records        5/15/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
  886    Ex 10/79   Givins, Larry and Rose          6007-9 Warfield Street        New Orleans      LA      70126   [II], [VII], [XV],        3/15/2010    Yes         2,049      Property Tax      Yes                                                                  Crescent City      Photo               27             D           GIVINS LEROY                                                                                                                                    Reich & Binstock               Dennis Reich, Esq.                (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $193,569.03                                                                        GIVINS ROSE M                      Owner as of 6/9/15              City or County Tax Records        8/15/2005           Current Owner                                         4265 San Felipe, Suite 1000                        om                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                             WIFE                                                                                                                                                                           Houston, TX 77027
  887    Ex 10/79   Glasscox, Travis                1441 Valley Grove Road        Remlap           AL      35133   [VII], [XV],              1/14/2011    Yes         2155       Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          GLASSCOX, TRAVIS C III &
                                                                                                                   [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $198,841.85                                                                                                           Owner as of 6/9/15              City or County Tax Records          2010              Current Owner                                         900 W. Morgan Street                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                          CATHEY
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 26 of 82



Claimant Source     Claimant Name                   Affected Property Address      City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
  888    RP         Sheridan Beach Club             529 E. Sheridan Street #307    Dania Beach      FL      33004   [IX], [XV],               5/5/2011     Yes         1,150      Property Tax     Yes                                                                   Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              DIEUMEGARDE,UGO                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.81                $88.98          $102,327.00                                                                                                                                           Tax Records + Title/Deed         11/16/2006              6/24/2014                                                                                                                                $0.00
                    Inc. (Glassman, Monica and                                                                                                                                   Document with                                                                                                                                             THIBEAULT,MARIE                    Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                    Childs, Joan)                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  889    RP         Glaum, Leroy and Virginia       1405 Emerald Dunes Drive #32 Sun City Center    FL      33573   [XIII], [XV],             7/5/2011     Yes         2,538      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           GLAUM LEROY W GLAUM
                                                                                                                    [XVI], [XVII]                                                  Assessor's                       0.83                $91.18          $231,414.84                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          9/26/2006           Current Owner                                       12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           VIRGINIA E
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  890    RP         Glickman, David and Joan        3236 N.E. 4 Street             Pompano Beach    FL      33062   [IX], [XV],               5/5/2011     Yes         2,649      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                       0.81                $88.98          $235,708.02                                                                        GLICKMAN,DAVID & JOAN              Owner as of 6/9/15              City or County Tax Records        9/26/2007           Current Owner                                       12 SE 7th St #801                                                                    $115,789.89
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  891    Ex 10/79   Glover, Diane                   838 SW Sultan Drive            Port St. Lucie   FL      34953   [IX], [XV],               5/5/2011     Yes         2,758      Property Tax     Yes                                                                   Taishan            Photo               2, 9           J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.82                $90.08          $248,440.64                                                                        DIANE GLOVER                       Owner as of 6/9/15              City or County Tax Records        7/23/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  892    Ex 10/79   Gobel, Jason and Cynthia        5771 S.W. 162nd Court          Miami            FL      33193   [XV], [XVI],              7/5/2011     Yes         1,823      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           JASON A GOBEL CYNTHIA
                                                                                                                    [XVII]                                                         Assessor's                        0.81               $88.98          $162,210.54                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed         10/28/2011           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           GOBEL
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  893    Ex 10/79   Gobos, Peter V.                 9607 Exbury Court              Parkland         FL      33076   [III], [XV],              10/7/2009    Yes         3,400      Property Tax      Yes                                                                  Dragon Brand       Inspection Report   N/A            A                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $302,532.00                                                                        SQUIDROCK LLC                                                      Tax Records + Title/Deed          2/13/2008              5/9/2013                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
  894    RP         Goboy, Arvin and Clarissa       3972 Border Way                Virginia Beach   VA      23456   [II], [XV], [XVI],        3/15/2010    Yes         3,744      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com                               *VA settlement
                                                                                                                    [XVII]                                                         Assessor's                                                                                               Property Assessment                                                                                                                                                                            Serpe                        580 East Main Street, Suite 310                                                                         payment to Fannie Mae
                                                                                                                                                                                 Document with                       0.94              $103.26          $386,605.44                                                                        SUGG MATTHEW                       Records Not Available           City or County Tax Records        7/26/2006              1/26/2012                                        Norfolk, VA 23510                                                                       $0.00           c/o David R. Box
                                                                                                                                                                                 Square Footage
  895    Ex 10/79   Godbee-Awe, Christy             1319 Rushgrove Circle          Dover            FL      33527   [XV], [XVI],              7/5/2011     Yes         2,002      Property Tax      Yes                                                                  Taishan            Photo               1              H           GODBEE-AWE CHRISTY L                                                                                                                            Allison Grant, P.A.            Allison Grant, Esq.               (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                              LIFE ESTATE                                                                                                                                                                    14 Southeast 4th Street
                                                                                                                                                                                 Document with                       0.83               $91.18          $182,542.36                                                                        AWE LYNNE ELIZABETH                Owner as of 6/9/15              Tax Records + Title/Deed         10/31/2008           Current Owner                                         Boca Raton, Florida 33432                                                             $0.00
                                                                                                                                                                                 Square Footage                                                                                                                                            MYLAR SARAH ELIZABETH
                                                                                                                                                                                                                                                                                                                                           MYLAR JEFFREY TODD II
  896    Ex 10/79   Godwin, Franklin and Veronia    10440 Stephanie Way, Unit 205 Port St Lucie     FL      34987   [III], [VII], [XV],       10/7/2009    Yes           0        Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com                                 See Promenade at
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman  Colson, Hicks, Eidson                                                                                     Tradition
                                                                                                                                                                                                                     0.82               $90.08             $0.00                                                                           UNKNOWN                                                            Title/Deed                        8/10/2006              9/23/2010                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe           Coral Gables, FL 33134
  897    Ex 10/79   Gody, Anthony and Candace       10842 Tiberio Drive            Ft. Myers        FL      33913   [II], [III], [IX],        10/7/2009    Yes         2,246      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan            Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           GODY ANTHONY T +
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $197,378.48                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/19/2007           Current Owner                                     12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           CANDACE D
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  898    Ex 10/79   Goede, John and Kristin         7527 Bristol Circle            Naples           FL      34120   [II(C)], [III], [IX],     10/7/2009    Yes         1,667      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman            Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $146,495.96                                                                        GOEDE, KRISTA & JOHN               Owner as of 6/9/15              City or County Tax Records        1/10/2007           Current Owner                                     27300 Riverview Center Blvd                                                               $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
  899    Ex 10/79   Goldberg, Joan                  58 Sunny Meadows Drive         Talladega        AL      35160   [II(C)], [XV],            1/24/2011    Yes         1343       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                   (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                    [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $123,918.61                                                                        GOLDBERG JOAN                      Owner as of 6/9/15              City or County Tax Records        8/18/2006           Current Owner          Irby                       905 Montgomery Highway, Suite                                                             $0.00
                                                                                                                    [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                        201
  900    Ex 10/79   Golden, Leonard and Marian      152 SE 23rd Street             Cape Coral       FL      33990   [XV], [XVI],              7/5/2011     Yes         2,008      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan            Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVII]                                                         Assessor's                        0.80               $87.88          $176,463.04                                                                        GOLDEN LEONARD + MARIAN Owner as of 6/9/15                         City or County Tax Records         4/4/2007           Current Owner                                     12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  901    Ex 10/79   Goldman, Clivens and Andrea     3277 Lago De Talavera          Wellington       FL      33467   [II(A)], [IX],            9/16/2010    Yes         4,381      Property Tax      Yes                                                                  Dragon Brand/ Photo                    22, 24, 26     A                                                                                                                                                           McIntosh, Sawran, Peltz &  Manuel Comras, Esq.                   (561) 659-5970   MRC@bclmr.com                                      BKC confirmed square
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                            BNBM/ BNBMDB                                                                                                                                                                                                      Cartaya, PA                1601 Forum Place, Suite 400                                                                               footage.
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        West Palm Beach, FL 33401
                                                                                                                                                                                                                                                                                                                                           GOLDMAN ANDREA &
                                                                                                                                                                                 Square Footage                      0.82               $90.08          $394,640.48                                                                                                           Owner as of 6/9/15              City or County Tax Records        12/1/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           GOLDMAN CLIVENS



  902    Ex 10/79   Goldstein, Ira                  15443 Fiorenza Circle          Delray Beach     FL      33446   [III], [IX], [XV],        10/7/2009    Yes         1,936      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                            Manufacturer 2                                                                                                                                                                                                    Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $174,394.88                                                                        GOLDSTEIN IRA N                    Owner as of 6/9/15              City or County Tax Records        2/19/2002           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  903    Ex 10/79   Golovkin, Sergei and Natalia    17763 Lake Azure Way           Boca Raton       FL      33496   [II(B)], [III],           10/7/2009    Yes         4,525      Property Tax      Yes                                                                  Taishan            Photo               5, 6           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [VII], [XV],                                                   Assessor's                                                                                                                                              GOLOVKINE, SERGUEI A;                                                                                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $407,612.00                                                                                                           Owner as of 6/9/15              City or County Tax Records       11/12/2007           Current Owner                                                                                                                               $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                             GOLOVKINE, NATALIA                                                                                                                              Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  904    Ex 10/79   Gomez, Armando and Fran         1708 Acacia Avenue             Lehigh Acres     FL      33972   [XV], [XVI],              7/5/2011     Yes         1,597      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                           GOMEZ FRANCES + GOMEZ
                                                                                                                    [XVII]                                                         Assessor's                        0.80               $87.88          $140,344.36                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/31/2004           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           ARMANDO T/C
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          650
  905    Ex 10/79   Gonsoulin, Brad                 4124 Brittany Way              Williamsburg     VA      23185   [II], [XV], [XVI],        3/15/2010    Yes          973       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    39, 41         K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
                                                                                                                                                                                                                     0.96              $105.46          $102,612.58                                                                        GONSOULIN, BRADLEY W               Owner as of 6/9/15              City or County Tax Records       10/17/2006           Current Owner                                                                                                                               $0.00




  906    Add.       Gonzales, Damian/Taimi          3770 7th Avenue SW, Naples,    Naples           FL      34117   [XV], [XVI],              7/5/2011     No          3,068      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
         Taishan                                    FL 34117                                                        [XVII]                                                         Assessor's                        0.80               $87.88          $269,615.84                                                                        GONZALEZ, DAMIAN=& TAIMI Owner as of 6/9/15                        Tax Records + Title/Deed          7/16/2004           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
         Prop.                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  907    RP         Gonzales, Huey, Jr.             3009 Acorn Drive               Violet           LA      70092   [II(B)], [III], [IX],     10/7/2009    Yes         1,968      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Unknown
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $185,916.96                                                                        TRAN, DIEM T. LEE                                                  City or County Tax Records         9/2/2009                                                               820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                              Purchase Date
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  908    Ex 10/79   Gonzales, Jane                  60337 Emerald Drive            Lacombe          LA      70445   [XV], [XVI],              7/5/2011     Yes         1,480      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVII]                                                         Assessor's                        0.79               $86.78          $128,434.40                                                                        JANE ZUVICEH GONZALES              Owner as of 6/9/15              Tax Records + Title/Deed         11/21/2006           Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  909    Ex 10/79   Gonzalez, Adalberto and Annette 11336 Bridge Pine Drive        Riverview        FL      33569   [XV], [XVI],              7/5/2011     Yes         3,860      Property Tax      Yes                                                                  Taishan            Photo               2, 9, 12       J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           GORILLA CAPITAL FL KG GF2 Owner as of 6/9/15, No Longer
                                                                                                                    [XVII]                                                         Assessor's                        0.83               $91.18          $351,954.80                                                                                                                                           Tax Records + Title/Deed          11/2/2006              7/27/2016                                        27300 Riverview Center Blvd                                                          $172,017.97
                                                                                                                                                                                                                                                                                                                                           LLC                       Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  910    RP         Gonzalez, Barbara and Mark      7512 Bridgeview Drive          Westley Chapel   FL      33545   [II], [IX], [XIII],       3/15/2010    Yes         2,308      Property Tax      Yes                                                                  Taishan/ Taihe     Photo               1, 21          H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.83               $91.18          $210,443.44                                                                        SCOTT JEREMY                                                       Tax Records + Title/Deed          8/31/2007              8/5/2013                                                                                                                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  911    Ex 10/79   Gonzalez, David                 20401 SW 317 Street            Homestead        FL      33030   [IX], [XV],               5/5/2011     Yes         1,964      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              ANGEL VIDAL & IDERLIN              Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81               $88.98          $174,756.72                                                                                                                                           City or County Tax Records        6/10/2009              11/9/2016                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             LOPEZ                              Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  912    Ex 10/79   Gonzalez, Fred                  8908 W 229 Street              Cutler Bay       FL      33190   [XIII], [XV],             7/5/2011     Yes         1,988      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $176,892.24                                                                        TRAVEL WITH JNJ LLC                                                City or County Tax Records         2/9/2007             12/18/2013                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  913    Ex 10/79   Gonzalez, Jesus A.              702 Calvin Avenue              Lehigh Acres     FL      33972   [III(A)], [XV],           9/16/2010    Yes         2,557      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $224,709.16                                                                        CRUZ GLADYS                                                        City or County Tax Records       10/13/2006              9/22/2016                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  914    RP         Gonzalez, Jose                  2628 SE Export Avenue          Port St. Lucie   FL      34952   [XV], [XVI],              7/5/2011     Yes         1,584      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $142,686.72                                                                        JAMES E BLAIR                                                      Tax Records + Title/Deed           7/6/2004             11/14/2014                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  915    Ex 10/79   Gonzalez, Marcos                10902 NW 83rd Street #202      Doral            FL      33178   [IX], [XV],               5/5/2011     Yes         1,260      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              ALVARO JOSE ZORRILLA               Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81               $88.98          $112,114.80                                                                                                                                           Tax Records + Title/Deed          6/12/2008              6/10/2016                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             GISELLE R ZORRILLA                 Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  916    Ex 10/79   Gonzalez, Petra and Castillo,   8141 West 36th Avenue Unit 3   Hialeah          FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                           WILLY WAI LUNG WOND
                    Boris                                                                                           [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $120,656.88                                                                        WOO & BRYAN CHIJOU                                                 City or County Tax Records       10/12/2007             10/29/2008                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           TSANG
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  917    Ex 10/79   Gonzalez, Robert and Natasha    1816 Michelle Drive            St. Bernard      LA      70085   [IX], [XV],               5/5/2011     Yes         1,047      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86               $94.47           $98,910.09                                                                        GONZALEZ, ROBERT M.                Owner as of 6/9/15              City or County Tax Records        3/20/2012           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          303
  918    Ex 10/79   Gonzalez, Sergio and Maria      3171 Sea Trawler Bend Apt. 2   Ft. Myers        FL      33903   [III(A)], [XIII],         9/16/2010    Yes         2,166      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           GONZALEZ SERGIO +
                                                    North                                                           [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $190,348.08                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed         11/27/2006           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           VIVIANA
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  919    Ex 10/79   Goodman, Donna                  2630 SE South Blackwell Drive Port St. Lucie    FL      34952   [XV], [XVI],              7/5/2011     Yes         2,477      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                    [XVII]                                                         Assessor's                        0.82               $90.08          $223,128.16                                                                        DONA E GOODMAN                     Owner as of 6/9/15              City or County Tax Records         5/4/2004           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          650
  920    Ex 10/79   Gordon, Patricia                7409 Cornwall Place            New Orleans      LA      70126   [II], [VII], [XV],        3/15/2010    Yes         1,069      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $100,988.43                                                                        GORDON PATRICIA C                  Owner as of 6/9/15              City or County Tax Records       10/12/2004           Current Owner                                       855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, 70113
  921    Ex 10/79   Gordon, Ryan                    10302 Stone Moss Avenue        Tampa            FL      33647   [XV], [XVI],              7/5/2011     Yes         1,587      Property Tax      Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XVII]                                                         Assessor's                        0.83               $91.18          $144,702.66                                                                        GORDON RYAN                        Owner as of 6/9/15              City or County Tax Records        3/20/2007           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  922    Ex 10/79   Gorie, Patrick                  593 SW Columbus Drive          Port St. Lucie   FL      34953   [XIII], [XV],             7/5/2011     Yes         1,527      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              GEORGE BANKS / BETTY               Owner as of 6/9/15, No Longer                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                     0.82               $90.08          $137,552.16                                                                                                                                           Title/Deed                         8/2/2007              3/30/2016                                                                                                                              $38,821.50
                                                                                                                                                                                 Document with                                                                                                                                             BANKS                              Owns Property                                                                                                                             Boca Raton, Florida 33432
                                                                                                                                                                                 Square Footage
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 27 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
  923    Ex 10/79   Gorton, Peter and Elaine        915 Regal Manor Way            Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,503      Property Tax     Yes                                                                   Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                              GORTON PETER A                                                                                                                                  Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                     0.83                $91.18          $137,043.54                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/26/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                             GORTON ELAINE J                                                                                                                                 Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
  924    Ex 10/79   Gotay, Sandra                   1968 SE 23rd Avenue            Homestead         FL      33035   [XV], [XVI],              7/5/2011     Yes         1,932      Property Tax     Yes                                                                   Taishan            Photo               12             L                                                                                                                                                           VM Diaz and Partners          Victor Diaz, Esq.                  (305) 704-3200   victor@diazpartners.com
                                                                                                                     [XVII]                                                         Assessor's                       0.81                $88.98          $171,909.36                                                                        SANDRA GOTAY                       Owner as of 6/9/15              City or County Tax Records        8/29/2008           Current Owner                                        1900 Washington Ave., Suite 402                                                        $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Miami Beach, FL 33139
  925    Ex 10/79   Gottlieb, Patricia              8841 Sunrise Lakes Blvd., #110 Sunrise           FL      33322   [XV], [XVI],              7/5/2011     Yes          929       Property Tax     Yes                                                                   Taihe              Photo               18             I                                                                                                                                                           Doyle Law Firm                Jimmy Doyle, Esq.                  (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                         Assessor's                       0.81                $88.98           $82,662.42                                                                        GOTTLIEB,PATRICIA S                Owner as of 6/9/15              City or County Tax Records        3/14/2009           Current Owner                                        2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           650
  926    RP         Gottung, Douglas and Deolores   10360 SW Stephanie Way, Unit Port St. Lucie      FL      34987   [III], [IX], [XV],        10/7/2009    Yes           0        Property Tax     Yes                                                                   Taishan            Inspection Report   6              J                                                                                                                                                           Colson Hicks Eidson           Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                 See Promenade at
                                                                                                                                                                                                                                                                                                                                            PAUL STUART                        Previous Owner, Did Not Own
                    Florio                          #204                                                             [XVI], [XVII]                                                  Assessor's                       0.82                $90.08             $0.00                                                                                                                                              City or County Tax Records        5/16/2006              5/14/2015                                         255 Alhambra Circle, PH                                                                $0.00           Tradition
                                                                                                                                                                                                                                                                                                                                            SALLY COYNE                        Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Coral Gables, FL 33134
  927    Ex 10/79   Graham, Gerald W. and Terry H. 414 Ruben Avenue                Saraland          AL      36571   [III], [VII], [XIII],     10/7/2009    Yes         3268       Property Tax     Yes                                                                   Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                              GRAHAM GERALD W &                                                                                                                                                             900 W. Morgan Street
                                                                                                                                                                                                                     0.84                $92.27          $301,538.36                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed           2/8/1993           Current Owner                                                                                                                               $0.00
                                                                                                                     [XVII], [XXI]                                                Document with                                                                                                                                             TERRY H                                                                                                                                                                       Raleigh, NC 27603
                                                                                                                                                                                  Square Footage
  928    Ex 10/79   Grant, Edward and Coretta       2241 Athis Street              New Orleans       LA      70122   [VII], [XV],              1/14/2011    Yes         1,304      Property Tax     Yes                                                                   Taihe              Photo               20             I                                                                                                                                                           Bruno & Bruno, LLP            Joseph Bruno, Esq.                 (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            855 Baronne Street                                  m
                                                                                                                                                                                                                     0.86                $94.47          $123,188.88                                                                        GRANT CORETTA L                    Owner as of 6/9/15              City or County Tax Records        6/24/2005           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           New Orleans, 70113
                                                                                                                                                                                  Square Footage
  929    RP         Grant, Kenneth and Allison      10400 SW Stephanie Way Unit Port St. Lucie       FL      34986   [II(B)], [III(A)],        9/16/2010    Yes         1,231      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A.           Allison Grant, Esq.                (561) 994-9646   agrant@allisongrantpa.com
                                                    105                                                              [XV], [XVI],                                                   Assessor's                                                                                                                                              ALLISON GRANT                                                                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                      0.82               $90.08          $110,888.48                                                                                                           Owner as of 6/9/15              City or County Tax Records        6/27/2006           Current Owner                                                                                                                               $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                             KENNETH GRANT                                                                                                                                                                 Boca Raton, Florida 33432
                                                                                                                                                                                  Square Footage
  930    RP         Grant, Marcus and Jevon         4559 Knight Drive              New Orleans       LA      70127   [III], [VII], [XV],       10/7/2009    Yes         1,700      Property Tax      Yes                                                                  Taihe              Photo               13, 17         I                                                                                                                                                           The Lambert Firm             Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $160,599.00                                                                        NGUYEN KIM HOA                                                     City or County Tax Records                               1/8/2014                                         701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130
  931    RP         Grant, Tonia                    2412 E 31st Avenue             Tampa             FL      33610   [II(B)], [VII],           12/6/2010    Yes         1,496      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.83               $91.18          $136,405.28                                                                        ASMAR INVESTMENT LLC                                               Tax Records + Title/Deed          3/27/2008              8/4/2014                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  932    Ex 10/79   Grassel, Eric and Svetlana      3033 Lake Manatee Court        Cape Coral        FL      33993   [III], [IX], [XV],        10/7/2009    Yes         2,547      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $223,830.36                                                                        GRASSEL ERIC + SVETLANA            Owner as of 6/9/15              City or County Tax Records        6/16/2008           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          300
  933    RP         Grasso, William and Debra       3500 Griffith Bend Road        Talladega         AL      35160   [VII], [XV],              1/14/2011    Yes         3,480      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                   (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                     [XVI], [XVII],                                                 Assessor's                                                                                                                                              GRIMMETT RONALD M & LEE Previous Owner, Did Not Own                                                                                             Irby                         905 Montgomery Highway, Suite
                                                                                                                                                                                                                      0.84               $92.27          $321,099.60                                                                                                                                           Tax Records + Title/Deed          6/29/2006              8/4/2011                                                                                                                                 $0.00
                                                                                                                     [XXI]                                                        Document with                                                                                                                                             A                       Property on 6/9/15                                                                                                                                   201
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Vestavia Hills, AL 35216
  934    Ex 10/79   Sheridan Beach Club             529 E. Sheridan, Unit 301      Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                        [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.81               $88.98          $102,327.00                                                                        GRAVEL,KATHIE                      Owner as of 6/9/15              Tax Records + Title/Deed          6/14/2010           Current Owner                                                                                                                               $0.00
                    Inc. (Gravel, Kathie)                                                                                                                                         Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  935    Ex 10/79   Graves, Marvin and Diana        28505 Talori Terrace           Bonita Springs    FL      34135   [XV], [XVI],              7/5/2011     Yes         4,114      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            GRAVES, MARVIN W;
                                                                                                                     [XVII]                                                         Assessor's                        0.80               $87.88          $361,538.32                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/20/2005           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                            GRAVES, DIANA D
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  936    Ex 10/79   Graziano, John and Lisa         21509 Draycott Way             Land O'Lakes      FL      34637   [XIII], [XV],             7/5/2011     Yes         3,757      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $342,563.26                                                                        SULLIVAN BROCK & MARIA                                             City or County Tax Records         7/6/2007              9/9/2011                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  937    RP         Graziano, Michael and Garcia-   8079 W. 36th Avenue #1         Hialeah           FL      33018   [II(A)], [II(B)],         9/16/2010    Yes         1,450      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Graziano, Francis                                                                                [VII], [XV],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.81               $88.98          $129,021.00                                                                        RICARDO LEON                                                       City or County Tax Records        12/1/2006              6/4/2014                                                                                                                                 $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  938    RP         Green, Crystal                  2408 E. 31st Avenue            Tampa             FL      33610   [II(B)], [VII],           12/6/2010    Yes         1,614      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.83               $91.18          $147,164.52                                                                        RESI SFR SUB LLC                                                   Tax Records + Title/Deed           8/3/2007              7/26/2012                                                                                                                                $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  939    Ex 10/79   Green, David and Sonia          3430 Cypress Marsh Drive       Ft. Myers         FL      33905   [IX], [XIII],             5/5/2011     Yes         2,333      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $205,024.04                                                                        GREEN DAVID G + SONIA P            Owner as of 6/9/15              City or County Tax Records        3/26/2007           Current Owner                                                                                                                               $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
  940    Ex 10/79   Green, Mary                     1632 Pauline Street            New Orleans       LA      70117   [III], [VII], [XV],       10/7/2009    Yes         1,424      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $134,525.28                                                                        GREEN MARY W                       Owner as of 6/9/15              City or County Tax Records         8/4/1995           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  941    Ex 10/79   Green, Ronald                   105 Maryland Avenue            Metairie          LA      70003   [III(A)], [XV],           9/16/2010    Yes         1,273      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $120,260.31                                                                        GREEN,RONALD JR                    Owner as of 6/9/15              City or County Tax Records         9/7/2001           Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  942    Ex 10/79   Greenleaf, Julianna             8026 Marsh Circle              LaBelle           FL      33935   [IX], [XV],               5/5/2011     Yes         1,556      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $136,741.28                                                                        GREENLEAF JULIANNA                 Owner as of 6/9/15              City or County Tax Records        7/25/2008           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  943    Ex 10/79   Gregory, Betty                  269 Kelly Street               Pontotoc          MS      38863   [III], [VII], [XV],       10/7/2009    Yes         1,100      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Hawkins Gibson               Edward Gibson, Esq.                 (228) 467-4225   egibson@hgattorneys.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.75               $82.39           $90,629.00                                                                        GREGORY BETTY                      Owner as of 6/9/15              Tax Records + Title/Deed          8/15/2007           Current Owner                                       153 Main St                                                                             $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Bay St Louis, MS 39520
  944    Ex 10/79   Gregory, Robert and Fern        11420 South West Mountain      Port St. Lucie    FL      34987   [II(A)], [VII],           9/16/2010    Yes         1,980      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                    Ash Circle                                                       [XV], [XVI],                                                   Assessor's                        0.82               $90.08          $178,358.40                                                                        ANGELINA PARISI (LF EST)                                           Tax Records + Title/Deed          6/29/2007             10/18/2012                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  945    Ex 10/79   Griffin, David                  9801 Cobblestone Creek Drive   Boynton Beach     FL      33472   [II], [XV], [XVI],        3/15/2010    Yes         4,319      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                              LI ZHONGWEI &                      Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.82               $90.08          $389,055.52                                                                                                                                           Tax Records + Title/Deed          10/5/2006              7/28/2010                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                             WU FENGYING                        Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
  946    RP         Griffin, James and Kristin      311 Preservation Reach         Chesapeake        VA      23320   [XV], [XVI],              7/5/2011     Yes         2,603      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                        0.94              $103.26          $268,785.78                         Property Assessment                            O'GRADY MARTIN                                                     City or County Tax Records         6/8/2007             12/20/2011           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
  947    Ex 10/79   Griffith, Richard and Olga      142 SW Covington Road          Port St. Lucie    FL      34953   [IX], [XV],               5/5/2011     Yes         2,319      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                            JORGE T SATLER JR                  Owner as of 6/9/15, No Longer
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $208,895.52                                                                                                                                           City or County Tax Records        8/31/2000             10/30/2015           Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                             MARIA DA GLORIA SATLER            Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          300
  948    Ex 10/79   Grizzard, Gerald                1717 A & B Hillyer Robinson    South Oxford      AL      36203   [IX], [XV],               5/5/2011     Yes         2304       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Current Owner, Unknown
                                                    Parkway                                                          [XVI], [XVII],                                                 Assessor's                        0.82               $90.08          $207,544.32                                                                        GRIZZARD, GERALD                                                   Other                                                 Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                               Purchase Date
                                                                                                                     [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
  949    RP         Gropp, Terry and Hillary        2530 Boatramp Road             Palm City         FL      34990   [XV], [XVI],              7/5/2011     Yes         6,593      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                        0.82               $90.08          $593,897.44                                                                        FREY PHILIP JR (TR)                                                Tax Records + Title/Deed          7/11/2003              9/4/2014                                         12800 University Drive, Suite 600                    m                               $526,750.08
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  950    Ex 10/79   Grose, Lillian                  2309-11 Bartolo Drive          Meraux            LA      70075   [XIII], [XV],             7/5/2011     Yes         1,648      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           The Lambert Firm Kanner & Hugh Lambert, Esq.                     (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                            GROSE, LILLIAN LOUISE
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $155,686.56                                                                                                           Owner as of 6/9/15              City or County Tax Records         9/3/1985           Current Owner          Whitely Greg Dileo           701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                            SMITH
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130
  951    Ex 10/79   Gross, Cheryl and David         400 Hay Place                  New Orleans       LA      70124   [III], [VII], [XV],       10/7/2009    Yes         3,832      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $362,009.04                                                                        GROSS DAVID G                      Owner as of 6/9/15              City or County Tax Records        2/19/1999           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  952    RP         Gross, John                     3815-17 Delachaise New         New Orleans       LA      70125   [IX], [XV],               5/5/2011     Yes         1,190      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com                               See Preservation
                                                                                                                                                                                                                                                                                                                                                                               Owner as of 6/9/15, No Longer
                                                    Orleans, LA 70125                                                [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $112,419.30                                                                        TAYLOR YOLANDA V                                                   Tax Records + Title/Deed         12/14/2006                2017                                           701 Poydras Street, Suite 3650                                                          $0.00           Alliance of New
                                                                                                                                                                                                                                                                                                                                                                               Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70155                                                                                   Orleans, Inc. on OCXX
  953    RP         Grout, John and Lynette         9174 Estero River Circle       Estero            FL      33928   [VII], [XV],              1/14/2011    Yes         3,169      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                    Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $278,491.72                                                                        ECKERT WESTON + SUSANNA                                            Tax Records + Title/Deed          7/11/2006              8/6/2013                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                    Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  954    RP         Grueninger, Susan and Jeffrey   606 San Antonio Avenue         Coral Gables      FL      33146   [III], [IX], [XV],        10/7/2009    Yes         3,689      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                              JORGE SALCEDO                      Previous Owner, Did Not Own                                                                                                               255 Alhambra Circle, PH
                                                                                                                                                                                                                      0.81               $88.98          $328,247.22                                                                                                                                           Tax Records + Title/Deed         10/29/1993              5/13/2010                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                             BEATRIZ SALAS                      Property on 6/9/15                                                                                                                        Coral Gables, FL 33134
                                                                                                                                                                                  Square Footage
  955    Ex 10/79   Guerreiro, Michael and Nancy    15336 Yellow Wood Drive        Alva              FL      33920   [II], [II(C)], [IX],      3/15/2010    Yes         2,384      Property Tax      Yes                                                                  BNBNDB             Photo               25             A                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            LANDGRAF REAL ESTATE               Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $209,505.92                                                                                                                                           Tax Records + Title/Deed         12/24/2012              5/29/2013                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                            LLC                                Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  956    Add.       Guida, Gerard                   48 Pilgrim Drive               Palm Coast        FL      32164   [XV], [XVI],              7/5/2011     Yes         1,612      Property Tax      Yes                                                                  BNBM               Photo               23             A                                                                                                                                                           Doyle Law Firm                Jimmy Doyle, Esq.                  (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                     [XVII], [XX]                                                   Assessor's                        0.84               $92.27          $148,739.24                                                                        GUIDA GERARD J                     Owner as of 6/9/15              City or County Tax Records        4/29/2011           Current Owner                                        2100 Southbridge Parkway, Suite                                                     $148,692.77
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           650
  957    Ex 10/79   Guidry, Sheila                  11111 S. Idlewood Ct.          New Orleans       LA      70128   [III], [VII], [XV],       10/7/2009    Yes         1,510      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Bruno & Bruno, LLP            Joseph Bruno, Esq.                 (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            855 Baronne Street                                  m
                                                                                                                                                                                                                      0.86               $94.47          $142,649.70                                                                        GUIDRY SHEILA B                    Owner as of 6/9/15              City or County Tax Records        4/18/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           New Orleans, 70113
                                                                                                                                                                                  Square Footage
  958    Ex 10/79   Guillette, Jason and Melissa    2525 White Sand Lane           Clearwater        FL      33763   [II(C)], [III], [IX],     10/7/2009    Yes         1,473      Property Tax      Yes                                                                  Taishan            Photo/ Inspection   7              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                   Assessor's                        0.82               $90.08          $132,687.84                         Report                                         RODEWALD, NATHAN E                                                 City or County Tax Records       10/12/2007              6/25/2014                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
  959    Ex 10/79   Guinn, John P.                  6661 Willowbridge Drive        Fairhope          AL      36532   [XIII], [XV],             7/5/2011     Yes         2656       Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Levin Papantonio              Ben Gordon, Esq.                   (850) 435-7000   bgordon@levinlaw.com
                                                                                                                     [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $245,069.12                                                                        GUINN, JOHN P                      Owner as of 6/9/15              City or County Tax Records        6/16/2011           Current Owner                                        316 South Baylen St.                                                                   $0.00
                                                                                                                     [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                           Pensacola, FL 32502
  960    RP         Gulledge, Roy and Juanita       1772 Carriage Drive            Hampton           VA      23664   [II], [XV], [XVI],        3/15/2010    Yes         2,759      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice/   39             K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.             (757) 233-0009   rserpe@serpefirm.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                               Photo                                                                                                                                                                                          Serpe                         580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                                                                                  Document with                       0.95              $104.36          $287,929.24                                                                        ZHENG XUE HUA & XIU ZHEN                                           City or County Tax Records        7/17/2006              8/19/2011                                         Norfolk, VA 23510                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Square Footage
                                                                                                                   Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 28 of 82



Claimant Source     Claimant Name                   Affected Property Address   City             State   Zip     Omni(s)             Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia         Markings #     Product                                                                                                                                                     Counsel                         Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                        2017 RS Means
Identifier                                                                                                                            Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                              from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                      Residential Location                                                                                                                     Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                          Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                                   Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                            Factor                                                                                                                       May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                           Uploaded to Square Footage                                              [SF x B]                                                  Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                              [A]
                                                                                                                                                                             Sharefile
  961    Ex 10/79   Gundorf, Hazel Mae              4316 Toulouse Street        New Orleans      LA      70119   [II], [IX], [XV],     3/15/2010    Yes          815       Property Tax     Yes                                                                   Crescent City      Photo                   27             D                                                                                                                                                           Law Offices of Sidney D.        Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                                                           Previous Owner, Did Not Own
                                                                                                                 [XVI], [XVII]                                              Assessor's                       0.86                $94.47           $76,993.05                                                                            GUNDORF JOHN F III                                                 City or County Tax Records                              12/14/2012           Torres, III                     8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                           Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                                 303
  962    Ex 10/79   Sheridan Beach Club             509 E. Sheridan, Unit 305   Dania Beach      FL      33004   [IX], [XV],           5/5/2011     Yes         1,150      Property Tax     Yes                                                                   Taihe              Photo                   18             I                                                                                                                                                           Allison Grant, P.A. Baron &     Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                    [XVI], [XVII]                                              Assessor's                                                                                                                                                  GUNSON,CHRISTOPHER H                                                                                                                            Budd, P.C. Alters Boldt         Baron & Budd
                                                                                                                                                                                                             0.81                $88.98          $102,327.00                                                                                                               Owner as of 6/9/15              Tax Records + Title/Deed          4/30/2007           Current Owner                                                                                                                                 $0.00
                    Inc. (Gunson, Christopher)                                                                                                                            Document with                                                                                                                                                 &GUNSON,ROBIN P                                                                                                                                 Brown Rash & Culmo              3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                Dallas, TX 75219
  963    Ex 10/79   Gurnee, Robert and Shinners,    4349 Blackthorne Court      Virginia Beach   VA      23455   [II(B)], [XV],        12/6/2010    Yes         4,133      Property Tax      Yes                                                                  Venture Supply     Photo                   39             K                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
                    Ann                                                                                          [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                              0.94              $103.26          $426,773.58                                                                            ROBERT GURNEE                      Owner as of 6/9/15              City or County Tax Records       10/17/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                 Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                Richard J. Serpe                Coral Gables, FL 33134
  964    Ex 10/79   Gutierrez De Garcia, Jose and   8127 NW 108th Place         Doral            FL      33178   [XV], [XVI],          7/5/2011     Yes         1,624      Property Tax      Yes                                                                  IMT                Photo                   32, 33         F                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
                    Maribel                                                                                      [XVII]                                                     Assessor's                                                                                                                                                                                                                                                                                                  Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                              0.81              $88.98           $144,503.52                                                                            MARIBEL GUTIERREZ                  Owner as of 6/9/15              Tax Records + Title/Deed         12/21/2006           Current Owner                                                                                                                               $49,621.31
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                 Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                Richard J. Serpe                Coral Gables, FL 33134
  965    Ex 10/79   Guy, Etta                       2701 Aubry Street           New Orleans      LA      70119   [IX], [XV],           5/5/2011     Yes         1,137      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Bruno & Bruno, LLP              Joseph Bruno, Esq.                 (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                 [XVI], [XVII]                                              Assessor's                        0.86              $94.47           $107,412.39                                                                            GUY ETTA T                         Owner as of 6/9/15              City or County Tax Records        8/28/1981           Current Owner                                          855 Baronne Street                                  m                                  $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                                 New Orleans, 70113
  966    Ex 10/79   H. Harris Investments, Inc.     4437 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  967    Ex 10/79   H. Harris Investments, Inc.     4439 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  968    Ex 10/79   H. Harris Investments, Inc.     4441 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  969    Ex 10/79   H. Harris Investments, Inc.     4443 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  970    Ex 10/79   H. Harris Investments, Inc.     4445 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  971    Ex 10/79   H. Harris Investments, Inc.     4447 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  972    Ex 10/79   H. Harris Investments, Inc.     4451 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  973    Ex 10/79   H. Harris Investments, Inc.     4453 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  974    Ex 10/79   H. Harris Investments, Inc.     4453 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taihe              Inspection Report       N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS INC Owner as of 6/9/15                        City or County Tax Records         3/5/2009           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                                 PO Box 927
                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                Lexington, MS 39095
  975    Ex 10/79   H. Harris Investments, Inc.     4455 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  976    Ex 10/79   H. Harris Investments, Inc.     4455 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taihe              Inspection Report     N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                                 PO Box 927
                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                Lexington, MS 39095
  977    Ex 10/79   H. Harris Investments, Inc.     4456 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taihe              Inspection Report       N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                                 PO Box 927
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  978    Ex 10/79   H. Harris Investments, Inc.     4457 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  979    Ex 10/79   H. Harris Investments, Inc.     4457 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taishan/ Taihe     Inspection Report     N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                                 $0.00
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  980    Ex 10/79   H. Harris Investments, Inc.     4458 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  981    Ex 10/79   H. Harris Investments, Inc.     4458 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taihe              Inspection Report     N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                                 PO Box 927
                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                Lexington, MS 39095
  982    Ex 10/79   H. Harris Investments, Inc.     4459 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  983    Ex 10/79   H. Harris Investments, Inc.     4459 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taihe              Inspection Report     N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                Lexington, MS 39095
  984    Ex 10/79   H. Harris Investments, Inc.     4460 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  985    Ex 10/79   H. Harris Investments, Inc.     4460 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taihe              Inspection Report     N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                Lexington, MS 39095
  986    Ex 10/79   H. Harris Investments, Inc.     4461 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  987    Ex 10/79   H. Harris Investments, Inc.     4462 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  988    Ex 10/79   H. Harris Investments, Inc.     4463 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taihe              Inspection Report     N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS INC Owner as of 6/9/15                        City or County Tax Records        6/28/2011           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                                 PO Box 927
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  989    Ex 10/79   H. Harris Investments, Inc.     4464 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  990    Ex 10/79   H. Harris Investments, Inc.     4464 Nobility Court         Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes         1,320      Property Tax      Yes                                                                  Taishan/ Taihe     Inspection Report     N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                                                                                                                                                                                                                                  Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37           $123,248.40                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                Lexington, MS 39095
  991    Ex 10/79   H. Harris Investments, Inc.     4465 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  992    Ex 10/79   H. Harris Investments, Inc.     4466 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                          Document with                                                                                              1 inspection report                                                                                                                                                                                                                PO Box 927
                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
  993    Ex 10/79   H. Harris Investments, Inc.     4467 Governors Street       Pace             FL      32571   [XIII], [XV],         7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a    N/A              I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                 [XVI], [XVII]                                              Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                        404 Court Square                                    com
                                                                                                                                                                                                              0.85              $93.37            $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                                 $0.00
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                                                                                                                                                                          Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                  Lexington, MS 39095
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 29 of 82



Claimant Source     Claimant Name                    Affected Property Address   City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia         Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                              from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                     Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                                   Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                       May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                                  Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
  994    Ex 10/79   H. Harris Investments, Inc.      4468 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax     Yes                                                                   Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
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                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
  995    Ex 10/79   H. Harris Investments, Inc.      4469 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax     Yes                                                                   Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
                                                                                                                                                                                                                   0.85                $93.37           $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records        4/28/2005           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                              1 inspection report                                                                                                                                                                                                              PO Box 927
                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
  996    Ex 10/79   H. Harris Investments, Inc.      4471 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax     Yes                                                                   Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
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                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
  997    Ex 10/79   H. Harris Investments, Inc.      4473 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
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                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
  998    Ex 10/79   H. Harris Investments, Inc.      4475 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
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                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
  999    Ex 10/79   H. Harris Investments, Inc.      4485 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
                                                                                                                                                                                                                    0.85               $93.37           $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                              1 inspection report                                                                                                                                                                                                              PO Box 927
                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
 1000    Ex 10/79   H. Harris Investments, Inc.      4487 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
                                                                                                                                                                                                                    0.85               $93.37           $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                              1 inspection report                                                                                                                                                                                                              PO Box 927
                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
 1001    Ex 10/79   H. Harris Investments, Inc.      4491 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
                                                                                                                                                                                                                    0.85               $93.37           $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                              1 inspection report                                                                                                                                                                                                              PO Box 927
                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
 1002    Ex 10/79   H. Harris Investments, Inc.      4493 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
                                                                                                                                                                                                                    0.85               $93.37           $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                              1 inspection report                                                                                                                                                                                                              PO Box 927
                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
 1003    Ex 10/79   H. Harris Investments, Inc.      4497 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
                                                                                                                                                                                                                    0.85               $93.37           $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                              1 inspection report                                                                                                                                                                                                              PO Box 927
                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
 1004    Ex 10/79   H. Harris Investments, Inc.      4499 Governors Street       Pace              FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Property part of a      N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                        (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               larger group that has                                                                                                                                                                              Law Firm                      404 Court Square                                    com
                                                                                                                                                                                                                    0.85               $93.37           $91,502.60                                                                            H HARRIS INVESTMENTS               Owner as of 6/9/15              City or County Tax Records       < 1/23/2014          Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                              1 inspection report                                                                                                                                                                                                              PO Box 927
                                                                                                                                                                                Square Footage                                                                                             for all H. Harris                                                                                                                                                                                                                Lexington, MS 39095
 1005    Ex 10/79 & Hadley, Stephnea (Deceased);     5524 Feliciana Drive        New Orleans       LA      70126   [II], [VII], [XV],        3/15/2010    Yes         2,750      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Willis & Buckley              William Buckley, Esq.              (504) 488-6301   bill@willisbuckley.com
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
         Omni XX Gaskin, Annette, Executor                                                                         [XVI], [XVII],                                                 Assessor's                        0.86               $94.47          $259,792.50                                                                            CANE VENTURES LLC                                                  Tax Records + Title/Deed         12/16/1992             12/21/2015                                         3723 Canal Street                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
                                                                                                                   [XX]                                                         Document with                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70119
 1006    Ex 10/79   Haggerty, Bill, Morgan, Jetson   2561 52nd Avenue NE         Naples            FL      34120   [III], [IX], [XV],        10/7/2009    Yes         1,945      Property Tax      Yes                                                                  Chinese            Photo                   37             C                                                                                                                                                           Doyle Law Firm                Jimmy Doyle, Esq.                  (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                              HAGGERTY, FRANCIS
                    and Lee                                                                                        [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $170,926.60      Manufacturer 2                                                                                           Owner as of 6/9/15              City or County Tax Records        7/27/2011           Current Owner                                        2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                              WILLIAM
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               650
 1007    Ex 10/79   Hagstette, Barrett               5557 Rosemary Pl.           New Orleans       LA      70124   [XIII], [XV],             7/5/2011     Yes         1,011      Property Tax      Yes                                                                  Taihe              Photo                   17, 18         I                                                                                                                                                           Martzell & Bickford           Scott Bickford, Esq.               (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86               $94.47           $95,509.17                                                                            SCHNADELBACH BONNIE A                                              City or County Tax Records       12/21/2007              11/8/2013                                         338 Lafayette Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70130
 1008    RP         Hahn, Letitia                    1690 Renaissance Commons    Boynton Beach     FL      33426   [III], [IX], [XV],        10/7/2009    Yes         1,119      Property Tax      Yes                                                                  Taishan            Photo                   2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                     Blvd., Unit 1221                                              [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $100,799.52                                                                            1690 RENAISSANCE LLC                                               Tax Records + Title/Deed          6/28/2007              5/28/2014                                         900 W. Morgan Street                                                                 $93,730.84
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               Raleigh, NC 27603
 1009    RP         Haindel, Mary                    1224 Magnolia Alley         Mandeville        LA      70471   [III], [VII], [XV],       10/7/2009    Yes         1,663      Property Tax      Yes                                                                  Taihe              Photo                   15, 21         I                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.79               $86.78          $144,315.14                                                                            TOURNET, LLOYD R                                                   Tax Records + Title/Deed          6/22/2007             12/20/2010                                         425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
 1010    Ex 10/79   Hall, Lorne and Mary Bell        5319 St. Anthony Ave.       New Orleans       LA      70122   [II], [VII], [IX],        3/15/2010    Yes         2,646      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Becnel Law Firm, LLC Morris Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                  Bart, LLC Herman, Herman & Becnel Law Firm, LLC
                                                                                                                                                                                                                    0.86               $94.47          $249,967.62                                                                            LEWIS MARY B                       Owner as of 6/9/15              City or County Tax Records       10/26/2000           Current Owner                                                                                                                               $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                 Katz                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
 1011    Ex 10/79   Hall, Nathaniel and Darlene      421 Kennedy Street          Ama               LA      70031   [III], [VII], [XV],       10/7/2009    Yes         1,733      Property Tax      Yes                                                                  Taihe              Photo                   20, 21         I                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $163,716.51                                                                            HALL, NATHANIEL JOSEPH             Owner as of 6/9/15              City or County Tax Records        4/14/2010           Current Owner                                        425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
 1012    RP         Hall, Tommie L.                  4618 Charlmark Drive        New Orleans       LA      70127   [XV], [XVI],              7/5/2011     Yes         2,318      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                              DURONCELAY JEFFREY M               Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                         Assessor's                        0.86               $94.47          $218,981.46                                                                                                                                               Tax Records + Title/Deed           8/9/2011              3/14/2013                                         425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                              DURONCELAY TAMMY C                 Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
 1013    Ex 10/79   Hall, Torin                      7908 Pompano Street         New Orleans       LA      70126   [III(A)], [VII],          9/16/2010    Yes         1,200      Property Tax      Yes                                                                  Taihe              Photo                   18             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                  LLC                           Becnel Law Firm, LLC
                                                                                                                                                                                                                    0.86               $94.47          $113,364.00                                                                            HALL TORIN R                       Owner as of 6/9/15              City or County Tax Records       12/29/1998           Current Owner                                                                                                                               $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                               425 W. Airline Hwy, Suite B
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
 1014    Ex 10/79   Halvorsen, Robyn                 3200 Rue Dauphine           New Orleans       LA      70117   [XV], [XVI],              7/5/2011     Yes         4,442      Property Tax      Yes                                                                  Taihe              Photo                   18             I                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XVII]                                                         Assessor's                        0.86               $94.47          $419,635.74                                                                            HALVERSON ROBYN G                  Owner as of 6/9/15              City or County Tax Records       12/26/1997           Current Owner                                        425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
 1015    Ex 10/79   Hamilton, Roger                  1518 Jefferson Avenue       Lehigh Acres      FL      33972   [II(B)], [XV],            12/6/2010    Yes         2,253      Property Tax      Yes                                                                  Taishan            Photo                   6              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $197,993.64                                                                            DRISCOLL FLORENTINE                                                City or County Tax Records        2/20/2004              7/30/2012                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                               Bonita Springs, FL 34134
 1016    Ex 10/79   Hamlin, Wayne                    2005 Riverlake Drive        Hoover            AL      35244   [II(A)], [XV],            9/16/2010    Yes         3683       Property Tax      Yes                                                                  Taihe              Photo                   19             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                   [XVI], [XVII],                                                 Assessor's                                                                                                                                                  HAMLIN DEWEY W & CAROL                                                                                                                                                        900 W. Morgan Street
                                                                                                                                                                                                                    0.84               $92.27          $339,830.41                                                                                                   Owner as of 6/9/15                          City or County Tax Records        2/17/1988           Current Owner                                                                                                                               $0.00
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                 F                                                                                                                                                                             Raleigh, NC 27603
                                                                                                                                                                                Square Footage
 1017    Ex 10/79   Hampton, Helen                   2013 Caluda Lane            Violet            LA      70092   [II(A)], [III],           10/7/2009    Yes         2,000      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Matthews & Associates        David P. Matthews, Esq.             (888) 520-5202   dmatthews@thematthewsla                            BKC confirmed square
                                                                                                                   [VII], [XV],                                                   Assessor's                        0.86               $94.47          $188,940.00                                                                            HAMPTON, HELEN                     Owner as of 6/9/15              City or County Tax Records        6/21/2000           Current Owner                                       2905 Sackett Street                                  wfirm.com                          $0.00           footage.
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                              Houston, TX 77098
 1018    Ex 10/79   Hampton, Konrad                  2514 Kenneth Drive          Violet            LA      70092   [II(A)], [VII],           9/16/2010    Yes         1,000      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.86               $94.47           $94,470.00                                                                            HAMPTON, KONRAD                    Owner as of 6/9/15              City or County Tax Records         7/6/2004           Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
 1019    Ex 10/79   Hampton, Vernon                  5641 St. Matthew Circle     Violet            LA      70092   [II], [II(A)], [VII],     3/15/2010    Yes         1,500      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $141,705.00                                                                            HITCHENS PROPERTIES, LLC                                           City or County Tax Records         8/6/2001              8/24/2015                                        425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
 1020    Ex 10/79   Hamwee, Mark                     2557 Deerfield Lake Court   Cape Coral        FL      33909   [II], [IX], [XV],         3/15/2010    Yes         2,471      Property Tax      Yes                                                                  ProWall            Photo                   44             G                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $217,151.48                                                                            GIRALDO DILSAN MARCELA                                             Tax Records + Title/Deed          7/25/2008              6/7/2011            Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                              300
 1021    Ex 10/79   Hankton, Earl and Louise         4939 Wright Road            New Orleans       LA      70128   [VII], [XV],              1/14/2011    Yes         1,787      Property Tax      Yes                                                                  Crescent City      Photo                   27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                              HANKTON LOUISE J                   Owner as of 6/9/15, No Longer
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $168,817.89                                                                                                                                               Mortgage Documents                                       9/29/2016                                        855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                                                                                                                                                                              HANKTON EARL JR                    Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                              New Orleans, 70113
 1022    Ex 10/79   Hanlon, Patrick and Ann          3407 West Oakellar Avenue   Tampa             FL      33611   [II], [XV], [XVI],        3/15/2010    Yes         3,309      Property Tax      Yes                                                                  Taihe              Photo                   15, 18         I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              HANLON PATRICK L
                                                                                                                   [XVII]                                                         Assessor's                        0.83               $91.18          $301,714.62                                                                                                               Owner as of 6/9/15              City or County Tax Records       10/10/2005           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                              HANLON ANN M
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                              Bonita Springs, FL 34134
 1023    RP         Hansen, Matt and Tracie          15009 Wind Whisper Drive    Odessa            FL      33556   [II(A)], [IX},            9/16/2010    Yes         3,643      Property Tax      Yes                                                                  C&K                Photo                   36             B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              WEAVER HAL J & MICHELLE            Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $332,168.74                                                                                                                                               Tax Records + Title/Deed          8/14/2009             12/21/2011                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                              M                                  Property on 6/9/15
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
 1024    RP         Hardesty, Richard                14145 Citrus Crest Circle   Tampa             FL      33625   [IX], [XIII],             5/5/2011     Yes         1,598      Property Tax      Yes                                                                  Taihe              Photo                   14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                                                                     Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.83               $91.18          $145,705.64                                                                            SEAL JACLYN MARIE                                                  Tax Records + Title/Deed          6/20/2007              7/18/2014                                                                                                                                $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                    Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 1025    Ex 10/79   Harding, Matthew and Kristin     4444 Park Shore Drive       Marrero           LA      70072   [III], [VII], [XV],       10/7/2009    Yes         1,821      Property Tax      Yes                                                                  Taihe              Photo                   15, 18, 21     I                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                     Previous Owner, Did Not Own                                                                                                               338 Lafayette Street
                                                                                                                                                                                                                    0.86               $94.47          $172,029.87                                                                            GASSENBERGER,DAVID L                                               Tax Records + Title/Deed          5/20/2006              6/30/2014                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                    Property on 6/9/15                                                                                                                        New Orleans, LA 70130
                                                                                                                                                                                Square Footage
 1026    Ex 10/79   Hargrove, Linda                  12 Marywood Court           New Orleans       LA      70128   [III(A)], [VII],          9/16/2010    Yes         1,448      Property Tax      Yes                                                                  Taihe              Photo                   21             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.    (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                                 425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                    0.86               $94.47          $136,792.56                                                                            HARGROVE LINDA B                   Owner as of 6/9/15              City or County Tax Records        12/9/1998           Current Owner                                                                                                                               $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                LaPlace, LA 70064
                                                                                                                                                                                Square Footage
 1027    Ex 10/79   Harikrishnan, Sundaram and       542 Rimini Vista Way        Sun City Center   FL      33573   [II], [IX}, [XV],         3/15/2010    Yes         2,889      Property Tax      Yes                                                                  C&K                Photo                   34             B                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                              HARIKRISHNAN SUNDARAM
                    Jeeva                                                                                          [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $263,419.02                                                                                                               Owner as of 6/9/15              Tax Records + Title/Deed          3/23/2007           Current Owner                                         12 SE 7th St #801                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                              HARIKRISHNAN JEEVA
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                                Fort Lauderdale, FL 33301-3434
 1028    Ex 10/79   Harmer, Barbara and Frank        6550 Caicos Court           Vero Beach        FL      32967   [II(B)], [III(A)],        9/16/2010    Yes         2,764      Property Tax      Yes                                                                  Taishan            Photo                   5              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.               (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                                  HOAG, RAYMOND A                    Previous Owner, Did Not Own                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                    0.84               $92.27          $255,034.28                                                                                                                                               Tax Records + Title/Deed          9/17/2008              5/17/2012                                                                                                                                $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                 (COTRS)(TOK)(H)&                   Property on 6/9/15                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                Square Footage
 1029    Ex 10/79   Harmer, David and Heidi Kay      1324 SW 27 Terrace          Cape Coral        FL      33914   [XV], [XVI],              7/5/2011     Yes         2,485      Property Tax      Yes                                                                  Taishan            Photo                   7              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                     Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.80               $87.88          $218,381.80                                                                            DESMORNES MARIE CAROLE                                             Tax Records + Title/Deed          10/5/2005              9/2/2009                                                                                                                                 $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                    Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                Richard J. Serpe               Coral Gables, FL 33134
 1030    Ex 10/79   Harms, Timothy and Joan          21430 County Road 38        Summerdale        AL      36580   [XV], [XVI],              7/5/2011     Yes         2366       Property Tax      Yes                                                                  Taihe              Photo                   17             I                                                                                                                                                           Daniell, Upton & Perry, P.C.   Jonathan Law                      (251) 625-0046   JRL@dupm.com
                                                                                                                                                                                                                                                                                                                                              HARMS, TIMOTHY W ETUX
                                                                                                                   [XVII], [XXI]                                                  Assessor's                        0.84               $92.27          $218,310.82                                                                                                               Owner as of 6/9/15              City or County Tax Records       10/13/2006           Current Owner                                         30421 State Highway 181                                                               $0.00
                                                                                                                                                                                                                                                                                                                                              JOAN C
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                                Daphne, Alabama 36527
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 30 of 82



Claimant Source     Claimant Name                    Affected Property Address   City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
 1031    Ex 10/79   Harper, Mathew                   949 Golf Course Road        Pell City         AL      35128   [XIII], [XV],             7/5/2011     Yes         1792       Property Tax     Yes                                                                   Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                   [XVI], [XVII],                                                 Assessor's                       0.84                $92.27          $165,347.84                                                                       HARPER MATTHEW SHANE               Owner as of 6/9/15              City or County Tax Records        11/3/2009           Current Owner                                        900 W. Morgan Street                                                                   $0.00
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1032    Ex 10/79   Harrington, Thomas and Maxine 11338 Will Stutley Drive       New Orleans       LA      70128   [VII], [XV],              1/14/2011    Yes         2,334      Property Tax     Yes                                                                   Taihe              Photo              13             I                                                                                                                                                           Bruno & Bruno, LLP            Joseph Bruno, Esq.                 (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                             HARRINGTON THOMAS JR                                                                                                                                                          855 Baronne Street                                  m
                                                                                                                                                                                                                   0.86                $94.47          $220,492.98                                                                                                          Owner as of 6/9/15              City or County Tax Records        1/31/1996           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                            HARRINGTON MAXINE S                                                                                                                                                           New Orleans, 70113
                                                                                                                                                                                Square Footage
 1033    RP         Harris, Brandon J. Wesley and    881 Thomason Road           Albertville       AL      35951   [III], [VII], [XV],       10/7/2009    Yes         1,470      Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                   (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                    Jessica                                                                                        [XVI], [XVII],                                                 Assessor's                        0.82              $90.08           $132,417.60                                                                       SCOTT, DEREK                                                       Tax Records + Title/Deed          5/15/2007              3/1/2014            Irby                         905 Montgomery Highway, Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                         201
 1034    Ex 10/79   Harris, James, Edward and        5401 7th Avenue North       Bessemer          AL      35020   [II(C)], [III],           10/7/2009    Yes         2034       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                    Booker                                                                                         [XV], [XVI],                                                   Assessor's                        0.84              $92.27           $187,677.18                                                                       SIMPSON ISABEL H &                 Owner as of 6/9/15              City or County Tax Records        9/21/1926           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                   [XVII], [XXI]                                                Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 1035    Ex 10/79   Harris, Ralph and Bain-Harris,   1601 Eldron Blvd., SE       Palm Bay          FL      32909   [IX], [XV],               5/5/2011     Yes         2,179      Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                    Jean                                                                                           [XVI], [XVII]                                                  Assessor's                        0.84              $92.27           $201,056.33                                                                       HARRIS, RALPH T; BAIN, JEAN Owner as of 6/9/15                     Tax Records + Title/Deed           7/3/2007           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1036    Ex 10/79   Harris, Reginald                 705 Waverly Place           Opelika           AL      36804   [XIII], [XV],             7/5/2011     Yes         1165       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.84              $92.27           $107,494.55                                                                       HARRIS REGINALD W                  Owner as of 6/9/15              Tax Records + Title/Deed          7/31/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
 1037    RP         Harris, Shawn                    2521 St. Roch Avenue New    New Orleans       LA      70117   [XIII], [XV],             7/5/2011     Yes          789       Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com                               See Preservation
                                                     Orleans, LA 70117                                             [XVI], [XVII]                                                  Assessor's                        0.86              $94.47            $74,536.83                                                                       HARRIS SHAWN                       Owner as of 6/9/15              City or County Tax Records         7/9/2004           Current Owner                                       701 Poydras Street, Suite 3650                                                          $0.00           Alliance of New
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70156                                                                                   Orleans, Inc. on OCXX
 1038    Ex 10/79   Harris, Sheldon and Phyllis      7410 Alabama Street         New Orleans       LA      70126   [XIII], [XV],             7/5/2011     No          1,843      Property Tax      Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           Toxic Litigation Group, LLC Stuart Barasch, Esq.                 213-621-2536     stuart@law-tlg.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $174,108.21                                                                       HARRIS SHELDON V                   Owner as of 6/9/15              City or County Tax Records        7/19/2004           Current Owner                                       767 N Hill St #220                                                                      $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Los Angeles, CA 90012
 1039    Ex 10/79   Harrison, Barrie and Hillary     142 SE 20th Street          Cape Coral        FL      33990   [II(C)], [IX],            1/24/2011    Yes         2,370      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Owner as of 6/9/15, No Longer
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $208,275.60                                                                       EVERSON RUSSELL & LORI                                             Tax Records + Title/Deed           1/8/2008              8/5/2016                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                            Owns Property
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1040    Ex 10/79   Harrison, George and Maria       6052 NW 116 Drive #19A      Coral Springs     FL      33076   [IX], [XV],               5/5/2011     Yes         1,845      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                            Owner as of 6/9/15, No Longer
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.81              $88.98           $164,168.10                                                                       MORSELLO,JASON                                                     City or County Tax Records        6/22/2007              6/15/2015                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                            Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 1041    Ex 10/79   Harrison, Wesley                 6661 Woodland Road          Macclenny         FL      32063   [II], [XV], [XVI],        3/15/2010    Yes         1,671      Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                         HARRISON WESLEY W &
                                                                                                                   [XVII]                                                         Assessor's                        0.82              $90.08           $150,523.68                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          8/15/2007           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                         MAMIE L
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1042    RP         Harry, Joshua and Sharntay       903 Eastfield Lane          Newport News      VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                         Assessor's                        0.95              $104.36          $187,534.92                         Property Assessment                           MARTIN TAWANNA S                                                   City or County Tax Records        9/28/2007             12/11/2012           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 1043    Ex 10/79   Hartenstein, Lorena              2519 Tournefort Street      Chalmette         LA      70043   [III], [VII], [XV],       10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                             HARTENSTEIN, LORENA                                                                                                                                                          2800 Energy Centre
                                                                                                                                                                                                                    0.86              $94.47           $122,811.00                                                                                                          Owner as of 6/9/15              City or County Tax Records        8/23/2000           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                            JAUNET                                                                                                                                                                       1100 Poydras Street
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70163
 1044    Ex 10/79   Harter, Harry and Olga           2040 NW 1st Street          Cape Coral        FL      33993   [II(C)], [III], [IX],     10/7/2009    Yes         2,114      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         HARTER HARRY H JR + OLGA
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $185,778.32                                                                                                Owner as of 6/9/15                        City or County Tax Records        6/30/2008           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                         E
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1045    Ex 10/79   Hartford, Phillis                5119 Sandhurst Drive        New Orleans       LA      70126   [XV], [XVI],              7/5/2011     Yes         1,554      Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.86              $94.47           $146,806.38                                                                       HARTFORD PHILLIS M                 Owner as of 6/9/15              City or County Tax Records       10/15/1999           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Birmingham, AL 35209
 1046    Ex 10/79   Hartline, Carolyn                3201 Rannock Moor           Williamsburg      VA      23188   [II(A)], [XV],            9/16/2010    Yes         1,244      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                           STAPLES, WILLIAM N &               Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.96              $105.46          $131,192.24                                                                                                                                          City or County Tax Records        6/28/2006              6/22/2015                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                            CLAUDIA A                          Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1047    RP         Hartmann, Kurt and Tracy         4013 SW 5th Place           Cape Coral        FL      33914   [III(A)], [XV],           9/16/2010    Yes         2,220      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                             BERRY MARK + YANUZZI               Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $195,093.60                                                                                                                                          Tax Records + Title/Deed          5/14/2001             11/15/2011                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                            MARLENE E H/W                      Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1048    Ex 10/79   Hartwell, Terry                  1400 Barth Road             Molino            FL      32577   [XV], [XVI],              7/5/2011     No          1,634      Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                    0.85              $93.37           $152,566.58                                                                       HARTWELL TERRY L                   Owner as of 6/9/15              Tax Records + Title/Deed          9/25/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Birmingham, AL 35209
 1049    Ex 10/79   Harumph, LLC                     2841 St. Bart’s Square      Vero Beach        FL      32967   [II(C)], [XIII],          1/24/2011    Yes         2,725      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.84              $92.27           $251,435.75                                                                       HARUMPH LLC                        Owner as of 6/9/15              Tax Records + Title/Deed          8/18/2008           Current Owner                                                                                                                               $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1050    Ex 10/79   Harvey, Lawrence and Patricia    3217 Upperline Street       New Orleans       LA      70118   [VII], [XV],              1/14/2011    Yes         1,336      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                               855 Baronne Street                                   m
                                                                                                                                                                                                                    0.86              $94.47           $126,211.92                                                                       CANE VENTURES, LLC                                                 City or County Tax Records         3/9/2005              8/21/2013                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        New Orleans, 70113
                                                                                                                                                                                Square Footage
 1051    RP         Harvey, Ronald and Brandy Jr.    5919 Bilek Drive            Pensacola         FL      32526   [III], [VII], [XV],       10/7/2009    Yes         1,014      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Levin Papantonio            Ben Gordon, Esq.                     (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.85              $93.37            $94,677.18                                                                       HMK HOLDINGS LLC                                                   Tax Records + Title/Deed         12/22/2006              4/16/2013                                       316 South Baylen St.                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
 1052    Ex 10/79   Harwood, Kevin Cort              8442 Scott Drive            Trussville        AL      35173   [XV], [XVI],              7/5/2011     Yes         4498       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Gentle, Turner & Sexton     K. Edward Sexton, II                 (205)-716-3000   esexton@gtandslaw.com
                                                                                                                   [XVII], [XXI]                                                  Assessor's                        0.84              $92.27           $415,030.46                                                                       HARWOOD KEVIN C                    Owner as of 6/9/15              City or County Tax Records         6/1/2006           Current Owner                                      501 Riverchase Parkway East,                                                             $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                        Suite 100
 1053    Ex 10/79   Haseltime, James and Joanne      12020 Creole Court          Parrish           FL      34219   [II], [XV], [XVI],        3/15/2010    Yes         2,931      Property Tax      Yes                                                                  Taishan            Photo              6              J           HASELTINE, JAMES E                                                                                                                              Norton, Hammersley, Lopez & Darren Inverso, Esq.                 (941) 954-4691   dinverso@nhlslaw.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                             HASELTINE FAMILY TRUST                                                                                                                          Skokos, P.A. James, Hoyer,  1819 Main Street, Suite 610
                                                                                                                                                                                                                    0.83              $91.18           $267,248.58                                                                                                          Owner as of 6/9/15              City or County Tax Records       11/20/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                            DTD                                                                                                                                             Newcomer & Smiljanich, P.A. Sarasota, FL 34236
                                                                                                                                                                                Square Footage                                                                                                                                           HASELTINE, JOANNE E
 1054    Ex 10/79   Haskin, Tracy                    1740 Sere Street            New Orleans       LA      70122   [II(B)], [VII],           12/6/2010    Yes         1,164      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           The Lambert Firm              Hugh Lambert, Esq.                 (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.86              $94.47           $109,963.08                                                                       HASKIN TRACY A                     Owner as of 6/9/15              City or County Tax Records        3/29/2002           Current Owner                                        701 Magazine St,                                    om                                 $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130
 1055    Ex 10/79   Hasselschwert, Craig and Jane    8499 Chase Preserve Drive   Naples            FL      34113   [III], [XV],              10/7/2009    Yes         1,600      Property Tax      Yes                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $140,608.00                                                                       REID, GREGORY & CAROL                                              Tax Records + Title/Deed         11/18/2004              5/22/2014                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1056    Ex 10/79   Hatcher, Cecil and Lena          7400 Arabia Avenue          Birmingham        AL      35224   [VII], [XV],              1/14/2011    Yes         2330       Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                   [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $214,989.10                                                                       HATCHER CECIL (D)                  Owner as of 6/9/15              City or County Tax Records       12/10/1996           Current Owner                                        900 W. Morgan Street                                                                   $0.00
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1057    Ex 10/79   Hattemer, Greg and Jennifer      2202 SW 13th Avenue         Cape Coral        FL      33991   [II(C)], [III],           10/7/2009    Yes         2,515      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         HATTEMER JENNIFER
                                                                                                                   [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $221,018.20                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          2/14/2003           Current Owner                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                         LECHICH
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1058    Ex 10/79   Hatten, Gabriel                  1663 Monroe Road            Hattiesburg       MS      39401   [III], [VII], [XV],       10/7/2009    Yes         2,338      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Hawkins Gibson                Edward Gibson, Esq.                (228) 467-4225   egibson@hgattorneys.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                           153 Main St
                                                                                                                                                                                                                    0.79              $86.78           $202,891.64                                                                       HATTEN, GABRIEL                    Owner as of 6/9/15              Utility Bill                      7/29/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Bay St Louis, MS 39520
                                                                                                                                                                                Square Footage
 1059    Ex 10/79   Hatton, Patrick and Jeannette    10912 Observatory Way       Tampa             FL      33647   [XV], [XVI],              7/5/2011     Yes         1,917      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         HATTON PATRICK W
                                                                                                                   [XVII]                                                         Assessor's                        0.83              $91.18           $174,792.06                                                                                                          Owner as of 6/9/15              City or County Tax Records        8/28/2008           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                         BURZENSKI JEANNETTE
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1060    Ex 10/79   Havrilla, John                   967 Hollymeade Circle       Newport News      VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.95              $104.36          $187,534.92                                                                       HAVRILLA JOHN F,                   Owner as of 6/9/15              City or County Tax Records        4/16/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1061    Ex 10/79   Haydel, Merlin                   7150 E. Renaissance Court   New Orleans       LA      70128   [XV], [XVI],              7/5/2011     Yes         1,440      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com                           Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                            Owner as of 6/9/15, No Longer
                                                                                                                   [XVII]                                                         Assessor's                        0.86              $94.47           $136,036.80                                                                       FERROUILLET PEGGY J                                                City or County Tax Records       11/29/1984              9/12/2014                                        425 W. Airline Hwy, Suite B                                                             $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                            Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 1062    RP         Hayden, Michael                  1509 NE 35th Street         Cape Coral        FL      33909   [XIII], [XV],             7/5/2011     Yes         1,833      Property Tax      Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                             ACEVEDO WILLIAM +                  Previous Owner, Did Not Own                                                                                                               12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                    0.80              $87.88           $161,084.04                                                                                                                                          Tax Records + Title/Deed          8/26/2008              1/26/2011                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                            JANETTE                            Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                                Square Footage
 1063    RP         Hayes, Gloria                    7022 Bundy Road             New Orleans       LA      70127   [III], [VII], [XV],       10/7/2009    Yes         1,976      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                    0.86              $94.47           $186,672.72                                                                       HAYES GLORIA F                     Owner as of 6/9/15              City or County Tax Records        3/17/1983           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         425 W. Airline Hwy, Suite B
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 1064    Ex 10/79   Hayes, Joseph and Selena         3930 Walter Moore Road      Chunchula         AL      36521   [III], [VII], [XV],       10/7/2009    Yes         3290       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                         HAYES JOSEPH H JR &
                                                                                                                   [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $303,568.30                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed            2008              Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                         SELENA
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 1065    Ex 10/79   Hayes, Robert and Deborah S.     3935 Butler Springs Way     Birmingham        AL      35226   [VII], [XV],              1/14/2011    Yes         4359       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                         HAYES ROBERT B &
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.84              $92.27           $402,204.93                                                                                                          Owner as of 6/9/15              City or County Tax Records         8/1/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                         DEBORAH S
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         650
 1066    Ex 10/79   Haywood, Manisha Adwani          1690 Renaissance Commons    Boynton Beach     FL      33426   [II(A)], [XV],            9/16/2010    Yes          817       Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                     Blvd. Unit 1127                                               [XVI], [XVII]                                                  Assessor's                        0.82              $90.08            $73,595.36                                                                       ADWANI, MANISHA                    Owner as of 6/9/15              City or County Tax Records       10/16/2007           Current Owner                                       900 W. Morgan Street                                                                  $93,282.71
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 1067    Ex 10/79   Hazelwood, Frank and Sharon      1825 Wolf Creek Road        North Pell City   AL      35125   [XV], [XVI],              7/5/2011     Yes          800       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                   (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                   [XVII], [XXI]                                                  Assessor's                                                                                                                                             HAZELWOOD FRANK L &                                                                                                                             Irby                         905 Montgomery Highway, Suite
                                                                                                                                                                                                                    0.84              $92.27            $73,816.00                                                                                                          Owner as of 6/9/15              City or County Tax Records          2007              Current Owner                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                            SHARON M                                                                                                                                                                     201
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                        Vestavia Hills, AL 35216
 1068    RP         Hazeur, Melvina                  2205-07 St. Roch Avenue     New Orleans       LA      70117   [IX], [XV],               5/5/2011     Yes         1,627      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com                               See Preservation
                                                                                                                                                                                                                                                                                                                                         HEALY LOGAN M                      Owner as of 6/9/15, No Longer
                                                                                                                   [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $153,702.69                                                                                                                                          Tax Records + Title/Deed          8/29/1980              6/25/2015                                        701 Poydras Street, Suite 3650                                                          $0.00           Alliance of New
                                                                                                                                                                                                                                                                                                                                         KING SAMANTHA E                    Owns Property
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70157                                                                                   Orleans, Inc. on OCXX
 1069    Ex 10/79   Head, Clinton and Ashley         992 Carrington Drive        Mt. Olive         AL      35117   [XIII], [XV],             7/5/2011     Yes         2712       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                         HEAD CLINTON D & ASHLEY
                                                                                                                   [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $250,236.24                                                                                               Owner as of 6/9/15                         City or County Tax Records         9/1/2005           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                         M
                                                                                                                   [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 31 of 82



Claimant Source     Claimant Name                    Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                   Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                   Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 1070    Ex 10/79   Headley, Danny and Cathy         5313 County Road 24            Verbena           AL      36091   [III], [VII], [XV],       10/7/2009    Yes         1456       Property Tax     Yes                                                                   Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                                                                                                                                                             900 W. Morgan Street
                                                                                                                                                                                                                      0.83                $91.18          $132,758.08                                                                        HEADLEY CATHY G                    Owner as of 6/9/15              City or County Tax Records        9/17/2013           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
                                                                                                                                                                                   Square Footage
 1071    Ex 10/79   Hearns, Ingrid                   2127 North Tonti Street        New Orleans       LA      70119   [XV], [XVI],              7/5/2011     Yes         1,394      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           The Lambert Firm Kanner &      Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                      [XVII]                                                         Assessor's                       0.86                $94.47          $131,691.18                                                                        HEARNS INGRID                      Owner as of 6/9/15              City or County Tax Records         2/6/1998           Current Owner          Whitely Greg Dileo             701 Magazine St,                                     om                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans LA 70130
 1072    Ex 10/79   Heath, John and Vicky            47 Greenbriar Drive            Gulfport          MS      39507   [II(B)], [XV],            12/6/2010    Yes         2,784      Property Tax     Yes                                                                   Taihe              Photo               18             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                       0.84                $92.27          $256,879.68                                                                        HEATH JOHN S & WF                  Owner as of 6/9/15              City or County Tax Records          2009              Current Owner                                         900 W. Morgan Street                                                                      $0.00
                                                                                                                      [XXIII]                                                      Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1073    Ex 10/79   Heath, Jr., Howell and Kathleen 213 NW 1st Street               Cape Coral        FL      33993   [II(C)], [XV],            1/24/2011    Yes         2,118      Property Tax     Yes                                                                   Taishan            Inspection Report   12             L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $186,129.84                                                                        HEATH HOWELL Q JR L/E              Owner as of 6/9/15              Tax Records + Title/Deed          6/12/2008           Current Owner                                         12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1074    Ex 10/79   Hebert, Ronald and Tiffany       3856 Augustine Lane            Marrero           LA      70072   [XV], [XVI],              7/5/2011     Yes         1,679      Property Tax     Yes                                                                   Taihe              Photo               18             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                             HEBERT,RONALD A JR &
                                                                                                                      [XVII]                                                         Assessor's                       0.86                $94.47          $158,615.13                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          1/13/2011           Current Owner                                         701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                                                                                                                                                                             TIFFANY L
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70158
 1075    Ex 10/79   Heckler, Richard                 12231 Oak Ramble Drive         Spring Hill       FL      34610   [XV], [XVI],              7/5/2011     Yes         1,852      Property Tax     Yes                                                                   Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                              ELLEMAN DOUGLAS D & JONI Previous Owner, Did Not Own                                                                                                                           14 Southeast 4th Street
                                                                                                                                                                                                                      0.83                $91.18          $168,865.36                                                                                                                                           City or County Tax Records       12/15/2008              7/18/2013                                                                                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                             M                        Property on 6/9/15                                                                                                                                    Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1076    Ex 10/79   Heckman, Gary Hall, Katherine    1041 Fish Hook Circle          Bradenton         FL      34212   [XIII], [XV],             7/5/2011     Yes         3,438      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             HECKMAN, GARY HALL,
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $313,476.84                                                                                                           Owner as of 6/9/15              City or County Tax Records       11/15/2007           Current Owner                                       12 SE 7th St #801                                                                        $231,532.30
                                                                                                                                                                                                                                                                                                                                             KATHERINE
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 1077    Ex 10/79   Heinemann, Bernard and Barbara 5202 SW 28th Place               Cape Coral        FL      33914   [II], [II(B)], [VII],     3/15/2010    Yes         2,510      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                             HEINEMANN BERNARD +
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80               $87.88          $220,578.80                                                                        BARBARA TR                         Owner as of 6/9/15              City or County Tax Records        9/13/2006           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                             FOR HEINEMANN TRUST
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1078    Ex 10/79   Helbig, Cindy                    1921 Maxey Manor Drive         Virginia Beach    VA      23454   [II(B)], [XV],            12/6/2010    Yes         1,842      Property Tax      Yes                                                                  Venture Supply     Photo               40             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94              $103.26          $190,204.92                                                                        ELI NIDAM                                                          City or County Tax Records         7/2/2009              8/10/2016                                                                                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1079    Ex 10/79   Heller, James and Barbara        839 King Leon Way              Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,503      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             HELLER BARBARA L
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $137,043.54                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          6/30/2006           Current Owner                                       12 SE 7th St #801                                                                           $0.00
                                                                                                                                                                                                                                                                                                                                             HELLER JAMES B
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 1080    Ex 10/79   Helmick, Maria and Timothy       8931 SW 228th Lane             Miami             FL      33190   [III], [IX], [XV],        10/7/2009    Yes         3,399      Property Tax      Yes                                                                  Taishan            Photo               2, 8           J                                                                                                                                                           Pro Se                       N/A                                   N/A              N/A                                                  Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $302,443.02                                                                        FRANKLIN J JIMENEZ                                                 Tax Records + Title/Deed          3/15/2007              3/5/2014                                                                                                                                     $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with
 1081    Ex 10/79   Helmkamp, Christopher and        306 Mestre Place               North Venice      FL      34275   [IX], [XV],               5/5/2011     Yes         1,600      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             HELMKAMP CHRISTOPHER P
                    Zivile                                                                                            [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $145,888.00                                                                                               Owner as of 6/9/15                          Tax Records + Title/Deed          8/24/2007           Current Owner                                         12 SE 7th St #801                                                                         $0.00
                                                                                                                                                                                                                                                                                                                                             HELMKAMP ZIVILE
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1082    Ex 10/79   Helms, Dorothy                   385 Evening Falls Drive        Pensacola         FL      32534   [XIII], [XV],             7/5/2011     Yes         1,371      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.85               $93.37          $128,010.27                                                                        NANNY WILLIAM                                                      Tax Records + Title/Deed           6/9/2009              2/9/2016                                           2100 Southbridge Parkway, Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            650
 1083    Ex 10/79   Helmstetter, Lorraine            2244 Lizardi Street            New Orleans       LA      70117   [IX], [XV],               5/5/2011     Yes         1,488      Property Tax      Yes                                                                  Crescent City      Photo               27             D           FREEMAN SHARON S 5                                                                                                                              Hurricane Legal Center, LLC    Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                              MILLER ESTER S 5                                                                                                                                                               Young Law Firm
                                                                                                                                                                                   Document with                                                                                                                                             SMITH WILLIE 1                                                                                                                                                                 1010 Common St., Suite 3040
                                                                                                                                                                                   Square Footage                      0.86               $94.47          $140,571.36                                                                        BEARDEN JACQUELYN 5                Owner as of 6/9/15              Tax Records + Title/Deed          5/23/2007           Current Owner                                         New Orleans, LA 70112                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                             SMITH GLENN 1
                                                                                                                                                                                                                                                                                                                                             FREEMAN SHARON 5
                                                                                                                                                                                                                                                                                                                                             HELMSTEHER LORRAINE 5
 1084    RP         Hembree, Roger and Laura         8558 Pegasus Drive             Lehigh Acres      FL      33971   [II], [II(C)], [XV],      3/15/2010    Yes         2,368      Property Tax      Yes                                                                  Taishan            Photo               5, 6           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $208,099.84                                                                        GRECO GIUSEPPE + MARIA                                             Tax Records + Title/Deed          10/5/2006              9/23/2011                                        12800 University Drive, Suite 600                      m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1085    Ex 10/79   Hemphill, James and Gail         4609 Town Creek Drive          Williamsburg      VA      23188   [II(C)], [XV],            1/24/2011    Yes         2,442      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.96              $105.46          $257,533.32                                                                        HEMPHILL, JAMES W & GAIL I Owner as of 6/9/15                      City or County Tax Records        6/26/2006           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1086    Ex 10/79   Hendrix, Valentine               2404 E. 31st Avenue            Tampa             FL      33610   [II(B)], [VII],           12/6/2010    Yes         1,496      Property Tax      Yes                                                                  Taihe              Photo               14, 15         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.83               $91.18          $136,405.28                                                                        HENDRIX VALTENTINE                 Owner as of 6/9/15              City or County Tax Records        5/19/2008           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1087    Ex 10/79   Henry, Fred and Tia              4800 Cardenas Drive            New Orleans       LA      70127   [IX], [XV],               5/5/2011     Yes         2,361      Property Tax       Yes                                                                 Taihe              Photo               13             I                                                                                                                                                           Berniard Law Firm, LLC       Jeffrey Berniard, Esq.                (504) 527-6225   Jeff@getjeff.com
                                                                                                                                                                                                                                                                                                                                             HENRY FRED A JR
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $223,043.67                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/20/2005           Current Owner                                       300 Lafayette St, #101                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                             HENRY TIA C.M
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          New Orleans, Louisiana 70130
 1088    Ex 10/79   Hensley, Donna                   5387 Quail Ridge Road          Gardendale        AL      35071   [XV], [XVI],              7/5/2011     Yes         2725       Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Collins & Horsley            W. Brian Collins, Esquire             (205) 529-4988   thecollinslawoffices@gmail.
                                                                                                                      [XVII], [XXI]                                                  Assessor's                                                                                                                                                                                                                                                                                                                           Collins Law Firm                                       com
                                                                                                                                                                                                                       0.84               $92.27          $251,435.75                                                                        HENSLEY DONNA                      Owner as of 6/9/15              City or County Tax Records         3/1/2007           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          1461 Shades Crest Road
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Hoover, AL 35226
 1089    Ex 10/79   Henson, Shawn                    1213 Avondale Lane             Newport News      VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Photo               40             K                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.95              $104.36          $187,534.92                                                                        TARACENA WILLIAM A,                                                City or County Tax Records       10/29/2007              1/18/2011                                        27300 Riverview Center Blvd                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1090    Ex 10/79   Herbert, Ken and Foglia, Margo 822 King Leon Way                Sun City Center   FL      33573   [III], [XV],              10/7/2009    Yes         1,910      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             HERBERT KEN
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $174,153.80                                                                                                           Owner as of 6/9/15              City or County Tax Records        8/15/2006           Current Owner                                       12 SE 7th St #801                                                                           $0.00
                                                                                                                                                                                                                                                                                                                                             FOGLIA MARGOT
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 1091    RP         Hernandez, Alexandra             10902 NW 83rd Street Apt. 7-   Doral             FL      33178   [II(B)], [III(A)],        9/16/2010    Yes         1,260      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                     224 Doral, FL 33178                                              [XIII], [XV],                                                  Assessor's                                                                                                                                              GIORGIO NERI                       Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $112,114.80                                                                                                                                           Tax Records + Title/Deed          2/26/2007              7/30/2012                                                                                                                                    $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                             PATRICIA VERA DE NERI              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1092    Ex 10/79   Hernandez, Humberto              1204 NW 33 Place               Cape Coral        FL      33993   [II(C)], [XV],            1/24/2011    Yes         2,221      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $195,181.48                                                                        HERNANDEZ HUMBERTO                 Owner as of 6/9/15              City or County Tax Records         6/9/2008           Current Owner                                       27300 Riverview Center Blvd                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1093    Ex 10/79   Hernandez, John and Bertha       3516 N. Perry Avenue           Tampa             FL      33603   [II(A)], [VII],           9/16/2010    Yes         3,613      Property Tax      Yes                                                                  Taihe              Photo               14, 15, 17     H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.83               $91.18          $329,433.34                                                                        HERNANDEZ BERTHA L                 Owner as of 6/9/15              Tax Records + Title/Deed          2/29/1996           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1094    RP         Hernandez, Mario and Jessica     2716 Blue Cypress Lake Court   Cape Coral        FL      33909   [II(A)], [XV],            9/16/2010    Yes         2,603      Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             PALMA RANIERO A + PALMA Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $228,751.64                                                                                                                                           Tax Records + Title/Deed          4/27/2007             10/25/2010                                        12800 University Drive, Suite 600                      m                                    $0.00
                                                                                                                                                                                                                                                                                                                                             YAMILEE                 Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1095    Ex 10/79   Hernandez, Yenny and Perez,      3603 SW 20 Street              Lehigh Acres      FL      33976   [II], [XV], [XVI],        3/15/2010    Yes         1,427      Property Tax      Yes                                                                  Taishan            Photo               2, 3, 4        J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                    Jorge                                                                                             [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.80               $87.88          $125,404.76                                                                        HERNANDEZ YENNY                    Owner as of 6/9/15              City or County Tax Records        4/22/2009           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1096    RP         Herrera, Francisco and           6034 NW 116 Drive              Coral Springs     FL      33076   [II(A)], [II(B)],         9/16/2010    Yes         2,470      Property Tax      Yes                                                                  C&K                Photo               34             B                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                    Hernandez, Marisela                                                                               [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $219,780.60                                                                        XAVIER,LANAMARA                                                    Tax Records + Title/Deed          6/29/2007             12/31/2012                                                                                                                                    $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1097    Ex 10/79   Herrington, Brandi and Willis,   116 Northgate Drive South      Satsuma           AL      36572   [IX], [XV],               5/5/2011     Yes         1367       Property Tax       Yes                                                                 Taihe              Photo               17             I                                                                                                                                                           Taylor Martino Zarzaur, PC   Edward P. Rowan, Esq.                 (251) 433-3131   Ed@TaylorMartino.com
                    Joey                                                                                              [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                                                                                                                                                           51 Saint Joseph Street
                                                                                                                                                                                                                       0.84               $92.27          $126,133.09                                                                        HERRINGTON BRANDI                  Owner as of 6/9/15              City or County Tax Records         6/2/2007           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Post Office Box 894
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Mobile, AL 36601-0894
 1098    Ex 10/79   Herron, Christopher              4334 Huddleston Drive          Wesley Chapel     FL      33545   [XV], [XVI],              7/5/2011     Yes         2,268      Property Tax      Yes                                                                  Taihe              Photo               20, 21         I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                             HERRON CHRISTOPHER &
                                                                                                                      [XVII]                                                         Assessor's                        0.83               $91.18          $206,796.24                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/22/2011           Current Owner                                       2100 Southbridge Parkway, Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                             CASSELL JESSICA
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          650
 1099    Ex 10/79   Hersey, Benjamin and Kandice     6762 Tanglewood Drive          Blackshear        GA      31516   [IX], [XIII],             5/5/2011     Yes         2,158      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                             BENJAMIN & KANDICE
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.82               $90.08          $194,392.64                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/16/2004           Current Owner                                       900 W. Morgan Street                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                             HERSEY
                                                                                                                      [XVII], [XXII]                                               Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1100    RP         Hickey, Brian and Juliano,       4844 NW North Macedo Blvd.     Port St. Lucie    FL      34983   [II(B)], [IX],            12/6/2010    Yes         2,345      Property Tax      Yes                                                                  IMT                Photo               30             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                    Enrico                                                                                            [XV], [XVI],                                                   Assessor's                                                                                                                                              ARTURO G ARBILDO (TR)              Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.82               $90.08          $211,237.60                                                                                                                                           City or County Tax Records        5/28/2008              3/11/2013                                                                                                                                    $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                             MARTHA T ARBILDO (TR)              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1101    Ex 10/79   Hicks, Diane                     3802 N. 24th Street            Tampa             FL      33610   [II(B)], [IX],            12/6/2010    Yes         1,614      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               12800 University Drive, Suite 600                      m
                                                                                                                                                                                                                       0.83               $91.18          $147,164.52                                                                        ASMAR INVESTMENT LLC                                               Tax Records + Title/Deed           8/3/2007              4/27/2015                                                                                                                                    $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                                   Square Footage
 1102    Ex 10/79   Hill, Jamar                      4736 Rosalia Drive             New Orleans       LA      70127   [IX], [XV],               5/5/2011     Yes         1,696      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Hurricane Legal Center, LLC    Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             Young Law Firm
                                                                                                                                                                                                                       0.86               $94.47          $160,221.12                                                                        HILL, SR, JAMAR A                  Owner as of 6/9/15              City or County Tax Records        4/26/2007           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            1010 Common St., Suite 3040
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
 1103    Ex 10/79   Hill, Leonard and Luverdia       2708 20th Avenue North         Birmingham        AL      35234   [IX], [XV],               5/5/2011     Yes         2395       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                                                                                                                                              HILL LEONARD Y JR &                                                                                                                                                            900 W. Morgan Street
                                                                                                                                                                                                                       0.84               $92.27          $220,986.65                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/28/1969           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                             LUVERDIA M HILL                                                                                                                                                                Raleigh, NC 27603
                                                                                                                                                                                   Square Footage
 1104    RP         Himmelberger, Kyle and Mamie 900 SW Embers Terrace              Cape Coral        FL      33991   [II], [XV], [XVI],        3/15/2010    Yes         2,181      Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                (239) 433-6880       PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.80               $87.88          $191,666.28                                                                        MONCADA EMMA Y                                                     Tax Records + Title/Deed          6/26/2008              5/27/2011                                        12800 University Drive, Suite 600                      m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1105    Ex 10/79   Hinkley, Curtis and Lynn and     156 Mulbery Lane               Hertford          NC      27944   [II], [XV], [XVI],        3/15/2010    Yes         1,700      Property Tax      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.             (305) 476-7400       patrick@colson.com
                                                                                                                                                                                                                                                                                                                                             HINKLEY, CURTIS R &
                    Hinkley-Lopez, Stephanie                                                                          [XVII], [XXIV]                                                 Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.92              $101.06          $171,802.00                                                                        SYLVIA L                           Owner as of 6/9/15              City or County Tax Records          2009              Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                             & STEPHANIE L H-LOPEZ
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 32 of 82



Claimant Source     Claimant Name                   Affected Property Address      City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
 1106    RP         Hipps, Edd and Mary             4506 Highland Creek Drive      Plant City       FL      33567   [II], [XV], [XVI],        3/15/2010    Yes         2,744      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           HIPPS EDD HENRY JR
                                                                                                                    [XVII]                                                         Assessor's                       0.83                $91.18          $250,197.92                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/23/2007           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           HIPPS MARY JOYCE
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1107    Ex 10/79   Hirt, Frederick and Ellen       7814 Classics Drive            Naples           FL      34113   [II(C)], [III(A)],        9/16/2010    Yes         3,826      Property Tax     Yes                                                                   Taihe/ ProWall     Photo               18, 43, 44     G, I                                                                                                                                                        Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000     jerry@yourlawyer.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                             27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                           HIRT, FREDERICK J & ELLEN
                                                                                                                    [XVII]                                                       Document with                      0.80                $87.88          $336,228.88                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/13/2008           Current Owner                                         Bonita Springs, FL 34134                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           E
                                                                                                                                                                                 Square Footage

 1108    Ex 10/79   Hite, Tonya                     4404 Paris Avenue              New Orleans      LA      70122   [II], [VII], [XV],        3/15/2010    Yes         1,472      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $139,059.84                                                                        HITE TONYA S                       Owner as of 6/9/15              City or County Tax Records        5/28/1997           Current Owner                                         425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
 1109    Ex 10/79   Hobbie, Wendy Lee               1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes          817       Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                    Blvd., Unit 1411                                                [XVII]                                                         Assessor's                        0.82               $90.08           $73,595.36                                                                        HOBBIE, WENDY                      Owner as of 6/9/15              City or County Tax Records        4/23/2007           Current Owner                                         900 W. Morgan Street                                                                 $96,908.88
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1110    Ex 10/79   Hodo, Mary and Simpson, Jessee 4941 Zoba Circle                Birmingham       AL      35235   [III(A)], [VII],          9/16/2010    Yes         1755       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           SIMPSON MELINDA H &
                    and Melinda                                                                                     [XV], [XVI],                                                   Assessor's                        0.84               $92.27          $161,933.85                                                                                                           Owner as of 6/9/15              City or County Tax Records       10/15/2013           Current Owner                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                           HODO MARY C
                                                                                                                    [XVII], [XXI]                                                Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1111    Ex 10/79   Hoffman, Hannelore and          13964 Clubhouse Drive          Tampa            FL      33618   [II(C)], [III], [IX],     10/7/2009    Yes         2,582      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           SALYERS PHILIP TRUSTEE             Previous Owner, Did Not Own
                    Lengel, Donna                                                                                   [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $235,426.76                                                                                                                                           Tax Records + Title/Deed          7/12/2006              8/31/2010                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                           SALYERS JANET TRUSTEE              Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1112    Ex 10/79   Hogan, Roger J. and Joanne      2756 E. Marcia Street          Inverness        FL      34453   [III], [IX], [XV],        10/7/2009    Yes         1,645      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $146,372.10      Manufacturer 2                                                    HOGAN ROGER J & JOANNE C Owner as of 6/9/15                        City or County Tax Records        7/25/2002           Current Owner                                         12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1113    Ex 10/79   Holden, Dawn                    3305 Meraux Lane               Violet           LA      70092   [VII], [XV],              1/14/2011    Yes         1,706      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             2800 Energy Centre
                                                                                                                                                                                                                     0.86               $94.47          $161,165.82                                                                        HOLDEN, PAUL W.                    Owner as of 6/9/15              City or County Tax Records         5/4/2001           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            1100 Poydras Street
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
 1114    Ex 10/79   Holland, Alberta                8000 Lehigh Street             New Orleans      LA      70127   [XIII], [XV],             7/5/2011     Yes         1,430      Property Tax      Yes                                                                  Taihe              Inspection Report   17             I           LOCKETT NATALIE A                                                                                                                               Toxic Litigation Group, LLC    Stuart Barasch, Esq.                213-621-2536     stuart@law-tlg.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              FLEMING NADINE L                                                                                                                                                               767 N Hill St #220
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                                                                                 Document with                       0.86               $94.47          $135,092.10                                                                        WELLS NELDA                                                        City or County Tax Records        9/26/2008              3/29/2016                                          Los Angeles, CA 90012                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                 Square Footage                                                                                                                                            HOLLAND NATHANIEL D JR
                                                                                                                                                                                                                                                                                                                                           HOLLAND NICHOLAS M
 1115    RP         Holland, Roy Trust              9805 Alhambra Lane             Bonita Springs   FL      34135   [XIII], [XV],             7/5/2011     Yes         2,759      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $242,460.92                                                                        SHIVELY DALE G + SUSAN J                                           Tax Records + Title/Deed           1/5/2004              8/14/2014                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1116    RP         Hollingsworth, Michael          905 Easfield Lane              Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                           HARRIS DARYL E II, HARRIS          Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                        0.95              $104.36          $187,534.92                         Property Assessment                                                                                               City or County Tax Records         1/7/2008              6/13/2011           Serpe                          580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                           KEONDRA E                          Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 1117    Ex 10/79   Holloway, Virgie                2522 Pauger Street             New Orleans      LA      70116   [II], [VII], [XV],        3/15/2010    Yes         1,314      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $124,133.58                                                                        HOLLOWAY VIRGIE                    Owner as of 6/9/15              City or County Tax Records        9/13/1988           Current Owner                                         855 Baronne Street                                   m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, 70113
 1118    Ex 10/79   Holmes, Rhonda                  2024 Perez Drive               Braithwaite      LA      70040   [III(A)], [IX],           9/16/2010    Yes         2,000      Property Tax      Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              HOLMES, TERRI LYNN &               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.86               $94.47          $188,940.00                                                                                                                                           Tax Records + Title/Deed          7/24/2012              12/2/2016                                                                                                                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                             HUTHCINSON, JUSTIN J., JR          Owns Property                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1119    Ex 10/79   Holt, Herschel and Karen        200 Camp Harberson Lane        Baker            FL      32531   [III], [VII], [XV],       10/7/2009    Yes         1,455      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                           HOLT, HERSHAL O; HOLT,
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.85               $93.37          $135,853.35                                                                                                           Owner as of 6/9/15              City or County Tax Records        12/3/2010           Current Owner                                         316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                           KAREN A
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 1120    RP         Hong, Yeong Hee                 5539 Bixton Road               Williamsburg     VA      23185   [II], [XV], [XVI],        3/15/2010    Yes         2,424      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com                              *VA settlement
                                                                                                                    [XVII]                                                         Assessor's                                                                                               Property Assessment                                                               Previous Owner, Did Not Own                                                                                  Serpe                          580 East Main Street, Suite 310                                                                        payment to Fannie Mae
                                                                                                                                                                                 Document with                       0.96              $105.46          $255,635.04                                                                        LEE, RYAN & MILLS, ASHLEY                                          City or County Tax Records         6/1/2006              2/3/2012                                           Norfolk, VA 23510                                                                      $0.00           c/o David R. Box
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Square Footage
 1121    Ex 10/79   Hooper, Harold and King, Jr.,   5515 Brixton Road              Williamsburg     VA      23185   [II(A)], [XV],            9/16/2010    Yes         2,283      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Robert                                                                                          [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                            HOOPER, HAROLD R & KING,                                                                                                                        Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $240,765.18                                                                                                 Owner as of 6/9/15                        City or County Tax Records        6/23/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             ROBERT F JR                                                                                                                                     Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1122    Ex 10/79   Hornbeck, Ronald and Linda      174 Shadroe Cove Circle Unit   Cape Coral       FL      33991   [II(C)], [III], [IX],     10/7/2009    Yes         2,381      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           HORNBECK RONALD +
                                                    1003                                                            [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $209,242.28                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/30/2008           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                           HORNBECK LINDA T/C
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1123    Ex 10/79   Hotard, Christopher             2602 Chalona Drive             Chalmette        LA      70043   [III], [VII], [XV],       10/7/2009    Yes         4,096      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              HOTARD, CHRISTOPHER                Current Owner, Acquired                                                                                                                     338 Lafayette Street
                                                                                                                                                                                                                     0.86               $94.47          $386,949.12                                                                                                                                           City or County Tax Records        2/24/2017           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             PAUL                               Property after 6/9/15                                                                                                                       New Orleans, LA 70130
                                                                                                                                                                                 Square Footage
 1124    Ex 10/79   Houghton, Thomas                1007 Desire Street             New Orleans      LA      70117   [III(A)], [VII],          9/16/2010    Yes         1,848      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $174,580.56                                                                        HOUGHTON THOMAS                    Owner as of 6/9/15              City or County Tax Records        7/18/2006           Current Owner                                       820 O'Keefe Avenue                                                                       $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
 1125    Ex 10/79   Howard, Monika                  4109 Brynwood Drive            Naples           FL      34119   [III], [XV],              10/7/2009    Yes         4,624      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                            Manufacturer 2                                                    DURRETT JR, ALVA E &               Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.80               $87.88          $406,357.12                                                                                                                                           Tax Records + Title/Deed          2/24/1998              12/4/2012                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             KATHY L                            Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1126    RP         Howard, Robert                  8554 Pegasus Drive             Lehigh Acres     FL      33971   [XV], [XVI],              7/5/2011     Yes         2,368      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                              CHIRILENCO DANIEL +                Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.80               $87.88          $208,099.84                                                                                                                                           Tax Records + Title/Deed          9/20/2006             10/30/2013                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             CORNELIA                           Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1127    Ex 10/79   Howell, Victor and              5275 Sandbar Cove              Winston          GA      30187   [II(B)], [III],           10/7/2009    Yes        14,028      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                    Loumertistene                                                                                   [VII], [XV],                                                   Assessor's                                                                                                                                              HOWELL, LOUMERTISTENE                                                                                                                                                        900 W. Morgan Street
                                                                                                                                                                                                                     0.89               $97.77         $1,371,517.56                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/29/2006           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVI], [XVII],                                               Document with                                                                                                                                             N.                                                                                                                                                                           Raleigh, NC 27603
                                                                                                                    [XXII]                                                       Square Footage
 1128    Ex 10/79   Howerton, Jason and Marie       2140 North Lexington Avenue    Terrytown        LA      70056   [VII], [XV],              1/14/2011    Yes         2,300      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                  (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Unknown
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $217,281.00                                                                        TAHA,KARIM                                                                                                                                                                   338 Lafayette Street                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                              Purchase Date
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70130
 1129    Ex 10/79   Hrishikesh, Rajiv and Maria     5599 Brixton Road              Williamsburg     VA      23185   [II], [XV], [XVI],        3/15/2010    Yes         2,406      Property Tax      Yes                                                                  Venture Supply     Photo               40             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                              HRISHIKESH, PAPANASAM &                                                                                                                         Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $253,736.76                                                                                                           Owner as of 6/9/15              City or County Tax Records         6/2/2009           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             HRISHIKESH, RAJIV P                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1130    Ex 10/79   Huard, Eric                     1101 NW 13th Terrace           Cape Coral       FL      33993   [II(A)], [XV],            9/16/2010    Yes         1,791      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $157,393.08                                                                        HUARD ERIC                         Owner as of 6/9/15              City or County Tax Records       12/31/2008           Current Owner                                       12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1131    Ex 10/79   Hubbard, Curtis and Michelle    3617 East Renellie Circle      Tampa            FL      33629   [II(C)], [III], [IX],     10/7/2009    Yes         2,496      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           HUBBARD CURTIS W
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $227,585.28                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/28/2008           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           HUBBARD MICHELLE LEE
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1132    Ex 10/79   Hudson & Hudson Investments,    7160 Northgate Drive           New Orleans      LA      70128   [XV], [XVI],              7/5/2011     Yes         1,548      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           JAMES JOHNSON AND                  Previous Owner, Did Not Own
                    LLC (Derrick and La’Toya                                                                        [XVII]                                                         Assessor's                        0.86               $94.47          $146,239.56                                                                                                                                           City or County Tax Records       10/14/2008              4/2/2013                                         12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           ASSOCIATES LLC                     Property on 6/9/15
                    Hudson)                                                                                                                                                      Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1133    RP         Hudson, Adam                    1818 Perdido Blvd.             Gautier          MS      39553   [III], [VII], [XV],       10/7/2009    Yes         1,652      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Hawkins Gibson               Edward Gibson, Esq.                   (228) 467-4225   egibson@hgattorneys.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.84               $92.27          $152,420.81                                                                        COBB BILLY & BETTY                                                 Tax Records + Title/Deed          2/14/2007              5/1/2015                                         153 Main St                                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bay St Louis, MS 39520
 1134    Ex 10/79   Hudson, Chad and Melissa        5522 Travellers Court          Satsuma          AL      36572   [IX], [XV],               5/5/2011     Yes         1989       Property Tax       Yes                                                                 Taihe              Photo               20             I                                                                                                                                                           Taylor Martino Zarzaur, PC   Edward P. Rowan, Esq.                 (251) 433-3131   Ed@TaylorMartino.com
                                                                                                                    [XVI], [XVII],                                                 Assessor's                                                                                                                                              HUDSON, CHAD AND                                                                                                                                                             51 Saint Joseph Street
                                                                                                                                                                                                                     0.84               $92.27          $183,525.03                                                                                                           Owner as of 6/9/15              City or County Tax Records        12/8/2006           Current Owner                                                                                                                                $0.00
                                                                                                                    [XXI]                                                        Document with                                                                                                                                             MELISSA                                                                                                                                                                      Post Office Box 894
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Mobile, AL 36601-0894
 1135    RP         Hueston, Deborah A.             10320 SW Stephanie Way, Unit Port St. Lucie     FL      34987   [III], [VII], [XV],       10/7/2009    Yes         1,158      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    211, Bldg. 7                                                    [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $104,312.64                                                                        CARLOS A CERNA                                                     City or County Tax Records         5/4/2006              3/15/2010                                        255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
 1136    RP         Huette, David and Jennifer      3449 Grassglen Place           Wesley Chapel    FL      33544   [IX], [XV],               5/5/2011     Yes         2,660      Property Tax      Yes                                                                  C&K                Photo               34             B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              GUIMARAES RODRIGO C &              Previous Owner, Did Not Own                                                                                                               12800 University Drive, Suite 600                      m
                                                                                                                                                                                                                     0.83               $91.18          $242,538.80                                                                                                                                           Tax Records + Title/Deed          3/13/2009              3/6/2013                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                             LILIANA A                          Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
 1137    RP         Huff, Jessica                   3832 Hyde Park Drive           Ft. Myers        FL      33905   [IX], [XIII],             5/5/2011     Yes         2,055      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J           SIEBEL MARY D TR FOR                                                                                                                            Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $180,593.40                                                                        DOTTIE SEIBEL REVOCABLE                                            Tax Records + Title/Deed           5/9/2007             11/12/2014                                          255 Alhambra Circle, PH                                                              $45,690.02
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                             TRUST                                                                                                                                                                          Coral Gables, FL 33134
 1138    Ex 10/79   Hughes, Amanda                  5938 Bilek Drive               Pensacola        FL      32526   [III], [VII], [XV],       10/7/2009    Yes          928       Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.85               $93.37           $86,647.36                                                                        HUGHES AMANDA                      Owner as of 6/9/15              City or County Tax Records       11/30/2006           Current Owner                                         316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 1139    Ex 10/79   Hughes, Mathew and Jan          3513 Van Cleave Drive          Meraux           LA      70075   [II], [VII], [XV],        3/15/2010    Yes         2,178      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz          Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $205,755.66                                                                        HUGHES, MATHEW DUANE               Owner as of 6/9/15              City or County Tax Records         8/4/2008           Current Owner          Becnel Law Firm, LLC           425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
 1140    Ex 10/79   Hukriede Larry                  1120 NW 23rd Avenue            Cape Coral       FL      33993   [II(B)], [XV],            12/6/2010    Yes         1,718      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $150,977.84                                                                        HUKRIEDE LARRY                     Owner as of 6/9/15              City or County Tax Records        3/13/2009           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1141    Ex 10/79   Hunia, Edward and Mary Sue      10844 Tiberio Drive            Ft. Myers        FL      33913   [II(B)], [IX],            12/6/2010    Yes         1,823      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $160,205.24                                                                        HUNIA EDWARD + MARY SUE Owner as of 6/9/15                         City or County Tax Records       12/26/2006           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1142    Ex 10/79   Hunt, Walter and Catherine II   16095 Durban Fork Road         Bay Minette      AL      36507   [VII], [XV],              1/14/2011    Yes         1435       Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                    [XVI], [XVII],                                                 Assessor's                                                                                                                                              HUNT, WALTER CURTIS II                                                                                                                                                         900 W. Morgan Street
                                                                                                                                                                                                                     0.84               $92.27          $132,435.13                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/21/2006           Current Owner                                                                                                                                $0.00
                                                                                                                    [XXI]                                                        Document with                                                                                                                                             ETAL HUNT                                                                                                                                                                      Raleigh, NC 27603
                                                                                                                                                                                 Square Footage
 1143    Ex 10/79   Hunter, Dorothy                 2512 Reunion Drive             Violet           LA      70092   [III], [IX], [XV],        10/7/2009    Yes          976       Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                           HUNTER, DOROTHY
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86               $94.47           $92,231.06                                                                                                           Owner as of 6/9/15              City or County Tax Records         3/1/1984           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           BRICKLEY
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            303
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 33 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia       Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                            from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                   Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                                 Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                     May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                                Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
 1144    Ex 10/79   Hurley, Jonathan and April      3745 Rockwood Drive            Pace              FL      32571   [III], [VII], [XV],       10/7/2009    Yes          992       Property Tax     Yes                                                                   Taihe              Photo                 20             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.85                $93.37           $92,623.04                                                                          HURLEY JONATHAN                    Owner as of 6/9/15              City or County Tax Records        7/10/2002           Current Owner                                       27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1145    Ex 10/79   Hussey, John                    4554 SE 6th Court              Cape Coral        FL      33904   [IX], [XV],               5/5/2011     Yes         2,249      Property Tax     Yes                                                                   Taishan            Photo                 2              J                                                                                                                                                           Seeger Weiss                 Christopher Seeger, Esq.            (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $197,642.12                                                                          LIMA LAWRENCE                                                      Tax Records + Title/Deed          2/11/2004              3/10/2017                                        77 Water Street                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            New York, NY 10005
 1146    RP         Huszar, Steve and Nancy         10838 SW Meeting Street        Port St. Lucie    FL      34987   [II(B)], [III],           10/7/2009    Yes         1,584      Property Tax     Yes                                                                   Taishan            Photo                 2              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                                KAREN L VIGNONE FRANK              Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                     0.82                $90.08          $142,686.72                                                                                                                                             City or County Tax Records        5/26/2006              7/21/2014                                                                                                                               $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                               VIGNONE                            Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1147    Ex 10/79   Hutchinson, Rick                1105 Guinevere Circle          Hoover            AL      35226   [XV], [XVI],              7/5/2011     Yes         2160       Property Tax     Yes                                                                   Taihe              Photo                 20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                              HUTCHISON RICHARD &
                                                                                                                     [XVII]                                                         Assessor's                       0.84                $92.27          $199,303.20                                                                                                             Owner as of 6/9/15              City or County Tax Records         2/1/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                              PEGGY
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            650
 1148    Ex 10/79   Huynh, Duoc and Pamela and A 2488 North Landing Road, Suite Virginia Beach       VA      23456   [IX], [XV],               5/5/2011     Yes         1,636      Property Tax     Yes                                                                   Venture Supply     Photo                 39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Pen Lovers Paradise, LLC     112                                                                 [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94               $103.26          $168,933.36                                                                          HUYNH PAMELA                       Owner as of 6/9/15              City or County Tax Records         7/7/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 1149    Ex 10/79   Hylton, Randy and Linda         333 Ty Lane                    Warrior           AL      35180   [XV], [XVI],              7/5/2011     Yes         2064       Property Tax     Yes                                                                   Taihe              Photo                 17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                         Assessor's                       0.84                $92.27          $190,445.28                                                                          HYLTON, RANDY & LINDA              Owner as of 6/9/15              City or County Tax Records         8/7/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            650
 1150    Ex 10/79   Iannazzi, Ronald and Florence   813 King Leon Way              Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,845      Property Tax     Yes                                                                   Taishan            Photo                 2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                              IANNAZZI RONALD A
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.83                $91.18          $168,227.10                                                                                                             Owner as of 6/9/15              City or County Tax Records        6/27/2006           Current Owner                                       12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                              IANNAZZI FLORENCE C
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1151    Ex 10/79   Ibarra, Jhon and Hurtatis, Gledys 363 NE 35th Terrace          Homestead         FL      33030   [XV], [XVI],              7/5/2011     Yes         2,170      Property Tax     Yes                                                                   Taishan            Photo                 8              J                                                                                                                                                           VM Diaz and Partners         Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                                                                                                                                                                                                                                              JOHN L IBARRA & GLEDYS
                                                                                                                     [XVII]                                                         Assessor's                       0.81                $88.98          $193,086.60                                                                                                             Owner as of 6/9/15              City or County Tax Records        4/26/2011           Current Owner                                       1900 Washington Ave., Suite 402                                                        $0.00
                                                                                                                                                                                                                                                                                                                                              HURTATIS
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Miami Beach, FL 33139
 1152    Ex 10/79   Ilich, Richard                  4023 Appaloosa Court           Suffolk           VA      23434   [II(C)], [XV],            1/24/2011    Yes         3,102      Property Tax     Yes                                                                   Venture Supply     Photo                 39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                   Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94               $103.26          $320,312.52                                                                          CEDAR HOMES LLC                                                    City or County Tax Records        6/26/2006              6/17/2016                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                  Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 1153    RP         Indovina, Leon                  8721 Livington Avenue          Chalmette         LA      70043   [III], [VII], [XV],       10/7/2009    Yes         1,931      Property Tax     Yes                                                                   Taihe              Photo                 17, 20         I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                              HOLLOWAY, JOHNNY                   Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $182,421.57                                                                                                                                             City or County Tax Records        7/11/2011              1/26/2015                                        425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                              WAYNE                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
 1154    RP         Ingram, Charlie E.              2425 Veronica Street           Chalmette         LA      70443   [XIII], [XV],             7/5/2011     Yes         1,458      Property Tax     Yes                                                                   Taihe              Photo                 17             I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.79                $86.78          $126,525.24                                                                          BRAQUET, ROSE AIOLA                                                City or County Tax Records        9/13/2011             10/18/2012                                        724 East Boston Street                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Covington, LA 70433
 1155    Ex 10/79   Ingram, Richard L. and Sylvia A. 2400 Veronica Drive           Chalmette         LA      70043   [IX], [XV],               5/5/2011     Yes         2,093      Property Tax     Yes                                                                   Taihe              Photo                 21             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                              WESTCOTT, JESSICA L. &             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $197,725.71                                                                                                                                             City or County Tax Records        10/5/1998              10/2/2012                                        820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                              WESTCOTT, CHRISTIAN, JR.           Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70113
 1156    Ex 10/79   Ingram, Ronald and Finch,       4025 Appaloosa Court           Suffolk           VA      23434   [II(C)], [XV],            1/24/2011    Yes         3,446      Property Tax     Yes                                                                   Venture Supply     Photo                 38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Tiffany                                                                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94               $103.26          $355,833.96                                                                          INGRAM RONALD E                    Owner as of 6/9/15              City or County Tax Records        5/23/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 1157    RP         Irani, Jal and Shiraz           19273 Stone Hedge Drive        Tampa             FL      33647   [XV], [XVI],              7/5/2011     Yes         1,587      Property Tax     Yes                                                                   Taihe              Photo                 18             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                       0.83                $91.18          $144,702.66                                                                          SAMPAYO RAFMILLE                                                   Tax Records + Title/Deed          7/31/2007              10/4/2012                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1158    Ex 10/79   Irby, Johnny F.                 37950 Magnolia Church Road     Bay Minette       AL      36507   [XV], [XVI],              7/5/2011     Yes         2165       Property Tax     Yes                                                                   Taihe              Affidavit of Lori     17             I                                                                                                                                                           Daniell, Upton & Perry, P.C. Jonathan Law                        (251) 625-0046   JRL@dupm.com
                                                                                                                                                                                                                                                                                                                                              IRBY, CHERYLL F & JOHNNY
                                                                                                                     [XVII], [XXI]                                                  Assessor's                       0.84                $92.27          $199,764.55                         Streit                                                                    Owner as of 6/9/15                        City or County Tax Records          2007              Current Owner                                       30421 State Highway 181                                                                $0.00
                                                                                                                                                                                                                                                                                                                                              F
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Daphne, Alabama 36527
 1159    Ex 10/79   Irvin, Timothy and Karen        1690 Renaissance Commons       Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,460      Property Tax     Yes                                                                   Taishan            Photo                 2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              IRVIN KAREN
                                                    Blvd., Unit 1216                                                 [XVII]                                                         Assessor's                       0.82                $90.08          $131,516.80                                                                                                             Owner as of 6/9/15              City or County Tax Records        4/26/2007           Current Owner                                       900 W. Morgan Street                                                                 $94,101.70
                                                                                                                                                                                                                                                                                                                                              IRVIN TIMOTHY &
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1160    Ex 10/79   Isiechei, Obi                   104 Covington Meadows Cl.,     Covington         LA      70433   [XV], [XVI],              7/5/2011     Yes          878       Property Tax     Yes                                                                   Taihe              Photo                 18             I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
                                                    Unit L                                                           [XVII]                                                         Assessor's                                                                                                                                                BLUEWATER REAL ESTATE              Previous Owner, Did Not Own                                                                                                               724 East Boston Street
                                                                                                                                                                                                                     0.79                $86.78           $76,192.84                                                                                                                                             Tax Records + Title/Deed          2/27/2009                2014                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                               INVESTORS LLC                      Property on 6/9/15                                                                                                                        Covington, LA 70433
                                                                                                                                                                                  Square Footage
 1161    RP         Ivory, James                    16315 Maya Circle              Punta Gorda       FL      33955   [IX], [XV],               5/5/2011     Yes         2,216      Property Tax     Yes                                                                   Taishan            Photo                 2, 9           J                                                                                                                                                           Roberts & Durkee              C. David Durkee, Esq.              (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $194,742.08                                                                          WARNARS MICHAEL R                                                  Tax Records + Title/Deed          1/22/2009              6/7/2013                                          2665 South Bayshore Drive Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             300
 1162    Ex 10/79   Jackel, Jon                     244 Springrose Drive           Belle Chasse      LA      70037   [II], [VII], [XV],        3/15/2010    Yes         3,663      Property Tax     Yes                                                                   Crescent City      Photo                 27             D                                                                                                                                                           Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                              JACKEL, JON J & ELIZABETH
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $346,043.61                                                                                                             Owner as of 6/9/15              City or County Tax Records        5/22/2003           Current Owner                                        425 W. Airline Hwy, Suite B                                                           $0.00
                                                                                                                                                                                                                                                                                                                                              V
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
 1163    Ex 10/79   Jacko, Jan                      519 SE 25 Lane                 Cape Coral        FL      33909   [II], [XV], [XVI],        3/15/2010    Yes         1,520      Property Tax     Yes                                                                   Taishan            Photo                 7              J                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                              Baron & Budd
                                                                                                                                                                                                                     0.80                $87.88          $133,577.60                                                                          JACKO JAN + KRISTINA               Owner as of 6/9/15              City or County Tax Records       11/20/2008           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 1164    Ex 10/79   Jackson, Christine              505 East Street                Marion            AL      36756   [XIII], [XV],             7/5/2011     Yes         2258       Property Tax      Yes                                                                  Taihe              Photo                 20             I                                                                                                                                                           Doyle Law Firm                Jimmy Doyle, Esq.                  (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $205,884.44                                                                          JACKSON CHRISTINE                  Owner as of 6/9/15              City or County Tax Records        4/16/2006           Current Owner                                        2100 Southbridge Parkway, Suite                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             650
 1165    RP         Jackson, Dennis and Sharon      8151 N. View Blvd.             Norfolk           VA      23518   [II], [XV], [XVI],        3/15/2010    Yes         2,420      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A               K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.             (757) 233-0009   rserpe@serpefirm.com
                                                                                                                     [XVII]                                                         Assessor's                        0.94              $103.26          $249,889.20                         Property Assessment                              ELLIOTT, ANNA M                    Records Not Available           City or County Tax Records       10/23/2008              4/25/2013           Serpe                         580 East Main Street, Suite 310                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             Norfolk, VA 23510
 1166    Ex 10/79   Jackson, Edmund                 3227 Surfside Blvd.            Cape Coral        FL      33914   [II(C)], [XV],            1/24/2011    Yes         2,875      Property Tax      Yes                                                                  Taishan            Photo                 2              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Unknown
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $252,655.00                                                                          STENGER DON                                                        Tax Records + Title/Deed          1/16/2004                                                                27300 Riverview Center Blvd                                                        $146,334.22
                                                                                                                                                                                                                                                                                                                                                                                 Purchase Date
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             Bonita Springs, FL 34134
 1167    RP         Jackson, Leonard                9593 Ginger Court              Parkland          FL      33076   [II], [XV], [XVI],        3/15/2010    Yes         2,932      Property Tax      Yes                                                                  Dragon Brand       Photo                 26             A                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                                                                                                                                              RAPP,JAIME                         Owner as of 6/9/15, No Longer
                                                                                                                                                                                  Document with                       0.81               $88.98          $260,889.36                                                                                                                                             Tax Records + Title/Deed         12/14/2006              8/24/2016                                         3102 Oak Lawn Ave., Ste. 1100                                                         $0.00
                                                                                                                                                                                                                                                                                                                                              RAPP,RICK                          Owns Property
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219

 1168    Ex 10/79 & Jackson, Michael                707 SE 16th Court              Fort Lauderdale   FL      33316   [II(B)], [III], [IX],     10/7/2009    Yes         1,897      Property Tax      Yes                                                                  Taishan            Photo                 6              J                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
         RP                                                                                                          [XIII], [XV],                                                  Assessor's                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.81               $88.98          $168,795.06                                                                          JONES,ALEXANDER C                                                  Tax Records + Title/Deed          12/1/2006              2/3/2011                                                                                                                                $0.00
                                                                                                                     [XVI], [XVII],                                               Document with                                                                                                                                                                                  Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                     [XX]                                                         Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1169    Ex 10/79   Jackson, Tiffany                6750 Gulley Lane               Pensacola         FL      32505   [XIII], [XV],             7/5/2011     Yes         1,573      Property Tax      Yes                                                                  Taihe              Photo                 17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.85               $93.37          $146,871.01                                                                          JACKSON TIFFANY L                  Owner as of 6/9/15              Tax Records + Title/Deed          7/18/2007           Current Owner                                       316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 1170    RP         Jacobs, Tammy                   3801 Machado Street            Tampa             FL      33603   [II(B)], [IX],            12/6/2010    Yes         1,614      Property Tax      Yes                                                                  Taihe              Photo                 14, 21         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.83               $91.18          $147,164.52                                                                          PUGH MIANDREA                                                      Tax Records + Title/Deed          4/11/2008              6/12/2014                                                                                                                               $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                  Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1171    RP         Jacques, Paul and Michelle      2336 NW Padova Street          Port St. Lucie    FL      34986   [VII], [XV],              1/14/2011    Yes         1,885      Property Tax      Yes                                                                  Taishan/ IMT       Photo                 30             F                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $169,800.80                                                                          MARY A GLOSS                                                       City or County Tax Records        4/20/2007             12/14/2010                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1172    RP &       Jaen, Ruben                     10320 Stephanie Way #202 Port Port St. Lucie     FL      34987   [II(B)], [III(A)],        9/16/2010    Yes         1,242      Property Tax      Yes                                                                  Taishan            Photo                 2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
         Omni XX                                    St. Lucie, FL 34987                                              [VII], [XV],                                                   Assessor's                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.82               $90.08          $111,879.36                                                                          MARIA C RIVADENEIRA                                                City or County Tax Records        4/17/2006              7/9/2013                                                                                                                                $0.00
                                                                                                                     [XVI], [XVII],                                               Document with                                                                                                                                                                                  Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                     [XX]                                                         Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1173    Ex 10/79   James, Dominesha                1857 Joseph Drive              Poydras           LA      70085   [XV], [XVI],              7/5/2011     Yes         1,054      Property Tax      Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                         Assessor's                        0.86               $94.47           $99,571.38                                                                          JAMES, DOMINESHA ORELIA            Owner as of 6/9/15              City or County Tax Records         8/7/2012           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            650
 1174    Ex 10/79   James, Jason and Jessica        3850 NW 32nd Place             Cape Coral        FL      33993   [II], [XV], [XVI],        3/15/2010    Yes         2,493      Property Tax      Yes                                                                  Taishan            Photo                 2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                        0.80               $87.88          $219,084.84                                                                          CABRERA SANDY +AMY                                                 Tax Records + Title/Deed          2/14/2005             11/13/2013                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1175    Add.       James, Ken & Vita, Thomas       3808 Gallo Drive               Chalmette         LA      70043   [XV], [XVI],              7/5/2011     Yes         1,407      Property Tax      Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
         Taishan    (James & Vita, LLC)                                                                              [XVII]                                                         Assessor's                        0.86               $94.47          $132,919.29                                                                          JAMES & VITA, L.L.C.               Owner as of 6/9/15              City or County Tax Records        6/18/2007           Current Owner                                       27300 Riverview Center Blvd                                                            $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1176    Ex 10/79   James, Milria                   1028 Reynes Street             New Orleans       LA      70117   [IX], [XV],               5/5/2011     Yes         1,175      Property Tax      Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             Young Law Firm
                                                                                                                                                                                                                      0.86               $94.47          $111,002.25                                                                          JAMES MILRIA T                     Owner as of 6/9/15              City or County Tax Records         1/5/1990           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            1010 Common St., Suite 3040
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
 1177    Add.       James, Richard and Marion       804 King Leon Way, Sun City,   Sun City Center   FL      33573   [III], [XV],              10/7/2009    Yes         1,808      Property Tax       Yes                                                                 Taishan            Photo                 2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                              BENDER LARRY BENDER                Previous Owner, Did Not Own
         Taishan                                    Florida 33573                                                    [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $164,853.44                                                                                                                                             Tax Records + Title/Deed          7/25/2006              8/27/2014                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                              DEBBIE                             Property on 6/9/15
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1178    RP         Jamison, Steve and Kim          10560 S.W. Stephanie Way,      Port St. Lucie    FL      34987   [II], [VII], [XV],        3/15/2010    Yes           0        Property Tax      Yes                                                                  Taishan            Photo                 2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com                               See Promenade at
                                                    Unit 1-209                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                STEVEN F JAMISON                                                                                                                                Budd, P.C.                   Baron & Budd                                                                                           Tradition
                                                                                                                                                                                                                      0.82               $90.08             $0.00                                                                                                                Owner as of 6/9/15              City or County Tax Records       10/12/2006           Current Owner                                                                                                                            $28,474.93
                                                                                                                                                                                  Document with                                                                                                                                               KIMBERLY J JAMISON                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1179    Ex 10/79   Jarman, Marcus and Jaclyn       473 Pinebrook Circle           Cantonment        FL      32533   [XV], [XVI],              7/5/2011     Yes         2,607      Property Tax      Yes                                                                  Taihe              Photo                 20             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                              RINGER JAMES C & RINGER            Owner as of 6/9/15, No Longer
                                                                                                                     [XVII]                                                         Assessor's                        0.85               $93.37          $243,415.59                                                                                                                                             City or County Tax Records        1/10/2003              7/15/2016                                        316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                              MELISSA A                          Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 1180    Ex 10/79   Jarrett, Scott and Margaret     3210 Rannock Moor              Williamsburg      VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,352      Property Tax      Yes                                                                  Venture Supply     Porter-Blaine job     N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                               sheet showing                                    JARRETT, SCOTT E &                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.96              $105.46          $142,581.92                                                                                                             Owner as of 6/9/15              City or County Tax Records         7/7/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                              Venture Supply                                   MARGARET A                                                                                                                                      Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                             drywall delivery to                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 1181    Ex 10/79   Jenkins, Curtis                 2042 Egania Street             New Orleans       LA      70117   [XIII], [XV],             7/5/2011     Yes         1,508      Property Tax      Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $142,460.76                                                                          JENKINS CURTIS L                   Owner as of 6/9/15              Tax Records + Title/Deed          8/30/2002           Current Owner                                       855 Baronne Street                                   m                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            New Orleans, 70113
 1182    Ex 10/79   Jenkins, Gary                   3020 Montesquieu St.           New Orleans       LA      70043   [XV], [XVI],              7/5/2011     Yes         1,994      Property Tax      Yes                                                                  Crescent City      Photo                 27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                     [XVII]                                                         Assessor's                        0.86               $94.47          $188,373.18                                                                          JENKINS, GARY L.                   Owner as of 6/9/15              City or County Tax Records        6/22/2007           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                            303
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 34 of 82



Claimant Source     Claimant Name                    Affected Property Address    City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
 1183    Ex 10/79   Jenkins, Kawanda                 7240 Thornley Drive          New Orleans       LA      70126   [XIII], [XV],             7/5/2011     Yes         2,618      Property Tax     Yes                                                                   Taihe              Photo               19             I                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $247,322.46                                                                        JENKINS KAWANDA M                  Owner as of 6/9/15              City or County Tax Records        7/24/2007           Current Owner                                         855 Baronne Street                                   m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, 70113
 1184    RP         Jensen , Andrea                  24713 Laurel Ridge Drive     Lutz              FL      33559   [III], [XV],              10/7/2009    Yes         1,680      Property Tax     Yes                                                                   Chinese            Photo               37             C                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                       0.83                $91.18          $153,182.40      Manufacturer 2                                                    VERI LISA & MICHAEL                                                City or County Tax Records        6/21/2002              9/14/2012                                          255 Alhambra Circle, PH                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Coral Gables, FL 33134
 1185    Ex 10/79   Jericho Road Episcopal Housing 2852 Dryades Street            New Orleans       LA      70115   [IX], [XV],               5/5/2011     Yes         1,500      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Initiative, LLC                                                                                 [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $141,705.00                                                                        LINENBERG DANIELE                                                  City or County Tax Records        11/3/2007             11/30/2007                                          701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70159
 1186    Ex 10/79   Jericho Road Episcopal Housing 3010 Dryades Street            New Orleans       LA      70115   [XV], [XVI],              7/5/2011     Yes         1,400      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Initiative, LLC                                                                                 [XVII]                                                         Assessor's                       0.86                $94.47          $132,258.00                                                                        TAYLOR RACHELLE A                                                  City or County Tax Records       11/30/2007              2/27/2008                                          701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70160
 1187    Ex 10/79   Jericho Road Episcopal Housing 3014 Dryades Street            New Orleans       LA      70115   [XV], [XVI],              7/5/2011     Yes         1,500      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                           FRANKLIN JOHNNIE R     Previous Owner, Did Not Own
                    Initiative, LLC                                                                                 [XVII]                                                         Assessor's                       0.86                $94.47          $141,705.00                                                                                                                                           City or County Tax Records       11/30/2007              4/14/2008                                          701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           WASHINGTON RONALD A JR Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70161
 1188    Ex 10/79   Jericho Road Episcopal Housing 3211 Dryades Street            New Orleans       LA      70115   [XV], [XVI],              7/5/2011     Yes         1,500      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Initiative, LLC                                                                                 [XVII]                                                         Assessor's                       0.86                $94.47          $141,705.00                                                                        KARAMUS HELEN                                                      City or County Tax Records       10/31/2007              3/20/2009                                          701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70162
 1189    Ex 10/79   Jerome, Nekette                  11609 Hammocks Glade Drive   Riverview         FL      33569   [XIII], [XV],             7/5/2011     Yes         1,685      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           PELTZMAN ASHLEY N                  Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                       0.83                $91.18          $153,638.30                                                                                                                                           Tax Records + Title/Deed          10/4/2006              2/4/2014                                           12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           FERNANDEZ FRANKIE LEE              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1190    RP         Jioia, Perry and Alice           1690 Renaissance Commons     Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes          817       Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                     Blvd., Unit 1327                                               [XVII]                                                         Assessor's                       0.82                $90.08           $73,595.36                                                                        CAO YE                                                             Tax Records + Title/Deed          4/10/2007              9/9/2014                                           900 W. Morgan Street                                                                 $93,730.84
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1191    Ex 10/79   Johansson, Henrik and Jennifer   27070 Eden Rock Court        Bonita Springs    FL      34135   [II], [II(B)], [VII],     3/15/2010    Yes         2,496      Property Tax     Yes                                                                   Taishan            Photo               7              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           JOHANSSON, HENRIK;
                                                                                                                    [XV], [XVI],                                                   Assessor's                       0.80                $87.88          $219,348.48                                                                                                           Owner as of 6/9/15              City or County Tax Records        9/19/2006           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           JOHANSSON, JENNIFER
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1192    RP         Johnson, Abraham                 11316 Bridge Pine Drive      Riverview         FL      33569   [II], [III], [IX],        10/7/2009    Yes         1,775      Property Tax     Yes                                                                   Taihe              Photo               20, 21         I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           JOHNSON MIKE                       Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                   Assessor's                       0.83                $91.18          $161,844.50                                                                                                                                           Tax Records + Title/Deed          9/28/2006              4/16/2015                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           JOHNSON RAEGAN                     Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1193    Ex 10/79   Johnson, Aiasha and Geoffrey     190 SE 2nd Street            Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,398      Property Tax     Yes                                                                   Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              JOHNSON,GEOFFREY H/E                                                                                                                            Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                    0.82                $90.08          $125,931.84                                                                                                           Owner as of 6/9/15              City or County Tax Records       10/31/2006           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                             WALKER,AIASHA                                                                                                                                   Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1194    Ex 10/79   Johnson, Andre and Janelle       11375 Canyon Maple Blvd.     Davie             FL      33330   [II(B)], [III(A)],        9/16/2010    Yes         5,780      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.81              $88.98           $514,304.40                                                                        JOHNSON,C ANDRE                    Owner as of 6/9/15              Tax Records + Title/Deed          6/30/2006           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1195    Ex 10/79   Johnson, Audrey Mae              3444 Toledano Street         New Orleans       LA      70125   [II], [VII], [XV],        3/15/2010    Yes         1,500      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $141,705.00                                                                        JOHNSON AUDREY                     Owner as of 6/9/15              City or County Tax Records        8/10/1988           Current Owner                                         338 Lafayette Street                                                                   $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70130
 1196    Ex 10/79   Johnson, Barbara and Herbert     2425 Independence Street     New Orleans       LA      70117   [II], [VII], [XV],        3/15/2010    Yes         1,553      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm/ Morris Bart   Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              JOHNSON HERBERT G SR                                                                                                                            LLC                            Becnel Law Firm, LLC
                                                                                                                                                                                                                     0.86              $94.47           $146,707.19                                                                                                           Owner as of 6/9/15              City or County Tax Records        7/24/1998           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             JOHNSON BARBARA                                                                                                                                                                425 W. Airline Hwy, Suite B
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
 1197    Ex 10/79   Johnson, Christopher             2024 NW 5th Street           Cape Coral        FL      33991   [II(C)], [IX],            1/24/2011    Yes         1,976      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $173,650.88                                                                        JOHNSON CHRISTOPHER W              Owner as of 6/9/15              City or County Tax Records        11/3/2003           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1198    Ex 10/79   Johnson, Edward and Gail         2724 SW 36th Lane            Cape Coral        FL      33914   [VII], [XV],              1/14/2011    Yes         2,385      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           JOHNSON EDWARD +
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $209,593.80                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/14/2005           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                           JOHNSON GAIL T/C
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1199    Ex 10/79   Johnson, Fred and Sylvia         1562 Davis Acres Drive       Alpine            AL      35226   [II(C)], III, [XV],       1/24/2011    Yes         2775       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Matthews & Associates          David P. Matthews, Esq.             (888) 520-5202   dmatthews@thematthewsla                           BKC confirmed square
                                                                                                                    [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $256,049.25                                                                        JOHNSON, FRED                      Owner as of 6/9/15              City or County Tax Records          2008              Current Owner                                         2905 Sackett Street                                  wfirm.com                         $0.00           footage.
                                                                                                                    [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                            Houston, TX 77098
 1200    Add.       Johnson, Henry                   6524 Peoples Avenue          New Orleans       LA      70122   [XIII], [XV],             7/5/2011     Yes         1,596      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                              Current Owner, Unknown
         Taishan                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $150,774.12                                                                        JOHNSON HENRY                                                      City or County Tax Records                            Current Owner                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                              Purchase Date
         Prop.                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1201    Ex 10/79   Johnson, James and Lenda         3030 County Road 155         Verbena           AL      36091   [XIII], [XV],             7/5/2011     Yes         2192       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $199,866.56                                                                        JOHNSON JAMES A                    Owner as of 6/9/15              City or County Tax Records          2008              Current Owner                                         2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            650
 1202    Ex 10/79   Johnson, Jimmie S. Sr.           3313 Shannon Drive           Violet            LA      70092   [VII], [XV],              1/14/2011    Yes         1,120      Property Tax      Yes                                                                  Crescent City      Inspection Report   N/A            D                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $105,806.40                                                                        JOHNSON, JIMMIE S., SR.            Owner as of 6/9/15              City or County Tax Records        8/25/2006           Current Owner                                         820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70113
 1203    Ex 10/79   Johnson, Kenneth and Jeri and    609 Mansion Road             Yorktown          VA      23693   [II], [XV], [XVI],        3/15/2010    Yes         3,330      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Johnson Family Living Trust                                                                     [XVII]                                                         Assessor's                                                                                               Property Assessment                            JOHNSON K DAVID & JERI L                                                                                                                        Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.95              $104.36          $347,518.80                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/21/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             TRS                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1204    Ex 10/79   Johnson, Marjorie V. and Reuben 704 SW 23rd Terrace           Cape Coral        FL      33991   [II], [XIII], [XV],       3/15/2010    Yes         2,329      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              BZIKOT IRENEUSZ +                  Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.80              $87.88           $204,672.52                                                                                                                                           Tax Records + Title/Deed          5/25/2005              5/10/2013                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             BZIKOT ELIZABETH T/C               Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1205    Ex 10/79   Johnson, Michael and Janet       189 Medici Terrace           North Venice      FL      34275   [XV], [XVI],              7/5/2011     Yes         2,442      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           JOHNSON MICHAEL JOHNSON
                                                                                                                    [XVII]                                                         Assessor's                        0.83              $91.18           $222,661.56                                                                                                Owner as of 6/9/15                         Tax Records + Title/Deed           3/4/2008           Current Owner                                         12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                           JANET E
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1206    Ex 10/79   Johnson, Pryncess (NKA           959 Hollymeade Circle        Newport News      VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         2,227      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Stephens, Pryncess)                                                                             [XVII]                                                         Assessor's                                                                                                                                              MORRONE MICHAEL L,                 Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.95              $104.36          $232,409.72                                                                                                                                           City or County Tax Records        5/14/2007              3/28/2011                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             MORRONE JENNIFER M                 Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1207    Ex 10/79   Johnson, Robert and Elizabeth    2607 Nina Drive              Picayune          MS      39466   [VII], [XV],              1/14/2011    Yes         1,557      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com                                    See Dolly Lott on
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Unknown
                                                                                                                    [XVI], [XVII],                                                 Assessor's                        0.79              $86.78           $135,116.46                                                                        LOTT DOLLY E & RODNEY C                                            Tax Records + Title/Deed          4/27/2007                                                                 900 W. Morgan Street                                                                   $0.00           OCXX
                                                                                                                                                                                                                                                                                                                                                                              Purchase Date
                                                                                                                    [XXIII]                                                      Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1208    Ex 10/79   Johnson, Ronald                  4505 Lamarque Drive          Meraux            LA      70075   [III], [IX], [XV],        10/7/2009    Yes         1,540      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                           ROSSIGNOL REAL ESTATE              Owner as of 6/9/15, No Longer
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $145,502.69                                                                                                                                           City or County Tax Records        8/29/2007              3/8/2016            Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           INVESTMENTS,LLC                    Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            303
 1209    Ex 10/79   Johnson, Simartra                2410 E. 31st Avenue          Tampa             FL      33610   [II(C)], [VII],           1/14/2011    Yes         1,496      Property Tax      Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.83              $91.18           $136,405.28                                                                        JOHNSON SIMATRA                    Owner as of 6/9/15              City or County Tax Records        3/24/2008           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1210    Ex 10/79   Johnson, Timothy                 3430 Jackson Blvd.           Chalmette         LA      70043   [II(B)], [IX],            12/6/2010    Yes         2,010      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.86              $94.47           $189,837.47                                                                        JOHNSON, TIMOTHY G.                Owner as of 6/9/15              Title/Deed                         3/1/2006           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            303
 1211    Ex 10/79   Johnson, Walter                  4342 Sybil Street            New Orleans       LA      70122   [IX], [XV],               5/5/2011     Yes         1,480      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Hurricane Legal Center, LLC    Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              JOHNSON SEAN A                     Previous Owner, Did Not Own                                                                                                                 Young Law Firm
                                                                                                                                                                                                                     0.86              $94.47           $139,815.60                                                                                                                                           City or County Tax Records        6/17/1987              5/16/2014                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             JOHNSON KIRK W                     Property on 6/9/15                                                                                                                          1010 Common St., Suite 3040
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
 1212    Ex 10/79   Johnson, Yolanda                 4667 Cerise Avenue           New Orleans       LA      70127   [XIII], [XV],             7/5/2011     Yes         1,439      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $135,942.33                                                                        JOHNSON YOLANDA                    Owner as of 6/9/15              City or County Tax Records        8/23/2002           Current Owner                                         701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70163
 1213    Ex 10/79   Joiner, David and Charity        5505 Perkins Street          Pensacola         FL      32526   [XIII], [XV],             7/5/2011     Yes         1,961      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              JOINER DAVID A & CHARITY                                                                                                                                                       316 South Baylen St.
                                                                                                                                                                                                                     0.85              $93.37           $183,098.57                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed         10/27/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             D                                                                                                                                                                              Pensacola, FL 32502
                                                                                                                                                                                 Square Footage
 1214    Ex 10/79   Jones, Allie S. and Jeannie L.   212 16th Street              New Orleans       LA      70124   [III], [VII], [XV],       10/7/2009    Yes         1,172      Property Tax      Yes                                                                  Taihe              Photo               14, 15, 18     H, I                                                                                                                                                        Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $110,718.84                                                                        JONES ALLIE S                      Owner as of 6/9/15              City or County Tax Records        6/23/2006           Current Owner                                         820 O'Keefe Avenue                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70113
 1215    Ex 10/79   Jones, Brian and Davis,          2015 Sea Ray Shore Drive     Clearwater        FL      33763   [II], [IX], [XV],         3/15/2010    Yes         1,252      Property Tax      Yes                                                                  Taishan            Photo               1, 35          H                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Kimberly                                                                                        [XVI], [XVII]                                                  Assessor's                        0.82              $90.08           $112,780.16                                                                        VASQUEZ, JAIME                                                     City or County Tax Records          2007                   2011                                             27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1216    Ex 10/79   Jones, Casey M., Megan S. and    2251 Sandalwood Road         Virginia Beach    VA      23451   [IX], [XV],               5/5/2011     Yes         2,084      Property Tax      Yes                                                                  Venture Supply     Photo               40             K                                                                                                                                                           Paulson & Paulson, P.L.C.      Lou Paulson, Esq.                   (757) 481-6600   office@paulsonlaw.net
                    Louis R.                                                                                        [XVI], [XVII]                                                  Assessor's                        0.94              $103.26          $215,193.84                                                                        CASEY JONES                        Owner as of 6/9/15              City or County Tax Records        6/20/2008           Current Owner                                         1432 Great Neck Road, Suite 101                                                        $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            VA Beach, Virginia 23454
 1217    Ex 10/79   Jones, Christopher B.            5527 13th Avenue South       Birmingham        AL      35222   [IX], [XV],               5/5/2011     Yes         2599       Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                    [XVI], [XVII],                                                 Assessor's                                                                                                                                              CHESSER JONATHAN PAUL & Previous Owner, Did Not Own                                                                                                                            900 W. Morgan Street
                                                                                                                                                                                                                     0.84              $92.27           $239,809.73                                                                                                                                           City or County Tax Records        3/21/2007              6/30/2014                                                                                                                                 $0.00
                                                                                                                    [XXI]                                                        Document with                                                                                                                                             LINDSEY MARIE           Property on 6/9/15                                                                                                                                     Raleigh, NC 27603
                                                                                                                                                                                 Square Footage
 1218    Ex 10/79   Jones, Daphne                    2531 Delery Street           New Orleans       LA      70117   [II], [VII], [XV],        3/15/2010    Yes         1,234      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                (504) 525-1355     jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $116,575.98                                                                        JONES DAPHNE W                     Owner as of 6/9/15              City or County Tax Records         8/2/1999           Current Owner                                         855 Baronne Street                                   m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, 70113
 1219    Ex 10/79   Jones, Frank D. and Peggy H.     25264 County Road 38         Summerdale        AL      36580   [IX], [XV],               5/5/2011     Yes         1623       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                 (205) 533-9500     jimmy@doylefirm.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              JONES, FRANK ETUX PEGGY                                                                                                                                                        2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                     0.84              $92.27           $149,754.21                                                                                                           Owner as of 6/9/15              City or County Tax Records        1/17/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             H                                                                                                                                                                              650
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Birmingham, AL 35209
 1220    Ex 10/79   Jones, James and Athena          13715 Sanford Hill Place     Riverview         FL      33579   [IX], [XV],               5/5/2011     Yes         2,182      Property Tax      Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              JONES JAMES K JONES                                                                                                                                                            12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                     0.83              $91.18           $198,954.76                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed           2/7/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             ATHENA L                                                                                                                                                                       Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
 1221    Ex 10/79   Jones, Joyce                     4123 Walmsley Avenue         New Orleans       LA      70125   [II(C)], [XV],            1/24/2011    Yes         4,057      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $383,239.28                                                                        HAKIM JOYE J J                     Owner as of 6/9/15              City or County Tax Records       11/15/1985           Current Owner                                         701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70164
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 35 of 82



Claimant Source     Claimant Name                    Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                       Sharefile
 1222    Ex 10/79   Jones, Kenneth                   6079 SE Crooked Oak Avenue      Hobe Sound        FL      33455   [II(B)], [VII],           12/6/2010    Yes         2,754      Property Tax     Yes                                                                   IMT                Photo               32             F                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [IX], [XV],                                                    Assessor's                       0.82                $90.08          $248,080.32                                                                        LEWIS SEAN JEFFREY &                                               City or County Tax Records        2/21/2007              2/16/2012                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1223    RP         Jones, Paul and Janet            3301 Rannock Moor               Williamsburg      VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,244      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                         Assessor's                       0.96               $105.46          $131,192.24                         Property Assessment                            MAHARTY, DONALD & LOIS                                             City or County Tax Records         6/7/2006              9/26/2012           Serpe                          580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 1224    Ex 10/79   Jones, Roosevelt and Green,      1420 Emerald Dunes Drive        Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         2,519      Property Tax     Yes                                                                   Taishan            Photo               7              J           JONES ROOSEVELT LIFE                                                                                                                            Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                    Barbara                                                                                            [XVI], [XVII]                                                  Assessor's                                                                                                                                              ESTATE                                                                                                                                                                         12 SE 7th St #801
                                                                                                                                                                                    Document with                                                                                                                                             GREEN BARBARA LIFE                                                                                                                                                             Fort Lauderdale, FL 33301-3434
                                                                                                                                                                                    Square Footage
                                                                                                                                                                                                                       0.83                $91.18          $229,682.42                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          11/9/2006           Current Owner                                                                                                                               $60,690.37
                                                                                                                                                                                                                                                                                                                                              ESTATE
                                                                                                                                                                                                                                                                                                                                              JONES ROOSEVELT
                                                                                                                                                                                                                                                                                                                                              GREEN BARBARA
 1225    Ex 10/79   Jones, Rosetta and Lucious       4894 Genevive Court             Pensacola         FL      32526   [III], [VII], [XV],       10/7/2009    Yes         2,028      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              JONES LUCIOUS C                                                                                                                                                                316 South Baylen St.
                                                                                                                                                                                                                        0.85               $93.37          $189,354.36                                                                                                           Owner as of 6/9/15              City or County Tax Records        10/5/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                             JONES ROSETTA M                                                                                                                                                                Pensacola, FL 32502
                                                                                                                                                                                    Square Footage
 1226    Ex 10/79   Jones, William and Margie        5403 West End Blvd.             New Orleans       LA      70124   [IX], [XV],               5/5/2011     Yes         1,056      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Hurricane Legal Center, LLC    Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              JONES WILLIAM J JR                                                                                                                                                             Young Law Firm
                                                                                                                                                                                                                        0.86               $94.47           $99,760.32                                                                                                           Owner as of 6/9/15              City or County Tax Records       11/18/2010           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                             BRAUD JONES KRISTINA M                                                                                                                                                         1010 Common St., Suite 3040
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
 1227    Ex 10/79   Joseph, David and Pamela         514 NW Dover Court              Port St. Lucie    FL      34983   [XV], [XVI],              7/5/2011     Yes         2,672      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XVII]                                                         Assessor's                        0.82               $90.08          $240,693.76                                                                        PAMELA C JOSEPH                    Owner as of 6/9/15              City or County Tax Records        11/9/2005           Current Owner                                         27300 Riverview Center Blvd                                                           $36,796.25
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1228    RP         Joseph, Leonard                  5768 Rhapsody Avenue            North Port        FL      34288   [XIII], [XV],             7/5/2011     Yes         1,851      Property Tax      Yes                                                                  Taishan            Inspection Report   12             L                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              MC LEAN SCOTT B & MC               Previous Owner, Did Not Own                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                        0.83               $91.18          $168,774.18                                                                                                                                           Tax Records + Title/Deed          7/14/2006              1/7/2013                                                                                                                                   $0.00
                                                                                                                                                                                    Document with                                                                                                                                             LEAN VALERIE                       Property on 6/9/15                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                    Square Footage
 1229    RP         Joseph, Louise                   1021 Leonidas Street            New Orleans       LA      70118   [II], [VII], [XV],        3/15/2010    Yes         1,820      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                              PECK STEWART F                     Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $171,935.40                                                                                                                                           City or County Tax Records         4/5/1991              5/15/2012                                          855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                                                                                                                                                                              SCHULTZ MELISSA C                  Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            New Orleans, 70113
 1230    Ex 10/79   Julia, Juan Carlos and Martha    1690 Renaissance Commons        Boynton Beach     FL      33426   [III], [XV],              10/7/2009    Yes         1,119      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                     Blvd., Unit 1521                                                  [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $100,799.52                                                                        AHMAD, RIZWAN                                                      Tax Records + Title/Deed          5/11/2007              1/5/2011                                           900 W. Morgan Street                                                                  $99,427.31
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1231    Ex 10/79   Junco, Jorge                     536 Vincinda Crest Way          Tampa             FL      33619   [II], [IX], [XV],         3/15/2010    Yes         1,230      Property Tax      Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $112,151.40                                                                        TORRES MARISOL                                                     Tax Records + Title/Deed         11/28/2007              5/23/2013                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1232    Ex 10/79   Jurisich, Malcolm and Betty      6900 Louisville Street          New Orleans       LA      70124   [XV], [XVI],              7/5/2011     Yes         3,440      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                              JURISICH MALCOLM A SR
                                                                                                                       [XVII]                                                         Assessor's                        0.86               $94.47          $324,976.80                                                                                                           Owner as of 6/9/15              City or County Tax Records        1/26/2007           Current Owner                                         425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                              JURISICH BETTY S
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
 1233    Ex 10/79   Kallfelz, Marita                 1690 Renaissance Commons        Boynton Beach     FL      33426   [III], [IX], [XV],        10/7/2009    Yes         1,119      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              KALLFELZ, MARIA B TRUST;           Owner as of 6/9/15, No Longer
                                                     Blvd., Unit 1315                                                  [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $100,799.52                                                                                                                                           City or County Tax Records        4/18/2007             11/23/2015                                          900 W. Morgan Street                                                                  $93,660.71
                                                                                                                                                                                                                                                                                                                                              KALLFELZ, MARIA B TR               Owns Property
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1234    RP         Kana, Patrick                    3744 NE 15th Place              Cape Coral        FL      33909   [IX], [XIII],             5/5/2011     Yes         1,734      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                              DILLON KERRY A + ROSARIO Previous Owner, Did Not Own                                                                                            Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                        0.80               $87.88          $152,383.92                                                                                                                                           Tax Records + Title/Deed          8/26/2010              3/31/2014                                                                                                                                  $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                             U                        Property on 6/9/15                                                                                                                                    3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1235    Ex 10/79   Kapalin, Daniel and Danielle     14115 Stowbridge Avenue         Tampa             FL      33626   [III], [VII], [XV],       10/7/2009    Yes         1,456      Property Tax      Yes                                                                  Taihe              Photo               18, 21         I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                                               316 South Baylen St.
                                                                                                                                                                                                                        0.83               $91.18          $132,758.08                                                                        SHEPHERD PAMELA                                                    Tax Records + Title/Deed          2/26/2007              2/4/2016                                                                                                                                   $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                Owns Property                                                                                                                               Pensacola, FL 32502
                                                                                                                                                                                    Square Footage
 1236    Ex 10/79   Karaian, George and Bernadette 11842 Bayport Lane 2102           Ft. Myers         FL      33908   [II(C)], [IX],            1/24/2011    Yes         1,690      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              KARAIAN GEORGE K +
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $148,517.20                                                                                                           Owner as of 6/9/15              City or County Tax Records       11/10/2006           Current Owner                                         27300 Riverview Center Blvd                                                           $59,268.43
                                                                                                                                                                                                                                                                                                                                              BERNADETTE
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1237    Ex 10/79   Karcher, John and Coaker,        1730 Old Burnt Store Road       Cape Coral        FL      33993   [II], [XV], [XVI],        3/15/2010    Yes         3,298      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G           COAKER DEBORAH A TR+                                                                                                                            Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                    Deborah                          North                                                             [XVII]                                                         Assessor's                                                                                                                                              KARCHER JOHN A TR FOR                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                                                    Document with                       0.80               $87.88          $289,828.24                                                                        DEBORAH A COAKER TRUST             Owner as of 6/9/15              Tax Records + Title/Deed          8/27/2004           Current Owner                                         Bonita Springs, FL 34134                                                                $0.00
                                                                                                                                                                                    Square Footage                                                                                                                                            1/2 + FOR JOHN A KARCHER
                                                                                                                                                                                                                                                                                                                                              TRUST 1/2
 1238    Ex 10/79   Karlstromer, Steve and Rose      4976 Seville Court              Cape Coral        FL      33904   [III(A)], [IX],           9/16/2010    Yes         2,969      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XIII], [XV],                                                  Assessor's                                                                                                                                              KARLSTROMER STEPHEN T +                                                                                                                         Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.80               $87.88          $260,915.72                                                                                                Owner as of 6/9/15                         City or County Tax Records        1/31/2002           Current Owner                                                                                                                                 $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                             ROSE A                                                                                                                                          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1239    Ex 10/79   Katz, Barry and Rebecca          11011 Gulf Reflections Drive,   Ft. Myers         FL      33907   [III], [XV],              10/7/2009    Yes         1,416      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                     406A                                                              [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $124,438.08                                                                        STACKIS STACY L + STEVE J                                          City or County Tax Records        1/30/2007             10/30/2014           Adelman LLP                  2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          300
 1240    Ex 10/79   Kaufman, Kristy and Elphage      4125 Najolia Street             Meraux            LA      70075   [XV], [XVI],              7/5/2011     Yes         1,141      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.           504-271-8422     storres@torres-law.com
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                              Torres, III                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                        0.86               $94.47          $107,790.27                                                                        SAVOIE-KAUFMAN, KRISTY             Owner as of 6/9/15              City or County Tax Records        9/23/2011           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          303
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
 1241    Ex 10/79   Kaufman, Leslie                  1690 Renaissance Commons        Boynton Beach     FL      33426   [III], [IX], [XV],        10/7/2009    Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo               2              J           KAUFMAN, LESLIE H;                                                                                                                              Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                     Blvd., Unit 1307                                                  [XVI], [XVII]                                                  Assessor's                                                                                                                                              KAUFMAN, LESLIE H TR;                                                                                                                                                        900 W. Morgan Street
                                                                                                                                                                                                                        0.82               $90.08          $111,699.20                                                                                                           Owner as of 6/9/15              City or County Tax Records        3/29/2007           Current Owner                                                                                                                              $100,566.98
                                                                                                                                                                                    Document with                                                                                                                                             LESLIE H KAUFMAN TR TITL                                                                                                                                                     Raleigh, NC 27603
                                                                                                                                                                                    Square Footage                                                                                                                                            HLDR
 1242    Ex 10/79   Kaufman/Manley, a General        13966 Clubhouse Drive           Tampa             FL      33618   [II], [XV], [XVI],        3/15/2010    Yes         2,665      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                    Partnership                                                                                        [XVII]                                                         Assessor's                        0.83               $91.18          $242,994.70                                                                        KAUFMAN/MANLEY                     Owner as of 6/9/15              City or County Tax Records        6/28/2006           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1243    Ex 10/79   Kayea, Charles                   5159 9th Street, NE             Ruskin            FL      33570   [II(C)], [XV],            1/24/2011    Yes         1,745      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              HERNANDEZ DANIEL                   Previous Owner, Did Not Own                                                                                                                 12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                        0.83               $91.18          $159,109.10                                                                                                                                           Tax Records + Title/Deed          4/27/2007              9/29/2012                                                                                                                                  $0.00
                                                                                                                                                                                    Document with                                                                                                                                             ALVARADO ABONZA JUAN               Property on 6/9/15                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                    Square Footage
 1244    Ex 10/79   Kehl, Hans and Beate             4832 SE 24th Place              Cape Coral        FL      33914   [III], [XV],              10/7/2009    Yes         2,385      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              KNIEZEK MARTIN +                   Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $209,593.80                                                                                                                                           Tax Records + Title/Deed          11/9/2007              8/15/2014                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                              KNIEZKOVA DAGMAR T/C               Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1245    RP         Kehoe, Mary                      1204 Magnolia Alley             Mandeville        LA      70124   [II(C)], [III], [VII]     10/7/2009    Yes         1,768      Property Tax      Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           The Lambert Firm             Hugh Lambert, Esq.                    (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $167,022.96                                                                        VAN ZANDT, RYAN JOSEPH                                             Tax Records + Title/Deed          4/16/2007              8/12/2010                                        701 Magazine St,                                       om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130
 1246    Ex 10/79   Keith Hall Properties, Inc.      1247 Katie Lane                 Leeds             AL      35094   [XV], [XVI],              7/5/2011     Yes         1020       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                     (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                              KEITH HALL PROPERTIES,
                                                                                                                       [XVII], [XXI]                                                  Assessor's                        0.84               $92.27           $94,115.40                                                                                                           Owner as of 6/9/15              Affidavit                         3/24/2008           Current Owner          Irby                         905 Montgomery Highway, Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                              INC.
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          201
 1247    Ex 10/79   Keith Hall Properties, Inc.      1249 Katie Lane                 Leeds             AL      35094   [XV], [XVI],              7/5/2011     Yes         1020       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                     (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                              KEITH HALL PROPERTIES,
                                                                                                                       [XVII], [XXI]                                                  Assessor's                        0.84               $92.27           $94,115.40                                                                                                           Owner as of 6/9/15              Affidavit                         3/24/2008           Current Owner          Irby                         905 Montgomery Highway, Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                              INC.
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          201
 1248    Ex 10/79   Keith Hall Properties, Inc.      1251 Katie Lane                 Leeds             AL      35094   [XV], [XVI],              7/5/2011     Yes         1020       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                     (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                              KEITH HALL PROPERTIES,
                                                                                                                       [XVII], [XXI]                                                  Assessor's                        0.84               $92.27           $94,115.40                                                                                                           Owner as of 6/9/15              Affidavit                         3/24/2008           Current Owner          Irby                         905 Montgomery Highway, Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                              INC.
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          201
 1249    Ex 10/79   Keith Hall Properties, Inc.      1253 Katie Lane                 Leeds             AL      35094   [XV], [XVI],              7/5/2011     Yes         1020       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                     (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                              KEITH HALL PROPERTIES,
                                                                                                                       [XVII], [XXI]                                                  Assessor's                        0.84               $92.27           $94,115.40                                                                                                           Owner as of 6/9/15              Affidavit                         3/24/2008           Current Owner          Irby                         905 Montgomery Highway, Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                              INC.
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          201
 1250    Ex 10/79   Keller, Brad and Kerry           9950 Via San Marco Loop         Ft. Myers         FL      33905   [II(C)], [IX],            1/24/2011    Yes         3,942      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $346,422.96                                                                        DONG XIAN & LIN YI                                                 City or County Tax Records        9/13/2006              11/1/2016                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1251    Ex 10/79   Kelley, John Donald and Patricia 50 Crane Street                 New Orleans       LA      70127   [XIII], [XV],             7/5/2011     Yes         1,542      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                 (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $145,672.74                                                                        KELLEY JOHN D                      Owner as of 6/9/15              Tax Records + Title/Deed          8/15/1975           Current Owner                                       701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70165
 1252    Ex 10/79   Kellner, Alan and Ilana          1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,119      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              KELLNER ALAN S; KELLNER
                                                     Blvd., Unit 1310                                                  [XVII]                                                         Assessor's                        0.82               $90.08          $100,799.52                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/25/2007           Current Owner                                       900 W. Morgan Street                                                                    $93,988.31
                                                                                                                                                                                                                                                                                                                                              ILANA
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1253    Ex 10/79   Kelly, Bruce and June            2009 Emilie Oaks Drive          Meraux            LA      70075   [III(A)], [IX],           9/16/2010    Yes         3,078      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                 (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                           701 Poydras Street, Suite 3650
                                                                                                                                                                                                                        0.86               $94.47          $290,778.66                                                                        KELLY, BRUCE J.                    Owner as of 6/9/15              City or County Tax Records        9/28/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70166
                                                                                                                                                                                    Square Footage
 1254    Ex 10/79   Kelly, Bryce and Stacey          1441 Lake Lotela Drive          Avon Park         FL      33825   [II(A)], [XV],            9/16/2010    Yes         5,048      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Lowndes, Drosdick, Doser,      Joseph A. Lane, Esq.                (407) 418-6343   joe.lane@lowndes-law.com                           BKC confirmed square
                                                                                                                                                                                                                                                                                                                                              LAYE, LINDA K; LAYE,               Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $443,618.24      Manufacturer 2                                                                                                                       Tax Records + Title/Deed           4/5/2001              3/4/2011            Kantor & Reed, PA              215 North Eola Drive                                                                    $0.00           footage.
                                                                                                                                                                                                                                                                                                                                              RONALD A                           Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Orlando, Florida 32801
 1255    RP         Kelly, Francine                  8416 101st Court                Vero Beach        FL      32967   [XV], [XVI],              7/5/2011     Yes         1,527      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                         Assessor's                        0.84               $92.27          $140,896.29                                                                        DIAZ, ELADIO &                                                     Tax Records + Title/Deed          7/13/2007              2/26/2013                                          701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70166
 1256    Ex 10/79   Kelso, Christopher               4234 Tyler Circle N. #102 B     St. Petersburg    FL      33709   [II(A)], [III],           10/7/2009    Yes         1,158      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                       [VII], [XV],                                                   Assessor's                        0.82               $90.08          $104,312.64                                                                        KELSO, CHRISTOPHER O SR            Owner as of 6/9/15              City or County Tax Records         2/9/2007           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1257    RP         Kelson, Sherrie                  5951 Annette Street             Pensacola         FL      32506   [III], [VII], [XV],       10/7/2009    Yes         1,829      Property Tax      Yes                                                                  Taihe              Photo               20, 21         I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.85               $93.37          $170,773.73                                                                        ELAWAR CHRISTOPHER A                                               Tax Records + Title/Deed          6/27/2006             12/10/2010                                          316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 1258    RP         Kennard, Rick                    11314 Bridge Pine Drive         River View        FL      33569   [II], [XV], [XVI],        3/15/2010    Yes         1,789      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                              NESVACIL JASON                     Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                         Assessor's                        0.83               $91.18          $163,121.02                                                                                                                                           Tax Records + Title/Deed          9/20/2006             10/20/2011                                          255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                              NESVACIL KATHLEEN                  Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Coral Gables, FL 33134
 1259    RP         Kennedy, Alfred                  4543-4545 Lynhuber Drive        New Orleans       LA      70126   [IX], [XV],               5/5/2011     Yes         2,000      Property Tax      Yes                                                                  Taihe/ Crescent    Photo               14, 27         D, H                                                                                                                                                        Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                            City                                                                                                 Previous Owner, Did Not Own                                                                                                                 338 Lafayette Street
                                                                                                                                                                                                                        0.86               $94.47          $188,940.00                                                                        JACKSON VANESSA L                                                  Tax Records + Title/Deed          1/12/2010              3/6/2015                                                                                                                                   $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          New Orleans, LA 70130
                                                                                                                                                                                    Square Footage
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 36 of 82



Claimant Source     Claimant Name                   Affected Property Address      City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                         Counsel Address                     Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                    Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                    Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
 1260    RP         Kennedy, William and Perone,    7063 Lost Garden Terrace       Parkland         FL      33076   [II], [III], [IX],        10/7/2009    Yes         5,144      Property Tax     Yes                                                                   C&K                Photo              34             B                                                                                                                                                           Allison Grant, P.A./ Krupnick   Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com                            Allison Grant
                    Samuel                                                                                          [XIII], [XV],                                                  Assessor's                                                                                                                                                                                                                                                                                             Campbell                        14 Southeast 4th Street                                                                                   represented William
                                                                                                                    [XVI], [XVII]                                                Document with                      0.81                $88.98          $457,713.12                                                                       KENNEDY,WILLIAM & MARIA Owner as of 6/9/15                         Tax Records + Title/Deed           5/4/2011           Current Owner                                          Boca Raton, Florida 33432                                                                 $0.00           Kennedy (current
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                                                                                                                                     owner); Krupnick
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Campbell represented
 1261    Ex 10/79   Kent, Edward and Donna          14143 Citrus Crest Circle      Tampa            FL      33625   [VII], [IX], [XIII],      1/14/2011    Yes         1,910      Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Allison Grant, P.A. Baron &     Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt         Baron & Budd
                                                                                                                                                                                                                     0.83               $91.18          $174,153.80                                                                       CONRADO JILL                                                       Tax Records + Title/Deed          5/18/2007             12/14/2010                                                                                                                                     $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                               Property on 6/9/15                                                                                           Brown Rash & Culmo              3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1262    Ex 10/79   Kepler, LLC                     6071 Jonathan’s Bay Circle,    Ft. Myers        FL      33908   [III], [VII], [XV],       10/7/2009    Yes         1,803      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                    Unit 501                                                        [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $158,447.64                                                                       KEPLER LLC                         Owner as of 6/9/15              City or County Tax Records        4/16/2009           Current Owner                                          27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1263    Ex 10/79   Kepouros, James and Delia       1936 Four Mile Cove            Cape Coral       FL      33990   [IX], [XIII],             5/5/2011     Yes         4,187      Property Tax      Yes                                                                  IMT                Photo              30             F                                                                                                                                                           Allison Grant, P.A.             Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                     0.80               $87.88          $367,953.56                                                                       KEPOUROS JAMES + DELIA             Owner as of 6/9/15              Tax Records + Title/Deed          4/29/2004           Current Owner                                                                                                                                 $244,074.61
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                 Square Footage
 1264    Ex 10/79   Kessler, Andrew and Katherine   3056 Juniper Lane              Davie            FL      33330   [II], [II(B)], [XV],      3/15/2010    Yes         6,051      Property Tax      Yes                                                                  Taishan            Photo              2, 3, 4        J                                                                                                                                                           Allison Grant, P.A. Baron &     Russell Budd, Esq.                (214) 521-3605     rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                             KESSLER,ANDREW &                                                                                                                                Budd, P.C. Alters Boldt         Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $538,417.98                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed           9/5/2006           Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                            KATHERINE                                                                                                                                       Brown Rash & Culmo              3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1265    Ex 10/79   Khatamian, Houchang and Hazel 2710 SW 10th Avenue              Cape Coral       FL      33914   [II], [XV], [XVI],        3/15/2010    Yes         2,177      Property Tax      Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Morgan & Morgan                 Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                             KHATAMIAN HOUCHANG +                                                                                                                                                            12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                     0.80               $87.88          $191,314.76                                                                                                          Owner as of 6/9/15              City or County Tax Records        2/27/2009           Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                            HAZEL                                                                                                                                                                           Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
 1266    Ex 10/79   Kidd, Elvira (Visionary         1829 Dartmouth Avenue          Bessemer         AL      35020   [IX], [XV],               5/5/2011     Yes        29858       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Collins & Horsley/ Whitfield W. Brian Collins, Esquire              (205) 529-4988   thecollinslawoffices@gmail.                          Whitfield Bryson
                    Ministries)                                                                                     [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                                                                                                                             Bryson & Mason               Collins Law Firm                                        com                                                  represents Visionary
                                                                                                                                                                                                                     0.84               $92.27         $2,754,997.66                                                                      VISIONARY MINISTRY LLC             Owner as of 6/9/15              City or County Tax Records        3/13/2009           Current Owner                                                                                                                                    $0.00
                                                                                                                    [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                         1461 Shades Crest Road                                                                                       Ministry; Collins &
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        Hoover, AL 35226                                                                                             Horsley represents
 1267    Ex 10/79   Kiewiet, Nathan and Elizabeth   3307 Arran Thistle             Williamsburg     VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,270      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                  (305) 476-7400   patrick@colson.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                               Property Assessment                           KIEWIET, NATHAN DAVID &                                                                                                                         Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $133,934.20                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/12/2006           Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                            ELIZABETH JO                                                                                                                                    Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1268    Ex 10/79   Kilpatrick, Lori                2238 Half Section Line Road    Albertville      AL      35950   [XV], [XVI],              7/5/2011     Yes         1462       Property Tax      Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                      (205) 533-9500   jimmy@doylefirm.com
                                                                                                                    [XVII]                                                         Assessor's                        0.82               $90.08          $131,696.96                                                                       KILPATRICK, LORI                   Owner as of 6/9/15              City or County Tax Records        7/23/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                              $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         650
 1269    RP         Kim, Charles and Helen          991 Fish Hook Cove             Bradenton        FL      34212   [II], [IX], [XV],         3/15/2010    Yes         2,784      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                     (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          GREIST, MARY COFFEY                Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $253,845.12                                                                                                                                          Tax Records + Title/Deed          9/26/2006              2/18/2014                                        12 SE 7th St #801                                                                            $0.00
                                                                                                                                                                                                                                                                                                                                          GREIST, TIMOTHY W                  Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 1270    Ex 10/79   Kim, Mai and Bui, Tom           8561 Pegasus Drive             Lehigh Acres     FL      33971   [III], [VII], [XV],       10/7/2009    Yes         2,349      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                   (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $206,430.12                                                                       VO HIEP                                                            City or County Tax Records        4/30/2007              4/15/2011                                        27300 Riverview Center Blvd                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1271    RP         Kim, Soon                       1022 Hollymeade Circle         Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,897      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                 (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                        0.95              $104.36          $197,970.92                                                                       JOHNSON MARK ANDREW,                                               City or County Tax Records       10/17/2006              8/6/2010            Serpe                        580 East Main Street, Suite 310                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 1272    Ex 10/79   King, Carolyn and Alfred        8726 93rd Court                Vero Beach       FL      32967   [IX], [XV],               5/5/2011     Yes         1,766      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                    (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                             KING, ALFRED AND                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                     0.84               $92.27          $162,948.82                                                                                                          Owner as of 6/9/15              City or County Tax Records         3/1/2003           Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                            CAROLYN                                                                                                                                                                      Boca Raton, Florida 33432
                                                                                                                                                                                 Square Footage
 1273    Ex 10/79   King, Robert                    294 Grand View Parkway         Maylene          AL      35114   [IX], [XV],               5/5/2011     Yes         2954       Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                       919-600-5000     dan@wbmllp.com
                                                                                                                    [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $272,565.58                                                                       KING ROBERT L & ALBERTA            Owner as of 6/9/15              City or County Tax Records        4/11/2002           Current Owner                                       900 W. Morgan Street                                                                         $0.00
                                                                                                                    [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 1274    Ex 10/79   Kingsnorth, Bob and Grace       2556 Deerfield Lake Court      Cape Coral       FL      33993   [IX], [XV],               5/5/2011     Yes         1,630      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                  (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                          KINGSNORTH GRACE +
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $143,244.40                                                                                                          Owner as of 6/9/15              City or County Tax Records        4/23/2008           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                              $0.00
                                                                                                                                                                                                                                                                                                                                          FORTH TANYA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         300
 1275    Ex 10/79   Kirchheimer, Roni and Ana       11443 Laurel Brook Court       Riverview        FL      33569   [IX], [XV],               5/5/2011     Yes         2,463      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                     (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          HOGAR COMMUNITY                    Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $224,576.34                                                                                                                                          Tax Records + Title/Deed          8/28/2006              5/22/2015                                        12800 University Drive, Suite 600                       m                                    $0.00
                                                                                                                                                                                                                                                                                                                                          REINVESTMENT LLC                   Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1276    Ex 10/79   Kitney, Selwyn and Deborah      140 South Dixie Highway #604 Hollywood          FL      33020   [XIII], [XV],             7/5/2011     Yes         1,210      Property Tax      Yes                                                                  Taihe              Photo              14             H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                      (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                             KITNEY, SELWYN &                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $107,665.80                                                                                                          Owner as of 6/9/15              City or County Tax Records        9/21/2007           Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                            DEBORAH                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1277    Ex 10/79   Klett, Mark and Klett           2488 North Landing Road, Suite Virginia Beach   VA      23456   [IX], [XV],               5/5/2011     Yes         1,666      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                  (305) 476-7400   patrick@colson.com
                    Consulting Group, Inc.          111                                                             [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                                                                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $172,031.16                                                                       MARK NEIL KLETT TRUST              Owner as of 6/9/15              Tax Records + Title/Deed           6/2/2006           Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1278    Ex 10/79   Klinker, Nora                   5527 Brixton Road              Williamsburg     VA      23185   [XV], [XVI],              7/5/2011     Yes         2,275      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Pro Se                                                                                                                                    Pro Se per BG portal.
                                                                                                                    [XVII]                                                         Assessor's                                                                                               Property Assessment                                                                                                                                                                                                                                                                                                                     Confirmed by BKC
                                                                                                                                                                                                                     0.96              $105.46          $239,921.50                                                                       KLINKER, NORA A                    Owner as of 6/9/15              City or County Tax Records         9/2/2008           Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with
                                                                                                                                                                                 Square Footage
 1279    Ex 10/79   Klipsch, Ron and Christy        10854 Sterling Court           Daphne           AL      36526   [VII], [XV],              1/14/2011    Yes         2699       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           The Braswell Firm, LLC          Kasie Braswell, Esq.                (251) 438-7503   kasie@braswellmurphy.com
                                                                                                                    [XVI], [XVII],                                                 Assessor's                                                                                                                                             JONES, STONY ETAL COCCO, Owner as of 6/9/15, No Longer                                                                                                                          105 N. Conception St #100
                                                                                                                                                                                                                     0.84               $92.27          $249,036.73                                                                                                                                          City or County Tax Records        4/27/2007              4/29/2016                                                                                                                                     $0.00
                                                                                                                    [XXI]                                                        Document with                                                                                                                                            DHANYELLE; BJ'S          Owns Property                                                                                                                                          Mobile, AL 36602
                                                                                                                                                                                 Square Footage
 1280    Ex 10/79   Knight, Asa Holden              4319 Eleanors Way              Williamsburg     VA      23188   [II], [XV], [XVI],        3/15/2010    Yes          944       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46           $99,554.24                                                                       KNIGHT, ASA HOLDEN                 Owner as of 6/9/15              City or County Tax Records          2007              Current Owner                                                                                                                                    $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe                Coral Gables, FL 33134
 1281    Ex 10/79   Knight, Rosemary                21311 Morning Mist Way         Land O'Lakes     FL      34637   [II], [IX], [XV],         3/15/2010    Yes         1,312      Property Tax      Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $119,628.16                                                                       KNIGHT ROSEMARY                    Owner as of 6/9/15              City or County Tax Records        8/31/2006           Current Owner                                          27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1282    Ex 10/79   Knowles, Timothy and Tosha      7636 Killiam Road              Century          FL      32535   [III], [VII], [XV],       10/7/2009    Yes         1,920      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Levin Papantonio                Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                          KNOWLES, TIMOTHY AND
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.85               $93.37          $179,270.40                                                                                                          Owner as of 6/9/15              City or County Tax Records       10/20/2005           Current Owner                                          316 South Baylen St.                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                          TOSHA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 1283    RP         Kobzar, Paul and Millie         3316 19th Street SW            Lehigh Acres     FL      33872   [XIII], [XV],             7/5/2011     Yes         2,078      Property Tax      Yes                                                                  ProWall            Photo              44             G                                                                                                                                                           Morgan & Morgan                 Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          ORTEGA AMED T + SOSA               Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $182,614.64                                                                                                                                          Tax Records + Title/Deed          9/26/2011             12/22/2014                                           12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                          ACELA M H/W                        Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1284    Ex 10/79   Koffler, Paul                   3208 Riverland Drive           Chalmette        LA      70043   [II(A)], [IX],            9/16/2010    Yes         1,899      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Law Offices of Sidney D.        Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                          DASILVA, JOSE R. & DASILVA, Owner as of 6/9/15, No Longer
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $179,398.53                                                                                                                                          City or County Tax Records       10/11/2011             11/17/2015           Torres, III                     8301 W. Judge Perez Drive, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                          MARIA CABRERA               Owns Property
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            303
 1285    Ex 10/79   Kolich, John and Susanna        1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,460      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason       Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          KOLICH JOHN &
                                                    Blvd., Unit 1519                                                [XVII]                                                         Assessor's                        0.82               $90.08          $131,516.80                                                                                                          Owner as of 6/9/15              City or County Tax Records         4/2/2007           Current Owner                                          900 W. Morgan Street                                                                    $94,416.70
                                                                                                                                                                                                                                                                                                                                          KOLICH SUSANNA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1286    Ex 10/79   Kostelecky, Charlotte and Joseph 19139 Blueberry Lane          Silverhill       AL      36576   [II(C)], [III], [IX],     10/7/2009    Yes         1972       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                             KOSTELECKY, JOSEPH                                                                                                                                                              27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.84               $92.27          $181,956.44                                                                                                          Owner as of 6/9/15              City or County Tax Records       12/12/1997           Current Owner                                                                                                                                    $0.00
                                                                                                                    [XVII], [XXI]                                                Document with                                                                                                                                            TIMOTHY ETAL KOSTELEC                                                                                                                                                           Bonita Springs, FL 34134
                                                                                                                                                                                 Square Footage
 1287    Ex 10/79   Kotajarvi, Peter                4141 Courtside Way             Tampa            FL      33618   [II], [XV], [XVI],        3/15/2010    Yes         2,665      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan                 Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                                                                                                                    [XVII]                                                         Assessor's                        0.83               $91.18          $242,994.70                                                                       DAKALINE FINANCIAL LLC                                             Tax Records + Title/Deed           6/8/2006              11/4/2016                                           12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1288    RP         Kovens, Arthur and Martha       1660 Renaissance Commons       Boynton Beach    FL      33426   [II], [III], [XV],        10/7/2009    Yes         1,119      Property Tax      Yes                                                                  IMT                Photo              31             F                                                                                                                                                           Whitfield, Bryson & Mason       Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                    Blvd., Unit 2527                                                [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $100,799.52                                                                       KOIVISTO PEKKA                                                     Tax Records + Title/Deed          2/23/2007              10/7/2011                                           900 W. Morgan Street                                                                    $99,427.31
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1289    Ex 10/79   Kowalik, Gregory and Jolanta    3382 Lago De Talavera          Wellington       FL      33467   [II(A)], [VII],           9/16/2010    Yes         3,887      Property Tax      Yes                                                                  BNBMDB             Photo              25             A                                                                                                                                                           Allison Grant, P.A. Baron &     Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XIII], [XV],                                                  Assessor's                                                                                                                                             LEWIS ODELL CARLSTON JR            Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt         Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $350,140.96                                                                                                                                          Tax Records + Title/Deed          2/23/2010              4/3/2015                                                                                                                                      $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                            & LEWIS DAWN                       Property on 6/9/15                                                                                           Brown Rash & Culmo              3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1290    Ex 10/79   Kramer, Dan and Carolyn         3245 Sundance Circle           Naples           FL      34109   [IX], [XIII],             5/5/2011     Yes         1,926      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $169,256.88                                                                       KRAMER, DAN & CAROLYN              Owner as of 6/9/15              City or County Tax Records       10/18/2010           Current Owner                                          27300 Riverview Center Blvd                                                               $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1291    Ex 10/79   Kramer, Ronald and Anita        1660 Renaissance Commons       Boynton Beach    FL      33426   [II(C)], [III],           10/7/2009    Yes          817       Property Tax      Yes                                                                  IMT                Photo              31             F                                                                                                                                                           Whitfield, Bryson & Mason       Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          MALTSER, LINA; BERMAN,             Previous Owner, Did Not Own
                                                    Blvd., Unit 2310                                                [XV], [XVI],                                                   Assessor's                        0.82               $90.08           $73,595.36                                                                                                                                          City or County Tax Records        2/27/2007              9/8/2014                                            900 W. Morgan Street                                                                    $93,723.70
                                                                                                                                                                                                                                                                                                                                          SABINA; ENDLIN, TATIANA            Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1292    RP         Kranz, Helene                   8644 Athena Court              Lehigh Acres     FL      33971   [III], [IX], [XV],        10/7/2009    Yes         1,322      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Roberts & Durkee                C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                          SAMPSON KEVIN + JONCAS             Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $116,177.36                                                                                                                                          Tax Records + Title/Deed           8/7/2006              7/27/2011                                           2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                          LISA T/C                           Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            300
 1293    Ex 10/79   Krause, Donald                  11685 Bald Eagle Way           Naples           FL      34120   [II], [XV], [XVI],        3/15/2010    Yes         3,491      Property Tax      Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          BROWN, GARY L=&                    Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                        0.80               $87.88          $306,789.08                                                                                                                                          Tax Records + Title/Deed           8/2/2005              1/9/2013                                            27300 Riverview Center Blvd                                                             $96,908.88
                                                                                                                                                                                                                                                                                                                                          KATHLEEN J                         Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1294    Ex 10/79   Krause, Howard as Trustee of    1690 Renaissance Commons       Boynton Beach    FL      33426   [III], [IX], [XV],        10/7/2009    Yes          817       Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason       Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                    the Naomi Krause Revocable      Blvd, Unit 1109                                                 [XVI], [XVII]                                                  Assessor's                        0.82               $90.08           $73,595.36                                                                       KRAUSE, HOWARD TR                  Owner as of 6/9/15              City or County Tax Records        4/23/2007           Current Owner                                          900 W. Morgan Street                                                                      $0.00
                    Trust                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1295    Ex 10/79   Kropf, Leneva Jean              1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,119      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason       Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                    Blvd., Unit 1205                                                [XVII]                                                         Assessor's                        0.82               $90.08          $100,799.52                                                                       KROPF, LENEVA JEAN                 Owner as of 6/9/15              City or County Tax Records       12/27/2007           Current Owner                                          900 W. Morgan Street                                                                    $99,427.31
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1296    Ex 10/79   Krueckel, Susanne and           2724 SW 25th Street            Cape Coral       FL      33914   [III(A)], [IX],           9/16/2010    Yes         2,183      Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          KRUECKEL SUSANNE +
                    Schneider, Wolfgang                                                                             [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $191,842.04                                                                                                          Owner as of 6/9/15              City or County Tax Records        5/29/2009           Current Owner                                          27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                          SCHNEIDER WOLFGANG T/C
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1297    RP         Kurtz, Charles and Betty        1306 Little Alafia Drive       Plant City       FL      33567   [XIII], [XV],             7/5/2011     Yes         3,148      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan                 Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          BOND CHRISTOPHER L                 Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $287,034.64                                                                                                                                          Tax Records + Title/Deed           3/6/2008              7/9/2012                                            12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                          BOND MAILEN F                      Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 37 of 82



Claimant Source     Claimant Name                    Affected Property Address       City             State   Zip     Omni(s)                Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
 1298    RP         Labell, Barry                    10560 SW Stephanie Way, Unit Port St. Lucie      FL      34987   [XV], [XVI],             7/5/2011     Yes           0        Property Tax     Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                 See Promenade at
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                     206                                                              [XVII]                                                        Assessor's                       0.82                $90.08             $0.00                                                                          JEMSELLIS INC                                                      City or County Tax Records       10/10/2006              4/27/2015                                        255 Alhambra Circle, PH                                                                 $0.00           Tradition
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Coral Gables, FL 33134
 1299    Ex 10/79   Labrosse, Jr., Bradley R. and    4401 Tracy Street               Meraux           LA      70075   [II(B)], [IX],           12/6/2010    Yes         3,855      Property Tax     Yes                                                                   Crescent City      Photo              27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                    Tricia M.                                                                                         [XV], [XVI],                                                  Assessor's                       0.86                $94.47          $364,181.85                                                                       LABROSSE, TRICIA GUNTER            Owner as of 6/9/15              City or County Tax Records        4/17/2001           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                      [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                         303
 1300    RP         Lacey-Fredette, Susan            2229 SE 5th Court               Cape Coral       FL      33990   [II(B)], [XV],           12/6/2010    Yes         2,126      Property Tax     Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           CALAVANO KERRY +                   Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.80                $87.88          $186,832.88                                                                                                                                          Tax Records + Title/Deed          5/30/2008              8/3/2010                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           FLANIGAN JANET                     Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1301    RP         Ladd Holdings, LLC               3111 Bayshore Blvd.             St. Petersburg   FL      33703   [XIII], [XV],            7/5/2011     Yes         4,957      Property Tax     Yes                                                                   Taishan            Photo              2, 6           J           HALL FAMILY TRUST HALL,                                                                                                                         Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.82                $90.08          $446,526.56                                                                       CHAD MICHAEL TRE HALL,                                             Tax Records + Title/Deed         11/11/2004              3/23/2015                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                            VICKI ANNE TRE                                                                                                                                                               Fort Myers, FL 33907
 1302    Ex 10/79   Lafoon, Patricia and Robert      609 Lord Dunmore Drive          Virginia Beach   VA      23464   [II(B)], [XV],           12/6/2010    Yes         4,358      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94               $103.26          $450,007.08                                                                       ROBERT LAFOON                      Owner as of 6/9/15              City or County Tax Records       12/19/2001           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1303    Ex 10/79   LaGambina, Angelo and Anna       1142 SW Kickaboo Road           Port St. Lucie   FL      34953   [II], [II(B)], [XV],     3/15/2010    Yes         2,143      Property Tax     Yes                                                                   Taishan            Photo              2, 6           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                             ANGELO LA GAMBINA                                                                                                                               Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.82                $90.08          $193,041.44                                                                                                          Owner as of 6/9/15              City or County Tax Records        3/12/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                            ANNA LA GAMBINA                                                                                                                                 Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1304    Ex 10/79   Lake Crest Townhomes, LLC        621 Trumpet Circle              Hoover           AL      35226   [IX], [XV],              5/5/2011     Yes         2493       Property Tax      Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           F.A. Branscombe Beavers T. F.A. Branscombe Beavers, Esq.         (205) 874-9510   branscombbeavers@att.net
                                                                                                                                                                                                                                                                                                                                           LAKE CREST TOWNHOMES
                                                                                                                      [XVI], [XVII],                                                Assessor's                        0.84               $92.27          $230,029.11                                                                                                          Owner as of 6/9/15              City or County Tax Records        7/29/2004           Current Owner          Michael Brown                4301 Dolly Ridge Road                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                                      [XXI]                                                       Document with                                                                                                                                                                                                                                                                                                                         Birmingham, Alabama 35243
 1305    Ex 10/79   Lalwani, Gul and Deborah         4590 Kodiak Drive               Vero Beach       FL      32967   [II], [XV], [XVI],       3/15/2010    Yes         3,552      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                        Assessor's                                                                                                                                             HOLLINGSWORTH, LYNNE S             Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.84               $92.27          $327,743.04                                                                                                                                          Tax Records + Title/Deed         11/22/2004              2/27/2011                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                            AND ROBERT N                       Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1306    Ex 10/79   Lamarque, Carroll Jr.            708 Magistrate Street           Chalmette        LA      70043   [III], [XV],             10/7/2009    Yes         1,600      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Dysart & Tabary, LLP         Elizabeth Borne, Esq.               (504) 271-8011   LisaB@dst-law.com                                  BKC confirmed square
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.86               $94.47          $151,152.00                                                                       LAMARQUE, CARROLL J., JR.          Owner as of 6/9/15              City or County Tax Records        11/6/2002           Current Owner                                       3 Courthouse Square                                                                     $0.00           footage.
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
 1307    RP         Lamonge, Yves                    906 E. 10th Street              Lehigh Acres     FL      33972   [II(B)], [IX],           12/6/2010    Yes         2,048      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                  Assessor's                        0.80               $87.88          $179,978.24                                                                       TIRADO JORGE                                                       Tax Records + Title/Deed           5/2/2008              3/4/2011                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1308    Ex 10/79   Lamour, Guy                      8860 Cobblestone Point Circle   Boynton Beach    FL      33472   [II], [XV], [XVI],       3/15/2010    Yes         4,882      Property Tax      Yes                                                                  BNBMDB             Photo              24             A                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                        Assessor's                                                                                                                                             LAMOUR GUY &                                                                                                                                    Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.82               $90.08          $439,770.56                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/29/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                            LAMOUR MARIE DARLENE                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1309    Ex 10/79   Lampton, Alean                   518 Martin Luther King Drive    Tylertown        MS      39667   [III], [VII], [XV],      10/7/2009    Yes         2,101      Property Tax      Yes                                                                  Taihe              Photo              17, 20         I                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                      [XVI], [XVII],                                                Assessor's                                                                                                                                             LAMPTON ALEAN                                                                                                                                                                855 Baronne Street                                   m
                                                                                                                                                                                                                      0.75               $82.39          $173,101.39                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          3/15/1980           Current Owner                                                                                                                               $0.00
                                                                                                                      [XXIII]                                                     Document with                                                                                                                                            GALLOWAY                                                                                                                                                                     New Orleans, 70113
                                                                                                                                                                                  Square Footage
 1310    Ex 10/79   Landry, Jerome and Brandi        200 W. Urquhart Street          Chalmette        LA      70043   [IX], [XV],              5/5/2011     Yes         2,245      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           The Lambert Firm Greg DiLeo Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                             LANDRY, JEROME A. &                                                                                                                             Law Offices Kanner &         701 Magazine St,                                     om
                                                                                                                                                                                                                      0.86               $94.47          $212,085.15                                                                                                 Owner as of 6/9/15                       City or County Tax Records         2/9/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                            LIBERTA, BRANDI CHRISTINE                                                                                                                       Whiteley, LLC Milstein,      New Orleans LA 70130
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Adelman & Kreger, LLP
 1311    Ex 10/79   Landry, Merritt A.               738 Angela Street               Arabi            LA      70032   [XIII], [XV],            7/5/2011     Yes         1,100      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.86               $94.47          $103,917.00                                                                       RISEY, DEBRA                                                       Tax Records + Title/Deed          8/10/2012             11/20/2015                                        820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
 1312    Ex 10/79   Landry, Ron                      6038 Louis XIV Street           New Orleans      LA      70124   [IX], [XV],              5/5/2011     Yes         2,635      Property Tax      Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                           LANDRY RONALD J
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.86               $94.47          $248,928.45                                                                                                          Owner as of 6/9/15              City or County Tax Records       10/31/1997           Current Owner                                       701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           LANDRY SHELLEY S
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70166
 1313    Ex 10/79   Lane, Penny                      2074 Tazewell Road              Virginia Beach   VA      23455   [II(A)], [XV],           9/16/2010    Yes         1,734      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $179,052.84                                                                       PENNY LANE                         Owner as of 6/9/15              City or County Tax Records                            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1314    RP         Lang, Danielle Marie             1339 Lyonshire Drive            Wesley Chapel    FL      33543   [III], [IX], [XV],       10/7/2009    Yes         1,191      Property Tax      Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                            Manufacturer 2                                                   BATTERSBY ALLEN &                  Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                      0.83               $91.18          $108,595.38                                                                                                                                          Tax Records + Title/Deed          8/29/2002             12/14/2011                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                            SHARON                             Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1315    Ex 10/79   Lang, Dennis and Karen           1717 NE 4th Place               Cape Coral       FL      33909   [II], [XV], [XVI],       3/15/2010    Yes         2,620      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                        Assessor's                        0.80               $87.88          $230,245.60                                                                       LANG DENNIS                        Owner as of 6/9/15              City or County Tax Records       10/17/2005           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1316    Ex 10/79   Langham, Chad and Lauren         18955 Pecan Lane                Robertsdale      AL      36567   [XV], [XVI],             7/5/2011     Yes         2219       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Daniell, Upton & Perry, P.C. Jonathan Law                        (251) 625-0046   JRL@dupm.com
                                                                                                                                                                                                                                                                                                                                           LANGHAM, CHAD E ETAL
                                                                                                                      [XVII], [XXI]                                                 Assessor's                        0.84               $92.27          $204,747.13                                                                                                          Owner as of 6/9/15              City or County Tax Records        5/11/2006           Current Owner                                       30421 State Highway 181                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           LANGHAM, LAUREN A
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Daphne, Alabama 36527
 1317    Ex 10/79   LaPierre, Dawn Ross and Ronald 728 Whitney Avenue                New Orleans      LA      70114   [IX], [XV],              5/5/2011     Yes         1,813      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Thornhill Law Firm, Fayard & Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                    V.                                                                                                [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Honeycutt APLC and N. Frank Thornhill Law Firm
                                                                                                                                                                                                                      0.86               $94.47          $171,274.11                                                                       LAPIERRE RONALD V                  Owner as of 6/9/15              City or County Tax Records        3/28/2001           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                            Elliot III, LLC              1308 9th St
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Slidell, LA 70458
 1318    Ex 10/79   LaPierre, Dawn Ross and Ronald 730 Whitney Avenue                New Orleans      LA      70114   [IX], [XV],              5/5/2011     Yes          661       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Thornhill Law Firm, Fayard & Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                    V.                                                                                                [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Honeycutt APLC and N. Frank Thornhill Law Firm
                                                                                                                                                                                                                      0.86               $94.47           $62,444.67                                                                       LAPIERRE RONALD V                  Owner as of 6/9/15              City or County Tax Records        3/28/2001           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                            Elliot III, LLC              1308 9th St
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Slidell, LA 70458
 1319    Ex 10/79   Larrazabal, Alejandro            10902 NW 83rd Street Apt. 212 Doral              FL      33178   [IX], [XV],              5/5/2011     Yes         1,385      Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.81               $88.98          $123,237.30                                                                       2205 INFINITY CORP                                                 Tax Records + Title/Deed           2/9/2007              6/3/2016            Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         300
 1320    RP         Larry, Rosemarie                 700 Geddes St. SW               Palm Beach       FL      32908   [II(B)], [XV],           12/6/2010    Yes         1,808      Property Tax      Yes                                                                  Taishan            Photo              2, 6           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           ALPHONSINE J CONOLLY               Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.84               $92.27          $166,824.16                                                                                                                                          Tax Records + Title/Deed          7/18/2006              5/9/2012                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           REVOCABLE TRUST                    Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1321    RP         Latona, Giovanni and Christine   2056 NE 20th Terrace            Cape Coral       FL      33909   [II], [XV], [XVI],       3/15/2010    Yes         1,712      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                        Assessor's                        0.80               $87.88          $150,450.56                                                                       FALCON YUSBELYS                                                    Tax Records + Title/Deed         12/30/2008              4/26/2010                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1322    RP         Latusek, Dean B.                 3604 Marietta Street            Chalmette        LA      70043   [III(A)], [VII],         9/16/2010    Yes         1,446      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Willis & Buckley; Cater &    William Buckley, Esq.               (504) 488-6301   bill@willisbuckley.com
                                                                                                                      [XV], [XVI],                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Associates LLC               3723 Canal Street
                                                                                                                                                                                                                      0.86               $94.47          $136,603.62                                                                       SKY DRAGON LLC                                                     City or County Tax Records         3/5/2007              7/13/2012                                                                                                                                $0.00
                                                                                                                      [XVII]                                                      Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        New Orleans, LA 70119
                                                                                                                                                                                  Square Footage
 1323    Ex 10/79   Lau, Donald K. Trustee           13936 Clubhouse Drive           Tampa            FL      33618   [III], [VII], [XV],      10/7/2009    Yes         2,538      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.83               $91.18          $231,414.84                                                                       ENGELMANN MARTIN C JR                                              Tax Records + Title/Deed           9/8/2006              4/22/2013                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1324    Ex 10/79   Laurent, Roland and Marie        506 Tropicana Parkway W.        Cape Coral       FL      33993   [II(B)], [XV],           12/6/2010    Yes         1,821      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           LAURENT ROLAND +
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.80               $87.88          $160,029.48                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/27/2008           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           INNOCENT MARIE V H/W
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1325    RP         Lavin, Eduardo and Esperanza ,   8141 W 36th Avenue #5           Hialeah          FL      33018   [II(B)], [IX],           12/6/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Escalona, Ileana and Delgado,                                                                     [XV], [XVI],                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.81               $88.98          $120,656.88                                                                       JELOFAR LLC                                                        City or County Tax Records         3/1/2007              4/19/2013                                                                                                                                $0.00
                    Ruben                                                                                             [XVII]                                                      Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1326    Ex 10/79   Lawlor, Bruce and Carol          9513 7th Bay Street             Norfolk          VA      23518   [II(C)], [XV],           1/24/2011    Yes         3,830      Property Tax      Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                             LAWLOR, BRUCE M & CAROL                                                                                                                         Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $395,485.80                                                                                               Owner as of 6/9/15                         City or County Tax Records        5/12/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                            J                                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1327    Ex 10/79   Lawrence, Annette                7579 Berg Street                New Orleans      LA      70128   [IX], [XV],              5/5/2011     Yes         1,554      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                             SPENCER ANNETTE                                                                                                                                                              Young Law Firm
                                                                                                                                                                                                                      0.86               $94.47          $146,806.38                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/30/1993           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                            SPENCER JOYCE A                                                                                                                                                              1010 Common St., Suite 3040
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70112
 1328    Ex 10/79   Layton, Clark                    3208 39th Street West           Lehigh Acres     FL      33971   [XV], [XVI],             7/5/2011     Yes         1,204      Property Tax      Yes                                                                  ProWall            Photo              44             G                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                        Assessor's                        0.80               $87.88          $105,807.52                                                                       NUNEZ SERGIO + ROSA                No Record of Ownership          City or County Tax Records                                                                                27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1329    RP         Lazard, Lloyd                    3320 Delachaise Street New      New Orleans      LA      70125   [II(C)], [XV],           1/24/2011    Yes         1,734      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com                               See Preservation
                                                     Orleans, LA 70125                                                [XVI], [XVII]                                                 Assessor's                        0.86               $94.47          $163,810.98                                                                       LAZARD LLOYD E                     Owner as of 6/9/15              City or County Tax Records        1/23/1998           Current Owner                                       701 Poydras Street, Suite 3650                                                          $0.00           Alliance of New
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70166                                                                                   Orleans, Inc. on OCXX
 1330    Ex 10/79   Lazard, Norma                    14401 Morrison Road             New Orleans      LA      70128   [IX], [XV],              5/5/2011     Yes         1,210      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                Current Owner, Unknown                                                                                                                    Young Law Firm
                                                                                                                                                                                                                      0.86               $94.47          $114,308.70                                                                       FRANKLIN NORMA                                                     City or County Tax Records                            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                               Purchase Date                                                                                                                             1010 Common St., Suite 3040
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70112
 1331    Ex 10/79   Lazaro, Jesus and Teresita       4225 NW 21st Street             Cape Coral       FL      33993   [II(B)], [XV],           12/6/2010    Yes         1,791      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.80               $87.88          $157,393.08                                                                       LAZARO JESUS R                     Owner as of 6/9/15              City or County Tax Records        5/19/1991           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1332    Ex 10/79   Leach, Kenneth and Dinah         19412 La Serena Drive           Ft. Myers        FL      33967   [IX], [XV],              5/5/2011     Yes         3,345      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           LEACH, KENNETH AND
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.80               $87.88          $293,958.60                                                                                                          Owner as of 6/9/15              City or County Tax Records         6/9/2006           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           DINAH
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1333    Ex 10/79   LeBlanc, Steven and Dana         572 Huseman Lane                Covington        LA      70435   [III], [XV],             10/7/2009    Yes         3,129      Property Tax      Yes                                                                  Taihe              Photo              15             I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                        0.79               $86.78          $271,534.62                                                                       STEVEN LEBLANC, SR. ET UX Owner as of 6/9/15                       City or County Tax Records          2007              Current Owner                                       724 East Boston Street                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Covington, LA 70433
 1334    RP         Ledbetter, William and Wendy     24969 Steadfast Court           Daphne           AL      36526   [XV], [XVI],             7/5/2011     Yes         1,957      Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           LANDIS, GEORGE ETAL                Owner as of 6/9/15, No Longer
                                                                                                                      [XVII], [XXI]                                                 Assessor's                        0.84               $92.27          $180,572.39                                                                                                                                          City or County Tax Records         2/1/2007              6/26/2015                                        900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                           LANDIS, SHER                       Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 1335    Ex 10/79   Ledford, Samuel                  10308 Renfroe Road              Alpine           AL      35014   [III], [VII], [XV],      10/7/2009    Yes         1800       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           LEDFORD, SAMUEL R &
                                                                                                                      [XVI], [XVII],                                                Assessor's                        0.84               $92.27          $166,086.00                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          5/25/2007           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                           SARAH JOE
                                                                                                                      [XXI]                                                       Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 38 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)                Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
 1336    Ex 10/79   Lee, Dorothy                    7514 Dwyer Road                New Orleans       LA      70126   [II], [XV], [XVI],       3/15/2010    Yes         1,669      Property Tax     Yes                                                                   Crescent City      Photo               27, 29         D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                     [XVII]                                                        Assessor's                       0.86                $94.47          $157,670.43                                                                        LEE DOROTHY P                      Owner as of 6/9/15              City or County Tax Records         2/8/2007           Current Owner                                       701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70166
 1337    RP         Lee, Hoo Suk                    1018 Hollymeade Circle         Newport News      VA      23602   [II], [XV], [XVI],       3/15/2010    Yes         1,797      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                        Assessor's                       0.95               $104.36          $187,534.92                                                                        SCOTT WILLIAM E                                                    City or County Tax Records        9/28/2006              9/25/2014           Serpe                        580 East Main Street, Suite 310                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
 1338    Ex 10/79   Lee, Mariana                    4320 Lydia Drive               Williamsburg      VA      23188   [II], [XV], [XVI],       3/15/2010    Yes         2,424      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                               Property Assessment                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.96               $105.46          $255,635.04                                                                        LEE, MARIANNA K                    Owner as of 6/9/15              City or County Tax Records        1/26/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1339    Ex 10/79   Lee, Sibyl A.                   6305 4th Street                Violet            LA      70092   [II(B)], [IX],           12/6/2010    Yes         1,050      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                     [XV], [XVI],                                                  Assessor's                       0.86                $94.47           $99,193.50                                                                        LEE, SIBYL 1/3                     Owner as of 6/9/15              City or County Tax Records        2/27/1987           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                          $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          303
 1340    Ex 10/79   Lefont, David and Garcia,       106 Southwest Milburn Circle   Port St. Lucie    FL      34953   [II], [XV], [XVI],       3/15/2010    Yes         2,140      Property Tax     Yes                                                                   Dragon Brand/      Photo               23, 26         A                                                                                                                                                           Leopold~Kuvin, P.A.          Theodore J. Leopold, Esq            (561) 515-1400   lmarks@leopoldkuvin.com                              Sq ft confirmed by
                    Michelle                                                                                         [XVII]                                                        Assessor's                                                                            BNBM                                                                                                                                                                                                                                           2925 PGA Boulevard, Suite 200                                                                             BKC
                                                                                                                                                                                 Document with                      0.82                $90.08          $192,771.20                                                                        UNKNOWN                            Records Not Available                                                                                                                     Palm Beach Gardens, FL 33410                                                              $0.00
                                                                                                                                                                                 Square Footage

 1341    Ex 10/79   Leftwich, Mary, Leftwich, Brian, 6708 General Diaz Street      New Orleans       LA      70124   [II], [XV], [XVI],       3/15/2010    Yes         1,975      Property Tax      Yes                                                                  Crescent City      Photo               27             D           LEFTWICH MARY C                                                                                                                                 Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300   DBarrios@bkc-law.com
                    Leftwich, Owen, Coleman,                                                                         [XVII]                                                        Assessor's                                                                                                                                              LEFTWICH BRIAN T                                                                                                                                                               701 Poydras Street, Suite 3650
                    Kerry Coleman and LeBlanc ,                                                                                                                                  Document with                       0.86               $94.47          $186,578.25                                                                        LEFTWICH OWEN B                    Owner as of 6/9/15              City or County Tax Records       11/12/1993           Current Owner                                         New Orleans, LA 70166                                                                   $0.00
                    Erin                                                                                                                                                         Square Footage                                                                                                                                            COLEMAN KERRY L
                                                                                                                                                                                                                                                                                                                                           LE BLANC ERIC L
 1342    Ex 10/79   Legendre, Joan                  282 NW Broken Oak Trail        Jensen Beach      FL      34957   [III], [IX], [XV],       10/7/2009    Yes         1,314      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                            Manufacturer 2                                                                                                                                                                                                    Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $118,365.12                                                                        LEGENDRE JOAN M ESTATE             Owner as of 6/9/15              City or County Tax Records        1/11/2002           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1343    Ex 10/79   Leger, Marie                    3803 Machado Street            Tampa             FL      33610   [II(C)], [VII],          1/14/2011    Yes         1,496      Property Tax      Yes                                                                  Taishan/ Taihe     Photo               12, 14, 16     H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                  Assessor's                                                                                                                                              LEGER MARIE E                                                                                                                                   Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.83               $91.18          $136,405.28                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          9/16/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                             LEGER AMOS                                                                                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1344    Ex 10/79   Legere, Michele                 10756 Linohau Way              Diamond Head      MS      39525   [II(B)], [VII],          12/6/2010    Yes         1,385      Property Tax      Yes                                                                  Taihe              Photo               17, 18         I                                                                                                                                                           The Lambert Firm             Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                           HATTEN GRETA A                     Owner as of 6/9/15, No Longer
                                                                                                                     [XV], [XVI],                                                  Assessor's                        0.84               $92.27          $127,793.95                                                                                                                                           Tax Records + Title/Deed         11/20/2008                                                               701 Magazine St,                                     om                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                     [XVII], [XXIII]                                             Document with                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130
 1345    RP         Lehmann, Horst and Linda        10512 SW Sarah Way             Port St. Lucie    FL      34981   [II(B)], [III],          10/7/2009    Yes         1,815      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $163,495.20                                                                        LAURIE P PENNEY                                                    Tax Records + Title/Deed           7/7/2006              7/10/2013                                                                                                                                  $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1346    Ex 10/79   Lemberg, Mark and Diana         1690 Renaissance Commons       Boynton Beach     FL      33426   [II], [XV], [XVI],       3/15/2010    Yes          817       Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           LEMBERG, MARK; LEMBERG,
                                                    Blvd., Unit 1328                                                 [XVII]                                                        Assessor's                        0.82               $90.08           $73,595.36                                                                                                Owner as of 6/9/15                         City or County Tax Records        4/12/2007           Current Owner                                       900 W. Morgan Street                                                                    $93,345.71
                                                                                                                                                                                                                                                                                                                                           DIANA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1347    Ex 10/79   Lemmon, Andrew A.               5931 Memphis Street            New Orleans       LA      70124   [XIII], [XV],            7/5/2011     Yes         2,139      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.86               $94.47          $202,071.33                                                                        LEMMON ANDREW A                    Owner as of 6/9/15              City or County Tax Records        7/14/1999           Current Owner          Lemmon Law Firm              820 O'Keefe Avenue                                                                        $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
 1348    Ex 10/79   Lenander, Jon and Suzanne       8108 Helmsdale Court           Williamsburg      VA      23188   [II], [XV], [XVI],       3/15/2010    Yes         2,372      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                               Property Assessment                            LENANDER, JON F & NEIMAN,                                                                                                                       Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $250,151.12                                                                                                  Owner as of 6/9/15                       City or County Tax Records        7/25/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             SUZANNE K                                                                                                                                       Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1349    Ex 10/79   Leon, Aldo and Tonya            2656 Juniper Lane              Davie             FL      33330   [II(B)], [III],          10/7/2009    Yes         5,186      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                  Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $461,450.28                                                                        STRIKE 3 LLC                                                       Tax Records + Title/Deed          6/26/2006              9/15/2015                                                                                                                                  $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                                                                Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1350    Ex 10/79   Leon, Daimarys and Rodriguez, 8111 W 36th Avenue Unit #6       Hialeah           FL      33018   [III], [IX], [XIII],     10/7/2009    Yes         1,462      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           DAIMARYS LEON & YALIER
                    Yalier                                                                                           [XV], [XVI],                                                  Assessor's                        0.81               $88.98          $130,088.76                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/18/2008           Current Owner                                       27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           RODRIGUEZ
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1351    Ex 10/79   Leon, Debra                     5772 Louis Prima Drive W       New Orleans       LA      70128   [XIII], [XV],            7/5/2011     No          1,745      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Toxic Litigation Group, LLC Stuart Barasch, Esq.                 213-621-2536     stuart@law-tlg.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.86               $94.47          $164,850.15                                                                        HAYNES DEBBIE L                    Owner as of 6/9/15              City or County Tax Records        10/4/1995           Current Owner                                       767 N Hill St #220                                                                        $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Los Angeles, CA 90012
 1352    Ex 10/79   Leon, Pablo                     700 SW 6th Court               Pompano Beach     FL      33060   [XV], [XVI],             7/5/2011     Yes         1,415      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                     0.81               $88.98          $125,906.70                                                                        CLAER CORP                                                         Tax Records + Title/Deed           3/5/2012              1/20/2017                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Owns Property                                                                                                                             Boca Raton, Florida 33432
                                                                                                                                                                                 Square Footage
 1353    RP         Leone, Michael                  1690 Renaissance Commons       Boynton Beach     FL      33426   [II], [XV], [XVI],       3/15/2010    Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    Blvd, Unit #1202                                                 [XVII]                                                        Assessor's                        0.82               $90.08          $111,699.20                                                                        ZARETSKY ILYA                                                      Tax Records + Title/Deed          4/23/2007              7/5/2011                                           900 W. Morgan Street                                                                 $100,566.97
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1354    Ex 10/79   Lester, John and Jacine and     13861 Fern Trail               N.Fort Myers      FL      33903   [XV], [XVI],             7/5/2011     Yes         2,018      Property Tax      Yes                                                                  Taishan            Photo               9, 12          L           LESTER JOHN W JR + JAYCINE                                                                                                                      Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
                    Schiller, Larry                                                                                  [XVII]                                                        Assessor's                                                                                                                                              TR FOR LESTER TRUST +                                                                                                                                                          12800 University Drive, Suite 600                  m
                                                                                                                                                                                                                     0.80               $87.88          $177,341.84                                                                                                   Owner as of 6/9/15                      City or County Tax Records       11/14/2005           Current Owner                                                                                                                               $55,146.89
                                                                                                                                                                                 Document with                                                                                                                                             SCHILLER LARRY F T +                                                                                                                                                           Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage                                                                                                                                            BARBARA J
 1355    Ex 10/79   Lester, John and Jacine and     1901 NE 4th Place              Cape Coral        FL      33909   [II], [III], [XV],       10/7/2009    Yes         1,719      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Schiller, Larry                                                                                  [XVI], [XVII]                                                 Assessor's                        0.80               $87.88          $151,065.72                                                                        CALDERONE CARL                                                     Tax Records + Title/Deed          9/28/2005              7/1/2011                                         12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1356    Ex 10/79   Lester, John and Jacine and     921 NW 8th Place               Cape Coral        FL      33993   [II], [III], [XV],       10/7/2009    Yes         1,719      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Schiller, Larry                                                                                  [XVI], [XVII]                                                 Assessor's                        0.80               $87.88          $151,065.72                                                                        GALA ROBERT + NICOLE                                               Tax Records + Title/Deed          6/15/2004              8/29/2012                                        12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1357    RP         Lester, Lorainne                435 S. Oregon Avenue, Unit 401 Tampa             FL      33606   [II(B)], [IX],           12/6/2010    Yes         2,293      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                  (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                  Assessor's                        0.83               $91.18          $209,075.74                                                                        DONALDSON RAE E                                                    Tax Records + Title/Deed          5/29/2007              10/4/2013                                        4265 San Felipe, Suite 1000                          om                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          Houston, TX 77027
 1358    Ex 10/79   Leung, Jim and Maggie           8042 NW 125th Terrace          Parkland          FL      33076   [XV], [XVI],             7/5/2011     Yes         3,096      Property Tax      Yes                                                                  Dragon Brand       Photo               26             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                                                                                                                                                                                                                                                           Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $275,482.08                                                                        LEUNG,JIM & MAGGIE                 Owner as of 6/9/15              City or County Tax Records        8/24/2007           Current Owner                                                                                                                               $70,848.14
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1359    Ex 10/79   Levine, Michael and             5548 Brixton Road              Williamsburg      VA      23185   [II], [XV], [XVI],       3/15/2010    Yes         2,218      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Mendelsohn, Cheryl                                                                               [XVII]                                                        Assessor's                                                                                               Property Assessment                            LEVINE, MICHAEL &                                                                                                                               Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $233,910.28                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/16/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             MENDELSOHN, CHERYL                                                                                                                              Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1360    RP         Levitan, Rosaliya               81 Port Royal Drive            Palm Coast        FL      32164   [IX], [XV],              5/5/2011     Yes         2,383      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Roberts & Durkee             C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           ERICKSON ROBERT & MARY             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.84               $92.27          $219,879.41                                                                                                                                           Tax Records + Title/Deed          7/19/2007              2/14/2014                                        2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                           KLEMONSKY JTWROS                   Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 1361    Ex 10/79   Levy, Christopher and Wendy     4644 Lake Drive                Virginia Beach    VA      23455   [II], [XIII], [XV],      3/15/2010    Yes         2,116      Property Tax      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $218,498.16                                                                        CHRISTOPHER LEVY                   Owner as of 6/9/15              City or County Tax Records        6/11/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1362    Ex 10/79   Lewis, Brian and Barbara        6755 Lake Willow Drive         New Orleans       LA      70126   [XV], [XVI],             7/5/2011     Yes         5,231      Property Tax      Yes                                                                  Crescent City      Inspection Report   N/A            D                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                                                                              LEWIS BRIAN                                                                                                                                                                  2800 Energy Centre
                                                                                                                                                                                                                     0.86               $94.47          $494,172.57                                                                                                           Owner as of 6/9/15              City or County Tax Records         8/2/1996           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             LEWIS BARBARA E                                                                                                                                                              1100 Poydras Street
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
 1363    RP         Lewis, Eloise                   817 King Leon Way              Sun City Center   FL      33573   [III], [IX], [XV],       10/7/2009    Yes         1,544      Property Tax      Yes                                                                  Taishan            Photo               2, 5           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           PERREAULT RICHARD A                Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.83               $91.18          $140,781.92                                                                                                                                           Tax Records + Title/Deed          6/16/2006             12/19/2014                                        12 SE 7th St #801                                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           PERREAULT SHARON A                 Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 1364    Ex 10/79 & Lewis, Felicia                  1637 Dunhill Drive             Birmingham        AL      35215   [XV], [XVI],             7/5/2011     Yes         1647       Property Tax      Yes                                                                  Taihe              Photo               13, 19         I                                                                                                                                                           Collins & Horsley            W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail.
         Omni XX                                                                                                     [XVII], [XX]                                                  Assessor's                                                                                                                                                                                                                                                                                                                           Collins Law Firm                                     com
                                                                                                                                                                                                                     0.84               $92.27          $151,968.69                                                                        LEWIS, ERROL & FELICIA             Owner as of 6/9/15              City or County Tax Records        7/15/1999           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          1461 Shades Crest Road
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Hoover, AL 35226
 1365    Ex 10/79   Lewis, Felton, III and Green,   2808 Oak Drive                 Violet            LA      70092   [III], [IX], [XV],       10/7/2009    Yes         1,473      Property Tax      Yes                                                                  Taihe              Photo               13, 17         I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                    Danielle                                                                                         [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                              Torres, III                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                     0.86               $94.47          $139,154.31                                                                        LEWIS, FELTON, III                 Owner as of 6/9/15              City or County Tax Records         6/4/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          303
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
 1366    Ex 10/79   Lewis, Frank A. and Donna T.    2915 Delille Street            Chalmette         LA      70043   [II(A)], [IX],           9/16/2010    Yes         1,154      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                           LEWIS, FRANK ALBERT, III &
                                                                                                                     [XV], [XVI],                                                  Assessor's                        0.86               $94.47          $109,018.38                                                                                                           Owner as of 6/9/15              City or County Tax Records       10/28/1981           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           LEWIS, DONNA SCIORTINO
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          303
 1367    RP         Lewis, Gary and Rhonda          22870 Country Ridge Parkway    McCalla           AL      35111   [II(B)], [III(A)],       9/16/2010    Yes         2,476      Property Tax      Yes                                                                  Taihe              Photo               13, 17         I                                                                                                                                                           Gentle, Turner & Sexton      K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                                                                                                                     [XIII], [XV],                                                 Assessor's                                                                                                                                                                                 Previous Owner, Unknown                                                                                                                   501 Riverchase Parkway East,
                                                                                                                                                                                                                     0.84               $92.27          $228,460.52                                                                        MCCLINTON CHARLES &                                                City or County Tax Records                                                                                                                                                                          $0.00
                                                                                                                     [XVI], [XVII],                                              Document with                                                                                                                                                                                Purchase Date                                                                                                                             Suite 100
                                                                                                                     [XXI]                                                       Square Footage                                                                                                                                                                                                                                                                                                                         Hoover, AL 35244
 1368    Ex 10/79   Lewis, Jayme and Todd           6040 Jonathan’s Bay Circle,    Ft. Myers         FL      33908   [II(C)], [III(A)],       9/16/2010    Yes         1,755      Property Tax      Yes                                                                  Taishan            Photo               2, 5, 6        J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    Unit 501                                                         [VII], [XV],                                                  Assessor's                        0.80               $87.88          $154,229.40                                                                        PIRRONE ROSALIE TR                                                 City or County Tax Records        4/27/2006              6/11/2013                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1369    Ex 10/79   Lewis, Judith                   940 46th Street Ensley         Birmingham        AL      35208   [VII], [XV],             1/14/2011    Yes         1599       Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                Assessor's                        0.84               $92.27          $147,539.73                                                                        LEWIS, JUDITH                      Owner as of 6/9/15              City or County Tax Records         9/1/1989           Current Owner                                       900 W. Morgan Street                                                                      $0.00
                                                                                                                     [XXI]                                                       Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1370    Ex 10/79 & Lewis, Latonya                  912 South 6th Avenue           Laurel            MS      39440   [XV], [XVI],             7/5/2011     Yes         1,008      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Omni XX                                                                                                     [XVII], [XX]                                                  Assessor's                        0.79               $86.78           $87,474.24                                                                        LATONYA LEWIS THOMAS               Owner as of 6/9/15              Utility Bill                     11/10/2011           Current Owner                                       2100 Southbridge Parkway, Suite                                                           $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          650
 1371    Ex 10/79   Lewis, Leonard                  6201 Eastern Valley Road       McCalla           AL      35111   [III], [VII], [XV],      10/7/2009    Yes         2811       Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                Assessor's                        0.84               $92.27          $259,370.97                                                                        LEWIS LEONARD LEE (A)              Owner as of 6/9/15              City or County Tax Records         1/1/1996           Current Owner                                       900 W. Morgan Street                                                                      $0.00
                                                                                                                     [XXI]                                                       Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1372    Ex 10/79   Lewis, Lesley                   1690 Renaissance Commons       Boynton Beach     FL      33426   [III], [XV],             10/7/2009    Yes         1,119      Property Tax      Yes                                                                  Taishan            Photo               2, 12          J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                    Blvd, Unit 1223                                                  [XVI], [XVII]                                                 Assessor's                        0.82               $90.08          $100,799.52                                                                        LEWIS, LESLEY                      Owner as of 6/9/15              City or County Tax Records        7/20/2009           Current Owner                                       900 W. Morgan Street                                                                    $99,427.31
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 39 of 82



Claimant Source     Claimant Name                    Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 1373    Ex 10/79   Lewis, Torrey & Vondria          2812 Oak Drive                 Violet            LA      70092   [II], [IX], [XV],         3/15/2010    Yes         1,270      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.86                $94.47          $119,976.90                                                                        DISON, ERNEST W., SR.                                              Tax Records + Title/Deed           5/3/2007              9/3/2015            Torres, III                    8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            303
 1374    Ex 10/79   Lewis, Wanda                     4221 Van Avenue                New Orleans       LA      70122   [III], [VII], [XV],       10/7/2009    Yes         1,790      Property Tax     Yes                                                                   Taihe              Photo               20, 21         I                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             855 Baronne Street                                   m
                                                                                                                                                                                                                      0.86                $94.47          $169,101.30                                                                        LEWIS WANDA A                      Owner as of 6/9/15              City or County Tax Records        7/25/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, 70113
                                                                                                                                                                                   Square Footage
 1375    Ex 10/79   Licon, Eddie                     10715 Rockledge View Drive     Riverview         FL      33579   [II], [III], [IX],        10/7/2009    Yes         2,449      Property Tax      Yes                                                                  Taihe              Photo               14, 21         H, I                                                                                                                                                        Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             FEDERAL NATIONAL                   Owner as of 6/9/15, No Longer
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.83              $91.18           $223,299.82                                                                                                                                           Tax Records + Title/Deed           5/9/2007              4/3/2016                                           12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             MORTGAGE ASSOCIATION               Owns Property
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1376    RP         Lindemann, Steve and Terri       6012 NW 116th Drive            Coral Springs     FL      33076   [XV], [XVI],              7/5/2011     Yes         1,914      Property Tax      Yes                                                                  C&K                Photo               35             B                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                              SUN CITRUS DEVELOPMENT             Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $170,307.72                                                                                                                                           Tax Records + Title/Deed          7/13/2007              1/10/2015                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                             LLC                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1377    RP         Lindenfeld, Helene (3178 New     3178 New York St.              Miami             FL      33133   [II(B)], [XV],            12/6/2010    Yes         2,355      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    York, LLC)                                                                                        [XVI], [XVII]                                                  Assessor's                        0.81              $88.98           $209,547.90                                                                        3178 NEW YORK LLC                  Owner as of 6/9/15              Tax Records + Title/Deed          7/14/2005           Current Owner                                         255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Coral Gables, FL 33134
 1378    RP         Lindsay, Horace and Donna        2804 St. Bart’s Square         Vero Beach        FL      32967   [II], [VII], [XV],        3/15/2010    Yes         2,953      Property Tax      Yes                                                                  Taishan            Photo               2, 9, 12       J                                                                                                                                                           Gould, Cooksey, Fennell, PA    Brian Connelly, Esq.                (772) 678-3521   bconnelly@gouldcooksey.c
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.84              $92.27           $272,473.31                                                                        SERPA, JEAN W                                                      Tax Records + Title/Deed          1/19/2007             12/23/2009                                          979 Beachland Blvd.                                  om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Vero Beach, FL 32963
 1379    Ex 10/79   Lindsey, Linda and Armond        2509 Repose Street             Violet            LA      70092   [IX], [XV],               5/5/2011     Yes          959       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             701 Poydras Street, Suite 3650
                                                                                                                                                                                                                       0.86              $94.47            $90,596.73                                                                        LINDSEY, ARMOND A., JR.            Owner as of 6/9/15              City or County Tax Records        3/31/2011           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70166
                                                                                                                                                                                   Square Footage
 1380    Ex 10/79   Lindsey, Yolanda and Gary        121 Cougar Drive               Arabi             LA      70032   [IX], [XV],               5/5/2011     Yes         1,500      Property Tax      Yes                                                                  Taihe              Inspection Report   17             I           LINDSEY, YOLANDA                                                                                                                                Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $141,705.00                                                                        ANDERSON 1/2 & LINDSEY,            Owner as of 6/9/15              City or County Tax Records         6/6/2013           Current Owner                                         820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                   Document with                                                                                                                                             GARY 1/2                                                                                                                                                                       New Orleans, LA 70113
 1381    Ex 10/79   Lippold, Patricia and Hibbs,     2214 Siefield Greens Way       Sun City Center   FL      33573   [II], [IX], [XV],         3/15/2010    Yes         1,630      Property Tax      Yes                                                                  Taishan/ Taihe     Photo               2, 9           J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             LIPPOLD PATRICIA M
                    Janet                                                                                             [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $148,623.40                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          6/20/2008           Current Owner                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                             HIBBS JANET T
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1382    RP         Lister, Mindy and Martin         1698 Brightleaf Circle         Cantonment        FL      32533   [VII], [XV],              1/14/2011    Yes         2,965      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                 316 South Baylen St.
                                                                                                                                                                                                                       0.85              $93.37           $276,842.05                                                                        BIGGS JACKIE W                                                     Tax Records + Title/Deed          1/17/2007              12/3/2012                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          Pensacola, FL 32502
                                                                                                                                                                                   Square Footage
 1383    Ex 10/79   Litwin, Barry and Mel (as        1690 Renaissance Commons       Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes          817       Property Tax      Yes                                                                  Taishan            Photo               2, 9, 12       J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                             LITWIN, MEL TR; LITWIN,
                    Trustee of the Mel Litwin        Blvd., Unit 1409                                                 [XVII]                                                         Assessor's                        0.82              $90.08            $73,595.36                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/16/2007           Current Owner                                         900 W. Morgan Street                                                                  $96,908.87
                                                                                                                                                                                                                                                                                                                                             MEL OF TRUST
                    (A/K/A Melvin Litwin))                                                                                                                                         Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1384    Ex 10/79   Liveoak, Wesley                  1566 The Meadows Circle        Kimberly          AL      35091   [XIII], [XV],             7/5/2011     Yes         1654       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                             LIVEOAK WESLEY E &
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.84              $92.27           $152,614.58                                                                                                           Owner as of 6/9/15              City or County Tax Records         1/1/2006           Current Owner                                         2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                             ANGEL H
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            650
 1385    Ex 10/79   Livers, Alvin J.                 930 Caffin Avenue              New Orleans       LA      70117   [II(A)], [VII],           9/16/2010    Yes         2,036      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Berniard Law Firm, LLC         Jeffrey Berniard, Esq.              (504) 527-6225   Jeff@getjeff.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.86              $94.47           $192,340.92                                                                        LIVERS ALVIN J JR                  Owner as of 6/9/15              City or County Tax Records       12/13/1994           Current Owner                                         300 Lafayette St, #101                                                                  $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            New Orleans, Louisiana 70130
 1386    Ex 10/79   Lizotte, Richard and Robichaux, 2120 Sifield Greens Way         Sun City Center   FL      33573   [XV], [XVI],              7/5/2011     Yes         1,456      Property Tax      Yes                                                                  C&K                Photo               35, 36         B                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             LIZOTTE RICHARD A
                    Ronald, Jr.                                                                                       [XVII]                                                         Assessor's                        0.83              $91.18           $132,758.08                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          3/12/2007           Current Owner                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                             ROBICHAUX RONALD B JR
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1387    Ex 10/79   Lizotte, Richard and Robichaux, 2124 Siefield Greens Way        Sun City Center   FL      33573   [II], [IX], [XV],         3/15/2010    Yes         1,456      Property Tax      Yes                                                                  C&K                Photo               34, 35         B                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                    Ronald, Jr.                                                                                       [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $132,758.08                                                                        HOUSING EXPERTS INC                                                Tax Records + Title/Deed          3/12/2007              2/16/2016                                          12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1388    Ex 10/79   LJPTRD, LLC - Patricia Sanford 3853 Albacete Circle             Punta Gorda       FL      33950   [II(B)], [IX],            12/6/2010    Yes         1,463      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    (POA)                                                                                             [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $128,568.44                                                                        NEWTON BOB A & NANCY R                                             City or County Tax Records        10/6/2006              6/12/2014                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1389    Ex 10/79   Lloyd, William and Jenny         8131 200th Street              McAlpin           FL      32062   [XV], [XVI],              7/5/2011     Yes         1,632      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             LLOYD WILLIAM M III &
                                                                                                                      [XVII]                                                         Assessor's                        0.82              $90.08           $147,010.56                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          3/22/2002           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             JENNY L
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1390    Ex 10/79   Loader, Jennifer C.              3918 West Bay Court Avenue     Tampa             FL      33611   [II(C)], [III], [IX],     10/7/2009    Yes         1,970      Property Tax      Yes                                                                  Taihe              Photo               14, 18, 21     H, I                                                                                                                                                        Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                       0.83              $91.18           $179,624.60                                                                        SWORDS PATRICIA                                                    Tax Records + Title/Deed         11/13/2003              10/8/2014                                                                                                                                  $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                   Square Footage
 1391    Ex 10/79   Londono, Mauricio                4635 Rolling Green Drive       Wesley Chapel     FL      33543   [II], [XV], [XVI],        3/15/2010    Yes         2,360      Property Tax      Yes                                                                  Taihe              Photo               17, 18         I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             LONDONO-MUNOZ MAURICIO
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                             12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                       0.83              $91.18           $215,184.80                                                                        &                      Owner as of 6/9/15                          City or County Tax Records        5/12/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                             LONDONO DIANA VANNESSA
                                                                                                                                                                                   Square Footage
 1392    RP         Lonergan, John, Sr.              393 NW Stratford Lane          Port St. Lucie    FL      34983   [II(C)], [III(A)],        9/16/2010    Yes         2,071      Property Tax      Yes                                                                  Taishan            Photo               5, 6           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                       0.82              $90.08           $186,555.68                                                                        BETTY SEPULVEDA                                                    City or County Tax Records        1/28/2009              3/6/2014                                                                                                                                   $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1393    Ex 10/79   Long, Kenneth                    4700 San Marco Road            New Orleans       LA      70129   [II], [VII], [XV],        3/15/2010    Yes         1,876      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Unknown
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $177,225.72                                                                        MATULEWSKI KENNETH V                                               City or County Tax Records                                                                                  338 Lafayette Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                Purchase Date
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70130
 1394    Ex 10/79   Look, Peter                      2125 Santa Barbara Boulevard   Cape Coral        FL      33990   [II(C)], [IX],            1/24/2011    Yes         2,800      Property Tax      Yes                                                                  Taishan            Photo               5, 6           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             NEWMAN DOUGLAS +                   Owner as of 6/9/15, No Longer
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $246,064.00                                                                                                                                           Mortgage Statement               10/18/2004                                                                 27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                             NEWMAN JOYCE T/C                   Owns Property
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1395    RP         Loper, Calvin and Tammy          321 Croft Crossing             Chesapeake        VA      23320   [II], [XV], [XVI],        3/15/2010    Yes         4,152      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    (NKA Jones)                                                                                       [XVII]                                                         Assessor's                        0.94              $103.26          $428,735.52                         Property Assessment                            BRUNER DUSTIN J & KELLY J                                          City or County Tax Records         9/5/2006              6/15/2012           Serpe                          580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 1396    RP         Loper, Joseph and Sherry         190 Buddy Finch Road           Lucedale          MS      39452   [III], [VII], [XV],       10/7/2009    Yes         3,418      Property Tax      Yes                                                                  Taihe              Photo               20, 21         I                                                                                                                                                           Barrett Law Group              Don Barrett                         (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                      [XVI], [XVII],                                                 Assessor's                                                                                                                                              LOPER, JOSEPH C ET UX                                                                                                                                                          404 Court Square                                     com
                                                                                                                                                                                                                       0.79              $86.78           $296,614.04                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          8/14/1990           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XXIII]                                                      Document with                                                                                                                                             SHERRY A                                                                                                                                                                       PO Box 927
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Lexington, MS 39095
 1397    Ex 10/79   Lopez, Abner                     1009 Chadbourne Avenue         Lehigh Acres      FL      33971   [XV], [XVI],              7/5/2011     Yes         1,886      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                             27300 Riverview Center Blvd
                                                                                                                                                                                                                       0.80              $87.88           $165,741.68                                                                        LOPEZ ABNER R                      Owner as of 6/9/15              City or County Tax Records        8/26/2009           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
                                                                                                                                                                                   Square Footage
 1398    Ex 10/79   Lopez, Carlos and Talento, Irisol 1617 Southeast 21st Street    Cape Coral        FL      33990   [XIII], [XV],             7/5/2011     Yes         2,029      Property Tax      Yes                                                                  Taishan            Photo               6, 7           J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             LOPEZ CARLOS R +
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $178,308.52                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/22/2011           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             TALENTO IRISOL H H/W
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1399    Ex 10/79   Lopez, Christie                  92 Oak Lane                    Waynesboro        MS      39367   [III], [VII], [XV],       10/7/2009    Yes         2,030      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Hawkins Gibson                 Edward Gibson, Esq.                 (228) 467-4225   egibson@hgattorneys.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.81              $88.98           $180,629.40                                                                        LOPEZ RON T                        No Record of Ownership          Tax Records + Title/Deed                                                                                    153 Main St                                                                             $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Bay St Louis, MS 39520
 1400    Ex 10/79   Lopez, David and Yesenia         8141 West 36th Avenue, Unit 6 Hialeah            FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,464      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [IX], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $130,266.72                                                                        YESENIA LOPEZ                      Owner as of 6/9/15              City or County Tax Records        12/1/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1401    Ex 10/79   Lopez, German and Valerie        309 Granite Circle             Albertville       AL      35950   [III], [IX], [XV],        10/7/2009    Yes         1409       Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.82              $90.08           $126,922.72                                                                        LOPEZ, VALERIE & GERMAN            Owner as of 6/9/15              City or County Tax Records        2/25/2008           Current Owner                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1402    Ex 10/79   Lopez, Stephen                   622 Wilmington Parkway         Cape Coral        FL      33993   [II(C)], [IX],            1/24/2011    Yes         1,419      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $124,701.72                                                                        LOPEZ STEPHEN                      Owner as of 6/9/15              City or County Tax Records         4/8/2009           Current Owner                                         27300 Riverview Center Blvd                                                           $46,506.29
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1403    RP         Lor, Sivhout and Yi Phung        10531 SW Sarah Way             Port St. Lucie    FL      34987   [II(B)], [III(A)],        9/16/2010    Yes         2,617      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                              DARREN MARZELLA                    Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                       0.82              $90.08           $235,739.36                                                                                                                                           City or County Tax Records        7/30/2007              10/2/2014                                                                                                                                  $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                             TAYLOR R MARZELLA                  Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1404    RP         Lorenzo, Lisandro                6097 NW 116th Drive            Coral Spring      FL      33076   [IX], [XV],               5/5/2011     Yes         2,416      Property Tax      Yes                                                                  C&K                Photo               34, 35         B                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                              PIVER,JOSE LUIS                    Previous Owner, Did Not Own                                                                                                                 12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                       0.81              $88.98           $214,975.68                                                                                                                                           Tax Records + Title/Deed          6/21/2007             10/28/2013                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                             PIVER,ANDREA                       Property on 6/9/15                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                   Square Footage
 1405    Ex 10/79   Louis, Leonard and Wanda         2366 Odin Street               New Orleans       LA      70122   [II], [VII], [XV],        3/15/2010    Yes         1,329      Property Tax      Yes                                                                  Taihe/ Crescent    Photo               18, 27         D, I                                                                                                                                                        Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                            City                                                                                                                                                                                                                                             855 Baronne Street                                   m
                                                                                                                                                                                   Document with                       0.86              $94.47           $125,550.63                                                                        LOUIS LEONARD JR                   Owner as of 6/9/15              Tax Records + Title/Deed          7/27/1988           Current Owner                                         New Orleans, 70113                                                                      $0.00
                                                                                                                                                                                   Square Footage

 1406    RP         Love, Nakisha                    2540 Middleton Grove Drive     Brandon           FL      33511   [II(C)], [III],           10/7/2009    Yes         2,133      Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [VII], [IX], [XV],                                             Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                       0.83              $91.18           $194,486.94                                                                        JP MORGAN CHASE BANK                                               Tax Records + Title/Deed          10/5/2007              3/4/2013                                                                                                                                   $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                   Square Footage
 1407    Ex 10/79   Lowande, Paul and Renee          2308 NE Juanita Place          Cape Coral        FL      33909   [II(C)], [III], [IX],     10/7/2009    Yes         1,712      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             EPEARDS DANIEL LEE SR +            Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $150,450.56                                                                                                                                           Tax Records + Title/Deed          11/4/2008              7/24/2014                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                             LUELLA                             Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1408    Ex 10/79   Lubrano, Raymond and Mary        3909 Jacob Drive               Chalmette         LA      70043   [II], [VII], [XV],        3/15/2010    Yes         2,118      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                  (504) 581-9065   srb@mbfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $200,087.46                                                                        LUBRANO, RAYMOND C., JR.           Owner as of 6/9/15              Title/Deed                        8/21/2007           Current Owner                                       338 Lafayette Street                                                                      $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70130
 1409    Ex 10/79   Ludwig, Donald J., Sr.,          2521 Lawrence Drive            Meraux            LA      70075   [II], [IX], [XV],         3/15/2010    Yes         1,471      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.           504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                             LUDWIG, REGINA MELAN &
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $138,937.03                                                                                                           Owner as of 6/9/15              City or County Tax Records       10/24/1995           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                             LUDWIG, DONALD J, SR.
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          303
 1410    Ex 10/79   Lugo, Marcela and Rafael         1951 SW 22 Drive               Homestead         FL      33035   [II], [XV], [XVI],        3/15/2010    Yes         2,047      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                              RAFAEL LUGO & MARCELA                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.81              $88.98           $182,142.06                                                                                                           Owner as of 6/9/15              City or County Tax Records         5/1/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                             LUGO                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 40 of 82



Claimant Source     Claimant Name                    Affected Property Address       City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 1411    Ex 10/79   Lumar, Semyon and Darina         11825 Bayport Lane, Unit #4     Ft. Myers        FL      33908   [III], [XV],              10/7/2009    Yes         2,203      Property Tax     Yes                                                                   Taishan            Photo/ Inspection   12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             LUMAR SEMYON + DARINA
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $193,599.64                         Report                                                                            Owner as of 6/9/15              City or County Tax Records        8/24/2006           Current Owner                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                             TR
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1412    RP         Lumare Properties c/o Mauricio 3301 NE 183rd Street Unit         Aventura         FL      33160   [III], [IX], [XV],        10/7/2009    Yes         2,062      Property Tax     Yes                                                                   Taishan            Photo               2, 9           J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             DELADUCKS                          Previous Owner, Did Not Own
                    Reyes Henao                    #2005                                                              [XVI], [XVII]                                                  Assessor's                       0.81                $88.98          $183,476.76                                                                                                                                           Tax Records + Title/Deed          11/7/2007              9/1/2011                                           12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                             INTERNATIONAL LLC                  Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1413    Add.       Luna Ocean Residences            704 N. Ocean Blvd., Hallways Pompano Beach       FL      33062   [XIII], [XV],             7/5/2011     Yes        10,660      Property Tax     Yes                                                                   Taihe              Photo               14, 19         H, I                                                                                                                                                        Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
         Taishan    Condominium Association, Inc.    and Vestibules, Pompano Beach,                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Current Owner, Unknown                                                                                                                      14 Southeast 4th Street
                                                                                                                                                                                                                      0.81                $88.98          $948,526.80                                                                        UNABLE TO FIND ADDRESS                                             Title/Deed                        3/12/2007                                                                                                                                                         $0.00
         Prop.                                       FL 33062                                                                                                                      Document with                                                                                                                                                                                Purchase Date                                                                                                                               Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1414    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 1001   Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,750      Property Tax     Yes                                                                   Taihe              Photo               14             H           CONSTANCE L ALMEROTH                                                                                                                            Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                              2016 FAM TR                                                                                                                                                                    14 Southeast 4th Street
                                                                                                                                                                                                                      0.81                $88.98          $244,695.00                                                                                                           No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                             ALMEROTH,CONSTANCE L                                                                                                                                                           Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage                                                                                                                                            TRSTEE
 1415    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 1002   Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,686      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $239,000.28                                                                        SIBIA,ROOPTAZ S                    No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1416    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 1003   Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,413      Property Tax      Yes                                                                  Taihe              Photo               12, 14         H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $214,708.74                                                                        HUANG,SHEILA X                     No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1417    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 1004   Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,858      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                              CATO,JEFFREY DANIEL                Previous Owner, Did Not Own                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $254,304.84                                                                                                                                           Tax Records + Title/Deed                                 6/19/2007                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                             TENTSCHERT,ROBERT F                Property on 6/9/15                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1418    Add.       Luna Ocean Residences            704 N. Ocean Blvd., Unit 402,   Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,686      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
         Taishan    Condominium Association, Inc.    Pompano Beach, FL 33062                                          [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $239,000.28                                                                        AZAPA CORP                         No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1419    Ex 10/79 & Luna Ocean Residences            704 N. Ocean Blvd., Unit 601    Pompano Beach    FL      33062   [XV], [XVI],              7/5/2011     Yes         2,750      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
         Omni XX Condominium Association, Inc.                                                                        [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $244,695.00                                                                        ROMAGOZA FINANCIAL CORP No Record of Ownership                     Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1420    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 602    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,686      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                                                                                                                                                                                                                                             LAS ARAUCARIAS CORP
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Current Owner, Unknown                                                                                                                      14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $239,000.28                                                                        LUNA OCEAN RES                                                     Tax Records + Title/Deed                              Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Purchase Date                                                                                                                               Boca Raton, Florida 33432
                                                                                                                                                                                                                                                                                                                                             %FRANCISCO AGUERO
                                                                                                                                                                                   Square Footage
 1421    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 603    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,413      Property Tax      Yes                                                                  Taihe              Photo               14, 19         H, I                                                                                                                                                        Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $214,708.74                                                                        FLYNN,JOHN & SUSAN                 No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1422    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 604    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,858      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $254,304.84                                                                        AZAPA CORP                         No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1423    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 701    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,750      Property Tax      Yes                                                                  Taihe              Photo               14, 19         H, I                                                                                                                                                        Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $244,695.00                                                                        HARTEN,KENNETH & PEGGY No Record of Ownership                      Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1424    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 702    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,686      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $239,000.28                                                                        SHARF,DENISE C                     No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1425    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 703    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,413      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $214,708.74                                                                        HUANG,YUAN                                                         Tax Records + Title/Deed          4/20/2007              11/2/2011                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1426    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 704    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,858      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                              DAVILA,MARIA E                                                                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $254,304.84                                                                                                           No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                             STONECIPHER,RAYMOND D                                                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1427    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 801    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,750      Property Tax      Yes                                                                  Taishan            Inspection Report   12             L                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $244,695.00                                                                        RSM OF FLORIDA ONE LLC             No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1428    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 901    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,750      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $244,695.00                                                                        HOTEIT,ABED I                      No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1429    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 902    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,686      Property Tax      Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                                                                                                                                                                                                                                             LAS ARAUCARIAS CORP
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Current Owner, Unknown                                                                                                                      14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $239,000.28                                                                        LUNA OCEAN RES                                                     Tax Records + Title/Deed                              Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Purchase Date                                                                                                                               Boca Raton, Florida 33432
                                                                                                                                                                                                                                                                                                                                             %FRANCISCO AGUERO
                                                                                                                                                                                   Square Footage
 1430    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 903    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,413      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $214,708.74                                                                        AZAPA CORP                         No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1431    Ex 10/79   Luna Ocean Residences            704 N. Ocean Blvd., Unit 904    Pompano Beach    FL      33062   [XIII], [XV],             7/5/2011     Yes         2,858      Property Tax      Yes                                                                  Taihe              Photo               14, 18, 19     H, I                                                                                                                                                        Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Condominium Association, Inc.                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                                       0.81               $88.98          $254,304.84                                                                        DESHMUKH, JYOTSNA                                                  Tax Records + Title/Deed                                 5/18/2007                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1432    Ex 10/79   Lund, Daniel and Elizabeth III   5829 Silvia Drive               New Orleans      LA      70124   [III], [VII], [XV],       10/7/2009    Yes         4,212      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                             LUND DANIEL III
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $397,907.64                                                                                                           Owner as of 6/9/15              City or County Tax Records         7/9/2008           Current Owner                                         820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                             LUND ELIZABETH R
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70113
 1433    Add.       Lundberg, Richard & Kathleen     2116 SW 28th Lane, Cape         Cape Coral       FL      33914   [XV], [XVI],              7/5/2011     Yes         2,064      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
         Taishan                                     Coral, FL 33914                                                  [XVII]                                                         Assessor's                                                                                                                                              LUNDBERG RICHARD +                                                                                                                              Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                       0.80               $87.88          $181,384.32                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          6/12/2003           Current Owner                                                                                                                               $39,404.57
         Prop.                                                                                                                                                                     Document with                                                                                                                                             KATHLEEN                                                                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1434    Ex 10/79   Lundy, William and Gena          8820 Hwy. 89                    Milton           FL      32570   [III], [VII], [XV],       10/7/2009    Yes         1,595      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                              LUNDY WILLIAM LAMAR &                                                                                                                                                          316 South Baylen St.
                                                                                                                                                                                                                       0.85               $93.37          $148,925.15                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          5/10/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                             GENA L                                                                                                                                                                         Pensacola, FL 32502
                                                                                                                                                                                   Square Footage
 1435    Ex 10/79   Luntz, George and Adrienne       1660 Renaissance Commons        Boynton Beach    FL      33426   [II], [II(C)], [III],     10/7/2009    Yes         1,119      Property Tax      Yes                                                                  IMT                Photo               32             F                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                                                     Blvd., Unit 2501                                                 [XV], [XVI],                                                   Assessor's                        0.82               $90.08          $100,799.52                                                                        RENAISSANCE 2501 LLC                                               City or County Tax Records         2/7/2007              8/25/2015                                          900 W. Morgan Street                                                                  $93,449.54
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1436    Ex 10/79   Lyda, Frank and Janette          8555 Pegasus Drive              Lehigh Acres     FL      33971   [XIII], [XV],             7/5/2011     Yes         2,368      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $208,099.84                                                                        LYDA FRANK + JANETTE               Owner as of 6/9/15              City or County Tax Records         7/9/2008           Current Owner                                         12800 University Drive, Suite 600                    m                                $60,143.16
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1437    Ex 10/79   Lynch, Robert and Colette        5012 SE Mariner Garden Circle Stuart             FL      34997   [II], [XIII], [XV],       3/15/2010    Yes         1,530      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.82               $90.08          $137,822.40                                                                        LYNCH ROBERT & COLETTE             Owner as of 6/9/15              City or County Tax Records        7/14/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1438    Ex 10/79   Machado, William Bicelis and     14721 SW 6 Street               Pembroke Pines   FL      33027   [II], [IX], [XV],         3/15/2010    Yes         1,839      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             MACHADO,WILLIAMS M
                    Lopez, Franyelina                                                                                 [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $163,634.22                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          8/25/2006           Current Owner                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                             BICELIS
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1439    Ex 10/79   Mack, Thomas Jr.                 2117 Colonial Blvd.             Violet           LA      70092   [III], [XV],              10/7/2009    Yes         1,600      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Matthews & Associates          David P. Matthews, Esq.             (888) 520-5202   dmatthews@thematthewsla                            BKC confirmed square
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $151,152.00                                                                        MACK, GLENN ANTHONY                                                City or County Tax Records        4/26/2001              2/27/2013                                          2905 Sackett Street                                  wfirm.com                          $0.00           footage.
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Houston, TX 77098
 1440    RP         Mackall, Turner and Juanita      1211 Avondale Lane              Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         2,227      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                             MANIGAULT MELISSA SUE & Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.95              $104.36          $232,409.72                         Property Assessment                                                                                               City or County Tax Records       12/20/2007              3/19/2012           Serpe                          580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                             MARVIN B, MANIGAULT JR  Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 1441    Ex 10/79   Maclies, Mary                    4635 Rosalia Drive              New Orleans      LA      70127   [II(B)], [XV],            12/6/2010    Yes         1,900      Property Tax      Yes                                                                  Taihe              Photo               15, 17, 18     I                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                              MACLIES SAMUEL                                                                                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                       0.86               $94.47          $179,493.00                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/30/1998           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                             MACLIES MARY D                                                                                                                                  Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1442    Ex 10/79   Macomber, Shawn                  221 West Camellia Drive         Slidell          LA      70458   [III], [VII], [XV],       10/7/2009    Yes         1,993      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             338 Lafayette Street
                                                                                                                                                                                                                       0.79               $86.78          $172,952.54                                                                        MACOMBER, SHAWN A                  Owner as of 6/9/15              Tax Records + Title/Deed          1/16/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70130
                                                                                                                                                                                   Square Footage
 1443    Ex 10/79   Macon, Jeremy                    346 Korreckt Drive              Lincoln          AL      35096   [III], [VII], [IX],       10/7/2009    Yes         1248       Property Tax      Yes                                                                  Taihe              Photo               20, 21         I                                                                                                                                                           Seeger Weiss                   Christopher Seeger, Esq.            (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Current Owner, Unknown                                                                                                                      77 Water Street
                                                                                                                                                                                                                       0.84               $92.27          $115,152.96                                                                        MACON PAULINE LIFE EST                                             Property Tax                      3/15/2001                                                                                                                                                         $0.00
                                                                                                                      [XVII], [XXI]                                                Document with                                                                                                                                                                                Purchase Date                                                                                                                               New York, NY 10005
                                                                                                                                                                                   Square Footage
 1444    Ex 10/79   Macrory, Ann                     544 Bimini Bay Blvd.            Apollo Beach     FL      33572   [III(A)], [XV],           9/16/2010    Yes         2,778      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $253,298.04                                                                        MACRORY, ANN K                     Owner as of 6/9/15              Tax Records + Title/Deed          5/27/2005           Current Owner                                         701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70166
 1445    Ex 10/79   Macrory, Ann                     558 Bimini Bay Blvd.            Apollo Beach     FL      33572   [III(A)], [XV],           9/16/2010    Yes         2,778      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $253,298.04                                                                        MACRORY, ANN K                     Owner as of 6/9/15              Tax Records + Title/Deed          5/27/2005           Current Owner                                         701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70166
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 41 of 82



Claimant Source     Claimant Name                   Affected Property Address     City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                  Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                                Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
 1446    Ex 10/79   Madera, Eligio and Belkys       1301 SW Parma Avenue          Port St. Lucie   FL      34953   [IX], [XV],               5/5/2011     Yes         2,311      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                          ELIGIO MADERA
                                                                                                                   [XVI], [XVII]                                                  Assessor's                       0.82                $90.08          $208,174.88                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/15/2004           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          BELKIS A MADERA
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          300
 1447    Ex 10/79   Madero, Fernando and Bridget    17105 78th Road North         Loxahatchee      FL      33470   [II], [XV], [XVI],        3/15/2010    Yes         1,743      Property Tax     Yes                                                                   BNBM/ BNBMDB Photo                     22, 24         A                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          MADERO BRIDGET E &
                                                                                                                   [XVII]                                                         Assessor's                       0.82                $90.08          $157,009.44                                                                                                           Owner as of 6/9/15              City or County Tax Records         9/9/2005           Current Owner                                       900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                          MADERO FERNANDO
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1448    Ex 10/79   Madigan, Murphy                 1660 Renaissance Commons      Boynton Beach    FL      33426   [II(B)], [III],           10/7/2009    Yes         1,119      Property Tax     Yes                                                                   IMT                Photo               32             F                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                    Blvd., Unit 2119                                               [XV], [XVI],                                                   Assessor's                       0.82                $90.08          $100,799.52                                                                        MADIGAN, MURPHY                    Owner as of 6/9/15              City or County Tax Records        3/13/2007           Current Owner                                       900 W. Morgan Street                                                                 $93,449.55
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1449    RP         Madonia, Joseph                 10848 Tiberio Drive           Ft. Myers        FL      33913   [XV], [XVI],              7/5/2011     Yes         2,249      Property Tax     Yes                                                                   Taishan            Photo               9, 12          J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                   0.80                $87.88          $197,642.12                                                                        DUGAN JAMES + KATHLEEN                                             Tax Records + Title/Deed          9/19/2006              9/9/2013                                                                                                                                $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1450    Ex 10/79   Madrigal, Wsvaldo and Martha    2716 16th Street West         Lehigh Acres     FL      33971   [II], [XV], [XVI],        3/15/2010    Yes         1,640      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                         Assessor's                        0.80              $87.88           $144,123.20                                                                        ORELLANA OSCAR A                                                   City or County Tax Records       10/12/2006             11/30/2011                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1451    Ex 10/79   Madzuma, Jason and Jessica      5303 Center Street            Williamsburg     VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,936      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVII]                                                         Assessor's                                                                                               Property Assessment                            FEDERAL HOME LOAN                  Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.96              $105.46          $204,170.56                                                                                                                                           City or County Tax Records        4/20/2007              5/12/2016                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                             MORTGAGE CORPORATION               Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1452    RP         Maesel, Shawn                   1660 Renaissance Commons      Boynton Beach    FL      33426   [II(B)], [III],           10/7/2009    Yes         1,460      Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                    Blvd., Unit 2417                                               [XV], [XVI],                                                   Assessor's                        0.82              $90.08           $131,516.80                                                                        GRIFFIN JAMES                                                      Tax Records + Title/Deed          2/28/2007              3/11/2013                                        900 W. Morgan Street                                                                 $93,449.54
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1453    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue Unit 1213   Punta Gorda      FL      33950   [III], [XIII], [XV],      10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              DESJARDINS RENE L &                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                                                                                Document with                                                                                                                                             MARGARET M                                                                                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1454    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue Unit 312    Punta Gorda      FL      33950   [III(A)], [XIII],         9/16/2010    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              ARNO ROBERT D & JUDITH                                                                                                                          Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $112,662.16                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             ANN                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1455    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue Unit 513    Punta Gorda      FL      33950   [III], [XIII], [XV],      10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                        BARBIERI MARY E                    No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1456    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue Unit 713    Punta Gorda      FL      33950   [III], [XIII], [XV],      10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              STEVENS ROBERT A & SONIA                                                                                                                        Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                                                 No Record of Ownership                    City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                                                                                Document with                                                                                                                                             STEVENS TRS                                                                                                                                     Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1457    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue Unit 822    Punta Gorda      FL      33950   [III], [XIII], [XV],      10/7/2009    Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              SIMONE MICHAEL P & DIANE                                                                                                                        Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $136,477.64                                                                                                 No Record of Ownership                    City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                                                                                Document with                                                                                                                                             TRUSTEES                                                                                                                                        Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1458    RP         Magdalena Gardens Condo         240 W. End Avenue, Unit 721   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (Amorin, Eduardo                                                                   [VII], [XIII],                                                 Assessor's                                                                                                                                              MAGDALENA GARDENS 721                                                                                                                           Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $139,904.96                                                                                                           No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                         $0.00
                    and Carmen)                                                                                    [XV], [XVI],                                                 Document with                                                                                                                                             LLC                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                   [XVII]                                                       Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1459    RP         Magdalena Gardens Condo         240 W. End Avenue Unit 722    Punta Gorda      FL      33950   [III], [III(A)],          10/7/2009    Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (Fabio Rainuzzo)                                                                   [XIII], [XV],                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $136,477.64                                                                        CARPINO SIGFRIDO                                                   Tax Records + Title/Deed          9/18/2006              7/23/2010                                                                                                                               $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1460    RP         Magdalena Gardens Condo         240 W. End Avenue Unit 823    Punta Gorda      FL      33950   [III], [XIII], [XV],      10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (Mario Massaro)                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              MAYDA BRYAN E & LINDA              Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $139,904.96                                                                                                                                           Tax Records + Title/Deed          9/20/2006              12/3/2010                                                                                                                               $0.00
                                                                                                                                                                                Document with                                                                                                                                             LEIGH                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1461    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue Unit 311    Punta Gorda      FL      33950   [III], [XIII], [XV],      10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (Tom Arnold)                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              ANDREAE ALEXANDER                                                                                                                               Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                                                                                Document with                                                                                                                                             JAMES                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1462    RP         Magdalena Gardens Condo         240 W. End Avenue Unit 323    Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (John Katarsky)                                                                    [XIII], [XV],                                                  Assessor's                                                                                                                                              SMITH STACY SALTZER                Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $139,904.96                                                                                                                                           Tax Records + Title/Deed          9/14/2006              8/9/2013                                                                                                                                $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                             TRUSTEE                            Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1463    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 111   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XIII], [XV],                                                  Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                        BOCKMANN DAVID DANIEL              No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1464    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 123   Punta Gorda      FL      33950   [II(B)], [XV],            12/6/2010    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $139,904.96                                                                        G & R LAMBERT LLC                  No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1465    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 211   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XIII], [XV],                                                  Assessor's                                                                                                                                              HITCHCOCK ALLEN G &                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                             LORRAINE S                                                                                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1466    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 212   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $112,662.16                                                                        REGAN DIANE L                      No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1467    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 222   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $136,477.64                                                                        GILLETTE GERALD                    No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1468    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 411   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              BIRD DAVID B & SONJA H TRS                                                                                                                      Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                                                   No Record of Ownership                  City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             & THK                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1469    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 413   Punta Gorda      FL      33950   [II], [II(B)], [III],     10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              OSICKI SIEGWARD R & CK                                                                                                                          Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             OSICKI CO-TRS                                                                                                                                   Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1470    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 511   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                        HDB LLC                            No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1471    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 711   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [VII], [IX], [XV],                                             Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                        ITSM CORP                          No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1472    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 712   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $112,662.16                                                                        SHALE DAVID & LORRAINE             No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1473    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 723   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [VII], [IX], [XV],                                             Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $139,904.96                                                                        GAMBOA MERCEDES & LUIS             No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1474    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 812   Punta Gorda      FL      33950   [II], [II(B)], [III],     10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              PARADIS ARNOLD G &                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $112,662.16                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             ROBYN M BERGERON                                                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1475    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 813   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                        LYONS THOMAS                       No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1476    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 923   Punta Gorda      FL      33950   [II], [II(B)], [III],     10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              STUDZINSKI RONALD J & DJS                                                                                                                       Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $139,904.96                                                                                                  No Record of Ownership                   City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVII]                                                       Document with                                                                                                                                             SR                                                                                                                                              Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1477    RP         Magdalena Gardens Condo         240 W. End Avenue, Unit 913   Punta Gorda      FL      33950   [II], [II(B)], [III],     10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Inspection Report   2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (Divanno, Michael                                                                  [VII], [IX], [XV],                                             Assessor's                                                                                                                                              MURPHY BEVERLY J & LJP & Previous Owner, Did Not Own                                                                                            Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $114,244.00                                                                                                                                           Tax Records + Title/Deed         10/26/2006              3/24/2014                                                                                                                               $0.00
                    F.)                                                                                            [XVI], [XVII]                                                Document with                                                                                                                                             RGP                      Property on 6/9/15                                                                                                                                  3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1478    RP         Magdalena Gardens Condo         240 W. End Avenue, Unit 1422 Punta Gorda       FL      33950   [II(A)], [II(B)],         10/7/2009    Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (Ferger, Gary)                                                                     [III], [VII], [IX],                                            Assessor's                                                                                                                                              MATTHEWS ROBERT W &                Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $136,477.64                                                                                                                                           Tax Records + Title/Deed         12/14/2006              5/9/2012                                                                                                                                $0.00
                                                                                                                   [XV], [XVI],                                                 Document with                                                                                                                                             STACY A                            Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                   [XVII]                                                       Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1479    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 421   Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association (Herston, James)                                                                   [VII], [IX], [XV],                                             Assessor's                                                                                                                                              KOZELKO LYUBOV & A                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.80              $87.88           $139,904.96                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                   [XVI], [XVII]                                                Document with                                                                                                                                             KOZELKO                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 42 of 82



Claimant Source     Claimant Name                   Affected Property Address      City             State   Zip     Omni(s)                  Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                 Current Owner as of            Ownership Status of Named    Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                   May-August 2017 Per Brown Greer      Claimant Per Brown Greer                Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
 1480    RP         Magdalena Gardens Condo         240 W. End Avenue, Unit 1511 Punta Gorda        FL      33950   [II], [II(A)],             10/7/2009    Yes         1,300      Property Tax     Yes                                                                   Taishan            Inspection Report   2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                    Association (King Properties)                                                                   [II(B)], [III],                                                 Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                     0.80                $87.88          $114,244.00                                                                        HOPE DEAN                                                          Tax Records + Title/Deed           1/3/2007              4/21/2011                                                                                                                               $0.00
                                                                                                                    [VII], [XV],                                                  Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                    [XVI], [XVII]                                                 Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1481    Ex 10/79   Magdalena Gardens Condo         240 W. End Avenue, Unit 412    Punta Gorda      FL      33950   [II], [II(B)], [III],      10/7/2009    Yes         1,282      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                    Association (Martzluff, Paul)                                                                   [XV], [XVI],                                                    Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                     0.80                $87.88          $112,662.16                                                                        GREAT2BE LLC                       No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                    [XVII]                                                        Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1482    RP         Magdalena Gardens Condo         240 W. End Avenue, Unit 1421 Punta Gorda        FL      33950   [II(B)], [III], [IX],      10/7/2009    Yes         1,592      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                    Association (Perez, Gustavo)                                                                    [XV], [XVI],                                                    Assessor's                                                                                                                                              MCQUADE TERRENCE L                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                     0.80                $87.88          $139,904.96                                                                                                                                           Tax Records + Title/Deed         12/14/2006             12/18/2014                                                                                                                               $0.00
                                                                                                                    [XVII]                                                        Document with                                                                                                                                             TRUSTEE                            Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1483    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1011 Punta Gorda        FL      33950   [II], [III], [III(A)],     10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [VII], [IX], [XV],                                              Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $114,244.00                                                                        CRUPI JOETTA R                                                     Tax Records + Title/Deed                                 7/24/2009                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1484    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1012 Punta Gorda        FL      33950   [III], [III(A)],           10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [VII], [IX], [XV],                                              Assessor's                                                                                                                                              JURKUS ARTURAS &                   Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $112,662.16                                                                                                                                           Tax Records + Title/Deed                                10/29/2009                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                             RICARDAS CUMMINGS                  Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1485    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1013 Punta Gorda        FL      33950   [II], [III], [III(A)],     10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [VII], [IX], [XV],                                              Assessor's                                                                                                                                              KOSELKO LYUBOV & A                                                                                                                              Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $114,244.00                                                                                                           No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                         $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                             KOSELKO                                                                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1486    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1212 Punta Gorda        FL      33950   [III], [XV],               10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [XVI], [XVII]                                                   Assessor's                                                                                                                                              MCQUADE KAROLA D                   Owner as of 6/9/15, No Longer                                                                                Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $112,662.16                                                                                                                                           Tax Records + Title/Deed          1/18/2007              4/19/2017                                                                                                                               $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                             TRUSTEE                            Owns Property                                                                                                                              3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1487    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1221, Punta Gorda       FL      33950   [XV], [XVI],               7/5/2011     Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                     Punta Gorda, FL 33950                                           [XVII]                                                          Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $139,904.96                                                                        CARPINO SIGFRIDO                   No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                       $35,364.28
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1488    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1311 Punta Gorda        FL      33950   [II], [II(B)], [III],      10/7/2009    Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [IX], [XV],                                                     Assessor's                                                                                                                                              MATTESICH ROMOLO &                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $114,244.00                                                                                                                                           Tax Records + Title/Deed          3/19/2007             10/29/2010                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                             FRINEE                             Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1489    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1312 Punta Gorda        FL      33950   [II], [II(B)], [III],      10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [IX], [XV],                                                     Assessor's                                                                                                                                                                       Previous Owner, Did Not Own                                                                                            Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $112,662.16                                                                        CONANT RICHARD E & SUE A                                           Tax Records + Title/Deed           5/7/2007             11/30/2010                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                                                      Property on 6/9/15                                                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1490    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1321 Punta Gorda        FL      33950   [II], [II(B)], [III],      10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [IX], [XV],                                                     Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $139,904.96                                                                        BAIDAN NATALIE & VADIM                                             Tax Records + Title/Deed          1/18/2007              4/23/2015                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1491    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1322, Punta Gorda       FL      33950   [IX], [XV],                5/5/2011     Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                     Punta Gorda, FL 33950                                           [XVI], [XVII]                                                   Assessor's                                                                                                                                              LANDON JONATHAN W &                                                                                                                             Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $136,477.64                                                                                                           No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                       $17,871.76
         Prop.                                                                                                                                                                    Document with                                                                                                                                             TRACEY L                                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1492    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1323 Punta Gorda        FL      33950   [II], [II(B)], [III],      10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [IX], [XV],                                                     Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $139,904.96                                                                        BAIDAN NATALIE                                                     Tax Records + Title/Deed          1/18/2007              1/9/2015                                                                                                                                $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1493    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1412 Punta Gorda        FL      33950   [II(C)], [III],            10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [XV], [XVI],                                                    Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $112,662.16                                                                        BIRD TERRY S & JAUNA R                                             Tax Records + Title/Deed           6/7/2007              5/25/2012                                                                                                                               $0.00
         Prop.                                                                                                      [XVII]                                                        Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1494    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1521, Punta Gorda       FL      33950   [III], [IX], [XV],         10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                     Punta Gorda, FL 33950                                           [XVI], [XVII]                                                   Assessor's                                                                                                                                              INTELCONST INVESTMENTS                                                                                                                          Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $139,904.96                                                                                                           No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                       $45,017.63
         Prop.                                                                                                                                                                    Document with                                                                                                                                             LLC                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1495    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 1522 Punta Gorda        FL      33950   [II(B)], [III],            10/7/2009    Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [XV], [XVI],                                                    Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $136,477.64                                                                        DORR LAWRENCE J                    No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                         $0.00
         Prop.                                                                                                      [XVII]                                                        Document with                                                                                                                                                                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1496    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 321    Punta Gorda      FL      33950   [II(B)], [II(C)],          10/7/2009    Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [III], [VII], [XV],                                             Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $139,904.96                                                                        MITCHELL CHARLES W                                                 Tax Records + Title/Deed          9/14/2006              4/27/2011                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1497    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 322    Punta Gorda      FL      33950   [II(B)], [II(C)],          10/7/2009    Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [III], [VII], [XV],                                             Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $136,477.64                                                                        MCQUADE KAROLA TRUSTEE                                             Tax Records + Title/Deed          9/14/2006              5/18/2012                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1498    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 512    Punta Gorda      FL      33950   [II(B)], [III],            10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [VII], [IX], [XV],                                              Assessor's                                                                                                                                              LEE ROBERT MARK &                                                                                                                               Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $112,662.16                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed         10/26/2006           Current Owner                                                                                                                              $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                             WENDY A                                                                                                                                                                       3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1499    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 912    Punta Gorda      FL      33950   [II], [II(B)], [III],      10/7/2009    Yes         1,282      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [VII], [IX], [XV],                                              Assessor's                                                                                                                                              WHITE CLYDE RONALD &               Owner as of 6/9/15, No Longer                                                                                Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $112,662.16                                                                                                                                           Tax Records + Title/Deed         10/26/2006              1/26/2016                                                                                                                               $0.00
         Prop.                                                                                                      [XVI], [XVII]                                                 Document with                                                                                                                                             DONNA ANN                          Owns Property                                                                                                                              3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1500    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 921,   Punta Gorda      FL      33950   [XV], [XVI],               7/5/2011     Yes         1,592      Property Tax      Yes                                                                  Taishan            Photo               11             J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                     Punta Gorda, FL 33950                                           [XVII]                                                          Assessor's                                                                                                                                              CHAMPAGNE RON & C                                                                                                                               Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $139,904.96                                                                                                           No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                       $70,097.85
         Prop.                                                                                                                                                                    Document with                                                                                                                                             CHAMPAGNE                                                                                                                                                                     3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1501    Add.       Magdalena Gardens Condo         240 W. End Avenue, Unit 922    Punta Gorda      FL      33950   [XV], [XVI],               7/5/2011     Yes         1,553      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                                                                                     [XVII]                                                          Assessor's                                                                                                                                              GERMAIN JOSEPH HENRY               Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $136,477.64                                                                                                                                           Tax Records + Title/Deed                                12/15/2010                                                                                                                               $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                             TRUSTEE                            Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1502    Add.       Magdalena Gardens Condo         240 West End Avenue, Unit      Punta Gorda      FL      33950   [XV], [XVI],               7/5/2011     Yes         1,592      Property Tax      Yes                                                                  IMT                Photo               32             F                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association                     1223, Punta Gorda, FL 33950                                     [XVII]                                                          Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $139,904.96                                                                        SISSO ALBERTO                      No Record of Ownership          Tax Records + Title/Deed                                                                                                                                                                       $71,983.63
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1503    Ex 10/79   Magee, Eola                     1009 South Telemachus          New Orleans      LA      70125   [IX], [XV],                5/5/2011     Yes         1,878      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Hurricane Legal Center, LLC   Jacob Young, Esq.                  (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                                                            Young Law Firm
                                                                                                                                                                                                                      0.86               $94.47          $177,414.66                                                                        MAGEE EOLA W                       Owner as of 6/9/15              City or County Tax Records        1/12/1989           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           1010 Common St., Suite 3040
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70112
 1504    Ex 10/79   Maggiore, Peter and Frankie     3852 Alexander Lane            Marrero          LA      70072   [III], [VII], [XV],        10/7/2009    Yes         1,608      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Martzell & Bickford           Scott Bickford, Esq.               (504) 581-9065   srb@mbfirm.com
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                              MAGGIORE,PETER E &                                                                                                                                                            338 Lafayette Street
                                                                                                                                                                                                                      0.86               $94.47          $151,907.76                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed         10/25/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                             FRANKIE                                                                                                                                                                       New Orleans, LA 70130
                                                                                                                                                                                  Square Footage
 1505    Ex 10/79   Magnolia Holiness Church        3112 John-Johnson Road         McInstosh        AL      36553   [II(C)], [XV],             1/24/2011    Yes         4800       Property Tax      Yes                                                                  Taihe              Photo               13             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                            REED CONEY IKE &
                    (Reed, Corey)                                                                                   [XVI], [XVII],                                                  Assessor's                        0.84               $92.27          $442,896.00                                                                                                           Owner as of 6/9/15              City or County Tax Records         8/2/1999           Current Owner                                       900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                            ANGELYN ORSO REED
                                                                                                                    [XXI]                                                         Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1506    RP         Maguire, Vincent and Wende      11503 Mountain Bay Drive       Riverview        FL      33569   [IX], [XV],                5/5/2011     Yes         1,888      Property Tax      Yes                                                                  Taishan            Photo               2              J           HASAN GELDINA E P                                                                                                                               Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                   Assessor's                        0.83               $91.18          $172,147.84                                                                        BARTSCH SARAH GAMILA                                               Tax Records + Title/Deed          8/20/2010              8/2/2013                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                             HASAN                                                                                                                                                                        Fort Myers, FL 33907
 1507    Ex 10/79   Mahone, Todd                    4520 Pine Avenue               Saraland         AL      36571   [IX], [XV],                5/5/2011     Yes         2475       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                            MAHONE TODD E & CRISTEN
                                                                                                                    [XVI], [XVII]                                                   Assessor's                        0.84               $92.27          $228,368.25                                                                                                Owner as of 6/9/15                         Tax Records + Title/Deed          7/19/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                            OND
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          650
 1508    Ex 10/79   Mai, Kim Lien and Nguyen,       4921 Friar Tuck Drive          New Orleans      LA      70128   [III], [VII], [XV],        10/7/2009    Yes         1,930      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                    David                                                                                           [XVI], [XVII]                                                   Assessor's                                                                                                                                              NGUYEN DAVID                                                                                                                                    LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $182,327.10                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/12/2007           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                             MAI KIMLIEN                                                                                                                                                                  425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 1509    Ex 10/79   Mai, Long                       4900 Wright Road               New Orleans      LA      70128   [III], [VII], [XV],        10/7/2009    Yes         2,104      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                              LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $198,764.88                                                                        MAI LONG H                         Owner as of 6/9/15              City or County Tax Records         1/8/2007           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 1510    Ex 10/79   Malhoe, Ashok                   1617 SE 21st Street            Cape Coral       FL      33990   [II(C)], [III],            10/7/2009    Yes         2,029      Property Tax      Yes                                                                  Taishan            Photo               5, 7           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            LOPEZ CARLOS R +                   Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                    Assessor's                        0.80               $87.88          $178,308.52                                                                                                                                           Tax Records + Title/Deed          12/2/2005              11/9/2010                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                            TALENTO IRISOL H H/W               Property on 6/9/15
                                                                                                                    [XVII]                                                        Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1511    RP         Malkki, Donna and Clough,       10400 SW Stephanie Way         Port St. Lucie   FL      34986   [III], [IX], [XV],         10/7/2009    Yes         1,448      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                    Daniel                          Building 5, Unit 208                                            [XVI], [XVII]                                                   Assessor's                        0.82               $90.08          $130,435.84                                                                        DENIS RIVARD                                                       City or County Tax Records        6/29/2006              1/4/2012                                         701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70166
 1512    Ex 10/79   Mallin, Karen and Jonathan      3008 West San Carlos Street    Tampa            FL      33629   [II(C)], [XV],             1/24/2011    Yes         3,316      Property Tax      Yes                                                                  C&K                Photo               34, 35         B                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                   Assessor's                        0.83               $91.18          $302,352.88                                                                        MARU ASHLEY B TRUSTEE                                              Tax Records + Title/Deed           4/1/2009              10/9/2014                                        316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Pensacola, FL 32502
 1513    Ex 10/79   Maloy, Jack and Louise          1328 SW 4th Avenue             Cape Coral       FL      33991   [II(C)], [VII],            1/14/2011    Yes         2,010      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            MALOY JACK + LOUISE TR
                                                                                                                    [XV], [XVI],                                                    Assessor's                        0.80               $87.88          $176,638.80                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed         12/30/1999           Current Owner                                       27300 Riverview Center Blvd                                                         $101,261.88
                                                                                                                                                                                                                                                                                                                                            FOR MALOY TRUST
                                                                                                                    [XVII]                                                        Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 43 of 82



Claimant Source     Claimant Name                   Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 1514    Ex 10/79   Mancini, Richard                11813 Bayport Lane 304          Ft. Myers         FL      33908   [II(C)], [III],           10/7/2009    Yes         1,804      Property Tax     Yes                                                                   Taishan            Photo             7              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [VII], [XV],                                                   Assessor's                       0.80                $87.88          $158,535.52                                                                      PETERS LISA MICHELLE L/E                                           City or County Tax Records         9/8/2006              5/14/2010                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1515    Ex 10/79   Mancuso, Robert and Lorraine    812 King Leon Way               Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,870      Property Tax     Yes                                                                   Taishan            Photo             6              J                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                 (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MANCUSO ROBERT J
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.83                $91.18          $170,506.60                                                                                                         Owner as of 6/9/15              City or County Tax Records        6/23/2006           Current Owner                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                           MANCUSO LORRAINE T
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 1516    Ex 10/79   Mandel, Lee                     3750 Birch Terrace              Davie             FL      33330   [XIII], [XV],             7/5/2011     Yes         6,039      Property Tax     Yes                                                                   Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A.           Allison Grant, Esq.                (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                          14 Southeast 4th Street
                                                                                                                                                                                                                      0.81                $88.98          $537,350.22                                                                      MANDEL,LEE                         Owner as of 6/9/15              City or County Tax Records        7/30/2010           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1517    Ex 10/79   Maness, Danielle Lee            1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes          817       Property Tax     Yes                                                                   Taishan            Photo             2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                    Blvd., Unit 1128                                                  [XVII]                                                         Assessor's                       0.82                $90.08           $73,595.36                                                                      MANESS, DANIELLE LEE               Owner as of 6/9/15              City or County Tax Records         6/6/2007           Current Owner                                       900 W. Morgan Street                                                                  $96,908.88
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 1518    Ex 10/79   Maniscalco, Frank and Grace     11853 Bayport Lane #4           Ft. Myers         FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         2,163      Property Tax     Yes                                                                   Taishan            Photo             2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           FORSBERG MAXIM & SHPYT             Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                       0.80                $87.88          $190,084.44                                                                                                                                         City or County Tax Records       10/13/2006              1/9/2015                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           OLHA                               Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1519    RP         Manserra, Agostino and Teresa   4275 Tyler Circle Street        St. Petersburg    FL      33709   [II(A)], [XIII],          9/16/2010    Yes         1,685      Property Tax     Yes                                                                   Taihe              Photo             14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.82                $90.08          $151,784.80                                                                      CALDERON, FRANCO                                                   Tax Records + Title/Deed         11/25/2009              2/18/2011                                                                                                                                $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1520    Ex 10/79   Manso, Jose                     8099 W. 36th Avenue #4          Hialeah           FL      33018   [II(B)], [VII],           12/6/2010    Yes         1,464      Property Tax      Yes                                                                  IMT                Photo             31, 33         F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $130,266.72                                                                      VICTOR HUGO LOPEZ                                                  City or County Tax Records        1/29/2007              1/22/2013                                                                                                                                $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                              Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1521    Ex 10/79   Mantuo, Joe Ellen               11001 Gulf Reflections Drive    Ft. Myers         FL      33908   [III], [IX], [XV],        10/7/2009    Yes         1,743      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                    Unit A308                                                         [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $153,174.84                                                                      MANTUO JO ELLEN                    Owner as of 6/9/15              City or County Tax Records        4/30/2007           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        300
 1522    Ex 10/79   Manuel, Barbara and Lucien      2016 Allo Umphrey Drive         Violet            LA      70092   [II(B)], [III], [IX],     10/7/2009    Yes         2,208      Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                            MANUEL, BARBARA                                                                                                                                 Torres, III                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                       0.86               $94.47          $208,618.10                                                                                                         Owner as of 6/9/15              City or County Tax Records       12/27/2002           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                           WASHINGTON                                                                                                                                                                   303
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Chalmette, LA 70043
 1523    RP         Manzur, Mohammed A. and         8686 Cobblestone Point Circle   Boynton Beach     FL      33472   [II], [XV], [XVI],        3/15/2010    Yes         3,408      Property Tax      Yes                                                                  Dragon Brand       Photo             26             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Kamrun N.                                                                                         [XVII]                                                         Assessor's                                                                                                                                            TUNS MARCEL &                      Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                       0.82               $90.08          $306,992.64                                                                                                                                         Tax Records + Title/Deed          9/25/2006              5/17/2013                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                           TUNS YULIYA                        Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1524    Ex 10/79   Maone, Susan and Pacual,        3344 Marietta Street            Chalmette         LA      70043   [XIII], [XV],             7/5/2011     Yes         1,500      Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                    Rumio                                                                                             [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                         2800 Energy Centre
                                                                                                                                                                                                                       0.86               $94.47          $141,705.00                                                                      MAONE, SUSAN PERROT                Owner as of 6/9/15              City or County Tax Records        9/12/2012           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        1100 Poydras Street
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
 1525    Ex 10/79   Maradona, Michael and Arlen     20516 Ardore Lane               Estero            FL      33928   [II(C)], [III(A)],        9/16/2010    Yes         2,681      Property Tax      Yes                                                                  Taishan            Photo             9              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           BEAUGEZ KIMBERLY +                 Previous Owner, Did Not Own
                                                                                                                      [IX], [XV],                                                    Assessor's                        0.80               $87.88          $235,606.28                                                                                                                                         Tax Records + Title/Deed          8/28/2009              1/10/2014                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           GREGORY W                          Property on 6/9/15
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1526    RP         Marcario, Katherine             1008 Bristol Greens Court       Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,429      Property Tax      Yes                                                                  Chinese            Photo             37             C                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MCGILL WILLIAM J MCGILL            Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $130,296.22      Manufacturer 2                                                                                                                     Tax Records + Title/Deed          1/20/2003             10/22/2014                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           KATHY J                            Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1527    Ex 10/79   Marin, Cassandra                3865 SW Wycoff Street           Port St. Lucie    FL      34953   [II], [IX], [XV],         3/15/2010    Yes         2,082      Property Tax      Yes                                                                  Taihe              Photo             13             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.82               $90.08          $187,546.56                                                                      JIMS YZACC                                                         Tax Records + Title/Deed          10/6/2006              2/15/2012                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                              Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1528    RP         Marin, Jose and Monica          8904 SW 229th Street            Miami             FL      33190   [II(B)], [III(A)],        9/16/2010    Yes         2,201      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com                                Declaration submitted
                                                                                                                      [VII], [IX], [XV],                                             Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd                                                                                            under San Filippo,
                                                                                                                                                                                                                       0.81               $88.98          $195,844.98                                                                      MAYNADA BLUE LLC                                                   City or County Tax Records         2/1/2007              6/19/2012                                                                                                                                $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100                                                                           Keith & Linda
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1529    Ex 10/79   Marinell, Derek                 1047 Gladys Street              Lehigh Acres      FL      33974   [II], [XV], [XVI],        3/15/2010    Yes         1,598      Property Tax      Yes                                                                  ProWall            Photo             44             G                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.80               $87.88          $140,432.24                                                                      CUNNINGHAM THOMAS C                                                City or County Tax Records         9/3/2008              2/27/2009                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1530    RP         Mariner Village Investments     4987 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,469      Property Tax      Yes                                                                  Taishan            Photo             9              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $132,327.52                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                     $56,994.08
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1531    RP         Mariner Village Investments     4991 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,579      Property Tax      Yes                                                                  Taishan            Photo             2, 12          J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $142,236.32                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                     $60,423.08
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1532    RP         Mariner Village Investments     4996 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,435      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $129,264.80                                                                                                                                         Tax Records + Title/Deed         11/19/2008              11/7/2013                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1533    RP         Mariner Village Investments     4999 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,530      Property Tax      Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $137,822.40                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                     $70,178.12
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1534    RP         Mariner Village Investments     5008 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,507      Property Tax      Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $135,750.56                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1535    RP         Mariner Village Investments     5011 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,507      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $135,750.56                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1536    RP         Mariner Village Investments     5015 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,468      Property Tax      Yes                                                                  Taishan            Photo             2, 9, 12       J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $132,237.44                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                     $16,291.63
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1537    RP         Mariner Village Investments     5016 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,435      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $129,264.80                                                                                                                                         Tax Records + Title/Deed         11/19/2008              11/7/2013                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1538    RP         Mariner Village Investments     5043 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,562      Property Tax      Yes                                                                  Taishan            Photo             7, 12          J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $140,704.96                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                     $43,473.43
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1539    RP         Mariner Village Investments     5072 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,552      Property Tax      Yes                                                                  Taishan            Photo             10             J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $139,804.16                                                                                                                                         Tax Records + Title/Deed         11/19/2008              1/29/2015                                        12 SE 7th St #801                                                                     $74,313.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1540    RP         Mariner Village Investments     5128 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,530      Property Tax      Yes                                                                  Taishan            Photo             7              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $137,822.40                                                                                                                                         Tax Records + Title/Deed         11/19/2008              11/7/2013                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1541    RP         Mariner Village Investments     5144 Mariner Garden Circle      Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1,507      Property Tax      Yes                                                                  IMT                Photo             30             F                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                                                                                               [XVII]                                                         Assessor's                        0.82               $90.08          $135,750.56                                                                                                                                         Tax Records + Title/Deed         11/19/2008              11/7/2013                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1542    RP         Mariner Village Investments     5156 Mariner Garden Circle,     Stuart            FL      34997   [XV], [XVI],              7/5/2011     Yes         1530          Other          Yes                                                                  IMT                Photo             32             F                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MARCHI MARINER REAL                Previous Owner, Did Not Own
                    LLC                             Stuart, FL 34997                                                  [XVII]                                                                                           0.82               $90.08          $137,822.40                                                                                                                                         City or County Tax Records       11/19/2008              11/7/2013                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           ESTATE INVESTMEN                   Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1543    Ex 10/79   Marion, James                   1172 South West Kickaboo        Port St. Lucie    FL      34953   [III], [VII], [XV],       10/7/2009    Yes         2,235      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    Road                                                              [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $201,328.80                                                                      ELIZABETH C WEISS                                                  City or County Tax Records        8/28/2007              3/18/2015                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1544    Ex 10/79   Mark, Ray Rae, Pamela Burke     11324 Bridge Pine Drive         Riverview         FL      33569   [II(A)], [XV],            9/16/2010    Yes         2,283      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                    and Oltz, Marcia                                                                                  [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $208,163.94                                                                      ARROYO AMANDA R                                                    Tax Records + Title/Deed           8/2/2006              10/1/2015                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1545    RP         Marlinga, Don and Janice        11697 Bald Eagle Way            Naples            FL      34119   [II], [XV], [XVI],        3/15/2010    Yes         3,724      Property Tax      Yes                                                                  ProWall            Photo             43, 44         G                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                            PETER F & VALMA W                  Previous Owner, Did Not Own                                                                                                               14 Southeast 4th Street
                                                                                                                                                                                                                       0.80               $87.88          $327,265.12                                                                                                                                         Tax Records + Title/Deed          6/17/2005             12/21/2012                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                           EPISCOPO TRU                       Property on 6/9/15                                                                                                                        Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1546    Ex 10/79   Marquez, Jodie                  8874 SW 229 Street              Miami             FL      33190   [XIII], [XV],             7/5/2011     Yes         1,988      Property Tax      Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                            JODIE MARQUEZ GUSTAVO                                                                                                                           Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $176,892.24                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          3/23/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                           MARQUEZ ROBIN MARQUEZ                                                                                                                           Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1547    RP         Marquina, Belkys                8129 W 36th Avenue - Unit 5     Hialeah           FL      33018   [II(B)], [VII],           12/6/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $120,656.88                                                                      BELKYS M MARQUINA                  Owner as of 6/9/15              City or County Tax Records         3/1/2007           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1548    Ex 10/79   Marrero, Charlene               11252 King Richard Drive        New Orleans       LA      70128   [III], [IX], [XV],        10/7/2009    Yes         2,484      Property Tax      Yes                                                                  Taihe              Photo             13             I                                                                                                                                                           Cuneo, Gilbert & LaDuca,      William Anderson, Esq.             202-789-3960     wanderson@cuneolaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            LLC                           4725 Wisconsin Ave, NW, Suite
                                                                                                                                                                                                                       0.86               $94.47          $234,663.48                                                                      MARRERO CHARLENE G                 Owner as of 6/9/15              City or County Tax Records       12/11/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         200
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Washington, D.C. 20016
 1549    Ex 10/79   Marrero, Ingrid                 8105 W. 36th Avenue #4          Hialeah           FL      33018   [II(C)], [VII],           1/14/2011    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $120,656.88                                                                      INGRID MARRERO                     Owner as of 6/9/15              City or County Tax Records        8/13/2007           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                           Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1550    Ex 10/79   Marshall, George B. and Linda   101 Sand Dunes Road             Ormand Beach      FL      32176   [XIII], [XV],             7/5/2011     Yes         2,334      Property Tax      Yes                                                                  IMT                Photo             33             F                                                                                                                                                           Allison Grant, P.A.           Allison Grant, Esq.                (561) 994-9646   agrant@allisongrantpa.com
                    A.                                                                                                [XVI], [XVII]                                                  Assessor's                                                                                                                                            MARSHALL GEORGE B &                                                                                                                                                           14 Southeast 4th Street
                                                                                                                                                                                                                       0.84               $92.27          $215,358.18                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          8/29/2000           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   Document with                                                                                                                                           LINDA ANN                                                                                                                                                                     Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1551    Ex 10/79   Martel, Jean and Carmelle       10852 Tiberio Drive             Ft. Myers         FL      33913   [II(A)], [III], [IX],     10/7/2009    Yes         2,249      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           MARTEL JEAN D + CARMELLE
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $197,642.12                                                                                               Owner as of 6/9/15                        City or County Tax Records       10/30/2006           Current Owner                                        12800 University Drive, Suite 600                   m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           G
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1552    Ex 10/79   Martin, Cornell and Beverly     11265 Notaway Lane              New Orleans       LA      70128   [VII], [XV],              1/14/2011    Yes         3,323      Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Bruno & Bruno, LLP            Joseph Bruno, Esq.                (504) 525-1355    jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                           MARTIN CORNELL
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $313,923.81                                                                                                         Owner as of 6/9/15              City or County Tax Records        8/20/1990           Current Owner                                        855 Baronne Street                                  m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           MARTIN BEVERLY T
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         New Orleans, 70113
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 44 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
 1553    Ex 10/79   Martin, James                   4405 Crystal Downs Court       Wesley Chapel     FL      33543   [III(A)], [XV],           9/16/2010    Yes         1,745      Property Tax     Yes                                                                   Taihe              Photo              13             I                                                                                                                                                           Seeger Weiss                 Christopher Seeger, Esq.              (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.83                $91.18          $159,109.10                                                                       MARTIN JAMES H JR                  Owner as of 6/9/15              Tax Records + Title/Deed          4/12/2007           Current Owner                                       77 Water Street                                                                           $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New York, NY 10005
 1554    Ex 10/79   Martin, Patrick and Alice       11842 Bayport Lane #210-4      Ft. Myers         FL      33908   [IX], [XV],               5/5/2011     Yes         2,203      Property Tax     Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           MARTIN PATRICK D + ALICE
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $193,599.64                                                                                                          Owner as of 6/9/15              City or County Tax Records       11/10/2006           Current Owner                                       27300 Riverview Center Blvd                                                             $92,956.21
                                                                                                                                                                                                                                                                                                                                           C
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1555    Ex 10/79   Martin, Richard and Judith      272 NW Broken Oak Trail        Jensen Beach      FL      34957   [III], [IX], [XV],        10/7/2009    Yes         1,314      Property Tax     Yes                                                                   Chinese            Photo              37             C           RICHARD M MARTIN                                                                                                                                Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                            Manufacturer 2                                                   IRREVOCABLE TRUST JUDITH Owner as of 6/9/15, No Longer                                                                                          Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.82                $90.08          $118,365.12                                                                                                                                          City or County Tax Records       12/14/2001             10/24/2016                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                            A MARTIN IRREVOCABLE     Owns Property                                                                                                          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                           TRUST                                                                                                                                                                        Dallas, TX 75219
 1556    Ex 10/79   Martinez, Dailyn                1624 NW 37th Avenue            Cape Coral        FL      33993   [II(A)], [III],           10/7/2009    Yes         2,259      Property Tax     Yes                                                                   Taishan            Photo              2, 7           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XV], [XVI],                                                   Assessor's                       0.80                $87.88          $198,520.92                                                                       MARTINEZ DAILYN                    Owner as of 6/9/15              Tax Records + Title/Deed          9/16/2008           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1557    Ex 10/79   Martinez, Deborah               11272 Windsor Place Circle     Tampa             FL      33626   [XV], [XVI],              7/5/2011     Yes         1,683      Property Tax     Yes                                                                   Dragon Brand       Photo              25             A                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVII]                                                         Assessor's                       0.83                $91.18          $153,455.94                                                                       MARTINEZ DEBORAH A                 Owner as of 6/9/15              Tax Records + Title/Deed          8/31/2001           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1558    Ex 10/79   Martinez, John and Melanie      1612 Deborah Drive             St. Bernard       LA      70085   [III(A)], [XV],           9/16/2010    Yes         1,375      Property Tax     Yes                                                                   Crescent City      Photo              27             D                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                                             Baron & Budd
                                                                                                                                                                                                                     0.86                $94.47          $129,896.25                                                                       ASEVADO, LOGAN EDWARD                                              City or County Tax Records        3/19/1999              12/6/2016                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                               Owns Property                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1559    Ex 10/79   Martinez, Kim                   4843 Evangeline Drive          New Orleans       LA      70127   [III], [IX], [XV],        10/7/2009    Yes         1,386      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $130,935.42                                                                       MARTINEZ KIM M                     Owner as of 6/9/15              City or County Tax Records       11/29/1999           Current Owner                                       820 O'Keefe Avenue                                                                        $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
 1560    RP         Mas, Rachel and Bonilla, Fred   304 Chaucer Avenue             Lehigh Acres      FL      33936   [II(B)], [III],           10/7/2009    Yes         2,231      Property Tax      Yes                                                                  Taishan            Photo              8              J           UNKNOWN HEIRS OF OLIVER                                                                                                                         Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XIII], [XV],                                                  Assessor's                                                                                                                                             JOSEPHINE + BURNS       Previous Owner, Did Not Own                                                                                             Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $196,060.28                                                                                                                                          Tax Records + Title/Deed          2/13/2007              9/5/2014                                                                                                                                   $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                            KATHARINE D + WELDON    Property on 6/9/15                                                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                           ALYSSA M                                                                                                                                                                     Dallas, TX 75219
 1561    Ex 10/79   Maseda, Alfredo and Gladys      2310 NE 33rd Terrace           Cape Coral        FL      33909   [III(A)], [XV],           9/16/2010    Yes         1,667      Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $146,495.96                                                                       MASEDA ALFREDO + GLADYS Owner as of 6/9/15                         Tax Records + Title/Deed          6/20/2009           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1562    Ex 10/79   Masih, Parveem                  2533 Deerfield Lake Court      Cape Coral        FL      33909   [III], [IX], [XV],        10/7/2009    Yes         2,471      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $217,151.48                                                                       MASIH PARVEEN                      Owner as of 6/9/15              City or County Tax Records       12/20/2007           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         300
 1563    Ex 10/79   Mason, Gary                     1860 Filmore Avenue            New Orleans       LA      70122   [II(B)], [XV],            12/6/2010    Yes         1,334      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                 (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $126,028.65                                                                       MASON GARY                         Owner as of 6/9/15              City or County Tax Records        9/21/1999           Current Owner                                       701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70166
 1564    Ex 10/79   Mastrogiacomo, Kim              6071 Jonathans Bay Circle, Unit Ft. Myers        FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         1,832      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    401                                                              [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $160,996.16                                                                       WILSON RICHARD L + LINDA                                           City or County Tax Records       10/30/2006             12/31/2009                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1565    Ex 10/79   Matash, Mark and Cathleen       7051 Ambrosia Lane, Unit 3503 Niles              OH      44446   [XV], [XVI],              7/5/2011     Yes         1,679      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                        0.94              $103.26          $173,373.54                                                                       CONTI FAMILY RES TRUST                                             Tax Records + Title/Deed          7/28/2010              6/13/2012                                        12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1566    Ex 10/79   Mathieu, Vladimir and/ or       3580 Lansing Loop, Unit #102   Estero            FL      33928   [II(A)], [XV],            9/16/2010    Yes         2,011      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Soldavini-Clapper, Brigid                                                                        [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $176,726.68                                                                       TRUESDALE DONALD E                                                 Tax Records + Title/Deed          1/22/2007              3/28/2012                                        12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1567    Ex 10/79   Matos, Mary                     12508 Twin Branch Acres        Tampa             FL      33626   [II(A)], [XV],            9/16/2010    Yes         4,138      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Hawkins Gibson               Edward Gibson, Esq.                   (228) 467-4225   egibson@hgattorneys.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $377,302.84                                                                       MATOS JOSE F                       Owner as of 6/9/15              City or County Tax Records         5/2/2000           Current Owner                                       153 Main St                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Bay St Louis, MS 39520
 1568    Ex 10/79   Matrana, Anthony and Debra      3708 Marietta Street           Chalmette         LA      70043   [III(A)], [IX],           9/16/2010    Yes         1,758      Property Tax      Yes                                                                  Taihe              Photo              15, 18         I                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                             BRYAN, ANTHONY V., III &           Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                      0.86               $94.47          $166,078.26                                                                                                                                          Tax Records + Title/Deed          7/21/2006              10/6/2009                                                                                                                                  $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                            BRYAN, TIFFANY MATRANA             Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1569    Ex 10/79   Matrana, Anthony and Debra,     3524 Marietta Street           Chalmette         LA      70043   [III(A)], [IX],           9/16/2010    Yes         1,758      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                    and Jeff                                                                                         [XV], [XVI],                                                   Assessor's                                                                                                                                             MATRANA, JEFFREY                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.86               $94.47          $166,078.26                                                                                                          Owner as of 6/9/15              City or County Tax Records        12/5/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                            RAYMOND                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1570    Ex 10/79   Mattesich, John; Johnson,       4338 Jacaranda Parkway         Cape Coral        FL      33993   [II], [XV], [XVI],        3/15/2010    Yes         2,291      Property Tax      Yes                                                                  ProWall            Photo              43, 44         G           MORIN BARBARA M +                                                                                                                               Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                    Rosemary and Morin, Barbara                                                                      [XVII]                                                         Assessor's                        0.80               $87.88          $201,333.08                                                                       MATTESICH JOHN E+                  Owner as of 6/9/15              City or County Tax Records         4/9/2004           Current Owner                                       27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                            JOHNSON ROSEMARY J/T                                                                                                                                                         Bonita Springs, FL 34134
 1571    Ex 10/79   Mattia, Michael and Mary Ellen 10834 Kensington Park Avenue Riverview            FL      33569   [II], [IX], [XV],         3/15/2010    Yes         1,824      Property Tax      Yes                                                                  Taishan            Photo              1              H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                             FROST CHRISTOPHER                  Previous Owner, Did Not Own                                                                                                               27300 Riverview Center Blvd
                                                                                                                                                                                                                      0.83               $91.18          $166,312.32                                                                                                                                          Tax Records + Title/Deed          6/26/2007              3/4/2011                                                                                                                                   $0.00
                                                                                                                                                                                  Document with                                                                                                                                            THOMAS                             Property on 6/9/15                                                                                                                        Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage
 1572    Ex 10/79   Mattox, Dread                   6551 Woodlawn Road             Macclenny         FL      32063   [III], [VII], [XV],       10/7/2009    Yes        2,403.00    Property Tax       Yes                                                                 Taihe              Photo              17             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $216,462.24                                                                       MATTOX DREAD W                     Owner as of 6/9/15              Tax Records + Title/Deed          3/17/2008           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 1573    RP         Matulenas, Elizabeth and Joseph 163 South Gum Avenue           Virginia Beach    VA      23452   [II], [XV], [XVI],        3/15/2010    Yes         3,362      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                     [XVII]                                                         Assessor's                        0.94              $103.26          $347,160.12                                                                       RAY NICHOLAS S                     Records Not Available           City or County Tax Records        6/16/2006              12/1/2014           Serpe                          580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
 1574    Ex 10/79   Matute, Argerie                 8884 SW 229 Street             Cutler Bay        FL      33190   [II(B)], [III],           10/7/2009    Yes         1,988      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [IX], [XV],                                             Assessor's                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.81               $88.98          $176,892.24                                                                       ARGERIE MATUTE                     Owner as of 6/9/15              City or County Tax Records        8/14/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                            Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1575    Ex 10/79   Maurice, Carmine and Emmanie 149 Pennfield                     Lehigh Acres      FL      33974   [III], [XV],              10/7/2009    Yes         1,192      Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $104,752.96                                                                       MAURICE CARMIN                     Owner as of 6/9/15              City or County Tax Records        4/13/2006           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 1576    RP         Maxwell, Richard and Gretchen   13664 Hidden Oaks Drive        Gulfport          MS      39503   [IX], [XV],               5/5/2011     Yes         1,567      Property Tax      Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $144,550.18                                                                       UNKNOWN                            Records Not Available                                                                                                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                     [XXIII]                                                      Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 1577    RP         Maya, Adi                       12337 NW 69th Court            Parkland          FL      33076   [III], [IX], [XV],        10/7/2009    Yes         6,426      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           SARKAR,MANJINDER &                 Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $571,785.48                                                                                                                                          Tax Records + Title/Deed          9/26/2006              6/20/2013                                          12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           SADHAN                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
 1578    Ex 10/79   Mays, Gina                      540 S. Kenner Drive            Waggaman          LA      70094   [III], [VII], [XV],       10/7/2009    Yes         4,415      Property Tax       Yes                                                                 Taihe              Photo              13             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $417,085.05                                                                       MAYS,BOBBY R III & GINA P          Owner as of 6/9/15              City or County Tax Records       11/19/2007           Current Owner                                         425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
 1579    Ex 10/79   Mazza, Frank and Black,         619 N.E. 8th Avenue            Fort Lauderdale   FL      33304   [XIII], [XV],             7/5/2011     Yes         2,123      Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                    Andrew                                                                                           [XVI], [XVII]                                                  Assessor's                                                                                                                                             BLACK,ANDREW                                                                                                                                                                   14 Southeast 4th Street
                                                                                                                                                                                                                      0.81               $88.98          $188,904.54                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          3/14/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                            MAZZA,FRANK                                                                                                                                                                    Boca Raton, Florida 33432
                                                                                                                                                                                  Square Footage
 1580    Ex 10/79   Mazza, Luigi                    16232 SW 57th Lane             Miami             FL      33193   [XV], [XVI],              7/5/2011     Yes         2,027      Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                     [XVII]                                                         Assessor's                        0.81               $88.98          $180,362.46                                                                       SHIRLEY MAZZA PALACIOS                                             Tax Records + Title/Deed           3/6/2007              4/25/2017                                          2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           650
 1581    Ex 10/79   Mazzola, Bruce and Santos,      3590 Lansing Loop Unit #204    Estero            FL      33928   [XIII], [XV],             7/5/2011     Yes         2,542      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           SAIGH COLETTE M & JOSEPH Previous Owner, Did Not Own
                    Jeomarcio                                                                                        [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $223,390.96                                                                                                                                          Tax Records + Title/Deed           4/5/2010              6/3/2011                                           27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           T                        Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 1582    Ex 10/79   McAdoo, Kevin and Julie         6218 S. Jones Road             Tampa             FL      33611   [II(B)], [IX],            12/6/2010    Yes         2,684      Property Tax      Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           MCADOO KEVIN J
                                                                                                                     [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $244,727.12                                                                                                          Owner as of 6/9/15              City or County Tax Records         6/3/2008           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           MCADOO JULIE A
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 1583    Ex 10/79   McAfee, Lillie M.               12981 McRaven Court            New Orleans       LA      70128   [IX], [XV],               5/5/2011     Yes         1,388      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            820 O'Keefe Avenue
                                                                                                                                                                                                                      0.86               $94.47          $131,124.36                                                                       MCAFEE LILLIE M                    Owner as of 6/9/15              City or County Tax Records        1/23/1998           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70113
                                                                                                                                                                                  Square Footage
 1584    Ex 10/79   McArthur, Robert and Meradee    13401 Holly Lane               Carrollton        VA      23314   [II(C)], [XV],            1/24/2011    Yes         2,922      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                             MCARTHUR ROBERT L &                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $301,725.72                                                                                                          Owner as of 6/9/15              City or County Tax Records        9/23/1991           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                            MERADEE J                                                                                                                                       Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 1585    Ex 10/79   McAvoy, Michael and Atara       3141 State Street Drive        New Orleans       LA      70125   [IX], [XV],               5/5/2011     Yes         2,018      Property Tax      Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                           LAGARDE ATARA L
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $190,640.46                                                                                                          Owner as of 6/9/15              City or County Tax Records        3/10/2003           Current Owner                                         701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           MC AVOY MICHAEL R
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70166
 1586    Ex 10/79   McCallum, Leroy and Lona        2309 Riverbend Drive           Violet            LA      70092   [II], [VII], [XV],        3/15/2010    Yes         2,028      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Willis & Buckley               William Buckley, Esq.               (504) 488-6301   bill@willisbuckley.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $191,613.50                                                                       MC CALLUM, LEROY                   Owner as of 6/9/15              City or County Tax Records        6/24/2010           Current Owner                                         3723 Canal Street                                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70119
 1587    Ex 10/79   McCarthy, Mary Ann and Miller, 954 Marilyn Avenue S.           Lehigh Acres      FL      33936   [XIII], [XV],             7/5/2011     Yes         1,803      Property Tax      Yes                                                                  IMT                Photo              31, 32, 33     F                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           GODINEZ ROBERTO C                  Previous Owner, Did Not Own
                    Vicki                                                                                            [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $158,447.64                                                                                                                                          City or County Tax Records        3/30/2006              6/21/2013                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           MORENO                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 1588    Ex 10/79   McClure, Michael and            364 NE 35th Terrace            Homestead         FL      33033   [XV], [XVI],              7/5/2011     Yes         1,715      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           VM Diaz and Partners           Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                    Christyllne                                                                                      [XVII]                                                         Assessor's                        0.81               $88.98          $152,600.70                                                                       ** CONFIDENTIAL **                 Owner as of 6/9/15              City or County Tax Records        4/21/2009           Current Owner                                         1900 Washington Ave., Suite 402                                                         $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Miami Beach, FL 33139
 1589    RP         McCombs, Holly                  4136 Bismarck Palm Drive       Tampa             FL      33610   [XIII], [XV],             7/5/2011     Yes         1,692      Property Tax      Yes                                                                  Taishan            Photo              1              H                                                                                                                                                           Lucas Magazine                 Martin Macyszyn, Esq.               (727) 849-5353   martin@lgmlawgroup.com
                                                                                                                     [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                                 Liberty Professional Building
                                                                                                                                                                                                                      0.83               $91.18          $154,276.56                                                                       ANGLEN DEBORAH                                                     Tax Records + Title/Deed         11/20/2009              3/25/2014                                                                                                                                  $0.00
                                                                                                                     [XX]                                                         Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                           8606 Government Drive
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                           New Port Richey, FL 34654
 1590    RP         McCoy, Douglas and Carolyn      230 Mestre Place               North Venice      FL      34275   [XV], [XVI],              7/5/2011     Yes         1,691      Property Tax      Yes                                                                  Taishan            Photo              6, 12          J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           HENARD TRUMAN & HENARD Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                        0.83               $91.18          $154,185.38                                                                                                                                          City or County Tax Records        6/13/2006              5/22/2013                                          12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           PAMELA S               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
 1591    Ex 10/79   McCullough, Bobbi (Bramlett), 194 Holloway Hill Drive          Montevallo        AL      35115   [XV], [XVI],              7/5/2011     Yes         1349       Property Tax      Yes                                                                  Taihe              Photo              20, 21         I                                                                                                                                                           F. Page Gamble, PC             F. Page Gamble, Esq.                (205) 795-2078   page@gamblelaw.net
                    individually and as next friend of                                                               [XVII], [XXI]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            300 Vestavia Pkwy Ste 2300
                                                                                                                                                                                                                      0.84               $92.27          $124,472.23                                                                       MCCULLOUGH BOBBI JO                Owner as of 6/9/15              City or County Tax Records         2/5/2007           Current Owner                                                                                                                                 $0.00
                    Brianna Dixon, a minor                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                           Vestavia, AL 35216
                                                                                                                                                                                  Square Footage
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 45 of 82



Claimant Source     Claimant Name                   Affected Property Address       City             State   Zip     Omni(s)                Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
 1592    Ex 10/79   McCully, Leland and Amy         22424 Broad Street              Silverhill       AL      36576   [XV], [XVI],             7/5/2011     Yes         3155       Property Tax     Yes                                                                   Taihe              Photo             17, 20, 21     I                                                                                                                                                           Daniell, Upton & Perry, P.C.   Jonathan Law                      (251) 625-0046   JRL@dupm.com
                                                                                                                                                                                                                                                                                                                                         MCCULLY, JAMES LELAND
                                                                                                                     [XVII], [XXI]                                                 Assessor's                       0.84                $92.27          $291,111.85                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed           6/4/1998           Current Owner                                         30421 State Highway 181                                                              $0.00
                                                                                                                                                                                                                                                                                                                                         ETAL MCCULLY, AMY
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Daphne, Alabama 36527
 1593    Ex 10/79   McDaniel, Noel                  10281A Hwy 98                   Lucedale         MS      39452   [III(A)], [IX],          9/16/2010    Yes         1,638      Property Tax     Yes                                                                   Chinese            Photo             37             C                                                                                                                                                           Hawkins Gibson                 Edward Gibson, Esq.               (228) 467-4225   egibson@hgattorneys.com
                                                                                                                                                                                                                                                                                                                                         MCDANIEL, NOEL L. ETUX
                                                                                                                     [XV], [XVI],                                                  Assessor's                       0.79                $86.78          $142,145.64      Manufacturer 2                                                                                     Owner as of 6/9/15              City or County Tax Records                            Current Owner                                         153 Main St                                                                          $0.00
                                                                                                                                                                                                                                                                                                                                         LAURIE
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          Bay St Louis, MS 39520
 1594    Ex 10/79   McDavid, Fernon and Loretta     11321 Bridge Pine Drive         Riverview        FL      33569   [XV], [XVI],             7/5/2011     Yes         3,161      Property Tax     Yes                                                                   Taishan            Photo             2, 12          J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                        Assessor's                       0.83                $91.18          $288,219.98                                                                      SMITH PAUL                                                         Tax Records + Title/Deed          4/12/2007             11/20/2012                                          27300 Riverview Center Blvd                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1595    Ex 10/79   McDonald, Gary and Tricia       136 Merrill Road                Lucedale         MS      39452   [IX], [XV],              5/5/2011     Yes         2,464      Property Tax     Yes                                                                   Taihe              Photo             17             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                Assessor's                                                                                                                                            MCDONALD, GARY M., SR. &                                                                                                                                                       900 W. Morgan Street
                                                                                                                                                                                                                    0.79                $86.78          $213,825.92                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed           2/5/1999           Current Owner                                                                                                                              $0.00
                                                                                                                     [XXIII]                                                     Document with                                                                                                                                           TRICI                                                                                                                                                                          Raleigh, NC 27603
                                                                                                                                                                                 Square Footage
 1596    RP         McDougal, Scott o/b/o Treevis   204 W. Judge Perez Drive        Chalmette        LA      70043   [VII], [XV],             1/14/2011    Yes         1,200      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Willis & Buckley               William Buckley, Esq.             (504) 488-6301   bill@willisbuckley.com                            See Treevis
                    Investments                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                            ASAP BUILDING SUPPLIES,            Previous Owner, Did Not Own                                                                                                                 3723 Canal Street                                                                                    Investments, LLC on
                                                                                                                                                                                                                     0.86              $94.47           $113,364.00                                                                                                                                         City or County Tax Records        3/13/2007              5/3/2012                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                           LLC                                Property on 6/9/15                                                                                                                          New Orleans, LA 70119                                                                                OCXX
                                                                                                                                                                                 Square Footage
 1597    RP         McEldowney, Larry               916 Fitch Avenue                Lehigh Acres     FL      33872   [II(C)], [III],          10/7/2009    Yes         1,886      Property Tax      Yes                                                                  ProWall            Photo             43, 44         G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                  Assessor's                        0.80              $87.88           $165,741.68                                                                      BADILLO JUAN                                                       Tax Records + Title/Deed          2/23/2009              2/15/2013                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1598    Ex 10/79   McGinn, John and Anna           4301 Blackthorne Court          Virginia Beach   VA      23455   [II(B)], [XV],           12/6/2010    Yes         4,451      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                                               Property Assessment                                                                                                                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $459,610.26                                                                      JOHN (JACK) MCGINN, JR.            Owner as of 6/9/15              Tax Records + Title/Deed          6/22/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
 1599    RP         McIntosh, Chyrille              1600 State Avenue               Lehigh Acres     FL      33972   [II(A)], [XV],           9/16/2010    Yes         2,372      Property Tax      Yes                                                                  ProWall            Photo             43, 44         G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.80              $87.88           $208,451.36                                                                      GOMEZ-ABREU NIURKA                                                 Tax Records + Title/Deed           3/8/2002              2/12/2014                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1600    RP         McKee, Brett and Sara           1341 Lyonshire Drive            Wesley Chapel    FL      33543   [III], [XV],             10/7/2009    Yes         1,506      Property Tax      Yes                                                                  Chinese            Photo             37             C                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.83              $91.18           $137,317.08      Manufacturer 2                                                  ALHOURANI FAROUQ                                                   Tax Records + Title/Deed          10/7/2002              4/4/2012                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1601    Ex 10/79   McKenzie, John S. and Donna     6319 41st Court East            Sarasota         FL      34243   [XV], [XVI],             7/5/2011     Yes         2,332      Property Tax      Yes                                                                  Dragon Brand/      Photo             23, 26         A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                        Assessor's                                                                            BNBM                                                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                 Document with                       0.83              $91.18           $212,631.76                                                                      MCKENZIE JOHN S                    Owner as of 6/9/15              City or County Tax Records        4/27/2007           Current Owner          Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                              $149,662.30
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134

 1602    Ex 10/79   McKinley, Jacob                 23 Hammock Road                 Carriere         MS      39426   [II(C], [III], [XV],     10/7/2009    Yes         2,254      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                Assessor's                                                                                                                                                                                                                                                                                                                           900 W. Morgan Street
                                                                                                                                                                                                                     0.79              $86.78           $195,602.12                                                                      MCKINLEY JACOB L                   Owner as of 6/9/15              City or County Tax Records                            Current Owner                                                                                                                              $0.00
                                                                                                                     [XXIII]                                                     Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
                                                                                                                                                                                 Square Footage
 1603    RP         McKinney, Ali and Ilka          10806 SW Meeting Street         Port St. Lucie   FL      34987   [II(B)], [III],          10/7/2009    Yes         2,028      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                  Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $182,682.24                                                                      CARIANN MARTIN                                                     City or County Tax Records        3/29/2007              11/1/2013                                                                                                                               $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1604    Ex 10/79   McKinnies, Kionne and Terral    2612 Sand Bar lane              Marrero          LA      70072   [III], [VII], [XV],      10/7/2009    Yes         1,481      Property Tax      Yes                                                                  Taihe              Photo             20, 21         I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.    (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                         MC KINNIES,TERRAL L &
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.86              $94.47           $139,910.07                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed           3/6/2007           Current Owner                                         425 W. Airline Hwy, Suite B                                                          $0.00
                                                                                                                                                                                                                                                                                                                                         KIONNE
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
 1605    Ex 10/79   McKnight, Ashley and Gloria     505 NW 3rd Place                Dania Beach      FL      33004   [II], [IX], [XV],        3/15/2010    Yes         1,979      Property Tax      Yes                                                                  Taihe              Photo             14, 19         H, I                                                                                                                                                        Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.81              $88.98           $176,091.42                                                                      FERNANDER,WILBUR F JR                                              Tax Records + Title/Deed          4/21/2009              6/3/2010                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                 Square Footage
 1606    Ex 10/79   McLain, Jason                   3209 Rannock Moor               Williamsburg     VA      23188   [II], [XV], [XVI],       3/15/2010    Yes         1,418      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                               Property Assessment                                                                                                                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $149,542.28                                                                      MCLAIN, JASON S                    Owner as of 6/9/15              City or County Tax Records         7/7/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
 1607    Ex 10/79   McLain, Jon Scott               82401 Heintz Jenkins Road       Bush             LA      70431   [II], [XV], [XVI],       3/15/2010    Yes         2,271      Property Tax      Yes                                                                  Taihe              Photo             14, 17         H, I                                                                                                                                                        Thornhill Law Firm, Fayard & Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                                                                                                                                                                                                                            Honeycutt APLC and N. Frank Thornhill Law Firm
                                                                                                                                                                                                                                                                                                                                         FEDERAL NATIONAL                   Owner as of 6/9/15, No Longer
                                                                                                                                                                                 Document with                       0.79              $86.78           $197,077.38                                                                                                                                         Tax Records + Title/Deed           3/3/2006              6/17/2015           Elliot III, LLC              1308 9th St                                                                            $0.00
                                                                                                                                                                                                                                                                                                                                         MORTGAGE ASSOCIATION               Owns Property
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       Slidell, LA 70458

 1608    RP         McLenaghan, Jessica             4317 Eleanors Way               Williamsburg     VA      23188   [II], [XV], [XVI],       3/15/2010    Yes          928       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                        Assessor's                        0.96              $105.46           $97,866.88                         Property Assessment                          GRG PROPERTIES LLC.                                                City or County Tax Records         1/8/2008             11/29/2011           Serpe                        580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Norfolk, VA 23510
 1609    RP         McLendon, Brian and Stephanie 11317 Bridge Pine Drive           Riverview        FL      33569   [II], [III], [XV],       10/7/2009    Yes         2,283      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.83              $91.18           $208,163.94                                                                      ADVANTA IRA SERVICES LLC                                           Tax Records + Title/Deed           9/8/2006             12/31/2012                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1610    Ex 10/79   McMillan, Annette and John      403 E. Maxwell Street           Pensacola        FL      32503   [IX], [XV],              5/5/2011     Yes         2,113      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.85              $93.37           $197,290.81                                                                      MCMILLAN JOHN                      Owner as of 6/9/15              Tax Records + Title/Deed          6/17/2004           Current Owner                                       316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
 1611    RP         McMurray, Jason Scott           47 Monarch Blvd.                Hattiesburg      MS      39441   [II], [XIII], [XV],      3/15/2010    Yes         3,516      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Gentle, Turner & Sexton      K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                                                                                                                     [XVI], [XVII],                                                Assessor's                        0.79              $86.78           $305,118.48                                                                      UNKNOWN                            Records Not Available                                                                                                                     501 Riverchase Parkway East,                                                           $0.00
                                                                                                                     [XXIII]                                                     Document with                                                                                                                                                                                                                                                                                                                        Suite 100
 1612    Ex 10/79   McNealy, James and Fran         8882 SW 229 Street              Cutler Bay       FL      33190   [II(C)], [III],          10/7/2009    Yes         2,201      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [IX], [XV],                                            Assessor's                                                                                                                                            THERESA D GASKO & JAMES                                                                                                                         Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81              $88.98           $195,844.98                                                                                                         Owner as of 6/9/15              City or County Tax Records       10/31/2008           Current Owner                                                                                                                              $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                           R MCNEALY                                                                                                                                       Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1613    Ex 10/79   McNeil, Phillip Gabriel         64CR 122                        Bay Springs      MS      39422   [III(A)], [VII],         9/16/2010    Yes         4,100      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Hawkins Gibson               Edward Gibson, Esq.                 (228) 467-4225   egibson@hgattorneys.com
                                                                                                                     [XV], [XVI],                                                  Assessor's                        0.79              $86.78           $355,798.00                                                                      MCNEIL, PHILLIP GABRIEL            Owner as of 6/9/15              Utility Bill                                          Current Owner                                       153 Main St                                                                            $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                        Bay St Louis, MS 39520
 1614    RP         McNeill, Michael and Stephanie 13940 Clubhouse Drive            Tampa            FL      33618   [II], [XV], [XVI],       3/15/2010    Yes         2,592      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J           LITTRELL JO ANN LIFE                                                                                                                            Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                        Assessor's                        0.83              $91.18           $236,338.56                                                                      ESTATE                                                             Tax Records + Title/Deed          8/23/2006              2/22/2013                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                           LITTRELL JO ANN TRUSTEE                                                                                                                                                      Fort Myers, FL 33907
 1615    Ex 10/79   Medina, Nelson                  18472 Sunflower Road            Ft. Myers        FL      33967   [II], [XV], [XVI],       3/15/2010    Yes         2,159      Property Tax      Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                         MEDINA NELSON +
                                                                                                                     [XVII]                                                        Assessor's                        0.80              $87.88           $189,732.92                                                                                                         Owner as of 6/9/15              City or County Tax Records        5/10/2005           Current Owner                                       12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                         ELIZABETH
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1616    RP         Medina, Pedro                   10440 SW Stephanie Way, Unit Port St. Lucie      FL      34987   [III], [XV],             10/7/2009    Yes         1,158      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                    211                                                              [XVI], [XVII]                                                 Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $104,312.64                                                                      VALENTINA COSTRO                                                   City or County Tax Records        7/31/2006             10/26/2011                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1617    Ex 10/79   Medrano, Ramon and Nedy         11411 Bridge Pine Drive         Riverview        FL      33569   [XV], [XVI],             7/5/2011     Yes         1,912      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVII], [XX]                                                  Assessor's                        0.83              $91.18           $174,336.16                                                                      CALDERON GLORIMAR                                                  Tax Records + Title/Deed         10/25/2006              4/10/2014                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1618    Ex 10/79   Meier, Harald                   15991 Old Wedgewood Court       Ft. Myers        FL      33908   [XIII], [XV],            7/5/2011     Yes         6,487      Property Tax      Yes                                                                  ProWall            Photo             43             G           MEIER HARALD CLAUS                                                                                                                              Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.80              $87.88           $570,077.56                                                                      HERMANN TR FOR MEIER               Owner as of 6/9/15              City or County Tax Records        3/16/2009           Current Owner                                       12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                           FLORIDA TRUST                                                                                                                                                                Fort Myers, FL 33907
 1619    Ex 10/79   Meinholz, Nancy                 1660 Renaissance Commons        Boynton Beach    FL      33426   [II(C)], [III],          10/7/2009    Yes         1,119      Property Tax      Yes                                                                  IMT                Photo             31, 32         F                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                         STANWICH MORTGAGE LOAN Owner as of 6/9/15, No Longer
                                                    Blvd. Unit 2211                                                  [XV], [XVI],                                                  Assessor's                        0.82              $90.08           $100,799.52                                                                                                                                         Tax Records + Title/Deed          2/28/2007              1/26/2017                                        900 W. Morgan Street                                                                 $93,660.71
                                                                                                                                                                                                                                                                                                                                         TRUST A                Owns Property
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 1620    Ex 10/79   Meinke, Mark and Jennifer       11540 Hammocks Glade Drive      Riverview        FL      33569   [III(A)], [VII],         9/16/2010    Yes         1,146      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                  Assessor's                        0.83              $91.18           $104,492.28                                                                      KACER STEPHANIE                                                    Tax Records + Title/Deed           9/8/2006              4/11/2011                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1621    Ex 10/79   Meister, David and Diane        6060 Jonathan’s Bay Circle      Ft. Myers        FL      33908   [II(C)], [III],          10/7/2009    Yes         2,069      Property Tax      Yes                                                                  Taishan            Photo             5, 6           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Owner as of 6/9/15, No Longer
                                                    #302                                                             [VII], [XV],                                                  Assessor's                        0.80              $87.88           $181,823.72                                                                      BARKER CAROL JEAN                                                  City or County Tax Records        6/19/2006             12/23/2015                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                            Owns Property
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1622    Ex 10/79   Melerine, Clifton and Glenda    2133 Fable Drive                Meraux           LA      70075   [III(A)], [XV],          9/16/2010    Yes         1,079      Property Tax      Yes                                                                  Taihe              Photo             14, 18         H, I                                                                                                                                                        Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                                                                                            MELERINE, CLIFTON                                                                                                                                                            Baron & Budd
                                                                                                                                                                                                                     0.86              $94.47           $101,933.13                                                                                                         Owner as of 6/9/15              City or County Tax Records         5/2/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                 Document with                                                                                                                                           ANTHONY                                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1623    Ex 10/79   Melerine, Marty and Rose        2101 Emilie Oaks Drive          Meraux           LA      70075   [XV], [XVI],             7/5/2011     Yes         4,050      Property Tax      Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                     [XVII]                                                        Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                                             2800 Energy Centre
                                                                                                                                                                                                                     0.86              $94.47           $382,603.50                                                                      S & A LIVING TRUST                                                 City or County Tax Records        7/25/2006             11/20/2015                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                              Owns Property                                                                                                                             1100 Poydras Street
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
 1624    Ex 10/79   Melton, Carolyn and Jackson,    340B 13th Avenue North          Birmingham       AL      35234   [II(C)], [III],          10/7/2009    Yes         2585       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                    Ivory                                                                                            [XV], [XVI],                                                  Assessor's                        0.84              $92.27           $238,517.95                                                                      MELTON CAROLYN                     Owner as of 6/9/15              City or County Tax Records       12/27/2002           Current Owner                                       900 W. Morgan Street                                                                   $0.00
                                                                                                                     [XVII], [XXI]                                               Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 1625    Ex 10/79   Mena, Eduardo and Claudia       8105 W 36th Avenue Unit 1       Hialeah          FL      33018   [IX], [XIII],            5/5/2011     Yes         1,344      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XV], [XVI],                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81              $88.98           $119,589.12                                                                      CLAUDIA ARAUZ                      Owner as of 6/9/15              City or County Tax Records        3/15/2007           Current Owner                                                                                                                              $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
 1626    RP         Mendez, Claudia                 12960 Turtle Cove Trail North   Ft. Myers        FL      33903   [II], [XV], [XVI],       3/15/2010    Yes         2,639      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                        Assessor's                        0.80              $87.88           $231,915.32                                                                      GU LATIES DEENA                                                    Tax Records + Title/Deed           1/9/2007              7/22/2013                                        316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
 1627    RP         Mendez, Lincoln and America     4180 North Highway A1A Unit Hutchinson Island    FL      34949   [II], [XIII], [XV],      3/15/2010    Yes         2,833      Property Tax      Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                See Oceanique
                                                    801B                                                             [XVI], [XVII]                                                 Assessor's                                                                                                                                            GLENN M MOYER (TR) & LOIS Previous Owner, Did Not Own                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson                                                                                  Development
                                                                                                                                                                                                                     0.82              $90.08           $255,196.64                                                                                                                                         City or County Tax Records        2/16/2007              1/27/2014                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                           J MOYER (TR)              Property on 6/9/15                                                                                                    Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                                                 Community on OCXX
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
 1628    RP         Mendez, Wilmer                  2201 N.E. 4th Avenue            Cape Coral       FL      33909   [IX], [XV],              5/5/2011     Yes         1,652      Property Tax      Yes                                                                  IMT                Photo             33             F                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                         DINH CHUOP THI LE + DINH           Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.80              $87.88           $145,177.76                                                                                                                                         Tax Records + Title/Deed          5/30/2008              4/13/2011                                        316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                         KHANG VAN T/C                      Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 46 of 82



Claimant Source     Claimant Name                   Affected Property Address     City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
 1629    Ex 10/79   Mendoza, Maritza                20320 SW 87 Place             Cutler Bay        FL      33189   [IX], [XV],               5/5/2011     Yes         1,998      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.81                $88.98          $177,782.04                                                                        MARITZA MENDOZA                    Owner as of 6/9/15              City or County Tax Records        9/22/2006           Current Owner                                                                                                                               $33,891.71
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1630    Add.       Menz, Charlotte                 112 SW 35th Avenue            Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         1,718      Property Tax     Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee               C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           MCINNES-FLAUGHER MARY              Previous Owner, Did Not Own
         Taishan                                                                                                    [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $150,977.84                                                                                                                                           Tax Records + Title/Deed           2/5/2009              11/5/2010                                          2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           M + FLAUGHER JEREMY J              Property on 6/9/15
         Prop.                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            300
 1631    Ex 10/79   Mertlitz, Andy                  100 Andy Drive                Dekalb            TX      75559   [III(A)], [VII],          9/16/2010    Yes         3,200      Property Tax     Yes                                                                   Taihe              Photo               17             I                                                                                                                                                           Seeger Weiss                   Christopher Seeger, Esq.            (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                    [IX], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                                                             77 Water Street
                                                                                                                                                                                                                    0.83                $91.18          $291,776.00                                                                        MERTLITZ, ANDREAS                  Owner as of 6/9/15              City or County Tax Records        2/19/2009           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVI], [XVII],                                               Document with                                                                                                                                                                                                                                                                                                                            New York, NY 10005
                                                                                                                    [XXVII]                                                      Square Footage
 1632    RP         Meserve, Living Trust of Roklyn 619 NW 1st Terrace            Cape Coral        FL      33993   [IX], [XV],               5/5/2011     Yes         1,975      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $173,563.00                                                                        RUGGIERO MARK ALAN                                                 Tax Records + Title/Deed         11/28/2005              7/2/2014                                           12800 University Drive, Suite 600                    m                                $88,160.70
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1633    RP         Metcalfe, George and Amy        106 NW Willow Grove Avenue, Port St. Lucie      FL      34986   [II(B)], [III],           10/7/2009    Yes         2,491      Property Tax      Yes                                                                  Taishan            Photo               2, 12          J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605     rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              MAURICIO SALAS (TR)                Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $224,389.28                                                                                                                                           City or County Tax Records        5/26/2006              3/14/2012                                                                                                                                  $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                             ALEXANDRA SANCHEZ (TR)             Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1634    Ex 10/79   Meyaski, Grenes                 532 Emerald Street            New Orleans       LA      70124   [III(A)], [VII],          9/16/2010    Yes         3,279      Property Tax      Yes                                                                  Taihe              Photo               17, 20, 21     I                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.              (504) 581-9065     srb@mbfirm.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              MEYASKI GRENES J II                                                                                                                                                            338 Lafayette Street
                                                                                                                                                                                                                     0.86               $94.47          $309,767.13                                                                                                           Owner as of 6/9/15              City or County Tax Records        12/4/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                             MEYASKI STACEY L                                                                                                                                                               New Orleans, LA 70130
                                                                                                                                                                                 Square Footage
 1635    Ex 10/79   Meyer, Harry E. Jr.             3014 Spruce Street            Zolfo Springs     FL      33890   [III], [XV],              10/7/2009    Yes         2,430      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                    (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                           MEYER HARRY E &
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $213,548.40                                                                                                           Owner as of 6/9/15              City or County Tax Records        3/13/1995           Current Owner                                       4265 San Felipe, Suite 1000                            om                                 $0.00
                                                                                                                                                                                                                                                                                                                                           ROBERTA M
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Houston, TX 77027
 1636    Ex 10/79   Meyer, Ken                      120 SE 4th Terrace            Cape Coral        FL      33990   [IX], [XV],               5/5/2011     Yes         1,635      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $143,683.80                                                                        MEYER KENNETH L                    Owner as of 6/9/15              City or County Tax Records        5/27/2005           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 1637    Ex 10/79   Meyers, Stuart and Lee          12491 Verandah Blvd.          Ft. Myers         FL      33905   [II], [VII], [XV],        3/15/2010    Yes         2,919      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $256,521.72                                                                        MEYERS STUART D                    Owner as of 6/9/15              City or County Tax Records        5/16/2005           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1638    RP         Michalopoulos, Anthony and      538 S.E. 2nd Street           Cape Coral        FL      33990   [XIII], [XV],             7/5/2011     Yes         1,534      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                    Sheridan, Lindsey                                                                               [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.80               $87.88          $134,807.92                                                                        BAREFORD ANNA                                                      Tax Records + Title/Deed          6/11/2008              8/21/2012                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1639    Ex 10/79   Micken, Gail                    7732 Lady Gray                New Orleans       LA      70127   [II], [II(A)], [VII],     3/15/2010    Yes          900       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.        (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [IX], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                                                           425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                     0.86               $94.47           $85,023.00                                                                        MICKEN GAIL M                      Owner as of 6/9/15              City or County Tax Records        5/24/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
                                                                                                                                                                                 Square Footage
 1640    Ex 10/79   Micken, Gail                    7735 Lafourche Street         New Orleans       LA      70127   [II], [II(A)], [VII],     3/15/2010    Yes         1,970      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [IX], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                                                             425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                     0.86               $94.47          $186,105.90                                                                        MICKEN GAIL R                      Owner as of 6/9/15              City or County Tax Records        3/27/2004           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
                                                                                                                                                                                 Square Footage
 1641    Ex 10/79   Miguelez, David and Stephanie   330 Cipriani Way              North Venice      FL      34275   [XIII], [XV],             7/5/2011     Yes         1,759      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                (954) 763-8181       mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MIGUELEZ DAVID MIGUELEZ
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $160,385.62                                                                                                Owner as of 6/9/15                         Tax Records + Title/Deed         12/19/2006           Current Owner                                       12 SE 7th St #801                                                                      $117,601.96
                                                                                                                                                                                                                                                                                                                                           STEPHANIE
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 1642    Ex 10/79   Mihelich, George and Mara       14015 SW 32nd Street          Miramar           FL      33027   [IX], [XV],               5/5/2011     Yes         2,343      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.             (305) 442-1700       durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           MIHELICH,GEORGE E &
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $208,480.14      Manufacturer 2                                                                                       Owner as of 6/9/15              City or County Tax Records        9/17/2004           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                           MARA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 1643    Ex 10/79   Mike, Tamas and Blanar, Eva     6302 N. 17th Street           Tampa             FL      33610   [II(C)], [IX],            1/24/2011    Yes         1,784      Property Tax      Yes                                                                  Taihe              Photo               18, 21         I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                (239) 433-6880       PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           MACCRIMMON BRENDA SUE
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               12800 University Drive, Suite 600                      m
                                                                                                                                                                                                                     0.83               $91.18          $162,665.12                                                                        STEELE                                                             Tax Records + Title/Deed         12/20/2006             10/16/2007                                                                                                                                  $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                           STEELE MARK JOSEPH
                                                                                                                                                                                 Square Footage
 1644    Ex 10/79   Miller, Alan and Christine      983 Fish Hook Cove            Bradenton         FL      34212   [III], [IX], [XV],        10/7/2009    Yes         3,101      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           MILLER, ALAN AND
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $282,749.18                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/15/2006           Current Owner                                         12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           CHRISTINE
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 1645    Ex 10/79   Sheridan Beach Club             509 E. Sheridan Street #306   Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                              MILLER,BRENDA J                                                                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $102,327.00                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed           5/8/2007           Current Owner                                                                                                                                 $0.00
                    Inc. (Miller, Brenda J. and                                                                                                                                  Document with                                                                                                                                             H/EMARTINEZ,WILLIAM                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                    Martinez, William)                                                                                                                                           Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1646    RP         Miller, Craig and Danyell       1045 Venetian Drive #203      Melbourne         FL      32904   [II(B)], [VII],           12/6/2010    Yes         1,781      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                              PANG, TIANTIAN; LUO, JI;           Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                     0.84               $92.27          $164,332.87                                                                                                                                           City or County Tax Records        7/31/2006              1/24/2013                                                                                                                                  $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                             PANG, ERCHENG                      Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1647    Ex 10/79 & Miller, Donald and Judith       1837 Notre Dame Avenue        Port St. Lucie    FL      34953   [III(A)], [XV],           9/16/2010    Yes         1,289      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           THOMPSON-                          Previous Owner, Did Not Own
         Omni XX                                                                                                    [XVI], [XVII],                                                 Assessor's                        0.82               $90.08          $116,113.12                                                                                                                                           City or County Tax Records        9/30/2010              8/15/2014                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           MORGAN,CHARLETT R                  Property on 6/9/15
                                                                                                                    [XX]                                                         Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1648    Ex 10/79   Miller, Elwood                  3308 Arran Thistle            Williamsburg      VA      23188   [II(A)], [XV],            9/16/2010    Yes         1,334      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $140,683.64                                                                        MILLER, ELWOOD M                   Owner as of 6/9/15              City or County Tax Records        6/12/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1649    Ex 10/79   Miller, Karen and Buras, Clyde, 2301 Guillot Drive            St. Bernard       LA      70085   [III(A)], [VII],          9/16/2010    Yes          960       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm/ Morris Bart   Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                    Sr.                                                                                             [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              LLC                            Becnel Law Firm, LLC
                                                                                                                                                                                                                     0.86               $94.47           $90,691.20                                                                        MILLER, KAREN KRAMER               Owner as of 6/9/15              City or County Tax Records       11/29/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            425 W. Airline Hwy, Suite B
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
 1650    Ex 10/79   Miller, Mitchell                13320 Shetland Lane           Ft. Myers         FL      33912   [XV], [XVI],              7/5/2011     Yes         2,173      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                              MILLER MITCHELL W +                                                                                                                                                            Baron & Budd
                                                                                                                                                                                                                     0.80               $87.88          $190,963.24                                                                                                           Owner as of 6/9/15              City or County Tax Records        8/27/1997           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             MILLER WAYNE F J/T                                                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1651    Ex 10/79   Miller, Robert                  1660 Renaissance Commons      Boynton Beach     FL      33426   [III], [IX], [XV],        10/7/2009    Yes         1,460      Property Tax      Yes                                                                  IMT                Photo               32             F                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                    Blvd, Unit 2205                                                 [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $131,516.80                                                                        MILLER ROBERT                      Owner as of 6/9/15              City or County Tax Records       10/29/2007           Current Owner                                         900 W. Morgan Street                                                                 $102,216.71
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 1652    Ex 10/79   Miller, Ronald and Lisa Sr.     9660 Harbour Drive            Alberta           AL      36530   [III], [VII], [XV],       10/7/2009    Yes          980       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                           MILLER, RONALD T ETAL
                                                                                                                    [XVI], [XVII],                                                 Assessor's                        0.84               $92.27           $90,424.60                                                                                                           Owner as of 6/9/15              City or County Tax Records       10/15/2007           Current Owner                                         316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                           LISA A
                                                                                                                    [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 1653    Ex 10/79   Miller, Yasha                   2912 Shannon Drive            Violet            LA      70092   [III(A)], [VII],          9/16/2010    Yes         1,302      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm/ Morris Bart   Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              LLC                            Becnel Law Firm, LLC
                                                                                                                                                                                                                     0.86               $94.47          $122,999.94                                                                        MILLER, YASHA G.                   Owner as of 6/9/15              City or County Tax Records        4/12/2011           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            425 W. Airline Hwy, Suite B
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
 1654    Ex 10/79   Millet, Jonathan                6530 Avenue B                 New Orleans       LA      70124   [XV], [XVI],              7/5/2011     Yes         1,134      Property Tax      Yes                                                                  Crescent City      Inspection Report   N/A            D                                                                                                                                                           Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
                                                                                                                    [XVII]                                                         Assessor's                        0.86               $94.47          $107,128.98                                                                        MILLET JONATHAN A                  Owner as of 6/9/15              City or County Tax Records         6/4/2007           Current Owner                                         724 East Boston Street                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Covington, LA 70433
 1655    RP         Milligan, Robin                 4349 Crystal Downs Court      Wesley Chapel     FL      33543   [XV], [XVI],              7/5/2011     Yes         2,341      Property Tax      Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                           LIU XIAOBO &                       Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                        0.83               $91.18          $213,452.38                                                                                                                                           Tax Records + Title/Deed          12/3/2007             10/24/2011                                          2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           JIN GUIXIAN                        Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            650
 1656    Ex 10/79   Mione, Anthony and Lillian      565 S.W. Haskell Avenue       Port St. Lucie    FL      34953   [II(B)], [IX],            12/6/2010    Yes         2,065      Property Tax      Yes                                                                  Taishan/ IMT       Photo               2, 9, 12, 31   F, J                                                                                                                                                        Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                           ANTHONY C MIONE
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $186,015.20                                                                        LILLIAN R AURICCHIO-               Owner as of 6/9/15              City or County Tax Records        9/22/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           MIONE
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1657    Ex 10/79   Mirakian, Samuel                20316 Larino Loop             Estero            FL      33928   [II], [XV], [XVI],        3/15/2010    Yes         2,282      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                        0.80               $87.88          $200,542.16                                                                        HART THOMAS E + DIANE T                                            Tax Records + Title/Deed          7/28/2006              8/12/2011                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1658    Ex 10/79   Miranda, Jose and Adela         8890 SW 229 Street            Miami             FL      33190   [II], [III], [VII],       10/7/2009    Yes         1,988      Property Tax      Yes                                                                  Taihe              Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [IX], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $176,892.24                                                                        JOSE F MIRANDA &W ADELA Owner as of 6/9/15                         Tax Records + Title/Deed           1/5/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 1659    Ex 10/79   Miranda, Sergio                 8019 W. 36th Avenue Unit #6   Hialeah           FL      33018   [XIII], [XV],             7/5/2011     Yes         1,464      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.81               $88.98          $130,266.72                                                                        SERGIO O MIRANDA                   Owner as of 6/9/15              City or County Tax Records        2/20/2007           Current Owner                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1660    Ex 10/79   Mis, Michael and Delma          110 NE 21st Avenue            Cape Coral        FL      33909   [XV], [XVI],              7/5/2011     Yes         2,507      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           MIS D JANNETTE +
                                                                                                                    [XVII]                                                         Assessor's                        0.80               $87.88          $220,315.16                                                                                                           Owner as of 6/9/15              City or County Tax Records         9/6/2002           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           MIS MICHAEL J J/T
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1661    Ex 10/79   Mishkind, Howard and Jane       9531 26th Bay Street          Norfolk           VA      23518   [IX], [XV],               5/5/2011     Yes         1,848      Property Tax      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                              MISHKIND, HOWARD D &                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $190,824.48                                                                                                           Owner as of 6/9/15              City or County Tax Records         8/2/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             JANE R TRS A                                                                                                                                    Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1662    Ex 10/79   Mitchell, Paul and Tellina      10902 NW 83rd Street Building Doral             FL      33178   [II], [XV], [XVI],        3/15/2010    Yes         1,382      Property Tax      Yes                                                                  Dragon Brand       Photo               26             A                                                                                                                                                           Podhurst Orseck                Robert C. Josefsberg, Esq.          (305) 358-2800   rjosefsberg@podhurst.com                           BKC confirmed square
                                                    7, Unit 201                                                     [XVII]                                                         Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                 Suntrust International Center                                                                           footage.
                                                                                                                                                                                                                     0.81               $88.98          $122,970.36                                                                        OCEAN INVESTMENTS CORP                                             Tax Records + Title/Deed           3/9/2007              3/10/2014                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          One S.E. 3rd Avenue, Suite 2700
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Miami, FL 33131
 1663    Ex 10/79   Mitchell, Robert and Bonnie     1442 Eldorado Parkway         Cape Coral        FL      33914   [II(C)], [III], [IX],     10/7/2009    Yes         4,052      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           MITCHELL ROBERT R +
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $356,089.76                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/21/1999           Current Owner                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           BONNIE M
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1664    Ex 10/79   Mohammed, Imtiaz and Sabita     324 Laurel Avenue South       South Lehigh Acres FL     33974   [II], [XV], [XVI],        3/15/2010    Yes         1,714      Property Tax      Yes                                                                  Taishan            Photo               2, 7, 9        J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           MOHAMMED IMTIAZ +
                                                                                                                    [XVII]                                                         Assessor's                        0.80               $87.88          $150,626.32                                                                                                           Owner as of 6/9/15              City or County Tax Records       11/15/2006           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           SABITA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1665    RP         Molina, Carlos and Margarita    1690 Renaissance Commons      Boynton Beach     FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com                                     See Hernan Vazquez
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    Blvd., Unit 1308                                                [XVII]                                                         Assessor's                        0.82               $90.08          $111,699.20                                                                        VAZQUEZ HERNAN P                                                   Tax Records + Title/Deed           5/7/2007              3/8/2010                                           900 W. Morgan Street                                                                 $100,566.97        on OCXX
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 47 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
 1666    Ex 10/79   Blue Water Coach Homes          182 Shadroe Cove Circle, #801 Cape Coral         FL      33991   [XV], [XVI],              7/5/2011     Yes         1,646      Property Tax     Yes                                                                   Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Association, Inc.                                                                    [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                     0.80                $87.88          $144,650.48                                                                      MOLINARO PETER + LINDA             Owner as of 6/9/15              City or County Tax Records       12/20/2006           Current Owner                                                                                                                               $0.00
                    (Molinaro, Peter)                                                                                                                                             Document with                                                                                                                                                                                                                                                                                           Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1667    Ex 10/79   Monge, Erika                    8171 W 36th Avenue #3          Hialeah           FL      33018   [II(A)], [II(B)],         9/16/2010    Yes         1,360      Property Tax     Yes                                                                   IMT                Photo             33             F                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                   Assessor's                                                                                                                                            ELIAS MONGE &W PIEDAD &                                                                                                                         Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                     0.81                $88.98          $121,012.80                                                                                              Owner as of 6/9/15                         City or County Tax Records        1/18/2008           Current Owner                                                                                                                               $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                           ERIKA MONGE                                                                                                                                     Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1668    Ex 10/79   Monge, Giraldo and Kelly        177 SE 2nd Court               Deerfield Beach   FL      33441   [II], [VII], [XV],        3/15/2010    Yes         1,398      Property Tax     Yes                                                                   Taishan            Photo             5              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                     0.82                $90.08          $125,931.84                                                                      RIVERA,GILDARDO M                  Owner as of 6/9/15              Tax Records + Title/Deed          8/28/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                           Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1669    Ex 10/79   Monte, Michael and Kara         1450 McIlin Drive              Plant City        FL      33565   [II(B)], [XV],            12/6/2010    Yes         3,251      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          MONTE MICHAEL A
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $296,426.18                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          11/2/1992           Current Owner                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          MONTE KARA BETH
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1670    Ex 10/79   Montero, Jorge and Niza         11622 Hammocks Glade Drive     Riverview         FL      33569   [XV], [XVI],              7/5/2011     Yes         2,176      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                                                                                                                     [XVII]                                                         Assessor's                        0.83               $91.18          $198,407.68                                                                      EUROPROYECTOS LLC                                                  Tax Records + Title/Deed           6/7/2007              3/16/2016                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1671    Ex 10/79   Moody, Russel and Beverly       806 NW 38th Place              Cape Coral        FL      33993   [II(B)], [XV],            12/6/2010    Yes         2,763      Property Tax      Yes                                                                  ProWall            Photo             43             G           MOODY RUSSELL F +                                                                                                                               Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                            BEVERLY L TR                                                                                                                                                                  12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                      0.80               $87.88          $242,812.44                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          7/26/2001           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                           FOR RUSSELL + BEVERLY                                                                                                                                                         Fort Myers, FL 33907
                                                                                                                                                                                  Square Footage                                                                                                                                          MOODY TRUST
 1672    Ex 10/79   Moore, David and Deborah        10320 SW Stephanie Way #7-     Port St. Lucie    FL      34987   [II(B)], [III(A)],        9/16/2010    Yes         1,448      Property Tax      Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                    208                                                              [VII], [XV],                                                   Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                      0.82               $90.08          $130,435.84                                                                      ROSANA BASURTO                                                     City or County Tax Records        4/25/2006              3/7/2012                                                                                                                                 $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                              Property on 6/9/15                                                                                           Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1673    Ex 10/79   Moore, Jerry and Rhonda         20001 US Hwy 411               Springville       AL      35146   [II(C)], [III],           10/7/2009    Yes         2056       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                            MOORE JERRY E & RHONDA                                                                                                                                                        900 W. Morgan Street
                                                                                                                                                                                                                      0.84               $92.27          $189,707.12                                                                                                         Owner as of 6/9/15              City or County Tax Records       10/15/2008           Current Owner                                                                                                                               $0.00
                                                                                                                     [XVII], [XXI]                                                Document with                                                                                                                                           A                                                                                                                                                                             Raleigh, NC 27603
                                                                                                                                                                                  Square Footage
 1674    Ex 10/79   Moore, John and Debra           1568 Pleasant Grove            Dolomite          AL      35061   [IX], [XV],               5/5/2011     Yes         1995       Property Tax      Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $184,078.65                                                                      MOORE JOHN C & DEBRA               Owner as of 6/9/15              City or County Tax Records         8/1/2002           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                     [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 1675    Ex 10/79   Moore, Johnny and Brenda        1464 Edward Street             Dolomite          AL      35061   [IX], [XV],               5/5/2011     Yes         2090       Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          MOORE JOHNNY F &
                                                                                                                     [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $192,844.30                                                                                                         Owner as of 6/9/15              City or County Tax Records        1/18/2000           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                          BRENDA J
                                                                                                                     [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 1676    Ex 10/79   Moore, Leon                     6945 Virgilian Street          New Orleans       LA      70126   [III], [VII], [XV],       10/7/2009    Yes         1,573      Property Tax      Yes                                                                  Taihe              Photo             13             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $148,572.97                                                                      MOORE LEON                         Owner as of 6/9/15              City or County Tax Records        3/12/2001           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       LaPlace, LA 70064
 1677    Ex 10/79   Mora, August, Jr.               335/337 West Robert E. Lee     New Orleans       LA      70124   [II(A)], [XV],            9/16/2010    Yes         1,288      Property Tax      Yes                                                                  Taihe              Photo             14, 21         H, I                                                                                                                                                        Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                    Blvd.                                                            [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $121,677.36                                                                      MORA AUGUST T JR                   Owner as of 6/9/15              City or County Tax Records        2/17/2004           Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 1678    Ex 10/79   Morales, Jose and Dawn          215 NW 29 Terrace              Cape Coral        FL      33993   [II], [XV], [XVI],        3/15/2010    Yes         1,781      Property Tax      Yes                                                                  Taishan            Photo             7              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $156,514.28                                                                      MORALES JOSE R + DAWN L            Owner as of 6/9/15              Tax Records + Title/Deed          7/29/2005           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1679    Ex 10/79   Moran, Shawn and Jill           735 Angela Avenue              Arabi             LA      70032   [II], [IX], [XV],         3/15/2010    Yes         1,152      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $108,829.44                                                                      MORAN, SHAWN M.                    Owner as of 6/9/15              City or County Tax Records         6/5/2007           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        303
 1680    Ex 10/79   Morel, Rudolph                  1236 Alvar Street              New Orleans       LA      70124   [III], [VII], [XV],       10/7/2009    Yes         1,176      Property Tax      Yes                                                                  Taihe              Photo             13             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $111,096.72                                                                      THOMAS STANLEY                                                     City or County Tax Records        8/17/2006              6/7/2016                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                              Owns Property                                                                                                                             425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       LaPlace, LA 70064
 1681    Ex 10/79   Morgan, Joan                    2202 Half Section Line Road    Albertville       AL      35950   [XV], [XVI],              7/5/2011     Yes         1368       Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                         Assessor's                        0.82               $90.08          $123,229.44                                                                      MORGAN, JOAN E                     Owner as of 6/9/15              City or County Tax Records       10/20/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        650
 1682    Ex 10/79   Morgan, Keith and Shirley       6545 Caicos Court              Vero Beach        FL      32967   [II], [VII], [XV],        3/15/2010    Yes         3,018      Property Tax      Yes                                                                  IMT                Photo             30             F                                                                                                                                                           Gould, Cooksey, Fennell, PA Brian Connelly, Esq.                  (772) 678-3521   bconnelly@gouldcooksey.c
                                                                                                                                                                                                                                                                                                                                          MORGAN, KEITH H JR AND
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.84               $92.27          $278,470.86                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          1/16/2007           Current Owner                                       979 Beachland Blvd.                                   om                                $0.00
                                                                                                                                                                                                                                                                                                                                          SHIRLEY C
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        Vero Beach, FL 32963
 1683    Ex 10/79   Morillo, Madelyn                11337 Bridge Pine Drive        Riverview         FL      33569   [II(C)], [III], [IX],     10/7/2009    Yes         1,912      Property Tax      Yes                                                                  Taishan            Photo             2, 12          J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          AMERICAN RESIDENTIAL               Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $174,336.16                                                                                                                                         Tax Records + Title/Deed          7/23/2007              6/3/2013                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                          LEASING COMPANY LLC                Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1684    Ex 10/79   Morin, Frank and Walsh, Gladys 10868 Tiberio Drive             Ft. Myers         FL      33913   [XIII], [XV],             7/5/2011     Yes         2,255      Property Tax      Yes                                                                  Taishan            Photo             7              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                            MORIN FRANK O + WALSH                                                                                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $198,169.40                                                                                                         Owner as of 6/9/15              City or County Tax Records        1/23/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                           GLADYS H/W                                                                                                                                      Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1685    Ex 10/79   Morisset, Onel and Margareth    2414 E. 31st Avenue            Tampa             FL      33610   [II(C)], [VII],           1/14/2011    Yes         1,614      Property Tax      Yes                                                                  Taishan/ Taihe     Photo             12, 14         H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                            MORISETT ONEL                                                                                                                                   Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.83               $91.18          $147,164.52                                                                                                         Owner as of 6/9/15              City or County Tax Records        1/31/2008           Current Owner                                                                                                                               $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                           MORISETT MARGARETH                                                                                                                              Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1686    RP         Moritz, Christy                 3704 Gallo Drive               Chalmette         LA      70043   [II], [III], [XV],        10/7/2009    Yes         1,644      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                          NEVELS, SHANNON                    Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $155,308.68                                                                                                                                         City or County Tax Records        4/16/2008              2/9/2012                                         701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                                                                                                                                                                          LEBOURGEOIS                        Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70166
 1687    RP         Morris, James and Joyce         12626 Astor Place              Ft. Myers         FL      33913   [II], [IX], [XV],         3/15/2010    Yes         2,214      Property Tax      Yes                                                                  C&K/ ProWall       Photo             35, 43         B, G                                                                                                                                                        Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $194,566.32                                                                      JUSTA INVESTMENTS LLC                                              Tax Records + Title/Deed           3/7/2008              3/12/2010                                        12800 University Drive, Suite 600                     m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1688    Ex 10/79   Morris, Robert                  14123 Stilton Street           Tampa             FL      33626   [III], [VII], [XV],       10/7/2009    Yes         2,627      Property Tax      Yes                                                                  Taihe              Photo             18, 21         I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                     (850) 435-7000   bgordon@levinlaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                         316 South Baylen St.
                                                                                                                                                                                                                      0.83               $91.18          $239,529.86                                                                      MORRIS ROBERT J                    Owner as of 6/9/15              Tax Records + Title/Deed          1/31/2012           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
                                                                                                                                                                                  Square Footage
 1689    Ex 10/79   Morton, Tony and Veronica and 703 SW 22nd Terrace              Cape Coral        FL      33991   [II], [XV], [XVI],        3/15/2010    Yes         2,034      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                    Tipton, Mendel and Debbie                                                                        [XVII]                                                         Assessor's                        0.80               $87.88          $178,747.92                                                                      PIRATE TOWN LLC                                                    Tax Records + Title/Deed          7/31/2008              9/15/2014                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 1690    Ex 10/79   Moses, Bryant and Brenda        1312-14 Coffin Avenue          New Orleans       LA      70117   [II(C)], [III],           10/7/2009    Yes         1,728      Property Tax      Yes                                                                  Crescent City      Photo             29             D                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                  919-600-5000       dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $163,244.16                                                                      BAUER SARAH B                                                      City or County Tax Records        6/27/2002             10/31/2013                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 1691    RP         Mosley, Shawn                   10440 SW Stephanie Way, Unit Port St. Lucie      FL      34987   [III], [XV],              10/7/2009    Yes           0        Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Pro Se                        N/A                               N/A                N/A                                               BKC obtained
                                                    203                                                              [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                                                                                                                       verification for this
                                                                                                                                                                                                                      0.82               $90.08             $0.00                                                                         GUADALUPE Y ESCOBAR                                                City or County Tax Records         8/8/2006              1/3/2013                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                                                                                                                                property from Zillow.
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                                                                                                                               See Promenade at
 1692    Ex 10/79   Mosley, Toni                    6143 Laurelwood Drive          Ft. Myers         FL      33905   [II], [VII], [XV],        3/15/2010    Yes         1,803      Property Tax      Yes                                                                  IMT                Photo             32, 33         F                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $158,447.64                                                                      KORTH JAMES F TR                                                   City or County Tax Records       12/14/2006             12/31/2014                                          27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1693    RP         Mosley, Tracey and Tami         12200 Minnesota Avenue         Punta Gorda       FL      33955   [IX], [XV],               5/5/2011     Yes         1,660      Property Tax      Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $145,880.80                                                                      MOSLEY TRACEY & TAMI               Owner as of 6/9/15              Title/Deed                       12/15/2004           Current Owner                                         255 Alhambra Circle, PH                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
 1694    Ex 10/79   Motollo, Eugene and Lynette     3608 101st Avenue E            East Parrish      FL      34219   [II(B)], [III],           10/7/2009    Yes         2,805      Property Tax      Yes                                                                  Taishan            Photo             8, 12          J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                            MOTTOLO, EUGENE R JR                                                                                                                            Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.83               $91.18          $255,759.90                                                                                              Owner as of 6/9/15                         Tax Records + Title/Deed         10/24/2007           Current Owner                                                                                                                               $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                           MOTTOLO, LYNIEL LYNETTE                                                                                                                         Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1695    Ex 10/79   Mowers, Matthew and Evelyn      321 Perrin Drive               Arabi             LA      70032   [III], [IX], [XV],        10/7/2009    Yes         1,904      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $179,908.67                                                                      MOWERS, EVELYN BREAUX              Owner as of 6/9/15              Tax Records + Title/Deed         12/28/2006           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                      $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          303
 1696    Ex 10/79   Mt. Joy Baptist Church          5640 Smith Lake Damn Road      Jasper            AL      35504   [II(C)], [XV],            1/24/2011    Yes         5472       Property Tax      Yes                                                                  Taihe              Photo             17, 19         I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $504,901.44                                                                      MT JOY CHURCH                      Owner as of 6/9/15              City or County Tax Records                            Current Owner                                         900 W. Morgan Street                                                                  $0.00
                                                                                                                     [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1697    Ex 10/79   Mueller, Lawrence and Jaime     939 Golden Pond Court          Cape Coral        FL      33909   [II(C)], [III],           10/7/2009    Yes         2,603      Property Tax      Yes                                                                  ProWall            Photo             44             G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          MUELLER LAWRENCE P +
                                                                                                                     [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $228,751.64                                                                                                         Owner as of 6/9/15              City or County Tax Records        8/20/2008           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                                                                                                                                                                          JAIME J
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1698    RP         Mueller, Shirley                10560 SW Stephanie Way Unit Port St. Lucie       FL      34987   [II(A)], [III], [IX],     10/7/2009    Yes         1,250      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Billing, Cochran, Lyles, Mauro Manuel Comras, Esq.                (561) 659-5970   MRC@bclmr.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                    1-207                                                            [XV], [XVI],                                                   Assessor's                        0.82               $90.08          $112,600.00                                                                      STUART COHEN                                                       City or County Tax Records        10/6/2006              5/19/2015           & Ramsey, P.A.                 1601 Forum Place, Suite 400                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          West Palm Beach, FL 33401
 1699    Ex 10/79   Muenchen, Stephen M. Jr.        2537 Deerfield Lake Court      Cape Coral        FL      33909   [III], [IX], [XV],        10/7/2009    Yes         2,603      Property Tax      Yes                                                                  ProWall            Photo             43             G           MUENCHEN STEPHEN M TR                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $228,751.64                                                                      FOR STEPHEN M MUENCHEN Owner as of 6/9/15                          City or County Tax Records        4/16/2008           Current Owner          Adelman LLP                    2665 South Bayshore Drive Suite                                                       $0.00
                                                                                                                                                                                  Document with                                                                                                                                           TRUST                                                                                                                                                                          300
 1700    Ex 10/79   Muenchen, Stephen, Sr.          2565 Keystone Lake Drive       Cape Coral        FL      33993   [IX], [XV],               5/5/2011     Yes         2,471      Property Tax      Yes                                                                  ProWall            Photo             44             G                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                          SCHUBERT DAVID +                   Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $217,151.48                                                                                                                                         Tax Records + Title/Deed          4/16/2008              1/28/2015           Adelman LLP                    2665 South Bayshore Drive Suite                                                       $0.00
                                                                                                                                                                                                                                                                                                                                          SCHUBERT KATHY                     Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          300
 1701    Ex 10/79   Mullaney, Matthew               1913 Maxey Manor Court         Virginia Beach    VA      23454   [XIII], [XV],             7/5/2011     Yes         1,842      Property Tax      Yes                                                                  Venture Supply     Photo             40             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $190,204.92                                                                      MATTHEW MULLANEY                   Owner as of 6/9/15              City or County Tax Records        8/24/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 1702    Ex 10/79   Mullen, Carl                    9948 Cobblestone Creek Drive   Boynton Beach     FL      33472   [XIII], [XV],             7/5/2011     Yes         4,001      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                            MULLEN CARL E &                                                                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.82               $90.08          $360,410.08                                                                                                         Owner as of 6/9/15              City or County Tax Records        11/1/2006           Current Owner                                                                                                                            $258,985.85
                                                                                                                                                                                  Document with                                                                                                                                           MULLEN ELIZABETH L                                                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1703    RP &       Mullet, III, Edwin A.- Trust    2008 E. Sylvia Blvd.           St. Bernard       LA      70085   [III], [VII], [XV],       10/7/2009    Yes         3,264      Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Willis & Buckley               William Buckley, Esq.              (504) 488-6301   bill@willisbuckley.com
         Omni XX    Fund                                                                                             [XVI], [XVII],                                                 Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                 3723 Canal Street
                                                                                                                                                                                                                      0.86               $94.47          $308,350.08                                                                      FISHER, CHARLES ROBERT, III                                        Tax Records + Title/Deed         11/22/1989              4/17/2012                                                                                                                                $0.00
                                                                                                                     [XX]                                                         Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                          New Orleans, LA 70119
                                                                                                                                                                                  Square Footage
                                                                                                                    Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 48 of 82



Claimant Source     Claimant Name                  Affected Property Address     City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                             2017 RS Means
Identifier                                                                                                                                 Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                           Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                               Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                 Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                   [A]
                                                                                                                                                                                  Sharefile
 1704    Ex 10/79   Mullins, Bobby W. and Darlyne 195 Charley Circle             Ramer            TN      38367   [IX], [XIII],             5/5/2011     Yes         1,888      Property Tax     Yes                                                                   Taihe              Photo               17             I                                                                                                                                                           Whitfield, Bryson & Mason,   Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                  [XV], [XVI],                                                   Assessor's                       0.76                $83.49          $157,629.12                                                                        MULLINS BOBBY W                    Owner as of 6/9/15              Tax Records + Title/Deed          6/17/2008           Current Owner          LLP Gentle, Turner & Sexton  900 W. Morgan Street                                                                     $0.00
                                                                                                                  [XVII], [XXVI]                                               Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1705    Ex 10/79   Mundee, Beryl                  4321 S. Liberty Street        New Orleans      LA      70115   [XIII], [XV],             7/5/2011     Yes         1,938      Property Tax     Yes                                                                   Taihe              Photo               15             I                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                 (504) 522-2304   gmeunier@gainsben.com
                                                                                                                  [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                           2800 Energy Centre
                                                                                                                                                                                                                  0.86                $94.47          $183,082.86                                                                        MUNDEE BERYL F                     Owner as of 6/9/15              City or County Tax Records        4/14/2008           Current Owner                                                                                                                                $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          1100 Poydras Street
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
 1706    Ex 10/79   Mundt, Elaine                  11806 Bayport Lane 2501       Ft. Myers        FL      33908   [II(C)], [III(A)],        9/16/2010    Yes         2,203      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         MARESCA MICHAEL S +                Previous Owner, Did Not Own
                                                                                                                  [IX], [XV],                                                    Assessor's                        0.80              $87.88           $193,599.64                                                                                                                                           City or County Tax Records       10/15/2006              4/29/2011                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                         HELENE D                           Property on 6/9/15
                                                                                                                  [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1707    Ex 10/79   Mundy, Terry and Pamela        2529 Paul Drive               Meraux           LA      70075   [II], [IX], [XV],         3/15/2010    Yes         2,154      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $203,488.38                                                                        MESHELL, SHANE M.                                                  City or County Tax Records         1/3/2008              1/29/2010                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1708    Ex 10/79   Mundy, Terry and Pamela        436 Llama Drive               Arabi            LA      70032   [XV], [XVI],              7/5/2011     Yes         2,035      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                  [XVII]                                                         Assessor's                        0.86              $94.47           $192,246.45                                                                        SPEARS, NICOLE SEANDRIA                                            City or County Tax Records       12/27/2006             12/11/2014                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1709    Ex 10/79   Muradali, Fazeel               5030 SW 126th Avenue, #221    Miramar          FL      33027   [VII], [XV],              1/14/2011    Yes         1,481      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Owner as of 6/9/15, No Longer
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.81              $88.98           $131,779.38                                                                        CITIMORTGAGE INC                                                   Tax Records + Title/Deed          9/19/2008              7/12/2016                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                            Owns Property
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1710    Ex 10/79   Murphy, Lawrence and Sharon    7021 Mayo Boulevard           New Orleans      LA      70126   [III], [III(A)],          10/7/2009    Yes         2,100      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                  [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                                                                                              LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                   0.86              $94.47           $198,387.00                                                                        MURPHY LAWRENCE                    Owner as of 6/9/15              City or County Tax Records         4/7/1993           Current Owner                                                                                                                                $0.00
                                                                                                                  [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 1711    Ex 10/79   Murphy, William                4755 Tuscan Loon Drive        Tampa            FL      33619   [II], [IX], [XV],         3/15/2010    Yes         1,200      Property Tax      Yes                                                                  C&K                Photo               34, 35         B                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $109,416.00                                                                        GLANCE GEORGE O III                                                Tax Records + Title/Deed          10/3/2008              4/16/2013                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1712    Ex 10/79   Murray, Paul                   1690 Renaissance Commons      Boynton Beach    FL      33426   [XV], [XVI],              7/5/2011     Yes         1,240      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                   Blvd., Unit 1522                                               [XVII]                                                         Assessor's                        0.82              $90.08           $111,699.20                                                                        MURRAY, PAUL                       Owner as of 6/9/15              City or County Tax Records        4/24/2007           Current Owner                                       900 W. Morgan Street                                                                   $92,937.47
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1713    Ex 10/79   Murray, Paul and Lois          1660 Renaissance Commons      Boynton Beach    FL      33426   [II], [III], [XV],        10/7/2009    Yes         1,240      Property Tax      Yes                                                                  IMT                Photo/ Inspection   32             F                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                         MURRAY, LOIS V; MURRAY,
                                                   Blvd, Unit 2415                                                [XVI], [XVII]                                                  Assessor's                        0.82              $90.08           $111,699.20                         Report                                                                            Owner as of 6/9/15              City or County Tax Records         3/7/2007           Current Owner                                       900 W. Morgan Street                                                                   $92,178.94
                                                                                                                                                                                                                                                                                                                                         PAUL M
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1714    Ex 10/79   Murray, Robin and Marva        535 Davidson Street South East Palm Bay        FL      32909   [II(C)], [III], [IX],     10/7/2009    Yes         2,296      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         MURRAY, ROBIN; MURRAY,
                                                   Unit 50                                                        [XV], [XVI],                                                   Assessor's                        0.84              $92.27           $211,851.92                                                                                                           Owner as of 6/9/15              City or County Tax Records        9/22/2005           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                         MARVA
                                                                                                                  [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1715    Ex 10/79   Musa, Massimo and Karrie       2208 SoHo Bay Court           Tampa            FL      33606   [II(A)], [II(B)],         9/16/2010    Yes         1,505      Property Tax      Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                  [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                   0.83              $91.18           $137,225.90                                                                        MUSA KARRIE                        Owner as of 6/9/15              City or County Tax Records        4/24/2007           Current Owner                                                                                                                                $0.00
                                                                                                                  [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1716    Ex 10/79   Muth, Fred and Linda           4148 Bismarck Palm Drive      Tampa            FL      33610   [XIII], [XV],             7/5/2011     No          1,240      Property Tax      Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Lucas Magazine               Martin Macyszyn, Esq.                (727) 849-5353   martin@lgmlawgroup.com
                                                                                                                  [XVI], [XVII]                                                  Assessor's                                                                                                                                              RAHIM EVELYN                       Previous Owner, Did Not Own                                                                                                               Liberty Professional Building
                                                                                                                                                                                                                   0.83              $91.18           $113,063.20                                                                                                                                           Tax Records + Title/Deed           2/7/2007              8/25/2012                                                                                                                                 $0.00
                                                                                                                                                                               Document with                                                                                                                                             CESANI FREDDY                      Property on 6/9/15                                                                                                                         8606 Government Drive
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                          New Port Richey, FL 34654
 1717    RP         Myers, Paul and Lisa           376 NW Sheffield              Port St. Lucie   FL      34987   [II(B)], [VII],           12/6/2010    Yes         2,946      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                  [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                   0.82              $90.08           $265,375.68                                                                        JANICE L HARRS                                                     City or County Tax Records        5/27/2005             11/26/2011                                                                                                                                 $0.00
                                                                                                                  [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1718    Ex 10/79   Myott, Frances (NKA Cope)      3208 Rannock Moor             Williamsburg     VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,334      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                  [XVII]                                                         Assessor's                                                                                               Property Assessment                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                   0.96              $105.46          $140,683.64                                                                        COPE, FRANCES JEAN                 Owner as of 6/9/15              City or County Tax Records        4/24/2012           Current Owner                                                                                                                                $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1719    Ex 10/79   Nane, Earline and Salah        10104 S. Kelly Lane           Waggaman         LA      70094   [VII], [XV],              1/14/2011    Yes         2,312      Property Tax      Yes                                                                  Crescent City      Video               27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $218,414.64                                                                        NANE,EARLINE D                     Owner as of 6/9/15              Tax Records + Title/Deed          4/19/2010           Current Owner                                       425 W. Airline Hwy, Suite B                                                              $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
 1720    Ex 10/79   Nappa, Michael and Teresa      3020 Lake Manatee Court       Cape Coral       FL      33909   [XV], [XVI],              7/5/2011     Yes         3,829      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                  [XVII]                                                         Assessor's                        0.80              $87.88           $336,492.52                                                                        WALCZAK STEPHANIE                                                  Tax Records + Title/Deed         10/20/2006              1/13/2015                                        12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1721    Ex 10/79   Nardone, George                2049 Diplomat Parkway W.      Cape Coral       FL      33993   [XV], [XVI],              7/5/2011     Yes         1,821      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                  [XVII]                                                         Assessor's                        0.80              $87.88           $160,029.48                                                                        NARDONE GEORGE                     Owner as of 6/9/15              City or County Tax Records        8/21/2009           Current Owner                                       12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 1722    Ex 10/79   Nash, Troy                     6483 Leonard Avenue           Port St. John    FL      32927   [XV], [XVI],              7/5/2011     Yes         1,924      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                         MITCHELL, NEIL L;                  Previous Owner, Did Not Own
                                                                                                                  [XVII]                                                         Assessor's                        0.84              $92.27           $177,527.48      Manufacturer 2                                                                                                                       City or County Tax Records        6/10/2005              10/2/2014                                        2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                         MITCHELL, GWENDOLYN S              Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          650
 1723    Ex 10/79   Nathan, Vernette               228 Wildlife Trace            Chesapeake       VA      23320   [IX], [XIII],             5/5/2011     Yes         3,198      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                  [XV], [XVI],                                                   Assessor's                                                                                               Property Assessment                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                   0.94              $103.26          $330,225.48                                                                        NATHAN VERNETTE                    Owner as of 6/9/15              City or County Tax Records        6/28/2006           Current Owner                                                                                                                                $0.00
                                                                                                                  [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1724    Add.       Naustdal, Donna                2576 Keystone Lake Drive      Cape Coral       FL      33909   [IX], [XV],               5/5/2011     Yes         1,556      Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Roberts & Durkee             C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                         DUNLAP BARTON THOMAS JR Owner as of 6/9/15, No Longer
         Taishan                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $136,741.28                                                                                                                                           Tax Records + Title/Deed          4/22/2008              5/24/2016                                        2665 South Bayshore Drive Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                         + DUNLAP BARBARA J      Owns Property
         Prop.                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 1725    Ex 10/79   Neal, Stephen                  2817 NE 5th Avenue            Cape Coral       FL      33909   [VII], [XIII],            1/14/2011    Yes         1,718      Property Tax      Yes                                                                  Taishan            Photo               7, 12          J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                  [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                   0.80              $87.88           $150,977.84                                                                        NEAL STEVEN                        Owner as of 6/9/15              City or County Tax Records         6/3/2008           Current Owner                                                                                                                                $0.00
                                                                                                                  [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1726    RP         Necastro, Daniel CC. and       8617 Via Rapallo Drive        Estero           FL      33928   [II], [XIII], [XV],       3/15/2010    Yes         1,836      Property Tax      Yes                                                                  IMT                Photo               30             F                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                    Maryjo                                                                                        [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $161,347.68                                                                        TENUTO ANDY + LINDA                                                Tax Records + Title/Deed          1/19/2007              11/4/2013                                        255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
 1727    Ex 10/79   Negrov, Pavel                  1316 Nucelli Road             North Port       FL      34288   [III(A)], [XV],           9/16/2010    Yes         2,112      Property Tax      Yes                                                                  Taishan            Photo               2, 7, 9        J                                                                                                                                                           Norton, Hammersley, Lopez & Darren Inverso, Esq.                  (941) 954-4691   dinverso@nhlslaw.com
                                                                                                                                                                                                                                                                                                                                         SCRIVENS JACK E SCRIVENS           Previous Owner, Did Not Own
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $192,572.16                                                                                                                                           Tax Records + Title/Deed          3/23/2007              7/7/2014            Skokos, P.A. James, Hoyer,   1819 Main Street, Suite 610                                                              $0.00
                                                                                                                                                                                                                                                                                                                                         JUDITH G                           Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Newcomer & Smiljanich, P.A. Sarasota, FL 34236
 1728    Ex 10/79   Neighbours, Sidney             57 Riverview Avenue           Portsmouth       VA      23704   [II(C)], [XIII],          1/24/2011    Yes         2,262      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                  [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                   0.88              $96.67           $218,667.54                                                                        NEIGHBORS, SIDNEY A.               Owner as of 6/9/15              Utility Bill                      4/14/2010           Current Owner                                                                                                                                $0.00
                                                                                                                  [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 1729    Ex 10/79   Nelson, Frances                4619 Nighthart Street         New Orleans      LA      70127   [II], [VII], [XV],        3/15/2010    Yes         1,812      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                   (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $171,179.64                                                                        NELSON RUSSELL                     Owner as of 6/9/15              Tax Records + Title/Deed           5/5/1978           Current Owner                                       855 Baronne Street                                    m                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          New Orleans, 70113
 1730    Ex 10/79   Nelson, John and Telma         3525 Lago de Talavera         Wellington       FL      33467   [XV], [XVI],              7/5/2011     Yes         3,404      Property Tax      Yes                                                                  Dragon Brand       Photo               26             A                                                                                                                                                           McIntosh, Sawran, Peltz &    Manuel Comras, Esq.                  (561) 659-5970   MRC@bclmr.com                                      BKC confirmed square
                                                                                                                                                                                                                                                                                                                                         NELSON JOHN & NELSON
                                                                                                                  [XVII]                                                         Assessor's                        0.82              $90.08           $306,632.32                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          6/10/2009           Current Owner          Cartaya, PA                  1601 Forum Place, Suite 400                                                              $0.00           footage.
                                                                                                                                                                                                                                                                                                                                         TELMA D
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          West Palm Beach, FL 33401
 1731    Ex 10/79   Neri, Carl                     9435 West Maiden Court        Vero Beach       FL      32963   [XV], [XVI],              7/5/2011     Yes         2,720      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                  [XVII]                                                         Assessor's                        0.84              $92.27           $250,974.40      Manufacturer 2                                                    NERI, CARL A                       Owner as of 6/9/15              Tax Records + Title/Deed          9/29/2003           Current Owner                                       4265 San Felipe, Suite 1000                           om                                 $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Houston, TX 77027
 1732    Ex 10/79   Neuhalfen, Anna                4403 Chiquita Blvd. South     Cape Coral       FL      33914   [IX], [XV],               5/5/2011     Yes         3,487      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                  (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                  [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                           14 Southeast 4th Street
                                                                                                                                                                                                                   0.80              $87.88           $306,437.56                                                                        OELRICH ANNE M                     Owner as of 6/9/15              Tax Records + Title/Deed           6/6/2008           Current Owner                                                                                                                                $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                               Square Footage
 1733    Ex 10/79   Newman, Evelyn                 140 S. Dixie Highway #619     Hollywood        FL      33020   [IX], [XIII],             5/5/2011     Yes         1,482      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                  [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                   0.81              $88.98           $131,868.36                                                                        NEFF, MATTHEW P                    Owner as of 6/9/15              City or County Tax Records        7/18/2011              9/29/2015                                                                                                                                 $0.00
                                                                                                                  [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1734    Ex 10/79   Ney, Connie and Terry          5521 West End Blvd.           New Orleans      LA      70124   [II(B)], [VII],           12/6/2010    Yes         3,366      Property Tax      Yes                                                                  Taihe              Photo               14, 21         H, I                                                                                                                                                        The Lambert Firm              Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c                          Sq ft confirmed by
                                                                                                                  [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                            701 Magazine St,                                     om                                                 BKC
                                                                                                                                                                                                                                                                                                                                         NEY TERRY J
                                                                                                                  [XVII]                                                       Document with                       0.86              $94.47           $317,986.02                                                                                                           Owner as of 6/9/15              City or County Tax Records         8/5/2005           Current Owner                                        New Orleans LA 70130                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                         NEY CONNIE F
                                                                                                                                                                               Square Footage

 1735    Ex 10/79   Nguyen, Hung Huu and Hoang     7212 N. Clark Avenue          Tampa            FL      33614   [IX], [XV],               5/5/2011     Yes         1,929      Property Tax      Yes                                                                  Taihe              Photo               12, 14, 18     H, I                                                                                                                                                        Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                         NGUYEN HOANG OANH
                    Oanh Ngoc                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                   0.83              $91.18           $175,886.22                                                                        NGOC                               Owner as of 6/9/15              City or County Tax Records        1/18/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                         NGUYEN HUNG HUU
                                                                                                                                                                               Square Footage
 1736    Ex 10/79   Nguyen, Thai and Lieu          26 NW 6th Street              Cape Coral       FL      33993   [II], [II(B)], [VII],     3/15/2010    Yes         2,303      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                  [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                   0.80              $87.88           $202,387.64                                                                        NGUYEN THAI D + LIEU THI           Owner as of 6/9/15              City or County Tax Records        7/30/2004           Current Owner                                                                                                                                $0.00
                                                                                                                  [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 1737    Ex 10/79   Nguyen, Tony and Vivian        1213 SW 1st Terrace           Cape Coral       FL      33991   [IX], [XV],               5/5/2011     Yes         2,033      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $178,660.04                                                                        NGUYEN TONY + VIVIANE T            Owner as of 6/9/15              City or County Tax Records        7/15/2008           Current Owner                                        12800 University Drive, Suite 600                    m                                $63,276.19
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 1738    Ex 10/79   Nguyen, Tracy and Mai, Tuyen   103 SE 16th Place             Cape Coral       FL      33990   [II(A)], [XV],            9/16/2010    Yes         2,293      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                         NGUYEN TRACY +
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $201,508.84                                                                                                           Owner as of 6/9/15              City or County Tax Records         6/4/2004           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                         TUYEN MAI J/T
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 1739    RP         Nguyen, Tuan and Colleen       1100 Michaelwood Drive        Virginia Beach   VA      23452   [II], [XIII], [XV],       3/15/2010    Yes         4,850      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                  [XVI], [XVII]                                                  Assessor's                        0.94              $103.26          $500,811.00                                                                        KEENE JESSE W                      Records Not Available           City or County Tax Records        2/21/2006             12/21/2011           Serpe                         580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
 1740    Ex 10/79   Nicholas, Barbara              7732 Dogwood Drive            New Orleans      LA      70126   [IX], [XV],               5/5/2011     Yes         1,645      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Hurricane Legal Center, LLC   Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                  [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            Young Law Firm
                                                                                                                                                                                                                   0.86              $94.47           $155,403.15                                                                        NICHOLAS BARBARA A                 Owner as of 6/9/15              City or County Tax Records       11/30/1987           Current Owner                                                                                                                                $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                           1010 Common St., Suite 3040
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70112
 1741    RP         Nichols, James and Kathleen    1217 NE 7th Place             Cape Coral       FL      33909   [II], [XV], [XVI],        3/15/2010    Yes         1,773      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                  [XVII]                                                         Assessor's                        0.80              $87.88           $155,811.24                                                                        DAYMON JANICE D                                                    Tax Records + Title/Deed          6/27/2005              1/18/2011                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 49 of 82



Claimant Source     Claimant Name                  Affected Property Address       City              State   Zip     Omni(s)              Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                      Counsel Address                  Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                             2017 RS Means
Identifier                                                                                                                                 Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                           Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                           Prior Settlement
                                                                                                                                               Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                 Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                           Payment(s)- REDACTED
                                                                                                                                                                                Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                   [A]
                                                                                                                                                                                  Sharefile
 1742    Ex 10/79   Nieto, Pete                    42773 Snapperway                Franklinton       LA      70438   [IX], [XIII],          5/5/2011     Yes         1,382      Property Tax     Yes                                                                   Taihe              Photo             20             I                                                                                                                                                           Wolfe Law Group              Seth Smiley                      (504) 208-1124   seth@smileyfirm.com
                                                                                                                     [XV], [XVI],                                                Assessor's                       0.79                $86.78          $119,929.96                                                                      PETER NIETO                        Owner as of 6/9/15              City or County Tax Records         5/8/2007           Current Owner                                       365 Canal St Suite 1680                                                             $0.00
                                                                                                                     [XVII]                                                    Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70130
 1743    Ex 10/79   Nijhawan, Balraj and Pushpa c/o 825 King Leon Way              Sun City Center   FL      33573   [III], [IX], [XV],     10/7/2009    Yes         1,896      Property Tax     Yes                                                                   Taishan            Photo             2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.               (954) 763-8181   mryan@krupnicklaw.com
                    Pradeep Nijhawan, POA,                                                                           [XVI], [XVII]                                               Assessor's                       0.83                $91.18          $172,877.28                                                                      NIJHAWAN PUSHPA TRUSTEE Owner as of 6/9/15                         Tax Records + Title/Deed         12/28/2006           Current Owner                                       12 SE 7th St #801                                                                   $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1744    Ex 10/79   Nilsson, Jan Erik and Anette   2806 St. Barts Square           Vero Beach        FL      32962   [II(B)], [III],        10/7/2009    Yes         2,953      Property Tax     Yes                                                                   Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                Assessor's                                                                                                                                            NILSSON, JAN ERIK (COTRS)                                                                                                                       Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                  0.84                $92.27          $272,473.31                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          5/15/2008           Current Owner                                                                                                                           $0.00
                                                                                                                     [XVII]                                                    Document with                                                                                                                                           AND ANETTE (COTRS)                                                                                                                              Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1745    RP         Niswonger, Mary M.             77451 N. Fitzmorris Road Ext.   Covington         LA      70435   [II(B)], [III],        10/7/2009    Yes         1,349      Property Tax     Yes                                                                   Taihe              Photo             14, 15         H, I                                                                                                                                                        Thornhill Law Firm, Fayard & Tom Thornhill, Esq.              800-989-2707     tom@thornhilllawfirm.com
                                                                                                                     [XV], [XVI],                                                Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Honeycutt APLC and N. Frank Thornhill Law Firm
                                                                                                                                                                                                                  0.79                $86.78          $117,066.22                                                                      PIKE, BLAKE A                                                      City or County Tax Records        7/15/2005             12/29/2014                                                                                                                            $0.00
                                                                                                                     [XVII]                                                    Document with                                                                                                                                                                              Property on 6/9/15                                                                                           Elliot III, LLC              1308 9th St
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                       Slidell, LA 70458
 1746    Ex 10/79   NOAHH (New Orleans Area        1229 Port Street                New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,128      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $106,562.16                                                                      SACKEYFIO JENNIFER N                                               City or County Tax Records        6/21/2010             10/24/2011                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1747    RP         NOAHH (New Orleans Area        1304 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,068      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $100,893.96                                                                      SILAS VONTRELL A                   Owner as of 6/9/15              Tax Records + Title/Deed          6/26/2009           Current Owner                                       820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1748    RP         NOAHH (New Orleans Area        1308 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,135      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $107,223.45                                                                      BANGHAM TANISHA                    Owner as of 6/9/15              City or County Tax Records        1/19/2010           Current Owner                                       820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1749    RP         NOAHH (New Orleans Area        1309 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,073      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $101,366.31                                                                      GROSS KERRY R                      Owner as of 6/9/15              City or County Tax Records        2/20/2009           Current Owner                                       820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1750    Ex 10/79   NOAHH (New Orleans Area        1315 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,068      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $100,893.96                                                                      FOLEY KASHANDA C                                                   City or County Tax Records        8/16/2010              8/25/2011                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1751    RP         NOAHH (New Orleans Area        1316 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,135      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $107,223.45                                                                      CAMP LINDA T                                                       Tax Records + Title/Deed          2/12/2008              8/21/2009                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1752    RP         NOAHH (New Orleans Area        1320 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,130      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $106,751.10                                                                      ALEXANDER MINNIE M                                                 City or County Tax Records       10/10/2007             11/16/2009                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1753    RP         NOAHH (New Orleans Area        1324 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,130      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $106,751.10                                                                      KING MERCEDES E                                                    City or County Tax Records        6/22/2007              1/14/2009                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1754    RP         NOAHH (New Orleans Area        1327 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,320      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $124,700.40                                                                      STERLING MARIO A                                                   City or County Tax Records        11/7/2008              3/26/2010                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1755    RP         NOAHH (New Orleans Area        1328 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,130      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $106,751.10                                                                      WILLIAMS ROBYN L                                                   City or County Tax Records        6/22/2007              3/2/2009                                         820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1756    RP         NOAHH (New Orleans Area        1331 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,214      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $114,686.58                                                                      SLY JENIKA J                                                       City or County Tax Records        6/22/2007             11/19/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1757    RP         NOAHH (New Orleans Area        1335 Ferry Place                New Orleans       LA      70118   [IX], [XV],            5/5/2011     Yes         1,162      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                       HORNE WOODIE                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $109,774.14                                                                                                                                         City or County Tax Records        6/22/2007             11/21/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                       HORNE CAROLYN                      Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1758    RP         NOAHH (New Orleans Area        1340 Bayou Road                 St. Bernard       LA      70085   [IX], [XV],            5/5/2011     Yes         1,581      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                       HERNANDEZ, JOAN MARIE
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $149,357.07                                                                                                         Owner as of 6/9/15              City or County Tax Records         5/3/1977           Current Owner                                       820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                       FISCHER
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1759    RP         NOAHH (New Orleans Area        1437 Nunez Street               New Orleans       LA      70114   [IX], [XV],            5/5/2011     Yes         1,022      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,548.34                                                                      WILSON AUDREY E BLAZIO                                             City or County Tax Records         7/7/2006              4/1/2008                                         820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1760    RP         NOAHH (New Orleans Area        146 Mimosa Lane (Avis Fitte)    Port Sulphur      LA      70083   [XIII], [XV],          7/5/2011     Yes         1,042      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,437.74                                                                      FITTE, AVIS M                                                      Tax Records + Title/Deed          1/19/2007              2/22/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1761    RP         NOAHH (New Orleans Area        1533 Bayou Road                 St. Bernard       LA      70085   [IX], [XV],            5/5/2011     Yes         1,581      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $149,357.07                                                                      UNKNOWN                            Records Not Available           City or County Tax Records                                                                                820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1762    RP         NOAHH (New Orleans Area        1701 Bartholomew Street         New Orleans       LA      70117   [XIII], [XV],          7/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)    (Joseph Johnson, Jr.)                                             [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                      JOHNSON JOSEPH JR                                                  City or County Tax Records        4/11/2006             10/30/2007                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1763    RP         NOAHH (New Orleans Area        1705 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,056      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $99,760.32                                                                      STOOPS LARRY R                                                     City or County Tax Records        4/11/2006              8/31/2007                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1764    RP         NOAHH (New Orleans Area        1709 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                      INGMIRE GEORGE ALLEN III                                           City or County Tax Records        4/11/2006             10/28/2007                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1765    RP         NOAHH (New Orleans Area        1713 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,092      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $103,161.24                                                                      FRANKLIN NATHANIEL                                                 City or County Tax Records        4/11/2006              8/30/2007                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1766    RP         NOAHH (New Orleans Area        1717 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                      GROWE ALFRED 3                                                     City or County Tax Records        4/11/2006              8/31/2007                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1767    RP         NOAHH (New Orleans Area        1721 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                      HELEN M GILLET                     Owner as of 6/9/15              City or County Tax Records        9/27/2007           Current Owner                                       820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1768    RP         NOAHH (New Orleans Area        1722Alvar Street                New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $108,640.50                                                                      WALTER KENYA D                                                     City or County Tax Records        1/23/2007              2/29/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1769    RP         NOAHH (New Orleans Area        1724 Alvar Street               New Orleans       LA      70117   [XIII], [XV],          7/5/2011     Yes         1,025      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,831.75                                                                      CORNEIAGO ANNETTE S.               Owner as of 6/9/15              City or County Tax Records        3/19/2008           Current Owner                                       820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1770    RP         NOAHH (New Orleans Area        1725 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,092      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $103,161.24                                                                      SHAVERS TIFFANY ROSS                                               City or County Tax Records        4/11/2006              8/31/2007                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1771    RP         NOAHH (New Orleans Area        1733 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes          990       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $93,525.30                                                                      SAWYER TROY L                      Owner as of 6/9/15              City or County Tax Records         7/2/2007           Current Owner                                       820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1772    RP         NOAHH (New Orleans Area        1737 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes          990       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $93,525.30                                                                      HAYDEL JEREMY P                                                    City or County Tax Records        4/11/2006              6/29/2007                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1773    Ex 10/79   NOAHH (New Orleans Area        1739 Bartholomew Street - Dbl New Orleans         LA      70117   [IX], [XV],            5/5/2011     Yes          702       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                            Property is a duplex
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                                                                                                                                            NEW ORLEANS AREA                                                                                                                                                             820 O'Keefe Avenue                                                                                  Listed on parish
                                                                                                                                                                                                                   0.86               $94.47           $66,317.94                                                                                                         Owner as of 6/9/15              City or County Tax Records        4/11/2006           Current Owner                                                                                                                           $0.00
                                                                                                                                                                               Document with                                                                                                                                           HABITAT FOR HUMANITY                                                                                                                                                         New Orleans, LA 70113                                                                               assessor's website
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                                                                                                                           under 1739
 1774    Ex 10/79   NOAHH (New Orleans Area        1741 Bartholomew Street - Dbl New Orleans         LA      70117   [IX], [XV],            5/5/2011     Yes          702       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                            Property is a duplex
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                                                                                                                                            NEW ORLEANS AREA                                                                                                                                                             820 O'Keefe Avenue                                                                                  Listed on parish
                                                                                                                                                                                                                   0.86               $94.47           $66,317.94                                                                                                         Owner as of 6/9/15              City or County Tax Records        4/11/2006           Current Owner                                                                                                                           $0.00
                                                                                                                                                                               Document with                                                                                                                                           HABITAT FOR HUMANITY                                                                                                                                                         New Orleans, LA 70113                                                                               assessor's website
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                                                                                                                           under 1739
 1775    Ex 10/79   NOAHH (New Orleans Area        1800 Feliciana Street           New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,100      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $103,917.00                                                                      BATISTE TERRELL E                                                  City or County Tax Records        7/18/2007              2/24/2014                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1776    RP         NOAHH (New Orleans Area        1801 Lesseps Street             New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes          990       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $93,525.30                                                                      TAYLOR GERALDINE F                                                 City or County Tax Records         8/6/2007              4/9/2009                                         820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1777    RP         NOAHH (New Orleans Area        1804 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,213      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                       MCDONALD THOMAS                    Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $114,592.11                                                                                                                                         City or County Tax Records        9/13/2007              9/26/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                       CONNELLY                           Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1778    RP         NOAHH (New Orleans Area        1808 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $108,640.50                                                                      DETTMER ANNA LIESE                                                 City or County Tax Records        9/13/2007              9/29/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1779    Ex 10/79   NOAHH (New Orleans Area        1812 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,135      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $107,223.45                                                                      LAMBERTSON NATHAN K                                                City or County Tax Records        2/28/2011              5/10/2012                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1780    RP         NOAHH (New Orleans Area        1816 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,213      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $114,592.11                                                                      VELASCO GABRIEL D.                                                 City or County Tax Records        4/16/2008              9/30/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1781    RP         NOAHH (New Orleans Area        1816 Karl Drive Arabi           Arabi             LA      70032   [IX], [XV],            5/5/2011     Yes         1,581      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $149,357.07                                                                      DUCOTE, JANICE HALL                No Record of Ownership          City or County Tax Records                                                                                820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1782    RP         NOAHH (New Orleans Area        1817 Bartholomew Street         New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $108,640.50                                                                      SEBASTIAN JAMES R                                                  City or County Tax Records        11/2/2006              2/2/2009                                         820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 1783    RP         NOAHH (New Orleans Area        1819 Feliciana Street           New Orleans       LA      70117   [IX], [XV],            5/5/2011     Yes         1,025      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,831.75                                                                      MC GOWAN NICOLE                                                    City or County Tax Records        7/25/2007             10/31/2008                                        820 O'Keefe Avenue                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
                                                                                                                Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 50 of 82



Claimant Source     Claimant Name                 Affected Property Address    City           State   Zip     Omni(s)              Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                 Counsel Address         Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                      2017 RS Means
Identifier                                                                                                                          Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                    Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                           Prior Settlement
                                                                                                                                        Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                          Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                           Payment(s)- REDACTED
                                                                                                                                                                         Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                            [A]
                                                                                                                                                                           Sharefile
 1784    RP         NOAHH (New Orleans Area       1820 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                       0.86                $94.47           $97,681.98                                                                        FRANCINO JENNIFER L                                                City or County Tax Records        4/11/2006              11/2/2006                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1785    RP         NOAHH (New Orleans Area       1821 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                       0.86                $94.47          $108,640.50                                                                        CHUTE THOMAS                                                       City or County Tax Records        11/2/2006              1/28/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1786    RP         NOAHH (New Orleans Area       1824 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                       0.86                $94.47          $108,640.50                                                                        AMON BENJAMIN                                                      City or County Tax Records        4/11/2006             11/18/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1787    RP         NOAHH (New Orleans Area       1824 Congress Street         New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                       0.86                $94.47           $97,681.98                                                                        LABEAUD ANASTASIA K                                                City or County Tax Records       12/28/2011              8/30/2013                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1788    RP         NOAHH (New Orleans Area       1825 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,213      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                       0.86                $94.47          $114,592.11                                                                        GOODRICH FREDERICK M                                               City or County Tax Records        4/11/2006              10/4/2006                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1789    Ex 10/79   NOAHH (New Orleans Area       1827 Bartholomew Street - Dbl New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes          690       Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Property is a duplex
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                                                                                                                                              NEW ORLEANS AREA                                                                                                                                                        820 O'Keefe Avenue                                                                       Listed on parish
                                                                                                                                                                                                           0.86                $94.47           $65,184.30                                                                                                           Owner as of 6/9/15              City or County Tax Records        11/2/2006           Current Owner                                                                                                           $0.00
                                                                                                                                                                        Document with                                                                                                                                             HABITAT FOR HUMANITY                                                                                                                                                    New Orleans, LA 70113                                                                    assessor's website
                                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                                                                             under 1827
 1790    RP         NOAHH (New Orleans Area       1828 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,135      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                  HARVEY LAWRENCE E                  Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $107,223.45                                                                                                                                           City or County Tax Records        11/2/2006              9/26/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                  HARVEY KIMBERLY W                  Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1791    Ex 10/79   NOAHH (New Orleans Area       1829 Alvar Street            New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,143      Property Tax      Yes                                                                  Crescent City      Inspection Report   27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $107,979.21                                                                        TRAYANOVA BOYANNA                  No Record of Ownership          City or County Tax Records                               5/7/2007                                    820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1792    Ex 10/79   NOAHH (New Orleans Area       1829 Bartholomew Street - Dbl New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes          690       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Property is a duplex
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                                                                                                                                              NEW ORLEANS AREA                                                                                                                                                        820 O'Keefe Avenue                                                                       Listed on parish
                                                                                                                                                                                                            0.86              $94.47            $65,184.30                                                                                                           Owner as of 6/9/15              City or County Tax Records        11/2/2006           Current Owner                                                                                                           $0.00
                                                                                                                                                                        Document with                                                                                                                                             HABITAT FOR HUMANITY                                                                                                                                                    New Orleans, LA 70113                                                                    assessor's website
                                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                                                                             under 1827
 1793    Ex 10/79   NOAHH (New Orleans Area       1831 Bartholomew Street - Dbl New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes          690       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Property is a duplex
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                                                                                                                                              NEW ORLEANS AREA                                                                                                                                                        820 O'Keefe Avenue                                                                       Listed on parish
                                                                                                                                                                                                            0.86              $94.47            $65,184.30                                                                                                           Owner as of 6/9/15              City or County Tax Records        11/2/2006           Current Owner                                                                                                           $0.00
                                                                                                                                                                        Document with                                                                                                                                             HABITAT FOR HUMANITY                                                                                                                                                    New Orleans, LA 70113                                                                    assessor's website
                                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                                                                             under 1831
 1794    RP         NOAHH (New Orleans Area       1832 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,213      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                  BROWN LEON D                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $114,592.11                                                                                                                                           City or County Tax Records        4/15/2011              3/7/2014                                    820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                  BROWN PAMELA P                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1795    Ex 10/79   NOAHH (New Orleans Area       1833 Bartholomew Street - Dbl New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes          690       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Property is a duplex
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                                                                                                                                              NEW ORLEANS AREA                                                                                                                                                        820 O'Keefe Avenue                                                                       Listed on parish
                                                                                                                                                                                                            0.86              $94.47            $65,184.30                                                                                                           Owner as of 6/9/15              City or County Tax Records        11/2/2006           Current Owner                                                                                                           $0.00
                                                                                                                                                                        Document with                                                                                                                                             HABITAT FOR HUMANITY                                                                                                                                                    New Orleans, LA 70113                                                                    assessor's website
                                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                                                                             under 1831
 1796    Ex 10/79   NOAHH (New Orleans Area       1835 Bartholomew Street - Dbl New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes          702       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Property is a duplex
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                                                                                                                                              ELLIS MARSALIS CENTER              Previous Owner, Did Not Own                                                                                                          820 O'Keefe Avenue                                                                       Listed on parish
                                                                                                                                                                                                            0.86              $94.47            $66,317.94                                                                                                                                           City or County Tax Records        11/2/2006              7/16/2013                                                                                                            $0.00
                                                                                                                                                                        Document with                                                                                                                                             FOR MUSIC INC                      Property on 6/9/15                                                                                                                   New Orleans, LA 70113                                                                    assessor's website
                                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                                                                             under 1835
 1797    Ex 10/79   NOAHH (New Orleans Area       1837 Bartholomew Street - Dbl New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes          702       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Property is a duplex
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                                                                                                                                              ELLIS MARSALIS CENTER              Previous Owner, Did Not Own                                                                                                          820 O'Keefe Avenue                                                                       Listed on parish
                                                                                                                                                                                                            0.86              $94.47            $66,317.94                                                                                                                                           City or County Tax Records        4/11/2006              7/16/2013                                                                                                            $0.00
                                                                                                                                                                        Document with                                                                                                                                             FOR MUSIC INC                      Property on 6/9/15                                                                                                                   New Orleans, LA 70113                                                                    assessor's website
                                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                                                                             under 1835
 1798    Ex 10/79   NOAHH (New Orleans Area       1838 Feliciana (NOAHH)       New Orleans    LA      70117   [XIII], [XV],          7/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                  NEW ORLEANS AREA
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $97,681.98                                                                                                           Owner as of 6/9/15              City or County Tax Records       11/30/2011           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                  HABITAT FOR HUMANITY
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1799    RP         NOAHH (New Orleans Area       1900 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,135      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $107,223.45                                                                        JENKINS JOSEPH                                                     City or County Tax Records         4/2/2007              3/11/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1800    RP         NOAHH (New Orleans Area       1904 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $108,640.50                                                                        EVANS JANET                                                        City or County Tax Records         4/2/2007              6/26/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1801    RP         NOAHH (New Orleans Area       1905 Tino Lane (Donald and   Violet         LA      70093   [XIII], [XV],          7/5/2011     Yes         1,664      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                  NEW ORLEANS AREA
                    Habitat for Humanity, Inc.)   Charlette Rush)                                             [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $157,198.08                                                                                                           Owner as of 6/9/15              City or County Tax Records        12/6/2012           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                  HABITAT FOR
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1802    RP         NOAHH (New Orleans Area       1908 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                  NEW ORLEANS AREA
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $108,640.50                                                                                                           Owner as of 6/9/15              City or County Tax Records         4/2/2007           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                  HABITAT FOR HUMANITY IN
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1803    RP         NOAHH (New Orleans Area       1912 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,047      Property Tax      Yes                                                                  Crescent City      Photo               27             D           SCHINDLER CARL J                                                                                                                                Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $98,910.09                                                                        SCHINDLER RICHARD F                                                City or County Tax Records         4/2/2007              2/18/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                             SCHINDLER CATHERINE                                                                                                                                                     New Orleans, LA 70113
 1804    RP         NOAHH (New Orleans Area       1916 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,047      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $98,910.09                                                                        WILSON HOLDEN C                                                    City or County Tax Records         4/2/2007             10/21/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1805    RP         NOAHH (New Orleans Area       1916 Mandeville Street       New Orleans    LA      70117   [VII], [IX], [XV],     1/14/2011    Yes         1,092      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Bruno & Bruno
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $103,161.24                                                                        NELSON MELISSA ANN                                                 City or County Tax Records         9/9/2009             10/22/2009                                   820 O'Keefe Avenue                                                       $0.00           represent property
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113                                                                    owner, Melissa Nelson.
 1806    RP         NOAHH (New Orleans Area       1917 Highland Drive          Violet         LA      70092   [IX], [XV],            5/5/2011     Yes         1,520      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                  LANIER, SHARON A. MC
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $143,594.40                                                                                                           Owner as of 6/9/15              City or County Tax Records         6/6/2007           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                  DOWELL
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1807    RP         NOAHH (New Orleans Area       1920 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,025      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $96,831.75                                                                        BORBELY ANDREW J                                                   City or County Tax Records         4/2/2007              3/30/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1808    RP         NOAHH (New Orleans Area       1921 Alvar Street            New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,122      Property Tax      Yes                                                                  Taihe              Photo               14, 21         H, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                                                                                                                                                                                                                                                                                                                      820 O'Keefe Avenue
                                                                                                                                                                                                            0.86              $94.47           $105,995.34                                                                        CRESPO RICARDO M                   No Record of Ownership          City or County Tax Records                                                                                                                                                    $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
                                                                                                                                                                        Square Footage
 1809    RP         NOAHH (New Orleans Area       1922 Marigny Street          New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,106      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $104,483.82                                                                        THOMAS SAVERIA R                   No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1810    RP         NOAHH (New Orleans Area       1924 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $108,640.50                                                                        ANDRY LEROY JOSEPH JR                                              City or County Tax Records        9/13/2007             11/19/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1811    RP         NOAHH (New Orleans Area       1925 Alvar Street            New Orleans    LA      70117   [VII], [IX], [XV],     1/14/2011    Yes         1,496      Property Tax      Yes                                                                  Taihe              Photo               14, 21         H, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Bruno & Bruno
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $141,327.12                                                                        MORGAN ROGCHELLE                   No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00           represent property
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113                                                                    owner, Rochelle
 1812    RP         NOAHH (New Orleans Area       1927 Bridgehead Lane         Violet         LA      70092   [IX], [XV],            5/5/2011     Yes         1,581      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $149,357.07                                                                        LENARIS, CHARLES                   Owner as of 6/9/15              City or County Tax Records                            Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1813    RP         NOAHH (New Orleans Area       1928 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,119      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $105,711.93                                                                        ALLEN SHAMARR                                                      City or County Tax Records         4/2/2007              3/18/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1814    RP         NOAHH (New Orleans Area       1929 Alvar Street            New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,122      Property Tax      Yes                                                                  Taihe              Photo               14, 21         H, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Bruno & Bruno
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $105,995.34                                                                        HARRISON BELINDA A                                                 City or County Tax Records        4/11/2006              3/9/2007                                    820 O'Keefe Avenue                                                       $0.00           represent property
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113                                                                    owner, Belinda
 1815    RP         NOAHH (New Orleans Area       1929 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,150      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $108,640.50                                                                        FORD RHONDA M                                                      City or County Tax Records         4/2/2007              6/29/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1816    RP         NOAHH (New Orleans Area       1929 Independence Street     New Orleans    LA      70117   [XIII], [XV],          7/5/2011     Yes         1,025      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)   (Imani Polete)                                              [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $96,831.75                                                                        POLETE IMANI                                                       City or County Tax Records         7/3/2007             10/28/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1817    RP         NOAHH (New Orleans Area       1931 France Street           New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $97,681.98                                                                        BROWN ANTIONETTA L                                                 City or County Tax Records        5/11/2007             10/28/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1818    RP         NOAHH (New Orleans Area       1932 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes          959       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $90,596.73                                                                        FLETCHER RIK A                                                     City or County Tax Records         4/2/2007              2/19/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1819    RP         NOAHH (New Orleans Area       1933 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,135      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $107,223.45                                                                        BAHAM ANDREW H III                                                 City or County Tax Records         4/2/2007              6/30/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1820    RP         NOAHH (New Orleans Area       1934 Pilate Lane (Roseanna   St. Bernard    LA      70085   [XIII], [XV],          7/5/2011     Yes         1,520      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)   Maurice)                                                    [XVI], [XVII]                                               Assessor's                        0.86              $94.47           $143,594.40                                                                        MAURICE, ROSEANA JAMES             Owner as of 6/9/15              City or County Tax Records        8/12/2005           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1821    RP         NOAHH (New Orleans Area       1936 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes          959       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $90,596.73                                                                        JOHNSON CALVIN A JR                                                City or County Tax Records        9/13/2007             11/19/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1822    RP         NOAHH (New Orleans Area       1937 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes          959       Property Tax      Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                  CUMMINGS PATRICIA A                Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $90,596.73                         counsel                                                                                                           City or County Tax Records         4/2/2007              3/11/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                  MORGAN LOUIS L JR                  Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1823    Ex 10/79   NOAHH (New Orleans Area       1940 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $97,681.98                                                                        CLEMENTS JAN R                                                     City or County Tax Records         4/2/2007             12/29/2011                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1824    RP         NOAHH (New Orleans Area       1941 Bartholomew Street      New Orleans    LA      70117   [IX], [XV],            5/5/2011     Yes          959       Property Tax      Yes                                                                  Crescent City      Affidavit from      N/A            D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                               Assessor's                        0.86              $94.47            $90,596.73                         counsel                                        JOHNSON ALVIN L SR                                                 City or County Tax Records        4/11/2006             12/30/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
                                                                                                                Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 51 of 82



Claimant Source     Claimant Name                 Affected Property Address     City          State   Zip     Omni(s)         Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                 Counsel Address         Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                               Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                           Prior Settlement
                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                     Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                           Payment(s)- REDACTED
                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                       [A]
                                                                                                                                                                      Sharefile
 1825    RP         NOAHH (New Orleans Area       2021 Caluda Street            Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,152      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $108,829.44                                                                      BELL, MARY J. TRAVIS               No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1826    RP         NOAHH (New Orleans Area       2100 Painters Street          New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,200      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $113,364.00                                                                      BELL JUDY ANN                                                      City or County Tax Records         4/2/2008              1/20/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1827    RP         NOAHH (New Orleans Area       2108 Tiffany Ct               St. Bernard   LA      70085   [IX], [XV],       5/5/2011     Yes         1,520      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $143,594.40                                                                      AREAS, ALICIA DANIELLE             No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1828    RP         NOAHH (New Orleans Area       2113 Gina Drive               St. Bernard   LA      70085   [IX], [XV],       5/5/2011     Yes         1,520      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $143,594.40                                                                      JOHNSON, JANICE MARIE                                              City or County Tax Records        2/16/2012              6/19/2013                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1829    Ex 10/79   NOAHH (New Orleans Area       2113 Louisa Street            New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Taihe/ Crescent    Photo             17, 27         D, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98      City                                                            MARTIN CHAQUIDRA                                                   City or County Tax Records         8/6/2007              3/31/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1830    RP         NOAHH (New Orleans Area       2116 Bartholomew Street       New Orleans   LA      70117   [XIII], [XV],     7/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)   (Shaunquel Dubose)                                          [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      DUBOSE SHAUNQUEL M                                                 City or County Tax Records        11/1/2006             10/19/2007                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1831    RP         NOAHH (New Orleans Area       2116 Painters Street          New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      LEFLORE PEARL R                                                    City or County Tax Records         4/2/2008              1/21/2010                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1832    RP         NOAHH (New Orleans Area       2122 Caluda Street            Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,152      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $108,829.44                                                                      RICHARD, ROGER 1/2                 Owner as of 6/9/15              City or County Tax Records         3/3/1976           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1833    RP         NOAHH (New Orleans Area       2134 State Street             New Orleans   LA      70118   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      DOUGLAS,ANGELICA V                 Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1834    Ex 10/79   NOAHH (New Orleans Area       2138 France Street            New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,000      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                           NEW ORLEANS AREA
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $94,470.00                                                                                                         Owner as of 6/9/15              City or County Tax Records       10/26/2007           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                           HABITAT FOR HUMANITY
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1835    RP         NOAHH (New Orleans Area       2138 State Street             New Orleans   LA      70118   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      WILSON,COURTNEY T                  Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1836    RP         NOAHH (New Orleans Area       2142 France Street            New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,056      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $99,760.32                                                                      CONDOLL JOSEPH                     No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1837    RP         NOAHH (New Orleans Area       2200 Tiffany Ct               St. Bernard   LA      70085   [IX], [XV],       5/5/2011     Yes         1,520      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $143,594.40                                                                      GUIDROZ, WARREN J., SR.            Owner as of 6/9/15              City or County Tax Records       10/11/1995           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1838    RP         NOAHH (New Orleans Area       2213 Piety Street             New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,081      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $102,122.07                                                                      DAVIS EBONI L                                                      City or County Tax Records         7/3/2007              3/2/2009                                    820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1839    RP         NOAHH (New Orleans Area       2217 Piety Street (Connitha   New Orleans   LA      70117   [XIII], [XV],     7/5/2011     Yes         1,044      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)   May)                                                        [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $98,626.68                                                                      MAY CONNITHA O                                                     City or County Tax Records        2/20/2008             12/28/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1840    RP         NOAHH (New Orleans Area       2220 Highland Drive           Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,152      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $108,829.44                                                                      SANCHEZ, RICARDO ARNOLD Owner as of 6/9/15                         Tax Records + Title/Deed          8/25/2010           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1841    RP         NOAHH (New Orleans Area       2221 Caluda Street            Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,152      Property Tax     Yes                                                                   Crescent City      Photo             27             D           NEW ORLEANS AREA                                                                                                                                Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Current Owner, Acquired
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $108,829.44                                                                      HABITAT FOR HUMANITY,                                              City or County Tax Records       10/19/2016           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property after 6/9/15
                                                                                                                                                                   Document with                                                                                                                                           INC                                                                                                                                                                     New Orleans, LA 70113
 1842    RP         NOAHH (New Orleans Area       2234 Feliciana Street         New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      CROSS DANA                                                         City or County Tax Records       10/26/2007              3/2/2009                                    820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1843    RP         NOAHH (New Orleans Area       2300 Caluda Street            Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,152      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $108,829.44                                                                      TAYLOR, DOLORES HAYES              Owner as of 6/9/15              City or County Tax Records       12/23/2008           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1844    RP         NOAHH (New Orleans Area       2301 Mathis Avenue            Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      HOLLIDAY,VANESSA M                 Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1845    RP         NOAHH (New Orleans Area       2301 New Orleans Avenue       Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      RAGAS,COREY J & TERESE A           Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1846    RP         NOAHH (New Orleans Area       2305 Mathis Avenue            Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      PERKINS,TORREY K                   Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1847    RP         NOAHH (New Orleans Area       2307 New Orleans Avenue       Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      THOMAS,ELNORA                      Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1848    RP         NOAHH (New Orleans Area       2309Mathis Avenue             Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      PERKINS,TORREY K                   Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1849    RP         NOAHH (New Orleans Area       2312 Farmsite Road            Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,581      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $149,357.07                                                                      LAY, JOANN MARIE 1/2               Owner as of 6/9/15              City or County Tax Records        4/30/2008           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1850    RP         NOAHH (New Orleans Area       2312 Gina Drive               St. Bernard   LA      70085   [IX], [XV],       5/5/2011     Yes         1,581      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $149,357.07                                                                      GUERRA, EDNA ASHER 1/2             Owner as of 6/9/15              City or County Tax Records        4/24/2007           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1851    RP         NOAHH (New Orleans Area       2315 Jefferson Avenue (Lorena Harvey        LA      70058   [XIII], [XV],     7/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)   Johnson)                                                    [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      JOHNSON,LORENA M.                  Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1852    RP         NOAHH (New Orleans Area       2316 Caluda Street            Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,152      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                           LAFRANCE, DOROTHY
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $108,829.44                                                                                                         Owner as of 6/9/15              City or County Tax Records        9/15/1987           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                           MILLER
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1853    RP         NOAHH (New Orleans Area       2316 Victoria Avenue          Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      HOUSE,LUTISHER K                   Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1854    RP         NOAHH (New Orleans Area       2319 Mathis Avenue            Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      PRICE,LAKUACHEL D                  Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1855    RP         NOAHH (New Orleans Area       2320 Licciardi Lane           Violet        LA      70092   [IX], [XV],       5/5/2011     Yes         1,520      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $143,594.40                                                                      BRADFORD, HAZEL RICHARD Owner as of 6/9/15                         City or County Tax Records        3/27/1986           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1856    RP         NOAHH (New Orleans Area       2320 New Orleans Avenue       Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                           NEW ORLEANS AREA         Current Owner, Unknown
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                                                                                         City or County Tax Records                            Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                           HABITAT FOR HUMANITY INC Purchase Date
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1857    RP         NOAHH (New Orleans Area       2320 Victoria Avenue          Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      JACKSON,TAMI R                     Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1858    RP         NOAHH (New Orleans Area       2323 Mathis Avenue            Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      JOSEPH,TERRENCE D                  Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1859    RP         NOAHH (New Orleans Area       2325 Rochelle Street          Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      SCIENEAUX,SONYA M.                 Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1860    RP         NOAHH (New Orleans Area       2327 Mathis Avenue            Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      ROYAL,VERONICA D                   Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1861    RP         NOAHH (New Orleans Area       2327 Rochelle Street          Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      SNYDER,TYRONE & TRENA M Records Not Available                      City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1862    RP         NOAHH (New Orleans Area       2327 Victoria Avenue          Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $111,096.72                                                                      PAIGE,ANEITA E                     Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1863    RP         NOAHH (New Orleans Area       2328 Clouet Street            New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      UNKNOWN                            Records Not Available                                                                                                                820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1864    RP         NOAHH (New Orleans Area       2328 Rochelle Street          Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,034      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47           $97,681.98                                                                      STEVENSON,LATASHA D                Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1865    RP         NOAHH (New Orleans Area       2330 Piety Street             New Orleans   LA      70117   [IX], [XV],       5/5/2011     Yes         1,104      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                           JOHNSON MARSHALL
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                       0.86                $94.47          $104,294.88                                                                                                         No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                           KEENAN
                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1866    RP         NOAHH (New Orleans Area       2334 Rochelle Street          Harvey        LA      70058   [IX], [XV],       5/5/2011     Yes         1,176      Property Tax     Yes                                                                   Taihe/ Crescent    Photo             17, 27         D, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                               [XVI], [XVII]                                          Assessor's                                                                            City                                                                                                                                                                                                                                    820 O'Keefe Avenue
                                                                                                                                                                   Document with                      0.86                $94.47          $111,096.72                                                                      AGEE,SARAH P.                      Records Not Available           City or County Tax Records                                                                           New Orleans, LA 70113                                                    $0.00
                                                                                                                                                                   Square Footage
                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 52 of 82



Claimant Source     Claimant Name                 Affected Property Address       City          State   Zip     Omni(s)              Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                 Counsel Address         Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                        2017 RS Means
Identifier                                                                                                                            Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                      Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                           Prior Settlement
                                                                                                                                          Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                            Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                           Payment(s)- REDACTED
                                                                                                                                                                           Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                              [A]
                                                                                                                                                                             Sharefile
 1867    RP         NOAHH (New Orleans Area       2338 Rochelle Street (Christy   Harvey        LA      70058   [XIII], [XV],          7/5/2011     Yes         1,176      Property Tax     Yes                                                                   Taihe/ Crescent    Photo               17, 27         D, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)   Kisack)                                                       [XVI], [XVII]                                               Assessor's                                                                            City                                                                                                                                                                                                                                      820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    NEW ORLEANS HABITAT FOR Current Owner, Unknown
                                                                                                                                                                          Document with                      0.86                $94.47          $111,096.72                                                                                                                                           City or County Tax Records                            Current Owner                                  New Orleans, LA 70113                                                    $0.00
                                                                                                                                                                                                                                                                                                                                    HUMANITY INC            Purchase Date
                                                                                                                                                                          Square Footage

 1868    RP         NOAHH (New Orleans Area       2344 Mazant Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,311      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $123,850.17                                                                        THOMAS LIONEL                                                      City or County Tax Records       12/17/2004              8/29/2007                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1869    RP         NOAHH (New Orleans Area       2346 Louisa Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D           NEW ORLEANS AREA                                                                                                                                Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        HABITAT FOR HUMANITY,              Owner as of 6/9/15              City or County Tax Records        10/1/2014           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                             INC                                                                                                                                                                     New Orleans, LA 70113
 1870    RP         NOAHH (New Orleans Area       2401 Clouet Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Declaration submitted
                                                                                                                                                                                                                                                                                                                                    LOUIS HERBERT M
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                                                           No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00           by Becnel for
                                                                                                                                                                                                                                                                                                                                    LOUIS JOANNE J
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113                                                                    homeowner, Louis
 1871    RP         NOAHH (New Orleans Area       2401 Independence Street        New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        SCALI PAUL T                                                       City or County Tax Records        5/18/2007              7/10/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1872    RP         NOAHH (New Orleans Area       2401 S. Tonti Street            New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        COOPER YVONNE Y                                                    City or County Tax Records        8/27/2007              4/29/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1873    RP         NOAHH (New Orleans Area       2405 S. Tonti Street            New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        PEDESCLEAUX EMELDA                                                 City or County Tax Records        9/12/2007              6/29/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1874    RP         NOAHH (New Orleans Area       2409 S. Tonti Street (Shawanda New Orleans    LA      70125   [XIII], [XV],          7/5/2011     Yes          932       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)   Berry)                                                        [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $88,046.04                                                                        BERRY SHAWANDA                                                     City or County Tax Records        8/28/2007              6/29/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1875    RP         NOAHH (New Orleans Area       2414 Clouet Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        WILLIAMS JACQUELINE M                                              City or County Tax Records        5/18/2007              1/14/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1876    RP         NOAHH (New Orleans Area       2415 Piety Street               New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,078      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $101,838.66                                                                        WATSON TIARA S                                                     City or County Tax Records        5/18/2007              3/31/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1877    RP         NOAHH (New Orleans Area       2422 Clouet Street (Kelvin      New Orleans   LA      70117   [XIII], [XV],          7/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)   Jones)                                                        [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        JONES KELVIN C                                                     City or County Tax Records        7/20/2007              1/19/2010                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1878    RP         NOAHH (New Orleans Area       2434 Louisa Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,025      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,831.75                                                                        PARLOW JAMIE                       Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1879    RP         NOAHH (New Orleans Area       2500 Desire Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,080      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $102,027.60                                                                        WILKENS CYNTHIA                                                    City or County Tax Records       12/20/2006             12/17/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1880    RP         NOAHH (New Orleans Area       2500 Gina Drive                 St. Bernard   LA      70085   [IX], [XV],            5/5/2011     Yes         1,520      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $143,594.40                                                                        SUMMERLIN, JUDY A.                 Owner as of 6/9/15              City or County Tax Records        4/19/1994           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1881    RP         NOAHH (New Orleans Area       2504 Desire Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,025      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,831.75                                                                        VICTOR NIESHA                      Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1882    Ex 10/79   NOAHH (New Orleans Area       2519 Feliciana Street           New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        COLLIER MICHAEL J                                                  City or County Tax Records       12/12/2006             10/26/2012                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1883    RP         NOAHH (New Orleans Area       2521 S. Galvez Street           New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,287      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $121,582.89                                                                        HUTTON KATHERINE                                                   City or County Tax Records        8/28/2007              3/27/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1884    RP         NOAHH (New Orleans Area       2522 S Miro Street              New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,025      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,831.75                                                                        GOODJOINT EMMALINE                                                 City or County Tax Records        4/19/2007              4/9/2009                                    820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1885    Ex 10/79   NOAHH (New Orleans Area       2525 N Miro Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        CASBORN KIVA F                                                     City or County Tax Records       11/29/2007              9/23/2011                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1886    RP         NOAHH (New Orleans Area       2529 Caluda Street              Violet        LA      70092   [IX], [XV],            5/5/2011     Yes         1,152      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Owner as of 6/9/15, No Longer
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $108,829.44                                                                        JONES, BETTY                                                       City or County Tax Records        10/2/1969              2/22/2016                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Owns Property
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1887    RP         NOAHH (New Orleans Area       2529 Desire Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,128      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $106,562.16                                                                        ANDREWS LYNELL M                   Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1888    RP         NOAHH (New Orleans Area       2530 Gallier Street             New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes          981       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $92,675.07                                                                        HAWKINS LILLIE MAE                 Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1889    RP         NOAHH (New Orleans Area       2537 Desire Street              New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,020      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,359.40                                                                        BROOMFIELD MICHELLE C                                              City or County Tax Records        10/6/2006              2/19/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1890    Ex 10/79   NOAHH (New Orleans Area       2544 Gallier (NOAHH)            New Orleans   LA      70117   [XIII], [XV],          7/5/2011     Yes         1,071      Property Tax      Yes                                                                  Crescent City      Inspection Report   N/A            D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    NEW ORLEANS AREA
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $101,177.37                                                                                                           Owner as of 6/9/15              City or County Tax Records        1/19/2012           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                    HABITAT FOR HUMANITY
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1891    RP         NOAHH (New Orleans Area       2545 Desire Street              New Orleans   LA      70117   [VII], [IX], [XV],     1/14/2011    Yes         1,128      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Bruno & Bruno
                                                                                                                                                                                                                                                                                                                                                                       Current Owner, Unknown
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $106,562.16                                                                        WATSON ALTHILA                                                     City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00           represent property
                                                                                                                                                                                                                                                                                                                                                                       Purchase Date
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113                                                                    owner, Althila Watson
 1892    RP         NOAHH (New Orleans Area       2559 N Johnson Street           New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        BRIGHT KEVIN                                                       City or County Tax Records        1/19/1983              1/20/2010                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1893    RP         NOAHH (New Orleans Area       2608 Gallier Street             New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        JENKINS WILLIE 111                                                 City or County Tax Records         8/8/2006              9/24/2007                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1894    RP         NOAHH (New Orleans Area       2618 Piety Street               New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        STRAHAN JESSICA L                                                  City or County Tax Records        7/13/2007              3/30/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1895    RP         NOAHH (New Orleans Area       2650 Piety Street               New Orleans   LA      70117   [XIII], [XV],          7/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        WASHINGTON LARRY F                                                 City or County Tax Records        5/18/2007              3/26/2010                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1896    RP         NOAHH (New Orleans Area       2701 Kenilworth Drive           St. Bernard   LA      70085   [IX], [XV],            5/5/2011     Yes         1,520      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          See Michael Held on
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $143,594.40                                                                        HELD, MICHAEL D.                   Owner as of 6/9/15              City or County Tax Records        1/12/2007           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           OCXX
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1897    RP         NOAHH (New Orleans Area       2717 Palmetto Street            New Orleans   LA      70125   [VII], [IX], [XV],     1/14/2011    Yes         1,581      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Bruno & Bruno
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $149,357.07                                                                        SMITH, CURTIS M.                   Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00           represent property
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113                                                                    owners, Curtis and
 1898    RP         NOAHH (New Orleans Area       2720 Gina Drive                 St. Bernard   LA      70085   [IX], [XV],            5/5/2011     Yes         1,612      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    GUERRA, CHARLENE
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $152,285.64                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/22/1996           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                    ALPHONSO
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1899    RP         NOAHH (New Orleans Area       3014 N Tonti Street             New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,232      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $116,387.04                                                                        GRAY TAKIVA S                                                      City or County Tax Records        3/29/2007              2/20/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1900    RP         NOAHH (New Orleans Area       3030Albany Street               New Orleans   LA      70121   [IX], [XV],            5/5/2011     Yes         1,323      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $124,983.81                                                                        LANDRY,JANELL M                    Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1901    RP         NOAHH (New Orleans Area       3125 N Galvez Street            New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,470      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                    NEW ORLEANS AREA
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $138,870.90                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/13/2013           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                    HABITAT FOR HUMANITY
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1902    RP         NOAHH (New Orleans Area       3127 3rd Street                 New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,034      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $97,681.98                                                                        MAPLES ANITA M                                                     City or County Tax Records        5/16/2007             11/16/2007                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1903    RP         NOAHH (New Orleans Area       3127 N Galvez Street            New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,071      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $101,177.37                                                                        PRESTON SHELLEY                    Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1904    RP         NOAHH (New Orleans Area       31Gibbs Drive                   Chalmette     LA      70043   [IX], [XV],            5/5/2011     Yes         1,520      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $143,594.40                                                                        LIEBERT, MELISSA MICHELLE No Record of Ownership                   City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1905    RP         NOAHH (New Orleans Area       3229 Maureen Lane               Mereaux       LA      70075   [IX], [XV],            5/5/2011     Yes         1,520      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    SALANDE, JAMES J., JR. &
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $143,594.40                                                                                                           No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                    SALANDE, JAMES J., SR.
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1906    RP         NOAHH (New Orleans Area       3235 Washington Avenue          New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,018      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,170.46                                                                        SMITH JACQUELINE                                                   City or County Tax Records         6/8/2007              2/29/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1907    RP         NOAHH (New Orleans Area       3251 Law Street                 New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,056      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    NEW ORLEANS AREA                   Current Owner, Unknown
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $99,760.32                                                                                                                                           City or County Tax Records        11/1/2006           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                    HABITAT FOR HUMANITY IN            Purchase Date
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1908    RP         NOAHH (New Orleans Area       3255 Law Street (Gloria         New Orleans   LA      70117   [XIII], [XV],          7/5/2011     Yes         1,049      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)   Williams)                                                     [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $99,099.03                                                                        WILLIAMS GLORIA TATNEY                                             City or County Tax Records        11/1/2006              1/13/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 1909    RP         NOAHH (New Orleans Area       3300 Daniel Drive               Violet        LA      70092   [IX], [XV],            5/5/2011     Yes         1,176      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    DUPLESSIS, CRYSTAL GAIL            Previous Owner, Did Not Own
                    Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $111,096.72                                                                                                                                           City or County Tax Records        4/18/2007             11/20/2008                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                    HAZEL                              Property on 6/9/15
                                                                                                                                                                          Document with                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
                                                                                                                Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 53 of 82



Claimant Source   Claimant Name                 Affected Property Address       City          State   Zip     Omni(s)              Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                 Counsel Address         Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                      2017 RS Means
Identifier                                                                                                                          Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                    Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                           Prior Settlement
                                                                                                                                        Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                          Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                           Payment(s)- REDACTED
                                                                                                                                                                         Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                            [A]
                                                                                                                                                                           Sharefile
 1910    RP       NOAHH (New Orleans Area       3300 Jackson Boulevard          Chalmette     LA      70043   [IX], [XV],            5/5/2011     Yes         1,581      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                       0.86                $94.47          $149,357.07                                                                      BAUER, DANIEL G., TRUST            No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1911    RP       NOAHH (New Orleans Area       3301 Dryades Street (Alana      New Orleans   LA      70117   [XIII], [XV],          7/5/2011     Yes         1,056      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)   Harris)                                                       [XVI], [XVII]                                               Assessor's                       0.86                $94.47           $99,760.32                                                                      HARRIS ALANA R                                                     City or County Tax Records         7/7/2006              9/21/2007                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1912    RP       NOAHH (New Orleans Area       3308 Rose Street                Chalmette     LA      70043   [IX], [XV],            5/5/2011     Yes         1,520      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                       0.86                $94.47          $143,594.40                                                                      STARNES, ROSALYN ELAINE            No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1913    RP       NOAHH (New Orleans Area       3525 Eagle Street               New Orleans   LA      70118   [IX], [XV],            5/5/2011     Yes         1,022      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                       0.86                $94.47           $96,548.34                                                                      LEBLANC CHERIE                                                     City or County Tax Records        5/15/2007              1/15/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1914    RP       NOAHH (New Orleans Area       3600 1st Street                 New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,122      Property Tax     Yes                                                                   Taihe/ Crescent    Photo             17, 27         D, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                                                                            City                                                                                                                                                                                                                                    820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                                                                        Document with                      0.86                $94.47          $105,995.34                                                                      ELLY GWENDOLYN                                                     City or County Tax Records        1/28/2009              2/11/2009                                   New Orleans, LA 70113                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Square Footage

 1915    RP       NOAHH (New Orleans Area       3627 1st Street                 New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,374      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $129,801.78                                                                      LEARSON BRANDIN G                                                  City or County Tax Records        6/12/2007              5/29/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1916    RP       NOAHH (New Orleans Area       3631 1st Street                 New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,022      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,548.34                                                                      ROBY LOUIS V SR                    Owner as of 6/9/15              City or County Tax Records        3/30/2009           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1917    RP       NOAHH (New Orleans Area       3720 4th Street (Cathy Hankton) New Orleans   LA      70125   [XIII], [XV],          7/5/2011     Yes         1,022      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                NEW ORLEANS AREA
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $96,548.34                                                                                                         Owner as of 6/9/15              City or County Tax Records        7/21/2014           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                HABITAT FOR HUMANITY
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1918    RP       NOAHH (New Orleans Area       3740 St. Bernard Avenue         New Orleans   LA      70122   [IX], [XV],            5/5/2011     Yes         1,012      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $95,603.64                                                                      BAKER CHARLES                                                      City or County Tax Records        8/14/2007              6/5/2008                                    820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1919    RP       NOAHH (New Orleans Area       3917 N Prieur Street            New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,047      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,910.09                                                                      HUANG TANYA                                                        City or County Tax Records         4/2/2007              6/30/2009                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1920    RP       NOAHH (New Orleans Area       3918 N Prieur Street            New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,047      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,910.09                                                                      BONIS DENISE K                                                     City or County Tax Records        11/2/2006              11/5/2009                                   820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1921    RP       NOAHH (New Orleans Area       3918 N. Johnson Street          New Orleans   LA      70117   [VII], [IX], [XV],     1/14/2011    Yes         1,050      Property Tax      Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Bruno & Bruno
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                                                                                                                                            NEW ORLEANS AREA         Current Owner, Acquired                                                                                                                        820 O'Keefe Avenue                                                                       represent property
                                                                                                                                                                                                            0.86               $94.47           $99,193.50                                                                                                                                         City or County Tax Records         3/2/2016           Current Owner                                                                                                           $0.00
                                                                                                                                                                        Document with                                                                                                                                           HABITAT FOR HUMANITY INC Property after 6/9/15                                                                                                                          New Orleans, LA 70113                                                                    owner, Javon
                                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                                                                           Washington.
 1922    RP       NOAHH (New Orleans Area       4014 N Roman Street             New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,081      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $102,122.07                                                                      HARRIS MICHAEL W                                                   City or County Tax Records        4/11/2006              8/22/2007                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1923    RP       NOAHH (New Orleans Area       4015 N. Derbigny Street (Tara New Orleans     LA      70117   [XIII], [XV],          7/5/2011     Yes         1,311      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                KENNEDY WILLIAM E                  Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)   Slessman and William Kennedy)                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $123,850.17                                                                                                                                         City or County Tax Records        4/11/2006              6/30/2008                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                SLESSMAN TARA 2                    Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1924    RP       NOAHH (New Orleans Area       4015 N. Galvez Street           New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,080      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $102,027.60                                                                      MEAD FATIMA H                                                      City or County Tax Records       12/20/2006              9/20/2008                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1925    RP       NOAHH (New Orleans Area       4021 N Galvez Street            New Orleans   LA      70117   [IX], [XV],            5/5/2011     Yes         1,092      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $103,161.24                                                                      BYRD SHIRLEY A                                                     City or County Tax Records       12/12/2006             10/29/2007                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1926    RP       NOAHH (New Orleans Area       4105 E. Louisiana State Drive   Kenner        LA      70065   [XIII], [XV],          7/5/2011     Yes         1,260      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)   (Nicole Hymel)                                                [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $119,032.20                                                                      HYMEL,NICOLE M.                    Records Not Available           City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1927    RP       NOAHH (New Orleans Area       4400 Ray Avenue                 New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,234      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $116,575.98                                                                      RICHARDSON EBONEE T                                                City or County Tax Records        4/16/2008              8/5/2009                                    820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1928    RP       NOAHH (New Orleans Area       4505 America Street             New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,156      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $109,207.32                                                                      STEWART WELLINGTON Q                                               City or County Tax Records                               3/5/2008                                    820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1929    RP       NOAHH (New Orleans Area       4559 America Street             New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,109      Property Tax      Yes                                                                  Taihe              Photo             14, 17         H, I                                                                                                                                                        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $104,767.23                                                                      BLACKMAN STANLEY SR                                                City or County Tax Records                              11/19/2007                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1930    RP       NOAHH (New Orleans Area       4621 Dale Street                New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes          912       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $86,156.64                                                                      ROBINSON ANTOINETTE                                                City or County Tax Records         9/6/2007             11/14/2008                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1931    RP       NOAHH (New Orleans Area       4733 Wilson Avenue              New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      BROWN CHAD JEROT                   Owner as of 6/9/15              City or County Tax Records        6/30/2008           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1932    RP       NOAHH (New Orleans Area       4737 Wilson Avenue              New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,092      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $103,161.24                                                                      DABNEY CYNTHIA                     Owner as of 6/9/15              City or County Tax Records        9/29/2008           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1933    RP       NOAHH (New Orleans Area       4745 Wilson Avenue              New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      TAYLOR LUCRETIA                                                    City or County Tax Records       12/30/2007              6/30/2008                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1934    RP       NOAHH (New Orleans Area       4746 Wilson Avenue              New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,056      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $99,760.32                                                                      LEONARD KASIME B                   Owner as of 6/9/15              City or County Tax Records        12/9/2009           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1935    RP       NOAHH (New Orleans Area       4809 Reynes Street              New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      FRANCOIS ROSE                                                      City or County Tax Records        5/30/2008              8/19/2009                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1936    RP       NOAHH (New Orleans Area       4816 Tulip Street               New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      HULBERT LASHONDA M                 Owner as of 6/9/15              City or County Tax Records        8/14/2009           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1937    RP       NOAHH (New Orleans Area       4819 Reynes Street              New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      GALLOWAY CRYSTAL                                                   City or County Tax Records        9/22/2008              7/15/2009                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1938    RP       NOAHH (New Orleans Area       4820 America Street             New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,042      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,437.74                                                                      TRAHAN DIONNE T                                                    City or County Tax Records        9/13/2007             11/30/2009                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1939    RP       NOAHH (New Orleans Area       4840 Camelia Street (Quentella New Orleans    LA      70126   [XIII], [XV],          7/5/2011     Yes         1,080      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)   Duplessis)                                                    [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $102,027.60                                                                      DUPLESSIS QUENTELLA S                                              City or County Tax Records         9/6/2007              1/7/2010                                    820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1940    RP       NOAHH (New Orleans Area       4904 Dale Street                New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes          990       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $93,525.30                                                                      FORTHNER NATASHA T                                                 City or County Tax Records                               8/17/2007                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1941    RP       NOAHH (New Orleans Area       4926 Tulip Street (Schnika      New Orleans   LA      70126   [XIII], [XV],          7/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)   King)                                                         [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      KING SCHNIKA M                                                     City or County Tax Records        9/22/2008              9/4/2009                                    820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1942    RP       NOAHH (New Orleans Area       4929 Dodt Avenue                New Orleans   LA      70126   [IX], [XV],            5/5/2011     Yes         1,084      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $102,405.48                                                                      LINDSAY TULA P                                                     City or County Tax Records        2/13/2009              6/21/2010                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1943    RP       NOAHH (New Orleans Area       6101 Second Street              Violet        LA      70092   [XV], [XVI],           7/5/2011     Yes         1,651      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVII]                                                      Assessor's                        0.86               $94.47          $155,969.97                                                                      PEREZ, LEO JOHN, JR                Owner as of 6/9/15              City or County Tax Records         3/2/2012           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1944    RP       NOAHH (New Orleans Area       6418 4th Street                 New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes          640       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $60,460.80                                                                      BIENEMY, CAROLYN                   Owner as of 6/9/15              City or County Tax Records        9/13/1993           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1945    RP       NOAHH (New Orleans Area       65 Old Hickory Street           Chalmette     LA      70043   [XIII], [XV],          7/5/2011     Yes         1,664      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $157,198.08                                                                      MAJORS, LYNN JOHNSON               No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1946    RP       NOAHH (New Orleans Area       6518 Louis Elam Street          Violet        LA      70092   [IX], [XV],            5/5/2011     Yes          640       Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $60,460.80                                                                      JACKSON, PHILIP 1/2                Owner as of 6/9/15              Tax Records + Title/Deed          5/20/1976           Current Owner                                  820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1947    RP       NOAHH (New Orleans Area       7 Caroll Drive                  Chalmette     LA      70043   [IX], [XV],            5/5/2011     Yes         1,664      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $157,198.08                                                                      DEGEORGE, JANET HOEHN              No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1948    RP       NOAHH (New Orleans Area       720 Marais (Sandra Reuther)     Chalmette     LA      70043   [XIII], [XV],          7/5/2011     Yes         1,664      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                REUTHER, SANDRA L.
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $157,198.08                                                                                                         No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                                                                                                                                                                                BERTUCCI
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1949    RP       NOAHH (New Orleans Area       7232 Prosperity Street          Arabi         LA      70032   [IX], [XV],            5/5/2011     Yes         1,664      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47          $157,198.08                                                                      TERREBONNE, NOLAN                  No Record of Ownership          City or County Tax Records                                                                           820 O'Keefe Avenue                                                       $0.00
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1950    RP       NOAHH (New Orleans Area       8529 Palmetto Street            New Orleans   LA      70125   [IX], [XV],            5/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                  Habitat for Humanity, Inc.)                                                                 [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      TRASK JEANNETTE H                  Owner as of 6/9/15              City or County Tax Records        7/27/2007           Current Owner                                  820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
 1951    RP       NOAHH (New Orleans Area       8739 Plum Street (Lugenia       New Orleans   LA      70118   [XIII], [XV],          7/5/2011     Yes         1,040      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                          Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                  Habitat for Humanity, Inc.)   Raphell)                                                      [XVI], [XVII]                                               Assessor's                        0.86               $94.47           $98,248.80                                                                      RAPHELL LUGENIA A                                                  City or County Tax Records        5/13/2007              2/13/2008                                   820 O'Keefe Avenue                                                       $0.00           BKC
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                        Document with                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 54 of 82



Claimant Source     Claimant Name                   Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 1952    RP &       NOAHH (New Orleans Area         3511 Jackson Blvd.              Chalmette         LA      70043   [II(A)], [IX],            9/16/2010    Yes         1,520      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                             Owner Billie Jean
         Omni XX    Habitat for Humanity, Inc.)                                                                       [XIII], [XV],                                                  Assessor's                                                                                                                                            HATHEWAY, BILLIE JEAN                                                                                                                                                         820 O'Keefe Avenue                                                                                     Hatheway on original
                                                                                                                                                                                                                      0.86                $94.47          $143,594.40                                                                                                         No Record of Ownership          City or County Tax Records                                                                                                                                                                        $0.00
                    (Owner: Billie Jean Hatheway)                                                                     [XVI], [XVII],                                               Document with                                                                                                                                           BERTUCCI                                                                                                                                                                      New Orleans, LA 70113                                                                                  RP
                                                                                                                      [XX]                                                         Square Footage
 1953    RP &       NOAHH (New Orleans Area         2119 Caluda Lane                Violet            LA      70092   [IX], [XV],               5/5/2011     Yes         1,152      Property Tax     Yes                                                                   Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                             Owner Charles
                                                                                                                                                                                                                                                                                                                                           DUCHANE, SUSIANNA
         Omni XX    Habitat for Humanity, Inc.)                                                                       [XVI], [XVII],                                                 Assessor's                       0.86                $94.47          $108,829.44                                                                                                         No Record of Ownership          City or County Tax Records                                                                                 820 O'Keefe Avenue                                                                     $0.00           Cuchane on original RP
                                                                                                                                                                                                                                                                                                                                           ROBERTSON
                    (Owner: Charles Cuchane)                                                                          [XX]                                                         Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
 1954    Ex 10/79   Nobo, Raquel                    8001 W 36th Avenue - Unit 2     Hialeah           FL      33018   [II(B)], [VII],           12/6/2010    Yes         1,360      Property Tax     Yes                                                                   Taishan/ IMT       Photo             8, 33          F, J                                                                                                                                                        Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                      [XVII]                                                       Document with                      0.81                $88.98          $121,012.80                                                                      RAQUEL NOBO                        Owner as of 6/9/15              City or County Tax Records         2/7/2007           Current Owner          Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100                                                          $0.00
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219

 1955    RP         Noldge, Don                     2046 Beach Blvd.                Biloxi            MS      39531   [III], [VII], [XV],       10/7/2009    Yes         1,152      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Hawkins Gibson                Edward Gibson, Esq.                (228) 467-4225   egibson@hgattorneys.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.84               $92.27          $106,295.04                                                                      NCH PARTNERS                                                       Tax Records + Title/Deed         11/14/2006                2011                                            153 Main St                                                                          $71,142.85
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Bay St Louis, MS 39520
 1956    Ex 10/79   Nord, John                      13960 Clubhouse Drive           Tampa             FL      33618   [III], [VII], [XV],       10/7/2009    Yes         2,592      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $236,338.56                                                                      NORD JOHN TRUSTEE                  Owner as of 6/9/15              City or County Tax Records        6/29/2006           Current Owner                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 1957    Ex 10/79   Norris, Melissa                 721 Hundred Acre Road           Neely             MS      39461   [II], [XV], [XVI],        3/15/2010    Yes         2,128         Other          Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                      [XVII], [XXIII]                                                                                                                                                                                                      CRAWFORD, MELISSA                                                                                                                                                             900 W. Morgan Street
                                                                                                                                                                                                                       0.79               $86.78          $184,667.84                                                                                                         Owner as of 6/9/15              City or County Tax Records                            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           NORRIS                                                                                                                                                                        Raleigh, NC 27603

 1958    Ex 10/79   Norton, James                   9451 Portside Terrace           Bradenton         FL      34212   [III], [IX], [XV],        10/7/2009    Yes         2,606      Property Tax      Yes                                                                  Chinese            Photo             37             C                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                 (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $237,615.08      Manufacturer 2                                                  NORTON, JAMES                      Owner as of 6/9/15              City or County Tax Records       11/14/2002           Current Owner                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 1959    Ex 10/79   Notarpasquale, Agostina         11401 Bright Star Lane          Riverview         FL      33569   [VII], [XV],              1/14/2011    Yes         1,400      Property Tax      Yes                                                                  Taishan            Photo             12             L           NOTARPASQUALE                                                                                                                                   Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $127,652.00                                                                      DOMENICO SANFILPPO                                                 Tax Records + Title/Deed          3/24/2006              5/26/2016                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                   Document with                                                                                                                                           MARCELLA                                                                                                                                                                      Bonita Springs, FL 34134
 1960    RP         Nowicki, John C.                2713 S.W. 18th Avenue           Cape Coral        FL      33914   [III], [IX], [XV],        10/7/2009    Yes         2,034      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                Baron & Budd
                                                                                                                                                                                                                       0.80               $87.88          $178,747.92                                                                      WOODALL IAN + BARBARA A                                            Tax Records + Title/Deed          2/24/2005              7/21/2009                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 1961    Ex 10/79   Nowling, Michael and Angel      3323 Farrish Road               Jay               FL      32565   [III], [VII], [XV],       10/7/2009    Yes         1,664     Builder's Floor    Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Levin Papantonio              Ben Gordon, Esq.                   (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                     Plan                           0.85               $93.37          $155,367.68                                                                      NOWLING MICHAEL & ANGEL Owner as of 6/9/15                         City or County Tax Records        8/10/2006           Current Owner                                        316 South Baylen St.                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Pensacola, FL 32502
 1962    Ex 10/79   Nuccio, Thomas and Darlene      198 Shadroe Cove Circle, Bldg   Cape Coral        FL      33991   [XV], [XVI],              7/5/2011     Yes         1,507      Property Tax      Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com                               Allison Grant
                                                    5, Unit 502                                                       [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                          27300 Riverview Center Blvd                                                                            represents condo
                                                                                                                                                                                                                                                                                                                                           STILLITANO MATTHEW M &             Previous Owner, Did Not Own
                                                                                                                                                                                   Document with                       0.80               $87.88          $132,435.16                                                                                                                                         Tax Records + Title/Deed          1/19/2007              4/3/2013                                          Bonita Springs, FL 34134                                                               $0.00           association
                                                                                                                                                                                                                                                                                                                                           STILLITANO LESLIE G                Property on 6/9/15
                                                                                                                                                                                   Square Footage

 1963    RP         Nudelman, Gene and Levina,      7240 Wisteria Avenue            Parkland          FL      33076   [II], [XV], [XVI],        3/15/2010    Yes         3,522     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Tatyana                                                                                           [XVII]                                                            Plan                           0.81               $88.98          $313,387.56                                                                      BRANSON,JEFFREY & SUSAN                                            Tax Records + Title/Deed          6/29/2006              9/27/2012                                        316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
 1964    Ex 10/79   Nunes, Norberto                 7060 Venice Way Unit 301        Naples            FL      34119   [II(C)], [IX],            1/24/2011    Yes         1,828     Builder's Floor    Yes                                                                  Taishan            Photo             5, 12          J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                      Plan                           0.80               $87.88          $160,644.64                                                                      NUNES, NORBERTO A                  Owner as of 6/9/15              City or County Tax Records        3/27/2007           Current Owner                                       27300 Riverview Center Blvd                                                           $58,810.61
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1965    Ex 10/79   Nunez, Allen and Janet          2104 Edgar Drive                Violet            LA      70092   [II(A)], [III(A)],        9/16/2010    Yes         1,250      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                                       0.86               $94.47          $118,087.50                                                                      NUNEZ, ALLEN J.                    Owner as of 6/9/15              City or County Tax Records        6/22/1972           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1966    Ex 10/79   Nunez, Allen and Janet          2108 Edgar Drive                Violet            LA      70092   [II(A)], [III(A)],        9/16/2010    Yes         1,000      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                                       0.86               $94.47           $94,470.00                                                                      NUNEZ, JANET SHAW                  Owner as of 6/9/15              City or County Tax Records        12/2/2011           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1967    Ex 10/79   Nunez, Alvaro                   10833 NW 79 St.                 Doral             FL      33178   [III], [VII], [XV],       10/7/2009    Yes         1,621     Builder's Floor    Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                                                                               FEDERAL NATIONAL                   Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.81               $88.98          $144,236.58                                                                                                                                         Tax Records + Title/Deed           1/4/2007              4/25/2017                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                           MORTGAGE ASSN                      Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1968    RP         Nunez, Carmela                  2650 Amber Lake Drive           Cape Coral        FL      33909   [IX], [XV],               5/5/2011     No          2,712      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Roberts & Durkee             C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $238,330.56                                                                      BARROWS PROPERTIES LLC                                             Tax Records + Title/Deed           5/1/2007              4/18/2013                                        2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        300
 1969    Ex 10/79   Nunez, Jeovany and Monica       8049 W. 36th Avenue #4          Hialeah           FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $120,656.88                                                                      JEOVANNY NUNEZ                     Owner as of 6/9/15              City or County Tax Records        1/12/2007           Current Owner                                                                                                                               $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 1970    RP         Nunez, Patricia                 22 E. Carmack Drive             Chalmette         LA      70043   [VII], [XV],              1/14/2011    Yes         1,398         Other          Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                           Previous Owner, Did Not Own                                                                                                               820 O'Keefe Avenue
                                                                                                                                                                                                                       0.86               $94.47          $132,069.06                                                                      HESSLER, EDWIN, II                                                 City or County Tax Records        7/28/2011             11/21/2014                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                                                        New Orleans, LA 70113

 1971    Ex 10/79   Nuqui, Magno and Aracelli       10860 Tiberio Drive             Ft. Myers         FL      33913   [II], [IX], [XV],         3/15/2010    Yes         1,823      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           NUQUI MAGNO M + ARACELI
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $160,205.24                                                                                              Owner as of 6/9/15                         City or County Tax Records        9/14/2007           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           G
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1972    RP         Nuss, Douglas                   20044 Larino Loop               Estero            FL      33928   [III], [VII], [XIII],     10/7/2009    Yes         2,282      Property Tax       Yes                                                                 Taishan            Photo             11             J           PAPIERNIK THOMAS JR TR +                                                                                                                        Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.             (305) 476-7400     patrick@colson.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                            PAPIERNIK KATHRYN E TR                                                                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                       Document with                       0.80               $87.88          $200,542.16                                                                      FOR THOMAS J JR +                                                  Tax Records + Title/Deed          3/24/2008             11/22/2011           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                   Square Footage                                                                                                                                          KATHRYN E PAPIERNIK                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                           TRUST
 1973    Ex 10/79   Nyce, Tracy                     106 Burano Court                North Venice      FL      34275   [XV], [XVI],              7/5/2011     Yes         2,580      Property Tax      Yes                                                                  C&K                Photo             34             B                                                                                                                                                           Allison Grant, P.A.           Allison Grant, Esq.                (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                       0.83               $91.18          $235,244.40                                                                      HECIMOVICH NICHOLAS                                                Tax Records + Title/Deed          6/30/2009              6/24/2014                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                         Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 1974    Ex 10/79   O’Brien, Jason                  19252 Stone Hedge Drive         Tampa             FL      33647   [XIII], [XV],             7/5/2011     Yes         1,443      Property Tax      Yes                                                                  Taihe              Photo             14             H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $131,572.74                                                                      VANDERMARK MELISSA J                                               Tax Records + Title/Deed         11/16/2009              2/22/2013                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 1975    RP         O’Brien, Kelly and Lori         3120 W. Wallcraft Avenue        Tampa             FL      33611   [II(A)], [III(A)],        9/16/2010    Yes         3,300      Property Tax      Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           MACGILLIVARY KATIE                 Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $300,894.00                                                                                                                                         Tax Records + Title/Deed           6/9/2004              2/17/2012                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           LONGWAY                            Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1976    RP         O’Key, Dennis Trustee of the    318 SE 14th Terrace             Cape Coral        FL      33990   [II(A)], [XV],            9/16/2010    Yes         1,959      Property Tax      Yes                                                                  Taihe              Photo             17             I           ORTIZ PERELTA OCTOVIO H +                                                                                                                       Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                     Previous Owner, Did Not Own
                    Dennis A. O’Key Revocable                                                                         [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $172,156.92                                                                      CEDENO DE ORTIZ CEDENO                                             Tax Records + Title/Deed          9/26/2005              2/21/2012                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                     Property on 6/9/15
                    Trust                                                                                                                                                          Document with                                                                                                                                           H/W                                                                                                                                                                          Fort Myers, FL 33907
 1977    Ex 10/79   O’Leary, Dennis and Stephanie   9523 26th Bay Street            Norfolk           VA      23518   [IX], [XV],               5/5/2011     Yes         1,874     Builder's Floor    Yes                                                                  Venture Supply     Photo             39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                                                                               9523 26TH BAY STREET               Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94              $103.26          $193,509.24                                                                                                                                         City or County Tax Records        2/26/2010              7/21/2011                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                           ASSOCIATES LLC                     Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 1978    Ex 10/79   O’Neil, Gerald and Brasch,      818 King Leon Way               Sun City Center   FL      33573   [III], [XIII], [XV],      10/7/2009    Yes         1,929      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                    Jacqueline                                                                                        [XVI], [XVII]                                                   Assessor's                       0.83               $91.18          $175,886.22                                                                      HORSTMANN GLENN G                                                  Tax Records + Title/Deed          6/22/2006             11/10/2015                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 1979    Ex 10/79   O’Rourke, Gabriela              19229 Stone Hedge Drive         Tampa             FL      33647   [XV], [XVI],              7/5/2011     Yes         1,443      Property Tax      Yes                                                                  C&K                Photo             34, 35         B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                          Assessor's                       0.83               $91.18          $131,572.74                                                                      O'ROURKE GABRIELA                  Owner as of 6/9/15              City or County Tax Records        2/25/2010           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1980    RP         San Filippo, Keith and Linda    3208 NE 4 Street                Pompano Beach     FL      33069   [IX], [XIII],             5/5/2011     Yes         2,621       Benchmark        Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com                              Declaration submitted
                                                                                                                      [XV], [XVI],                                                   Inspection                                                                                                                                                                                                                                                                                                                         12 SE 7th St #801                                                                                       under San Filippo,
                                                                                                                      [XVII]                                                        Report Using                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434                                                                          Keith & Linda. San
                                                                                                                                                                                   Zillow.com for                                                                                                                                                                             Previous Owner, Did Not Own                                                                                                                                                                                                                       Filippos are previous
                                                                                                                                                                                   Square Footage
                                                                                                                                                                                                                       0.81               $88.98          $233,216.58                                                                      LORINCZI,ANDREA                                                    Tax Records + Title/Deed          9/13/2006              11/8/2006                                                                                                                                $0.00           owners who purchased
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the property on
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                November 8, 2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                from Ocean Park
 1981    RP         Siegel, William and Sandra      3220 NE 4 Street                Pompano Beach     FL      33069   [IX], [XIII],             5/5/2011     Yes         2,426        Appraisal       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                 (954) 763-8181   mryan@krupnicklaw.com                              Declaration submitted
                                                                                                                      [XV], [XVI],                                                 Showing Floor                                                                                                                                                                                                                                                                                                                         12 SE 7th St #801                                                                                      under Siegel, William
                                                                                                                      [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                       Fort Lauderdale, FL 33301-3434                                                                         & Sandra. Siegels are
                                                                                                                                                                                       Footage                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                                                                                                                                       previous owners who
                                                                                                                                                                                                                       0.81               $88.98          $215,865.48                                                                      OLNESS,DEREK B                                                     Tax Records + Title/Deed          9/13/2006             10/23/2006                                                                                                                                $0.00           purchased the property
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                on October 23, 2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                from Ocean Park
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Estates LLC. They
 1982    RP         Falke, Maureen                  3224 NE 4 Street                Pompano Beach     FL      33069   [IX], [XIII],             5/5/2011     Yes         2,689      Property Tax      Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                 (954) 763-8181   mryan@krupnicklaw.com                              Declaration submitted
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                          12 SE 7th St #801                                                                                      under Falke, Maureen.
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434                                                                         Falkes are previous
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                                                                                                                               owners who purchased
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own                                                                                                                                                                                                                       the property October 2,
                                                                                                                                                                                                                       0.81               $88.98          $239,267.22                                                                      OLNESS,DEREK                                                       Tax Records + Title/Deed          9/13/2006              10/2/2006                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                                                                                                                                                                2006 from Ocean Park
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Estates, LLC.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (Kenneth passed away
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                February 2013). The
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 55 of 82



Claimant Source     Claimant Name                   Affected Property Address      City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square       Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided      Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                    Sharefile
 1983    Ex 10/79   Crawford, Scott and Dawn        3228 NE 4 Street               Pompano Beach    FL      33062   [IX], [XIII],             5/5/2011     Yes         2,813        Appraisal       Yes                                                                   Taishan            Photo              2, 9           J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com                             Declaration submitted
                                                                                                                    [XV], [XVI],                                                 Showing Floor                                                                                                                                                                                                                                                                                                                            12 SE 7th St #801                                                                                      under Crawford, Dawn
                                                                                                                    [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434                                                                         & Scott. Crawfords are
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                                                                                                                                     the present owners and
                                                                                                                                                                                                                                                                                                                                           CRAWFORD,DAWN &                    Previous Owner, Did Not Own                                                                                                                                                                                                                        have owned the
                                                                                                                                                                                                                     0.81                $88.98          $250,300.74                                                                                                                                          Tax Records + Title/Deed                                 11/8/2006                                                                                                                               $97,462.79
                                                                                                                                                                                                                                                                                                                                           CRAWFORD,SCOTT                     Property on 6/9/15                                                                                                                                                                                                                                 property since they
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 purchased it on
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 November 8, 2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 from Ocean Park
 1984    Ex 10/79   Octobre, Marie                  1609 SW 22 Lane                Cape Coral       FL      33991   [II], [XV], [XVI],        3/15/2010    Yes         1,210      Property Tax       Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.80              $87.88           $106,334.80                                                                       FARINELLA RICHARD H                                                Tax Records + Title/Deed          9/21/2005              3/8/2017                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                Owns Property                                                                                                Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 1985    RP         Oh, Gunman                      961 Hollymeade Circle          Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         2,227      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com                              *VA settlement
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                              HURDLE JEANETTE & DAVID Previous Owner, Did Not Own                                                                                             Serpe                          580 East Main Street, Suite 310                                                                        payment to Fannie Mae
                                                                                                                                                                                 Document with                        0.95              $104.36          $232,409.72                                                                                                                                          City or County Tax Records        3/19/2007              2/8/2012                                           Norfolk, VA 23510                                                                      $0.00           c/o David R. Box
                                                                                                                                                                                                                                                                                                                                           HURDLE                  Property on 6/9/15
                                                                                                                                                                                 Square Footage
 1986    Ex 10/79   OIP, LLC                        3509 Decomine Street           Chalmette        LA      70043   [IX], [XV],               5/5/2011     Yes         1,800      Property Tax       Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.86              $94.47           $170,046.00                                                                       HANSEN, KRISTY LYNN                                                City or County Tax Records        1/26/2007              1/31/2014                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1987    Ex 10/79   Ojeda, Benjamin and Nancy       765 East Oklahoma Avenue       Labelle          FL      33935   [VII], [XV],              1/14/2011    Yes         2,443      Property Tax       Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $214,690.84                                                                       SPINDLE JANET                                                      City or County Tax Records        7/20/2005              9/20/2016                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 1988    RP         Okaily, Okaily AM and Lois      1690 Renaissance Commons       Boynton Beach    FL      33426   [II(B)], [XV],            12/6/2010    Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    Blvd., Unit 1215                                                [XVI], [XVII]                                                     Plan                            0.82              $90.08           $100,799.52                                                                       MALLALEY CLAYTON                                                   Tax Records + Title/Deed           5/7/2007              9/21/2011                                          900 W. Morgan Street                                                                 $99,427.30
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1989    Ex 10/79   Okaily, Rhoda and Aly           1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           OKAILY, ALY A; OKAILY,
                                                    Blvd., Unit 1412                                                [XVII]                                                            Plan                            0.82              $90.08           $111,699.20                                                                                                          Owner as of 6/9/15              City or County Tax Records         4/9/2007           Current Owner                                         900 W. Morgan Street                                                                 $93,519.87
                                                                                                                                                                                                                                                                                                                                           RHODA A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 1990    RP         Oler, Danette and Raymond       160 E. Mariana Avenue, North   Ft. Myers        FL      33971   [VII], [XV],              1/14/2011    Yes         1,992      Property Tax       Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           WILE ROGER + GRAHAM                Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $175,056.96                                                                                                                                          Tax Records + Title/Deed          3/19/2003              6/17/2010                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           DORA                               Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 1991    Ex 10/79 & Olivas, John                    16280 Charlton                 New Orleans      LA      70122   [XIII], [XV],             7/5/2011     Yes         1,860         Other           Yes                                                                  Taihe              Photo              20, 21         I                                                                                                                                                           Paul A. Lea, Jr., APLC         Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
         Omni XX                                                                                                    [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                                        724 East Boston Street
                                                                                                                                                                                                                      0.86              $94.47           $175,714.20                                                                       OLIVAS JOHN R                      Owner as of 6/9/15              City or County Tax Records        1/31/2007           Current Owner                                                                                                                                $0.00
                                                                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                                  Covington, LA 70433

 1992    Ex 10/79   Olivo, Luis                     613 S.E. 25th Terrace          Cape Coral       FL      33904   [XV], [XVI],              7/5/2011     Yes         2,052     Builder's Floor     Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVII]                                                            Plan                            0.80              $87.88           $180,329.76                                                                       OLIVO LUIS                         Owner as of 6/9/15              City or County Tax Records        5/24/2005           Current Owner                                       12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1993    Ex 10/79   Olschewiski, Krzysztof and      8680 Cobblestone Pointe Circle Boynton Beach    FL      33472   [II], [XV], [XVI],        3/15/2010    Yes         4,134      Property Tax       Yes                                                                  Dragon Brand       Photo              26             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Prandi, Chad                                                                                    [XVII]                                                          Assessor's                                                                                                                                             OLSCHEWSKI KRZYSZTOF                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                                      0.82              $90.08           $372,390.72                                                                                                          Owner as of 6/9/15              City or County Tax Records        9/25/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             PRANDI CHAD &                                                                                                                                                                3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 1994    Ex 10/79   Olson, Daniel and Sarah         9535 26th Bay Street           Norfolk          VA      23518   [IX], [XV],               5/5/2011     Yes         2,872        Appraisal        Yes                                                                  Venture Supply     Photo              39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                    [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $296,562.72                                                                       JPMORGAN CHASE BANK, NA                                            City or County Tax Records        5/11/2007              4/4/2017                                                                                                                                  $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                              Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                               Richard J. Serpe             Coral Gables, FL 33134
 1995    Ex 10/79   Olson, Dina and Olson-Dobol,    357 NE 35th Terrace            Homestead        FL      33033   [XV], [XVI],              7/5/2011     Yes         1,762      Property Tax       Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           VM Diaz and Partners         Victor Diaz, Esq.                     (305) 704-3200   victor@diazpartners.com
                                                                                                                                                                                                                                                                                                                                           MELISSA ANN OLSEN & DINA
                    Melissa                                                                                         [XVII]                                                          Assessor's                        0.81              $88.98           $156,782.76                                                                                                Owner as of 6/9/15                        City or County Tax Records       12/15/2006           Current Owner                                       1900 Washington Ave., Suite 402                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           OLSEN
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Miami Beach, FL 33139
 1996    Ex 10/79   Ondrovic, Joseph                14122 Kensington Lane          Ft. Myers        FL      33912   [II(C)], [III], [IX],     10/7/2009    Yes         2,035      Property Tax       Yes                                                                  Taishan            Photo              6, 12          J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           DEMEO MARY C + DEMEO               Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                    Assessor's                        0.80              $87.88           $178,835.80                                                                                                                                          City or County Tax Records        9/15/2006              4/26/2011                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           ANTHONY J J/T                      Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1997    Ex 10/79   Oravetz, Michael                2810 NW 13th Street            Cape Coral       FL      33993   [XV], [XVI],              7/5/2011     Yes         2,018          Other          Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVII]                                                                                            0.80              $87.88           $177,341.84                                                                       ORAVETZ MICHAEL E                  Owner as of 6/9/15              City or County Tax Records        9/22/2008           Current Owner                                       12800 University Drive, Suite 600                      m                               $62,120.86
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 1998    Ex 10/79   Organista, Maria                2902 Nadine Lane               Lehigh Acres     FL      33971   [III], [VII], [XV],       10/7/2009    Yes         1,511       Property Tax      Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           ORGANISTA GUZMAN MARIE
                                                                                                                    [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $132,786.68                                                                                              Owner as of 6/9/15                          City or County Tax Records         9/1/2009           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           V
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 1999    Ex 10/79   Orjuela, Sonia                  14726 SW 6 Street Building 41, Pembroke Pines   FL      33027   [III], [IX], [XV],        10/7/2009    Yes         2,230        Appraisal        Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                    Unit 4101                                                       [XVI], [XVII]                                                Showing Floor                        0.81              $88.98           $198,425.40                                                                       ORJUELA,SONIA MYRIAM               Owner as of 6/9/15              Tax Records + Title/Deed           8/3/2006           Current Owner                                       12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 2000    Ex 10/79   Ortega, Ricardo and Harris,     14018 SW 274 Terrace           Homestead        FL      33032   [XV], [XVI],              7/5/2011     Yes         2,658       Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           RICHARD C HARRIS &
                    Richard                                                                                         [XVII]                                                          Assessor's                        0.81              $88.98           $236,508.84                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/24/2011           Current Owner                                       12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           RICARDO ORTEGA
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2001    RP         Ortiz, Amelia and Mark,         9701 Cobblestone Creek Drive   Boynton Beach    FL      33472   [III], [IX], [XV],        10/7/2009    Yes         3,156      Builder's Floor    Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Candace                                                                                         [XVI], [XVII]                                                      Plan                           0.82              $90.08           $284,292.48                                                                       GOLDFARB KEITH                                                     Tax Records + Title/Deed          6/20/2006              6/27/2012                                        12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 2002    Ex 10/79   Ortiz, Daysi and Rafael         8199 West 36th Ave. Unit 10    Hialeah          FL      33018   [II(A)], [II(B)],         9/16/2010    Yes         1,464      Property Tax       Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [VII], [XV],                                                   Assessor's                                                                                                                                              RAFAEL A DIAZ &W DAYSI                                                                                                                          Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $130,266.72                                                                                                          Owner as of 6/9/15              City or County Tax Records        1/24/2007           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                             ORTIZ                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2003    RP         Osborne, Jason and Pemberton-   14981 Toscana Way              Naples           FL      34120   [XIII], [XV],             7/5/2011     Yes         1,451      Property Tax       Yes                                                                  IMT                Photo              31, 32         F                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           LEPIDO, STEPHEN J=&                Previous Owner, Did Not Own
                    Osborne, Janna                                                                                  [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $127,513.88                                                                                                                                          Tax Records + Title/Deed         10/21/2009              7/11/2013                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           DARLENE G                          Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2004    Ex 10/79   Sheridan Beach Club             509 E. Sheridan Street #303    Dania Beach      FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor     Yes                                                                  Taihe              Photo              14, 16, 17     H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                       [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                                 Budd, P.C. Alters Boldt      Baron & Budd
                    Inc. (Ospina, Richard)                                                                                                                                                                            0.81              $88.98           $102,327.00                                                                       OSPINA, RICHARD                    Owner as of 6/9/15              Tax Records + Title/Deed          4/30/2007           Current Owner          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219

 2005    Ex 10/79   Osterberg, David and Andrea     3404 W. Sevilla Street         Tampa            FL      33629   [IX], [XV],               5/5/2011     Yes         3,350      Property Tax       Yes                                                                  Taihe              Photo              14             H                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           DUKE BRADFORD L                    Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.83              $91.18           $305,453.00                                                                                                                                          Tax Records + Title/Deed          5/30/2007              4/30/2012           Adelman LLP                  2665 South Bayshore Drive Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           DUKE JESSICA J                     Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 2006    Ex 10/79   Overbeck, David                 13525 Little Gem Circle        Ft. Myers        FL      33913   [XV], [XVI],              7/5/2011     Yes         1,898      Property Tax       Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                         0.80              $87.88           $166,796.24                                                                       MORAN HELENE                                                       City or County Tax Records         7/7/2006              3/5/2013                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2007    Ex 10/79   Ovicher, Joseph and Celine      1690 Renaissance Commons       Boynton Beach    FL      33426   [XV], [XVI],              7/5/2011     Yes          817      Builder's Floor     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           OVICHER, CELINE; OVICHER,
                                                    Blvd., Unit 1417                                                [XVII]                                                            Plan                            0.82              $90.08            $73,595.36                                                                                                 Owner as of 6/9/15                       City or County Tax Records        4/13/2007           Current Owner                                       900 W. Morgan Street                                                                   $91,298.20
                                                                                                                                                                                                                                                                                                                                           JOSEPH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2008    Ex 10/79   Owen, J. Randall and Parks,     2549 Robert Fenton             Williamsburg     VA      23185   [IX], [XIII],             5/5/2011     Yes         3,445      Property Tax       Yes                                                                  Venture Supply     Photo              38, 40         K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                    Meredith                                                                                        [XV], [XVI],                                                    Assessor's                                                                                                                                             OWEN, JOHN R & MEREDITH                                                                                                                         Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.96              $105.46          $363,309.70                                                                                                          Owner as of 6/9/15              City or County Tax Records        5/23/2006           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                             S                                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2009    Ex 10/79   Owen, Scott and Emilia          2032 North West 1st Place      Cape Coral       FL      33993   [II(C)], [III], [IX],     10/7/2009    Yes         1,782      Property Tax       Yes                                                                  Taishan            Photo              6, 12          J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Current Owner, Unknown
                                                                                                                    [XV], [XVI],                                                    Assessor's                        0.80              $87.88           $156,602.16                                                                       UNITED AGGREGATES INC                                              Tax Records + Title/Deed          12/6/2008                                                               27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Purchase Date
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2010    Ex 10/79   Owens, Brenda                   2105 Lane Avenue               Birmingham       AL      35217   [II(B)], [III],           10/7/2009    Yes          812       Property Tax       Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                    [VII], [XV],                                                    Assessor's                                                                                                                                                                                                                                                                                                                          900 W. Morgan Street
                                                                                                                                                                                                                      0.84              $92.27            $74,923.24                                                                       OWENS BRENDA                       Owner as of 6/9/15              City or County Tax Records          2003              Current Owner                                                                                                                                $0.00
                                                                                                                    [XVI], [XVII],                                               Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
                                                                                                                    [XXI]                                                        Square Footage
 2011    Ex 10/79   Packard, Suki and Michael       3028 Lake Manatee Court        Cape Coral       FL      33909   [III], [IX], [XV],        10/7/2009    Yes         2,625      Property Tax       No                                                                   Taishan            Photo              12             L                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com                               Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                           SRODA HANNA +                      Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $230,685.00                                                                                                                                          Tax Records + Title/Deed          5/31/2007              4/7/2014            Adelman LLP                  2665 South Bayshore Drive Suite                                                          $0.00           BKC
                                                                                                                                                                                                                                                                                                                                           KOWALSKI SLAWOMIR T/C              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 2012    RP         Page, Dwight and Psyche         102 Overlook Point             Yorktown         VA      23693   [II], [XV], [XVI],        3/15/2010    Yes         2,363      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                          Assessor's                        0.95              $104.36          $246,602.68                         Property Assessment                           BROWN LUCAS M & LEORA M                                            City or County Tax Records         3/3/2008             10/26/2012           Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
 2013    Ex 10/79   Page, Michael and Rikke         20092 Larino Loop              Estero           FL      33928   [II(C)], [III], [IX],     10/7/2009    Yes         2,282      Property Tax       Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                    Assessor's                        0.80              $87.88           $200,542.16                                                                       BBARNETT JESSICA LYNN                                              Tax Records + Title/Deed          7/21/2006              9/22/2010                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2014    Ex 10/79   Palamidessi, Anthony and        3309 Aaron Thistle             Williamsburg     VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,418      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                    Caroline                                                                                        [XVII]                                                          Assessor's                                                                                               Property Assessment                           PALAMIDESSI, ANTHONY &                                                                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.96              $105.46          $149,542.28                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/15/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             CAROLINE                                                                                                                                        Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2015    Ex 10/79   Palmer, Frances                 4601 Lafon Drive               New Orleans      LA      70126   [II(A)], [III],           10/7/2009    Yes         2,978       Inspection        Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                    (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [VII], [IX], [XV],                                           Showing Floor                                                                                                                                             PALMER FRANCES M                                                                                                                                                             855 Baronne Street                                     m
                                                                                                                                                                                                                      0.86              $94.47           $281,331.66                                                                                                          Owner as of 6/9/15              City or County Tax Records         9/8/2009           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVI], [XVII]                                                Plan and Under                                                                                                                                            PALMER JAMES C                                                                                                                                                               New Orleans, 70113
                                                                                                                                                                                   Air Square
 2016    Ex 10/79   Palmer, Olga                    1233 Kendari Terrace           Naples           FL      34113   [IX], [XV],               5/5/2011     Yes         1,555     Builder's Floor     No                                                                   C&K                Photo              34, 35         B                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           KENDARI INVESTMENT L L C
                                                                                                                    [XVI], [XVII]                                                     Plan                            0.80              $87.88           $136,653.40                                                                                                Owner as of 6/9/15                        Tax Records + Title/Deed          4/10/2008           Current Owner          Adelman LLP                    2665 South Bayshore Drive Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                           & OLGA B PALMER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          300
 2017    Ex 10/79   Palmer, Sonja and Strachan,     27 County Road 144             Corinth          MS      38834   [IX], [XIII],             5/5/2011     Yes         1,468          Other          Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason,     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           STRACHAN PATRICIA
                    Patricia                                                                                        [XV], [XVI],                                                                                      0.75              $82.39           $120,948.52                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed         10/30/2009           Current Owner          LLP Gentle, Turner & Sexton 900 W. Morgan Street                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                           BARNES (LE)
                                                                                                                    [XVII], [XXIII]                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2018    Ex 10/79   Palmer, Sylvia                  7708 Alabama Street            New Orleans      LA      70126   [XIII], [XV],             7/5/2011     Yes         1,620      Property Tax       Yes                                                                  Taihe              Photo              20, 21         I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                         0.86              $94.47           $153,041.40                                                                       PALMER SYLVIA L                    Owner as of 6/9/15              City or County Tax Records        10/8/1996           Current Owner                                         425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
 2019    RP         Palombi, Mark and Allison       10612 SW Kelsey Way,           Port St. Lucie   FL      34987   [III(A)], [VII],          9/16/2010    Yes         2,653      Property Tax       Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Billing, Cochran, Lyles, Mauro Manuel Comras, Esq.                 (561) 659-5970   MRC@bclmr.com
                                                                                                                                                                                                                                                                                                                                           PHILLIP INNAMORATO                 Previous Owner, Did Not Own
                                                                                                                    [IX], [XV],                                                    Assessor's                         0.82              $90.08           $238,982.24                                                                                                                                          City or County Tax Records        9/19/2006              3/19/2014           & Ramsey, P.A.                 1601 Forum Place, Suite 400                                                            $0.00
                                                                                                                                                                                                                                                                                                                                           LINDSAY INNAMORATO                 Property on 6/9/15
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                            West Palm Beach, FL 33401
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 56 of 82



Claimant Source     Claimant Name                     Affected Property Address      City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia      Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                           from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                  Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                                Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                    May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                               Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 2020    Ex 10/79   Parikh, Jayesh and Kirti          7569 Bristol Circle            Naples           FL      34120   [II(C)], [XV],            1/24/2011    Yes         1,609      Property Tax     Yes                                                                   Taishan            Photo                5              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $141,398.92                                                                         ARCE, MICHAEL O                                                    Tax Records + Title/Deed           2/2/2007              9/30/2013                                         27300 Riverview Center Blvd                                                         $49,023.60
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 2021    RP         Park, II Heui                     113 Estons Run                 Yorktown         VA      23693   [II(A)], [XV],            9/16/2010    Yes         2,583      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice     N/A            K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.             (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                              RICHNECK DEVELOPMENT               Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                       0.95               $104.36          $269,561.88                                                                                                                                            City or County Tax Records         6/9/2006              7/25/2011           Serpe                         580 East Main Street, Suite 310                                                       $0.00
                                                                                                                                                                                                                                                                                                                                              INC                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 2022    Ex 10/79   Parker, Jason                     1499 Highway 57                Vincent          AL      35178   [IX], [XV],               5/5/2011     Yes         1260       Property Tax     Yes                                                                   Taihe              Photo                17             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                 Assessor's                       0.84                $92.27          $116,260.20                                                                         PARKER JASON & CHRISTY             Owner as of 6/9/15              Tax Records + Title/Deed          3/22/2005           Current Owner                                        900 W. Morgan Street                                                                  $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2023    RP         Parker, Marlon and Latasha        954 Hollymeade Circle          Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice & N/A              K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.             (757) 233-0009   rserpe@serpefirm.com                              *VA settlement
                                                                                                                      [XVII]                                                         Assessor's                                                                                               Property Assessment                                                                Previous Owner, Did Not Own                                                                                  Serpe                         580 East Main Street, Suite 310                                                                       payment to Fannie Mae
                                                                                                                                                                                   Document with                      0.95               $104.36          $187,534.92                                                                         FOSTER TAWANIA T                                                   City or County Tax Records        1/22/2007              9/20/2011                                         Norfolk, VA 23510                                                                     $0.00           c/o David R. Box
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                   Square Footage
 2024    Ex 10/79   Parker, William Jr.               2322 Anthens Avenue            Pensacola        FL      32507   [III], [VII], [XV],       10/7/2009    Yes         3,597      Property Tax      Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Levin Papantonio              Ben Gordon, Esq.                   (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.85              $93.37           $335,851.89                                                                         PARKER WILLIAM M JR                Owner as of 6/9/15              Tax Records + Title/Deed           5/2/2006           Current Owner                                        316 South Baylen St.                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 2025    Ex 10/79   Parker, William Sr.               2318 Athens Avenue             Pensacola        FL      32507   [III], [VII], [XV],       10/7/2009    Yes         2,735      Property Tax      Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Levin Papantonio              Ben Gordon, Esq.                   (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.85              $93.37           $255,366.95                                                                         PARKER WILLIAM M                   Owner as of 6/9/15              City or County Tax Records       11/26/1999           Current Owner                                        316 South Baylen St.                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 2026    Ex 10/79   Parr, Patrick and Linda           3145 NE 15th Avenue            Cape Coral       FL      33909   [II(C)], [XIII],          1/24/2011    Yes         1,712      Property Tax      Yes                                                                  Taishan            Photo                7              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $150,450.56                                                                         PARR PATRICK D + LINDA K           Owner as of 6/9/15              City or County Tax Records        7/15/2010           Current Owner                                        27300 Riverview Center Blvd                                                           $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 2027    Ex 10/79   Parra, Judy                       12430 SW 50th Street, #109     Miramar          FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,426      Property Tax      Yes                                                                  Taihe              Photo                14             H                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                             Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $126,885.48                                                                         PARRA,JUDY                         Owner as of 6/9/15              City or County Tax Records         2/1/2008           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2028    Ex 10/79   Paskow, Ross and Jacyln           12430 SW 50th Street - Unit 129 Miramar         FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,474      Property Tax      Yes                                                                  Taihe              Photo                14, 17         H, I        MARTINEZ,JOSE ANTONIO                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.81              $88.98           $131,156.52                                                                         BLANCO                                                             Tax Records + Title/Deed           3/9/2009              5/15/2012                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                              DIAZ,MARISOL ROSARIO                                                                                                                                                          Bonita Springs, FL 34134
 2029    Ex 10/79   Pass, Herbert and Arlene          8826 NW 13 Street              Plantation       FL      33322   [XIII], [XV],             7/5/2011     Yes         1,555      Property Tax      Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                               PASS,ARLENE                                                                                                                                     Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $138,363.90                                                                                                            Owner as of 6/9/15              City or County Tax Records        7/17/2006           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                   Document with                                                                                                                                              ARLENE PASS REV TR                                                                                                                              Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2030    Ex 10/79   Patchan, Catherine                1345 Lyonshire Drive           Wesley Chapel    FL      33543   [II(C)], [VII],           1/14/2011    Yes         1,092      Property Tax      Yes                                                                  Chinese            Photo                37             C                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.83              $91.18            $99,568.56      Manufacturer 2                                                     PATCHEN CATHERINE M                Owner as of 6/9/15              City or County Tax Records        7/18/2002           Current Owner                                        27300 Riverview Center Blvd                                                           $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 2031    Ex 10/79   Patching, Trevor and Karen        8751 Thornbrook Terrace Point Boynton Beach     FL      33473   [II(B)], [III],           10/7/2009    Yes         5,595      Property Tax      Yes                                                                  Taishan            Inspection Report/   6, 12          J, L                                                                                                                                                        Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                               Photo                                                                              Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                       0.82              $90.08           $503,997.60                                                                         OCONNOR CONSTANCE L                                                Tax Records + Title/Deed           9/7/2006             12/30/2011                                                                                                                               $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                 Property on 6/9/15                                                                                           Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2032    Ex 10/79   Pate, Jeremy                      6311 Ard Road                  Pensacola        FL      32526   [III], [VII], [XV],       10/7/2009    Yes         1,891      Property Tax      Yes                                                                  Taihe              Photo                20, 21         I                                                                                                                                                           Levin Papantonio              Ben Gordon, Esq.                   (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                             316 South Baylen St.
                                                                                                                                                                                                                       0.85              $93.37           $176,562.67                                                                         PATE JEREMY D                      Owner as of 6/9/15              City or County Tax Records         5/2/2007           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
                                                                                                                                                                                   Square Footage
 2033    RP         Patin, Jose                       11305 Laurel Brook Ct.         Riverview        FL      33569   [II(C)], [III(A)],        9/16/2010    Yes         2,052     Builder's Floor    Yes                                                                  Taishan            Photo                2, 12          J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                      Plan                           0.83              $91.18           $187,101.36                                                                         LONG KATELYNN M                                                    Tax Records + Title/Deed          6/27/2006              1/17/2014                                         12800 University Drive, Suite 600                   m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                                Fort Myers, FL 33907
 2034    RP         Patterson, Gary and Nicole        3096 Juniper Lane              Davie            FL      33330   [III], [XIII], [XV],      10/7/2009    Yes         5,894          Other          No                                                                  Taishan            Photo                2              J                                                                                                                                                           Pro Se                        N/A                               N/A               N/A                                               Sq ft confirmed by
                                                                                                                                                                                                                                                                                                                                              TUDE,ALEXANDRE & ANA               Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                                                    0.81              $88.98           $524,448.12                                                                                                                                            Tax Records + Title/Deed          7/27/2006              7/19/2012                                                                                                                               $0.00           BKC
                                                                                                                                                                                                                                                                                                                                              PAULA M                            Property on 6/9/15
 2035    Ex 10/79   Patterson, Joan                   1934 Rowland Drive             Odessa           FL      33556   [II], [XV], [XVI],        3/15/2010    Yes         2,356      Property Tax      Yes                                                                  Taihe              Photo                18             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                         Assessor's                        0.83              $91.18           $214,820.08                                                                         PATTERSON JOAN E                   Owner as of 6/9/15              Tax Records + Title/Deed          5/18/2001           Current Owner                                       12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2036    Ex 10/79   Patterson, Kelli                  622 SW 147th Terrace           Pembroke Pines   FL      33027   [II(C)], [III], [IX],     10/7/2009    Yes         1,860      Property Tax      Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.81              $88.98           $165,502.80                                                                         VIVO,EVELYN                                                        Tax Records + Title/Deed          9/29/2006              9/22/2010                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2037    RP         Patterson, Lee and Brandie        913 Highland Road              Birmingham       AL      35209   [VII], [XV],              1/14/2011    Yes         2,611      Property Tax      Yes                                                                  Taihe              Photo                12, 20, 21     I                                                                                                                                                           Pittman, Dutton & Hellums    Booth Samuels, Esq.                 (205) 322-8880   BoothS@pittmandutton.com
                                                                                                                                                                                                                                                                                                                                                                        Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $240,916.97                                                                         JENKINS WILLIAM & KRISTEN                                          City or County Tax Records        5/22/2009             11/30/2012                                        2001 Park Pl #1100                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                        Property on 6/9/15
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                           Birmingham, AL 35203
 2038    Ex 10/79   Patterson, Manuel                 6105-6107 Todd Street          New Orleans      LA      70117   [IX], [XV],               5/5/2011     Yes         1,484      Property Tax      Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            Young Law Firm
                                                                                                                                                                                                                       0.86              $94.47           $140,193.48                                                                         PATTERSON MANUEL                   Owner as of 6/9/15              City or County Tax Records         7/6/1991           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           1010 Common St., Suite 3040
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70112
 2039    Ex 10/79   Patton, Kevin and Laura           129 Cheaha Trail               Childersburg     AL      35044   [VII], [XV],              1/14/2011    Yes         3204       Property Tax      Yes                                                                  Taihe              Photo                20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              PATTON LAURA J & KEVIN
                                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $295,633.08                                                                                                            Owner as of 6/9/15              Tax Records + Title/Deed           4/3/2009           Current Owner                                       900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                              WARD
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2040    Ex 10/79   Paukovich, Michael and            11623 Hammocks Glade Drive     Riverview        FL      33569   [XV], [XVI],              7/5/2011     Yes         1,298     Builder's Floor    Yes                                                                  Taishan            Photo                7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              PAUKOVICH MARGARITA
                    Margarita                                                                                         [XVII]                                                            Plan                           0.83              $91.18           $118,351.64                                                                                                            Owner as of 6/9/15              Tax Records + Title/Deed         10/20/2006           Current Owner                                       12800 University Drive, Suite 600                    m                               $76,587.89
                                                                                                                                                                                                                                                                                                                                              PAUKOVICH MICHAEL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2041    Ex 10/79   Pauls, Henry and Gerna            14906 Man O War Drive          Odessa           FL      33556   [IX], [XIII],             5/5/2011     Yes         4,169      Property Tax      Yes                                                                  C&K                Photo                36             B                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              PAULS HENRY LOUIS &
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.83              $91.18           $380,129.42                                                                                                            Owner as of 6/9/15              Tax Records + Title/Deed          3/21/2008           Current Owner                                       27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                              GERNA
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2042    Ex 10/79   Peace Harbor Condominium          900 E. Marion Avenue Unit      Punta Gorda      FL      33950   [III], [III(A)],          10/7/2009    Yes         1,647     Builder's Floor    Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc.                 1201                                                            [VII], [IX], [XIII],                                              Plan                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,738.36                                                                         MORRIS MANDY & RICHARD No Record of Ownership                      City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                      [XV], [XVI],                                                                                                                                                                                                                                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
 2043    Ex 10/79   Peace Harbor Condominium          900 E. Marion Avenue Unit      Punta Gorda      FL      33950   [II(B)], [III],           10/7/2009    Yes         1,647     Builder's Floor    Yes                                                                  Taishan            Inspection Report    6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc.                 1203                                                            [III(A)], [IX],                                                   Plan                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,738.36                                                                         WHITTINGTON RICHARD P              No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                      [XIII], [XV],                                                                                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2044    Ex 10/79   Peace Harbor Condominium          900 E. Marion Avenue Unit      Punta Gorda      FL      33950   [III], [III(A)],          10/7/2009    Yes         1,647     Builder's Floor    Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc.                 1301                                                            [VII], [XIII],                                                    Plan                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,738.36                                                                         MORTON ROBERT E TRUSTEE No Record of Ownership                     City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                      [XV], [XVI],                                                                                                                                                                                                                                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
 2045    Ex 10/79   Peace Harbor Condominium          900 E. Marion Avenue Unit      Punta Gorda      FL      33950   [III], [III(A)],          10/7/2009    Yes         1,647     Builder's Floor    Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc.                 1303                                                            [XIII], [XV],                                                     Plan                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,738.36                                                                         CORBETT CAROLANNE M                No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2046    Ex 10/79   Peace Harbor Condominium          900 E. Marion Avenue Unit      Punta Gorda      FL      33950   [III], [III(A)],          10/7/2009    Yes         1,647     Builder's Floor    Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc.                 1401                                                            [VII], [XIII],                                                    Plan                                                                                                                                                  KOZMA GREGORY E &                                                                                                                               Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,738.36                                                                                                            No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                      [XV], [XVI],                                                                                                                                                                                                            PAMELA                                                                                                                                          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
 2047    Ex 10/79   Peace Harbor Condominium          900 E. Marion Avenue Unit      Punta Gorda      FL      33950   [III], [III(A)],          10/7/2009    Yes         1,647     Builder's Floor    Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc. (Steven Oyer)   1402                                                            [VII], [IX], [XIII],                                              Plan                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80              $87.88           $144,738.36                                                                         KELLY JAMES M & B JILL             No Record of Ownership          City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                      [XV], [XVI],                                                                                                                                                                                                                                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
 2048    Ex 10/79   Pech, Guenter and Eveline         118 SE 23rd Place              Cape Coral       FL      33990   [XV], [XVI],              7/5/2011     Yes         1,883     Builder's Floor    Yes                                                                  Taishan            Photo                7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                            Plan                           0.80              $87.88           $165,478.04                                                                         PECH GUENTER + EVELINE             Owner as of 6/9/15              City or County Tax Records        2/25/2008           Current Owner                                       27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2049    Ex 10/79   Pelaez, Diego and Moreno,         11231 NW 84th Street           Doral            FL      33178   [XV], [XVI],              7/5/2011     Yes         1,977        Appraisal       Yes                                                                  Taishan            Photo                12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Juliana                                                                                           [XVII]                                                       Showing Floor                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $175,913.46                                                                         DIEGO PELAEZ                       Owner as of 6/9/15              Tax Records + Title/Deed          7/28/2011           Current Owner                                                                                                                           $115,517.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2050    Ex 10/79   Pelligra, Anna R.                 1922 SE 22 Court               Homestead        FL      33035   [III], [VII], [XV],       10/7/2009    Yes         2,368      Homeowner's       Yes                                                                  Taishan            Photo                5, 6           J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                Insurance Form                                                                                                                                             WILLIAM R WILLIAMS &               Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.81              $88.98           $210,704.64                                                                                                                                            City or County Tax Records        9/18/2006              2/12/2016                                                                                                                               $0.00
                                                                                                                                                                                     with Square                                                                                                                                              KAREN WILLIAMS                     Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                     Footage and                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 2051    RP         Peloquin, Michael and Erin        12747 Kentwood Avenue          Ft. Myers        FL      33913   [II], [IX], [XV],         3/15/2010    Yes         2,515       Property Tax     Yes                                                                  Taishan            Photo                2, 9           J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                   Assessor's                       0.80              $87.88           $221,018.20                                                                         PECK ANGELA L                                                      Tax Records + Title/Deed          11/2/2006              5/28/2010                                        12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
 2052    Ex 10/79   Peltier, Isaac and Shanon         2811 W. Shelton Avenue         Tampa            FL      33611   [VII], [XV],              1/14/2011    Yes         2,688       Property Tax     Yes                                                                  Taihe              Photo                18             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              PELTIER ISAAC J
                                                                                                                      [XVI], [XVII]                                                   Assessor's                       0.83              $91.18           $245,091.84                                                                                                            Owner as of 6/9/15              City or County Tax Records        7/25/2008           Current Owner                                       27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                              BROWN SHANON M
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2053    RP         Pena, Alfredo, Dheng, Guo and     8019 W 36th Avenue Unit 1      Hialeah          FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,361       Property Tax     Yes                                                                  Taishan            Photo                8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Wu, Mei Ai                                                                                        [VII], [XV],                                                    Assessor's                                                                                                                                              GUO QIANG DHENG                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.81              $88.98           $121,101.78                                                                                                                                            City or County Tax Records        8/21/2007              8/5/2010                                                                                                                                $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                              MEI AI WU                          Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2054    Ex 10/79   Penix, Frederick                  4334 Fieldview Circle          Wesley Chapel    FL      33545   [XIII], [XV],             7/5/2011     Yes         2,049      Builder's Floor   Yes                                                                  C&K                Photo                34, 35         B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              PENIX FREDERICK & KERRI
                                                                                                                      [XVI], [XVII]                                                      Plan                          0.83              $91.18           $186,827.82                                                                                                            Owner as of 6/9/15              City or County Tax Records        8/14/2008           Current Owner                                       12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                              ANN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2055    Ex 10/79   Pennington, Dorothy               302 West Shannon Lane          Harahan          LA      70123   [II], [VII], [XV],        3/15/2010    Yes         1,028        Appraisal       Yes                                                                  Crescent City      Photo                27             D                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Unknown
                                                                                                                      [XVI], [XVII]                                                Showing Floor                       0.86              $94.47            $97,115.16                                                                         JEFFREY AGNEW                                                      Tax Records + Title/Deed          8/21/2006                                                               338 Lafayette Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Purchase Date
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70130
 2056    RP         Penny, Andrew and Rachel          1814 NW 22nd Place             Cape Coral       FL      33993   [III], [XV],              10/7/2009    Yes         2,017      Builder's Floor   Yes                                                                  Taishan            Photo                12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              AROCHO LUCIANO JR +                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                      Plan                          0.80              $87.88           $177,253.96                                                                                                                                            Tax Records + Title/Deed           7/3/2008             11/19/2012                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                              DEANNA C                           Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2057    Ex 10/79   Penzimer, Marilyn                 1690 Renaissance Commons       Boynton Beach    FL      33426   [II(B)], [XV],            12/6/2010    Yes         1,119     Builder's Floor    Yes                                                                  Taishan            Photo                2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              PENZIMER, EUGENE F;
                                                      Blvd., Unit 1420                                                [XVI], [XVII]                                                     Plan                           0.82              $90.08           $100,799.52                                                                                                            Owner as of 6/9/15              City or County Tax Records         5/3/2007           Current Owner                                       900 W. Morgan Street                                                                 $99,427.31
                                                                                                                                                                                                                                                                                                                                              PENZIMER, MARILYN C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 57 of 82



Claimant Source     Claimant Name                     Affected Property Address      City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified     Type of             Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                       2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation        Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                     Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                   Omni                 Footage      Provided            Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                           Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to       Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                             [A]
                                                                                                                                                                                     Sharefile
 2058    Ex 10/79   Peoples, Debra                    1350 Park Brooke Circle        Marietta         GA      30008   [III], [XV],              10/7/2009    Yes         1,876        Other                Yes                                                                   Taihe              Photo               20             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII],                                                                                        0.89               $97.77           $183,416.52                                                                        PEOPLES DEBRA H                    Owner as of 6/9/15              City or County Tax Records        1/15/2008           Current Owner                                       820 O'Keefe Avenue                                                                        $0.00
                                                                                                                      [XXII]                                                                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113
 2059    RP         Peppers, Marvis June              178 Lee Ridge Drive            Altoona          AL      35952   [XV], [XVI],              7/5/2011     Yes         1,162       Property Tax          Yes                                                                   Taihe              Photo               17             I                                                                                                                                                           McCallum, Hoaglund, Cook & Eric Hoagland, Esq.                     (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                                   ELLSWORTH, CHRISTOPHER             Previous Owner, Did Not Own
                                                                                                                      [XVII], [XXI]                                                   Assessor's                            0.82               $90.08           $104,672.96                                                                                                                                           Tax Records + Title/Deed          9/30/2010              4/5/2013            Irby                         905 Montgomery Highway, Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                   E & LYNDS                          Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                201
 2060    Ex 10/79 & Perdomo, Winston/ 8227 Oak        106 Covington Meadows Cl.,     Covington        LA      70433   [XV], [XVI],              7/5/2011     Yes         1,476        Appraisal            Yes                                                                   Taihe              Photo               21             I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.                (985) 292-2300   jean@paullea.com
         Omni XX Street, LLC                          Unit B, Covington, LA 70433                                     [XVII], [XX]                                                 Showing Floor                            0.79               $86.78           $128,087.28                                                                        8227 OAK STREET LLC                Owner as of 6/9/15              Tax Records + Title/Deed         10/18/2002           Current Owner                                       724 East Boston Street                                                                    $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                              Covington, LA 70433
 2061    Ex 10/79 & Perdomo, Winston/ 8227 Oak        106 Covington Meadows Cl.,     Covington        LA      70433   [XV], [XVI],              7/5/2011     Yes         1,476        Appraisal            Yes                                                                   Taihe              Photo               18             I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.                (985) 292-2300   jean@paullea.com
         Omni XX Street, LLC                          Unit C, Covington, LA 70433                                     [XVII], [XX]                                                 Showing Floor                            0.79               $86.78           $128,087.28                                                                        8227 OAK STREET LLC                Owner as of 6/9/15              Tax Records + Title/Deed         10/18/2002           Current Owner                                       724 East Boston Street                                                                    $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                              Covington, LA 70433
 2062    Ex 10/79   Perecca, Joel                     1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes          817       Builder's Floor        Yes                                                                   Taishan            Photo               9              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                      Blvd., Unit 1211                                                [XVII]                                                             Plan                               0.82               $90.08            $73,595.36                                                                        PERECA, JOEL                       Owner as of 6/9/15              City or County Tax Records         4/3/2007           Current Owner                                       900 W. Morgan Street                                                                    $93,449.54
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Raleigh, NC 27603
 2063    Ex 10/79   Pereiro, Mirta                    8025 W. 36th Avenue #1         Hialeah          FL      33018   [IX], [XV],               5/5/2011     Yes         1,464     Builder's Floor         Yes                                                                   Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                                       Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                            0.81               $88.98           $130,266.72                                                                        MIRTA PEREIRO                      Owner as of 6/9/15              City or County Tax Records        2/12/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Dallas, TX 75219
 2064    Ex 10/79   Perez, Adela                      12430 SW 50 Street, Unit 113   Miramar          FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,426      Property Tax           No                                                                    Taihe              Photo               14             H                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com                                Sq ft confirmed by
                                                                                                                      [XVII]                                                          Assessor's                                                                                                                                                                                                                                                                                                                                Baron & Budd                                                                                              BKC
                                                                                                                                                                                                                            0.81               $88.98           $126,885.48                                                                        PEREZ,ADELA C                      Owner as of 6/9/15              City or County Tax Records        1/10/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
 2065    Ex 10/79   Perez, Andres and Raquel          574 Eisenhower Blvd.           Lehigh Acres     FL      33974   [XV], [XVI],              7/5/2011     Yes         1,636      Property Tax           Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                          Assessor's                            0.80               $87.88           $143,771.68                                                                        PEREZ ANDRES + RAQUEL              Owner as of 6/9/15              City or County Tax Records        6/19/2009           Current Owner                                       27300 Riverview Center Blvd                                                             $78,608.99
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                Bonita Springs, FL 34134
 2066    Ex 10/79   Perez, Carlos                     8129 W 36th Street Unit #3     Hialeah          FL      33018   [II(C)], [XIII],          1/24/2011    Yes         1,360      Property Tax           Yes                                                                   Taishan            Photo               8              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                    Assessor's                            0.81               $88.98           $121,012.80                                                                        YU HIN ALEX CHAN                                                   City or County Tax Records        5/29/2008              2/22/2013                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                Bonita Springs, FL 34134
 2067    RP         Perez, Esdras                     1835 Dalmation Avenue          Port St. Lucie   FL      34953   [IX], [XV],               5/5/2011     Yes         1,988      Property Tax           Yes                                                                   Taishan            Photo               5              J                                                                                                                                                           Roberts & Durkee             C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                   Assessor's                            0.82               $90.08           $179,079.04                                                                        CAH 2014-2 BORROWER LLC                                            City or County Tax Records        3/18/2005              10/5/2012                                        2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                300
 2068    Ex 10/79   Perez, Jorge                      10169 and 10165 SW 171 Street Miami             FL      33157   [II], [XV], [XVI],        3/15/2010    Yes         1,261      Property Tax           Yes                                                                   Dragon Brand       Photo               26             A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                          Assessor's                                                                                                                                                                                                                                                                                                   Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                            0.81               $88.98           $112,203.78                                                                        JORGE PEREZ                        Owner as of 6/9/15              Tax Records + Title/Deed          1/10/2005           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                   Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                  Richard J. Serpe             Coral Gables, FL 33134
 2069    Ex 10/79   Perez, Karen and Hector           2120 Etienne Drive             Meraux           LA      70075   [VII], [XV],              1/14/2011    Yes         3,217      Property Tax           No                                                                    Taihe              Photo               18             I                                                                                                                                                           Berrigan Litchfield, LLC     Karen Sher, Esq.                      (504) 568-0541   ksher@berriganlaw.net
                                                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                                                                201 Saint Charles Ave, Ste 4204
                                                                                                                                                                                                                            0.86               $94.47           $303,909.99                                                                        PEREZ, HECTOR L., JR.              Owner as of 6/9/15              City or County Tax Records        6/25/1993           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70170-4204
                                                                                                                                                                                   Square Footage
 2070    Ex 10/79   Perez, Mike                       10829 NW 79 Street             Doral            FL      33178   [III], [VII], [XV],       10/7/2009    Yes         1,894      Property Tax           Yes                                                                   Taishan            Photo               8              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                                   NEW FUTURE WORLD INVEST Owner as of 6/9/15, No Longer                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                            0.81               $88.98           $168,528.12                                                                                                                                           Tax Records + Title/Deed          5/24/2007              7/28/2015                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                   LLC                     Owns Property                                                                                                           Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                  Richard J. Serpe             Coral Gables, FL 33134
 2071    Ex 10/79   Perez, Sandra and Pedro           1927 Abundance Street          New Orleans      LA      70122   [II], [VII], [XV],        3/15/2010    Yes         1,830       Inspection            Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                    (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                      [XVI], [XVII]                                                Showing Floor                            0.86               $94.47           $172,880.10                                                                        BOUDREAUX SANDRA E                 Owner as of 6/9/15              Mortgage Documents               11/26/1986           Current Owner                                       855 Baronne Street                                     m                                  $0.00
                                                                                                                                                                                   Plan and Under                                                                                                                                                                                                                                                                                                                               New Orleans, 70113
 2072    RP         Perez, Zenaida                    965 Hollymeade Circle          Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797      Property Tax           Yes                                                                   Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                          Assessor's                            0.95               $104.36          $187,534.92                         Property Assessment                            SPRINGER GEORGE JR                                                 City or County Tax Records         4/2/2007              8/15/2012           Serpe                        580 East Main Street, Suite 310                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                Norfolk, VA 23510
 2073    RP         Perga, Anthony and Marcia, et al 13932 Clubhouse Drive           Tampa            FL      33618   [II], [XV], [XVI],        3/15/2010    Yes         2,340          Other              Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                   FAIRBANKS VANCE DAVID JR Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                                                                0.83               $91.18           $213,361.20                                                                                                                                           Tax Records + Title/Deed          8/16/2006              9/18/2014                                        12800 University Drive, Suite 600                      m                                $94,676.89
                                                                                                                                                                                                                                                                                                                                                   CAVENAUGH SHERON J       Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Fort Myers, FL 33907
 2074    Ex 10/79   Pernell, Staci                    2082 Sundown Drive             Clearwater       FL      33763   [II(A)], [XV],            9/16/2010    No          1,146          Other              No                                                                    C&K                Inspection Report   N/A            B                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com                                 BKC confirmed square
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                TAYLOR, ZACHARY AND                Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson                                                                                     footage.
                                                                                                                                                                                                                            0.82               $90.08           $103,231.68                                                                                                                                           City or County Tax Records        8/15/2008              7/24/2014                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                   TAYLOR, ZACHARY                    Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Richard J. Serpe             Coral Gables, FL 33134
 2075    RP         Perone, Samuel                    7261 Lemon Grass Drive         Parkland         FL      33076   [II], [III], [IX],        10/7/2009    Yes         5,838      Property Tax           Yes                                                                   C&K                Photo               34             B                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                             0.81               $88.98           $519,465.24                                                                        HARMON,KIMBERLEY A                                                 Tax Records + Title/Deed           7/3/2007              5/23/2011                                        12 SE 7th St #801                                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                Fort Lauderdale, FL 33301-3434
 2076    Ex 10/79   Peter, Arish and Dalal, Alpa      1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,460     Builder's Floor         Yes                                                                   Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                   DALAL ALPA
                                                      Blvd., Unit 1401                                                [XVII]                                                            Plan                                0.82               $90.08           $131,516.80                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/20/2007           Current Owner                                       900 W. Morgan Street                                                                    $94,574.68
                                                                                                                                                                                                                                                                                                                                                   DALAL ARISH P &
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Raleigh, NC 27603
 2077    Ex 10/79   Peterson, John and Sydna          6334 Canal Blvd.               New Orleans      LA      70124   [II], [VII], [IX],        3/15/2010    Yes         2,188       Property Tax          Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com                             Sq ft confirmed by
                                                                                                                      [XV], [XVI],                                                    Assessor's                            0.86               $94.47           $206,700.36                                                                        PETERSON JOHN F                    Owner as of 6/9/15              City or County Tax Records        9/25/1990           Current Owner                                       820 O'Keefe Avenue                                                                        $0.00           BKC
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70113
 2078    Ex 10/79   Petrella, Elaine                  7534 Bristol Circle            Naples           FL      34120   [III], [XV],              10/7/2009    Yes         1,268       Property Tax          Yes                                                                   Taishan            Photo               5              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                                                                Baron & Budd
                                                                                                                                                                                                                            0.80               $87.88           $111,431.84                                                                        PETRELLA, ELAINE                   Owner as of 6/9/15              City or County Tax Records       10/26/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
 2079    Ex 10/79   Petric, Vince and Whitney         2816 Moss Street               Violet           LA      70092   [III(A)], [VII],          9/16/2010    Yes         2,212        Appraisal            Yes                                                                   Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.        (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XV], [XVI],                                                 Showing Floor                                                                                                                                                                                      Owner as of 6/9/15, No Longer                                                                                                             425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                            0.86               $94.47           $208,967.64                                                                        SHARKEY, BLAINE A.                                                 City or County Tax Records        4/19/2007              6/27/2016                                                                                                                                  $0.00
                                                                                                                      [XVII]                                                       Plan and Square                                                                                                                                                                                    Owns Property                                                                                                                             LaPlace, LA 70064
                                                                                                                                                                                       Footage
 2080    Ex 10/79   Pezze, Daniel and Carol           1160 Wapello Street            North Port       FL      34286   [IX], [XV],               5/5/2011     Yes         1,569        Appraisal            Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                   LAYNE TIMOTHY R LAYNE              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Showing Floor                            0.83               $91.18           $143,061.42                                                                                                                                           Tax Records + Title/Deed          8/17/2005              12/5/2014                                          27300 Riverview Center Blvd                                                           $76,740.94
                                                                                                                                                                                                                                                                                                                                                   LORI A                             Property on 6/9/15
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                                Bonita Springs, FL 34134
 2081    Ex 10/79   Pfeiffer, Marion                  1117 Cassin Avenue             Lehigh Acres     FL      33971   [II(C)], [III],           10/7/2009    Yes         1,886       Property Tax          Yes                                                                   ProWall            Photo               43, 44         G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                   RODRIGUEZ IBRAHIM +                Previous Owner, Did Not Own
                                                                                                                      [VII], [XV],                                                    Assessor's                            0.80               $87.88           $165,741.68                                                                                                                                           City or County Tax Records        1/31/2008              8/22/2013                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                   JIMENEZ ELIZABETH H/W              Property on 6/9/15
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                                  Bonita Springs, FL 34134
 2082    Ex 10/79   Pham, Kelly                       8696 Pegasus Drive             Lehigh Acres     FL      33971   [II(C)], [III],           10/7/2009    Yes         3,019       Property Tax          Yes                                                                   ProWall            Photo               43             G           LEE JOE CHIA-YANG TR FOR                                                                                                                        Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                    Assessor's                            0.80               $87.88           $265,309.72                                                                        JOE CHIA-YANG LEE LIVING                                           Tax Records + Title/Deed          7/12/2007              8/18/2010                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                   TRUST                                                                                                                                                                          Bonita Springs, FL 34134
 2083    Ex 10/79   Philippe, Kerrine and Dickenson, 206 Taylor Bay Lane             Brandon          FL      33510   [XV], [XVI],              7/5/2011     Yes         1,958       Property Tax          Yes                                                                   Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                    Peter                                                                                             [XVII]                                                          Assessor's                            0.83               $91.18           $178,530.44                                                                        PHILIPPE, KERRINE                  Owner as of 6/9/15              City or County Tax Records        5/29/2012           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                  Fort Myers, FL 33907
 2084    RP         Phillips, Jacqueline and Rodney   1025 Hollymeade Circle         Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         2,227       Property Tax          Yes                                                                   Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                          Assessor's                            0.95               $104.36          $232,409.72                                                                        BAUER CYNTHIA R                                                    City or County Tax Records         6/5/2006              5/1/2013            Serpe                          580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                  Norfolk, VA 23510
 2085    Ex 10/79   Phillips, Jerry                   116 Woodcrest Drive            Slidell          LA      70458   [XIII], [XV],             7/5/2011     Yes         1,593        Appraisal            Yes                                                                   Taishan/ C&K       Photo               2, 35          B, J                                                                                                                                                        Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                                                                                   PHILLIPS, JERRY A & JUDITH                                                                                                                                                     425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                            0.79               $86.78           $138,240.54                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          2/28/2003           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                 B TRUST                                                                                                                                                                        LaPlace, LA 70064
                                                                                                                                                                                       Footage
 2086    Ex 10/79   Picado, Henry and Tina            208 Bear Drive                 Arabi            LA      70032   [III], [IX], [XV],        10/7/2009    Yes         1,844        Inspection           Yes                                                                   Taihe              Photo               18             I                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                                   PICADO, HENRY L. & PICADO,
                                                                                                                      [XVI], [XVII]                                                 Showing Floor                           0.86               $94.47           $174,202.68                                                                                                   Owner as of 6/9/15                      City or County Tax Records       10/23/1995           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                   TINA M. MASIS
                                                                                                                                                                                   Plan and Under                                                                                                                                                                                                                                                                                                                                 303
 2087    Ex 10/79   Pierce, Alton                     7452 Briarheath Drive          New Orleans      LA      70128   [II(C)], [III],           10/7/2009    Yes         1,948       Property Tax          Yes                                                                   Taihe              Photo               20, 21         I                                                                                                                                                           The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                      [VII], [XV],                                                    Assessor's                            0.86               $94.47           $184,027.56                                                                        PIERCE ALTON M                     Owner as of 6/9/15              City or County Tax Records       12/17/2007           Current Owner                                         701 Magazine St,                                     om                                 $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                                  New Orleans LA 70130
 2088    RP         Pierre, Renior and Sherry         5651 St. Bernard Avenue        New Orleans      LA      70122   [VII], [XV],              1/14/2011    Yes         3,315          Other              Yes                                                                   Taihe              Photo               17             I                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                GRAFFAGNINI RACHEL A               Previous Owner, Did Not Own                                                                                                                 2800 Energy Centre
                                                                                                                                                                                                                            0.86               $94.47           $313,168.05                                                                                                                                           City or County Tax Records       12/15/2006              8/20/2013                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                   PIERSON BLAYNE R                   Property on 6/9/15                                                                                                                          1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70163
 2089    Ex 10/79   Pietrantonio, Robert and Tamie    6050 Jonathan’s Bay Circle Unit Ft. Myers       FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         2,024      Property Tax           Yes                                                                   Taishan            Photo               12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                   COATS CLARENCE C +                 Previous Owner, Did Not Own
                                                      102 Building 5                                                  [XV], [XVI],                                                   Assessor's                             0.80               $87.88           $177,869.12                                                                                                                                           City or County Tax Records         3/5/2009              3/16/2015                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                   MELINDA L                          Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                                  Bonita Springs, FL 34134
 2090    Ex 10/79   Pigna, Francisco and Ewa          8836 Cobblestone Pt. Circle    Boynton Beach    FL      33472   [II], [II(A)], [XV],      3/15/2010    Yes         2,792     Builder's Floor         Yes                                                                   Dragon Brand/ Photo                    22, 24, 25     A           PRICE JAMES G &                                                                                                                                 Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                     BNBM/ BNBMDB                                                      PRICE KIM L                                                                                                                                                                    Baron & Budd
                                                                                                                                                                                                                                                                                                                                                   JAMES G & KIM L PRICE TR           Previous Owner, Did Not Own                                                                                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                            0.82               $90.08           $251,503.36                                                                                                                                           Tax Records + Title/Deed           4/9/2008             12/31/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Dallas, TX 75219
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                   TITL HLDRS                         Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                   PRICE JAMES G TR
                                                                                                                                                                                                                                                                                                                                                   PRICE KIM L TR
 2091    RP         Pimenta, Rodolfo                  2101 SW Dixen Court            Port St. Lucie   FL      34953   [XV], [XVI],              7/5/2011     Yes         2,422      Property Tax           Yes                                                                   Taishan            Photo               9              J                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                 (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                          Assessor's                            0.82               $90.08           $218,173.76                                                                        TRAVIS S MCGEE                                                     City or County Tax Records        9/16/2005              2/10/2012                                        701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70166
 2092    Ex 10/79   Pineda, Samantha                  1142 Earhart Street E          Lehigh Acres     FL      33974   [II(B)], [VII],           12/6/2010    Yes         1,887        Appraisal            Yes                                                                   Taihe/ ProWall     Photo               17, 43         G, I                                                                                                                                                        Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XV], [XVI],                                                 Showing Floor                            0.80               $87.88           $165,829.56                                                                        PINEDA SAMANTHA JANE               Owner as of 6/9/15              City or County Tax Records        5/11/2009           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                      [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
 2093    Ex 10/79   Pinney, Nelson and Losi           138 SE 29th Street             Cape Coral       FL      33904   [II], [II(A)], [XV],      3/15/2010    Yes         2,791      Property Tax           Yes                                                                   Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                      Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                   Assessor's                            0.80               $87.88           $245,273.08                                                                        HYNES MATTHEW + TAMMY                                              Tax Records + Title/Deed         12/30/2006              4/13/2015                                        12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                      Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                Fort Myers, FL 33907
 2094    RP         Pipkin, Joseph and Shannon        5576 Brixton Road              Williamsburg     VA      23185   [II(B)], [XV],            12/6/2010    Yes         2,176      Property Tax           Yes                                                                   Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                   BOCHONOK, JEFFREY T &
                                                                                                                      [XVI], [XVII]                                                   Assessor's                            0.96               $105.46          $229,480.96                         Property Assessment                                                               Records Not Available           City or County Tax Records       11/21/2007              6/21/2014           Serpe                        580 East Main Street, Suite 310                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                   DEBORAH STARKS
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                Norfolk, VA 23510
 2095    Ex 10/79   Pitcher, John and Brust, Gina     11191 Laurel Walk Road         Wellington       FL      33449   [III], [XV],              10/7/2009    Yes         2,714      Property Tax           Yes                                                                   Chinese            Photo               37             C                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                   PITCHER JOHN E & BRUST
                                                                                                                      [XVI], [XVII]                                                   Assessor's                            0.82               $90.08           $244,477.12      Manufacturer 2                                                                                       Owner as of 6/9/15              Tax Records + Title/Deed          4/27/2005           Current Owner                                       12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                   GINA
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                                Fort Myers, FL 33907
 2096    Ex 10/79   Pitre, Diane                      10830 Yardley Road             New Orleans      LA      70127   [III(A)], [VII],          9/16/2010    Yes         2,204        Appraisal            Yes                                                                   Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.        (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XV], [XVI],                                                 Showing Floor                                                                                                                                                                                                                                                                                                   LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                            0.86               $94.47           $208,211.88                                                                        PITRE DIANE J                      Owner as of 6/9/15              City or County Tax Records         7/9/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                              425 W. Airline Hwy, Suite B
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                                                                  LaPlace, LA 70064
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 58 of 82



Claimant Source     Claimant Name                    Affected Property Address       City             State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
 2097    Ex 10/79   Pittman, Earnest and Beverly     711 Hibiscus Avenue             Lehigh Acres     FL      33972   [VII], [XIII],          1/14/2011    Yes         2,373     Builder's Floor    Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                    Plan                                                                               Manufacturer 2                                                   PITTMAN EARNEST C +                                                                                                                             Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                    0.80                $87.88          $208,539.24                                                                                                          Owner as of 6/9/15              City or County Tax Records        1/31/2001           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                              BEVERLY                                                                                                                                         Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2098    Ex 10/79   Pizanni, Calvin and Lindsay      2661 Rue Jesann                 Marrero          LA      70072   [VII], [XV],            1/14/2011    Yes         1,262     Builder's Floor     No                                                                  Taihe              Photo              15             I                                                                                                                                                           Berrigan Litchfield, LLC       Karen Sher, Esq.                    (504) 568-0541   ksher@berriganlaw.net                              Sq ft confirmed by
                                                                                                                      [XVI], [XVII]                                                   Plan                                                                                                                                                                                                                                                                                                                               201 Saint Charles Ave, Ste 4204                                                                         BKC
                                                                                                                                                                                                                     0.86              $94.47           $119,221.14                                                                       PIZANI,CALVIN J III &              Owner as of 6/9/15              Tax Records + Title/Deed          4/23/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70170-4204

 2099    Ex 10/79   Podrebarac, Gary                 29235 Caddyshack Lane           San Antonio      FL      33576   [II(A)], [XV],          9/16/2010    Yes         1,616      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.83              $91.18           $147,346.88                                                                       PODREBARAC GARY G                  Owner as of 6/9/15              City or County Tax Records        2/29/2000           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2100    Ex 10/79   Poggio, James and Janice         13409 Ainsworth Lane            Port Charlotte   FL      33981   [II], [IX], [XV],       3/15/2010    Yes         1,788      Property Tax      Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.80              $87.88           $157,129.44                                                                       GLEBA KEVIN & SARAH                                                Tax Records + Title/Deed           3/3/2009             12/30/2011                                          900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2101    Ex 10/79   Polk, Donna                      330 Lang Avenue                 Pass Christian   MS      39571   [III], [VII], [IX],     10/7/2009    Yes         1,344         Other          Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Seeger Weiss                   Christopher Seeger, Esq.            (877) 912-2668   cseeger@seegerweiss.com
                                                                                                                      [XV], [XVI],                                                                                   0.84              $92.27           $124,010.88                                                                       POLK DONNA                         Owner as of 6/9/15              City or County Tax Records                            Current Owner                                         77 Water Street                                                                         $0.00
                                                                                                                      [XVII], [XXIII]                                                                                                                                                                                                                                                                                                                                                                                    New York, NY 10005
 2102    RP         Pollman, Todd and Robyn          417 Holly Fern Terrace          Deland           FL      32713   [II(B)], [VII],         12/6/2010    Yes         2,290     Builder's Floor    Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          FEDERAL NATL MORTGAGE              Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                    Plan                           0.83              $91.18           $208,802.20                                                                                                                                          Tax Records + Title/Deed          8/24/2007              4/1/2014                                           12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                          ASSN                               Property on 6/9/15
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                             Fort Myers, FL 33907
 2103    Ex 10/79   Pollock, Mark and Keri           418 Turquoise Street            New Orleans      LA      70124   [XIII], [XV],           7/5/2011     Yes         2,908      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com                             Sq ft confirmed by
                                                                                                                      [XVI], [XVII]                                                Assessor's                                                                                                                                             POLLOCK MARK G                                                                                                                                                                 820 O'Keefe Avenue                                                                                      BKC
                                                                                                                                                                                                                     0.86              $94.47           $274,718.76                                                                                                          Owner as of 6/9/15              City or County Tax Records         6/5/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                            POLLOCK KERI G                                                                                                                                                                 New Orleans, LA 70113
                                                                                                                                                                                 Square Footage
 2104    Ex 10/79   Pollux, LLC                      1145 Pineda Street East         Lehigh Acres     FL      33974   [II], [XV], [XVI],      3/15/2010    Yes         2,006      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                       Assessor's                        0.80              $87.88           $176,287.28                                                                       POLLUX LP                          Owner as of 6/9/15              City or County Tax Records        1/26/2009           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2105    Ex 10/79   Pollux, LLC                      1220 Ederle Street              Lehigh Acres     FL      33974   [II], [III], [XV],      10/7/2009    Yes         2,142      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.80              $87.88           $188,238.96                                                                       POLLUX LP                          Owner as of 6/9/15              City or County Tax Records        1/26/2009           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2106    Ex 10/79   Pollux, LLC                      1257 Brookpark Avenue           Lehigh Acres     FL      33913   [II], [XV], [XVI],      3/15/2010    Yes         1,744     Builder's Floor    Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                          Plan                           0.80              $87.88           $153,262.72                                                                       POLLUX LLC                         Owner as of 6/9/15              City or County Tax Records        1/24/2009           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2107    Ex 10/79   Pollux, LLC                      721 Ashley Road                 Lehigh Acres     FL      33974   [II], [III], [XV],      10/7/2009    Yes         2,027      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.80              $87.88           $178,132.76                                                                       POLLUX LP                          Owner as of 6/9/15              City or County Tax Records        1/26/2009           Current Owner                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2108    RP         Polychronopoulos, Nathalie and   1660 Renaissance Commons        Boynton Beach    FL      33426   [II(C)], [III],         10/7/2009    Yes          817      Builder's Floor    Yes                                                                  IMT                Photo              32             F                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                    George                           Blvd. Unit 2210                                                  [XV], [XVI],                                                    Plan                           0.82              $90.08            $73,595.36                                                                       GOMEZ CARLOS A                                                     Tax Records + Title/Deed           5/9/2007              3/27/2012                                          900 W. Morgan Street                                                                  $96,908.88
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                             Raleigh, NC 27603
 2109    Ex 10/79   Pomes, Ashley                    2416 Munster                    Meraux           LA      70075   [XV], [XVI],            7/5/2011     Yes         1,450       Property Tax     Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                      [XVII]                                                        Assessor's                       0.86              $94.47           $136,981.50                                                                       POMES, ASHLEY                      Owner as of 6/9/15              Title/Deed                        7/12/2007           Current Owner                                         701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           New Orleans LA 70130
 2110    Ex 10/79   Ponce Properties, LLC c/o        117 S. Solomon Drive            New Orleans      LA      70119   [XV], [XVI],            7/5/2011     Yes         3,926        Appraisal       Yes                                                                  Taihe              Photo              14, 18         H, I                                                                                                                                                        Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                    Jennifer Gardner                                                                                  [XVII]                                                     Showing Floor                       0.86              $94.47           $370,934.57                                                                       PONCE JENNIFER                     Owner as of 6/9/15              City or County Tax Records       10/19/2001           Current Owner                                         701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70166
 2111    Ex 10/79   Pope, Jackie and Ronald          433 Evening Falls Drive         Pensacola        FL      32534   [XIII], [XV],           7/5/2011     Yes         1,600       Property Tax     Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                 Assessor's                                                                                                                                            POPE RONALD A &                                                                                                                                                                316 South Baylen St.
                                                                                                                                                                                                                     0.85              $93.37           $149,392.00                                                                                                          Owner as of 6/9/15              City or County Tax Records        7/20/2010           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                            POPE JACKIE C                                                                                                                                                                  Pensacola, FL 32502
                                                                                                                                                                                 Square Footage
 2112    RP         Poplausky, Maurice and Hanna     1690 Renaissance Commons        Boynton Beach    FL      33426   [III], [IX], [XV],      10/7/2009    Yes         1,240      Builder's Floor   Yes                                                                  IMT                Photo              32             F                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                     Blvd., Unit 1529                                                 [XVI], [XVII]                                                    Plan                          0.82              $90.08           $111,699.20                                                                       OCALAN MURAT M                                                     Tax Records + Title/Deed           6/8/2007             12/15/2011                                        900 W. Morgan Street                                                                   $100,566.97
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2113    Ex 10/79   Popov, Alexander and Susan       8842 Cobblestone Point Circle   Boynton Beach    FL      33472   [II], [XV], [XVI],      3/15/2010    Yes         3,408      Property Tax      Yes                                                                  BNBMDB             Photo              25             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                       Assessor's                                                                                                                                             LEDGARD GONZALO &                  Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $306,992.64                                                                                                                                          Tax Records + Title/Deed         12/28/2006              2/18/2014                                                                                                                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                            LEDGARD NICHOLAS R                 Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2114    RP         Popovitch, Robert                1217 Avondale Lane              Newport News     VA      23602   [II], [XV], [XVI],      3/15/2010    Yes         1,797      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                       Assessor's                        0.95              $104.36          $187,534.92                         Property Assessment                           KNEHR DYLAN                                                        City or County Tax Records        2/19/2008              3/3/2011            Serpe                        580 East Main Street, Suite 310                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 2115    Ex 10/79   Portnoy, Sidney and Sandra       6572 East 41st Court            Sarasota         FL      34243   [II(A)], [VII],         9/16/2010    Yes         2,147     Builder's Floor    Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                    Plan                           0.83              $91.18           $195,763.46                                                                       PORTNOY, SIDNEY                    Owner as of 6/9/15              City or County Tax Records       11/20/2006           Current Owner                                       27300 Riverview Center Blvd                                                               $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2116    Ex 10/79   Posey, Susan                     5934 Bilek Drive                Pensacola        FL      32526   [III], [VII], [XV],     10/7/2009    Yes          928       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                      (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.85              $93.37            $86,647.36                                                                       POSEY PATRICIA S                   Owner as of 6/9/15              Tax Records + Title/Deed         10/31/2006           Current Owner                                       316 South Baylen St.                                                                      $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Pensacola, FL 32502
 2117    Ex 10/79   Potter, Harold and Tricia        4819 Portmamock Way             Wesley Chapel    FL      33543   [III], [XV],            10/7/2009    Yes         3,374     Builder's Floor    Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          GAZZANA GREGORY R &                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.83              $91.18           $307,641.32                                                                                                                                          Tax Records + Title/Deed          6/18/2008              6/4/2013                                         12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                          JEANNE M                           Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Fort Myers, FL 33907
 2118    RP         Powell, Claire and George        5508 Holly Road                 Virginia Beach   VA      23451   [II(C)], [XV],          1/24/2011    Yes         2,363      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                (757) 233-0009   rserpe@serpefirm.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.94              $103.26          $244,003.38                                                                       OTALIP LLC                         Records Not Available           City or County Tax Records        6/10/2005              8/8/2013            Serpe                        580 East Main Street, Suite 310                                                           $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 2119    RP         Powell, Claire and George        5510 Holly Road                 Virginia Beach   VA      23451   [II(C)], [XV],          1/24/2011    Yes         2,792      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                (757) 233-0009   rserpe@serpefirm.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.94              $103.26          $288,301.92                         Property Assessment                           CLARK STEPHEN E                    Records Not Available           City or County Tax Records        6/10/2005              2/28/2013           Serpe                        580 East Main Street, Suite 310                                                           $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 2120    Ex 10/79   Powell, Laura Ann and Lindeerth 8870 SW 229th Street             Cutler Bay       FL      33190   [III], [IX], [XV],      10/7/2009    Yes         1,988      Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.81              $88.98           $176,892.24                                                                       NEFTALI PERNAS                                                     City or County Tax Records       10/23/2007              7/14/2014           Adelman LLP                  2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         300
 2121    Ex 10/79   Prendergast, Kenneth and Naomi 564 Bimini Bay Blvd.              Apollo Beach     FL      33572   [XV], [XVI],            7/5/2011     Yes         3,416      Property Tax      Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                       Assessor's                                                                                                                                                                                                                                                                                                                          12800 University Drive, Suite 600                      m
                                                                                                                                                                                                                     0.83              $91.18           $311,470.88                                                                       PRENDERGAST, KENNETH               Owner as of 6/9/15              Tax Records + Title/Deed         10/30/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
 2122    Add.       Preservation Alliance of New      1205 South Genois Street       New Orleans      LA      70125   [IX], [XV],             5/5/2011     Yes          851      Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47            $80,393.97                                                                       JONES CASSANDRA                    No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2123    Add.       Preservation Alliance of New      1603 Hollygrove Street         New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes         1,555     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D           COUSIN ALICE                                                                                                                                    Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                                                                                                                                                ETALS                                                                                                                                           Redfearn, LLP                  1100 Poydras St., 30th Floor
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                           0.86              $94.47           $146,900.85                                                                       BROWN LORRAINE                     No Record of Ownership          City or County Tax Records                                                                                  New Orleans, LA 70163                                                                   $0.00
         Omni XX                                                                                                                                                                                                                                                                                                                          DARENSBOURG KEVIN
                                                                                                                                                                                                                                                                                                                                          HENRY ALFRED
 2124    Add.       Preservation Alliance of New      2601 Arts Street               New Orleans      LA      70117   [IX], [XV],             5/5/2011     Yes         1,152     Builder's Floor    Yes                                                                  Crescent City      Affidavit from      27            D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $108,829.44                         Rebuilding Together                           BEACO REGINALD                     No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2125    Add.       Preservation Alliance of New      2617 Eagle Street              New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes          812      Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47            $76,709.64                                                                       ASHFORD LEROY                      No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2126    Add.       Preservation Alliance of New      2923 Mistletoe Street          New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes         1,362     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
                                                                                                                                                                                                                                                                                                                                          LARCE WILLIAM
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $128,668.14                                                                                                          No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
                                                                                                                                                                                                                                                                                                                                          LARCE LEON
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2127    Add.       Preservation Alliance of New      3029 La. Avenue Parkway        New Orleans      LA      70125   [IX], [XV],             5/5/2011     Yes         1,353     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $127,817.91                                                                       NETTER PERCY                       No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2128    Add.       Preservation Alliance of New      3632 Monroe Street             New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes         1,355     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $128,006.85                                                                       PETERSON DIANE T                   No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2129    Add.       Preservation Alliance of New      4319 S. Tonti Street           New Orleans      LA      70125   [IX], [XV],             5/5/2011     Yes         1,468     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $138,681.96                                                                       JOHNSON JESSIE                     No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2130    Add.       Preservation Alliance of New      4423-25 Walmsley Avenue        New Orleans      LA      70125   [IX], [XV],             5/5/2011     Yes         1,628     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $153,797.16                                                                       GILMORE ANTONIE S                  No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2131    Add.       Preservation Alliance of New      4609 S. Johnson Street         New Orleans      LA      70125   [IX], [XV],             5/5/2011     Yes         1,390     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
                                                                                                                                                                                                                                                                                                                                          RENTERIA JOSEPH
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $131,313.30                                                                                                          No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
                                                                                                                                                                                                                                                                                                                                          RENTERIA CINDY K
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2132    Add.       Preservation Alliance of New      5 Alice Court                  New Orleans      LA      70117   [IX], [XV],             5/5/2011     Yes          457      Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47            $43,172.79                                                                       BUSH GERALDINE P                   No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2133    Add.       Preservation Alliance of New      5329 Chartres Street           New Orleans      LA      70117   [IX], [XV],             5/5/2011     Yes         1,207     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D           BURKE YOLANDA F                                                                                                                                 Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                                                                                                                                                FORD TERRIN A                                                                                                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor
                                                                                                                                                                                                                     0.86              $94.47           $114,025.29                                                                                                          No Record of Ownership          City or County Tax Records                                                                                                                                                                          $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                FORD JOHN H                                                                                                                                                                    New Orleans, LA 70163
         Omni XX                                                                                                                                                                                                                                                                                                                          FORD KEITH J
 2134    Add.       Preservation Alliance of New      8230 Apple Street              New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes         1,731     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
                                                                                                                                                                                                                                                                                                                                          LEWIS HENRY
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $163,527.57                                                                                                          No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
                                                                                                                                                                                                                                                                                                                                          LEWIS THERESA A
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
 2135    Add.       Preservation Alliance of New      8918 Palm Street               New Orleans      LA      70118   [IX], [XV],             5/5/2011     Yes         1,167     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                                 [XVI], [XVII],                                                  Plan                           0.86              $94.47           $110,246.49                                                                       EBARB LORAN K                      No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                            $0.00
         Prop. &    Resource Center of New Orleans                                                                    [XX]                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 59 of 82



Claimant Source     Claimant Name                    Affected Property Address     City            State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                    Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                            2017 RS Means
Identifier                                                                                                                                Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                          Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                              Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                               Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                  [A]
                                                                                                                                                                                Sharefile
 2136    Add.       Preservation Alliance of New      921 Lamanche Street          New Orleans     LA      70117   [IX], [XV],             5/5/2011     Yes         2,542     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D           SMITH CURTIS                                                                                                                                    Simon, Peragine, Smith &       Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com
         Taishan    Orleans, Inc., d/b/a Preservation                                                              [XVI], [XVII],                                                  Plan                                                                                                                                                 SMITH BRENETTA                                                                                                                                  Redfearn, LLP                  1100 Poydras St., 30th Floor
         Prop. &    Resource Center of New Orleans                                                                 [XX]                                                                                                                                                                                                                 SMITH BRIDGET                                                                                                                                                                  New Orleans, LA 70163
         Omni XX                                                                                                                                                                                                  0.86              $94.47           $240,142.74                                                                        PORTIS CAROL                       No Record of Ownership          City or County Tax Records                                                                                                                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                        SMITH GARY
                                                                                                                                                                                                                                                                                                                                        SMITH GREGORY
                                                                                                                                                                                                                                                                                                                                        WILLIAMS OLLIE
 2137    RP &       Preservation Alliance of New      5441-3 Chartres              New Orleans     LA      70117   [IX], [XV],             5/5/2011     Yes         1,973     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                           Owner Charlie Taylor
         Omni XX    Orleans, Inc., d/b/a Preservation                                                              [XVI], [XVII],                                                  Plan                           0.86              $94.47           $186,389.31                                                                        TAYLOR CHARLIE                     No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                          $0.00           on RP
                    Resource Center of New Orleans                                                                 [XX]                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
 2138    RP &       Preservation Alliance of New      3610 Louisiana Ave. Pkwy.    New Orleans     LA      70125   [IX], [XV],             5/5/2011     Yes         3,110      Property Tax      Yes                                                                  Crescent City      Inspection Report   27             D                                                                                                                                                           Simon, Peragine, Smith &       Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                           Owner Leslie Sims on
         Omni XX    Orleans, Inc., d/b/a Preservation                                                              [XVI], [XVII],                                                Assessor's                       0.86              $94.47           $293,801.70                                                                        SIMS LESLIE JR                     No Record of Ownership          City or County Tax Records                                                   Redfearn, LLP                  1100 Poydras St., 30th Floor                                                          $0.00           original RP
                    Resource Center of New Orleans                                                                 [XX]                                                       Document with                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70163
 2139    Ex 10/79   Prestenback, Mae rose             2041 Livaccari Drive         Violet          LA      70092   [II(A)], [IX],          9/16/2010    Yes         1,188       Inspection       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.        504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                        PRESTENBACH, MARY ROSE
                                                                                                                   [XV], [XVI],                                               Showing Floor                       0.86              $94.47           $112,202.02                                                                                                           Owner as of 6/9/15              City or County Tax Records        8/19/1968           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                      $0.00
                                                                                                                                                                                                                                                                                                                                        DENNIS
                                                                                                                   [XVII]                                                     Plan and Under                                                                                                                                                                                                                                                                                                                           303
 2140    Ex 10/79   Prestridge, John                 12535 Maddox Road             Chunchula       AL      36521   [IX], [XV],             5/5/2011     Yes         2714       Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                   [XVI], [XVII],                                                Assessor's                       0.84              $92.27           $250,420.78                                                                        PRESTRIDGE JOHN WESLEY             Owner as of 6/9/15              Tax Records + Title/Deed         12/29/2005           Current Owner                                         900 W. Morgan Street                                                                  $0.00
                                                                                                                   [XXI]                                                      Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2141    Ex 10/79   Price, Lear                      7681 Branch Drive             New Orleans     LA      70128   [II(A)], [IX],          9/16/2010    Yes         2,104      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XV], [XVI],                                                  Assessor's                       0.86              $94.47           $198,764.88                                                                        PRICE EDWARD B                     Owner as of 6/9/15              Tax Records + Title/Deed          5/18/1981           Current Owner                                         425 W. Airline Hwy, Suite B                                                           $0.00
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
 2142    RP         Priester, Isembe and Stephanie   3805 Machado Street           Tampa           FL      33610   [IX], [XV],             5/5/2011     Yes         1,496      Property Tax      Yes                                                                  Taihe              Photo               14, 21         H, I                                                                                                                                                        Allison Grant, P.A. Baron &    Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                  0.83              $91.18           $136,405.28                                                                        BROOKES BRENDA                                                     Tax Records + Title/Deed          2/29/2008              7/28/2011                                                                                                                                $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2143    RP         Prieto, Belkis                   8049 W 36th Avenue #5         Hialeah         FL      33018   [II(B)], [VII],         12/6/2010    Yes         1,360      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XV], [XVI],                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                  0.81              $88.98           $121,012.80                                                                        YE SONG                                                            City or County Tax Records         1/1/2007              6/14/2010                                                                                                                                $0.00
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2144    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      101                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $160,612.64                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2145    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,231      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      102                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $110,888.48                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2146    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      201                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $160,612.64                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2147    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,242      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Gitto Frank
         Taishan    Community Association, Inc.      202                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $111,879.36                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2148    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,209      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Walter and Vickie
         Taishan    Community Association, Inc.      203                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Dinneen
                                                                                                                                                                                                                  0.82              $90.08           $108,906.72                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2149    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,231      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Douglas and
         Taishan    Community Association, Inc.      204                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Delores Gottung
                                                                                                                                                                                                                  0.82              $90.08           $110,888.48                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2150    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,448      Property Tax      Yes                                                                  Taishan            Inspection Report   6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Lynda St. Julien
         Taishan    Community Association, Inc.      205                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $130,435.84                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2151    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,209      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Real Property
         Taishan    Community Association, Inc.      208                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Resolutions. See also
                                                                                                                                                                                                                  0.82              $90.08           $108,906.72                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH                                                                               Promenade 6-208, LLC
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134                                                                                on OCXX
 2152    Add.       Promenade at Tradition           10360 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [VII], [XV],     10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Irene Serrano and
         Taishan    Community Association, Inc.      210                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Kenneth Pouncey
                                                                                                                                                                                                                  0.82              $90.08           $160,612.64                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2153    Add.       Promenade at Tradition           10400 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,242      Property Tax      Yes                                                                  IMT                Photo               32             F                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      211                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $111,879.36                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2154    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,448      Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Real Property
         Taishan    Community Association, Inc.      104                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Resolutions Group. See
                                                                                                                                                                                                                  0.82              $90.08           $130,435.84                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH                                                                               also Promenade 4-104,
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134                                                                                LLC on OCXX
 2155    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,231      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      105                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $110,888.48                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2156    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      106                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $160,612.64                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2157    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      201                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $160,612.64                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2158    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,242      Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Adams, John and
         Taishan    Community Association, Inc.      202                                                           [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Andrea
                                                                                                                                                                                                                  0.82              $90.08           $111,879.36                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2159    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,209          Other         Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Mosley, Shawn
         Taishan    Community Association, Inc.      203                                                           [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $108,906.72                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Richard J. Serpe               Coral Gables, FL 33134
 2160    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,231      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Real Property
         Taishan    Community Association, Inc.      204                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Resolutions Group. See
                                                                                                                                                                                                                  0.82              $90.08           $110,888.48                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH                                                                               also Promenade 4-204,
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134                                                                                LLC on OCXX
 2161    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,371     Builder's Floor     No                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Godwin, Franklin
         Taishan    Community Association, Inc.      205                                                           [XVI], [XVII]                                                   Plan                                                                                                                                                                                                                                                                                                 Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $123,499.68                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Richard J. Serpe               Coral Gables, FL 33134
 2162    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,250      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      206                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $112,600.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.      (Casey, Hugh)                                                                                                                                             Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2163    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,250      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      207                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $112,600.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2164    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,209      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Toler, Calvin
         Taishan    Community Association, Inc.      210                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $108,906.72                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2165    Add.       Promenade at Tradition           10440 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Fenalson, Jared
         Taishan    Community Association, Inc.      212                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $160,612.64                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2166    Add.       Promenade at Tradition           10480 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,783      Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.      101                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $160,612.64                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2167    Add.       Promenade at Tradition           10480 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,242      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Gaita, Gina
         Taishan    Community Association, Inc.      202                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82              $90.08           $111,879.36                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2168    Add.       Promenade at Tradition           10480 SW Stephanie Way, Unit Port St. Lucie   FL      34987   [III], [XV],            10/7/2009    Yes         1,209      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com                                See Lorraine and
         Taishan    Community Association, Inc.      206                                                           [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                 Richard Traina on RP
                                                                                                                                                                                                                  0.82              $90.08           $108,906.72                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                                Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH                                                                               and OCXX
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 60 of 82



Claimant Source     Claimant Name                      Affected Property Address     City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 2169    Add.       Promenade at Tradition             10520 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,783      Property Tax     Yes                                                                   Taishan            Photo             12             L                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                 George Elkins, Jr. on
         Taishan    Community Association, Inc.        212                                                            [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                   OCXX
                                                                                                                                                                                                                      0.82                $90.08          $160,612.64                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                $93,715.83
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2170    Add.       Promenade at Tradition             10560 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,231      Property Tax     Yes                                                                   Taishan            Photo             12             L                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.        102                                                            [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.82                $90.08          $110,888.48                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                $74,216.74
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2171    Add.       Promenade at Tradition             10560 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,209         Other         Yes                                                                   Taishan            Photo             2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.        203                                                            [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.82               $90.08          $108,906.72                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                  $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2172    Add.       Promenade at Tradition             10560 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,448       Property Tax      Yes                                                                 Taishan            Photo             2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                 See Quackenbush,
         Taishan    Community Association, Inc.        205                                                            [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                   Ronald
                                                                                                                                                                                                                       0.82               $90.08          $130,435.84                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                  $0.00
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2173    Add.       Promenade at Tradition             10560 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,250      Property Tax       Yes                                                                 Taishan            Photo             2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                 See Labell, Barry
         Taishan    Community Association, Inc.        206                                                            [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.82               $90.08          $112,600.00                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                  $0.00
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2174    Add.       Promenade at Tradition             10560 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,448      Property Tax       Yes                                                                 Taishan            Photo             2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Community Association, Inc.        208                                                            [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.82               $90.08          $130,435.84                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                  $0.00
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2175    Add.       Promenade at Tradition             10560 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,231       Property Tax      Yes                                                                 Taishan            Photo             2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                 See Jamison, Steve and
         Taishan    Community Association, Inc.        209                                                            [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                   Kim
                                                                                                                                                                                                                       0.82               $90.08          $110,888.48                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                $28,474.93
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2176    Add.       Promenade at Tradition             10560 SW Stephanie Way, Unit Port St. Lucie    FL      34987   [III], [XV],              10/7/2009    Yes         1,783      Property Tax       Yes                                                                 IMT                Photo             30, 31         F                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                 See Promenade 1-212,
         Taishan    Community Association, Inc.        212                                                            [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                   LLC on OCXX
                                                                                                                                                                                                                       0.82               $90.08          $160,612.64                                                                      UNKNOWN                            Review in Progress                                                                                                                                                                                                                $57,130.19
         Prop.                                                                                                                                                                     Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2177    Ex 10/79   Promendade, 9-101 LLC              11102 NW 83rd Street Unit #9- Doral            FL      33178   [II(A)], [XV],            9/16/2010    Yes         1,312      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                       101                                                            [XVI], [XVII]                                                   Assessor's                                                                                                                                                                              Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $116,741.76                                                                      PROMENADE 9 101 LLC                                                City or County Tax Records                              10/15/2007                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2178    Ex 10/79   Prosser, Charles; Davis, Laura     725 Navarre Avenue            New Orleans      LA      70124   [XIII], [XV],             7/5/2011     Yes         1,602         Appraisal      Yes                                                                  IMT                Photo             30, 31         F                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                           ECKER BRANDON J                    Previous Owner, Did Not Own
                    Prosser, as Administrator of the                                                                  [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $151,340.94                                                                                                                                         City or County Tax Records        8/29/2008              7/26/2012                                          820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                           ECKER ELIZABETH T                  Property on 6/9/15
                    Estate of Charles Harris Prosser                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 2179    Ex 10/79   Proto, Benjamin and Holly          10 Bradford Point             Virginia Beach   VA      23455   [II(A)], [XV],            9/16/2010    No          4,691       Property Tax     Yes                                                                  Venture Supply     Photo             39             K           BENJAMIN ROBERT AND                                                                                                                             Pender & Coward, P.C.          William Lascara, Esq.               (757) 490-3000   wlascara@pendercoward.co
                                                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                           HOLLY EDWARDS PROTO                                                                                                                                                            22 Central Park Avenue, Suite 400                    m
                                                                                                                                                                                                                       0.94              $103.26          $484,392.66                                                                                                         Owner as of 6/9/15              City or County Tax Records          2013              Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                           JOINT REVOCABLE LIVING                                                                                                                                                         Virginia Beach, VA 23462-3026
                                                                                                                                                                                   Square Footage                                                                                                                                          TRUST
 2180    Ex 10/79   Pruna, David and Jaimy             8889 SW 225th Terrace         Cutler Bay       FL      33190   [XIII], [XV],             7/5/2011     Yes         1,416       Property Tax     Yes                                                                  Taihe/ BNBMDB      Photo             14, 25         A, H                                                                                                                                                        Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           A AND S SERVICE                    Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                   Assessor's                       0.81               $88.98          $125,995.68                                                                                                                                         City or County Tax Records       11/22/2006              6/18/2014                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           INVESTMENTS LLC                    Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 2181    Ex 10/79   Prynada, Christine                 2068 Zuyder Terrace           North Port       FL      34286   [IX], [XV],               5/5/2011     Yes         1,872        Benchmark       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                   Inspection                                                                                                                                           PRYNADA-DEMIDENKO                                                                                                                               Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.83               $91.18          $170,688.96                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed         11/12/2009           Current Owner                                                                                                                               $75,524.39
                                                                                                                                                                                    Report Using                                                                                                                                           CHRISTINE                                                                                                                                       Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Zillow.com for                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
 2182    Ex 10/79   PSC Enterprises, LLC               362 Eisenhower Blvd.          Lehigh Acres     FL      33974   [II(C)], [IX],            1/24/2011    Yes         1,514       Property Tax     Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           PERDOMO YOHANA + RIVERA Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                    Assessor's                       0.80               $87.88          $133,050.32                                                                                                                                         City or County Tax Records        5/29/2008             11/10/2010                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           YASMANI J/T             Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 2183    RP         Puerto, Rafael M.                  10902 NW 83rd Street #214     Doral            FL      33178   [IX], [XIII],             5/5/2011     Yes         1,385      Builder's Floor   Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                           MARIO ALVEAR ROSERO
                                                                                                                      [XV], [XVI],                                                       Plan                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $123,237.30                                                                      JOHANA LEGUISAMO                                                   Tax Records + Title/Deed          2/14/2007              6/18/2012                                                                                                                                  $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                                                                  Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           MALDONADO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2184    RP         Purcell, Veronica                  6845 Mitchell Street          Jupiter          FL      33458   [II(C)], [III], [IX],     10/7/2009    Yes         1,218      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           ROSS DANIEL J TRUST &              Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.82               $90.08          $109,717.44                                                                                                                                         City or County Tax Records        7/11/2006              2/17/2011                                        12800 University Drive, Suite 600                      m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           ROSS JILL ALLARD TRUST             Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 2185    Ex 10/79   Puzo, Roberto and Zuraya           5772 SW 162 Pass              Miami            FL      33193   [XV], [XVI],              7/5/2011     Yes         1,823      Property Tax      Yes                                                                  Taishan            Photo             8              J           ROBERTO F PUZO CARPIO                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                            JTRS ZURAYA M TORBAY DE                                                                                                                                                      12800 University Drive, Suite 600                      m
                                                                                                                                                                                                                       0.81               $88.98          $162,210.54                                                                                              Owner as of 6/9/15                         Tax Records + Title/Deed         10/16/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                           PUZO JTRS ROBERTO JOSE                                                                                                                                                       Fort Myers, FL 33907
                                                                                                                                                                                   Square Footage                                                                                                                                          PAZA JTRS
 2186    RP         Quackenbush, Ronald and            10560 SW Stephanie Way Unit Port St. Lucie     FL      34987   [II(A)], [III], [IX],     10/7/2009    Yes           0            N/A           N/A                                                                  Taishan            Photo             2              J                                                                                                                                                           Billing, Cochran, Lyles, Mauro Manuel Comras, Esq.                 (561) 659-5970   MRC@bclmr.com                                      See Promenade at
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Lorraine                           205                                                            [XV], [XVI],                                                                                     0.82               $90.08             $0.00                                                                         KATHY MIRANDA                                                      City or County Tax Records       10/19/2006              2/22/2012           & Ramsey, P.A.                 1601 Forum Place, Suite 400                                                             $0.00           Tradition Line 2874
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                              West Palm Beach, FL 33401
 2187    Ex 10/79   Quaranta, Benito                   4541 Rolling Green Drive      Wesley Chapel    FL      33543   [II], [IX], [XV],         3/15/2010    Yes         2,532      Property Tax      Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                    Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $230,867.76                                                                      KEY HAROLD J & HEATHER C                                           Tax Records + Title/Deed           3/1/2006              8/29/2013                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                    Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2188    RP         Quattrocchi, William A.            10320 SW Stephanie Way Unit Port St. Lucie     FL      34987   [III(A)], [VII],          9/16/2010    Yes         1,603     Builder's Floor    Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                       #212                                                           [IX], [XV],                                                       Plan                           0.82               $90.08          $144,398.24                                                                      RAYL ENTERPRISES LLC                                               City or County Tax Records        4/28/2006              4/7/2011                                           255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                       Coral Gables, FL 33134
 2189    RP         Querol, Damien                     3301 NE 183rd Street, Unit    Aventura         FL      33160   [II], [XV], [XVI],        3/15/2010    Yes         3,069          Other          No                                                                  Taishan            Photo             2              J                                                                                                                                                           Podhurst Orseck                Robert C. Josefsberg, Esq.          (305) 358-2800   rjosefsberg@podhurst.com                           BKC confirmed square
                                                       1207                                                           [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Suntrust International Center                                                                           footage.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          One S.E. 3rd Avenue, Suite 2700
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Miami, FL 33131




                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                                                                                                                       0.81               $88.98          $273,079.62                                                                      EDDY ARMINIO RENGIFO                                               Tax Records + Title/Deed          8/20/2007              10/1/2013                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15




 2190    RP         Quezada, Nelly                     11404 Laurel Brook Court      Riverview        FL      33569   [II(B)], [III], [IX],     10/7/2009    Yes         1,644      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                            CASTILLO YOANNY PEREZ              Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                       0.83               $91.18          $149,899.92                                                                                                                                         Tax Records + Title/Deed           5/5/2009              2/7/2014                                                                                                                                   $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                           GARCELLS ISYS SIFONTES             Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2191    Ex 10/79   Quinn, Christopher and             4210 West Kensington Avenue   Tampa            FL      33629   [II], [IX], [XV],         3/15/2010    Yes         3,304      Property Tax      Yes                                                                  Taihe              Photo             15, 18         I                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                    Katherine                                                                                         [XVI], [XVII]                                                  Assessor's                                                                                                                                            HAMILTON JASON M                   Previous Owner, Did Not Own                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                       0.83               $91.18          $301,258.72                                                                                                                                         Tax Records + Title/Deed          6/29/2007              3/28/2013                                                                                                                                  $0.00
                                                                                                                                                                                   Document with                                                                                                                                           HAMILTON PATRICIA A                Property on 6/9/15                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                   Square Footage
 2192    RP         Quittner, Lee and Alyssa           9830 Cobblestone Creek        Boynton Beach    FL      33472   [II], [XIII], [XV],       3/15/2010    Yes         3,975      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                           FABER ELISA                        Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.82               $90.08          $358,068.00                                                                                                                                         Tax Records + Title/Deed          10/6/2006              9/5/2011                                           255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           FABER WILLIAM D &                  Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
 2193    Ex 10/79   Raburn, Jacob and Melissa          4102 Three Oaks Road          Plant City       FL      33565   [XV], [XVI],              7/5/2011     Yes         1,296      Property Tax      Yes                                                                  Taihe              Photo             15, 21         I                                                                                                                                                           VM Diaz and Partners           Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                            RABURN JACOB WILLIAM                                                                                                                                                           1900 Washington Ave., Suite 402
                                                                                                                                                                                                                       0.83               $91.18          $118,169.28                                                                                                         Owner as of 6/9/15              City or County Tax Records        1/18/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                           HINTON MELISSA LEAH                                                                                                                                                            Miami Beach, FL 33139
                                                                                                                                                                                   Square Footage
 2194    Ex 10/79   Racius, Lubraine and Anese         4013 24th Street SW           Lehigh Acres     FL      33971   [II(C)], [III(A)],        9/16/2010    Yes         1,714      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           BELLO RICARDO + BELLO              Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $150,626.32                                                                                                                                         City or County Tax Records        11/2/2006             12/19/2014                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           JESUS R J/T                        Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2195    Ex 10/79   Rahman, Mohamad                    935 Bayshore Drive            Terra Ceia       FL      34250   [XIII], [XV],             7/5/2011     Yes         2,691      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A.            Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                            RAHMAN MOHAMMAD D                                                                                                                                                              14 Southeast 4th Street
                                                                                                                                                                                                                       0.83               $91.18          $245,365.38                                                                                                         Owner as of 6/9/15              City or County Tax Records        10/3/2008           Current Owner                                                                                                                              $155,222.07
                                                                                                                                                                                   Document with                                                                                                                                           ADNAN                                                                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                   Square Footage
 2196    RP         Ramirez, Xiomara, Villavicencio, 8019 W. 36th Avenue #5          Hialeah          FL      33018   [II(B)], [VII],           12/6/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                    Carlos and DeLaCruz-Oller,                                                                        [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                       0.81               $88.98          $120,656.88                                                                      XIOMARA B RAMIREZ                  Owner as of 6/9/15              City or County Tax Records         5/1/2007           Current Owner                                                                                                                                 $0.00
                    Nelida                                                                                            [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2197    Ex 10/79   Ramos-Firvida, LLC, Firvida,       2488 North Landing Road Suite Virginia Beach   VA      23456   [IX], [XV],               5/5/2011     Yes         1,613         Other          Yes                                                                  Venture Supply     Photo             39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                    Maria, and Ramos, Jose             109                                                            [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Fishbein, Sedran & Berman     Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94              $103.26          $166,558.38                                                                      RAMOS-FIRVIDA LLC                  Owner as of 6/9/15              City or County Tax Records         7/3/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe              Coral Gables, FL 33134
 2198    Ex 10/79   Ramsay, Raymond and Tina           13628A Rebel Road             Theodore         AL      36582   [IX], [XV],               5/5/2011     Yes         2756       Property Tax      Yes                                                                  Taihe              Photo             17, 20         I                                                                                                                                                           Don Barrett P.A. and Lovelace Don Barrett                          (662) 380-5018   DBarrett@barrettlawgroup.
                                                                                                                      [XVI], [XVII],                                                  Assessor's                                                                                                                                                                                                                                                                                           Law Firm                      404 Court Square                                      com
                                                                                                                                                                                                                       0.84               $92.27          $254,296.12                                                                      RAMSAY RAYMOND & TINA              Owner as of 6/9/15              City or County Tax Records        9/15/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                         PO Box 927
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                        Lexington, MS 39095
 2199    Ex 10/79   Rand, Richard                      8607 Athena Court             Lehigh Acres     FL      33971   [II(C)], [III], [IX],     10/7/2009    Yes         1,445      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                    Assessor's                       0.80               $87.88          $126,986.60                                                                      BEAVEN GARY + JACQUELINE                                           Tax Records + Title/Deed          2/27/2007              12/5/2013                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2200    Ex 10/79   Randazzo, Antonio and Deborah 2193 Willoughby Street             Port Charlotte   FL      33980   [II], [IX], [XV],         3/15/2010    Yes         2,109        Appraisal       Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Colson Hicks Eidson           Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                           DARLING CHRISTOPHER A &            Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Showing Floor                       0.80               $87.88          $185,338.92                                                                                                                                         Tax Records + Title/Deed          11/8/2007              7/22/2010                                         255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                           MICHELLE                           Property on 6/9/15
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                       Coral Gables, FL 33134
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 61 of 82



Claimant Source     Claimant Name                  Affected Property Address       City             State   Zip     Omni(s)               Date of Earliest PPF      Verified       Type of       Counsel's                                                              Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                 Filed Taishan (Yes/No)   Square       Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                               Omni                 Footage        Provided      Verifying                       [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
 2201    Ex 10/79   Randazzo, Virginia             121 West St. Avide Street       Chalmette        LA      70043   [II(B)], [IX],          12/6/2010    Yes         1,381        Appraisal        Yes                                                                  Taihe              Photo             20, 21         I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                        RANDAZZO, VIRGINIA
                                                                                                                    [XV], [XVI],                                               Showing Floor                       0.86                $94.47          $130,463.07                                                                                                         Owner as of 6/9/15              City or County Tax Records       12/27/2006           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                        LUCILLE
                                                                                                                    [XVII]                                                     Plan and Square                                                                                                                                                                                                                                                                                                                       303
 2202    Ex 10/79   Rankins, Edward and Pamela     4841 Francisco Verrette Drive   New Orleans      LA      70126   [III], [VII], [XV],     10/7/2009    Yes         1,697        Appraisal        Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                  (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                        RANKINS EDWARD J
                                                                                                                    [XVI], [XVII]                                              Showing Floor                       0.86                $94.47          $160,315.59                                                                                                         Owner as of 6/9/15              City or County Tax Records        7/16/1990           Current Owner                                       4265 San Felipe, Suite 1000                          om                                 $0.00
                                                                                                                                                                                                                                                                                                                                        RANKINS PAMELA B
                                                                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                       Houston, TX 77027
 2203    RP         Raphael, Gene and Que          3018 Lake Butler Court          Cape Coral       FL      33909   [II], [XIII], [XV],     3/15/2010    Yes         2,700        Appraisal        Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                        CHARLES LAYTON JR +                Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                              Showing Floor                       0.80                $87.88          $237,276.00                                                                                                                                         Tax Records + Title/Deed         12/30/2008              1/31/2011                                        255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                        CHARLES MARY J/T                   Property on 6/9/15
                                                                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                       Coral Gables, FL 33134
 2204    Ex 10/79   Rappa, Erasmo and Kathleen     2128 South West 5th Avenue      Cape Coral       FL      33991   [II], [XV], [XVI],      3/15/2010    Yes         2,268       Property Tax      Yes                                                                  ProWall            Photo             43, 44         G                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                        RAPPA ERASMO + KATHLEEN
                                                                                                                    [XVII]                                                        Assessor's                       0.80                $87.88          $199,311.84                                                                                              Owner as of 6/9/15                         City or County Tax Records        3/25/2003           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                        F
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2205    Ex 10/79   Rareshide, Charles A. and      2404 Aramis Drive               Meraux           LA      70075   [XIII], [XV],           7/5/2011     Yes         2,062      Builder's Floor    Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                    Deborah A.                                                                                      [XVI], [XVII]                                                    Plan                          0.86                $94.47          $194,797.14                                                                      RARESHIDE, CHARLES A.              Owner as of 6/9/15              City or County Tax Records        7/31/2008           Current Owner                                       820 O'Keefe Avenue                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
 2206    Ex 10/79   Raspall, Maria and Stephanie   8105 W. 36th Avenue #3          Hialeah          FL      33018   [II(C)], [VII],         1/14/2011    Yes         1,337     Builder's Floor     Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                    Plan                                                                                                                                                STEPHANIE RASPALL &                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                    0.81              $88.98           $118,966.26                                                                                                         Owner as of 6/9/15              City or County Tax Records        2/26/2009           Current Owner                                                                                                                               $0.00
                                                                                                                    [XVII]                                                                                                                                                                                                              MARIA X RASPALL                                                                                                                                 Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Dallas, TX 75219
 2207    RP         Ratliff, Duane and Beth        4205 Amelia Plantation Court    Vero Beach       FL      32967   [II], [XV], [XVI],      3/15/2010    Yes         2,696        Appraisal        Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                           Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                     Showing Floor                        0.84              $92.27           $248,759.92                                                                      LINDENBERG EARL S                                                  Tax Records + Title/Deed          3/24/2006              3/31/2011                                        255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                           Property on 6/9/15
                                                                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                       Coral Gables, FL 33134
 2208    Ex 10/79   Rattan, Ravindra               2942 SW Skyline St.             Port St. Lucie   FL      34987   [II(B)], [XIII],        12/6/2010    Yes         2,250       Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XV], [XVI],                                                  Assessor's                                                                                                                                            MICHAELA TRUMP-                    Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                    0.82              $90.08           $202,680.00                                                                                                                                         City or County Tax Records        9/25/2006              6/11/2012                                                                                                                                $0.00
                                                                                                                    [XVII]                                                     Document with                                                                                                                                            CHANDLER                           Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2209    RP         Raucci, Steven and Dorothy     10856 Tiberio Drive             Ft. Myers        FL      33913   [II], [III], [IX],      10/7/2009    Yes         1,823       Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                        LARSON SCOTT A + BARBARA Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                  Assessor's                        0.80              $87.88           $160,205.24                                                                                                                                         Tax Records + Title/Deed          9/20/2007              8/14/2014                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                        A                        Property on 6/9/15
                                                                                                                    [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2210    Ex 10/79   Raymond, Davidson and Robert, 8797 Cobblestone Point Circle    Boynton Beach    FL      33472   [II], [XV], [XVI],      3/15/2010    Yes         3,830       Property Tax      Yes                                                                  BNBMDB             Photo             25             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Jean                                                                                            [XVII]                                                        Assessor's                                                                                                                                            RAYMOND DAVIDSON &                                                                                                                                                           Baron & Budd
                                                                                                                                                                                                                    0.82              $90.08           $345,006.40                                                                                                         Owner as of 6/9/15              City or County Tax Records         1/9/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                               Document with                                                                                                                                            RAYMOND JEAN R                                                                                                                                                               3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2211    Ex 10/79   Razzaq, Anjum and Hasan,       4820 Portmarnock Way            Wesley Chapel    FL      33543   [XV], [XVI],            7/5/2011     Yes         2,849      Builder's Floor    Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                                                                                                                                                                                                                                        RAZZAQ ANJUM MOHAMMAD
                    Seema                                                                                           [XVII]                                                           Plan                                                                                                                                                                                                                                                                                                                            14 Southeast 4th Street
                                                                                                                                                                                                                    0.83              $91.18           $259,771.82                                                                      &                     Owner as of 6/9/15                           City or County Tax Records        11/9/2005           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432
                                                                                                                                                                                                                                                                                                                                        HASAN SEEMA
 2212    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,460     Builder's Floor     Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1101                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $131,516.80                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,542.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2213    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1102                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,101.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2214    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,460     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1104                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $131,516.80                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,416.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2215    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1105                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,723.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2216    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1110                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,723.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2217    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1112                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,378.91
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2218    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1123                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,000.91
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2219    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1129                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,660.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2220    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,460     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                                                                                                                                                                                                                                                                                                        GONZALEZ JOSE &                    Owner as of 6/9/15, No Longer
                                                   #1201                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $131,516.80                                                                                                                                         Tax Records + Title/Deed          6/30/2005              3/15/2016           Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,416.71
                                                                                                                                                                                                                                                                                                                                        GONZALEZ MARIA R                   Owns Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2221    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1204                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,542.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2222    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1207                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,849.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2223    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1208                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,126.91
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2224    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1210                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,912.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2225    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1214                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,786.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2226    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1220                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,786.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2227    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1222                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,378.91
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2228    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1229                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,660.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2229    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1305                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,408.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2230    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1306                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,912.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2231    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,460     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1316                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $131,516.80                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,542.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2232    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1318                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,038.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2233    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,460     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1319                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $131,516.80                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,542.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2234    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1320                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,786.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2235    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1322                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,912.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2236    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1325                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,101.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2237    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1326                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,912.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2238    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1403                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,126.90
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2239    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1407                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $94,378.90
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2240    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1408                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,660.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2241    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1414                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $111,699.20                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,786.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
 2242    Ex 10/79   RCR Holdings II, LLC           1690 Renaissance Commons        Boynton Beach    FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,    Gregory Weiss, Esq.                (561) 355-6993   gweiss@mrachek-law.com
                                                   #1415                                                            [XVI], [XVII]                                                   Plan                            0.82              $90.08           $100,799.52                                                                      RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,      505 S. Flagler Drive, Suite 600                                                      $93,849.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        P.A.                          West Palm Beach, FL 33401
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 62 of 82



Claimant Source     Claimant Name                     Affected Property Address     City              State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                   Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                   Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
 2243    Ex 10/79   RCR Holdings II, LLC              1690 Renaissance Commons      Boynton Beach     FL      33426   [XIII], [XV],           7/5/2011     Yes         1,460     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,     Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                                      #1416                                                           [XVI], [XVII]                                                   Plan                          0.82                $90.08          $131,516.80                                                                        RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner          Konopka, Thomas & Weiss,       505 S. Flagler Drive, Suite 600                                                         $94,416.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           P.A.                           West Palm Beach, FL 33401
 2244    Ex 10/79   RCR Holdings II, LLC              1690 Renaissance Commons      Boynton Beach     FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,     Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                                      #1425                                                           [XVI], [XVII]                                                   Plan                           0.82              $90.08           $111,699.20                                                                        RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,       505 S. Flagler Drive, Suite 600                                                         $93,912.70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           P.A.                           West Palm Beach, FL 33401
 2245    Ex 10/79   RCR Holdings II, LLC              1690 Renaissance Commons      Boynton Beach     FL      33426   [XIII], [XV],           7/5/2011     Yes         1,460     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,     Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                                      #1516                                                           [XVI], [XVII]                                                   Plan                           0.82              $90.08           $131,516.80                                                                        RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records        6/30/2005           Current Owner          Konopka, Thomas & Weiss,       505 S. Flagler Drive, Suite 600                                                         $94,794.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           P.A.                           West Palm Beach, FL 33401
 2246    Ex 10/79   RCR Holdings II, LLC              1690 Renaissance Commons      Boynton Beach     FL      33426   [XIII], [XV],           7/5/2011     Yes          817      Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,     Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                                      #1517                                                           [XVI], [XVII]                                                   Plan                           0.82              $90.08            $73,595.36                                                                        RCR HOLDINGS II, LLC               Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,       505 S. Flagler Drive, Suite 600                                                         $93,597.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           P.A.                           West Palm Beach, FL 33401
 2247    Ex 10/79   RCR Holdings II, LLC              1690 Renaissance Commons      Boynton Beach     FL      33426   [XIII], [XV],           7/5/2011     Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,     Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                                      #1518                                                           [XVI], [XVII]                                                   Plan                           0.82              $90.08           $111,699.20                                                                        RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,       505 S. Flagler Drive, Suite 600                                                         $93,912.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           P.A.                           West Palm Beach, FL 33401
 2248    Ex 10/79   RCR Holdings II, LLC              1690 Renaissance Commons      Boynton Beach     FL      33426   [XIII], [XV],           7/5/2011     Yes         1,119     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Mrachek, Fitzgerald, Rose,     Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                                      #1520                                                           [XVI], [XVII]                                                   Plan                           0.82              $90.08           $100,799.52                                                                        RCR HOLDINGS II LLC                Owner as of 6/9/15              City or County Tax Records          2007              Current Owner          Konopka, Thomas & Weiss,       505 S. Flagler Drive, Suite 600                                                         $93,849.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           P.A.                           West Palm Beach, FL 33401
 2249    RP         Real Property Resolutions         10360 SW Stephanie Way, Unit Port St. Lucie     FL      34987   [III], [XV],            10/7/2009    Yes           0            N/A           N/A                                                                  Taishan            Photo               5              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                   See Promenade at
                    Group, LLC                        6-208                                                           [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                     Tradition
                                                                                                                                                                                                                     0.82              $90.08              $0.00                                                                           UNKNOWN                            Review in Progress                                                                                                                                                                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2250    RP         Real Property Resolutions         10440 SW Stephanie Way, Unit Port St. Lucie     FL      34987   [III], [XV],            10/7/2009    Yes           0            N/A           N/A                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                   See Promenade at
                    Group, LLC                        4-104                                                           [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                     Tradition
                                                                                                                                                                                                                     0.82              $90.08              $0.00                                                                           UNKNOWN                            Review in Progress                                                                                                                                                                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2251    RP         Real Property Resolutions         10440 SW Stephanie Way, Unit Port St. Lucie     FL      34987   [III], [XV],            10/7/2009    Yes           0            N/A           N/A                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                   See Promenade at
                    Group, LLC                        4-204                                                           [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                        Fishbein, Sedran & Berman      Colson, Hicks, Eidson                                                                                     Tradition
                                                                                                                                                                                                                     0.82              $90.08              $0.00                                                                           UNKNOWN                            Review in Progress                                                                                                                                                                                                                  $19,990.42
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2252    Ex 10/79   Rebello, Deodato                  1675 St. Claire Avenue E      North Ft. Myers   FL      33914   [II(B)], [XV],          12/6/2010    Yes         2,248     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                   Plan                           0.80              $87.88           $197,554.24                                                                        REBELLO DEODATO F                  Owner as of 6/9/15              City or County Tax Records        3/20/2003           Current Owner                                         12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2253    Ex 10/79   Reber, Todd and Melissa           5385 Schaag Road              Molino            FL      32577   [III], [VII], [IX],     10/7/2009    Yes         5,155       Property Tax     Yes                                                                  Taihe              Photo               15, 17         I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XV], [XVI],                                                  Assessor's                       0.85              $93.37           $481,322.35                                                                        REBER TODD J & MELISSA             Owner as of 6/9/15              Tax Records + Title/Deed         10/31/2005           Current Owner                                         316 South Baylen St.                                                                      $0.00
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 2254    Ex 10/79   Reckseit, Ronald and Jacqueline 1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XIII], [XV],     3/15/2010    Yes          817        Property Tax     Yes                                                                  Taishan            Inspection Report   2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                    Blvd. Unit 1111                                                   [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08            $73,595.36                                                                        JD HORIZIONS LLC                                                   Tax Records + Title/Deed          4/20/2007              8/25/2015                                                                                                                                  $93,941.80
                                                                                                                                                                                 Document with                                                                                                                                                                                Owns Property                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2255    Ex 10/79   Reckseit, Ronald and Jacqueline 1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XIII], [XV],     3/15/2010    Yes         1,246        Appraisal       Yes                                                                  Taishan            Inspection Report   2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                    Blvd. Unit 1225                                                   [XVI], [XVII]                                              Showing Floor                                                                                                                                             KLEIER DENNIS &                    Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $112,239.68                                                                                                                                           Tax Records + Title/Deed          4/20/2007              3/27/2015                                                                                                                                  $94,434.04
                                                                                                                                                                                 Plan and Square                                                                                                                                           KLEIER JOANN                       Property on 6/9/15                                                                                           Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
 2256    Ex 10/79   Redden, James and Deloris         190 Ode Moore Road            Michie            TN      38357   [XV], [XVI],            7/5/2011     Yes         1,188       Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII], [XXVI]                                                Assessor's                                                                                                                                             REDDEN DELORIS ETVIR                                                                                                                                                           12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                     0.76              $83.49            $99,186.12                                                                                                           Owner as of 6/9/15              City or County Tax Records        7/10/2007           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                 Document with                                                                                                                                             JAMES                                                                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
 2257    Ex 10/79   Redway, Robert and Galina         2521 Whitesand Lane           Clearwater        FL      33763   [II(B)], [III],         10/7/2009    Yes         1,629       Property Tax     Yes                                                                  IMT                Photo               32             F                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XV], [XVI],                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $146,740.32                                                                        ZHAO, SHENGCHANG                                                   City or County Tax Records        5/30/2007              3/19/2013                                                                                                                                    $0.00
                                                                                                                      [XVII]                                                     Document with                                                                                                                                                                                Property on 6/9/15                                                                                           Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2258    Ex 10/79   Reed, Ernest and Rosie            7539 Ebbtide Drive            New Orleans       LA      70126   [VII], [XV],            1/14/2011    Yes         2,213        Inspection      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                           REED EARNEST J JR
                                                                                                                      [XVI], [XVII]                                               Showing Floor                      0.86              $94.47           $209,062.11                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/21/2006           Current Owner                                         425 W. Airline Hwy, Suite B                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           REED ROSIE C
                                                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
 2259    Ex 10/79   Reed, Nathaniel and Teresa        701 60th Street               Fairfield         AL      35064   [XV], [XVI],            7/5/2011     Yes         1981         Appraisal       Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Collins & Horsley              W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail.
                                                                                                                      [XVII], [XXI],                                             Showing Floor                                                                                                                                             REED NATHANIEL (D) &                                                                                                                                                           Collins Law Firm                                     com
                                                                                                                                                                                                                     0.84              $92.27           $182,786.87                                                                                                           Owner as of 6/9/15              City or County Tax Records        10/3/2011           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XXVIII]                                                   Plan and Square                                                                                                                                           THERESA B COLVIN REED                                                                                                                                                          1461 Shades Crest Road
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                              Hoover, AL 35226
 2260    Ex 10/79   Reed, Randy                       494 Cedar Creek Road          Odenville         AL      35120   [III], [VII], [XV],     10/7/2009    Yes         3374        Property Tax     Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                Assessor's                       0.84              $92.27           $311,318.98                                                                        REED RANDALL & SHERI               Owner as of 6/9/15              City or County Tax Records       12/21/1994           Current Owner                                         900 W. Morgan Street                                                                      $0.00
                                                                                                                      [XXI]                                                      Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2261    Ex 10/79   Reeves, Carrie H.                 4926 Paradise Lake Circle     Birmingham        AL      35244   [II(C)], [III],         10/7/2009    Yes         1680        Property Tax     Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [VII], [XV],                                                  Assessor's                                                                                                                                                                                                                                                                                                                            900 W. Morgan Street
                                                                                                                                                                                                                     0.84              $92.27           $155,013.60                                                                        REEVES, CARRIE H.                  Owner as of 6/9/15              City or County Tax Records        11/1/2006           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XVI], [XVII],                                             Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
                                                                                                                      [XXI]                                                      Square Footage
 2262    RP         Reeves, Michael and Kathryn       2226 Soho Bay Court           Tampa             FL      33606   [II], [VII], [XV],      3/15/2010    Yes         1,470      Builder's Floor   Yes                                                                  Taihe              Photo               17, 18         I                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                    Plan                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.83              $91.18           $134,034.60                                                                        SOHO REAL ESTATE LLC                                               Tax Records + Title/Deed          4/17/2007              2/28/2011                                                                                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2263    Ex 10/79   Reilly, Karen and Paul            198 The Maine                 Williamsburg      VA      23185   [II(C)], [XV],          1/24/2011    Yes         3,775      Property Tax      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                Assessor's                                                                                                                                              REILLY, PAUL DAVID                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.96              $105.46          $398,111.50                                                                                                           Owner as of 6/9/15              City or County Tax Records         4/3/1989           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                 Document with                                                                                                                                             TRUSTEE & KAREN S                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2264    Ex 10/79   Reilly, Reed and Victoria         8648 Athena Court             Lehigh Acres      FL      33971   [III], [IX], [XV],      10/7/2009    Yes         1,445      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.80              $87.88           $126,986.60                                                                        BOWE TAMRA J + STEPHEN P                                           City or County Tax Records        7/17/2006              7/21/2014           Adelman LLP                  2665 South Bayshore Drive Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 2265    Ex 10/79   Reino, Frank                      921 SW 23rd Street            Cape Coral        FL      33990   [XV], [XVI],            7/5/2011     Yes         2,170      Property Tax      Yes                                                                  Taishan            Photo               12             L           FALASCA GIUSTINO +                                                                                                                              Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                       Assessor's                        0.80              $87.88           $190,699.60                                                                        SHARAN +                                                           Tax Records + Title/Deed          8/25/2014              3/6/2015                                         27300 Riverview Center Blvd                                                               $83,194.91
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                             BRAR SHASHI J/T                                                                                                                                                              Bonita Springs, FL 34134
 2266    RP         Renaud, Jodi and Eric             3505 W. Empedrado Street #5   Tampa             FL      33629   [XIII], [XV],           7/5/2011     Yes         2,307      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                Assessor's                        0.83              $91.18           $210,352.26                                                                        MOLLOY ELIZABETH                                                   Tax Records + Title/Deed          8/14/2007              7/20/2012                                        12 SE 7th St #801                                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 2267    Ex 10/79   Renaud, Paris and Baird-          1016 Willard Avenue           Lehigh Acres      FL      33972   [XIII], [XV],           7/5/2011     Yes         2,180      Property Tax      Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                    Renaud, Merle                                                                                     [XVI], [XVII]                                                Assessor's                                                                                                                                              RENAUD PARIS J SR +                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.80              $87.88           $191,578.40                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/10/2004           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                 Document with                                                                                                                                             BAIRD MERLE W T/C                                                                                                                                                            Bonita Springs, FL 34134
                                                                                                                                                                                 Square Footage
 2268    Ex 10/79   Renner, Russell                   188 Regency Circle            Moyock            NC      27958   [II(B)], [XV],          12/6/2010    Yes         2,338      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII],                                               Assessor's                                                                                               Property Assessment                            RENNER, RUSSELL S                                                                                                                               Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.92              $101.06          $236,278.28                                                                                                           Owner as of 6/9/15              City or County Tax Records        11/8/2006           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XXIV]                                                     Document with                                                                                                                                             RENNER, JUDI K                                                                                                                                  Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2269    RP         Renzetti, Nicholas and Adrienne 1690 Renaissance Commons        Boynton Beach     FL      33426   [II], [XV], [XVI],      3/15/2010    Yes         1,119     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    Blvd., Unit 1321                                                  [XVII]                                                          Plan                           0.82              $90.08           $100,799.52                                                                        MADD QUALITY LLC                                                   Tax Records + Title/Deed          4/18/2007              7/21/2012                                        900 W. Morgan Street                                                                      $99,427.30
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2270    Ex 10/79   Requejado, Osvaldo and Norka      3504 SW 147 Place             Miami             FL      33185   [IX], [XV],             5/5/2011     Yes         2,657        Benchmark       Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                 Inspection                                                                                                                                             JULIO DOGER JOSE                   Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81              $88.98           $236,419.86                                                                                                                                           Tax Records + Title/Deed          2/23/2009              2/1/2017                                                                                                                                  $113,637.23
                                                                                                                                                                                   Report Using                                                                                                                                            ARMANDO VIGOA                      Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Zillow.com for                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2271    RP         Resnick, Jonathan S. and Diane    17910 Monte Vista Drive       Boca Raton        FL      33496   [II], [XV], [XVI],      3/15/2010    Yes         5,505       Property Tax     Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                        Assessor's                       0.82              $90.08           $495,890.40                                                                        CHAIT BRUCE                                                        Tax Records + Title/Deed          8/31/2006              6/9/2014                                         255 Alhambra Circle, PH                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
 2272    Ex 10/79   Restrepo, Soccoro                 8932 SW 228th Lane            Miami             FL      33190   [IX], [XV],             5/5/2011     Yes         2,201       Property Tax     Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           FRANTSECO FRANCISCO                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                 Assessor's                       0.81              $88.98           $195,844.98                                                                                                                                           Tax Records + Title/Deed           4/2/2007              1/21/2015           Adelman LLP                  2665 South Bayshore Drive Suite                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           NATHALY SANCHEZ                    Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 2273    RP         Retfalvi, Paul                    1722 Hansen Street            Sarasota          FL      34231   [IX], [XV],             5/5/2011     Yes         3,819        Inspection      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                               Showing Floor                                                                                                                                            GUSTAFSSON JOHANNA                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.83              $91.18           $348,216.42                                                                                                                                           Tax Records + Title/Deed          3/28/2011              1/5/2012                                                                                                                                     $0.00
                                                                                                                                                                                 Plan and Under                                                                                                                                            PINCKNEY CHRISTOPHER               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Air Square                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2274    Ex 10/79   Reveles, Juan                     10798 NW 81st Lane            Doral             FL      33178   [XV], [XVI],            7/5/2011     Yes         1,901        Benchmark       Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                        Inspection                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81              $88.98           $169,150.98                                                                        JUAN REVELES &W MAYELA Owner as of 6/9/15                          City or County Tax Records        8/24/2006           Current Owner                                                                                                                                $106,487.35
                                                                                                                                                                                   Report Using                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Zillow.com for                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2275    Ex 10/79   Rey, Angel                        1332 Riviera Avenue           New Orleans       LA      70122   [II(A)], [VII],         9/16/2010    Yes         2,372         Appraisal      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.        (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XV], [XVI],                                               Showing Floor                       0.86              $94.47           $224,063.95                                                                        REY LESLIE J M                     Owner as of 6/9/15              City or County Tax Records       10/26/2006           Current Owner                                       425 W. Airline Hwy, Suite B                                                                 $0.00
                                                                                                                      [XVII]                                                     Plan and Square                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 2276    Ex 10/79   Reynolds, K. Michael              1011 Dogwood Avenue           Daphne            AL      36526   [XV], [XVI],            7/5/2011     Yes         1782        Property Tax     Yes                                                                  Taihe              Affidavit of Lori   17, 20         I                                                                                                                                                           Daniell, Upton & Perry, P.C. Jonathan Law                          (251) 625-0046   JRL@dupm.com
                                                                                                                      [XVII], [XXI]                                                 Assessor's                       0.84              $92.27           $164,425.14                         Streit                                         REYNOLDS, KENNETH M                Owner as of 6/9/15              City or County Tax Records        9/16/2007           Current Owner                                       30421 State Highway 181                                                                     $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Daphne, Alabama 36527
 2277    Ex 10/79   Riback, Martin- Trustees of the   1690 Renaissance Commons       Boynton Beach    FL      33426   [II], [III]. [XV],      10/7/2009    Yes         2,359      Builder's Floor   Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           RIBACK, MARTIN TRUST;
                    Martin Riback Revocable Trust     Blvd., Unit 1212 and Unit 1410                                  [XVI], [XVII]                                                    Plan                          0.82              $90.08           $212,498.72                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/11/2007           Current Owner                                       900 W. Morgan Street                                                                      $94,293.39
                                                                                                                                                                                                                                                                                                                                           RIBACK, MARTIN TRUSTEE
                    Agreement dated April 4, 1997                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2278    Ex 10/79   Rice, Chaence                     1727 NW 19th Street           Cape Coral        FL      33993   [XV], [XVI],            7/5/2011     Yes         2,087     Builder's Floor    Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVII]                                                          Plan                           0.80              $87.88           $183,405.56                                                                        JACKSON CHAENCE                    Owner as of 6/9/15              City or County Tax Records         9/7/2008           Current Owner                                       12800 University Drive, Suite 600                      m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 2279    Ex 10/79   Richard, Roger and Brenda         2824 Guerra Drive             Violet            LA      70092   [XV], [XVI],            7/5/2011     Yes         1,222      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                 (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                      [XVII]                                                       Assessor's                        0.86              $94.47           $115,442.34                                                                        BUTLER, BRENDA L.                  Owner as of 6/9/15              City or County Tax Records        1/19/2012           Current Owner                                       701 Poydras Street, Suite 3650                                                              $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70166
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 63 of 82



Claimant Source     Claimant Name                    Affected Property Address     City              State   Zip     Omni(s)                Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
 2280    Ex 10/79   Richards, John and Patricia      811 King Leon Way             Sun City Center   FL      33573   [III], [IX], [XV],       10/7/2009    Yes         1,766     Builder's Floor    Yes                                                                  Taishan            Photo              2              J           RICHARDS JOHN H LIFE                                                                                                                            Krupnick Cambell              Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                     [XVI], [XVII]                                                    Plan                                                                                                                                                ESTATE                                                                                                                                                                        12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                          RICHARDS PATRICIA LIFE                                                                                                                                                        Fort Lauderdale, FL 33301-3434
                                                                                                                                                                                                                     0.83              $91.18           $161,023.88                                                                       ESTATE                             Owner as of 6/9/15              City or County Tax Records        8/18/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                          RICHARDS JOHN J TRUSTEE
                                                                                                                                                                                                                                                                                                                                          RICHARDS PATRICIA
                                                                                                                                                                                                                                                                                                                                          TRUSTEE
 2281    RP         Richardson, Jr., Eddie and Mary 2913 E. 31st Avenue            Tampa             FL      33610   [XIII], [XV],            7/5/2011     Yes         1,256      Property Tax      Yes                                                                  Taihe              Photo              14, 18, 21     H, I                                                                                                                                                        Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                                                                                             SERRANO ANTONIO TRUSTEE Previous Owner, Did Not Own                                                                                                                           12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                     0.83              $91.18           $114,522.08                                                                                                                                          Tax Records + Title/Deed          10/5/2007             10/31/2013                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                            SERRANO CANDY TRUSTEE Property on 6/9/15                                                                                                                                      Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
 2282    Ex 10/79   Richardson, Valerie              8596 Athena Court             Lehigh Acres      FL      33971   [II(C)], [III(A)],       9/16/2010    Yes         1,445      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [IX], [XV],                                                   Assessor's                        0.80              $87.88           $126,986.60                                                                       RICHARDSON VALERIE                 Owner as of 6/9/15              City or County Tax Records        6/22/2006           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2283    RP         Richman, Steven and Marsha       1690 Renaissance Commons      Boynton Beach     FL      33426   [II], [XV], [XVI],       3/15/2010    Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                     Blvd., Unit 1422                                                [XVII]                                                           Plan                           0.82              $90.08           $111,699.20                                                                       1422 RENAISSANCE                                                   Tax Records + Title/Deed          4/12/2007              9/12/2011                                        900 W. Morgan Street                                                                  $100,566.98
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2284    Ex 10/79   Ricketts, Joseth                 5339 SW 40 Avenue             Fort Lauderdale   FL      33314   [XV], [XVI],             7/5/2011     Yes         1,874       Benchmark        Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                        Inspection                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81              $88.98           $166,748.52                                                                       RICKETTS,JOSETH C                  Owner as of 6/9/15              Tax Records + Title/Deed          2/19/2010           Current Owner                                                                                                                              $60,689.71
                                                                                                                                                                                  Report Using                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Zillow.com for                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2285    Add.       Ridley, Olivia                   3467 Acton Road               Moody             AL      35004   [XV], [XVI],             7/5/2011     Yes         2,459      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
         Taishan                                                                                                     [XVII]                                                         Assessor's                       0.84              $92.27           $226,891.93                                                                       RIDLEY OLIVIA                      Owner as of 6/9/15              City or County Tax Records         4/5/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                          $0.00
         Prop.                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         650
 2286    RP         Riedl, Anton and Melissa         969 Hollymeade Circle         Newport News      VA      23602   [II], [XIII], [XV],      3/15/2010    Yes         2,227      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice                  K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.95              $104.36          $232,409.72                                            N/A                        JIMENEZ WILLY R                                                    City or County Tax Records        4/23/2007              5/4/2012            Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 2287    Ex 10/79   Riley, Estela                    419 SW 19th Terrace           Cape Coral        FL      33914   [II(C)], [III],          10/7/2009    Yes         1,996      Property Tax      Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                       0.80              $87.88           $175,408.48                                                                       RILEY ESTELA                       Owner as of 6/9/15              Tax Records + Title/Deed         12/19/2003           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2288    Ex 10/79   Rincon, Gabriel and Angela       7726 NW 128th Avenue          Parkland          FL      33076   [IX], [XV],              5/5/2011     Yes         3,272     Builder's Floor    Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                    Plan                                                                               Manufacturer 2                                                   RINCON,GABRIEL                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81              $88.98           $291,142.56                                                                                                          Owner as of 6/9/15              City or County Tax Records       12/30/2003           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                          ROSAS,ANGELA                                                                                                                                    Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 2289    Ex 10/79   Rincon, Gabriel and Rosas, Luz   6038 NW 116 Drive             Coral Springs     FL      33076   [II(B)], [III(A)],       9/16/2010    Yes         2,093      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Angela                                                                                           [VII], [XV],                                                  Assessor's                                                                                                                                             RINCON,GABRIEL &                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81              $88.98           $186,235.14                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/27/2007           Current Owner                                                                                                                                $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                            ROSAS,LUZ ANGELA                                                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2290    Ex 10/79   Rios, Jacqui                     2700-2702 SW 89th Avenue      Miami             FL      33165   [XV], [XVI],             7/5/2011     Yes         3,656      Property Tax      Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Allison Grant, P.A.          Allison Grant, Esq.                  (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                     [XVII]                                                        Assessor's                                                                            Manufacturer 2                                                                                                                                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                     0.81              $88.98           $325,310.88                                                                       JACQUELINE CASTRO                  Owner as of 6/9/15              Tax Records + Title/Deed         10/30/2003           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Boca Raton, Florida 33432
                                                                                                                                                                                 Square Footage
 2291    RP         Risko, Mark and Beverly Ann      5910 Bilek Drive              Pensacola         FL      32526   [III], [VII], [XV],      10/7/2009    Yes         1,200      Property Tax      Yes                                                                  Taihe              Affidavit from     N/A            I                                                                                                                                                           Levin Papantonio              Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.85              $93.37           $112,044.00                         counsel                                       JOHNSON KEOSHA                                                     Tax Records + Title/Deed          10/1/2007              4/13/2010                                         316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Pensacola, FL 32502
 2292    RP         Rismiller, Tod                   3619 Oasis Boulevard          Cape Coral        FL      33915   [II], [II(B)],           3/15/2010    Yes         2,044      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XIII], [XV],                                                 Assessor's                                                                                                                                             ROJAS RAUL + AMAYA                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $179,626.72                                                                                                                                          Tax Records + Title/Deed          11/5/2004             10/31/2012                                                                                                                                 $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                            ELIANNE SOSA J/T                   Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2293    RP         Rivas, Rigoberto and Maria,      3506 Tropicana Parkway West   Cape Coral        FL      33993   [II], [XV], [XVI],       3/15/2010    Yes         2,244     Builder's Floor    Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          DELEON ENRIQUE +                   Previous Owner, Did Not Own
                    Mitjans, Luis and Loynaz, Arturo                                                                 [XVII]                                                           Plan                           0.80              $87.88           $197,202.72                                                                                                                                          Tax Records + Title/Deed          5/19/2005              8/22/2013                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                          ADRIANA                            Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 2294    Ex 10/79   Rivera, Damian and Sonia         3518 20th Street, SW          Lehigh Acres      FL      33976   [II], [XV], [XVI],       3/15/2010    Yes         1,712      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVII]                                                        Assessor's                        0.80              $87.88           $150,450.56                                                                       RIVERA SONIA A & DAMIAN            Owner as of 6/9/15              City or County Tax Records        3/30/2009           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2295    Ex 10/79   Rivera, Jorge and Margarita      306 West Tropicana Parkway    Cape Coral        FL      33993   [XIII], [XV],            7/5/2011     Yes         2,265      Property Tax      Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                                                                                             RIVERA JORGE A +                                                                                                                                                              12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                     0.80              $87.88           $199,048.20                                                                                                          Owner as of 6/9/15              City or County Tax Records       10/14/2004           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                            MARGARITA C                                                                                                                                                                   Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
 2296    Ex 10/79   Rizzo, Frank and Christina       8020 NW 126 Terrace           Parkland          FL      33076   [III], [XV],             10/7/2009    Yes         2,647      Property Tax      Yes                                                                  BNBMDB             Photo              25             A                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                                                           12 SE 7th St #801
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
                                                                                                                                                                                 Square Footage                      0.81              $88.98           $235,530.06                                                                       RIZZO,CHRISTINA & FRANK            Owner as of 6/9/15              City or County Tax Records       12/28/2006           Current Owner                                                                                                                                $0.00



 2297    Ex 10/79   RMM Investments, LLC             1660 Renaissance Commons      Boynton Beach     FL      33426   [II(C)], [III],          10/7/2009    Yes          817      Builder's Floor    Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                     Blvd, Unit 2112                                                 [XV], [XVI],                                                     Plan                           0.82              $90.08            $73,595.36                                                                       IJAC, DAVID                                                        City or County Tax Records        9/26/2007             12/19/2012                                         900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                             Raleigh, NC 27603
 2298    Ex 10/79   RMM Investments, LLC             1690 Renaissance Commons      Boynton Beach     FL      33426   [II], [XV], [XVI],       3/15/2010    Yes         1,119     Builder's Floor    Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                     Blvd., Unit 1103                                                [XVII]                                                           Plan                           0.82              $90.08           $100,799.52                                                                       RMM INVESTMENTS                    Owner as of 6/9/15              Tax Records + Title/Deed          9/26/2007           Current Owner                                        900 W. Morgan Street                                                                  $93,156.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2299    Ex 10/79   Robbins, Michelle                3390 Lago De Talavera         Wellington        FL      33467   [IX], [XV],              5/5/2011     Yes         4,705      Property Tax       No                                                                  BNBMDB             Photo              24             A                                                                                                                                                           McIntosh, Sawran, Peltz &     Manuel Comras, Esq.                 (561) 659-5970   MRC@bclmr.com                                      BKC confirmed square
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.82              $90.08           $423,826.40                                                                       NASH MARCUS                                                        Tax Records + Title/Deed          5/14/2007             10/18/2013           Cartaya, PA                   1601 Forum Place, Suite 400                                                             $0.00           footage.
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          West Palm Beach, FL 33401
 2300    RP         Roberts, Alice and Dickinson,    11825 Bayport Lane            Ft. Myers         FL      33908   [II(A)], [II(C)],        10/7/2009    Yes         2,203      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Colson Hicks Eidson           Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    William                                                                                          [III], [XIII], [XV],                                          Assessor's                                                                                                                                             ROBERTS ALICE TR FOR                                                                                                                                                          255 Alhambra Circle, PH
                                                                                                                                                                                                                     0.80              $87.88           $193,599.64                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          9/15/2006           Current Owner                                                                                                                                $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                            ALICE ROBERTS TRUST                                                                                                                                                           Coral Gables, FL 33134
                                                                                                                                                                                 Square Footage
 2301    RP         Roberts, Candi (fka Darst)       1014 Hollymeade Circle        Newport News      VA      23602   [II], [XV], [XVI],       3/15/2010    Yes         1,897      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                        Assessor's                        0.95              $104.36          $197,970.92                                                                       JEAN STEEVE                                                        City or County Tax Records         6/1/2007              8/2/2013            Serpe                         580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
 2302    Ex 10/79   Roberts, Kenneth and Audrey      3477 Lago De Talavera         Wellington        FL      33467   [II(A)], [IX],           9/16/2010    Yes         4,381      Property Tax       No                                                                  BNBMDB             Photo              25             A                                                                                                                                                           McIntosh, Sawran, Peltz &     Manuel Comras, Esq.                 (561) 659-5970   MRC@bclmr.com                                      BKC confirmed square
                                                                                                                     [XV], [XVI],                                                  Assessor's                                                                                                                                                                                                                                                                                             Cartaya, PA                   1601 Forum Place, Suite 400                                                                             footage.
                                                                                                                                                                                                                                                                                                                                          GONZALEZ CARLOS A &                Owner as of 6/9/15, No Longer
                                                                                                                     [XVII]                                                      Document with                       0.82              $90.08           $394,640.48                                                                                                                                          Tax Records + Title/Deed         11/28/2006              3/21/2016                                         West Palm Beach, FL 33401                                                               $0.00
                                                                                                                                                                                                                                                                                                                                          GONZALEZ CLARA                     Owns Property
                                                                                                                                                                                 Square Footage

 2303    Ex 10/79   Robertson, Laurie, Teague,       2807 21st Street W            Lehigh Acres      FL      33971   [II], [XV], [XVI],       3/15/2010    Yes         1,698       Property Tax     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman/ Morgan &    Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                    Eddie and Michele                                                                                [XVII]                                                         Assessor's                       0.80              $87.88           $149,220.24                                                                       ROBERTSON LAURIE F                 Owner as of 6/9/15              City or County Tax Records       12/16/2011           Current Owner          Morgan                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2304    RP         Robichaux, Ronald Jr.            1416 Emerald Dunes Drive      Sun City Center   FL      33573   [III], [IX] [XV],        10/7/2009    Yes         1,860       Property Tax     Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                   (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.83              $91.18           $169,594.80                                                                       KELLY CHAD                                                         Tax Records + Title/Deed          8/14/2007              12/6/2013                                        12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 2305    Ex 10/79   Robichaux, Ronald Jr.            1422 Emerald Dunes Drive      Sun City Center   FL      33573   [IX], [XV],              5/5/2011     Yes         1,860       Property Tax     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                   (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          NELSON RENESS L                    Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.83              $91.18           $169,594.80                                                                                                                                          Tax Records + Title/Deed          8/14/2007              3/12/2015                                        12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          NELSON LEE B                       Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 2306    Ex 10/79   Robinhood Terrace, LLC           5611 Shannon Drive            Fort Pierce       FL      34951   [VII], [XV],             1/14/2011    Yes         1,700       Property Tax     Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Carey, Danis & Lowe          Andrew Cross, Esq.                   (866) 791-7022   across@careydanis.com
                                                                                                                                                                                                                                                                                                                                          BRITTANY HAWKINS CHRIS L Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.82              $90.08           $153,136.00                                                                                                                                          Tax Records + Title/Deed          3/16/2009              5/15/2015                                        8235 Forsyth Blvd, Suite 1100                                                            $0.00
                                                                                                                                                                                                                                                                                                                                          KING                     Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Saint Louis, Missouri 63105
 2307    RP         Robinson, Harold                 3035 General Taylor           New Orleans       LA      70125   [IX], [XV],              5/5/2011     Yes         1,381        Inspection      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com                               See Preservation
                                                                                                                     [XVI], [XVII]                                                Showing Floor                      0.86              $94.47           $130,463.07                                                                       ROBINSON HAROLD L JR               Owner as of 6/9/15              Tax Records + Title/Deed          6/16/1992           Current Owner                                       701 Poydras Street, Suite 3650                                                           $0.00           Alliance of New
                                                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70166                                                                                    Orleans, Inc. on OCXX
 2308    Ex 10/79   Robinson, James and Stephanie    15 Rebel Lane                 Laurel            MS      39443   [II(B)], [XV],           12/6/2010    Yes         2,280        Appraisal       Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                     [XVI], [XVII],                                              Showing Floor                       0.79              $86.78           $197,858.40                                                                       UNKNOWN                            Records Not Available                                              8/7/2007                                                               900 W. Morgan Street                                                                     $0.00
                                                                                                                     [XXIII]                                                     Plan and Square                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2309    Ex 10/79   Robinson, Jerome and Ellen       2609 Sand Bar Lane            Marrero           LA      70072   [III], [VII], [XV],      10/7/2009    Yes         1,481      Builder's Floor   Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                     Plan                          0.86              $94.47           $139,910.07                                                                       ROBINSON,JEROME K                  Owner as of 6/9/15              Tax Records + Title/Deed           3/7/2007           Current Owner                                       425 W. Airline Hwy, Suite B                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LaPlace, LA 70064
 2310    Ex 10/79   Robinson, Karen A.               4744-46 Deomntluzin Street    New Orleans       LA      70122   [IX], [XV],              5/5/2011     Yes         2,834          Other         Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Lemmon Law Firm              Andrew Lemmon, Esq.                  985-783-6789     andrew@lemmonlawfirm.c
                                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                     PO Box 904 (mailing address)                          om
                                                                                                                                                                                                                     0.86              $94.47           $267,727.98                                                                       ROBINSON KAREN A                   Owner as of 6/9/15              City or County Tax Records       11/30/2012           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Hahnville, LA 70057
 2311    Ex 10/79   Robinson, Louis                  2809 37th St. S.W.            Leigh Acres       FL      33976   [II(A)], [III],          10/7/2009    Yes         2,007      Property Tax       No                                                                  Taishan            Photo              6              J                                                                                                                                                           Matthews & Associates        David P. Matthews, Esq.              (888) 520-5202   dmatthews@thematthewsla                            BKC confirmed square
                                                                                                                     [VII], [XV],                                                  Assessor's                        0.80              $87.88           $176,375.16                                                                       ROBINSON SHAWN                     Owner as of 6/9/15              City or County Tax Records        2/16/2007           Current Owner                                       2905 Sackett Street                                   wfirm.com                          $0.00           footage.
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                                                                                                                                                                                                         Houston, TX 77098
 2312    Ex 10/79   Robinson, Peter                  8580 Athena Court             Lehigh Acres      FL      33971   [IX], [XV],              5/5/2011     Yes         1,182      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.80              $87.88           $103,874.16                                                                       ROBINSON PETER                     Owner as of 6/9/15              City or County Tax Records        5/26/2006           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                          $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         300
 2313    RP         Robinson, Taurean and Jo-Ann     22766 SW 89th Place           Cutler Bay        FL      33190   [IX], [XV],              5/5/2011     Yes         2,201      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.81              $88.98           $195,844.98                                                                       ELIAS R PARRALES                                                   Tax Records + Title/Deed          3/30/2007              11/3/2014                                        701 Poydras Street, Suite 3650                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70166
 2314    Ex 10/79   Robinson, Terry and Wallace      2828 Wallace Lake Road        Pace              FL      32571   [IX], [XV],              5/5/2011     Yes         2,591      Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                     (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                          ROBINSON WALLACE F &
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.85              $93.37           $241,921.67                                                                                                          Owner as of 6/9/15              City or County Tax Records       11/20/2006           Current Owner                                       316 South Baylen St.                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                          TERRY B
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                         Pensacola, FL 32502
 2315    Ex 10/79   Robles, Amparo and Jose          12430 SW 50th Street, Apt. 147 Miramar          FL      33027   [III], [VII], [XV],      10/7/2009    Yes         1,474     Builder's Floor    Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                    Plan                           0.81              $88.98           $131,156.52                                                                       VILLACIS LLC                                                       Tax Records + Title/Deed         11/25/2008              9/20/2013                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Bonita Springs, FL 34134
 2316    Ex 10/79   Rocca, Frank and Kathleen        2735 NW 42nd Avenue           Cape Coral        FL      33993   [II(A)], [XV],           9/16/2010    Yes         2,349     Builder's Floor    Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                    Plan                                                                                                                                                                                                                                                                                                                             12800 University Drive, Suite 600                     m
                                                                                                                                                                                                                     0.80              $87.88           $206,430.12                                                                       ROCCA FRANK J + KATHLEEN Owner as of 6/9/15                        City or County Tax Records         3/4/2005           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Fort Myers, FL 33907
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 64 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                  Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                    Sharefile
 2317    Ex 10/79   Rodgers, Albert and Aquilla     4783 SW 176 Terrace            Miramar           FL      33029   [II(B)], [XV],            12/6/2010    Yes         3,261     Builder's Floor    Yes                                                                  C&K                Photo             34             B                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                               Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81                $88.98          $290,163.78                                                                      RODGERS,ALBERT H                   Owner as of 6/9/15              Tax Records + Title/Deed          6/27/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2318    Ex 10/79 & Rodriguez, Iyanse               1483 Southwest 146 Court       Miami             FL      33184   [III(A)], [XV],           9/16/2010    Yes         2,868        Appraisal       Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
         Omni XX                                                                                                     [XVI], [XVII],                                               Showing Floor                       0.81              $88.98           $255,194.64                                                                      IYANSE RODRIGUEZ                   Owner as of 6/9/15              Tax Records + Title/Deed           1/3/2007           Current Owner                                         900 W. Morgan Street                                                                 $35,907.31
                                                                                                                     [XX]                                                         Plan and Square                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2319    Ex 10/79   Rodriguez, Otonier and          14141 Whitter Lane             Port Charlotte    FL      33981   [IX], [XV],               5/5/2011     Yes         2,239       Property Tax     Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          RODRIGUEZ OTONIER & MI
                    Margarita                                                                                        [XVI], [XVII]                                                   Assessor's                       0.80              $87.88           $196,763.32                                                                                                         Owner as of 6/9/15              City or County Tax Records        8/16/2007           Current Owner                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                          CENTENO
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 2320    RP         Rodriguez, Victor and Jill      304 Lancelot Avenue            Lehigh Acres      FL      33974   [II(B)], [XV],            12/6/2010    Yes         1,800       Property Tax     Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                   Assessor's                       0.80              $87.88           $158,184.00                                                                      RHA 2-SW FL LLC                                                    Tax Records + Title/Deed          7/17/2009              2/14/2014                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2321    Ex 10/79   Rodriguez, Wilfredo and         18069 S.W. 54th Street         Miramar           FL      33029   [IX], [XV],               5/5/2011     Yes         3,654      Builder's Floor   Yes                                                                  C&K                Photo             34             B                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                          RODRIGUEZ,WILFREDO J H/E
                    Angeline Rodriguez, Barbara                                                                      [XVI], [XVII]                                                      Plan                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $325,132.92                                                                      RODRIGUEZ,ANGELINE H/E & Owner as of 6/9/15                        City or County Tax Records        9/24/2010           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                          ET AL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2322    Ex 10/79   Rogers, Billy W. on behalf of   3236 Van Cleave                Meraux            LA      70075   [II(B)], [XV],            12/6/2010    No          1,436      Property Tax       No                                                                  Crescent City      Photo             27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com                            BKC confirmed sq ft
                    Rogers Company                                                                                   [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Torres, III                    8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                                                                                                                                          MACKEY, HERMAN RICHARD, Previous Owner, Did Not Own
                                                                                                                                                                                  Document with                       0.86              $94.47           $135,658.92                                                                                                                                         City or County Tax Records         8/9/2006              7/22/2011                                          303                                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                          JR.                     Property on 6/9/15
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043

 2323    Ex 10/79   Rogers, Billy W. on behalf of   4501 Colony Drive Meraux, LA Meraux              LA      70075   [II(B)], [XV],            12/6/2010    No          1,550      Property Tax       No                                                                  Crescent City      Photo             27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com                            BKC confirmed sq ft
                    Rogers Company                  70075                                                            [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Torres, III                    8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                                                                                  Document with                       0.86              $94.47           $146,428.50                                                                      DUBOSE, ANGEL                                                      City or County Tax Records       12/19/2011              8/7/2012                                           303                                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043

 2324    Ex 10/79   Rogers, Billy W. on behalf of   4505 Colony Drive Meraux, LA Meraux              LA      70075   [II(B)], [XV],            12/6/2010    No          1,450      Property Tax       No                                                                  Crescent City      Photo             27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com                            BKC confirmed sq ft
                    Rogers Company                  70075                                                            [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Torres, III                    8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                                                                                  Document with                       0.86              $94.47           $136,981.50                                                                      WESBY, GLENN                                                       City or County Tax Records         8/9/2006              8/7/2012                                           303                                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043

 2325    Ex 10/79   Rogers, Glenn                   1101 Highland Way              Kimberly          AL      35091   [XIII], [XV],             7/5/2011     Yes         2039       Property Tax      Yes                                                                  Venture Supply     Photo             39             K                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.84              $92.27           $188,138.53                                                                      RBS LLC                                                            City or County Tax Records         9/1/2006              2/27/2015                                          2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          650
 2326    Ex 10/79   Rogers, Margaret                9527 26th Bay Street           Norfolk           VA      23518   [IX], [XV],               5/5/2011     Yes         1,874      Property Tax      Yes                                                                  Venture Supply     Photo             38, 39         K                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $193,509.24                                                                      ROGERS, MARGARET W                 Owner as of 6/9/15              City or County Tax Records        5/29/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2327    Ex 10/79   Rogers, Michelle L.             8313 Creole Drive              Chalmette         LA      70043   [III], [VII], [IX],       10/7/2009    Yes         1,361         Other          Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                     [XV], [XVI],                                                                                                                                                                                                                                            Previous Owner, Did Not Own                                                                                                                 820 O'Keefe Avenue
                                                                                                                                                                                                                      0.86              $94.47           $128,573.67                                                                      SANTANA, VALERIE                                                   City or County Tax Records        10/2/2007              2/23/2012                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                                                                                                                                                                                                                  Property on 6/9/15                                                                                                                          New Orleans, LA 70113

 2328    Ex 10/79   Roland, Linda                   4308 Jeanne Marie Place        New Orleans       LA      70122   [III], [XV],              10/7/2009    Yes         1,444      Property Tax      Yes                                                                  Taihe              Photo             17, 18         I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.86              $94.47           $136,414.68                                                                      ROLAND LINDA T                     Owner as of 6/9/15              City or County Tax Records        10/7/2003           Current Owner                                         425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
 2329    Ex 10/79   Romain, Doug                    10846 SW Meeting Street        Port St. Lucie    FL      34987   [II], [IX], [XV],         3/15/2010    Yes         2,027     Builder's Floor    Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          DOUGLAS M ROMAIN
                                                                                                                     [XVI], [XVII]                                                     Plan                           0.82              $90.08           $182,592.16                                                                                                         Owner as of 6/9/15              City or County Tax Records        3/19/2007           Current Owner                                         12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                          PAMELA M ROMAIN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 2330    Ex 10/79   Romain, Eric J. and Tracy H.    2350 Lyndel Drive Chalmette,   Chalmette         LA      70043   [III], [VII], [XIII],     10/7/2009    Yes         3,658        Appraisal       Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                    Apts. A-D                                                        [XV], [XVI],                                                 Showing Floor                       0.86              $94.47           $345,571.26                                                                      ROMAIN, TRACY HULL                 Owner as of 6/9/15              Title/Deed                        1/18/2008           Current Owner                                         820 O'Keefe Avenue                                                                     $0.00
                                                                                                                     [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113
 2331    Ex 10/79   Romero, M.D. Jacqueline and     3645 7th Avenue, NW            Naples            FL      34120   [XV], [XVI],              7/5/2011     Yes         7,666          Other         Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          ROMERO, JACQUELINE &
                    Jose                                                                                             [XVII]                                                                                           0.80              $87.88           $673,688.08                                                                                                         Owner as of 6/9/15              City or County Tax Records         6/8/2004           Current Owner                                         12800 University Drive, Suite 600                    m                              $358,143.07
                                                                                                                                                                                                                                                                                                                                          JOSE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2332    Ex 10/79 & Sheridan Beach Club             519 E. Sheridan Street #105    Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor    Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
         Omni XX Condominium Number Three,                                                                           [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                               Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                             Owner as of 6/9/15, No Longer
                    Inc. (Romero, Roberto M.)                                                                                                                                                                         0.81              $88.98           $102,327.00                                                                      ROMERO,MANUEL E                                                    Tax Records + Title/Deed          3/15/2007              3/23/2017           Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                             Owns Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219

 2333    Ex 10/79   Rondeno, Charlotte              7543 Lady Gray Street          New Orleans       LA      70127   [IX], [XV],               5/5/2011     Yes         2,481        Appraisal       Yes                                                                  Taihe              Photo             14, 16, 18     H, I                                                                                                                                                        Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                     [XVI], [XVII]                                                Showing Floor                       0.86              $94.47           $234,380.07                                                                      RONDENO CHARLOTTE A                Owner as of 6/9/15              City or County Tax Records         3/4/2005           Current Owner                                         701 Poydras Street, Suite 3650                                                         $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70166
 2334    Add.       Rondeno, Colleen                3110 Law Street, New Orleans, New Orleans        LA      70117   [II], [II(C)], [VII],     3/15/2010    Yes         1,395       Property Tax     Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
         Taishan                                    LA 70117                                                         [XV], [XVI],                                                    Assessor's                                                                                                                                                                              Current Owner, Unknown                                                                                       Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                      0.86              $94.47           $131,785.65                                                                      TAYLOR ALBERT                                                      City or County Tax Records                            Current Owner                                                                                                                                $0.00
         Prop.                                                                                                       [XVII]                                                       Document with                                                                                                                                                                              Purchase Date                                                                                                                               3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2335    Ex 10/79   Rosada, Lurdenis and Angel      11151 Laurel Walk Road         Wellington        FL      33449   [IX], [XV],               5/5/2011     Yes         2,775      Builder's Floor   Yes                                                                  Chinese            Photo             37             C                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Rosada                                                                                           [XVI], [XVII]                                                      Plan                                                                              Manufacturer 2                                                  ROSADO ANGEL L & ROSADO                                                                                                                         Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                      0.82              $90.08           $249,972.00                                                                                              Owner as of 6/9/15                         Tax Records + Title/Deed         12/18/2001           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                          LURDENIS H                                                                                                                                      Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2336    Ex 10/79   Rose, Mary and Donnelly,        11837 Bayport Lane Unit #4     Ft. Myers         FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         2,163     Builder's Floor    Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                    James                                                                                            [XV], [XVI],                                                      Plan                           0.80              $87.88           $190,084.44                                                                      PELES GREGORY + BARBARA                                            City or County Tax Records        6/22/2007             12/27/2012                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Bonita Springs, FL 34134
 2337    Ex 10/79   Rose, Michael                   185 Medici Terrace             North Venice      FL      34275   [III], [IX], [XV],        10/7/2009    Yes         2,562      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          ROSE MICHAEL P ROSE
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $233,603.16                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          3/29/2007           Current Owner                                         12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                          JANICE C
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 2338    RP         Rosen, Kevin                    17830 Monte Vista Drive        Boca Raton        FL      33496   [II], [IX], [XIII],       3/15/2010    Yes         4,604         Other          Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                          BUCKSTEIN MICHAEL &                Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                                                     0.82              $90.08           $414,728.32                                                                                                                                         Tax Records + Title/Deed           8/7/2006             12/23/2009                                          255 Alhambra Circle, PH                                                                $0.00
                                                                                                                                                                                                                                                                                                                                          BUCKSTEIN VALERIE Z                Property on 6/9/15
                                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Coral Gables, FL 33134
 2339    RP         Rosen, Michael                  17538 Middlebrook Way          Boca Raton        FL      33496   [XV], [XVI],              7/5/2011     Yes         5,935      Property Tax      Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                          KIM ANNA &                         Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                        0.82              $90.08           $534,624.80                                                                                                                                         Tax Records + Title/Deed          11/6/2006              12/4/2009                                          255 Alhambra Circle, PH                                                                $0.00
                                                                                                                                                                                                                                                                                                                                          KIM PHILLIP                        Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
 2340    Ex 10/79   Rosen, Sheree                   11618 Hammocks Glade Drive     Riverview         FL      33569   [XV], [XVI],              7/5/2011     Yes         1,446      Property Tax      Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                         Assessor's                        0.83              $91.18           $131,846.28                                                                      KIRCHNER JACQUELYNN                                                Tax Records + Title/Deed          9/19/2006              3/13/2012                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2341    RP         Roskowski, Thomas and Jill      101 Patricks Court             Carrollton        VA      23314   [II(B)], XV],             12/6/2010    Yes         3,343      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com                              *VA settlement
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                               Property Assessment                                                             Previous Owner, Did Not Own                                                                                  Serpe                          580 East Main Street, Suite 310                                                                        payment to Fannie Mae
                                                                                                                                                                                  Document with                       0.94              $103.26          $345,198.18                                                                      VAUGHN JASON & ANJA                                                City or County Tax Records        1/11/2008              2/21/2012                                          Norfolk, VA 23510                                                                      $0.00           c/o David R. Box
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Square Footage
 2342    RP         Ross, Robert and Natalie        1418 Emerald Dunes Drive       Sun City Center   FL      33573   [III], [IX], [XV],        10/7/2009    Yes         2,482      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $226,308.76                                                                      HARRISON DEBORAH                                                   Tax Records + Title/Deed          4/22/2008              7/30/2014                                        12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
 2343    Ex 10/79   Roth, Stephen and Leslie        6050 Jonathan’s Bay Circle Unit Ft. Myers        FL      33908   [II(C)], [III],           10/7/2009    Yes         2,024      Property Tax      Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                    402                                                              [VII], [XV],                                                   Assessor's                        0.80              $87.88           $177,869.12                                                                      LIJANA THOMAS J + MARIA C                                          City or County Tax Records        9/25/2006              4/9/2013                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 2344    RP         Rousseau, Gisselle              1976 SE 23 Avenue              Homestead         FL      33035   [XV], [XVI],              7/5/2011     Yes         1,938      Property Tax      Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                               Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $172,443.24                                                                      HECTOR RUIZ                                                        City or County Tax Records         5/2/2007                                                                                                                                                        $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 2345    Ex 10/79 & Rousseau, Ronnie                106 Covington Meadows Circle, Covington          LA      70433   [XV], [XVI],              7/5/2011     Yes          898          Other          Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.                (985) 292-2300   jean@paullea.com
         Omni XX                                    Unit A                                                           [XVII], [XX]                                                                                     0.79              $86.78            $77,928.44                                                                      RONNIE ROUSSEAU                    Owner as of 6/9/15              Tax Records + Title/Deed         12/31/2008           Current Owner                                       724 East Boston Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Covington, LA 70433
 2346    RP         Rovezzi, James and Narcissa     1660 Renaissance Commons       Boynton Beach     FL      33426   [XV], [XVI],              7/5/2011     Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                    Blvd, Unit 2418                                                  [XVII]                                                            Plan                           0.82              $90.08           $111,699.20                                                                      CHRIST CHRISTINA                                                   Tax Records + Title/Deed          2/22/2007              3/8/2012                                         900 W. Morgan Street                                                                  $100,791.62
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2347    Ex 10/79   Rowser, Eugene                  1801 A Street                  Demopolis         AL      36732   [XV], [XVI],              7/5/2011     Yes         1344       Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII], [XXI]                                                  Assessor's                                                                                                                                                                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                                      0.83              $91.18           $122,545.92                                                                      ROWSER, EUGENE                     Owner as of 6/9/15              Other                                                 Current Owner                                                                                                                                $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 2348    Ex 10/79   Roy, Brien ("Clifford")         8007 West 36 Avenue, Apt. 4    Hialeah           FL      33018   [III(A)], [VII],          9/16/2010    Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                     [XIII], [XV],                                                  Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98           $120,656.88                                                                      ANA MARIA WEVITI                                                   City or County Tax Records         2/9/2007              7/14/2014                                                                                                                                 $0.00
                                                                                                                     [XVI], [XVII]                                                Document with                                                                                                                                                                              Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
 2349    Ex 10/79   Roy, Gerard and Nancy           2832 SW 36th Terrace           Cape Coral        FL      33914   [XIII], [XV],             7/5/2011     Yes         2,516      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $221,106.08                                                                      ROY GERARD + NANCY                 Owner as of 6/9/15              City or County Tax Records        7/11/2005           Current Owner                                       27300 Riverview Center Blvd                                                            $92,106.23
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 2350    Ex 10/79   Roy, Sandy                      10580 SE Stephanie Way Unit    Port St. Lucie    FL      34987   [II], [II(B)], [VII],     3/15/2010    Yes         1,209      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                    203                                                              [XV], [XVI],                                                   Assessor's                                                                                                                                            URSULA MALDONADO                   Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.82              $90.08           $108,906.72                                                                                                                                         City or County Tax Records        9/26/2006              6/12/2014                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                           OSCAR S MALDONADO                  Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 2351    Ex 10/79   Sheridan Beach Club             519 E. Sheridan Street #107    Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor    Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                        [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                               Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $102,327.00                                                                      ROYAK,PAULA & JULES D              Owner as of 6/9/15              City or County Tax Records         3/8/2007           Current Owner                                                                                                                                $0.00
                    Inc. (Royak, Paula and Jules)                                                                                                                                                                                                                                                                                                                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 2352    RP         RSJ Hospitalet Investments, LLC 8049 W. 36th Avenue #6         Hialeah           FL      33018   [XIII], [XV],             7/5/2011     Yes         1,356      Property Tax      Yes                                                                  Taishan            Photo             8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                            DAVID COVOS                        Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                      0.81              $88.98           $120,656.88                                                                                                                                         City or County Tax Records       12/27/2006             10/15/2013                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                           MARIELA COVOS                      Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 65 of 82



Claimant Source     Claimant Name                    Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square       Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                   Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided      Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                   Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                      Sharefile
 2353    Ex 10/79   Rubin, Mitchell                  9800 Cobblestone Lakes Court   Boynton Beach     FL      33472   [II], [XIII], [XV],       3/15/2010    Yes         3,772      Property Tax      Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.82                $90.08          $339,781.76                                                                       RUBIN MITCHELL D                   Owner as of 6/9/15              City or County Tax Records       10/26/2006           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2354    Ex 10/79   Ruff, Jeremy and Lina            1601 W. 15th Street            Lehigh Acres      FL      33972   [XIII], [XV],             7/5/2011     Yes         2,068        Appraisal       Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                                                                             RUFF JEREMY CHARLES +                                                                                                                           Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                       0.80                $87.88          $181,735.84                                                                                                          Owner as of 6/9/15              City or County Tax Records         4/8/2008           Current Owner                                                                                                                                 $64,503.65
                                                                                                                                                                                   Plan and Square                                                                                                                                           LINA A                                                                                                                                          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2355    Ex 10/79   Ruhnke, Edward and Mary          3013 S. Sandfiddler            Virginia Beach    VA      23456   [XV], [XVI],              7/5/2011     Yes         2,464      Property Tax      Yes                                                                   Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                          Assessor's                                                                                                                                             EDWARD RUHNKE JR RT ET             Current Owner, Unknown                                                                                       Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94               $103.26          $254,432.64                                                                                                                                          City or County Tax Records                            Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                             AL                                 Purchase Date                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2356    Ex 10/79   Ruiz, Elia                       1952 Sugar Mill Road           St. Bernard       LA      70085   [III(A)], [XV],           9/16/2010    Yes         1,122         Other           Yes                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.        (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                          LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                        0.86              $94.47           $105,995.34                                                                       LOPEZ, ELIA RUIZ                   Owner as of 6/9/15              City or County Tax Records       11/17/2000           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
 2357    Ex 10/79   Rushing, Shirley                 4727 Eunice Drive              New Orleans       LA      70127   [III], [VII], [XV],       10/7/2009    Yes         1,449       Property Tax      Yes                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.        (985) 536-1186   schristina@becnellaw.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                        0.86              $94.47           $136,887.03                                                                       TOEFIELD SHIRLEY A                 Owner as of 6/9/15              City or County Tax Records        1/30/1996           Current Owner                                       425 W. Airline Hwy, Suite B                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
 2358    RP         Russo, Charles and Josephine     2246 Sifield Greens Way        Sun City Center   FL      33573   [II], [IX], [XV],         3/15/2010    Yes         2,214       Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                   Assessor's                        0.83              $91.18           $201,872.52                                                                       FOSSE OLE M FOSSE JO ANN                                           Tax Records + Title/Deed          1/19/2007              4/28/2014                                        12 SE 7th St #801                                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 2359    Ex 10/79   Russo, John                      7416 Read Blvd.                New Orleans       LA      70126   [III(A)], [VII],          9/16/2010    Yes         2,024        Inspection       Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                    (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                      [XV], [XVI],                                                  Showing Floor                                                                                                                                                                                                                                                                                                                         855 Baronne Street                                     m
                                                                                                                                                                                                                        0.86              $94.47           $191,207.28                                                                       RUSSO JOHN J                       Owner as of 6/9/15              City or County Tax Records        7/28/2004           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XVII]                                                       Plan and Under                                                                                                                                                                                                                                                                                                                         New Orleans, 70113
                                                                                                                                                                                      Air Square
 2360    RP         Rutski, Timothy and Minnie       8807 Osceola Acres Trail       Odessa            FL      33556   [VII], [XV],              1/14/2011    Yes         4,128       Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                             JANOSIK JEREMY J &                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                        0.83              $91.18           $376,391.04                                                                                                                                          Tax Records + Title/Deed          7/30/2004              7/30/2013                                                                                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                             JANOSIK SUSAN JANE                 Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2361    Ex 10/79   Ruzic, Kitty                     7348 J.V. Cummings Drive       Fairhope          AL      36532   [IX], [XV],               5/5/2011     No          3345        Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                     (205) 533-9500   jimmy@doylefirm.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                        0.84              $92.27           $308,643.15                                                                       RUZIC, KITTY F                     Owner as of 6/9/15              City or County Tax Records        7/31/1998           Current Owner                                       2100 Southbridge Parkway, Suite                                                             $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          650
 2362    Ex 10/79   Ryan, Patrick and Jennifer       13019 Lighthouse Lane          Carrollton        VA      23314   [II(A)], [XV],            9/16/2010    Yes         2,980        Appraisal        Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                               Property Assessment                           RYAN PATRICK J & JENNIFER                                                                                                                       Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.94              $103.26          $307,714.80                                                                                                 Owner as of 6/9/15                       City or County Tax Records        5/30/2006           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                           R                                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                               Richard J. Serpe             Coral Gables, FL 33134
 2363    Ex 10/79   Ryan, William and Shanna         66 Scotland Road               Hampton           VA      23663   [II(C)], [XV],            1/24/2011    Yes         2,038       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                                                                                                                                             RYAN WILLIAM M & SHANNA                                                                                                                         Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.95              $104.36          $212,685.68                                                                                               Owner as of 6/9/15                         City or County Tax Records         2/1/2008           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                             J                                                                                                                                               Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2364    Ex 10/79   Ryckman, Rickey                  4820 Janice Avenue             Kenner            LA      70065   [III], [VII], [XV],       10/7/2009    Yes         2,870      Builder's Floor    Yes                                                                  Taihe              Photo              15             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                      Plan                           0.86              $94.47           $271,128.90                                                                       RICKEY RYCKMAN                     Owner as of 6/9/15              Tax Records + Title/Deed            1998              Current Owner                                       820 O'Keefe Avenue                                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
 2365    Ex 10/79 & Rydberg, Don                     467 Magnolia Circle            Warrior           AL      35180   [XV], [XVI],              7/5/2011     Yes         5320       Property Tax       Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Collins & Horsley            W. Brian Collins, Esquire             (205) 529-4988   thecollinslawoffices@gmail.
         Omni XX                                                                                                      [XVII], [XX],                                                  Assessor's                                                                                                                                                                                                                                                                                                                           Collins Law Firm                                       com
                                                                                                                                                                                                                        0.84              $92.27           $490,876.40                                                                       RYDBERG, KATHLEEN                  Owner as of 6/9/15              City or County Tax Records        12/1/2003           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XXI], [XXVIII]                                              Document with                                                                                                                                                                                                                                                                                                                          1461 Shades Crest Road
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Hoover, AL 35226
 2366    Ex 10/79   Ryffel, Eric                     2700 Rita Avenue North         Lehigh Acres      FL      33971   [XIII], [XV],             7/5/2011     Yes         1,531      Property Tax       Yes                                                                  ProWall            Photo              44             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.80              $87.88           $134,544.28                                                                       RYFFEL ERIC                        Owner as of 6/9/15              City or County Tax Records        4/18/2008           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2367    Ex 10/79   Sabatino, Dominic and Hiskey,    1660 Renaissance Commons       Boynton Beach     FL      33426   [XV], [XVI],              7/5/2011     Yes         1,240     Builder's Floor     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                    Richard                          Blvd, Unit 2518                                                  [XVII]                                                            Plan                            0.82              $90.08           $111,699.20                                                                       SABATINO, DOMINIC JR               Owner as of 6/9/15              Tax Records + Title/Deed          2/23/2007           Current Owner                                       900 W. Morgan Street                                                                      $91,107.94
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 2368    Ex 10/79   Sabesan, Lawrence                6308 41st Court                Sarasota          FL      34243   [XV], [XVI],              7/5/2011     Yes         2,101        Benchmark        Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                          Inspection                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.83              $91.18           $191,569.18                                                                       SABESAN LAWRENCE K                 Owner as of 6/9/15              City or County Tax Records         2/1/2007           Current Owner                                                                                                                                $107,988.64
                                                                                                                                                                                    Report Using                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                   Zillow.com for                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2369    Ex 10/79   Saeks, Sieglinde                 2810 NW 14th Terrace           Cape Coral        FL      33993   [IX], [XV],               5/5/2011     Yes         1,991       Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                      [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $174,969.08                                                                       SAEKS SIEGLINDE                    Owner as of 6/9/15              City or County Tax Records         5/1/2003           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                             $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          300
 2370    Ex 10/79   Sage, Richard and Barbara        1705 NW 14th Avenue            Cape Coral        FL      33993   [XIII], [XV],             7/5/2011     Yes         2,419         Appraisal       Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                                                                                                                                             SAGE RICHARD N +                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.80              $87.88           $212,581.72                                                                                                          Owner as of 6/9/15              City or County Tax Records         3/3/1995           Current Owner                                                                                                                                $110,312.57
                                                                                                                                                                                   Plan and Square                                                                                                                                           MOSS BARBARA J/T                                                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                       Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2371    Ex 10/79   Sakalauskas, Alberto and Laura   3142 SW Martin Street          Port St. Lucie    FL      34988   [II(C)], [III], [IX],     10/7/2009    Yes         2,451       Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             ALBERTO SAKALAUSKAS
                                                                                                                      [XV], [XVI],                                                    Assessor's                        0.82              $90.08           $220,786.08                                                                                                          Owner as of 6/9/15              City or County Tax Records       12/29/2008           Current Owner                                       27300 Riverview Center Blvd                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                             LAURA SAKALAUSKAS
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2372    Ex 10/79   Saklad, Bernard                  15550 Florenza Circle          Delray Beach      FL      33446   [XV], [XVI],              7/5/2011     Yes         1,883       Property Tax      Yes                                                                  Chinese            Photo              37             C           SAKLAD BERNARD                                                                                                                                  Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVII]                                                          Assessor's                                                                            Manufacturer 2                                                   BERNARD SAKLAD TR TITL                                                                                                                          Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.82              $90.08           $169,620.64                                                                                                          Owner as of 6/9/15              City or County Tax Records       11/28/2001           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                   Document with                                                                                                                                             HLDR                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                            SAKLAD BERNARD TR                                                                                                                                                            Dallas, TX 75219
 2373    Ex 10/79   Sakony, Karen and Vincent        4063 Dunbarton Circle          Williamsburg      VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         2,475      Builder's Floor    Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                      [XVII]                                                             Plan                                                                                                                                                SAKONY, VINCENT C &                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.96              $105.46          $261,013.50                                                                                                          Owner as of 6/9/15              City or County Tax Records        7/28/2006           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                             KAREN M                                                                                                                                         Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
 2374    RP         Sakowski, Mark                   120 Chanticleer Court          Williamsburg      VA      23185   [II], [XV], [XVI],        3/15/2010    Yes         2,118      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.                (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                             BOCA LAND INVESTORS II
                                                                                                                      [XVII]                                                         Assessor's                         0.96              $105.46          $223,364.28                         Property Assessment                                                              Records Not Available           City or County Tax Records        10/3/2007             12/21/2010           Serpe                        580 East Main Street, Suite 310                                                             $0.00
                                                                                                                                                                                                                                                                                                                                             LLC
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
 2375    Ex 10/79   Salas, Esteban and Gomez, Iveth 8129 W. 36th Avenue #1          Hialeah           FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,361      Property Tax       Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                   Assessor's                                                                                                                                                                                                                                                                                              Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.81              $88.98           $121,101.78                                                                       ESTEBAN JOSE SALAS                 Owner as of 6/9/15              City or County Tax Records        1/11/2008           Current Owner                                                                                                                                   $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                             Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2376    Ex 10/79   Saldibar, Erin and Gasper        612 Markham Drive              Slidell           LA      70458   [XV], [XVI],              7/5/2011     Yes         1,874         Other           Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Thornhill Law Firm, Fayard & Tom Thornhill, Esq.                   800-989-2707     tom@thornhilllawfirm.com
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                 Honeycutt APLC and N. Frank Thornhill Law Firm
                                                                                                                                                                                                                        0.79              $86.78           $162,625.72                                                                       SALDIBAR, GASPER ETUX              Owner as of 6/9/15              Tax Records + Title/Deed          2/15/2007           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Elliot III, LLC              1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Slidell, LA 70458
 2377    RP         Saliba, Dawn                     6102 Raintree Trail            Fort Pierce       FL      34950   [II], [II(C)],            3/15/2010    Yes         1,435     Builder's Floor     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                             JAMES M CLARK JR                   Previous Owner, Did Not Own
                                                                                                                      [XIII], [XV],                                                     Plan                            0.82              $90.08           $129,264.80                                                                                                                                          City or County Tax Records        6/15/2006              9/25/2013                                        255 Alhambra Circle, PH                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                              DEBORAH J CLARK                   Property on 6/9/15
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                       Coral Gables, FL 33134
 2378    Ex 10/79   Salman, Samir and Julia          3620 SW 3rd Terrace            Cape Coral        FL      33991   [II], [VII], [IX],        3/15/2010    Yes         2,134      Property Tax       Yes                                                                  Taishan            Photo              2, 7           J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XV], [XVI],                                                   Assessor's                         0.80              $87.88           $187,535.92                                                                       SALMAN SAMIR + JULIA               Owner as of 6/9/15              City or County Tax Records        4/16/2003           Current Owner                                       12800 University Drive, Suite 600                      m                                    $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2379    Ex 10/79   Salter, Kenneth and Cindy        5484 Inwood Drive              Pace              FL      32571   [III], [VII], [XV],       10/7/2009    Yes         2,699     Builder's Floor     Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                      (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                     Plan                            0.85              $93.37           $252,005.63                                                                       SALTER KENNETH                     Owner as of 6/9/15              Title/Deed                         1/4/2006           Current Owner                                       316 South Baylen St.                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Pensacola, FL 32502
 2380    Ex 10/79   Saltzman, Scott and Jordana      8485 Breezy Hill Drive         Boynton Beach     FL      33437   [II], [VII], [XIII],      3/15/2010    Yes         2,941      Property Tax       Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XV], [XVI],                                                   Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                               27300 Riverview Center Blvd
                                                                                                                                                                                                                        0.82              $90.08           $264,925.28                                                                       JACKNOWITZ SETH                                                    Tax Records + Title/Deed          5/25/2007              7/15/2011                                                                                                                                    $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        Bonita Springs, FL 34134
                                                                                                                                                                                   Square Footage
 2381    Ex 10/79   Salzer, Doug and Lisa            614 Carmenere Drive            Kenner            LA      70065   [II], [XV], [XVI],        3/15/2010    Yes         3,313         Other           Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                      [XVII]                                                                                            0.86              $94.47           $312,979.11                                                                       DOUGLA SAND LISA SALZER            Owner as of 6/9/15              Tax Records + Title/Deed          12/4/1998           Current Owner                                         701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70166
 2382    Ex 10/79   Samos Holdings, LLC              27021 Eden Road Ct.            Bonita Springs    FL      34135   [II(C)], [XV],            1/24/2011    Yes         2,722       Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $239,209.36                                                                       SAMOS HOLDINS LLC                  Owner as of 6/9/15              City or County Tax Records        6/13/2008           Current Owner                                         12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2383    Ex 10/79   Samples, Deneen                  2711 Bristol Place             New Orleans       LA      70131   [III], [VII], [XV],       10/7/2009    Yes         2,302        Appraisal        Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Martzell & Bickford            Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                        0.86              $94.47           $217,469.94                                                                       SAMPLES DENEEN C                   Owner as of 6/9/15              City or County Tax Records         8/3/2007           Current Owner                                         338 Lafayette Street                                                                      $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70130
 2384    RP         Sanchez, Julio and Nelaine       8037 W. 36th Avenue Unit 1     Hialeah           FL      33018   [II(B)], [VII],           12/6/2010    Yes         1,361       Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                             JORGE LUIS CALVO TRS
                                                                                                                      [XV], [XVI],                                                    Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                        0.81              $88.98           $121,101.78                                                                       JORGE LUIS CALVO REVOC                                             City or County Tax Records         2/1/2007              1/24/2014                                                                                                                                    $0.00
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                             LIVING TR
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2385    Ex 10/79   Sanchez, Julius                  2004 Walkers Lane              Meraux            LA      70075   [XV], [XVI],              7/5/2011     Yes         1,399      Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Law Offices of Sidney D.       Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                      [XVII]                                                             Plan                           0.86              $94.47           $132,163.53                                                                       SANCHEZ, JULIUS C.                 Owner as of 6/9/15              City or County Tax Records        12/3/1999           Current Owner          Torres, III                    8301 W. Judge Perez Drive, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            303
 2386    RP         Sanden, Paul Conrad              824 Boca Ciega Isle Drive      St. Petersburg    FL      33706   [II(B)], [III],           10/7/2009    Yes         1,930      Property Tax       Yes                                                                  Taihe              Photo              14, 18         H, I                                                                                                                                                        Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [VII], [XV],                                                   Assessor's                                                                                                                                              MC LEAN, TIMOTHY MC                Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                        0.82              $90.08           $173,854.40                                                                                                                                          Tax Records + Title/Deed          11/3/2006              1/19/2011                                                                                                                                    $0.00
                                                                                                                      [XVI], [XVII]                                                Document with                                                                                                                                             LEAN, DEBRA                        Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2387    RP         Sanders, Christian and Weidner, 1917 Maxey Manor Court          Virginia Beach    VA      23454   [XV], [XVI],              7/5/2011     Yes         1,842      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                    Julie                                                                                             [XVII]                                                         Assessor's                         0.94              $103.26          $190,204.92                                                                       HVV PROPERTIES LLC                 Records Not Available           City or County Tax Records        3/20/2009             11/13/2012           Serpe                          580 East Main Street, Suite 310                                                           $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 2388    RP         Sangiovanni, Ralph and           2219 SE 27th Street            Cape Coral        FL      33904   [II], [XV], [XVI],        3/15/2010    Yes         4,932      Property Tax       Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                    Catherine                                                                                         [XVII]                                                         Assessor's                                                                                                                                              LAPOINT GREGORY + SMITH            Previous Owner, Did Not Own                                                                                                                 12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                        0.80              $87.88           $433,424.16                                                                                                                                          Tax Records + Title/Deed          9/12/1977              2/20/2015                                                                                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                             LAPOINT HEATHER H/W                Property on 6/9/15                                                                                                                          Fort Myers, FL 33907
                                                                                                                                                                                   Square Footage
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 66 of 82



Claimant Source     Claimant Name                     Affected Property Address     City               State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of       Counsel's                                                              Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                  Counsel Phone     Counsel Email                                      NOTES
                                                                                                                                                                                                                   2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square       Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                 Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided       Verifying                       [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                       Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                      Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                         [A]
                                                                                                                                                                                       Sharefile
 2389    Ex 10/79   Sansome, Shelly                   412 Doerr Drive               Arabi              LA      70032   [IX], [XV],               5/5/2011     Yes         2,345        Appraisal        Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           The Lambert Firm Greg DiLeo Hugh Lambert, Esq.                (504) 529-2931      hlambert@thelambertfirm.c
                                                                                                                       [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                            Law Offices Kanner &        701 Magazine St,                                      om
                                                                                                                                                                                                                        0.86                $94.47          $221,532.15                                                                      SANSONE, SHELLY MICHELE Owner as of 6/9/15                         City or County Tax Records        4/27/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                                                                                                                                          Whiteley, LLC Milstein,     New Orleans LA 70130
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                              Adelman & Kreger, LLP
 2390    Ex 10/79   Santacruz, Jose and Yvette        4806 Portmarnock Way          Wesley Chapel      FL      33543   [II(B)], [III], [IX],     10/7/2009    Yes         3,374      Builder's Floor    Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Morgan & Morgan             Pete Albanis, Esq.                (239) 433-6880      PAlbanis@ForThePeople.co
                                                                                                                       [XV], [XVI],                                                       Plan                          0.83                $91.18          $307,641.32                                                                      SANTACRUZ YVETTE & JOSE Owner as of 6/9/15                         City or County Tax Records       11/28/2005           Current Owner                                      12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2391    Ex 10/79   Santana, Francisco and Maricellis 11311 Bridge Pine Drive       Riverview          FL      33569   [II], [IX], [XV],         3/15/2010    Yes         2,269      Property Tax       Yes                                                                  Taihe              Photo             18             I           SANTANA RAMON FORTIS                                                                                                                            Morgan & Morgan             Pete Albanis, Esq.                (239) 433-6880      PAlbanis@ForThePeople.co
                    and Santana, Ramon and Caren                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                             CARMEN J SANTANA                                                                                                                                                            12800 University Drive, Suite 600                     m
                                                                                                                                                                                                                         0.83              $91.18           $206,887.42                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed           5/5/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                            FRANCISCO J SALA                                                                                                                                                            Fort Myers, FL 33907
                                                                                                                                                                                    Square Footage                                                                                                                                           MARICELIS
 2392    Ex 10/79   Santiago, Angel and Yvette        4018 NW 12th Street           Cape Coral         FL      33993   [II(C)], [III],           10/7/2009    Yes         2,689      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.               (239) 390-1000    jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                       [XV], [XVI],                                                   Assessor's                         0.80              $87.88           $236,309.32                                                                      FEELEY PATRICIA E                                                  Tax Records + Title/Deed           6/3/2005             12/20/2010                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2393    Ex 10/79   Santiago, Cesar and Crespo,       12978 Turtle Cove Trail       North Ft. Myers    FL      33903   [II(C)], [III],           10/7/2009    Yes         3,144      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.               (239) 390-1000    jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    Eileen                                                                                             [XV], [XVI],                                                   Assessor's                         0.80              $87.88           $276,294.72                                                                      MAZUK FRANKLIN J + BETTY                                           City or County Tax Records        5/21/2007              3/9/2012                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2394    Ex 10/79   Santillo, Keith                   1690 Renaissance Commons      Boynton Beach      FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,119     Builder's Floor     Yes                                                                  Taishan            Photo             2, 9           J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                   919-600-5000      dan@wbmllp.com
                                                      Blvd., Unit 1323                                                 [XVII]                                                            Plan                            0.82              $90.08           $100,799.52                                                                      SANTILLO, KEITH R                  Owner as of 6/9/15              City or County Tax Records        4/30/2007           Current Owner                                       900 W. Morgan Street                                                                  $99,427.31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 2395    Ex 10/79   Santimauro, Robert and Joanne     22220 Red Laurel Lane         Estero             FL      33928   [II], [II(B)], [VII],     3/15/2010    Yes         4,603      Property Tax       Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605    rbudd@baronbudd.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.80              $87.88           $404,511.64                                                                      AQUILA CARMINE DELL                                                Tax Records + Title/Deed          1/30/2009              3/26/2012                                                                                                                                $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                               Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2396    Ex 10/79   Sheridan Beach Club               529 E. Sheridan Street #408   Dania Beach        FL      33004   [IX], [XV],               5/5/2011     Yes         1,250     Builder's Floor     Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605    rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $111,225.00                                                                      SANTONI,ANDREA                     Owner as of 6/9/15              Tax Records + Title/Deed          2/21/2008           Current Owner                                                                                                                               $0.00
                    Inc. (Santoni, Andrea)                                                                                                                                                                                                                                                                                                                                                                                                                                                   Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2397    RP         Santos, Hector and Fenta, Nigest 7516 Bridgeview Drive          Wesley Chapel      FL      33545   [II], [II(B)],            3/15/2010    Yes         2,309       Property Tax      Yes                                                                  Taishan            Photo             1              H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605    rbudd@baronbudd.com
                                                                                                                       [XIII], [XV],                                                   Assessor's                                                                                                                                            PROHASKA KARINA &                  Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                         0.83              $91.18           $210,534.62                                                                                                                                         Tax Records + Title/Deed           9/5/2007              9/17/2013                                                                                                                                $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                            PERERA ALEXIS                      Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2398    Ex 10/79   Santos, Joel                      3223 31st Street West         Lehigh Acres       FL      33971   [II(C)], [III],           10/7/2009    Yes         2,226        Appraisal        Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.               (239) 390-1000    jerry@yourlawyer.com
                                                                                                                       [XV], [XVI],                                                 Showing Floor                        0.80              $87.88           $195,603.30                                                                      UNKNOWN                            Owner as of 6/9/15              Tax Records + Title/Deed         11/21/2008           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                       [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                       Bonita Springs, FL 34134
 2399    Ex 10/79   Sarwar, Choudhry                  19263 Stonehedge Drive        Tampa              FL      33647   [IX], [XV],               5/5/2011     Yes         1,587       Property Tax      Yes                                                                  Taihe              Photo             14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605    rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                             SARWAR NINA
                                                                                                                       [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                                                                                                                            Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.83              $91.18           $144,702.66                                                                      SARWAR CHOUDHRY                    Owner as of 6/9/15              City or County Tax Records         3/5/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                            Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                             SARWAR RIFAT
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2400    Ex 10/79   Savage, Carter and Barbara        106 Shenandoah River Court    Hertford           NC      27944   [XV], [XVI],              7/5/2011     Yes         2,418       Property Tax      Yes                                                                  Venture Supply     Photo             38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.              (305) 476-7400    patrick@colson.com
                                                                                                                                                                                                                                                                                                                                             SAVAGE,CARTER
                                                                                                                       [XVII], [XXIV]                                                  Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.92              $101.06          $244,363.08                                                                      D&BARBARA A,TRUS        Owner as of 6/9/15                         City or County Tax Records        10/1/2001           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                             THE SAVAGE FAMILY TRUST
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2401    Ex 10/79   Scallan, Patricia E. and Ronald   3912 Charles Drive            Chalmette          LA      70043   [III], [IX], [XV],        10/7/2009    Yes         1,069      Builder's Floor    Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.        504-271-8422      storres@torres-law.com
                                                                                                                                                                                                                                                                                                                                             WELLS, PATRICIA
                                                                                                                       [XVI], [XVII]                                                      Plan                           0.86              $94.47           $100,988.43                                                                                                         Owner as of 6/9/15              City or County Tax Records       11/18/1994           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                             ECKELMANN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          303
 2402    Ex 10/79   Schafer, Clyde and Pauline        814 King Leon Way             Sun City Center    FL      33573   [III], [IX], [XV],        10/7/2009    Yes         1,364     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                 (954) 763-8181    mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             SCHAFER CLYDE E
                                                                                                                       [XVI], [XVII]                                                     Plan                            0.83              $91.18           $124,369.52                                                                                                         Owner as of 6/9/15              City or County Tax Records        6/16/2006           Current Owner                                       12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                             SCHAFER PAULINE L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 2403    Ex 10/79   Schandelmeier, Patricia           25748 Deep Creek Blvd.        Punta Gorda        FL      33983   [IX], [XV],               5/5/2011     No          2,195      Property Tax       No                                                                   Taishan            Photo             12             L                                                                                                                                                           Pro Se                       N/A                                N/A               N/A
                                                                                                                                                                                                                                                                                                                                             HARRISON RICHARD                   Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $192,896.60                                                                                                                                         City or County Tax Records        9/15/2006              11/7/2011                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                             AUGUSTUS IV &MH                    Property on 6/9/15
                                                                                                                                                                                    Document with
 2404    Add.       Schatzle, Judith                  3445 NW 18th Terrace          Cape Coral         FL      33993   [III(A)], [XIII],         9/16/2010    Yes         2,233     Builder's Floor     Yes                                                                  Taishan            Photo             5              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.             (239) 390-1000    jerry@yourlawyer.com
         Taishan                                                                                                       [XV], [XVI],                                                      Plan                            0.80              $87.88           $196,236.04                                                                      SCHATZLE RALPH J + JUDITH Owner as of 6/9/15                       Tax Records + Title/Deed         12/30/2002           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
         Prop.                                                                                                         [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Bonita Springs, FL 34134
 2405    RP         Schenck, Vickie and Gary          308 St. John the Baptist      Chalmette          LA      70043   [VII], [XV],              1/14/2011    Yes         1,577        Appraisal        Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Lemmon Law Firm                Andrew Lemmon, Esq.              985-783-6789      andrew@lemmonlawfirm.c
                                                                                                                       [XVI], [XVII]                                                Showing Floor                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                 PO Box 904 (mailing address)                       om
                                                                                                                                                                                                                         0.86              $94.47           $148,979.19                                                                      HEMSTAD, MICHAEL                                                   City or County Tax Records        7/10/1996              2/17/2012                                                                                                                                $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                             Property on 6/9/15                                                                                                                          15058 River Road
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                             Hahnville, LA 70057
 2406    Ex 10/79   Schieber, Sid and Susan           540 Bimini Bay Blvd.          Apollo Beach       FL      33572   [III(A)], [XV],           9/16/2010    Yes         2,778        Inspection       Yes                                                                  Taihe              Photo             21             I                                                                                                                                                           Barrios, Kingsdorf & Casteix                                     (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                       [XVI], [XVII]                                                 Showing Floor                                                                                                                                           SCHIEBER, SIDNEY D;                                                                                                                                                            Dawn M. Barrios, Esq.
                                                                                                                                                                                                                         0.83              $91.18           $253,298.04                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          5/27/2005           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Plan and Under                                                                                                                                           SCHIEBER, SARA D                                                                                                                                                               701 Poydras Street, Suite 3650
                                                                                                                                                                                       Air Square                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70166
 2407    Ex 10/79   Schleifer, Dr. Jochen and         844 SW 36th Terrace           Cape Coral         FL      33914   [XV], [XVI],              7/5/2011     Yes         2,087      Builder's Floor    Yes                                                                  ProWall            Photo             43, 44         G                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
                    Riehm, Dr. Susanne                                                                                 [XVII]                                                             Plan                                                                                                                                               SCHLEIFER JOCHEN +                                                                                                                                                             12800 University Drive, Suite 600                  m
                                                                                                                                                                                                                         0.80              $87.88           $183,405.56                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          9/30/2008           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                             SUSANNE                                                                                                                                                                        Fort Myers, FL 33907

 2408    RP         Schoenberg, Ken and Kathleen      3801 Sabal Lakes Road         Delray Beach       FL      33445   [II(A)], [VII],           9/16/2010    Yes         2,701       Property Tax      Yes                                                                  Dragon Brand       Photo             26             A                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                 (214) 521-3605    rbudd@baronbudd.com
                                                                                                                       [XV], [XVI],                                                    Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                         0.82              $90.08           $243,306.08                                                                      HASSAN MONICA H                                                    Tax Records + Title/Deed          2/15/2006              7/22/2013                                                                                                                                $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2409    Ex 10/79   Schott, Mark and Susan            6673 Marshall Foch Street     New Orleans        LA      70124   [II(B)], [III(A)],        9/16/2010    Yes         3,047        Appraisal        Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.              (504) 523-3300    DBarrios@bkc-law.com
                                                                                                                       [XV], [XVI],                                                 Showing Floor                        0.86              $94.47           $287,850.09                                                                      SCHOTT MARK D                      Owner as of 6/9/15              City or County Tax Records         7/1/1988           Current Owner                                       701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                       [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70166
 2410    Ex 10/79   Schour, Stephen and Mitchell,     1690 Renaissance Commons      Boynton Beach      FL      33426   [II], [XV], [XVI],        3/15/2010    Yes         1,240      Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                   919-600-5000      dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                             MITCHELL, SUSAN R;
                    Susan                             Blvd., Unit 1106                                                 [XVII]                                                             Plan                           0.82              $90.08           $111,699.20                                                                                                         Owner as of 6/9/15              City or County Tax Records        4/27/2007           Current Owner                                       900 W. Morgan Street                                                                  $93,849.71
                                                                                                                                                                                                                                                                                                                                             SCHOUR, STEPHEN P
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 2411    Ex 10/79   Schubert, Alex and Beth           2301 Livaccari Drive, 70092   Violet             LA      70092   [III], [VII], [XV],       10/7/2009    Yes         1,190      Property Tax       Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.               (504) 581-9065    srb@mbfirm.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                         0.86              $94.47           $112,419.30                                                                      SCHUBERT, ALEX JOHN, SR.           Owner as of 6/9/15              City or County Tax Records         1/3/2009           Current Owner                                       338 Lafayette Street                                                                    $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70130
 2412    RP         Schulman, Norman and Roxanne 6580 Martinque Way                 Vero Beach         FL      32967   [II(B)], [XV],            12/6/2010    Yes         3,579     Builder's Floor     Yes                                                                  IMT                Photo             30             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605    rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                     Plan                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                         0.84              $92.27           $330,234.33                                                                      HARMON, WILLIAM OSCAR &                                            Tax Records + Title/Deed          8/15/2007             12/15/2013                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2413    Ex 10/79   Schultz, Kimberly                 2051 Kings Fork Road          Suffolk            VA      23434   [II(C)], [XV],            1/24/2011    Yes         2,978      Property Tax       Yes                                                                  Venture Supply     Photo             38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.              (305) 476-7400    patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                             HARGUS COYT DAVID &                Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.94              $103.26          $307,508.28                                                                                                                                         City or County Tax Records        4/12/2004              4/11/2016                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                            MARIDEE A                          Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2414    RP         Schwab, David and Melissa         6352 General Diaz Street      New Orleans        LA      70124   [XV], [XVI],              7/5/2011     Yes         2,032     Builder's Floor     Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                 (504) 525-1355    jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                             LAMONTE NICHOLAS A                 Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                            Plan                            0.86              $94.47           $191,963.04                                                                                                                                         City or County Tax Records       10/23/2006              6/22/2012                                        855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             LAMONTE TERRI P                    Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, 70113
 2415    Ex 10/79   Scocco, Bart                      3330 NW 39th Lane             Cape Coral         FL      33993   [III], [VII], [XV],       10/7/2009    Yes         1,816      Property Tax       Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.               (239) 390-1000    jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                             RILEY AXEL +                       Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $159,590.08                                                                                                                                         Tax Records + Title/Deed           4/8/2009              1/22/2014                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                             DRESSER CHELSEA R H/W              Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2416    Ex 10/79   Scott, Benjamin and Fay           5256 NW S. Lovett Circle      Port St. Lucie     FL      34986   [II], [II(B)],            3/15/2010    Yes         2,313     Builder's Floor     Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605    rbudd@baronbudd.com
                                                                                                                       [XIII], [XV],                                                     Plan                                                                                                                                                FAY D SCOTT                                                                                                                                     Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.82              $90.08           $208,355.04                                                                                                         Owner as of 6/9/15              City or County Tax Records        4/19/1991           Current Owner                                                                                                                               $0.00
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                         BENJAMIN H SCOTT                                                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2417    RP         Scott, Cynthia and Jonathan       1984 Gloria Circle            Palm Bay           FL      32905   [II], [XV], [XVI],        3/15/2010    Yes         1,854      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                   (850) 435-7000    bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                             FOLEY, RENA ELDER;                 Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                         Assessor's                         0.84              $92.27           $171,068.58                                                                                                                                         Tax Records + Title/Deed         10/19/2006              3/27/2013                                        316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                             FOLEY, ALLAN C TRUSTEES            Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Pensacola, FL 32502
 2418    RP         Scott, Denise                     14051 Danpark Loop            Ft. Myers          FL      33912   [II], [VII], [XIII],      3/15/2010    Yes         2,364      Property Tax       Yes                                                                  IMT                Photo             33             F                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.               (239) 390-1000    jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                       [XV], [XVI],                                                   Assessor's                         0.80              $87.88           $207,748.32                                                                      BARD LUCY M                                                        Tax Records + Title/Deed          3/13/2007             10/28/2013                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2419    Ex 10/79   Scott, James and Karen            525 SW Akron Avenue           Stuart             FL      34994   [II(B)], [III],           10/7/2009    Yes         2,440      Property Tax       Yes                                                                  Taishan            Photo             2, 5           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605    rbudd@baronbudd.com
                                                                                                                       [VII], [IX], [XV],                                             Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.82              $90.08           $219,795.20                                                                      JKS REGAL PROPERTIES LLC                                           City or County Tax Records        8/11/2006              8/24/2015                                                                                                                                $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                               Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2420    Ex 10/79   Scott, Sonya                      224 Clay Street               Suffolk            VA      23434   [II(A)], [XV],            9/16/2010    Yes         3,008      Property Tax       Yes                                                                  Venture Supply     Photo             39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.              (305) 476-7400    patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.94              $103.26          $310,606.08                                                                      SCOTT SONYA LATRICE                Owner as of 6/9/15              City or County Tax Records       11/24/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2421    RP         Scott, Steven and Berna           1757 W. Queen Street Hampton, Hampton            VA      23666   [II(C)], [XV],            1/24/2011    Yes         2,458      Property Tax       Yes                                                                  Venture Supply     Photo             38             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.             (757) 233-0009    rserpe@serpefirm.com                               *VA settlement
                                                      VA 23666                                                         [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Serpe                        580 East Main Street, Suite 310                                                                         payment to Fannie Mae
                                                                                                                                                                                    Document with                        0.95              $104.36          $256,516.88                                                                      CAMMACK KIARA C                                                    City or County Tax Records       12/27/2007              1/31/2013                                        Norfolk, VA 23510                                                                       $0.00           c/o David R. Box
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                    Square Footage
 2422    Add.       Seal, Liz Eneida                  543 Sacramento Street         North Fort Myers   FL      33903   [XV], [XVI],              7/5/2011     Yes         1,144      Property Tax       Yes                                                                  IMT                Photo             33             F                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
         Taishan                                                                                                       [XVII]                                                          Assessor's                        0.80              $87.88           $100,534.72                                                                      SEAL LIZ                           Owner as of 6/9/15              Tax Records + Title/Deed           2/1/2007           Current Owner                                         12800 University Drive, Suite 600                  m                                  $0.00
         Prop.                                                                                                                                                                      Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2423    Ex 10/79   Seddon, Robert and Joan           13946 Clubhouse Drive         Tampa              FL      33618   [II(C)], [III],           10/7/2009    Yes         2,665      Property Tax       Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [VII], [IX], [XV],                                              Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                         0.83              $91.18           $242,994.70                                                                      YODICE PATTI A                                                     Tax Records + Title/Deed          8/15/2006             11/18/2011                                                                                                                                $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                    Square Footage
 2424    Ex 10/79   Seelig, Samuel P.                 152 Elaine Avenue             Harahan            LA      70123   [II(A)], [VII],           9/16/2010    Yes         2,768        Appraisal        Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Unknown
                                                                                                                       [XIII], [XV],                                                Showing Floor                        0.86              $94.47           $261,492.96                                                                      SANTOPADRE,GINA M                                                  Tax Records + Title/Deed           8/7/2009                                                                 820 O'Keefe Avenue                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                Purchase Date
                                                                                                                       [XVI], [XVII]                                                Plan and Square                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
 2425    RP         Segnello, Jeffrey and Monica      393 NW Sheffield Circle       Port St. Lucie     FL      34983   [II(C)], [III], [IX],     10/7/2009    Yes         2,930      Property Tax       Yes                                                                  Taishan            Photo             6              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             393 NW SHEFFIELD CIRCLE            Previous Owner, Did Not Own
                                                                                                                       [XV], [XVI],                                                    Assessor's                        0.82              $90.08           $263,934.40                                                                                                                                         City or County Tax Records         5/5/2006              9/19/2011                                          12800 University Drive, Suite 600                  m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             LLC                                Property on 6/9/15
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 67 of 82



Claimant Source     Claimant Name                     Affected Property Address      City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified       Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                   Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                   2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square       Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                 Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                             Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided      Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                       Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                             Payment(s)- REDACTED
                                                                                                                                                                                      Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                         [A]
                                                                                                                                                                                       Sharefile
 2426    Ex 10/79 & Seijo, Lazaro and Mirta           1927 SE 22nd Drive             Homestead         FL      33035   [XV], [XVI],              7/5/2011     Yes         3,567      Property Tax      Yes                                                                   Taishan            Photo               2              J                                                                                                                                                           VM Diaz and Partners          Victor Diaz, Esq.                 (305) 704-3200   victor@diazpartners.com
         Omni XX                                                                                                       [XVII], [XX]                                                    Assessor's                       0.81                $88.98          $317,391.66                                                                        MIRTA SEIJO &H LAZARO              Owner as of 6/9/15              City or County Tax Records        8/28/2006           Current Owner                                        1900 Washington Ave., Suite 402                                                      $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Miami Beach, FL 33139
 2427    Ex 10/79   Selikoff, Peter                   739 Sheltered Cove Road        Jasper            AL      35504   [XV], [XVI],              7/5/2011     Yes         3687         Appraisal       Yes                                                                   Taihe              Photo               20             I                                                                                                                                                           Doyle Law Firm                Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                  Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                       Showing Floor                       0.84                $92.27          $340,199.49                                                                        SELIKOFF KATINA I                                                  Tax Records + Title/Deed                                 9/22/1998                                         2100 Southbridge Parkway, Suite                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                                  Property on 6/9/15
                                                                                                                                                                                    Plan and Square                                                                                                                                                                                                                                                                                                                          650
 2428    Ex 10/79   Sellman, Terry and Donna          10710 Miracle Lane             New Port Richey   FL      34654   [II(C)], [III], [IX],     10/7/2009    Yes         3,124      Property Tax      Yes                                                                   Taihe              Photo               18             I                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XV], [XVI],                                                    Assessor's                                                                                                                                              SELLMAN TERRY L & DONNA                                                                                                                                                       27300 Riverview Center Blvd
                                                                                                                                                                                                                        0.83                $91.18          $284,846.32                                                                                                Owner as of 6/9/15                         Tax Records + Title/Deed          1/25/2006           Current Owner                                                                                                                             $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                              C                                                                                                                                                                             Bonita Springs, FL 34134
                                                                                                                                                                                    Square Footage
 2429    Ex 10/79 & Selzer, Nell                      106 Covington Meadows Circle, Covington          LA      70433   [XV], [XVI],              7/5/2011     Yes          898           Other         Yes                                                                   Taihe              Photo               17, 18         I                                                                                                                                                           Paul A. Lea, Jr., APLC       Paul A. Lea, Jr., Esq.             (985) 292-2300   jean@paullea.com
         Omni XX                                      Unit F                                                           [XVII], [XX]                                                                                     0.79                $86.78           $77,928.44                                                                        NELL SELZER                        Owner as of 6/9/15              Tax Records + Title/Deed           1/9/2009           Current Owner                                       724 East Boston Street                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Covington, LA 70433
 2430    Ex 10/79   Sena, Dale                        816 West Braddock Street       Tampa             FL      33603   [XIII], [XV],             7/5/2011     Yes         1,467      Property Tax       Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                         0.83              $91.18           $133,761.06                                                                        SENA DALE E                        Owner as of 6/9/15              City or County Tax Records         5/1/1984           Current Owner                                       27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2431    Ex 10/79   Sentino, Hubert                   3605/3607 Frenchmen Street     New Orleans       LA      70122   [IX], [XV],               5/5/2011     Yes         1,394      Property Tax       Yes                                                                  Taihe              Photo               18, 20         I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                                               Young Law Firm
                                                                                                                                                                                                                         0.86              $94.47           $131,691.18                                                                        3631 FRENCHMEN, LLC                                                City or County Tax Records         2/9/2007              6/24/2012                                                                                                                              $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                 Property on 6/9/15                                                                                                                        1010 Common St., Suite 3040
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70112
 2432    Ex 10/79   Serajuddowla, Mohammad and        8710 Pegasus Drive             Lehigh Acres      FL      33971   [III], [IX], [XV],        10/7/2009    Yes         3,019      Property Tax       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.              (305) 442-1700   durkee@rdlawnet.com
                    Ruth                                                                                               [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $265,309.72                                                                        SERAJUDDOWLA RUTH                  Owner as of 6/9/15              City or County Tax Records        9/25/2006           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                       $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           300
 2433    Ex 10/79   Seratt, Douglas and Bernice       213 Shore Front Lane           Wilsonville       AL      35186   [II(C)], [III],           10/7/2009    Yes         3673       Property Tax       Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                               SERATT DOUGLAS L &
                                                                                                                       [XV], [XVI],                                                   Assessor's                         0.84              $92.27           $338,907.71                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/27/2007           Current Owner                                       900 W. Morgan Street                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                               BERNICE R
                                                                                                                       [XVII], [XXI]                                                Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2434    RP         Serbin, Bruce and Susan           7990 NW 126 Terrace            Parkland          FL      33076   [II], [XV], [XVI],        3/15/2010    Yes         2,609      Property Tax       Yes                                                                  Dragon Brand/      Photo               24, 26         A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVII]                                                         Assessor's                                                                             BNBMDB                                                                                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                  Previous Owner, Did Not Own
                                                                                                                                                                                    Document with                        0.81              $88.98           $232,148.82                                                                        GAVIRIA,JESUS & MARTA                                              Tax Records + Title/Deed          4/18/2007              5/26/2010                                        3102 Oak Lawn Ave., Ste. 1100                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                  Property on 6/9/15
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219

 2435    Ex 10/79   Serigne, Paul and Hope            2408 Reunion Street            Violet            LA      70092   [III(A)], [XV],           9/16/2010    Yes         2,516        Appraisal        Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                Showing Floor                                                                                                                                              SERIGNE, HOPE                                                                                                                                                                 Baron & Budd
                                                                                                                                                                                                                         0.86              $94.47           $237,686.52                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          6/23/2006           Current Owner                                                                                                                             $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                            SCHLUMBRECHT                                                                                                                                                                  3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
 2436    Ex 10/79 & Serrano, Irene and Pouncey,       10360 Stephanie Way, #210      Port St. Lucie    FL      34987   [III], [VII], [XV],       10/7/2009    Yes           0             N/A           N/A                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com                               See Promenade at
         RP         Kenneth                                                                                            [XVI], [XVII],                                                                                                                                                                                                          KENNETH POUNCEY IRENE                                                                                                                           Budd, P.C. Alters Boldt       Baron & Budd                                                                                         Tradition
                                                                                                                                                                                                                         0.82              $90.08              $0.00                                                                                                              Owner as of 6/9/15              City or County Tax Records        5/31/2006           Current Owner                                                                                                                             $0.00
                                                                                                                       [XX]                                                                                                                                                                                                                    SERRANO                                                                                                                                         Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2437    RP         Serrino, Jeanine                  1220 NW 17th Street            Cape Coral        FL      33993   [XV], [XVI],              7/5/2011     Yes         2,017       Benchmark         Yes                                                                  IMT                Photo               33             F                                                                                                                                                           Colson Hicks Eidson           Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                         Inspection                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                                                255 Alhambra Circle, PH
                                                                                                                                                                                                                         0.80              $87.88           $177,253.96                                                                        MERCED DIANA M                                                     Tax Records + Title/Deed          5/31/2005              9/30/2013                                                                                                                            $94,938.21
                                                                                                                                                                                     Report Using                                                                                                                                                                                 Property on 6/9/15                                                                                                                         Coral Gables, FL 33134
                                                                                                                                                                                    Zillow.com for
 2438    Ex 10/79   Seymore, Melvin                   920 County Road 946            Cullman           AL      35057   [II], [XV], [XVI],        3/15/2010    Yes         1288      Builder's Floor     Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                               SEYMORE, MELVIN C &
                                                                                                                       [XVII], [XXI]                                                     Plan                            0.84              $92.27           $118,843.76                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          4/24/1970           Current Owner                                        900 W. Morgan Street                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                               FELICA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Raleigh, NC 27603
 2439    RP &       Blue Water Coach Homes            206 Shadroe Cove Circle Unit   Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         1,646     Builder's Floor     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Omni XX    Condominium Association, Inc.     301                                                              [XVI], [XVII]                                                     Plan                                                                                                                                                  MERRY WILLIAM D SR +               Previous Owner, Did Not Own                                                                                                                Baron & Budd
                                                                                                                                                                                                                         0.80              $87.88           $144,650.48                                                                                                                                           Tax Records + Title/Deed           6/2/2009              4/13/2012                                                                                                                              $0.00
                    (Shafer, Sam and Mary)                                                                                                                                                                                                                                                                                                     SANDRA TR                          Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2440    RP         Shaw, John                        827 SW 17th Street             Cape Coral        FL      33991   [IX], [XV],               5/5/2011     Yes         2,015      Property Tax       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Roberts & Durkee              C. David Durkee, Esq.             (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                  Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                         0.80              $87.88           $177,078.20                                                                        KARCZEWSKI MICHAEL                                                 Tax Records + Title/Deed           9/2/1988             11/21/2012                                         2665 South Bayshore Drive Suite                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                                  Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            300
 2441    RP         Shaw, Scott and Jackie            3125 SW 22nd Avenue            Cape Coral        FL      33914   [II(A)], [IX],            9/16/2010    Yes         1,807     Builder's Floor     Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XIII], [XV],                                                     Plan                                                                                                                                                  FRANCIS RANFORD +                  Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                         0.80              $87.88           $158,799.16                                                                                                                                           Tax Records + Title/Deed         10/16/2008              4/23/2014                                                                                                                              $0.00
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                           PAULETTE                           Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2442    Ex 10/79   Shedd, Kevin and Christine        229 NW 25th Avenue             Cape Coral        FL      33993   [III], [XV],              10/7/2009    Yes         1,996       Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Viles & Beckman, LLC          Michael Beckman, Esq.             (239) 334-3933   michael@vilesandbeckman.
                                                                                                                                                                                                                                                                                                                                                                                  Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                   Assessor's                        0.80              $87.88           $175,408.48                                                                        REITER SEAN JAMES + JILL M                                         Tax Records + Title/Deed          9/27/2004             11/28/2012                                         6350 Presidential Court                            com                               $0.00
                                                                                                                                                                                                                                                                                                                                                                                  Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33919
 2443    Ex 10/79   Sheehan, Michael and Willman,     3531 SW 15th Place             Cape Coral        FL      33914   [II(C)], [III], [IX],     10/7/2009    Yes         2,016       Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                               SHEEHAN MICHAEL +
                    Courtney and Hussey, Greer A.                                                                      [XV], [XVI],                                                    Assessor's                        0.80              $87.88           $177,166.08                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          2/18/2005           Current Owner                                        27300 Riverview Center Blvd                                                          $0.00
                                                                                                                                                                                                                                                                                                                                               WILLMAN COURTNEY E J/T
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 2444    Ex 10/79   Shehadi, Fred and Susan           1423 Joseph Circle             Gulf Breeze       FL      32563   [VII], [XV],              1/14/2011    Yes         2,278       Property Tax      Yes                                                                  Taihe              Photo               17, 18         I           CHESTNEY ROBERT MICHAEL                                                                                                                         Levin Papantonio              Ben Gordon, Esq.                  (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                       Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                   Assessor's                        0.85              $93.37           $212,696.86                                                                        & CHESTNEY KIMBERLIN                                               City or County Tax Records        3/15/2005              6/1/2015                                          316 South Baylen St.                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                       Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                              KAYE                                                                                                                                                                          Pensacola, FL 32502
 2445    Ex 10/79   Shelmandine, Gerald A. and        11106 Kiskadee Circle          New Port Richey   FL      34654   [II(C)], [III],           10/7/2009    Yes         2,035       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                    Connie L., Hartley, Charles and                                                                    [VII], [IX], [XV],                                              Assessor's                                                                                                                                              SHELMANDINE GERALD &                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                                                                                         0.83              $91.18           $185,551.30                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          12/9/2009           Current Owner                                                                                                                             $0.00
                    Janet                                                                                              [XVI], [XVII]                                                Document with                                                                                                                                              CONNIE                                                                                                                                                                        Bonita Springs, FL 34134
                                                                                                                                                                                    Square Footage
 2446    Ex 10/79   Shelmire, Geraldine               4208 Van Avenue                New Orleans       LA      70122   [VII], [XV],              1/14/2011    Yes         1,334        Inspection       Yes                                                                  Taihe              Photo               17, 18         I                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                 (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                       [XVI], [XVII]                                                 Showing Floor                       0.86              $94.47           $126,022.98                                                                        SHELMIRE ADAM                      Owner as of 6/9/15              Tax Records + Title/Deed          9/27/1971           Current Owner                                       855 Baronne Street                                  m                                 $0.00
                                                                                                                                                                                    Plan and Under                                                                                                                                                                                                                                                                                                                          New Orleans, 70113
 2447    Ex 10/79   Shen, Xueming and Wu, Xiaoyan 4340 Blackthorne Court             Virginia Beach    VA      23455   [II(B)], [XV],            12/6/2010    Yes         4,715        Appraisal        Yes                                                                  Venture Supply     Photo               38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.94              $103.26          $486,870.90                                                                        XUEMING SHEN                       Owner as of 6/9/15              City or County Tax Records        9/20/2006           Current Owner                                                                                                                             $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                Richard J. Serpe             Coral Gables, FL 33134
 2448    Ex 10/79   Sheppard, Austin                  16502 A Davis Road             Summerdale        AL      36580   [VII], [XIII],            1/14/2011    Yes         4013        Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                       [XV], [XVI],                                                    Assessor's                        0.84              $92.27           $370,279.51                                                                        SHEPARD, AUSTIN                    Owner as of 6/9/15              City or County Tax Records        3/14/2000           Current Owner                                       900 W. Morgan Street                                                                  $0.00
                                                                                                                       [XVII], [XXI]                                                Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2449    Ex 10/79   Sher, Golub and Donna             30018 Five Farms Avenue        Wesley Chapel     FL      33543   [XV], [XVI],              7/5/2011     Yes         3,101       Property Tax      Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XVII]                                                          Assessor's                        0.83              $91.18           $282,749.18                                                                        SHER GULAB & DONNA                 Owner as of 6/9/15              City or County Tax Records       10/27/2005           Current Owner                                       27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2450    Ex 10/79   Sheridan Beach Club               509 E. Sheridan Street, Unit 301 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,150      Builder's Floor    Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                     Plan                                                                                                                                                 DANDREA,LEONARDO                   Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $102,327.00                                                                                                                                           City or County Tax Records                               6/18/2007                                                                                                                              $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                    DANDREA,IVANNA                     Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2451    Ex 10/79   Sheridan Beach Club               509 E. Sheridan Street, Unit 304 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor     Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                    Plan                                                                                                                                                  HOCKER,DENNIS S &                  Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $102,327.00                                                                                                                                           City or County Tax Records                               5/23/2007                                                                                                                              $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                    HOCKER,DINA M                      Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2452    Ex 10/79   Sheridan Beach Club               509 E. Sheridan Street, Unit 307 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor     Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                    Plan                                                                                                                                                                                     Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $102,327.00                                                                        HAMRLIK,ROMAN                                                      City or County Tax Records                               5/1/2007                                                                                                                               $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                                                       Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2453    Ex 10/79   Sheridan Beach Club               509 E. Sheridan Street, Unit 408 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,250      Property Tax       Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                 Assessor's                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $111,225.00                                                                        BAYER,ADAM                                                         City or County Tax Records                               5/2/2007                                                                                                                               $0.00
                    Inc.                                                                                               [XX]                                                         Document with                                                                                                                                                                                 Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2454    Ex 10/79   Sheridan Beach Club               519 E. Sheridan Street, Unit 103 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor     Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                    Plan                                                                                                                                                                                     Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $102,327.00                                                                        DE HOMBRE,RENE                                                     City or County Tax Records                               2/13/2007                                                                                                                              $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                                                       Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2455    Ex 10/79   Sheridan Beach Club               519 E. Sheridan Street, Unit 306 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor     Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                    Plan                                                                                                                                                                                     Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $102,327.00                                                                        POULIOT,DANIEL                                                     City or County Tax Records                               2/22/2007                                                                                                                              $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                                                       Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2456    Ex 10/79   Sheridan Beach Club               529 E. Sheridan Street, Pool   Dania Beach       FL      33004   [IX], [XV],               5/5/2011     Yes          324      Builder's Floor     Yes                                                                  Taishan            Inspection Report   N/A            L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,         Bath                                                             [XVI], [XVII],                                                    Plan                                                                                                                                                                                                                                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98            $28,829.52                                                                        N/A (COMMON AREA)                  Records Not Available           Records Not Available                                                                                                                                                                           $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                                                                                                                                                                    Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2457    Ex 10/79   Sheridan Beach Club               529 E. Sheridan Street, Unit 105 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,150     Builder's Floor     Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                    Plan                                                                                                                                                  SAMI BARRAK SPECIAL                Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                         0.81              $88.98           $102,327.00                                                                                                                                           City or County Tax Records                               2/7/2007                                                                                                                               $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                    NEEDS TR                           Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2458    Ex 10/79   Sheridan Beach Club               529 E. Sheridan Street, Unit 404 Dania Beach     FL      33004   [IX], [XV],               5/5/2011     Yes         1,250     Builder's Floor     Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                               See Azucena LoGrasso
                    Condominium Number Three,                                                                          [XVI], [XVII],                                                    Plan                                                                                                                                                  LOGRASSO,ANTHONY                   Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd                                                                                          on OCXX
                                                                                                                                                                                                                         0.81              $88.98           $111,225.00                                                                                                                                           City or County Tax Records                               3/6/2007                                                                                                                               $0.00
                    Inc.                                                                                               [XX]                                                                                                                                                                                                                    LOGRASSO,AZUCENA                   Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2459    RP         Sherman, Aryn and Cody            3833 Misty Landing Drive       Valrico           FL      33594   [II(B)], [III(A)],        9/16/2010    Yes         3,143      Property Tax       Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                      Valrico, FL 33594                                                [VII], [XV],                                                   Assessor's                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                         0.83              $91.18           $286,578.74                                                                        PEAIR NICOLE W                                                     Tax Records + Title/Deed          7/31/2006              6/28/2013                                                                                                                              $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                 Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2460    Ex 10/79   Sherwood, Karl                    1029 Hollymeade Circle         Newport News      VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,797      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice    N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.              (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                         Assessor's                                                                                                                                                                                  Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                         0.95              $104.36          $187,534.92                                                                        GGG INVESTMENTS LLC,                                               City or County Tax Records        6/22/2006              2/16/2016                                                                                                                              $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                 Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                             Richard J. Serpe             Coral Gables, FL 33134
 2461    Ex 10/79   Shipp, Jason and Jennifer         18935 Pecan Lane               Robertsdale       AL      36567   [XV], [XVI],              7/5/2011     Yes         2564       Property Tax       Yes                                                                  Taihe              Affidavit of Lori   17             I                                                                                                                                                           Daniell, Upton & Perry, P.C. Jonathan Law                       (251) 625-0046   JRL@dupm.com
                                                                                                                                                                                                                                                                                                                                               SHIPP, JASON C ETAL SHIPP,
                                                                                                                       [XVII], [XXI]                                                  Assessor's                         0.84              $92.27           $236,580.28                         Streit                                                                            Owner as of 6/9/15              City or County Tax Records         4/4/2006           Current Owner                                       30421 State Highway 181                                                               $0.00
                                                                                                                                                                                                                                                                                                                                               JENNIFER L
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           Daphne, Alabama 36527
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 68 of 82



Claimant Source     Claimant Name                     Affected Property Address     City            State   Zip     Omni(s)               Date of Earliest PPF      Verified       Type of       Counsel's                                                              Product Brand(s)   Type of Indicia      Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                              2017 RS Means
Identifier                                                                                                                                 Filed Taishan (Yes/No)   Square       Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                           from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                            Residential Location                                                                                                                  Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                               Omni                 Footage        Provided      Verifying                       [B = A x $109.85]       Damages                                                Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                  Factor                                                                                                                    May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                 Uploaded to Square Footage                                              [SF x B]                                               Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                    [A]
                                                                                                                                                                                   Sharefile
 2462    Ex 10/79   Shiyou, Norman                    6030 Wanda Circle             Kiln            MS      39556   [II], [XV], [XVI],      3/15/2010    Yes         1,990      Homeowner's        Yes                                                                  Taihe              Photo                20             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                    [XVII], [XXIII]                                            Insurance Form                                                                                                                                                                                                                                                                                                                            900 W. Morgan Street
                                                                                                                                                                                                                   0.84                $92.27          $183,617.30                                                                         SHIYOU NORMAN                      Owner as of 6/9/15              City or County Tax Records                            Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 with Square                                                                                                                                                                                                                                                                                                                             Raleigh, NC 27603
                                                                                                                                                                                 Footage and
 2463    RP         Shuss, Gregory                    10858 Tiberio                 Ft. Myers       FL      33913   [III], [IX], [XV],      10/7/2009    Yes         2,285        Appraisal        Yes                                                                  Taishan            Photo                2, 9           J                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                              Showing Floor                                                                                                                                               CARRERA JUAN A + DONNA             Previous Owner, Did Not Own                                                                                                                Baron & Budd
                                                                                                                                                                                                                   0.80                $87.88          $200,805.80                                                                                                                                            Tax Records + Title/Deed          9/14/2007              9/22/2014                                                                                                                                $0.00
                                                                                                                                                                               Plan and Square                                                                                                                                             TR                                 Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Footage                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
 2464    RP         Siddiqui, Hassan                  11429 Laurel Brook Court      Riverview       FL      33569   [III], [IX], [XV],      10/7/2009    Yes         3,386       Property Tax      Yes                                                                  Taishan            Photo                2              J                                                                                                                                                           Roberts & Durkee              C. David Durkee, Esq.              (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                 Assessor's                       0.83                $91.18          $308,735.48                                                                         AMH 2014-1 BORROWER LLC                                            Tax Records + Title/Deed         10/19/2007              11/5/2012                                         2665 South Bayshore Drive Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                             300
 2465    Ex 10/79   Siegel, Sandra                    1690 Renaissance Commons      Boynton Beach   FL      33426   [II], [XV], [XVI],      3/15/2010    Yes          817       Builder's Floor    Yes                                                                  Taishan            Photo                2              J                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           SIEGEL, SANDRA; SIEGEL,
                                                      Blvd., Unit 1427                                              [XVII]                                                           Plan                          0.82                $90.08           $73,595.36                                                                                                            Owner as of 6/9/15              City or County Tax Records        3/21/2007           Current Owner                                        900 W. Morgan Street                                                                 $93,730.83
                                                                                                                                                                                                                                                                                                                                           SANDRA TR TITL HLDR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 2466    Ex 10/79   Siegel, Wayne and Mandy           9355 Cobblestone Brooke Court Boynton Beach   FL      33472   [II], [XV], [XVI],      3/15/2010    Yes         4,249      Property Tax       Yes                                                                  BNBM/ BNBMDB Photo                      22, 24         A                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVII]                                                       Assessor's                                                                                                                                                                                                                                                                                                                              Baron & Budd
                                                                                                                                                                                                                                                                                                                                           LERMAN SHEINA G                    Previous Owner, Did Not Own
                                                                                                                                                                               Document with                        0.82              $90.08           $382,749.92                                                                                                                                            Tax Records + Title/Deed          6/22/2007              5/19/2015                                         3102 Oak Lawn Ave., Ste. 1100                                                          $0.00
                                                                                                                                                                                                                                                                                                                                           RAICHIK YOSEF Y &                  Property on 6/9/15
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219

 2467    Ex 10/79   Sierra, Santos                    8719 Pegasus Drive            Lehigh Acres    FL      33971   [III], [IX], [XV],      10/7/2009    Yes         2,982      Property Tax       Yes                                                                  Taishan            Photo                2              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                    [XVI], [XVII]                                                Assessor's                         0.80              $87.88           $262,058.16                                                                         SIERRA SANTOS                      Owner as of 6/9/15              City or County Tax Records       10/27/2006           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            300
 2468    Ex 10/79   Sigur, Frederick                  3608-10 Packenham Dr.         Chalmette       LA      70043   [II], [IX], [XV],       3/15/2010    Yes         1,845     Builder's Floor     Yes                                                                  Crescent City      Photo                27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                    [XVI], [XVII]                                                   Plan                            0.86              $94.47           $174,297.15                                                                         SIGUR, KENNETH M., JR.             Owner as of 6/9/15              City or County Tax Records        11/3/2004           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        303
 2469    RP         Silva, Maria                      10308 Stone Moss Avenue       Tampa           FL      33647   [XV], [XVI],            7/5/2011     Yes         1,278       Property Tax      Yes                                                                  Taihe              Photo                17, 18         I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           JIANG YAOFENG                      Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                        Assessor's                        0.83              $91.18           $116,528.04                                                                                                                                            Tax Records + Title/Deed          3/14/2007             12/28/2012                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           CHEN JIANYING                      Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2470    RP         Silva, Raphael and Grace          10312 Stone Moss Avenue       Tampa           FL      33647   [XV], [XVI],            7/5/2011     Yes         1,587       Property Tax      Yes                                                                  Taihe              Photo and Inspection 17, 18         I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                        Assessor's                        0.83              $91.18           $144,702.66                         Report                                          A&T OF TAMPA LLC                                                   Tax Records + Title/Deed          9/13/2007              11/2/2012                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2471    Ex 10/79   Silver Creek Baptist Church c/o   2334 Tupelo Street            New Orleans     LA      70117   [XIII], [XV],           7/5/2011     Yes         1,398        Inspection       Yes                                                                  Taihe              Photo                19             I                                                                                                                                                           The Lambert Firm Kanner & Hugh Lambert, Esq.                     (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                           SILVER CREEK BAPTIST
                    Rev. Will McCabney                                                                              [XVI], [XVII]                                               Showing Floor                       0.86              $94.47           $132,069.06                                                                                                            Owner as of 6/9/15              City or County Tax Records         1/3/2012           Current Owner          Whitely Greg Dileo           701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                           CHURCH
                                                                                                                                                                               Plan and Under                                                                                                                                                                                                                                                                                                                           New Orleans LA 70130
 2472    Ex 10/79   Silverblatt, James and Cheryl     194 Medici Terrace            North Venice    FL      34275   [VII], [XV],            1/14/2011    Yes         2,393       Property Tax      Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           SILVERBLATT JAMES L
                                                                                                                    [XVI], [XVII]                                                 Assessor's                        0.83              $91.18           $218,193.74                                                                                                            Owner as of 6/9/15              Tax Records + Title/Deed          6/30/2006           Current Owner                                       12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                           SILVERBLATT CHERYL A
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Fort Lauderdale, FL 33301-3434
 2473    Ex 10/79   Simmons, Sandra and James         240 Latigue Road              Waggaman        LA      70094   [III], [VII], [XV],     10/7/2009    Yes         3,120        Appraisal        Yes                                                                  Taihe              Photo                19             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVI], [XVII]                                              Showing Floor                                                                                                                                                                                                                                                                                               LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                    0.86              $94.47           $294,746.40                                                                         SIMMONS,JAMES P                    Owner as of 6/9/15              Mortgage Documents                  2008              Current Owner                                                                                                                               $0.00
                                                                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                          425 W. Airline Hwy, Suite B
                                                                                                                                                                                   Footage                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
 2474    RP         Simon, Catherine                  3817 Napoleon Avenue          New Orleans     LA      70125   [II], [VII], [IX],      3/15/2010    Yes         3,481          Other          Yes                                                                  Crescent City      Affidavit from    27                D                                                                                                                                                           The Lambert Firm             Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                                                    0.86              $94.47           $328,850.07                         Homeowner and Fly                               AHN BONNIE M                                                       Tax Records + Title/Deed          10/7/2008              5/2/2011                                         701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                    [XVII]                                                                                                                                                                 Systems Letter                                                                                                                                                                                                               New Orleans LA 70130
 2475    Ex 10/79   Simon, Reginald                   4962 Painters Street          New Orleans     LA      70122   [IX], [XV],             5/5/2011     Yes         1,810       Property Tax      Yes                                                                  Taihe              Photo             19, 20            I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                    [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                                                            Young Law Firm
                                                                                                                                                                                                                    0.86              $94.47           $170,990.70                                                                         SIMON REGINALD D                   Owner as of 6/9/15              City or County Tax Records       12/29/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            1010 Common St., Suite 3040
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
 2476    Ex 10/79   Simonian, Thomas and Petty,       8582 Athena Court, Bldg. 4,   Lehigh Acres    FL      33971   [III], [IX], [XV],      10/7/2009    Yes         1,182       Property Tax      Yes                                                                  Taishan            Photo                6              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                    Barbara R.                        Unit #210                                                     [XVI], [XVII]                                                 Assessor's                        0.80              $87.88           $103,874.16                                                                         SIMONIAN THOMAS E                  Owner as of 6/9/15              City or County Tax Records        5/25/2006           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            300
 2477    RP         Simpson, Catherine                112 Chanticleer Court         Williamsburg    VA      23185   [II], [XV], [XVI],      3/15/2010    Yes         2,118       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A              K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                           BOCA LAND INVESTORS II             Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                        Assessor's                        0.96              $105.46          $223,364.28                         Property Assessment                                                                                                City or County Tax Records                               8/16/2010           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           LLC                                Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 2478    Ex 10/79   Simpson, Kayan and Briscoe,       9682 Clemmons Street          Parkland        FL      33076   [IX], [XV],             5/5/2011     Yes         1,569       Property Tax      No                                                                   Taishan            Photo                6              J                                                                                                                                                           McIntosh, Sawran, Peltz &    Manuel Comras, Esq.                 (561) 659-5970   MRC@bclmr.com                                      BKC confirmed square
                                                                                                                                                                                                                                                                                                                                           BREWER,JACK                        Previous Owner, Did Not Own
                    Christopher                                                                                     [XVI], [XVII]                                                 Assessor's                        0.81              $88.98           $139,609.62                                                                                                                                            Tax Records + Title/Deed          9/29/2006              8/20/2013           Cartaya, PA                  1601 Forum Place, Suite 400                                                             $0.00           footage.
                                                                                                                                                                                                                                                                                                                                           TAHER,CORTNEY                      Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            West Palm Beach, FL 33401
 2479    Ex 10/79   Simpson, Terry                    221 Kennedy Street            State Line      MS      39362   [XIII], [XV],           7/5/2011     Yes         2,880      Property Tax       Yes                                                                  Taihe              Photo                19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                    [XVI], [XVII]                                                 Assessor's                        0.81              $88.98           $256,262.40                                                                         SIMPSON TERRY ETUX MARY Owner as of 6/9/15                         Tax Records + Title/Deed          4/17/2003           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            650
 2480    Ex 10/79   Sims, Elvina and Darryl           4991 Dorgenois Street         New Orleans     LA      70117   [IX], [XV],             5/5/2011     Yes         1,960        Appraisal        Yes                                                                  Taihe              Photo                20             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                           SIMS DARRYL J
                                                                                                                    [XVI], [XVII]                                              Showing Floor                        0.86              $94.47           $185,161.20                                                                                                            Owner as of 6/9/15              City or County Tax Records       10/10/2003           Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           THOMPSON ELVINA
                                                                                                                                                                               Plan and Square                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
 2481    Ex 10/79   Sims, Fred                        1206 North “V” Street         Pensacola       FL      32505   [III], [VII], [XV],     10/7/2009    Yes         1,584       Property Tax      Yes                                                                  Taihe              Photo                20             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                    [XVI], [XVII]                                                 Assessor's                        0.85              $93.37           $147,898.08                                                                         SIMS FRED L                        Owner as of 6/9/15              City or County Tax Records        1/14/2005           Current Owner                                       316 South Baylen St.                                                                    $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 2482    RP         Sims, Ronald and Serbrenia        4215 New Town Avenue          Williamsburg    VA      23188   [II(C)], [XV],          1/24/2011    Yes         2,442       Property Tax      Yes                                                                  Venture Supply     Photo                39             K           MCKEE, THOMAS A III &                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                 Assessor's                        0.96              $105.46          $257,533.32                                                                         MCKEE, THOMAS A JR &                                               City or County Tax Records         7/3/2008              9/27/2013           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                               DANA M                                                                                                                                                                       Norfolk, VA 23510
 2483    Ex 10/79   Sims, Sarah and Michael           2017 Guerra Drive             Violet          LA      70092   [IX], [XV],             5/5/2011     Yes         1,784       Property Tax      Yes                                                                  Crescent City      Photo                27             D                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                    [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                                                            Young Law Firm
                                                                                                                                                                                                                    0.86              $94.47           $168,534.48                                                                         SIMS, MICHAEL A. 1/2               Owner as of 6/9/15              City or County Tax Records        6/23/1997           Current Owner                                                                                                                               $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            1010 Common St., Suite 3040
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
 2484    RP         Sims, Willie                      3720 James Street             Pensacola       FL      32505   [VII], [XV],            1/14/2011    Yes         1,024       Property Tax      Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                 Assessor's                        0.85              $93.37            $95,610.88                                                                         LIKELY CHRISTINE                                                   Tax Records + Title/Deed         11/26/2006             10/13/2011                                        316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Pensacola, FL 32502
 2485    Ex 10/79   Singh, Govinhd                    8374 Sumner Avenue            Ft. Myers       FL      33908   [II(C)], [III(A)],      9/16/2010    Yes         2,601       Property Tax      Yes                                                                  Taishan            Photo                5              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [IX], [XIII],                                                 Assessor's                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                                               27300 Riverview Center Blvd
                                                                                                                                                                                                                    0.80              $87.88           $228,575.88                                                                         MCCARTHY JILL                                                      City or County Tax Records        3/31/2006              4/10/2012                                                                                                                                $0.00
                                                                                                                    [XV], [XVI],                                               Document with                                                                                                                                                                                  Property on 6/9/15                                                                                                                        Bonita Springs, FL 34134
                                                                                                                    [XVII]                                                     Square Footage
 2486    Add.       Singleton, Diedre                 552 Huseman Lane              Covington       LA      70453   [VII], [XV],            1/14/2011    Yes         2,701      Builder's Floor    Yes                                                                  Taihe              Photo                15             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                           SINGLETON, LAWRENCE III
         Taishan                                                                                                    [XVI], [XVII]                                                    Plan                           0.79              $86.78           $234,392.78                                                                                                            Owner as of 6/9/15              Mortgage Documents                  2008              Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           ETUX
         Prop.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
 2487    Ex 10/79   Singleton, Robert and Krista      5201 W. Neptune Way           Tampa           FL      33609   [IX], [XV],             5/5/2011     Yes         3,423      Property Tax       Yes                                                                  Taihe              Photo                18             I                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                    [XVI], [XVII]                                                Assessor's                         0.83              $91.18           $312,109.14                                                                         SINGLETON ROBERT M                 Owner as of 6/9/15              City or County Tax Records        4/30/1998           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                         $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            300
 2488    Ex 10/79   Sistrunk, Earl                    6615 Sable Ridge Lane         Naples          FL      34109   [II(C)], [III(A)],      9/16/2010    Yes         4,092      Property Tax       Yes                                                                  Taishan            Photo                2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           ENGLER, ROBERT L &                 Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                 Assessor's                         0.80              $87.88           $359,604.96                                                                                                                                            Tax Records + Title/Deed                                 8/28/2014                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                           MELISSA                            Property on 6/9/15
                                                                                                                    [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 2489    RP         Skair, Kevin and Fabiola          11148 Ancient Futures Drive   Tampa           FL      33647   [XV], [XVI],            7/5/2011     Yes         3,419      Property Tax       Yes                                                                  C&K                Photo                34             B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           AMERICAN PRESTIGE HOMES Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                       Assessor's                         0.83              $91.18           $311,744.42                                                                                                                                            Tax Records + Title/Deed         12/31/2008              9/9/2014                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                           LLC                     Property on 6/9/15
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2490    RP         Skinner, Andre’                   3703 Polk Street              Portsmouth      VA      23703   [II(C)], [XV],          1/24/2011    Yes         2,449      Property Tax       Yes                                                                  Venture Supply     Delivery Invoice     N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                    [XVI], [XVII]                                                Assessor's                         0.88              $96.67           $236,744.83                                                                         UNKNOWN                            Records Not Available           City or County Tax Records        9/29/2006              3/31/2011           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Norfolk, VA 23510
 2491    RP         Skipper, Phillip and Cheryl       1600 Evers Haven              Cantonment      FL      32533   [VII], [XV],            1/14/2011    Yes         3,290     Builder's Floor     Yes                                                                  Taihe              Photo                19, 20         I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                           MOORE MICHAEL K &                  Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                   Plan                            0.85              $93.37           $307,187.30                                                                                                                                            Tax Records + Title/Deed           4/5/2006              5/14/2014                                        316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                           MOORE DONNA                        Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
 2492    Ex 10/79   Slavich, Randy and Susan          13 Brittany Place             Arabi           LA      70032   [XV], [XVI],            7/5/2011     Yes         3,470      Property Tax       Yes                                                                  Taihe              Photo                15, 21         I                                                                                                                                                           Gainsburgh Benjamin          Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                    [XVII]                                                        Assessor's                                                                                                                                               SLAVICH, RANDY L. &                                                                                                                                                          2800 Energy Centre
                                                                                                                                                                                                                    0.86              $94.47           $327,810.90                                                                                                            Owner as of 6/9/15              City or County Tax Records        6/21/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                               Document with                                                                                                                                               SLAVICH, SUSAN CLINE                                                                                                                                                         1100 Poydras Street
                                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
 2493    Ex 10/79   Smiles, John and Jacquelyn        2021 Walkers Lane             Meraux          LA      70075   [VII], [XV],            1/14/2011    Yes         1,389       Inspection        Yes                                                                  Crescent City      Photo                27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                              Showing Floor                        0.86              $94.47           $131,218.83                                                                         SMILES, JOHN A.                    Owner as of 6/9/15              City or County Tax Records       11/26/2011           Current Owner                                       855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                               Plan and Under                                                                                                                                                                                                                                                                                                                           New Orleans, 70113
 2494    Ex 10/79   Smith Enterprises, Inc. (Erik C. 2503-A North Melody Lane       Corinth         MS      38834   [XIII], [XV],           7/5/2011     Yes          750       Property Tax       Yes                                                                  Taihe              Photo                13             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                    Smith - President)                                                                              [XVI], [XVII],                                                Assessor's                        0.75              $82.39            $61,792.50                                                                         SMITH ENTERPRISES INC              Owner as of 6/9/15              Tax Records + Title/Deed           3/1/1971           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                    [XXIII]                                                    Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2495    Ex 10/79   Smith Enterprises, Inc. (Erik C. 2503-B North Melody Lane       Corinth         MS      38834   [XIII], [XV],           7/5/2011     Yes          750       Property Tax       Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                    Smith - President)                                                                              [XVI], [XVII],                                                Assessor's                        0.75              $82.39            $61,792.50                                                                         SMITH ENTERPRISES INC              Owner as of 6/9/15              Tax Records + Title/Deed           3/1/1971           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                    [XXIII]                                                    Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2496    Ex 10/79   Smith Enterprises, Inc. (Erik C. 2505-A North Melody Lane       Corinth         MS      38834   [XIII], [XV],           7/5/2011     Yes          750       Property Tax       Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Gentle, Turner & Sexton      K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                    Smith - President)                                                                              [XVI], [XVII]                                                 Assessor's                        0.75              $82.39            $61,792.50                                                                         SMITH ENTERPRISES INC              Owner as of 6/9/15              Tax Records + Title/Deed           3/1/1971           Current Owner                                       501 Riverchase Parkway East,                                                            $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Suite 100
 2497    Ex 10/79   Smith Enterprises, Inc. (Erik C. 2505-B North Melody Lane       Corinth         MS      38834   [XIII], [XV],           7/5/2011     Yes          750       Property Tax       Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Gentle, Turner & Sexton      K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                    Smith - President)                                                                              [XVI], [XVII]                                                 Assessor's                        0.75              $82.39            $61,792.50                                                                         SMITH ENTERPRISES INC              Owner as of 6/9/15              Tax Records + Title/Deed           3/1/1971           Current Owner                                       501 Riverchase Parkway East,                                                            $0.00
                                                                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Suite 100
 2498    Ex 10/79   Smith Enterprises, Inc. (Erik C. 2507-A North Melody Lane,      Corinth         MS      38834   [II(A)], [XV],          9/16/2010    Yes          750       Property Tax       Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Gentle, Turner & Sexton      K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                    Smith - President)               Corinth, MS 38834                                              [XVI], [XVII],                                                Assessor's                        0.75              $82.39            $61,792.50                                                                         SMITH ENTERPRISES INC              Owner as of 6/9/15              Tax Records + Title/Deed           3/1/1971           Current Owner                                       501 Riverchase Parkway East,                                                            $0.00
                                                                                                                    [XXIII]                                                    Document with                                                                                                                                                                                                                                                                                                                            Suite 100
 2499    Ex 10/79   Smith Enterprises, Inc. (Erik C. 2507-B North Melody Lane       Corinth         MS      38834   [II(A)], [XV],          9/16/2010    Yes          750       Property Tax       Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                    Smith - President)                                                                              [XVI], [XVII],                                                Assessor's                        0.75              $82.39            $61,792.50                                                                         SMITH ENTERPRISES INC              Owner as of 6/9/15              Tax Records + Title/Deed           3/1/1971           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                    [XXIII]                                                    Document with                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2500    Ex 10/79   Smith, Allen and Janis            25720 E. Sycamore Street      Lacombe         LA      70445   [II(B)], [XV],          12/6/2010    Yes         1,385          Other          Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                    [XVI], [XVII]                                                                                   0.79              $86.78           $120,190.30                                                                         ALLEN B. SMITH ET UX               Owner as of 6/9/15              Tax Records + Title/Deed         12/15/2008           Current Owner                                       900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2501    Ex 10/79   Smith, Barry and Markita          5573 Parkside Circle          Hoover          AL      35224   [II(B)], [XV],          12/6/2010    Yes         2238         Appraisal        Yes                                                                  Taihe              Photo                17             I                                                                                                                                                           McCallum Hoagland/           Eric Hoagland, Esq.                 (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                    [XVI], [XVII],                                             Showing Floor                        0.84              $92.27           $206,500.26                                                                         SMITH MARKITA N                    Owner as of 6/9/15              City or County Tax Records        9/19/2006           Current Owner          Whitfield, Bryson & Mason,   905 Montgomery Highway, Suite                                                           $0.00
                                                                                                                    [XXI]                                                      Plan and Square                                                                                                                                                                                                                                                                                             LLP                          201
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 69 of 82



Claimant Source     Claimant Name                    Affected Property Address     City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
 2502    Ex 10/79   Smith, Cheryl and George         79 Derbes                     Gretna           LA      70053   [XV], [XVI],              7/5/2011     Yes         4,912     Builder's Floor    Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVII]                                                            Plan                          0.86                $94.47          $464,001.69                                                                       GEORGE AND CHERYL SMITH Owner as of 6/9/15                         Tax Records + Title/Deed          6/23/2003           Current Owner                                         425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 2503    Ex 10/79   Smith, Christopher               5205 Athens Way North         North Venice     FL      34293   [XV], [XVI],              7/5/2011     Yes         1,709      Property Tax      Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XVII]                                                          Assessor's                       0.83              $91.18           $155,826.62                                                                       SMITH CHRISTOPHER M                Owner as of 6/9/15              Tax Records + Title/Deed         12/28/2006           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2504    Ex 10/79 & Smith, Daniel & Nicole           766 Tabernacle Road           Monroeville      AL      36460   [III], [VII], [XV],       10/7/2009    Yes         2158       Property Tax      Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Taylor Martino Zarzaur, PC/    Edward P. Rowan, Esq.               (251) 433-3131   Ed@TaylorMartino.com
         Omni XX                                                                                                    [XVI], [XVII],                                                  Assessor's                                                                                                                                            SMITH, DANIEL LEE &                                                                                                                             Reeves & Mestayer              51 Saint Joseph Street
                                                                                                                                                                                                                     0.81              $88.98           $192,018.84                                                                                                          Owner as of 6/9/15              City or County Tax Records         3/8/2008           Current Owner                                                                                                                                $0.00
                                                                                                                    [XX], [XXI]                                                  Document with                                                                                                                                            KIMBERLY NICOLE CRAFT                                                                                                                                                          Post Office Box 894
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                          Mobile, AL 36601-0894
 2505    Ex 10/79   Smith, Gary                      4849-51 Lynhuber Drive        New Orleans      LA      70126   [II], [VII], [XV],        3/15/2010    Yes         2,335       Inspection       Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                                Showing Floor                       0.86              $94.47           $220,587.45                                                                       4849 LYNNHUBER, LLC                Owner as of 6/9/15              City or County Tax Records        7/23/2004           Current Owner                                         855 Baronne Street                                   m                                 $0.00
                                                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                          New Orleans, 70113
 2506    Ex 10/79   Smith, Gloria and Robert         11837 Bayport Lane, Unit 1,   Ft. Myers        FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         2,163     Builder's Floor    Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                     Building 7, Phase 2                                            [XV], [XVI],                                                      Plan                           0.80              $87.88           $190,084.44                                                                       SMITH ROBERT + GLORIA              Owner as of 6/9/15              City or County Tax Records        6/25/2007           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                    [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Bonita Springs, FL 34134
 2507    RP         Smith, Juanita                   956 Hollymeade Circle         Newport News     VA      23602   [II], [XV], [XVI],        3/15/2010    Yes         1,716      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   38             K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                         Assessor's                        0.95              $104.36          $179,081.76                                                                       HARDY GERALD S                                                     City or County Tax Records         1/3/2007              8/4/2011            Serpe                          580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
 2508    Ex 10/79   Smith, Linda                     5001 North Prieur Street      New Orleans      LA      70117   [XV], [XVI],              7/5/2011     Yes         1,488      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                    [XVII]                                                         Assessor's                        0.86              $94.47           $140,571.36                                                                       SMITH LINDA L                      Owner as of 6/9/15              City or County Tax Records         6/4/1999           Current Owner                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2509    Ex 10/79 & Smith, Mary Anne                 309 Lemoyne Road              Pass Christian   MS      39571   [XIII], [XV],             7/5/2011     Yes         2,245         Other          Yes                                                                  Taihe              Photo              17, 19         I                                                                                                                                                           Reeves & Mestayer              Jim Reeves, Esq.                    (228) 374-5151   jrr2@rmlawcall.com
         Omni XX                                                                                                    [XVI], [XVII],                                                                                                                                                                                                        WILLIAMS JERALD D &                                                                                                                                                            160 Main St
                                                                                                                                                                                                                     0.84              $92.27           $207,146.15                                                                                                          Owner as of 6/9/15              City or County Tax Records        12/8/2003           Current Owner                                                                                                                                $0.00
                                                                                                                    [XX], , [XXIII],                                                                                                                                                                                                      SMITH MARY ANNE                                                                                                                                                                 Biloxi, MS 39530
                                                                                                                    [XXXI]
 2510    Ex 10/79   Smith, Richard                   8001 Sherwood Circle          Labelle          FL      33935   [II(C)], [III],           10/7/2009    Yes         1,739      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          ANTUNEZ MENDOZA MICHEL Previous Owner, Did Not Own
                                                                                                                    [XIII], [XV],                                                  Assessor's                        0.80              $87.88           $152,823.32                                                                                                                                          City or County Tax Records        10/4/2006              1/13/2014                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                          & IRENE DELEON         Property on 6/9/15
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2511    RP         Smith, Scott and Wendy           3840 Sorrel Vine Drive        Wesley Chapel    FL      33544   [II], [VII], [XV],        3/15/2010    Yes         3,832     Builder's Floor    Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                     Plan                                                                                                                                                NEAL MICHAEL ROBERT &              Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                     0.83              $91.18           $349,401.76                                                                                                                                          Tax Records + Title/Deed          10/5/2006              9/30/2011                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                          WENDY ELIZABETH                    Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2512    Ex 10/79   Smith, Tarika                    3005 Oak Drive                Violet           LA      70092   [II], [VII], [XV],        3/15/2010    Yes         1,640        Inspection      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                          ENCLARDE, TARIKA
                                                                                                                    [XVI], [XVII]                                                 Showing Floor                      0.86              $94.47           $154,930.80                                                                                                          Owner as of 6/9/15              City or County Tax Records         8/1/2013           Current Owner                                         855 Baronne Street                                   m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          TRENELL
                                                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                          New Orleans, 70113
 2513    Ex 10/79   Smith, Wanda and Samuel          4019 Appaloosa Court          Suffolk          VA      23434   [IX], [XIII],             5/5/2011     Yes         3,326       Property Tax     Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                    [XV], [XVI],                                                    Assessor's                                                                                                                                            SMITH SAMUEL H JR &                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $343,442.76                                                                                                          Owner as of 6/9/15              City or County Tax Records        7/18/2006           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                            WANDA R                                                                                                                                         Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2514    Ex 10/79   Smith-Jacob, Shakira Pitman,     12421 SW 50 Court #337        Miramar          FL      33027   [II], [XV], [XVI],        3/15/2010    Yes         1,481       Property Tax     Yes                                                                  Taihe              Photo              14             H                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Kendrick                                                                                        [XVII]                                                          Assessor's                                                                                                                                                                                                                                                                                                                           Baron & Budd
                                                                                                                                                                                                                     0.81              $88.98           $131,779.38                                                                       SMITH,SHARIKA                      Owner as of 6/9/15              Tax Records + Title/Deed          4/27/2009           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2515    Ex 10/79   Snyder, Sharon F. and Gwinn,     1344 Gaudet Drive             Marrero          LA      70072   [IX], [XV],               5/5/2011     Yes         2,701        Appraisal       Yes                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                    Elizabeth R.                                                                                    [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                                                           2800 Energy Centre
                                                                                                                                                                                                                     0.86              $94.47           $255,163.47                                                                       SNYDER,SHARON F                    Owner as of 6/9/15              Mortgage Documents                                    Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                         1100 Poydras Street
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70163
 2516    Ex 10/79   Solana, Marlen                   507 Lincoln Avenue            Lehigh Acres     FL      33972   [II(B)], [VII],           12/6/2010    Yes         1,990      Builder's Floor   Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                       Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $174,881.20                                                                       CAMINA GUILLERMO DANIEL                                            City or County Tax Records        7/13/2006              6/3/2015                                                                                                                                  $0.00
                                                                                                                    [XVII]                                                                                                                                                                                                                                                   Property on 6/9/15                                                                                           Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2517    Ex 10/79   Somerhalder, Bob                 218 Surf Street               St. Louis        MS      39576   [III], [VII], [XV],       10/7/2009    Yes         1,066          Other         Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Hawkins Gibson                 Edward Gibson, Esq.                 (228) 467-4225   egibson@hgattorneys.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Unknown
                                                                                                                    [XVI], [XVII]                                                                                    0.84              $92.27            $98,359.82                                                                       GAUDET ERICA ETVIR                                                 Tax Records + Title/Deed           4/3/2008                                                                 153 Main St                                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Purchase Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Bay St Louis, MS 39520
 2518    Ex 10/79   Somma, Joseph                    4739 Quarter Staff Road       Birmingham       AL      35223   [II(C)], [III],           10/7/2009    Yes         1784       Property Tax      Yes                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.84              $92.27           $164,609.68                                                                       SOMMA JOSEPH CHARLES               Owner as of 6/9/15              City or County Tax Records         2/1/2004           Current Owner                                         900 W. Morgan Street                                                                   $0.00
                                                                                                                    [XVII], [XXI]                                                Document with                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2519    Ex 10/79   Somohano, Martha                 388 NE 34th Avenue            Homestead        FL      33033   [VII], [XV],              1/14/2011    Yes         1,762      Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           VM Diaz and Partners           Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.81              $88.98           $156,782.76                                                                       MARTHA F SOMOHANO                  Owner as of 6/9/15              City or County Tax Records        9/20/2006           Current Owner                                         1900 Washington Ave., Suite 402                                                        $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Miami Beach, FL 33139
 2520    Ex 10/79   Sonnie, Eric and Andrea          10864 Tiberio Drive           Ft. Myers        FL      33913   [II], [VII], [IX],        3/15/2010    Yes         1,823     Builder's Floor    Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XV], [XVI],                                                      Plan                           0.80              $87.88           $160,205.24                                                                       SONNIE ERIC V + ANDREA             Owner as of 6/9/15              City or County Tax Records        3/14/2007           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                    [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Fort Myers, FL 33907
 2521    Ex 10/79   Sotillo, Maurice and Donna       6901 S. Flagler Drive         W.Palm Beach     FL      33405   [II(B)], [XV],            12/6/2010    Yes         3,036      Property Tax      Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                          SOTILLO DONNA M
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                            Manufacturer 2                                                                                                                                                                                                   Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08           $273,482.88                                                                       SOTILLO MAURICE M &                Owner as of 6/9/15              City or County Tax Records         7/3/1997           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                            Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2522    Ex 10/79   Sotomayor, Josefa and Alvaro     8069 NW 108 Place             Doral            FL      33178   [IX], [XV],               5/5/2011     Yes         1,901      Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                          JOSEFA SOTOMAYOR &
                    Alcivar                                                                                         [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81              $88.98           $169,150.98                                                                       ALVARO A ALCIVAR &W                Owner as of 6/9/15              Tax Records + Title/Deed         10/11/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                          ETAL
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2523    Ex 10/79   Sparkman, David and Elizabeth    3014 Via Parma Street         Plant City       FL      33566   [IX], [XV],               5/5/2011     Yes         1,904     Builder's Floor    Yes                                                                  C&K                Photo              34             B           SPARKMAN DAVID E                                                                                                                                Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                     Plan                                                                                                                                                TRUSTEE                                                                                                                                         Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.83              $91.18           $173,606.72                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          4/11/2008           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                          SPARKMAN ELIZABETH F                                                                                                                            Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                          TRUSTEE                                                                                                                                                                        Dallas, TX 75219
 2524    Ex 10/79   Spencer, Edna                    3806 N. 24th Street           Tampa            FL      33610   [II(C)], [III], [IX],     10/7/2009    Yes         1,606      Property Tax      Yes                                                                  Taihe              Photo              15             I                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.83              $91.18           $146,435.08                                                                       SPENCER EDNA                       Owner as of 6/9/15              City or County Tax Records        2/21/2007           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2525    Ex 10/79   Spencer, Thomas and Virginia     2481 Lakewood Manor Drive     Athens           GA      30606   [II(A)], [XIII],          9/16/2010    Yes         4,430      Property Tax      Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                             THOMAS R. & SPENCER                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81              $88.98           $394,181.40                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/16/2008           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII], [XXII]                                               Document with                                                                                                                                            VIRGINIA M. SPENCER                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2526    Ex 10/79   Sperier Mary Rose                2216 Plaza Drive              Chalmette        LA      70043   [III(A)], [IX],           9/16/2010    Yes         1,479      Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                                                                                                                                             SPERIER, MARY ROSE                                                                                                                              Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.86              $94.47           $139,721.13                                                                                                          Owner as of 6/9/15              City or County Tax Records       12/12/2003           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                            LICCIARDI 1/2 ETALS                                                                                                                             Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2527    Ex 10/79   Spiga, Saturnino and Susan       8617 Via Rapallo Drive #203   Estero           FL      33928   [II], [II(B)], [VII],     3/15/2010    Yes         1,732     Builder's Floor    Yes                                                                  IMT                Photo              33             F                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XV], [XVI],                                                      Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $152,208.16                                                                       SPIGA SATURNINO + SUSAN L Owner as of 6/9/15                       Tax Records + Title/Deed           1/5/2007           Current Owner                                                                                                                                $0.00
                                                                                                                    [XVII]                                                                                                                                                                                                                                                                                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2528    Ex 10/79   Spires, Scott                    35 Janie Circle, Apts 9-24    Nahunta          GA      31553   [XIII], [XV],             7/5/2011     Yes        14,336     Builder's Floor    Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                          SCOTT SPIRES
                                                                                                                    [XVI], [XVII],                                                    Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82              $90.08          $1,291,386.88                                                                      C/O SPIRES PROFESSIONAL            Owner as of 6/9/15              City or County Tax Records        10/2/2002           Current Owner                                                                                                                                $0.00
                                                                                                                    [XXI]                                                                                                                                                                                                                                                                                                                                                                 Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                          FLOORS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2529    RP         Sponsel, David and Julia         3332 Grassglen Place          Wesley Chapel    FL      33544   [II], [XIII], [XV],       3/15/2010    Yes         3,474        Appraisal       Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                Showing Floor                                                                                                                                            MARTINEZ ANA B &                   Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                     0.83              $91.18           $316,759.32                                                                                                                                          Tax Records + Title/Deed          7/25/2008              7/29/2014                                                                                                                                 $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                          SALVADOR                           Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2530    Ex 10/79   Sposa, Jacqueline                10639 Camarelle Circle        Ft. Myers        FL      33913   [XV], [XVI],              7/5/2011     Yes         1,275        Appraisal       Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          LINDA S VEIT REV                   Owner as of 6/9/15, No Longer
                                                                                                                    [XVII]                                                       Showing Floor                       0.80              $87.88           $112,047.00                                                                                                                                          City or County Tax Records        6/20/2006              3/7/2016                                           12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                          INTERVIVOS TR                      Owns Property
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 2531    Ex 10/79   St. Germain, Keith               3213 Angelique Drive          Violet           LA      70092   [III(A)], [VII],          9/16/2010    Yes         1,856      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XV], [XVI],                                                    Assessor's                       0.86              $94.47           $175,336.32                                                                       ST. GERMAIN, KEITH M.              Owner as of 6/9/15              City or County Tax Records         3/5/2001           Current Owner                                         425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
 2532    RP         St. Julien, Lynda                10360 SW Stephanie Way Unit Port St. Lucie     FL      34987   [XV], [XVI],              7/5/2011     Yes           0             N/A          N/A                                                                  Taishan            Photo              2              J                                                                                                                                                           Billing, Cochran, Lyles, Mauro Manuel Comras, Esq.                 (561) 659-5970   MRC@bclmr.com                                     See Promenade at
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Did Not Own
                                                     205                                                            [XVII]                                                                                           0.82              $90.08              $0.00                                                                          NATALIA RESTREPO                                                   City or County Tax Records        5/22/2006             11/13/2012           & Ramsey, P.A.                 1601 Forum Place, Suite 400                                                            $0.00           Tradition
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         West Palm Beach, FL 33401
 2533    Ex 10/79   St. Martin Lion’s Club c/o Don   15900 La Moyne Blvd.          Biloxi           MS      39532   [II], [VII], [XIII],      3/15/2010    Yes         2,400      Homeowner's       Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Taylor Martino Zarzaur, PC     Edward P. Rowan, Esq.               (251) 433-3131   Ed@TaylorMartino.com
                    Richardson                                                                                      [XV], [XVI],                                                 Insurance Form                                                                                                                                                                                                                                                                                                                          51 Saint Joseph Street
                                                                                                                                                                                                                     0.84              $92.27           $221,448.00                                                                       UNKNOWN                            Records Not Available                                                                                                                                                                                                              $0.00
                                                                                                                    [XVII], [XXIII]                                                with Square                                                                                                                                                                                                                                                                                                                           Post Office Box 894
                                                                                                                                                                                   Footage and                                                                                                                                                                                                                                                                                                                           Mobile, AL 36601-0894
 2534    Ex 10/79   Stamper, Kevin and Si-Jong       430 Breckenridge Circle, SE   Palm Bay         FL      32909   [XIII], [XV],             7/5/2011     Yes         2,414       Property Tax     Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                          STAMPER, KEVIN L;
                                                                                                                    [XVI], [XVII]                                                   Assessor's                       0.84              $92.27           $222,739.78                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed           3/2/2007           Current Owner                                         12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                          STAMPER, SI JONG
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2535    Ex 10/79   Stanich, Dorothy                 1912 Duels                    New Orleans      LA      70119   [II], [XV], [XVI],        3/15/2010    Yes         1,549       Property Tax     Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVII]                                                          Assessor's                                                                                                                                            LUCAS PAULO H                      Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                     0.86              $94.47           $146,334.03                                                                                                                                          City or County Tax Records         8/5/2008             12/13/2013                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                            CHURA ANDREA                       Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2536    RP         Starnes, David                   4095 Dunbarton Circle         Willamsburg      VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         2,475       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                          BAILEY, CHRISTIAN D &              Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                          Assessor's                       0.96              $105.46          $261,013.50                         Property Assessment                                                                                              City or County Tax Records        5/11/2006              6/16/2014           Serpe                          580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                          JENNIFER K                         Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
 2537    RP         Staton, Lori Ann                 1216 Magnolia Alley           Mandeville       LA      70471   [IX], [XV],               5/5/2011     Yes         1,652      Builder's Floor   Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVI], [XVII]                                                      Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                                                 425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                     0.79              $86.78           $143,360.56                                                                       ANDRES, SCOTT D ETUX                                               Tax Records + Title/Deed          6/20/2007              10/1/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                             Property on 6/9/15                                                                                                                          LaPlace, LA 70064

 2538    RP         Staub, Dana and Marcus           1208 Magnolia Alley           Mandeville       LA      70471   [III], [VII], [XV],       10/7/2009    Yes         1,663     Builder's Floor    Yes                                                                  Taihe              Photo              15             I                                                                                                                                                           Becnel Law Firm, LLC           Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                             Previous Owner, Unknown
                                                                                                                    [XVI], [XVII]                                                     Plan                           0.79              $86.78           $144,315.14                                                                       DIKET, JOHNATHAN TULL                                              Tax Records + Title/Deed          8/21/2007                                                                 425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                             Purchase Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 70 of 82



Claimant Source     Claimant Name                    Affected Property Address       City            State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                         Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                  Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided      Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                  Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
 2539    Ex 10/79   Steed, Max                       2580 Keystone Lake Drive        Cape Coral      FL      33993   [III], [IX], [XV],        10/7/2009    Yes         1,630      Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                  (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                            M STEED FAMILY
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.80                $87.88          $143,244.40                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/21/2008           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                            $0.00
                                                                                                                                                                                                                                                                                                                                            PARTNERSHIP
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          300
 2540    Ex 10/79   Steele Family Enterprises, LLC   6736 Magnolia Point Drive       Land O'Lakes    FL      34637   [IX], [XV],               5/5/2011     Yes         2,762     Builder's Floor    Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                      (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                     Plan                                                                                                                                                 STEELE FAMILY                                                                                                                                   Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.83                $91.18          $251,839.16                                                                                                           Owner as of 6/9/15              City or County Tax Records        3/14/2006           Current Owner                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                            ENTERPRISES LLC                                                                                                                                 Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2541    Ex 10/79   Steele, Wanda E.                 7821 Mullett Street             New Orleans     LA      70126   [III], [IX], [XV],        10/7/2009    Yes         2,370          Other         Yes                                                                  Taihe              Photo               17, 20         I                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                     (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                     [XVI], [XVII]                                                                                    0.86              $94.47           $223,893.90                                                                        STEELE WANDA E                     Owner as of 6/9/15              City or County Tax Records        5/11/2007           Current Owner                                       4265 San Felipe, Suite 1000                             om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Houston, TX 77027
 2542    Ex 10/79   Steffy, Sandra and Meyers,       26121 Highway 40                Bush            LA      70431   [III(A)], [VII],          9/16/2010    Yes         2,249        Appraisal       Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.         (985) 536-1186   schristina@becnellaw.com
                    Peggy                                                                                            [XV], [XVI],                                                 Showing Floor                       0.79              $86.78           $195,168.22                                                                        STEFFY, SANDRA                     Owner as of 6/9/15              City or County Tax Records          2012              Current Owner                                       425 W. Airline Hwy, Suite B                                                                $0.00
                                                                                                                     [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 2543    Ex 10/79   Stein, Amy                       19269 Stone Hedge Drive         Tampa           FL      33647   [II(B)], [IX],            12/6/2010    Yes         1,278       Property Tax     Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Parker Waichman              Jerrold Parker, Esq.                   (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                    Assessor's                       0.83              $91.18           $116,528.04                                                                        PASCALI KIMBERLEY                                                  Tax Records + Title/Deed           2/9/2007              9/20/2014                                        27300 Riverview Center Blvd                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2544    Ex 10/79   Steiner, Stephanie               8665 Cobblestone Point Circle   Boynton Beach   FL      33472   [II], [XV], [XVI],        3/15/2010    Yes         4,134       Property Tax     Yes                                                                  Taishan/ Dragon    Photo               1, 26          A, H                                                                                                                                                        Baron & Budd, P.C.           Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVII]                                                          Assessor's                                                                           Brand                                                                                                                                                                                                                                          Baron & Budd
                                                                                                                                                                                                                      0.82              $90.08           $372,390.72                                                                        STEINER STEPHANIE                  Owner as of 6/9/15              City or County Tax Records       10/27/2006           Current Owner                                                                                                                                  $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2545    Ex 10/79   Sterling Properties, LLC         3200 Hamilton Road              Opelika         AL      36801   [XIII], [XV],             7/5/2011     Yes         2747        Property Tax     Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                      (205) 533-9500   jimmy@doylefirm.com                                *VA Settlement gross
                                                                                                                                                                                                                                                                                                                                            GRABHAM GEORGE WILLIAM Previous Owner, Did Not Own
                    Meadows, Rainer                                                                                  [XVI], [XVII]                                                   Assessor's                       0.84              $92.27           $253,465.69                                                                                                                                           City or County Tax Records                               8/31/2006                                        2100 Southbridge Parkway, Suite                                                            $0.00           award paid to George
                                                                                                                                                                                                                                                                                                                                            & LINDA VIOLET         Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          650                                                                                                        and Linda Grabham
 2546    Ex 10/79   Sterling, Elvin, Jr.             9921 Cane Bayou Road            Port Allen      LA      70767   [II(A)], [VII],           9/16/2010    Yes         7,100        Appraisal       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.         (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                            STERLING ELVIN ALBRITTON
                                                                                                                     [XV], [XVI],                                                 Showing Floor                       0.86              $94.47           $670,737.00                                                                                                 Owner as of 6/9/15                        City or County Tax Records        7/12/2006           Current Owner                                       425 W. Airline Hwy, Suite B                                                                $0.00
                                                                                                                                                                                                                                                                                                                                            JR
                                                                                                                     [XVII]                                                       Plan and Square                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 2547    Ex 10/79   Stevens, Gregory                 14151 Citrus Crest Circle       Tampa           FL      33625   [VII], [IX], [XIII],      1/14/2011    Yes         1,937       Property Tax     Yes                                                                  Taihe              Photo               17, 20         I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                      (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                    Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.83              $91.18           $176,615.66                                                                        BENTLEY JOHN B                                                     Tax Records + Title/Deed           1/4/2007              4/30/2015                                                                                                                                   $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2548    RP         Stewart, Chester                 6848 Long Leaf Drive            Parkland        FL      33076   [II], [IX], [XV],         3/15/2010    Yes         4,955       Property Tax     Yes                                                                  C&K                Photo               34             B                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                     (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                            CHEREMETA,VLADISLAV &              Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                   Assessor's                       0.81              $88.98           $440,895.90                                                                                                                                           Tax Records + Title/Deed          2/14/2008              10/5/2010                                        12 SE 7th St #801                                                                          $0.00
                                                                                                                                                                                                                                                                                                                                            NATALIA                            Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 2549    Ex 10/79   Stewart, Joseph and Sandra       4338 Wildstar Circle            Wesley Chapel   FL      33544   [II(B)], [IX],            12/6/2010    Yes         2,121       Property Tax     Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                   (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XV], [XVI],                                                    Assessor's                                                                                                                                                                                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                                                                                      0.83              $91.18           $193,392.78                                                                        STEWART JOSEPH & SANDRA Owner as of 6/9/15                         City or County Tax Records       10/23/2007           Current Owner                                                                                                                                  $0.00
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                  Square Footage
 2550    Ex 10/79   Stewart, Stephen and Danielle    6415 McRae Place                Vero Beach      FL      32967   [XV], [XVI],              7/5/2011     Yes         2,515      Builder's Floor   Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                             Plan                                                                                                                                                                        Owner as of 6/9/15, No Longer                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.84              $92.27           $232,059.05                                                                        ROBERDS THOMAS CARLISLE                                            Tax Records + Title/Deed          9/28/2006             11/19/2015                                                                                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                    Owns Property                                                                                                           Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2551    Ex 10/79   Stock, Wayne C.                  10604 Broadland Pass            Tohonotosassa   FL      33592   [XV], [XVI],              7/5/2011     Yes         4,638       Benchmark        Yes                                                                  Taihe              Photo               17, 19, 20     I                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                          Inspection                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.83              $91.18           $422,892.84                                                                        STOCK WAYNE C                      Owner as of 6/9/15              City or County Tax Records         1/6/2005           Current Owner                                                                                                                                  $0.00
                                                                                                                                                                                   Report Using                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                                  Zillow.com for                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2552    Ex 10/79   Stone, Thomas and Lauren         2316 Gallant                    Chalmette       LA      70043   [III], [IX], [XV],        10/7/2009    Yes         2,013      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Becnel Law Firm, LLC            Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                   Assessor's                       0.86              $94.47           $190,168.11                                                                        STONE, THOMAS MARK                 Owner as of 6/9/15              Title/Deed                        10/5/2006           Current Owner                                          425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
 2553    Ex 10/79   H. Harris Investments, Inc.      4489 Governor Street            Pace            FL      32571   [XIII], [XV],             7/5/2011     Yes          980       Property Tax      Yes                                                                  Taihe              Affidavit           N/A            I                                                                                                                                                           Don Barrett P.A. and Lovelace   Don Barrett                         (662) 380-5018   DBarrett@barrettlawgroup.
                    (Stonecypher, Dannie and                                                                         [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Law Firm                        404 Court Square                                     com
                                                                                                                                                                                                                      0.85              $93.37            $91,502.60                                                                        H HARRIS INVESTMENTS INC                                           City or County Tax Records        10/1/2009             12/12/2011                                                                                                                                   $0.00
                    Nancy)                                                                                                                                                        Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                           PO Box 927
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                            Lexington, MS 39095
 2554    Ex 10/79   Stout, Michael and Kristina      2308 Legend Drive               Meraux          LA      70075   [III], [VII], [XV],       10/7/2009    Yes         1,579        Appraisal       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Becnel Law Firm/ Morris Bart    Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                     [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                             LLC                             Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86              $94.47           $149,168.13                                                                        STOUT, MICHAEL                     Owner as of 6/9/15              City or County Tax Records        8/10/2012           Current Owner                                                                                                                                  $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                           425 W. Airline Hwy, Suite B
                                                                                                                                                                                      Footage                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
 2555    Ex 10/79   Strehle, Etta and Jones, Bruce   542 Bimini Bay Boulevard        Apollo Beach    FL      33572   [IX], [XV],               5/5/2011     Yes         2,879      Property Tax      Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            JONES, BRUCE TRUSTEE;
                                                                                                                     [XVI], [XVII]                                                   Assessor's                       0.83              $91.18           $262,507.22                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          4/25/2005           Current Owner                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                            STREHLE, ETTA M TRUSTEE
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             Bonita Springs, FL 34134
 2556    RP         Strelec, Betty A.                5187 Kumquat Avenue             North Port      FL      34286   [IX], [XV],               5/5/2011     Yes         2,268      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Colson Hicks Eidson             Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                            KOZELKO LYUBOV &                   Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                   Assessor's                       0.83              $91.18           $206,796.24                                                                                                                                           City or County Tax Records        9/27/2005              3/21/2011                                           255 Alhambra Circle, PH                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                            KOZELKO ALEKSANDR                  Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             Coral Gables, FL 33134
 2557    Ex 10/79   Strickland, Melody L.            18 County Road 315              Corinth         MS      38834   [XV], [XVI],              7/5/2011     Yes         1,602      Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Gentle, Turner & Sexton         K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com
                                                                                                                     [XVII], [XXIII]                                                 Assessor's                       0.75              $82.39           $131,988.78                                                                        STRICKLAND MELODY L                Owner as of 6/9/15              Tax Records + Title/Deed           8/5/2011           Current Owner                                          501 Riverchase Parkway East,                                                            $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             Suite 100
 2558    Ex 10/79   Stringer, Allen and June         306 Cirpriani Way               North Venice    FL      34275   [XIII], [XV],             7/5/2011     Yes         1,889      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell                Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                            STRINGER ALLEN E
                                                                                                                     [XVI], [XVII]                                                   Assessor's                       0.83              $91.18           $172,239.02                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          6/23/2006           Current Owner                                          12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                            STRINGER JUNE C
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             Fort Lauderdale, FL 33301-3434
 2559    RP         Sturm, Ann                       14055 Dan Park Loop             Ft. Myers       FL      33912   [XV], [XVI],              7/5/2011     Yes         1,830      Property Tax      Yes                                                                  ProWall            Photo               44             G                                                                                                                                                           Morgan & Morgan                 Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                          Assessor's                       0.80              $87.88           $160,820.40                                                                        CURRY CHERYL A                                                     Tax Records + Title/Deed          8/31/2007              2/1/2012                                            12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                               Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                             Fort Myers, FL 33907
 2560    Ex 10/79   Suarez, Eduardo and Mercedes     14113 Stilton Street            Tampa           FL      33626   [II(B)], [II(C)],         12/6/2010    Yes         2,627      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Levin Papantonio                Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                            RAGUSA MARK J                      Owner as of 6/9/15, No Longer
                                                                                                                     [XV], [XVI],                                                    Assessor's                       0.83              $91.18           $239,529.86                                                                                                                                           Tax Records + Title/Deed          3/27/2008              4/7/2016                                            316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                            RAGUSA ALISA A                     Owns Property
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                             Pensacola, FL 32502
 2561    Ex 10/79   Sullivan, William and Sheila     12623 20th Street East          Parrish         FL      34219   [II(C)], [III], [IX],     10/7/2009    Yes         2,826      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman                 Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                            SULLIVAN, WILLIAM
                                                                                                                     [XV], [XVI],                                                    Assessor's                       0.83              $91.18           $257,674.68                                                                                                           Owner as of 6/9/15              City or County Tax Records         3/5/2009           Current Owner                                          27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                            SULLIVAN, SHEILA
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                             Bonita Springs, FL 34134
 2562    Ex 10/79   Summerall, Charles and Sharon    2060 Deerwood Road              Seffner         FL      33584   [II(C)], [IX],            1/24/2011    Yes         1,630      Property Tax      Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Morgan & Morgan                 Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                            SUMMERALL CHARLES D SR
                                                                                                                     [XV], [XVI],                                                    Assessor's                       0.83              $91.18           $148,623.40                                                                                                           Owner as of 6/9/15              City or County Tax Records         1/6/1993           Current Owner                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                            SUMMERALL SHARON
                                                                                                                     [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                             Fort Myers, FL 33907
 2563    Add.       Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise             FL      33322   [XV], [XVI],              7/5/2011     Yes          600       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              76-218 - Moore, V. BLDG 76.                                        [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $53,388.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                  APT 218                                                                                                                         Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2564    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 101 (Parson)                                              [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2565    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     No           850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 102 (Van Kolem)                                           [XVII]                                                          Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2566    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 104 (Marques,H)                                           [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2567    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          640       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 106 (Llanio)                                              [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $56,947.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2568    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          640       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 108 (Cyrus)                                               [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $56,947.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2569    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          640       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 205 (Schapson)                                            [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $56,947.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2570    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          640       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 206 (Parro)                                               [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $56,947.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2571    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     No           850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 209 (Sabina)                                              [XVII]                                                          Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2572    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     No           850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 210 (Santiago)                                            [XVII]                                                          Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop.                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2573    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 302 (Bogen)                                               [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
 2574    Add.       Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise            FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson, Hicks, Eidson Levin,    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 1              69, apt. 304 (Williams)                                            [XVII], [XX]                                                    Assessor's                                                                                              association attorney                                                                                                                                                                           Fishbein, Sedran & Berman       Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.81              $88.98            $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                   $0.00
         Prop. &                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of     255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe                Coral Gables, FL 33134
                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 71 of 82



Claimant Source    Claimant Name                  Affected Property Address      City      State   Zip     Omni(s)        Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                   Counsel                        Counsel Address           Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                             2017 RS Means
Identifier                                                                                                                 Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                       Sell Date if Applicable
                                                                                                                                                                                           Residential Location                                                                                                                Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                Prior Settlement
                                                                                                                               Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                      or Current Owner Per
                                                                                                                                                                                                 Factor                                                                                                                  May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                             Brown Greer
                                                                                                                                                                                                   [A]
                                                                                                                                                                  Sharefile
 2575    Add.      Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          640       Property Tax     Yes                                                                   Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              69, apt. 305 (Lucarello)                                  [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                  0.81                $88.98           $56,947.20                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2576    Add.      Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          640       Property Tax     Yes                                                                   Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              69, apt. 306 (Potter Johnson)                             [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                  0.81                $88.98           $56,947.20                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2577    Add.      Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          640       Property Tax     Yes                                                                   Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              69, apt. 308 (Farid)                                      [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                  0.81                $88.98           $56,947.20                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2578    Add.      Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              69, apt. 309 (Barnwell)                                   [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2579    Add.      Sunrise Lakes Condominium Apt 2721 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              69, apt. 310 (Benitez-Reyes)                              [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2580    Add.      Sunrise Lakes Condominium Apt 2800 N Pine Island Road -       Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              Bldg. 62, apt. 309 (Messina                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 Nelly)                                                                                                        Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2581    Add.      Sunrise Lakes Condominium Apt 2801 N Pine Island Road - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              72 apt 102                                                [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2582    Add.      Sunrise Lakes Condominium Apt 2801 N Pine Island Road - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              72 apt 104 (Dustman)                                      [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2583    Add.      Sunrise Lakes Condominium Apt 2801 N Pine Island Road - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              72 apt 201 (Sanchez)                                      [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2584    Add.      Sunrise Lakes Condominium Apt 2801 N Pine Island Road - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              72 apt 202 (Levine)                                       [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2585    Add.      Sunrise Lakes Condominium Apt 2801 N Pine Island Road - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              72 apt 303 (Bronstein)                                    [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2586    Add.      Sunrise Lakes Condominium Apt 2811 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              71, apt. 112 Thomas                                       [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2587    Add.      Sunrise Lakes Condominium Apt 2811 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              71, apt. 311 Acosta                                       [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2588    Add.      Sunrise Lakes Condominium Apt 2811 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              71, apt. 312 Feldman                                      [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2589    Add.      Sunrise Lakes Condominium Apt 2911 N Pine Island Road - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              66 Apt 302                                                [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2590    Add.      Sunrise Lakes Condominium Apt 2911 N Pine Island Road - Bldg. Sunrise   FL      33322   [XV], [XVI],     7/5/2011     No           850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              66 apt. 103 Kelman                                        [XVII]                                                Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop.                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2591    Add.      Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          600       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              76-201 - Quint, Irving & Yvette.                          [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $53,388.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 B76-Unit 201                                                                                                  Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2592    Add.      Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          600       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              76-202 - McFarlane, Earle.                                [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $53,388.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 BLDG 76. Unit 202                                                                                             Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2593    Add.      Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          600       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              76-203 - MCClean, Henry.                                  [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $53,388.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 BLDG, 76. APT, 203                                                                                            Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2594    Add.      Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          600       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              76-207 - Morales. BLDG, 76.                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $53,388.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 APT. 207                                                                                                      Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2595    Add.      Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          600       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              76-208 - Delcolle, P. BLDG.76,                            [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $53,388.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 APT. 208                                                                                                      Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2596    Add.      Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          600       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              76-210 - Goldstein, F. BLDG                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $53,388.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 76.APT 210                                                                                                    Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2597    Add.      Sunrise Lakes Condominium Apt 8851 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          600       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              76-211 - Rodriguez (Figueroa).                            [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $53,388.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 BLDG 76. APT 211                                                                                              Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2598    Add.      Sunrise Lakes Condominium Apt 8861 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       No                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              83-311 - Herman. BLDG 83.                                 [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 APT 311                                                                                                       Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2599    Add.      Sunrise Lakes Condominium Apt 8881 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          640       Property Tax       No                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              75-207                                                    [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $56,947.20                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2600    Add.      Sunrise Lakes Condominium Apt 8881 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          640       Property Tax       No                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              75-208 - Friedman, Lola.                                  [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $56,947.20                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 BLDG. 75, APT. 208                                                                                            Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2601    Add.      Sunrise Lakes Condominium Apt 8881 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          640       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              75-308 - Nott, Leete. BLDG.                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $56,947.20                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 75, APT. 308                                                                                                  Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2602    Add.      Sunrise Lakes Condominium Apt 9681 Sunrise Lakes Blvd - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes         1,030      Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              136 Apt 307                                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $91,649.40                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2603    Add.      Sunrise Lakes Condominium Apt 9681 Sunrise Lakes Blvd - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes         1,030      Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              136 Apt 207                                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $91,649.40                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2604    Add.      Sunrise Lakes Condominium Apt 9681 Sunrise Lakes Blvd - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          976       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              136 Apt 310                                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $86,844.48                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2605    Add.      Sunrise Lakes Condominium Apt 9900 Sunrise Lakes Blvd - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              153 Apt 311                                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
 2606    Add.      Sunrise Lakes Condominium Apt 9900 Sunrise Lakes Blvd - Bldg Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                         Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              153 Apt 312                                               [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                         Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                           Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                           Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe               Coral Gables, FL 33134
                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 72 of 82



Claimant Source    Claimant Name                  Affected Property Address      City      State   Zip     Omni(s)        Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                    Counsel                        Counsel Address           Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                             2017 RS Means
Identifier                                                                                                                 Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                        Sell Date if Applicable
                                                                                                                                                                                           Residential Location                                                                                                                 Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                Prior Settlement
                                                                                                                               Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                       or Current Owner Per
                                                                                                                                                                                                 Factor                                                                                                                   May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                              Brown Greer
                                                                                                                                                                                                   [A]
                                                                                                                                                                  Sharefile
 2607    Add.      Sunrise Lakes Condominium Apt Bldg. 68 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax     Yes                                                                   Taihe              Photo               14, 18, 21     H, I                                                                                                                                                       Colson Hicks Eidson            Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              8841 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                                                            255 Alhambra Circle, PH
                                                                                                                                                                                                  0.81                $88.98           $75,633.00                                                                        FATAL,DUPUY & NADINE               No Record of Ownership         City or County Tax Records                                                                                                                                                         $0.00
         Prop. &                                 303                                                                                                           Document with                                                                                                                                                                                                                                                                                                                           Coral Gables, FL 33134
         Omni XX                                                                                                                                               Square Footage
 2608    Add.      Sunrise Lakes Condominium Apt Bldg. 69 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax     Yes                                                                   Taihe              Photo               16, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2721 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                  0.81                $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 201                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2609    Add.      Sunrise Lakes Condominium Apt Bldg. 69 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax     Yes                                                                   Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2721 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                  0.81                $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 202                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2610    Add.      Sunrise Lakes Condominium Apt Bldg. 69 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               16, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2721 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 203                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2611    Add.      Sunrise Lakes Condominium Apt Bldg. 69 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2721 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 301                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2612    Add.      Sunrise Lakes Condominium Apt Bldg. 69 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               16, 18         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2721 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 303                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2613    Add.      Sunrise Lakes Condominium Apt Bldg. 71 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2811 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 210                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2614    Add.      Sunrise Lakes Condominium Apt Bldg. 71 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2811 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 310                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2615    Add.      Sunrise Lakes Condominium Apt Bldg. 72 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               18, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2801 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 101                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2616    Add.      Sunrise Lakes Condominium Apt Bldg. 72 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson Hicks Eidson            Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2801 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                        0.81               $88.98           $75,633.00                         association attorney                           RUBENSTEIN,IRWIN & DEBRA No Record of Ownership                   City or County Tax Records                                                                                  255 Alhambra Circle, PH                                                $0.00
         Prop. &                                 203                                                                                                           Document with                                                                                                                                                                                                                                                                                                                           Coral Gables, FL 33134
 2617    Add.      Sunrise Lakes Condominium Apt Bldg. 72 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               18, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2801 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 301                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2618    Add.      Sunrise Lakes Condominium Apt Bldg. 72 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               18, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2801 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 302                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2619    Add.      Sunrise Lakes Condominium Apt Bldg. 72 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              2801 Pine Island Road N., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 304                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2620    Add.      Sunrise Lakes Condominium Apt Bldg. 75 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          640       Property Tax       Yes                                                                 Taihe              Photo               18, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 1              8881 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $56,947.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 107                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2621    Add.      Sunrise Lakes Condominium Apt Bldg. 76 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       No                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson Hicks Eidson            Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
         Taishan   Phase III, Inc 1              8851 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                        0.81               $88.98           $52,498.20                         association attorney                           BUCCINI,OLGA                                                      City or County Tax Records       11/22/2010             10/18/2013                                          255 Alhambra Circle, PH                                                $0.00
                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
         Prop. &                                 205                                                                                                           Document with                                                                                                                                                                                                                                                                                                                           Coral Gables, FL 33134
 2622    Add.      Sunrise Lakes Condominium Apt 2761 Pine - Unit 92-107 -      Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          750       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              Grumer. BLDG 92. APT 107                                  [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2623    Add.      Sunrise Lakes Condominium Apt 2761 Pine - Unit 92-310 -    Sunrise      FL      33322   [XV], [XVI],     7/5/2011     Yes          750       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              Corbeil-Lorange. BLDG 92 Apt                              [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 310                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2624    Add.      Sunrise Lakes Condominium Apt 2761 Pine Island Rd. North,     Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          750       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              Bldg 92, Unit 209                                         [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2625    Add.      Sunrise Lakes Condominium Apt 2761 Pine Island Road N, Unit   Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          750       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              92-208                                                    [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                                                                                                                               Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2626    Add.      Sunrise Lakes Condominium Apt 9001 Sunrise Lakes - 88-312 -   Sunrise   FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              Feldman, M BLDG. 88, APT.                                 [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 312                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2627    Add.      Sunrise Lakes Condominium Apt 9021 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              89-102 - Hirsch BLDG. 89,                                 [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 APT. 102                                                                                                      Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2628    Add.      Sunrise Lakes Condominium Apt 9021 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              89-105 - Vecchio BLDG, 89                                 [XVII], [XX]                                          Assessor's                                                                                               association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 APT. 105                                                                                                      Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2629    Add.      Sunrise Lakes Condominium Apt 9041 Sunrise Lakes Blvd - Unit Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          620          Other           Yes                                                                 Taishan            Affidavit from condo N/A           J                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              90-309 - McCaffey, Brad.                                  [XVII], [XX]                                                                                                                                                   association attorney                                                                                                                                                                          Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $55,167.60                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 BLDG 90. APT 309 CCD                                                                                                                                                                                                                                                                                                                                                                                                   Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                                                                                                                                                                                                                                                                                                        Richard J. Serpe               Coral Gables, FL 33134
 2630    Add.      Sunrise Lakes Condominium Apt Bldg. 88 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax      Yes                                                                  Taihe              Photo               17, 18         I           VILLEGAS,JESUS MARIA                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9001 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                        0.81               $88.98           $75,633.00                                                                        HENAO                              No Record of Ownership         City or County Tax Records                                                                                  255 Alhambra Circle, PH                                                $0.00
         Prop. &                                 101                                                                                                           Document with                                                                                                                                             HENAO,AURA INES NINO DE                                                                                                                                                       Coral Gables, FL 33134
 2631    Add.      Sunrise Lakes Condominium Apt Bldg. 88 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               18, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9001 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 301                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2632    Add.      Sunrise Lakes Condominium Apt Bldg. 88 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               17             I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9001 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 311                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2633    Add.      Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 101                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2634    Add.      Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               18, 19         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 201                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2635    Add.      Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 202                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2636    Add.      Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 203                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2637    Add.      Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               16, 18, 19     I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 204                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2638    Add.      Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               14, 16, 18     H, I                                                                                                                                                       Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 205                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
 2639    Add.      Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise    FL      33322   [XV], [XVI],     7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               16, 18         I                                                                                                                                                          Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.     (305) 476-7400   patrick@colson.com
         Taishan   Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                            [XVII], [XX]                                          Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                   0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                $0.00
         Prop. &                                 206                                                                                                           Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                               Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe               Coral Gables, FL 33134
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 73 of 82



Claimant Source     Claimant Name                    Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                       Sharefile
 2640    Add.       Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          590       Property Tax     Yes                                                                   Taihe              Photo               16, 18         I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.81                $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  207                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2641    Add.       Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          590       Property Tax     Yes                                                                   Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
         Taishan    Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                       0.81                $88.98           $52,498.20                         association attorney                           BACO,BRUNILDA                                                      Tax Records + Title/Deed          3/13/2014              4/29/2016                                          255 Alhambra Circle, PH                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
         Prop. &                                  209                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Coral Gables, FL 33134
 2642    Add.       Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          590       Property Tax     Yes                                                                   Taihe              Photo               16, 18         I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.81                $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  210                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2643    Add.       Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               16, 18         I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  211                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2644    Add.       Sunrise Lakes Condominium Apt Bldg. 89 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          590       Property Tax       Yes                                                                 Taihe              Photo               16, 17         I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9021 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $52,498.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  212                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2645    Add.       Sunrise Lakes Condominium Apt Bldg. 92 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          750       Property Tax       Yes                                                                 Taihe              Photo               17, 18, 19     I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              2761 Pine Island Road N., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  207                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2646    Add.       Sunrise Lakes Condominium Apt Bldg. 92 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          750       Property Tax       Yes                                                                 Taihe              Photo               17, 18, 19     I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              2761 Pine Island Road N., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  307                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2647    Add.       Sunrise Lakes Condominium Apt Bldg. 92 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          750       Property Tax       Yes                                                                 Taihe              Photo               18, 19         I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              2761 Pine Island Road N., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  308                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2648    Add.       Sunrise Lakes Condominium Apt Bldg. 92 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          750       Property Tax       Yes                                                                 Taihe              Photo               13             I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              2761 Pine Island Road N., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $66,735.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  309                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2649    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850          Other           Yes                                                                 Taihe              Photo               14, 17         H, I                                                                                                                                                        Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                                                                                                                                                                                                                                                                                                                           Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  301                                                                                                                                                                                                                                                                                                                                                                                                                                         Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Richard J. Serpe               Coral Gables, FL 33134
 2650    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               17             I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  302                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2651    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                              GULINER,GLORIA                                                                                                                                                                 255 Alhambra Circle, PH
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                                                           No Record of Ownership          City or County Tax Records                                                                                                                                                                         $0.00
         Prop. &                                  303                                                                                                                               Document with                                                                                                                                             GULINER,JENNIFER                                                                                                                                                               Coral Gables, FL 33134
         Omni XX                                                                                                                                                                    Square Footage
 2652    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                              LEMAIRE,CARMELLE                   Previous Owner, Did Not Own                                                                                                                 255 Alhambra Circle, PH
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                                                                                           City or County Tax Records       11/22/2011              3/15/2013                                                                                                                                 $0.00
         Prop. &                                  304                                                                                                                               Document with                                                                                                                                             LEMAIRE,OMER ETAL                  Property on 6/9/15                                                                                                                          Coral Gables, FL 33134
         Omni XX                                                                                                                                                                    Square Footage
 2653    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          640       Property Tax       Yes                                                                 Taihe              Photo               17             I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $56,947.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  307                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2654    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          640       Property Tax      Yes                                                                  Taishan            Affidavit from condo N/A           J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                        0.81               $88.98           $56,947.20                         association attorney                           BALIMA,SHIRLEY                     No Record of Ownership          City or County Tax Records                                                                                  255 Alhambra Circle, PH                                                                $0.00
         Prop. &                                  308                                                                                                                               Document with                                                                                                                                                                                                                                                                                                                            Coral Gables, FL 33134
 2655    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               17, 19         I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  309                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2656    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               17             I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  310                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2657    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               17             I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  311                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2658    Add.       Sunrise Lakes Condominium Apt Bldg. 97 –                     Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          850       Property Tax       Yes                                                                 Taihe              Photo               17             I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 2              9261 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $75,633.00                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  312                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2659    Add.       Sunrise Lakes Condominium Apt Bldg. 153 –                    Sunrise               FL      33322   [XV], [XVI],              7/5/2011     Yes          640       Property Tax       Yes                                                                 Taihe              Photo               16, 17, 18     I                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
         Taishan    Phase III, Inc 5              9900 Sunrise Lakes Blvd., Unit                                       [XVII], [XX]                                                   Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.81               $88.98           $56,947.20                                                                        UNKNOWN                            Review in Progress                                                                                                                                                                                                                 $0.00
         Prop. &                                  307                                                                                                                               Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
         Omni XX                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2660    Ex 10/79   Surdow, Sean and Francis         3813 18th Street                Lehigh Acres      FL      33971   [XV], [XVI],              7/5/2011     Yes         1,746      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                         Assessor's                        0.80               $87.88          $153,438.48                                                                        LERMA VICTOR E                                                     City or County Tax Records        9/17/2008              7/14/2014                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2661    RP         Surles, Michael                  605 Caroline Drive              Vero Beach        FL      32968   [IX], [XV],               5/5/2011     Yes         2,846     Builder's Floor     Yes                                                                 BNBMDB             Photo               25             A                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                     Plan                                                                                                                                                                                                                                                                                                 Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                        Previous Owner, Did Not Own
                                                                                                                                                                                                                        0.84               $92.27          $262,600.42                                                                        KELLER, DONNA AND I BASIL                                          Tax Records + Title/Deed          12/5/2006              9/9/2011                                           3102 Oak Lawn Ave., Ste. 1100                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                        Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219

 2662    Ex 10/79   Sutton, Stuart                   2210 Soho Bay Court             Tampa             FL      33606   [II(A)], [XV],            9/16/2010    Yes         1,605      Property Tax      Yes                                                                  Taihe              Photo               14             H                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.83               $91.18          $146,343.90                                                                        CHATTERJEE RON                                                     Tax Records + Title/Deed          4/23/2007             12/27/2012                                          27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 2663    Ex 10/79   Swan, Christiana and Harwick,    14125 Stowbridge Avenue         Tampa             FL      33626   [III], [VII], [XV],       10/7/2009    Yes         1,520      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                    Michael                                                                                            [XVI], [XVII]                                                  Assessor's                                                                                                                                              HARDWICK MICHAEL P JR                                                                                                                                                          316 South Baylen St.
                                                                                                                                                                                                                        0.83               $91.18          $138,593.60                                                                                                           Owner as of 6/9/15              City or County Tax Records       12/29/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                             SWAN CHRISTINA M                                                                                                                                                               Pensacola, FL 32502
                                                                                                                                                                                    Square Footage
 2664    Ex 10/79   Swank, Michael and Brenda        1170 Corinth Greens Drive       Sun City Center   FL      33573   [IX], [XV],               5/5/2011     Yes         1,607      Property Tax       Yes                                                                 Chinese            Photo               37             C                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                            Manufacturer 2                                                    SWANK MICHAEL E                                                                                                                                 Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                        0.83               $91.18          $146,526.26                                                                                                           Owner as of 6/9/15              City or County Tax Records        5/29/2003           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                             SWANK BRENDA C                                                                                                                                  Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2665    Ex 10/79   Swartz, Christopher and Sylvia   4030 South West 9th Place       Cape Coral        FL      33914   [II(C)], [III], [IX],     10/7/2009    Yes         1,672      Property Tax      Yes                                                                  Taishan            Photo               6              J           SWARTZ CHRISTOPHER                                                                                                                              Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                              ROBERT TR +                                                                                                                                                                    27300 Riverview Center Blvd
                                                                                                                                                                                                                        0.80               $87.88          $146,935.36                                                                                                Owner as of 6/9/15                         City or County Tax Records        6/13/2008           Current Owner                                                                                                                                $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                             SWARTZ SYLVIA JOAN TR                                                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                    Square Footage                                                                                                                                            FOR SWARTZ FAMILY TRUST
 2666    Ex 10/79   Swartz, Douglas                  2230 NW Juanita Place           Cape Coral        FL      33993   [II(C], [XII],            1/24/2011    Yes         2,967         Other          Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                       [XV], [XVI],                                                                                     0.80               $87.88          $260,739.96                                                                        SWARTZ DOUGLAS E                   Owner as of 6/9/15              City or County Tax Records       12/23/2008           Current Owner                                       12800 University Drive, Suite 600                      m                              $105,405.20
                                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
 2667    Ex 10/79   Sweeney, Kerrell and Suzanne     2036 Landry Court               Meraux            LA      70075   [XV], [XVI],              7/5/2011     Yes         3,660        Appraisal       Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVII]                                                       Showing Floor                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.86               $94.47          $345,760.20                                                                        FOLES, SUZANNE A.                  Owner as of 6/9/15              City or County Tax Records        2/22/1999           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2668    Ex 10/79   Sweeney, Patrick and Susan       3100 Orangetree Bend            Ft. Myers         FL      33905   [II(B)], [III(A)],        9/16/2010    Yes         1,834      Builder's Floor    Yes                                                                 Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [XV],                                                       Plan                                                                                                                                                BABINEAU GUY +                     Previous Owner, Did Not Own                                                                                  Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.80               $87.88          $161,171.92                                                                                                                                           City or County Tax Records        3/16/2005              8/9/2013                                                                                                                                  $0.00
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                          DEBONVILLE GINETTE J/T             Property on 6/9/15                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2669    Ex 10/79   Sylvester, Kristen and Nolan     5764 Jade Moon Circle           Milton            FL      32583   [XIII], [XV],             7/5/2011     Yes         1,900       Property Tax     Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                      (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.85               $93.37          $177,403.00                                                                        REPF FUND ONE LLC                                                  Tax Records + Title/Deed          4/29/2008              4/13/2015                                        316 South Baylen St.                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Pensacola, FL 32502
 2670    Ex 10/79   Szuflada, Susan and Juan         3357 S.W. Mundy Street          Port St. Lucie    FL      34953   [XIII], [XV],             7/5/2011     Yes         2,488        Appraisal       Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $224,119.04                                                                        SUSAN SZUFLADA                     Owner as of 6/9/15              City or County Tax Records         9/5/2006           Current Owner                                                                                                                              $16,217.11
                                                                                                                                                                                    Plan and Square                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2671    Ex 10/79   Talavera, LLC                    3261 Lago de Talvara, Lot 1     Wellington        FL      33467   [II], [XV], [XVI],        3/15/2010    Yes         3,887      Builder's Floor   Yes                                                                  Dragon Brand       Photo               26             A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                             Plan                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.82               $90.08          $350,140.96                                                                        MENTO JEFFERY T                                                    Tax Records + Title/Deed                                 4/30/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 2672    Ex 10/79   Talavera, LLC                    3301 Lago de Talavera, Lot 6    Wellington        FL      33467   [II], [XV], [XVI],        3/15/2010    Yes         3,414     Builder's Floor    Yes                                                                  BNBM               Photo               22             A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                            Plan                                                                                                                                                 MENTO FREDRIC J & MENTO            Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.82               $90.08          $307,533.12                                                                                                                                           Tax Records + Title/Deed                                 6/30/2008                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                              LISA B                             Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 2673    Ex 10/79   Talavera, LLC                    3462 Lago de Talavera, Lot 67   Wellington        FL      33467   [II], [XV], [XVI],        3/15/2010    Yes         3,414     Builder's Floor    Yes                                                                  Dragon Brand/      Photo               23, 26         A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                            Plan                                                                               BNBM                                                              BENEDETTO JOHN C &                 Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.82               $90.08          $307,533.12                                                                                                                                           Tax Records + Title/Deed                                 3/19/2010                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                              BENEDETTO GINA A                   Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 74 of 82



Claimant Source     Claimant Name                    Affected Property Address       City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                    Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                      Sharefile
 2674    Ex 10/79   Talavera, LLC                    3533 Lago de Talavera, Lot 35   Wellington        FL      33467   [II], [XV], [XVI],        3/15/2010    Yes         3,565     Builder's Floor    Yes                                                                  BNBM/ BNBMDB Photo                     22, 24         A                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                            Plan                                                                                                                                                 DE AMEZOLA PIERRE & DE             Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.82                $90.08          $321,135.20                                                                                                                                           Tax Records + Title/Deed                                 6/30/2008                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                              AMEZOLA MARIA                      Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Richard J. Serpe             Coral Gables, FL 33134
 2675    Ex 10/79   Talbot, Cynthia                  2101 Governors Pointe Drive     Suffolk           VA      23436   [II(A)], [XV],            9/16/2010    Yes         3,391      Property Tax      Yes                                                                  Venture Supply     Photo               39             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                        0.94              $103.26          $350,154.66                                                                        TALBOT CYNTHIA A                   Owner as of 6/9/15              City or County Tax Records        6/15/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2676    Ex 10/79   Talerico, Michelle & Tom         240 SE 29th Street              Cape Coral        FL      33904   [III], [IX], [XV],        10/7/2009    Yes         2,002      Property Tax      Yes                                                                  Taishan            Photo               2              J           TALERICO THOMAS JTR                                                                                                                             Roberts & Durkee PA Milstein C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $175,935.76                                                                        FOR THOMAS J TALERICO              Owner as of 6/9/15              Tax Records + Title/Deed          4/28/2008           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                          $0.00
                                                                                                                                                                                    Document with                                                                                                                                             TRUST                                                                                                                                                                        300
 2677    Ex 10/79   Tarver, Theodore and Cynthia     1016 Woodbrook Road             Birmingham        AL      35215   [III], [VII], [XV],       10/7/2009    Yes         1666       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              TARVER THEODORE JR &
                                                                                                                       [XVI], [XVII],                                                 Assessor's                        0.84              $92.27           $153,721.82                                                                                                           Owner as of 6/9/15              City or County Tax Records         3/1/1990           Current Owner                                       900 W. Morgan Street                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                              CYNTHIA R
                                                                                                                       [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 2678    Ex 10/79   Tataris, Anna and DeJesus, Roy 4842 Tuscan Loon Drive            Tampa             FL      33619   [II], [XIII], [XV],       3/15/2010    Yes         1,572      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Colson Hicks Eidson          Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $143,334.96                                                                        HENRY ALEX                                                         Tax Records + Title/Deed          3/26/2007              10/2/2014                                        255 Alhambra Circle, PH                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Coral Gables, FL 33134
 2679    Ex 10/79   Tatum, Martin and Doris          3808 Alexander Lane             Marrero           LA      70072   [III], [VII], [XV],       10/7/2009    Yes         1,884         Other          Yes                                                                  Taihe              Photo               21             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                                                                                                                       [XVI], [XVII]                                                                                    0.86              $94.47           $177,981.48                                                                        TATUM,MARTIN O & DORIS P Owner as of 6/9/15                        Tax Records + Title/Deed         10/27/2006           Current Owner                                       425 W. Airline Hwy, Suite B                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
 2680    Ex 10/79   Taylor, George and Anna          9345 Bell Ridge Drive           Pensacola         FL      32526   [III], [VII], [XV],       10/7/2009    Yes         2,623      Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                     (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                              TAYLOR GEORGE W III &
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.85              $93.37           $244,909.51                                                                                                           Owner as of 6/9/15              City or County Tax Records        3/28/2006           Current Owner                                       316 South Baylen St.                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                              ANNA DAVIS
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Pensacola, FL 32502
 2681    RP         Taylor, Lloyd and Hoxter, Scott 1660 Renaissance Commons         Boynton Beach     FL      33426   [III], [IX], [XV],        10/7/2009    Yes          817      Builder's Floor    Yes                                                                  IMT                Photo               32             F                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                    Blvd., Unit 2603                                                   [XVI], [XVII]                                                     Plan                           0.82              $90.08            $73,595.36                                                                        LINDA BARRATT PA                                                   Tax Records + Title/Deed          2/27/2007             10/30/2013                                        900 W. Morgan Street                                                                   $93,449.55
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2682    Ex 10/79   Taylor, Noel                     3110 Law Street                 New Orleans       LA      70117   [XV], [XVI],              7/5/2011     Yes         2,155      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           The Lambert Firm             Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                       [XVII]                                                         Assessor's                        0.86              $94.47           $203,582.85                                                                        TAYLOR ALBERT                      Owner as of 6/9/15              City or County Tax Records         2/4/1946           Current Owner                                       701 Magazine St,                                      om                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130
 2683    Ex 10/79 & Taylor, Travis                   11090 Douglas Road              Grand Bay         AL      36541   [III], [XV],              10/7/2009    Yes         1144      Builder's Floor    Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Reeves & Mestayer            Jim Reeves, Esq.                     (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                                                                                                                                                              TAYLOR TRAVIS D & RICKY J
         Omni XX                                                                                                       [XVI], [XVII],                                                    Plan                           0.84              $92.27           $105,556.88                                                                                                  Owner as of 6/9/15                       City or County Tax Records        11/6/2008           Current Owner                                       160 Main St                                                                              $0.00
                                                                                                                                                                                                                                                                                                                                              T
                                                                                                                       [XX], [XXVIII]                                                                                                                                                                                                                                                                                                                                                                                       Biloxi, MS 39530
 2684    Ex 10/79   Taylor, Willie Mae               1409 Delery Street              New Orleans       LA      70117   [II], [VII], [IX],        3/15/2010    Yes          648       Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Becnel Law Firm, LLC Morris Salvadore Christina, Jr., Esq.        (985) 536-1186   schristina@becnellaw.com
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                              Bart, LLC Herman, Herman & Becnel Law Firm, LLC
                                                                                                                                                                                                                        0.86              $94.47            $61,216.56                                                                        TAYLOR WILLIE M                    Owner as of 6/9/15              City or County Tax Records        3/16/2007           Current Owner                                                                                                                                $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                             Katz                         425 W. Airline Hwy, Suite B
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 2685    Ex 10/79   Tedder, Julian and Betty         25249 County Road 49            Loxley            AL      36551   [XV], [XVI],              7/5/2011     Yes         2894       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Daniell, Upton & Perry, P.C. Jonathan Law                         (251) 625-0046   JRL@dupm.com
                                                                                                                                                                                                                                                                                                                                              TEDDER, JULIAN ETAL
                                                                                                                       [XVII], [XXI]                                                  Assessor's                        0.84              $92.27           $267,029.38                                                                                                           Owner as of 6/9/15              City or County Tax Records        11/8/2012           Current Owner                                       30421 State Highway 181                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                              TEDDER, BETTY B AS C
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Daphne, Alabama 36527
 2686    RP         Teegarden, Randy                 4433 Fieldview Circle           Wesley Chapel     FL      33545   [IX], [XV],               5/5/2011     Yes         2,798      Property Tax      Yes                                                                  C&K                Photo               34             B                                                                                                                                                           Roberts & Durkee             C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $255,121.64                                                                        SAAVEDRA CAROLINE                                                  Tax Records + Title/Deed          7/15/2008              5/26/2011                                        2665 South Bayshore Drive Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          300
 2687    Ex 10/79   Teitelbaum, Ronald and Donna     11825 Bayport Lane #502         Ft. Myers         FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         1,661      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              TEITELBAUM RONALD J +
                                                                                                                       [XV], [XVI],                                                   Assessor's                        0.80              $87.88           $145,968.68                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/27/2007           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                              DONNA L
                                                                                                                       [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2688    RP         Tempel, Harvey and Lisa          1660 Renaissance Commons        Boynton Beach     FL      33426   [XV], [XVI],              7/5/2011     Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                              BIG SKY REAL ESTATE                Previous Owner, Did Not Own
                                                     Blvd, Unit 2323                                                   [XVII]                                                            Plan                           0.82              $90.08           $111,699.20                                                                                                                                           Tax Records + Title/Deed          2/26/2007             11/22/2010                                        900 W. Morgan Street                                                                   $95,601.84
                                                                                                                                                                                                                                                                                                                                              INVSTMNT LLC                       Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Raleigh, NC 27603
 2689    Ex 10/79 & Templeton, Sherry                13934 Clubhouse Drive           Tampa             FL      33618   [II(C)], [XV],            1/24/2011    Yes         2,582      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
         Omni XX                                                                                                       [XVI], [XVII],                                                  Assessor's                       0.83              $91.18           $235,426.76                                                                        TEMPLETON SHERRY                   Owner as of 6/9/15              Tax Records + Title/Deed          8/15/2006           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                       [XX]                                                         Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2690    Ex 10/79   The Myers Building, LLC          1305 2nd Avenue North           Birmingham        AL      35203   [III(A)], [XV],           9/16/2010    Yes        11941       Property Tax      Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           McCallum Hoagland/           Eric Hoagland, Esq.                  (205) 545-8334   ehoaglund@mhcilaw.com.
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
                                                                                                                       [XVI], [XVII],                                                  Assessor's                       0.84              $92.27          $1,101,796.07                                                                       SDP PROPERTIES, LLC                                                City or County Tax Records        4/19/2007              6/22/2016           Whitfield, Bryson & Mason,   905 Montgomery Highway, Suite                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
                                                                                                                       [XXI]                                                        Document with                                                                                                                                                                                                                                                                                             LLP                          201
 2691    Ex 10/79   Thomas, Celeste                  3313-3315 General Taylor St     New Orleans       LA      70122   [III], [VII], [XV],       10/7/2009    Yes         2,120       Inspection       Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Law Office of Joseph M.      Joseph Bruno, Esq.                   (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                       [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                             Bruno, APLC                  855 Baronne Street                                    m
                                                                                                                                                                                                                        0.86              $94.47           $200,276.40                                                                        THOMAS CELESTE S                   Owner as of 6/9/15              City or County Tax Records         7/7/2000           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                    Plan and Under                                                                                                                                                                                                                                                                                                                         New Orleans, 70113
                                                                                                                                                                                      Air Square
 2692    Ex 10/79   Thomas, Herman and Valice        2215 Joilet Street              New Orleans       LA      70118   [II], [VII], [XV],        3/15/2010    Yes         2,094       Inspection       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Bruno & Bruno, LLP            Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                              BURKE ROBERT                       Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                Showing Floor                       0.86              $94.47           $197,820.18                                                                                                                                           City or County Tax Records        7/19/1996              6/4/2015                                          855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                                                                                                                                                                              BURKE AMBER                        Property on 6/9/15
                                                                                                                                                                                    Plan and Under                                                                                                                                                                                                                                                                                                                          New Orleans, 70113
 2693    RP         Thomas, Pious/Soni               1739 Queen Palm Way             North Port        FL      34288   [XIII], [XV],             7/5/2011     Yes         2,703          Other         Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                              CHERY BERNARD V & BURNS Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                                                    0.83              $91.18           $246,459.54                                                                                                                                           City or County Tax Records        5/27/2008              7/25/2014                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                              JENNIFER L              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2694    RP         Thomas, Steven and Elaine        1840 Cody Lane                  Fort Pierce       FL      34945   [II(B)], [III(A)],        9/16/2010    Yes         2,394     Builder's Floor    Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [XV],                                                      Plan                                                                                                                                                 ANNE PLOTTO                        Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                        0.82              $90.08           $215,651.52                                                                                                                                           City or County Tax Records         5/7/2004              2/9/2012                                                                                                                                  $0.00
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                          BRYAN L FORD                       Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2695    Ex 10/79   Thomasevich, Eli and Priscilla   11201 Laurel Walk Road          Wellington        FL      33449   [IX], [XV],               5/5/2011     Yes         2,575       Property Tax     Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                   Assessor's                                                                           Manufacturer 2                                                    HENNINGS MICHAEL J &               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                        0.82              $90.08           $231,956.00                                                                                                                                           Tax Records + Title/Deed           7/2/2004              2/24/2017                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                             HENNINGS BRANDI                    Owns Property                                                                                                Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2696    Ex 10/79   Thomley, Eloise and Wayne        31195 Oak Drive (aka Lot164 of Orange Beach       AL      36567   [XV], [XVI],              7/5/2011     No          2536         Appraisal       Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Holston Vaughan & Barton      Richard Holston, Esq.               (251) 432-8883   rhh@holstonvaughan.com                             Citizens Bank of
                                                     Ono North, Phase Two)                                             [XVII], [XXI]                                                Showing Floor                                                                                                                                                                                Previous Owner, Did Not Own                                                                                  Law                           Post Office Box 195                                                                                     Fayette has a
                                                                                                                                                                                                                        0.84              $92.27           $233,996.72                                                                        VARDAMAN, WILLIAM                                                  Tax Records + Title/Deed           6/3/2005                2012                                                                                                                                    $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                              Property on 6/9/15                                                                                                                         Mobile, Alabama 36601                                                                                   deficiency claim on
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                                                                                                                                     Amorin for this
 2697    Ex 10/79   Thompson, Benjamin and           11527 Hammocks Glade Drive      Riverview         FL      33569   [II(C)], [III(A)],        9/16/2010    Yes         1,768      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.              (239) 390-1000     jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                              THOMPSON BENJAMIN
                    Deborah                                                                                            [IX], [XV],                                                     Assessor's                       0.83              $91.18           $161,206.24                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed         10/24/2006           Current Owner                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                              THOMPSON DEBORAH A
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2698    Ex 10/79   Thompson, Jason and Jennifer     1045 Venetian Drive #202        Melbourne         FL      32904   [II(B)], [VII],           12/6/2010    Yes         1,891      Builder's Floor   Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                (214) 521-3605     rbudd@baronbudd.com
                                                                                                                       [XV], [XVI],                                                       Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                        0.84              $92.27           $174,482.57                                                                        THOMPSON, CHARLES JASON Owner as of 6/9/15                         Tax Records + Title/Deed          3/15/2007           Current Owner                                                                                                                                $0.00
                                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                 Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2699    Ex 10/79   Thompson, Lisa                   1412 NW 12th Place              Cape Coral        FL      33993   [II(C)], [IX],            1/24/2011    Yes         1,734      Property Tax      Yes                                                                  Taishan            Photo               2              J           UMB BANK NATIONAL ASSN                                                                                                                          Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880     PAlbanis@ForThePeople.co
                                                                                                                       [XV], [XVI],                                                   Assessor's                                                                                                                                              TR                                 Owner as of 6/9/15, No Longer                                                                                                              12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                        0.80              $87.88           $152,383.92                                                                                                                                           Tax Records + Title/Deed          7/25/2008              7/7/2016                                                                                                                                  $0.00
                                                                                                                       [XVII]                                                       Document with                                                                                                                                             FOR MART LEGAL TITLE               Owns Property                                                                                                                              Fort Myers, FL 33907
                                                                                                                                                                                    Square Footage                                                                                                                                            TRUST 2015-NPL1
 2700    RP         Thompson, Venesia and Logan,     1690 Renaissance Commons        Boynton Beach     FL      33426   [XV], [XVI],              7/5/2011     Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                    Susan                            Blvd., Unit 1226                                                  [XVII]                                                            Plan                           0.82              $90.08           $111,699.20                                                                        SALLOUM ROY                                                        Tax Records + Title/Deed           4/9/2007              1/24/2013                                         900 W. Morgan Street                                                                 $100,566.98
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2701    Ex 10/79   Thornton, Stanley and April      336 County Road 703             Jemison           AL      35085   [II(C)], [III],           10/7/2009    Yes         3162      Builder's Floor    Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                       [XV], [XVI],                                                      Plan                           0.84              $92.27           $291,757.74                                                                        THORNTON APRIL                     Owner as of 6/9/15              City or County Tax Records        7/20/1998           Current Owner                                        900 W. Morgan Street                                                                    $0.00
                                                                                                                       [XVII], [XXI]                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2702    Ex 10/79   Thrower, Christopher             541 Ledbetter Road              Munford           AL      36268   [III], [VII], [XV],       10/7/2009    Yes         1447           Other         Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                       [XVI], [XVII],                                                                                                                                                                                                         THROWER CHRISTOPHER &                                                                                                                                                         900 W. Morgan Street
                                                                                                                                                                                                                        0.82              $90.08           $130,345.76                                                                                                           Owner as of 6/9/15              City or County Tax Records        7/17/2007           Current Owner                                                                                                                                $0.00
                                                                                                                       [XXI]                                                                                                                                                                                                                  JENNIFER                                                                                                                                                                      Raleigh, NC 27603

 2703    RP         Tierney, Susann and Jeffrey      3303 Rannock Moor               Williamsburg      VA      23188   [II], [XV], [XVI],        3/15/2010    Yes         1,244       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice & N/A             K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                              PUTNAM, PAUL E & MARTHA Previous Owner, Did Not Own
                                                                                                                       [XVII]                                                          Assessor's                       0.96              $105.46          $131,192.24                         Property Assessment                                                                                               City or County Tax Records        5/31/2006              6/9/2014            Serpe                        580 East Main Street, Suite 310                                                          $0.00
                                                                                                                                                                                                                                                                                                                                              J                       Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
 2704    Ex 10/79   Tighe, Edward                    2820 St. Barts Square           Vero Beach        FL      32967   [II(C], [XV],             1/24/2011    Yes         2,829       Property Tax     Yes                                                                  Taihe              Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
                                                                                                                       [XVI], [XVII]                                                   Assessor's                       0.84              $92.27           $261,031.83                                                                        RAYMOND STACEY A                                                   Tax Records + Title/Deed           1/9/2007              5/3/2017                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2705    Ex 10/79   Tillman, Joel                    7522 Lucerne Street             New Orleans       LA      70128   [IX], [XV],               5/5/2011     Yes         1,832       Property Tax     Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                     (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                       [XVI], [XVII]                                                   Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                                             Young Law Firm
                                                                                                                                                                                                                        0.86              $94.47           $173,069.04                                                                        LUCKY CAROLYN                                                      City or County Tax Records        1/14/2010              3/22/2016                                                                                                                                 $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                Owns Property                                                                                                                             1010 Common St., Suite 3040
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112
 2706    Ex 10/79   Tinney, Marjorie                 171 SE 2nd Court                Deerfield Beach   FL      33441   [II(B)], [III],           10/7/2009    Yes         1,462        Appraisal       Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [XV],                                                 Showing Floor                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.82              $90.08           $131,696.96                                                                        TINNEY,MARJORIE                    Owner as of 6/9/15              City or County Tax Records        2/16/2007           Current Owner                                                                                                                                $0.00
                                                                                                                       [XVI], [XVII]                                                Plan and Square                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2707    Ex 10/79   Cobblestone on the Lake Master 4351 Bellaria Way Unit 446        Ft. Myers         FL      33916   [XIII], [XV],             7/5/2011     Yes         1,228      Builder's Floor   Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc. (Tirbaso,                                                                        [XVI], [XVII]                                                      Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.80              $87.88           $107,916.64                                                                        TIRBASO WILLIAM + ANNE             Owner as of 6/9/15              City or County Tax Records       12/13/2006           Current Owner                                                                                                                                $0.00
                    William and Anne)                                                                                                                                                                                                                                                                                                                                                                                                                                                         Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2708    Ex 10/79   Cobblestone on the Lake Master 4351 Bellaria Way Unit 442        Ft. Myers         FL      33916   [XIII], [XV],             7/5/2011     Yes         1,228     Builder's Floor    Yes                                                                  ProWall            Photo               43             G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                    Association, Inc. (Tirbaso,                                                                        [XVI], [XVII]                                                     Plan                                                                                                                                                                                    Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.80              $87.88           $107,916.64                                                                        GESTION SEBRING IB LLC                                             City or County Tax Records        12/8/2006              4/28/2017                                                                                                                                 $0.00
                    William and Rita)                                                                                                                                                                                                                                                                                                                                            Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2709    Ex 10/79   Toledo, Maria                    8141 W 36th Avenue #1           Hialeah           FL      33018   [II(B)], [III(A)],        9/16/2010    Yes         1,361      Property Tax      Yes                                                                  Taishan            Inspection Report   6              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                       [VII], [XV],                                                   Assessor's                        0.81              $88.98           $121,101.78                                                                        MARIA TOLEDO                       Owner as of 6/9/15              City or County Tax Records        12/4/2007           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                          $0.00
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                          300
 2710    RP         Toler, Calvin and Allison        10440 SW Stephanie Way Unit Port St. Lucie        FL      34987   [II(C)], [III], [IX],     10/7/2009    Yes           0            N/A           N/A                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com                               See Promenade at
                                                                                                                                                                                                                                                                                                                                                                                 Previous Owner, Did Not Own
                                                     210                                                               [XV], [XVI],                                                                                     0.82              $90.08              $0.00                                                                           LUCY GARCIA                                                        City or County Tax Records        7/31/2006              4/30/2010                                        27300 Riverview Center Blvd                                                              $0.00           Tradition
                                                                                                                                                                                                                                                                                                                                                                                 Property on 6/9/15
                                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Bonita Springs, FL 34134
 2711    Ex 10/79   Tomac, Tom and Carrie            11601 Hammocks Glade Drive      Riverview         FL      33569   [II(C)], [VII],           1/14/2011    Yes         1,446      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                 Owner as of 6/9/15, No Longer
                                                                                                                       [IX], [XV],                                                    Assessor's                        0.83              $91.18           $131,846.28                                                                        KAIVEST PROPERTIES LLC                                             Tax Records + Title/Deed         10/25/2006              1/26/2017                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                 Owns Property
                                                                                                                       [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
                                                                                                                           Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 75 of 82



Claimant Source     Claimant Name                      Affected Property Address      City              State   Zip     Omni(s)                Date of Earliest PPF      Verified       Type of     Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                  2017 RS Means
Identifier                                                                                                                                      Filed Taishan (Yes/No)   Square       Verficiation Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                                Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                    Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                      Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                     Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                        [A]
                                                                                                                                                                                       Sharefile
 2712    RP         Tomas, Noel, Coates, Lance,        3961 Border Way                Virginia Beach    VA      23456   [II], [XV], [XVI],       3/15/2010    Yes         2,947      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Law Offices of Richard J.     Richard J. Serpe, Esq.             (757) 233-0009   rserpe@serpefirm.com
                    Masana, Virginia, Villania, Flor                                                                    [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                            Serpe                         580 East Main Street, Suite 310
                                                                                                                                                                                                                       0.94               $103.26          $304,307.22                                                                       LOZANO GILBERTO                    Records Not Available           City or County Tax Records        7/17/2006              7/13/2010                                                                                                                                $0.00
                    and Nestib, Joan                                                                                                                                                Document with                                                                                                                                                                                                                                                                                                                          Norfolk, VA 23510
                                                                                                                                                                                    Square Footage
 2713    RP         Tompkins, Mark and Karen           3306 Arran Thistle             Williamsburg      VA      23188   [II(A)], [XV],           9/16/2010    Yes         1,334      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                        [XVI], [XVII]                                                  Assessor's                      0.96               $105.46          $140,683.64                         Property Assessment                           O'ROURKE, ASHLEIGH E               Records Not Available           City or County Tax Records        5/23/2006              5/31/2011           Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 2714    RP         Tomson, Ants and Aino              15168 Fiddlesticks Blvd.       Ft. Myers         FL      33912   [XV], [XVI],             7/5/2011     Yes         7,012      Property Tax     Yes                                                                   Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                        [XVII]                                                         Assessor's                      0.80                $87.88          $616,214.56                                                                       DEMERS KEVIN S                                                     Tax Records + Title/Deed          7/22/2004             11/17/2014                                        12800 University Drive, Suite 600                    m                               $336,285.32
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2715    RP         Ton, Phat and Le, Han              5519 Brixton Road              Williamsburg      VA      23188   [II(A)], [XV],           9/16/2010    Yes         2,275      Property Tax     Yes                                                                   Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                             SCHAPPELL, CHRISTINE L &           Previous Owner, Did Not Own
                                                                                                                        [XVI], [XVII]                                                  Assessor's                      0.96               $105.46          $239,921.50                         Property Assessment                                                                                              City or County Tax Records        1/10/2007              1/3/2014            Serpe                        580 East Main Street, Suite 310                                                         $0.00
                                                                                                                                                                                                                                                                                                                                             SCHAPPELL,                         Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 2716    Ex 10/79   Toney, Ferdinand and Charlotte     2115-2117 Pleasure Street      New Orleans       LA      70122   [VII], [XV],             1/14/2011    Yes         1,548       Inspection      Yes                                                                   Crescent City      Photo              27             D                                                                                                                                                           Bruno & Bruno, LLP           Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                        [XVI], [XVII]                                               Showing Floor                      0.86                $94.47          $146,239.56                                                                       TONEY FERDINAND                    Owner as of 6/9/15              City or County Tax Records        10/1/1998           Current Owner                                       855 Baronne Street                                   m                                  $0.00
                                                                                                                                                                                    Plan and Under                                                                                                                                                                                                                                                                                                                        New Orleans, 70113
 2717    Ex 10/79   Topf, Frank and Yvonne             2417 Caitlan Loch Lane         Virginia Beach    VA      23456   [II], [XV], [XVI],       3/15/2010    Yes         3,549      Property Tax     Yes                                                                   Venture Supply     Photo              38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                             LEHMAN XS TRUST
                                                                                                                        [XVII]                                                         Assessor's                                                                                                                                                                        Owner as of 6/9/15, No Longer                                                                                       Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                       0.94               $103.26          $366,469.74                                                                       MORTGAGE PASS THROUGH                                              City or County Tax Records        9/14/2006              7/17/2015                                                                                                                                $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                        Owns Property                                                                                                       Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                             CERTIFICATES SERIES 2006-13
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2718    Ex 10/79   Toppin, Nikita                     19227 Stone Hedge Drive        Tampa             FL      33647   [XV], [XVI],             7/5/2011     Yes         1,552     Builder's Floor    Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                        [XVII]                                                           Plan                           0.83               $91.18          $141,511.36                                                                       TOPPIN NIKITA CARLENE              Owner as of 6/9/15              City or County Tax Records       10/27/2010           Current Owner                                       12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2719    Ex 10/79   Sheridan Beach Club                509 E. Sheridan Street, #302   Dania Beach       FL      33004   [IX], [XV],              5/5/2011     Yes         1,150     Builder's Floor     Yes                                                                 Taihe              Photo              14, 17         H, I                                                                                                                                                        Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                             TORCHIA,SAVERIO &
                    Condominium Number Three,                                                                           [XVI], [XVII]                                                    Plan                                                                                                                                                                                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $102,327.00                                                                       ORNELLA LE                         Owner as of 6/9/15              Tax Records + Title/Deed          4/24/2007           Current Owner                                                                                                                               $0.00
                    Inc. (Torchia, Saverio and                                                                                                                                                                                                                                                                                                                                                                                                                                               Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                             TORCHIA,JOSEPH ETAL
                    Ornella)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
 2720    RP         Torres-Barajas, Ramiro and         1031 SW College Park Road      Port St. Lucie    FL      34953   [II(B)], [VII],          12/6/2010    Yes         2,396      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                             LASCELLES GRANT PAULA              Previous Owner, Did Not Own
                    Torres, Noel                                                                                        [XV], [XVI],                                                  Assessor's                        0.82               $90.08          $215,831.68                                                                                                                                          City or County Tax Records       11/10/2008              4/12/2011                                        900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                             PINK-GRANT                         Property on 6/9/15
                                                                                                                        [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 2721    RP         Torres-Lutz, Marcelo and Cecilia 334 Cipriani Way                 Venice            FL      34275   [II], [XV], [XVI],       3/15/2010    Yes         1,638      Property Tax      Yes                                                                  Venture Supply     Photo              38, 39         K                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                        [XVII]                                                        Assessor's                        0.83               $91.18          $149,352.84                                                                       BRENNER ROBERT W                                                   Tax Records + Title/Deed          7/20/2006              7/11/2014                                        316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Pensacola, FL 32502
 2722    Ex 10/79   Torri, Linda                       8409 Dunnavant Road            Leeds             AL      35094   [XIII], [XV],            7/5/2011     Yes         1067       Property Tax      Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                        [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                        0.84               $92.27           $98,452.09                                                                       TORRI LINDA C                      Owner as of 6/9/15              Tax Records + Title/Deed            2009              Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         650
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        Birmingham, AL 35209
 2723    Ex 10/79   Touriz, Christopher and Denise     8031 W. 36th Avenue #3         Hialeah           FL      33018   [II(A)], [II(B)],        9/16/2010    Yes         1,360      Property Tax      Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [III(A)], [VII],                                              Assessor's                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                        [XV], [XVI],                                                Document with                       0.81               $88.98          $121,012.80                                                                       CHRISTOPHER ERIC TOURIZ            Owner as of 6/9/15              City or County Tax Records         9/7/2007           Current Owner          Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100                                                           $0.00
                                                                                                                        [XVII]                                                      Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219

 2724    Ex 10/79   Touriz, Christopher and Denise     8079 W 36th Avenue #2          Hialeah           FL      33018   [II(A)], [II(B)],        9/16/2010    Yes         1,360      Property Tax      Yes                                                                  Taishan/ IMT       Photo              8, 33          F, J                                                                                                                                                        Allison Grant, P.A. Baron &   Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [III(A)], [VII],                                              Assessor's                                                                                                                                                                                                                                                                                             Budd, P.C. Alters Boldt       Baron & Budd
                                                                                                                                                                                                                                                                                                                                             CHRISTOPHER ERIC TOURIZ
                                                                                                                        [XV], [XVI],                                                Document with                       0.81               $88.98          $121,012.80                                                                                                          Owner as of 6/9/15              City or County Tax Records         1/1/2007           Current Owner          Brown Rash & Culmo            3102 Oak Lawn Ave., Ste. 1100                                                          $0.00
                                                                                                                                                                                                                                                                                                                                             &W DENISE
                                                                                                                        [XVII]                                                      Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219

 2725    RP         Townsend, Steven and Maher,        225 NE 5th Terrace             Cape Coral        FL      33909   [IX], [XV],              5/5/2011     Yes         1,642      Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             BARBOUR DAVID B +                  Previous Owner, Did Not Own
                    Christopher                                                                                         [XVI], [XVII]                                                  Assessor's                       0.80               $87.88          $144,298.96                                                                                                                                          Tax Records + Title/Deed          2/27/2007              3/16/2012                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             PATRICIA                           Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2726    RP         Tracy, Ron and Hazel               402 Waveland Avenue            Waveland          MS      39576   [III], [VII], [XV],      10/7/2009    Yes         1,669        Appraisal       Yes                                                                  Taihe              Photo              19             I                                                                                                                                                           Hawkins Gibson               Edward Gibson, Esq.                 (228) 467-4225   egibson@hgattorneys.com
                                                                                                                        [XVI], [XVII]                                               Showing Floor                       0.84               $92.27          $153,998.63                                                                       UNKNOWN                            Records Not Available                                                                                                                     153 Main St                                                                             $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                                                                                                                                                                       Bay St Louis, MS 39520
 2727    RP &       Traina, Lorraine and Richard       10480 S.W. Stephanie Way Unit Port St. Lucie     FL      34987   [III], [IX], [XIII],     10/7/2009    Yes           0             N/A          N/A                                                                  Taishan            Photo              2              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                                See Promenade at
                                                                                                                                                                                                                                                                                                                                             LORI A DEPAOLI (TR)
         Omni XX                                       206 Port St. Lucie, FL 34987                                     [XV], [XVI],                                                                                                                                                                                                                                                                                                                                                                                      Baron & Budd                                                                                            Tradition
                                                                                                                                                                                                                        0.82               $90.08             $0.00                                                                          LISA SCIABARASSI (TR)              Owner as of 6/9/15              City or County Tax Records        8/23/2006           Current Owner                                                                                                                               $0.00
                                                                                                                        [XVII], [XX]                                                                                                                                                                                                                                                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                             JOSEPH CAMMARATO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2728    Ex 10/79   Tran, Minh                         11307 Bridge Pine Drive        Riverview         FL      33569   [XV], [XVI],             7/5/2011     Yes         2,072      Property Tax      Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                        [XVII]                                                         Assessor's                       0.83               $91.18          $188,924.96                                                                       SIEBRECHT JARED                                                    Tax Records + Title/Deed          7/12/2006              2/17/2015                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2729    RP         Travelstead, Joel on behalf of     36 West Carmack                Chalmette         LA      70043   [XV], [XVI],             7/5/2011     Yes         1,500      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    Chalmette Redevelopment                                                                             [XVII]                                                         Assessor's                       0.86               $94.47          $141,705.00                                                                       EASTERLING, STEPHON R.                                             City or County Tax Records        2/23/2011              3/4/2011                                         425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                    Parnters, LLC                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 2730    RP         Travelstead, Joel on behalf of     51 West Carolina               Chalmette         LA      70043   [III(A)], [XV],          9/16/2010    Yes         1,960      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    Chalmette Redevelopment                                                                             [XVI], [XVII]                                                  Assessor's                       0.86               $94.47          $185,161.20                                                                       TUIKKA, DOROTHY PARISH                                             City or County Tax Records        2/12/2007              5/29/2009                                        425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                    Parnters, LLC                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
 2731    Ex 10/79   Treadaway, Danny and Kathy         2009 Kingbird Boulevard        St. Bernard       LA      70085   [II(A)], [VII],          9/16/2010    Yes         1,184      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                        [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                            LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                        0.86               $94.47          $111,852.48                                                                       TREADAWAY, DANNY                   Owner as of 6/9/15              City or County Tax Records         2/5/1991           Current Owner                                                                                                                               $0.00
                                                                                                                        [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                         425 W. Airline Hwy, Suite B
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 2732    Ex 10/79   Triche, Susan and Glenn            3605 Decomine Drive            Chalmette         LA      70043   [II], [III], [VII],      10/7/2009    Yes         1,250      Property Tax       No                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Berrigan Litchfield, LLC     Karen Sher, Esq.                    (504) 568-0541   ksher@berriganlaw.net
                                                                                                                                                                                                                                                                                                                                             TRICHE, SUSAN GAIL MC
                                                                                                                        [XV], [XVI],                                                   Assessor's                                                                                                                                                                                                                                                                                                                         201 Saint Charles Ave, Ste 4204
                                                                                                                                                                                                                        0.86               $94.47          $118,087.50                                                                       DOUGALL & TRICHE, GLENN            Owner as of 6/9/15              City or County Tax Records        3/24/1981           Current Owner                                                                                                                               $0.00
                                                                                                                        [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70170-4204
                                                                                                                                                                                                                                                                                                                                             HENRY
                                                                                                                                                                                    Square Footage
 2733    Ex 10/79   Trillo, Raquel                     12421 SW 50 CT, Unit 303       Miramar           FL      33027   [III], [XV],             10/7/2009    Yes         1,426      Property Tax      Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Baron & Budd, P.C.            Russell Budd, Esq.                 (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                          Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $126,885.48                                                                       TRILLO,RAQUEL M                    Owner as of 6/9/15              City or County Tax Records         5/7/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2734    Ex 10/79   Tromatore, Ronald and Peggy        1221 Bayou Road                St. Bernard       LA      70085   [III], [VII], [XV],      10/7/2009    Yes         2,199       Inspection       Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Bruno & Bruno, LLP            Joseph Bruno, Esq.                 (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                        [XVI], [XVII]                                               Showing Floor                                                                                                                                                                                                                                                                                                                          855 Baronne Street                                  m
                                                                                                                                                                                                                        0.86               $94.47          $207,739.53                                                                       TROMATORE, RONALD E.               Owner as of 6/9/15              City or County Tax Records       12/20/2012           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Plan and Under                                                                                                                                                                                                                                                                                                                         New Orleans, 70113
                                                                                                                                                                                      Air Square
 2735    RP         Troublefield, Elmer and            8 St. John's Drive             Hampton           VA      23666   [II(C)], [XV],           1/24/2011    Yes         2,871      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.            (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                             WATSON LEWIS & ANDRINA
                    Jefferies, Rorrie                                                                                   [XVI], [XVII]                                                  Assessor's                       0.95              $104.36          $299,617.56                         Property Assessment                                                              Records Not Available           City or County Tax Records        8/14/2006              6/1/2012            Serpe                          580 East Main Street, Suite 310                                                       $0.00
                                                                                                                                                                                                                                                                                                                                             D
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
 2736    Ex 10/79   Troutman, Rodney and Sheila        336 Siena Vista Place          Sun City Center   FL      33573   [III], [IX], [XV],       10/7/2009    Yes         1,991      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                             TROUTMAN RODNEY L
                                                                                                                        [XVI], [XVII]                                                  Assessor's                       0.83               $91.18          $181,539.38                                                                                                          Owner as of 6/9/15              City or County Tax Records        3/26/2007           Current Owner                                         12 SE 7th St #801                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                             TROUTMAN SHEILA M
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
 2737    RP         Trujillo, Lisset                   8049 W 36th Avenue #3          Hialeah           FL      33018   [II(B)], [III],          10/7/2009    Yes         1,337     Builder's Floor    Yes                                                                  Taishan            Photo              8              J                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [VII], [XV],                                                     Plan                                                                                                                                                                                   Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $118,966.26                                                                       ROBERTO FUNG CHENG                                                 City or County Tax Records         1/1/2007              7/26/2012                                                                                                                                $0.00
                                                                                                                        [XVI], [XVII]                                                                                                                                                                                                                                           Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219
 2738    RP         Tucker, Joseph and Deborah         2285 SW Plymouth Street        Port St. Lucie    FL      34983   [XIII], [XV],            7/5/2011     Yes         1,858        Appraisal       Yes                                                                  Taishan            Photo              2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XVI], [XVII]                                               Showing Floor                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                        0.82               $90.08          $167,368.64                                                                       ALFREDO LOPEZ                                                      City or County Tax Records         6/4/2008              3/24/2014                                                                                                                                $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                             Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2739    RP         Tuller Investments, LLC            1690 Renaissance Commons       Boynton Beach     FL      33426   [II], [XV], [XVI],       3/15/2010    Yes         1,460      Builder's Floor   Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                       Blvd., Unit 1419                                                 [XVII]                                                            Plan                          0.82               $90.08          $131,516.80                                                                       BAS AYSE NUR                                                       Tax Records + Title/Deed          4/26/2007              5/31/2012                                          900 W. Morgan Street                                                                $94,546.55
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2740    Ex 10/79   Tupper, Douglas and Loreen         7937 Camden Woods Drive        Tampa             FL      33619   [II(A)], [II(B)],        9/16/2010    Yes         2,417      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [VII], [XV],                                                  Assessor's                                                                                                                                             NCRC HOUSING REHAB FUND Owner as of 6/9/15, No Longer                                                                                           Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                        0.83               $91.18          $220,382.06                                                                                                                                          Tax Records + Title/Deed          3/14/2008              4/26/2016                                                                                                                                $0.00
                                                                                                                        [XVI], [XVII]                                               Document with                                                                                                                                            LLC                     Owns Property                                                                                                           Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2741    Ex 10/79   Twin Crest Associates, LLC         1660 Renaissance Commons       Boynton Beach     FL      33426   [III], [XV],             10/7/2009    Yes          817      Builder's Floor    Yes                                                                  Taishan            Photo              1              H                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                       Blvd., Unit 2212                                                 [XVI], [XVII]                                                    Plan                           0.82               $90.08           $73,595.36                                                                       LIVACH, PETER J                                                    Tax Records + Title/Deed           2/8/2007              4/21/2014                                          900 W. Morgan Street                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2742    RP         Tyler, Albania                     6 St. John's Drive             Hampton           VA      23666   [II(C)], [XIII],         1/24/2011    Yes         2,474      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.      Richard J. Serpe, Esq.            (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                        [XV], [XVI],                                                  Assessor's                        0.95              $104.36          $258,186.64                         Property Assessment                           GOODRICH DUANE M                                                   City or County Tax Records        5/11/2006              10/1/2012           Serpe                          580 East Main Street, Suite 310                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                        [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                           Norfolk, VA 23510
 2743    RP         Ucci, Walter                       1562 SW 150th Terrace          Davie             FL      33326   [VII], [IX], [XV],       1/14/2011    Yes         5,182     Builder's Floor    Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Billing, Cochran, Lyles, Mauro Manuel Comras, Esq.               (561) 659-5970   MRC@bclmr.com
                                                                                                                                                                                                                                                                                                                                             KALHIL,AWILDA                      Previous Owner, Did Not Own
                                                                                                                        [XVI], [XVII]                                                    Plan                           0.81               $88.98          $461,094.36                                                                                                                                          Tax Records + Title/Deed          3/30/2007              3/28/2011           & Ramsey, P.A.                 1601 Forum Place, Suite 400                                                           $0.00
                                                                                                                                                                                                                                                                                                                                             KALHIL,FARYT                       Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            West Palm Beach, FL 33401
 2744    RP         Unschuld, Neal                     6072 N.W. 116th Drive          Coral Spring      FL      33076   [XIII], [XV],            7/5/2011     Yes         1,544        Appraisal       Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XVI], [XVII]                                               Showing Floor                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $137,385.12                                                                       HOVAN,CHERYL G                                                     Tax Records + Title/Deed         10/26/2007              2/13/2014                                                                                                                              $51,425.49
                                                                                                                                                                                    Plan and Square                                                                                                                                                                             Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2745    RP         Urso, Christopher                  2120 Delightful Drive          Ruskin            FL      33570   [VII], [XV],             1/14/2011    Yes         1,484      Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Reich & Binstock               Dennis Reich, Esq.                (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                             RODRIGUEZ JANET                    Previous Owner, Did Not Own
                                                                                                                        [XVI], [XVII]                                                  Assessor's                       0.83               $91.18          $135,311.12                                                                                                                                          Tax Records + Title/Deed          9/23/2005              3/10/2015                                          4265 San Felipe, Suite 1000                        om                                 $0.00
                                                                                                                                                                                                                                                                                                                                             RODRIGUEZ                          Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           Houston, TX 77027
 2746    RP         Urtubey, Jason                     2617 69th Street W             Lehigh Acres      FL      33971   [III], [XV],             10/7/2009    Yes         1,847      Property Tax      Yes                                                                  Taishan            Photo              12             L                                                                                                                                                           Reich & Binstock               Dennis Reich, Esq.                (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                             ZELAYA ZAMANTA M + LAZO Previous Owner, Did Not Own
                                                                                                                        [XVI], [XVII]                                                  Assessor's                       0.80               $87.88          $162,314.36                                                                                                                                          Tax Records + Title/Deed         10/23/2008              5/24/2013                                          4265 San Felipe, Suite 1000                        om                                 $0.00
                                                                                                                                                                                                                                                                                                                                             MILENA R                Property on 6/9/15
                                                                                                                                                                                    Document with                                                                                                                                                                                                                                                                                                                           Houston, TX 77027
 2747    RP         Usaga, Johana Rodriguez, Jesus 12986 S.W. 135 Street              Miami             FL      33186   [III], [XV],             10/7/2009    Yes         1,773        Appraisal       Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XVI], [XVII]                                               Showing Floor                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                 Baron & Budd
                                                                                                                                                                                                                        0.81               $88.98          $157,761.54                                                                       CHRISTIAN VILLACORTA LLC                                           City or County Tax Records         8/1/2006              1/11/2013                                                                                                                                $0.00
                                                                                                                                                                                    Plan and Square                                                                                                                                                                             Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                        Footage                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219
 2748    Ex 10/79   Utterback, John and Beverly        1241 Kendari Terrace           Naples            FL      34120   [II], [XV], [XVI],       3/15/2010    Yes         1,649      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                        [XVII]                                                         Assessor's                                                                                                                                            UTTERBACK, JOHN M &                                                                                                                                                            Baron & Budd
                                                                                                                                                                                                                        0.80               $87.88          $144,914.12                                                                                                          Owner as of 6/9/15              City or County Tax Records        6/11/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                    Document with                                                                                                                                            BEVERLY A                                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                    Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 76 of 82



Claimant Source     Claimant Name                   Affected Property Address      City              State   Zip     Omni(s)                Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                 Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                    Sharefile
 2749    RP         Vaca, Amada                     1152 SW Kickaboo Road          Port St. Lucie    FL      34953   [II(B)], [III],          10/7/2009    Yes         2,235      Property Tax     Yes                                                                   Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                    (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                    0.82                $90.08          $201,328.80                                                                        CAMEALE SMART                                                      City or County Tax Records        9/12/2007              6/11/2012                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2750    RP         Vacationhit, LLC a/k/a Koch,    2118 SW 25th Street            Cape Coral        FL      33914   [II(C)], [IX],           1/24/2011    Yes         2,142      Property Tax     Yes                                                                   Taishan            Photo               6              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Torsten and Diana                                                                                [XV], [XVI],                                                  Assessor's                       0.80                $87.88          $188,238.96                                                                        AUGER PAUL + TAMMY                                                 Tax Records + Title/Deed           6/3/2010              3/25/2011                                        12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2751    Ex 10/79   Vacca, Natalie                  126 NW 3rd Avenue              Cape Coral        FL      33993   [XV], [XVI],             7/5/2011     Yes         2,211      Property Tax     Yes                                                                   Taishan            Photo               7              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                     [XVII]                                                        Assessor's                       0.80                $87.88          $194,302.68                                                                        GUIDI MARCELO + KARINA                                             Tax Records + Title/Deed           4/5/2007              1/3/2014                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2752    Ex 10/79   Vaccaro, Chase and Robin        14117 Stilton Street           Tampa             FL      33626   [II(A)], [II(B)],        9/16/2010    Yes         2,627      Property Tax     Yes                                                                   Taihe              Photo               14, 15         H, I                                                                                                                                                        Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                  Assessor's                       0.83                $91.18          $239,529.86                                                                        COLANGELO DAVID                                                    Tax Records + Title/Deed          8/17/2007              10/7/2013                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2753    Ex 10/79   Valdes, Jorge and Juana         1962 SE 22 Court               Homestead         FL      33035   [III], [IX], [XV],       10/7/2009    Yes         2,087         Other         Yes                                                                   Taishan            Photo               5              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                                                                                                                                                                         JORGE VALDES &W JUANA &                                                                                                                         Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81               $88.98          $185,701.26                                                                                                Owner as of 6/9/15                         City or County Tax Records        8/29/2006           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                           VIVIANA M VALDES JTRS                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2754    Ex 10/79   Valdes, Michael and Florenda    8912 SW 229th Street           Cutler Bay        FL      33190   [II], [II(B)], [IX],     3/15/2010    Yes         2,941      Property Tax       Yes                                                                 Taishan            Photo               8              J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                  Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.81               $88.98          $261,690.18                                                                        WILFREDO PERALTA                                                   City or County Tax Records        2/25/2009              9/6/2016                                                                                                                                  $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2755    Ex 10/79   Valentin, Miguel                10902 NW 83rd St., Apt. 208    Doral             FL      33178   [IX], [XV],              5/5/2011     Yes         1,429      Property Tax      Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.81               $88.98          $127,152.42                                                                        MIGUEL A VALENTIN                  Owner as of 6/9/15              Tax Records + Title/Deed          2/16/2007           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                          $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          300
 2756    RP         Valle, Gladys                   302 NE 14th Street             Cape Coral        FL      33909   [II], [XV], [XVI],       3/15/2010    Yes         1,734         Other          Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           ACETO JOSEPH W JR + KARLA Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                                                          0.80               $87.88          $152,383.92                                                                                                                                           Tax Records + Title/Deed          5/14/2009             10/18/2013                                        12800 University Drive, Suite 600                      m                               $81,590.08
                                                                                                                                                                                                                                                                                                                                           A                         Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 2757    Ex 10/79   Vanasdale, Connie and Dennis    2373 S.W. Almansa Avenue       Port St. Lucie    FL      34953   [III], [IX], [XV],       10/7/2009    Yes         2,107      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                 Assessor's                                                                            Manufacturer 2                                                    DENNIS VANASDALE                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $189,798.56                                                                                                           Owner as of 6/9/15              City or County Tax Records        12/5/1998           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             CONNIE VANASDALE                                                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2758    Ex 10/79   Vappie, Cathy Parker            9700 Andover Drive             New Orleans       LA      70127   [II], [VII], [XIII],     3/15/2010    Yes         1,709      Property Tax      Yes                                                                  Crescent City      Inspection Report   N/A            D                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                     (504) 581-4892   rherman@hhklawfirm.com                            Sq ft confirmed by
                                                                                                                     [XV], [XVI],                                                  Assessor's                        0.86               $94.47          $161,449.23                                                                        VAPPIE CATHY PATRICE               Owner as of 6/9/15              City or County Tax Records       12/12/2007           Current Owner                                       820 O'Keefe Avenue                                                                       $0.00           BKC
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
 2759    RP         Vargas, Odilio                  1690 Renaissance Commons       Boynton Beach     FL      33426   [II], [XV], [XVI],       3/15/2010    Yes         1,119     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                    Blvd., Unit 1424                                                 [XVII]                                                           Plan                           0.82               $90.08          $100,799.52                                                                        LEO FAMILY PROPERTIES II                                           Tax Records + Title/Deed          4/26/2007              2/3/2014                                         900 W. Morgan Street                                                                   $94,152.75
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2760    RP         Vargas, Teodoro and Yolanda     5112 Cactus Needle Lane        Wesley Chapel     FL      33543   [IX], [XIII],            5/5/2011     Yes         1,385       Inspection       Yes                                                                  Taihe              Photo               17, 21         I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XV], [XVI],                                                Showing Floor                                                                                                                                             VARGAS SILVIA &                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                     0.83               $91.18          $126,284.30                                                                                                                                           Tax Records + Title/Deed          5/31/2007              1/24/2013                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                      Plan and Under                                                                                                                                            MARIN SANTIAGO                     Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                   Air Square                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2761    Ex 10/79   Vasquez, Claudia                702 S.W. 147 Avenue            Pembroke Pines    FL      33027   [II], [IX], [XV],        3/15/2010    Yes         1,554      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.81               $88.98          $138,274.92                                                                        VASQUEZ,CLAUDIA C                  Owner as of 6/9/15              Tax Records + Title/Deed          9/21/2006           Current Owner                                       12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 2762    RP         Vaughan, Gregory and Pauline    2036 NW 7th Street             Cape Coral        FL      33993   [IX], [XV],              5/5/2011     Yes         1,408      Property Tax      Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           SIMONS FREDERICK J &               Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                  Assessor's                       0.80               $87.88          $123,735.04                                                                                                                                           Tax Records + Title/Deed           5/9/2008             10/14/2013                                        12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           SIMONS CINDY A                     Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2763    Ex 10/79   Vaughan-Miller, Marilyn Faye    2601 Mary Elizabeth Lane       Plant City        FL      33565   [XV], [XVI],             7/5/2011     Yes         4,767      Property Tax      Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                    and Miller, Gerald                                                                               [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                          12800 University Drive, Suite 600                      m
                                                                                                                                                                                                                                                                                                                                           MILLER FAYE VAUGHAN
                                                                                                                                                                                 Document with                       0.83               $91.18          $434,655.06                                                                                                           Owner as of 6/9/15              City or County Tax Records        4/15/2009           Current Owner                                       Fort Myers, FL 33907                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                           VAUGHAN SUELYNN
                                                                                                                                                                                 Square Footage

 2764    Ex 10/79   Vayda, Richard and Rita         366 Recker Highway             Auburndale        FL      33823   [II], [IX], [XV],        3/15/2010    Yes         1,512      Property Tax      Yes                                                                  Taishan            Photo               1              H                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           VAYDA, RICHARD W; VAYDA,
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.80               $87.88          $132,874.56                                                                                                 Owner as of 6/9/15                        Tax Records + Title/Deed          4/19/1995           Current Owner                                       27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           RITA FAYE
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2765    Ex 10/79   Venetian Village of Brevard     1045 Venetian Drive (3 of 8)   Melbourne         FL      32904   [XV], [XVI],             7/5/2011     Yes         1,860      Property Tax      Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           HUBACEK, ZBYNEK;                   Previous Owner, Did Not Own
                    Condo Association, Inc.         #201                                                             [XVII]                                                        Assessor's                        0.84               $92.27          $171,622.20                                                                                                                                           Tax Records + Title/Deed                                 8/4/2006                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           BLAHOVA, LUCIE                     Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2766    Ex 10/79   Venetian Village of Brevard     1045 Venetian Drive (4 of 8)   Melbourne         FL      32904   [XV], [XVI],             7/5/2011     Yes         1,438      Property Tax      Yes                                                                  Taishan            Photo               5              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           MCCALLA, ROBYN A; EVANS- Previous Owner, Did Not Own
                    Condo Association, Inc.         #102                                                             [XVII]                                                        Assessor's                        0.84               $92.27          $132,684.26                                                                                                                                           Tax Records + Title/Deed                                 7/21/2006                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           PHILLIPS, DONNA          Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2767    Ex 10/79   Venetian Village of Brevard     1045 Venetian Drive (6 of 8)   Melbourne         FL      32904   [XV], [XVI],             7/5/2011     Yes         1,438      Property Tax      Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Condo Association, Inc.         #104                                                             [XVII]                                                        Assessor's                        0.84               $92.27          $132,684.26                                                                        ZARA VENTURES LLC                                                  Tax Records + Title/Deed                                12/15/2006                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2768    Ex 10/79   Venetian Village of Brevard     1045 Venetian Drive (7 of 8)   Melbourne         FL      32904   [II(B)], [VII],          12/6/2010    Yes         1,860      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           SHEPHERD, FELIX;                   Previous Owner, Did Not Own
                    Condo Association, Inc.         #205                                                             [XV], [XVI],                                                  Assessor's                        0.84               $92.27          $171,622.20                                                                                                                                           Tax Records + Title/Deed                                 8/21/2006                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           SHEPHERD, JACQUELINE S             Property on 6/9/15
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2769    Ex 10/79   Venetian Village of Brevard     1045 Venetian Drive (8 of 8)   Melbourne         FL      32904   [XV], [XVI],             7/5/2011     Yes         1,781      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           PANG, TIANTIAN; LUO, JI;           Previous Owner, Did Not Own
                    Condo Association, Inc.         #203                                                             [XVII]                                                        Assessor's                        0.84               $92.27          $164,332.87                                                                                                                                           Tax Records + Title/Deed                                 7/31/2006                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                           PANG, ERCHENG                      Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2770    Ex 10/79   Venetian Village of Brevard     1045 Venetian Drive Melbourne, Melbourne         FL      32904   [II(B)], [XV],           12/6/2010    Yes         1,781      Property Tax      Yes                                                                  Taishan            Photo               2, 7, 9        J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                    Condo Association, Inc.         FL 32904 #204                                                    [XVI], [XVII]                                                 Assessor's                        0.84               $92.27          $164,332.87                                                                        GILBERT, DEBORAH K                                                 City or County Tax Records                               8/31/2006                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2771    RP         Ventimiglia, Sal                9597 Cinnamon Court            Parkland          FL      33076   [IX], [XV],              5/5/2011     Yes         2,932      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                    (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                 Assessor's                        0.81               $88.98          $260,889.36                                                                        SEFAIR,ANTONIO                                                     Tax Records + Title/Deed          9/13/2006              2/11/2014                                        12 SE 7th St #801                                                                        $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Fort Lauderdale, FL 33301-3434
 2772    Ex 10/79   Verderame, Frances              1690 Renaissance Commons       Boynton Beach     FL      33426   [II], [XV], [XVI],       3/15/2010    Yes         1,460     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                      919-600-5000     dan@wbmllp.com
                                                    Blvd., Unit 1219                                                 [XVII]                                                           Plan                           0.82               $90.08          $131,516.80                                                                        VERDERAME FRANCES                  Owner as of 6/9/15              City or County Tax Records        4/16/2007           Current Owner                                       900 W. Morgan Street                                                                   $95,418.54
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2773    Ex 10/79   Verrino, Anthony and Diane      2408 Creely Drive              Chalmette         LA      70043   [II(B)], [XV],           12/6/2010    Yes         1,524      Property Tax       No                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.           504-271-8422     storres@torres-law.com                            BKC confirmed sq ft
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                             LOVELL, CHERIE A. &                Previous Owner, Did Not Own                                                                                  Torres, III                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                     0.86               $94.47          $143,972.28                                                                                                                                           City or County Tax Records        12/4/2006              5/22/2012                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             LOVELL, JESS ROBERT                Property on 6/9/15                                                                                                                        303
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Chalmette, LA 70043
 2774    Ex 10/79   Vescio, Angelo and Elena        425 - 21st Court SW            Vero Beach        FL      32960   [XV], [XVI],             7/5/2011     Yes         2,530       Benchmark        Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                        Inspection                                                                                                                                                                                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.84               $92.27          $233,443.10                                                                        VESCIO, ANGELO AND ELENA Owner as of 6/9/15                        Tax Records + Title/Deed          9/16/2005           Current Owner                                                                                                                              $82,232.80
                                                                                                                                                                                  Report Using                                                                                                                                                                                                                                                                                             Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Zillow.com for                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2775    Ex 10/79   Vest, Hugh and Tracy            111 Eston’s Run                Yorktown          VA      23693   [II], [XV], [XVI],       3/15/2010    Yes         3,037      Property Tax      Yes                                                                  Venture Supply     Photo               38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.                 (305) 476-7400   patrick@colson.com
                                                                                                                     [XVII]                                                         Assessor's                                                                                                                                             HUMBER NOEL A & LINDSAY Owner as of 6/9/15, No Longer                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.95              $104.36          $316,941.32                                                                                                                                           City or County Tax Records        6/26/2006              9/28/2015                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                             MD                      Owns Property                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe             Coral Gables, FL 33134
 2776    Ex 10/79   Viada, Jodi                     3017 Oak Drive                 Violet            LA      70092   [IX], [XV],              5/5/2011     Yes         1,168     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.           504-271-8422     storres@torres-law.com
                                                                                                                     [XVI], [XVII]                                                    Plan                           0.86               $94.47          $110,340.96                                                                        VIADA, JODI R.                     Owner as of 6/9/15              City or County Tax Records        11/6/2012           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        303
 2777    Ex 10/79   Vickers, Phillip and Sandra     29234 Caddy Shack Lane         San Antonio       FL      33576   [II(A)], [XV],           9/16/2010    Yes         1,664          Other         Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                    (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Owner as of 6/9/15, No Longer
                                                                                                                     [XVI], [XVII]                                                                                   0.83               $91.18          $151,723.52                                                                        LUCAS MICHELE B                                                    City or County Tax Records        9/30/2002             11/30/2015                                        12800 University Drive, Suite 600                      m                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Owns Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 2778    RP         Victor, Remi L., Jr.            4351 Bellaria Way, #440        Ft. Myers         FL      33916   [IX], [XV],              5/5/2011     Yes         1,228     Builder's Floor     Yes                                                                 ProWall            Photo               43, 44         G                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                     (214) 521-3605   rbudd@baronbudd.com                               See Cobblestone unit
                                                                                                                     [XVI], [XVII]                                                    Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd                                                                                             on OCXX
                                                                                                                                                                                                                     0.80               $87.88          $107,916.64                                                                        ROACH DANIEL S                                                     Tax Records + Title/Deed          12/8/2006              4/19/2012                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2779    Ex 10/79 & Vieau, Mark                     11842 Bayport Lane, Building   Ft. Myers         FL      33908   [XV], [XVI],             7/5/2011     Yes         1,661       Property Tax     Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           JONES RICHARD LEE + JONES Owner as of 6/9/15, No Longer
         Omni XX                                    #2103                                                            [XVII], [XX]                                                   Assessor's                       0.80               $87.88          $145,968.68                                                                                                                                           City or County Tax Records        11/6/2006              4/18/2016                                        27300 Riverview Center Blvd                                                            $97,308.42
                                                                                                                                                                                                                                                                                                                                           LANA A WONG               Owns Property
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2780    Ex 10/79   Vila, Desiree                   2204 Soho Bay Court            Tampa             FL      33606   [II(A)], [IX],           9/16/2010    Yes         1,605       Property Tax     Yes                                                                  Taihe              Photo               14, 18         H, I                                                                                                                                                        Parker Waichman              Jerrold Parker, Esq.                  (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XV], [XVI],                                                   Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                               27300 Riverview Center Blvd
                                                                                                                                                                                                                     0.83               $91.18          $146,343.90                                                                        SOHO REAL ESTATE LLC                                               Tax Records + Title/Deed           4/2/2007              2/16/2012                                                                                                                                 $0.00
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                        Bonita Springs, FL 34134
                                                                                                                                                                                 Square Footage
 2781    Ex 10/79   Villalobos, Angel and Maria     10849 NW 79 Street             Doral             FL      33178   [III], [VII], [XV],      10/7/2009    Yes         1,894       Property Tax     Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Colson, Hicks, Eidson Levin,   Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                     [XVI], [XVII]                                                  Assessor's                                                                                                                                             ANGEL VILLALOBOS &W                                                                                                                             Fishbein, Sedran & Berman      Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.81               $88.98          $168,528.12                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          1/23/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                             MAIRA DE                                                                                                                                        Hausfeld LLP Law Offices of    255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                            Richard J. Serpe               Coral Gables, FL 33134
 2782    Ex 10/79   Villalobos, Gilliam             8129 W. 36th Avenue Unit #4    Hialeah           FL      33018   [VII], [XIII],           1/14/2011    Yes         1,356       Property Tax     Yes                                                                  Taishan            Photo               8              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           GILIAM ENRIQUE
                                                                                                                     [XV], [XVI],                                                   Assessor's                       0.81               $88.98          $120,656.88                                                                                                           Owner as of 6/9/15              City or County Tax Records         3/9/2007           Current Owner                                         27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                           VILLALOBOS
                                                                                                                     [XVII]                                                      Document with                                                                                                                                                                                                                                                                                                                            Bonita Springs, FL 34134
 2783    Ex 10/79   Villanueva, Lanny               1800 Michelle Drive            St. Bernard       LA      70085   [III(A)], [XV],          9/16/2010    No          1,883        Appraisal       Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                                                           Baron & Budd
                                                                                                                                                                                                                     0.86               $94.47          $177,887.01                                                                        VILLANUEVA, LANNY C., JR.          Owner as of 6/9/15              City or County Tax Records        6/11/1996           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
 2784    RP         Villarama, Lilia                202 Medici Terrace             North Venice      FL      34275   [III], [IX], [XV],       10/7/2009    Yes         2,195        Appraisal       Yes                                                                  Taishan            Inspection Report   N/A            L           SAVAN AND MILLIE                                                                                                                                Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                Showing Floor                      0.83               $91.18          $200,140.10                                                                        MILKOVICH FAMILY                                                   City or County Tax Records        7/28/2006              2/20/2012                                          12 SE 7th St #801                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                 Plan and Square                                                                                                                                           REVOCABLE LIVING TRUST                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 2785    Ex 10/79   Villasana, George and Michael   170 SE 2nd Street              Deerfield Beach   FL      33441   [II(C)], [III(A)],       9/16/2010    Yes         1,398       Property Tax     Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [VII], [XV],                                                   Assessor's                                                                                                                                             HAIRSTON,AMANDA B                  Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.82               $90.08          $125,931.84                                                                                                                                           Tax Records + Title/Deed          8/21/2006              9/6/2016                                                                                                                                  $0.00
                                                                                                                     [XVI], [XVII]                                               Document with                                                                                                                                             PEROVANOVIC,STEPHAN                Owns Property                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2786    Add.       Villaverde, Gilbert & Gloria    1616 SW 52nd Street            Cape Coral        FL      33914   [II], [XV], [XVI],       3/15/2010    Yes         3,144     Property Tax       Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           PEARSON DINA BELACHEW + Previous Owner, Did Not Own
         Taishan                                                                                                     [XVII], [XX]                                                Assessor's                          0.80               $87.88          $276,294.72                                                                                                                                           City or County Tax Records        1/17/2005              12/3/2013                                          12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                           PEARSON ROBERT L JR W/H Property on 6/9/15
         Prop. &                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 77 of 82



Claimant Source     Claimant Name                   Affected Property Address        City              State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                    Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                                2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                              Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                 Prior Settlement
                                                                                                                                                  Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                    Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                 Payment(s)- REDACTED
                                                                                                                                                                                   Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                      [A]
                                                                                                                                                                                     Sharefile
 2787    Ex 10/79   Vincent, Earl S. (Jr.) and Myrna 4800 Stemway Drive              New Orleans       LA      70126   [XIII], [XV],           7/5/2011     Yes         2,580      Property Tax     Yes                                                                   Taihe              Photo              17, 20         I                                                                                                                                                           Herman, Herman & Katz         Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                               Sq ft confirmed by
                    B.                                                                                                 [XVI], [XVII]                                                Assessor's                                                                                                                                                                                                                                                                                                                           820 O'Keefe Avenue                                                                                       BKC
                                                                                                                                                                                                                     0.86                $94.47          $243,732.60                                                                       VINCENT EARL S JR                  Owner as of 6/9/15              City or County Tax Records         4/2/1993           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
                                                                                                                                                                                  Square Footage
 2788    Ex 10/79   Vitiello, Anthony and Laura     2619 NW 10th Terrace             Cape Coral        FL      33993   [XIII], [XV],           7/5/2011     Yes         2,030      Property Tax     Yes                                                                   Taishan            Photo              7              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.               (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                Assessor's                       0.80                $87.88          $178,396.40                                                                       BANK OF AMERICA NA                                                 Tax Records + Title/Deed          2/18/2009              5/29/2013                                         27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2789    Ex 10/79   Voebel, Matt Villanueva, Lauren 3313 Charles Court               Chalmette         LA      70043   [II(B)], [VII],         12/6/2010    Yes         1,800      Property Tax     Yes                                                                   Taihe              Video              20             I                                                                                                                                                           The Lambert Firm              Hugh Lambert, Esq.                 (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                           FITZGERALD, MICHAEL
                                                                                                                       [XV], [XVI],                                                 Assessor's                                                                                                                                                                       Owner as of 6/9/15, No Longer                                                                                                                       701 Magazine St,                                    om
                                                                                                                                                                                                                     0.86                $94.47          $170,046.00                                                                       JOSEPH & FITZGERALD, LISA                                          City or County Tax Records         6/6/2008              4/26/2016                                                                                                                                  $0.00
                                                                                                                       [XVII]                                                     Document with                                                                                                                                                                      Owns Property                                                                                                                                       New Orleans LA 70130
                                                                                                                                                                                                                                                                                                                                           P.
                                                                                                                                                                                  Square Footage
 2790    Ex 10/79 & Vollmar, Frank and Elizabeth    1820 SW 3rd Avenue               Cape Coral        FL      33991   [III], [III(A)],        10/7/2009    Yes         1,718      Property Tax      Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           COMBINED ASSET                     Previous Owner, Did Not Own
         RP                                                                                                            [XV], [XVI],                                                 Assessor's                        0.80               $87.88          $150,977.84                                                                                                                                          Tax Records + Title/Deed           5/6/2008              4/16/2012                                        12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                                                                                                                                                                           MANAGEMENT LLC                     Property on 6/9/15
                                                                                                                       [XVII], [XX]                                               Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2791    Ex 10/79   Vollrath, Richard and Rebecca   319 Siena Vista Place Unit 271   Sun City Center   FL      33573   [IX], [XV],             5/5/2011     Yes         1,976      Property Tax      Yes                                                                  C&K                Photo              34             B                                                                                                                                                           Krupnick Cambell             Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                           VOLLRATH RICHARD C
                                                                                                                       [XVI], [XVII]                                                Assessor's                        0.83               $91.18          $180,171.68                                                                                                          Owner as of 6/9/15              City or County Tax Records        3/30/2007           Current Owner                                       12 SE 7th St #801                                                                         $0.00
                                                                                                                                                                                                                                                                                                                                           VOLLRATH REBECCA R
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Fort Lauderdale, FL 33301-3434
 2792    Ex 10/79   Voltolina, Michael and Roxann   2005 MD Avenue                   Kenner            LA      70062   [II(A)], [III(A)],      9/16/2010    Yes         1,568     Builder's Floor    Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                           MICHAEL AND ROXANN
                                                                                                                       [XV], [XVI],                                                    Plan                           0.86               $94.47          $148,128.96                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          7/22/1986           Current Owner                                       701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                                                                                                                                                                           VOLTOLINA
                                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70166
 2793    Ex 10/79   Von dem Bach, Christine         6302 Shield Drive                Cresview          FL      32539   [III], [IX], [XV],      10/7/2009    Yes         1,930          Other         Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                       TOLENTINO ISSAC H JR &             Previous Owner, Did Not Own                                                                                  Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.85               $93.37          $180,204.10                                                                                                                                          City or County Tax Records        1/31/2007              7/20/2011                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                           EMILY M                            Property on 6/9/15                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2794    Ex 10/79   Voskressensky, Andre and        8627 Cobblestone Point Circle    Boynton Beach     FL      33427   [II(A)], [XV],          9/16/2010    Yes         3,408      Property Tax       No                                                                  BNBMDB             Photo              24             A                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                                  Sq ft confirmed by
                    Goldstein, Janet                                                                                   [XVI], [XVII]                                                Assessor's                                                                                                                                             GOLDSTEIN JANET T                                                                                                                                                            Baron & Budd                                                                                              BKC
                                                                                                                                                                                                                      0.82               $90.08          $306,992.64                                                                                               Owner as of 6/9/15                         Tax Records + Title/Deed          1/25/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                            VOSKRESSENSKY ANDRE E &                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2795    Ex 10/79   Vrchota, Roy                    1330 68th Street North           West Palm Beach   FL      33412   [IX], [XV],             5/5/2011     Yes         2,518      Property Tax      Yes                                                                  Dragon Brand/ Photo                   22, 24, 26     A                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                       [XVI], [XVII]                                                Assessor's                                                                            BNBM/ BNBMDB                                                                                                                                                                                                     Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         300
                                                                                                                                                                                  Square Footage                                                                                                                                           ARBOUR CASEY N                                                                                                                                                               Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                                                                                                                      0.82               $90.08          $226,821.44                                                                       ARBOUR CHRISTOPHER &                                               City or County Tax Records       12/23/2008              6/3/2014                                                                                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15




 2796    Ex 10/79   Vu, Jessie and Mai, Kristy      11342 Pressburg Street           New Orleans       LA      70128   [III], [VII], [XV],     10/7/2009    Yes         1,973       Property Tax     Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                       [XVI], [XVII]                                                 Assessor's                                                                                                                                            VU JESSIE                                                                                                                                       LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $186,389.31                                                                                                          Owner as of 6/9/15              City or County Tax Records       10/16/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                            MAI KRISTY T                                                                                                                                                                 425 W. Airline Hwy, Suite B
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 2797    Ex 10/79   Vu, Thanh and Trinh, Tro        501 E. North Street              Pass Christian    MS      39571   [XV], [XVI],            7/5/2011     Yes         1,516        Appraisal       Yes                                                                  Taihe              Photo              17, 20         I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                       [XVII], [XXIII]                                            Showing Floor                       0.84               $92.27          $139,909.00                                                                       VU TONY                            Owner as of 6/9/15              Tax Records + Title/Deed           2/4/2008           Current Owner                                       900 W. Morgan Street                                                                      $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2798    Ex 10/79   Vucinovich, Thomas and          4330 Genoa Road                  New Orleans       LA      70129   [II], [IX], [XV],       3/15/2010    Yes         2,174        Inspection      Yes                                                                  Crescent City      Photo              27             D           VUCINOVICH THOMAS F                                                                                                                             Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                    Warrine                                                                                            [XVI], [XVII]                                               Showing Floor                                                                                                                                           DOYLE KAREN L                                                                                                                                   Torres, III                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                  Plan and Under                                                                                                                                           DOYLE KIM A                                                                                                                                                                  303
                                                                                                                                                                                     Air Square
                                                                                                                                                                                                                      0.86               $94.47          $205,358.89                                                                                                          Owner as of 6/9/15              City or County Tax Records       12/16/2009           Current Owner
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                           DOYLE KAY F
                                                                                                                                                                                      Footage                                                                                                                                              DOYLE DANIEL R
                                                                                                                                                                                                                                                                                                                                           DOYLE KARLA M
 2799    Ex 10/79   Wagley, David                   4607 Loraine Avenue South        Lehigh Acres      FL      33976   [XIII], [XV],           7/5/2011     Yes         1,434     Builder's Floor     Yes                                                                 IMT                Photo              33             F                                                                                                                                                           Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVI], [XVII]                                                   Plan                                                                                                                                                WAGLEY DAVID L + SANDRA                                                                                                                         Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.80               $87.88          $126,019.92                                                                                               Owner as of 6/9/15                         City or County Tax Records         5/4/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           L                                                                                                                                               Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2800    Ex 10/79   Wagner, Angela                  2844 Clouet Street               New Orleans       LA      70126   [XIII], [XV],           7/5/2011     Yes         1,024       Property Tax     Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           The Lambert Firm Kanner & Hugh Lambert, Esq.                     (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                       [XVI], [XVII]                                                 Assessor's                       0.86               $94.47           $96,737.28                                                                       WAGNER ANGELA                      Owner as of 6/9/15              City or County Tax Records        7/17/1993           Current Owner          Whitely Greg Dileo           701 Magazine St,                                     om                                   $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New Orleans LA 70130
 2801    Ex 10/79   Wagner, Jonathon and Samantha 11526 Hammocks Glade Drive         Riverview         FL      33569   [II(C)], [III(A)],      9/16/2010    Yes         1,263       Property Tax     Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                           SYMES VASHNI LENA SYMES Previous Owner, Did Not Own
                                                                                                                       [IX], [XV],                                                   Assessor's                       0.83               $91.18          $115,160.34                                                                                                                                          Tax Records + Title/Deed           6/2/2006              5/11/2011                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                           RICHARD AARON           Property on 6/9/15
                                                                                                                       [XVI], [XVII]                                              Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2802    Ex 10/79   Waiters, James and Terrea       3108 Angelique Drive             Violet            LA      70092   [IX], [XV],             5/5/2011     Yes         1,350        Appraisal       Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                       [XVI], [XVII]                                              Showing Floor                                                                                                                                                                                                                                                                                                                         Young Law Firm
                                                                                                                                                                                                                      0.86               $94.47          $127,534.50                                                                       WAITERS, JAMES, III                Owner as of 6/9/15              City or County Tax Records         5/3/2011           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                       1010 Common St., Suite 3040
                                                                                                                                                                                      Footage                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70112
 2803    Ex 10/79   Walker, Alphonso and Nora       4973 Chantilly Drive             New Orleans       LA      70126   [XV], [XVI],            7/5/2011     Yes         2,145        Inspection      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                       [XVII]                                                      Showing Floor                      0.86               $94.47          $202,638.15                                                                       WALKER ALPHONSO SR                 Owner as of 6/9/15              Tax Records + Title/Deed           5/9/1973           Current Owner                                       338 Lafayette Street                                                                      $0.00
                                                                                                                                                                                  Plan and Under                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70130
 2804    Ex 10/79   Walker, Andrew and Cathy        7460 Bridgeview Drive            Wesley Chapel     FL      33545   [II], [XV], [XVI],      3/15/2010    Yes         3,222      Builder's Floor    Yes                                                                 Taishan            Photo              1              H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [XVII]                                                           Plan                                                                                                                                               WALKER CATHY L &                                                                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                      0.83               $91.18          $293,781.96                                                                                                          Owner as of 6/9/15              Tax Records + Title/Deed          7/24/2007           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                           ANDREW P JR                                                                                                                                     Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2805    Ex 10/79 & Walker, Barry                   30 Lang Place                    Ragland           AL      35131   [XV], [XVI],            7/5/2011     Yes         1069       Property Tax      Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Collins & Horsley            W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail.
         Omni XX                                                                                                       [XVII], [XX],                                                Assessor's                                                                                                                                                                                                                                                                                                                          Collins Law Firm                                     com
                                                                                                                                                                                                                      0.84               $92.27           $98,636.63                                                                       WALKER BARRY JOE                   Owner as of 6/9/15              City or County Tax Records        9/15/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                       [XXI], [XXVIII]                                            Document with                                                                                                                                                                                                                                                                                                                         1461 Shades Crest Road
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                                                        Hoover, AL 35226
 2806    Ex 10/79   Walker, Ben                     1012 Hollymeade Circle           Newport News      VA      23602   [II], [XV], [XVI],      3/15/2010    Yes         1,716      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                       Assessor's                                                                                                                                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.95              $104.36          $179,081.76                                                                       WALKER BENJAMIN D,                 Owner as of 6/9/15              City or County Tax Records        7/17/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2807    Ex 10/79   Walker, Christopher and Tanya   712 Stanhope Close               Chesapeake        VA      23320   [XV], [XVI],            7/5/2011     Yes         2,580      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                                   *VA settlement
                                                                                                                       [XVII]                                                       Assessor's                                                                                                                                             WALKER CHRISTOPHER L &                                                                                                                          Fishbein, Sedran & Berman    Colson, Hicks, Eidson                                                                                     payment to Corinth
                                                                                                                                                                                                                      0.94              $103.26          $266,410.80                                                                                                          Owner as of 6/9/15              City or County Tax Records       10/16/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Document with                                                                                                                                            TANYA M                                                                                                                                         Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                                                    Homes, LLC
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2808    Ex 10/79   Walker, Demetra                 485 Tranquil Drive               Winder            GA      30680   [II(A)], [XV],          9/16/2010    Yes         1,746      Property Tax      Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                       [XVI], [XVII],                                               Assessor's                        0.81               $88.98          $155,359.08                                                                       WALKER DEMETRA F                   Owner as of 6/9/15              City or County Tax Records         7/7/2006           Current Owner                                       900 W. Morgan Street                                                                      $0.00
                                                                                                                       [XXII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
 2809    RP         Walker, William and Melissa     1536 Abyss Drive                 Odessa            FL      33556   [II(C)], [III],         10/7/2009    Yes         3,109     Builder's Floor     Yes                                                                 Taihe              Photo              18             I                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                       [VII], [IX], [XV],                                              Plan                                                                                                                                                                                                                                                                                                Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                                                  0.83               $91.18          $283,478.62                                                                       BUNCH JASON                                                        Tax Records + Title/Deed          4/27/2007              3/24/2014                                        3102 Oak Lawn Ave., Ste. 1100                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219

 2810    Ex 10/79   Wallace, Alonza                 108 Old Folkston Road            Kingsland         GA      31548   [III], [XV],            10/7/2009    Yes         3,651      Property Tax      Yes                                                                  Chinese            Photo              37             C                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                           WALLACE ALONZA R &
                                                                                                                       [XVI], [XVII],                                               Assessor's                        0.82               $90.08          $328,882.08      Manufacturer 2                                                                                      Owner as of 6/9/15              City or County Tax Records         1/1/1992           Current Owner                                        900 W. Morgan Street                                                                     $0.00
                                                                                                                                                                                                                                                                                                                                           SHIRLENE B
                                                                                                                       [XXII]                                                     Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 2811    Ex 10/79   Wallace, Kim L.                 25715 E. Spruce Street           Lacombe           LA      70445   [II(B)], [XV],          12/6/2010    Yes         1,440         Other          Yes                                                                  Taihe              Photo              17, 18         I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com
                                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                     900 W. Morgan Street
                                                                                                                                                                                                                      0.79               $86.78          $124,963.20                                                                       KIM WALLACE                        Owner as of 6/9/15              Tax Records + Title/Deed          7/31/2008           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603

 2812    RP         Walls, Larry and Rosalee        2510 Van Buren Parkway           Cape Coral        FL      33993   [II(B)], [XV],          12/6/2010    Yes         2,248     Builder's Floor    Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                              Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                   Plan                           0.80               $87.88          $197,554.24                                                                       FOLSOM MARK KELLY                                                  Tax Records + Title/Deed          3/11/2002             10/16/2014                                         12800 University Drive, Suite 600                   m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                              Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2813    Ex 10/79   Walsh, James and Barbara        14781 Quay Lane                  Delray Beach      FL      33446   [II], [XV], [XVI],      3/15/2010    Yes         2,274      Property Tax      Yes                                                                  Dragon Brand/      Photo              22, 26         A                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.              (239) 390-1000    jerry@yourlawyer.com
                                                                                                                       [XVII]                                                       Assessor's                                                                            BNBM                                                                                                                                                                                                                                           27300 Riverview Center Blvd
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                           WICKS SIDNEY &                     Previous Owner, Did Not Own
                                                                                                                                                                                  Square Footage                      0.82               $90.08          $204,841.92                                                                                                                                          Tax Records + Title/Deed          4/26/2007              4/23/2013                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                           WICKS SUSAN                        Property on 6/9/15



 2814    RP         Walter, Katie n/k/a Simonds,    4002 24th Street SW              Lehigh Acres      FL      33976   [II(A], [XV],           9/16/2010    Yes         1,886      Property Tax      Yes                                                                  ProWall            Photo              43             G                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                (239) 433-6880    PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                           ORTEGA ISRAEL +                    Previous Owner, Did Not Own
                    Katie                                                                                              [XVI], [XVII]                                                 Assessor's                       0.80               $87.88          $165,741.68                                                                                                                                          Tax Records + Title/Deed          8/17/2009              1/28/2011                                         12800 University Drive, Suite 600                   m                                    $0.00
                                                                                                                                                                                                                                                                                                                                           RODRIGUEZ EMMA H/W                 Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2815    Ex 10/79   Wanadoo, LLC                    9275 Marsh Island Drive          Vero Beach        FL      32963   [II(A)], [XV],          9/16/2010    Yes         5,977        Appraisal       Yes                                                                  Dragon Brand       Photo              26             A                                                                                                                                                           Allison Grant, P.A.           Allison Grant, Esq.               (561) 994-9646    agrant@allisongrantpa.com
                                                                                                                       [XVI], [XVII]                                              Showing Floor                                                                                                                                                                                                                                                                                                                          14 Southeast 4th Street
                                                                                                                                                                                                                      0.84               $92.27          $551,497.79                                                                       WANADOO LLC                        Owner as of 6/9/15              Tax Records + Title/Deed          8/12/2004           Current Owner                                                                                                                                 $0.00
                                                                                                                                                                                  Plan and Square                                                                                                                                                                                                                                                                                                                        Boca Raton, Florida 33432
                                                                                                                                                                                      Footage
 2816    RP         Wangler, Paul                   5972 Louisville Street           New Orleans       LA      70124   [VII], [XV],            1/14/2011    Yes         1,820      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                           GRANT GUY S                        Previous Owner, Did Not Own
                                                                                                                       [XVI], [XVII]                                                 Assessor's                       0.86               $94.47          $171,935.40                                                                                                                                          Tax Records + Title/Deed          4/12/2007             11/14/2014                                        338 Lafayette Street                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                           NELSON WILLIAM L                   Property on 6/9/15
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70130
 2817    Ex 10/79   Ward, Lawrence                  214-B 80th Street                Virginia Beach    VA      23451   [II], [XV], [XVI],      3/15/2010    Yes         2,500      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                       [XVII]                                                        Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                      0.94              $103.26          $258,150.00                                                                       THOMAS OLIVER III                  Records Not Available           City or County Tax Records                                                                                                                                                                          $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                  Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2818    Ex 10/79   Wardallyy, Arthur               8576 Athena Court                Lehigh Acres      FL      33971   [VII], [XV],            1/14/2011    Yes         1,445      Property Tax      Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                       [XVI], [XVII]                                                 Assessor's                       0.80               $87.88          $126,986.60                                                                       WARDALLY ARTHUR                    Owner as of 6/9/15              City or County Tax Records         6/9/2006           Current Owner                                       27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                  Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2819    Ex 10/79   Ware, Shawnell                  7310 Camberley Drive             New Orleans       LA      70128   [III(A)], [VII],        9/16/2010    Yes         2,583        Appraisal       Yes                                                                  Taihe              Photo              18             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                       [XV], [XVI],                                               Showing Floor                                                                                                                                                                                                                                                                                            LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                      0.86               $94.47          $244,016.01                                                                       WARE SHAWNELL M                    Owner as of 6/9/15              City or County Tax Records        9/11/2006           Current Owner                                                                                                                                 $0.00
                                                                                                                       [XVII]                                                     Plan and Square                                                                                                                                                                                                                                                                                                                       425 W. Airline Hwy, Suite B
                                                                                                                                                                                      Footage                                                                                                                                                                                                                                                                                                                           LaPlace, LA 70064
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 78 of 82



Claimant Source     Claimant Name                    Affected Property Address       City             State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                     Counsel                       Counsel Address                     Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                                 2017 RS Means
Identifier                                                                                                                                     Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                               Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                                Prior Settlement
                                                                                                                                                   Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                               Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                     Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                                Payment(s)- REDACTED
                                                                                                                                                                                    Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                       [A]
                                                                                                                                                                                      Sharefile
 2820    Ex 10/79   Warren, Megan and John           919 Monroe Avenue               Lehigh Acres     FL      33972   [XV], [XVI],              7/5/2011     Yes         1,886      Property Tax     Yes                                                                   ProWall            Photo               43, 44         G                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                            27300 Riverview Center Blvd
                                                                                                                                                                                                                      0.80                $87.88          $165,741.68                                                                        WARREN JOHN E + MEGAN L            Owner as of 6/9/15              City or County Tax Records         8/3/2008           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
                                                                                                                                                                                   Square Footage
 2821    Ex 10/79   Washington, Joseph and Brenda    28833 Lindenhurst Drive         Wesley Chapel    FL      33544   [II(A)], [IX],            9/16/2010    Yes         3,847      Property Tax     Yes                                                                   C&K                Photo               34             B                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             WASHINGTON JOSEPH JR &
                                                                                                                      [XV], [XVI],                                                   Assessor's                       0.83                $91.18          $350,769.46                                                                                                           Owner as of 6/9/15              City or County Tax Records       10/10/1995           Current Owner                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             BRENDA L
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2822    Ex 10/79   Washington, Monique              5251 East Idlewood Court        New Orleans      LA      70128   [IX], [XV],               5/5/2011     Yes         1,416      Property Tax     Yes                                                                   Crescent City      Photo               27             D                                                                                                                                                           Hurricane Legal Center, LLC   Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Previous Owner, Did Not Own                                                                                                                Young Law Firm
                                                                                                                                                                                                                      0.86                $94.47          $133,769.52                                                                        WASHINGTON KENDALL J                                               City or County Tax Records         2/6/2002              5/30/2014                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Property on 6/9/15                                                                                                                         1010 Common St., Suite 3040
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70112
 2823    Ex 10/79   Washington, Terry and Kathy      4654 Stephen Girard Avenue      New Orleans      LA      70126   [VII], [XV],              1/14/2011    Yes         1,230       Property Tax     Yes                                                                  Taihe              Photo               19             I           SECRETARY OF HOUSING                                                                                                                            Martzell & Bickford           Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Unknown
                                                                                                                      [XVI], [XVII]                                                   Assessor's                       0.86               $94.47          $116,198.10                                                                        AND URBAN DEVELOPME                                                City or County Tax Records                                                                                 338 Lafayette Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                Purchase Date
                                                                                                                                                                                   Document with                                                                                                                                             NT OF WASHINGTON D C                                                                                                                                                          New Orleans, LA 70130
 2824    Ex 10/79   Watkins, Brian and Beth          240 Ode Moore Road              Michie           TN      38357   [XV], [XVI],              7/5/2011     Yes         1,284        Appraisal       Yes                                                                  Taihe              Photo               17, 18         I                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                                                                                                                      [XVII], [XXVI]                                               Showing Floor                       0.76               $83.49          $107,201.16                                                                        BURKE BEVERLY E                                                    Tax Records + Title/Deed           7/9/2007              2/10/2016                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2825    Ex 10/79   Watson, Jerry; Gordon; Karen     1759 Fuller Drive               Gulf Breeze      FL      32563   [VII], [XV],              1/14/2011    Yes         1,665       Property Tax     Yes                                                                  Taihe              Photo               17             I           WATSON JERRY G & GORDON                                                                                                                         Levin Papantonio              Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                    and Charles                                                                                       [XVI], [XVII]                                                   Assessor's                       0.85               $93.37          $155,461.05                                                                        KAREN LEE & CHARLES     Owner as of 6/9/15                         City or County Tax Records        11/1/1997           Current Owner                                        316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                   Document with                                                                                                                                             MICHAEL                                                                                                                                                                       Pensacola, FL 32502
 2826    RP         Watson, Joan Trust               10834 Tiberio Drive             Ft. Myers        FL      33913   [II], [IX], [XV],         3/15/2010    Yes         2,249      Builder's Floor   Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                      Plan                          0.80               $87.88          $197,642.12                                                                        WEIGEL JOHN J + CYNTHIA A                                          Tax Records + Title/Deed          3/26/2007              2/23/2012                                         12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2827    Ex 10/79   Way, Cedric and Michele          14929 Man O War Drive           Odessa           FL      33556   [II(C)], [IX],            1/24/2011    Yes         3,573     Builder's Floor    Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                      [XV], [XVI],                                                      Plan                                                                                                                                                                                                                                                                                                                               12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                       0.83               $91.18          $325,786.14                                                                        WAY CEDRIC E & MICHELE E Owner as of 6/9/15                        Tax Records + Title/Deed          3/30/2007           Current Owner                                                                                                                                $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Fort Myers, FL 33907

 2828    Ex 10/79   Weaver, Mary                     1403 Lovelady Lane              Lawley           AL      36793   [VII], [XV],              1/14/2011    Yes          936           Other         Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                                       900 W. Morgan Street
                                                                                                                                                                                                                       0.83               $91.18           $85,344.48                                                                        WEAVER MARY A                      Owner as of 6/9/15              City or County Tax Records        3/30/2007           Current Owner                                                                                                                                $0.00
                                                                                                                      [XXI]                                                                                                                                                                                                                                                                                                                                                                                                Raleigh, NC 27603

 2829    Ex 10/79 & Webster, James and Rosalie       1100 Driftwood Drive            Vero Beach       FL      32963   [III], [XV],              10/7/2009    Yes         2,432      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Gould, Cooksey, Fennell, PA   Brian Connelly, Esq.                (772) 678-3521   bconnelly@gouldcooksey.c
                                                                                                                                                                                                                                                                                                                                             WEBSTER, JAMES A AND
         Omni XX                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.84               $92.27          $224,354.51      Manufacturer 2                                                                                       Owner as of 6/9/15              Tax Records + Title/Deed         11/15/2000           Current Owner                                        979 Beachland Blvd.                                  om                                 $0.00
                                                                                                                                                                                                                                                                                                                                             ROSALIE Z
                                                                                                                      [XX]                                                         Document with                                                                                                                                                                                                                                                                                                                           Vero Beach, FL 32963
 2830    RP         Webster, Stephen                 4351 Bellaria Way, Unit #441    Ft. Myers        FL      33916   [IX], [XV],               5/5/2011     Yes         1,228     Builder's Floor     Yes                                                                 ProWall            Photo               43, 44         G                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                       0.80               $87.88          $107,916.64                                                                        GESTION SEBRING IB LLC                                             Tax Records + Title/Deed           1/3/2007              3/2/2015                                                                                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2831    Ex 10/79   Weekley, William and Charlotte 6227 Clear Creek Road             Milton           FL      32570   [III], [VII], [XV],       10/7/2009    Yes         1,990      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Levin Papantonio              Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                                              316 South Baylen St.
                                                                                                                                                                                                                       0.85               $93.37          $185,806.30                                                                        B AND E HOLDINGS LLC                                               Tax Records + Title/Deed          9/24/2003             10/20/2015                                                                                                                                 $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                Owns Property                                                                                                                              Pensacola, FL 32502
                                                                                                                                                                                   Square Footage
 2832    RP         Wegweiser, Wanda and Rebecca 1690 Renaissance Commons            Boynton Beach    FL      33426   [III], [IX], [XIII],      10/7/2009    Yes         1,246     Builder's Floor     Yes                                                                 Taishan            Photo               2, 9           J                                                                                                                                                           Allison Grant, P.A. Baron &   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                 Apt. 1312                                                            [XV], [XVI],                                                      Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                  Budd, P.C.                    Baron & Budd
                                                                                                                                                                                                                       0.82               $90.08          $112,239.68                                                                        SPRINGER STEPHEN                                                   Tax Records + Title/Deed          4/30/2007              2/12/2014                                                                                                                               $94,293.39
                                                                                                                      [XVII]                                                                                                                                                                                                                                                    Property on 6/9/15                                                                                                                         3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dallas, TX 75219
 2833    Ex 10/79   Weiner, Darryl                   6890 Long Leaf Drive            Parkland         FL      33076   [III], [IX], [XV],        10/7/2009    Yes         3,883     Builder's Floor    Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Krupnick Cambell              Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                      [XVI], [XVII]                                                     Plan                           0.81               $88.98          $345,509.34                                                                        WEINER,DARRYL H                    Owner as of 6/9/15              City or County Tax Records        9/29/2006           Current Owner                                        12 SE 7th St #801                                                                       $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Lauderdale, FL 33301-3434
 2834    Ex 10/79   Weinsberg, Edgar and Yvonne      6568 41st Street                Sarasota         FL      34243   [II(C)], [III(A)],        9/16/2010    Yes         2,247     Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                      [IX], [XV],                                                       Plan                           0.83               $91.18          $204,881.46                                                                        WEINSBERG, EDGAR J                 Owner as of 6/9/15              City or County Tax Records         3/7/2011           Current Owner                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 2835    RP         Weisinger, Max                   3733 Kenyon Street              Ft. Myers        FL      33905   [II(B)], [XV],            12/6/2010    Yes         2,179      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.80               $87.88          $191,490.52                                                                        ORELLANA OSCAR A                                                   Tax Records + Title/Deed         10/27/2004              6/4/2010                                          12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2836    Ex 10/79   Weiss, Stephen Buckwald, David 711 SE 16th Court                 Ft. Lauderdale   FL      33304   [II(B)], [VII],           12/6/2010    Yes         2,240         Other          Yes                                                                  Taishan            Photo               6              J                                                                                                                                                           Whitfield, Bryson & Mason     Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    Borowiec, Gary                                                                                    [XV], [XVI],                                                                                     0.81               $88.98          $199,315.20                                                                        MILEY,DAVID                                                        Tax Records + Title/Deed           3/5/2007              4/9/2015                                          900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                               Raleigh, NC 27603
 2837    Ex 10/79   Welch, Billy and Kay             1102 Amber Lake Court           Cape Coral       FL      33909   [XV], [XVI],              7/5/2011     Yes         3,664          Other         Yes                                                                  C&K                Photo               36             B                                                                                                                                                           Morgan & Morgan               Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             WELCH BILLY BRADFORD +
                                                                                                                      [XVII]                                                                                           0.80               $87.88          $321,992.32                                                                                                           Owner as of 6/9/15              City or County Tax Records        2/20/2007           Current Owner                                        12800 University Drive, Suite 600                    m                               $158,837.32
                                                                                                                                                                                                                                                                                                                                             KAY K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Fort Myers, FL 33907
 2838    Ex 10/79   Welcome, Dave and Darnell        7619 Berg Street                New Orleans      LA      70128   [IX], [XV],               5/5/2011     Yes         1,521      Property Tax      Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Hurricane Legal Center, LLC   Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                              WELCOME DAVE C                                                                                                                                                                Young Law Firm
                                                                                                                                                                                                                       0.86               $94.47          $143,688.87                                                                                                Owner as of 6/9/15                         City or County Tax Records       11/18/1991           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                             WELCOME (WIFE DARNELL R                                                                                                                                                       1010 Common St., Suite 3040
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70112
 2839    Ex 10/79   Wells, Crystal                   534 Angela Street               Arabi            LA      70032   [IX], [XV],               5/5/2011     Yes         1,100      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Hurricane Legal Center, LLC   Jacob Young, Esq.                   (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                            Young Law Firm
                                                                                                                                                                                                                       0.86               $94.47          $103,917.00                                                                        WELLS, CRYSTAL SUE                 Owner as of 6/9/15              City or County Tax Records        3/20/2007           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           1010 Common St., Suite 3040
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70112
 2840    Ex 10/79   Welshans, Kent Robert            174 Blount Parkway              Trafford         AL      35172   [II(B)], [XIII],          12/6/2010    Yes         1056          Other           No                                                                  Taihe              Photo               17             I                                                                                                                                                           Gentle, Turner & Sexton       K. Edward Sexton, II                (205)-716-3000   esexton@gtandslaw.com                              Sq ft confirmed by
                                                                                                                      [XV], [XVI],                                                                                     0.84               $92.27           $97,437.12                                                                        WELSHANS, KENT ROBERT              Owner as of 6/9/15              City or County Tax Records        3/17/2009           Current Owner                                        501 Riverchase Parkway East,                                                            $0.00           BKC
                                                                                                                      [XVII], [XXI]                                                                                                                                                                                                                                                                                                                                                                                        Suite 100
 2841    Ex 10/79   Wessler, Robert and Barri        11643 Bluff Lane                Gulfport         MS      39503   [II(B)], [VII],           12/6/2010    Yes         2,653          Other         Yes                                                                  Taihe              Photo               15             I                                                                                                                                                           The Lambert Firm              Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                      [XV], [XVI],                                                                                     0.84               $92.27          $244,792.31                                                                        WESSLER ROBERT C & WF              Owner as of 6/9/15              City or County Tax Records                            Current Owner                                        701 Magazine St,                                     om                                 $0.00
                                                                                                                      [XVII], [XXIII]                                                                                                                                                                                                                                                                                                                                                                                      New Orleans LA 70130
 2842    Ex 10/79   West, Wayne                      3216 Gallo Drive                Chalmette        LA      70043   [IX], [XV],               5/5/2011     Yes         1,856      Property Tax      Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Parker Waichman               Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $175,336.32                                                                        ALMENDAREZ, EDUARDO                                                City or County Tax Records       10/22/2010             12/29/2016                                         27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2843    Ex 10/79   Wester, Billy Ray                346 Talton Circle               Attalla          AL      35954   [IX], [XIII],             5/5/2011     Yes         2735          Other          Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Whitfield, Bryson & Mason,    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                             WESTER, BILLY R & WF
                                                                                                                      [XV], [XVI],                                                                                     0.82               $90.08          $246,368.80                                                                                                           Owner as of 6/9/15              City or County Tax Records         5/1/2006           Current Owner          LLP Gentle, Turner & Sexton   900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                             BEVERLY J
                                                                                                                      [XVII], [XXI]                                                                                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2844    Ex 10/79   Westerfield, Robert and Ashley   3209 Decomine Drive             Chalmette        LA      70043   [II(B)], [III], [IX],     10/7/2009    Yes         1,204     Builder's Floor    Yes                                                                  Crescent City      Photo               27             D           WESTERFIELD, ROBERT J. &                                                                                                                        Law Offices of Sidney D.      Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                      [XV], [XVI],                                                      Plan                           0.86               $94.47          $113,741.88                                                                        WESTERFIELD, ASHLEY                Owner as of 6/9/15              City or County Tax Records         3/3/2008           Current Owner          Torres, III                   8301 W. Judge Perez Drive, Suite                                                        $0.00
                                                                                                                      [XVII]                                                                                                                                                                                                                 SMITH                                                                                                                                                                         303
 2845    Ex 10/79 & Wheeler, Daniel                  3118 Pakenham Dr.               Chalmette        LA      70043   [XIII], [XV],             7/5/2011     Yes         1,210      Property Tax      Yes                                                                  Taihe              Photo               18             I           WHEELER, DANIEL P., JR. 1/2                                                                                                                     Paul A. Lea, Jr., APLC        Paul A. Lea, Jr., Esq.              (985) 292-2300   jean@paullea.com
         Omni XX                                                                                                      [XVI], [XVII],                                                 Assessor's                        0.86               $94.47          $114,308.70                                                                        & CATHALOUGNE, THELMA              Owner as of 6/9/15              City or County Tax Records        5/23/1986           Current Owner                                        724 East Boston Street                                                                  $0.00
                                                                                                                      [XX]                                                         Document with                                                                                                                                             WHEELER 1/2                                                                                                                                                                   Covington, LA 70433
 2846    RP         Wheeler, Dennis and Diane        4226 S.W. 1st Avenue            Cape Coral       FL      33914   [XIII], [XV],             7/5/2011     Yes         2,147     Builder's Floor    Yes                                                                  Taishan            Photo               12             L                                                                                                                                                           Allison Grant, P.A.           Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                      [XVI], [XVII]                                                     Plan                                                                                                                                                                                    Previous Owner, Did Not Own                                                                                                                14 Southeast 4th Street
                                                                                                                                                                                                                       0.80               $87.88          $188,678.36                                                                        BROWN RANDAL K + GAIL M                                            Tax Records + Title/Deed          4/26/2005             10/12/2012                                                                                                                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15                                                                                                                         Boca Raton, Florida 33432

 2847    Ex 10/79   Wheeler, Richard and Elizabeth   5159 44th Avenue North          St. Petersburg   FL      33709   [II(B)], [IX],            12/6/2010    Yes         1,309     Builder's Floor    Yes                                                                  Taihe              Photo               18             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             WHEELER, RICHARD
                                                                                                                      [XV], [XVI],                                                      Plan                           0.82               $90.08          $117,914.72                                                                                                           Owner as of 6/9/15              City or County Tax Records        6/19/2007           Current Owner                                       12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             WHEELER, ELIZABETH
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
 2848    RP         Whelan, John and Robin           6588 Canton Street              Ft. Myers        FL      33966   [III], [VII], [IX],       10/7/2009    Yes         2,892     Builder's Floor    Yes                                                                  Taishan            Photo               7              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XV], [XVI],                                                      Plan                           0.80               $87.88          $254,148.96                                                                        MAGSIG AMY E                                                       Tax Records + Title/Deed          7/23/2004              1/21/2015                                        12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                              Fort Myers, FL 33907
 2849    Ex 10/79   White, Charles and JoAnn         194 Heasletts Road              Childersburg     AL      35044   [IX], [XV],               5/5/2011     Yes         1680       Property Tax      Yes                                                                  Taihe              Photo               19             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                      [XVI], [XVII],                                                  Assessor's                       0.84               $92.27          $155,013.60                                                                        WHITE CHARLES O & JOANN            Owner as of 6/9/15              City or County Tax Records        7/31/2006           Current Owner                                       900 W. Morgan Street                                                                     $0.00
                                                                                                                      [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Raleigh, NC 27603
 2850    Ex 10/79   White, Jerry and Celeste         2604 Creely Drive               Chalmette        LA      70043   [III], [IX], [XV],        10/7/2009    Yes         1,928        Appraisal       Yes                                                                  Taihe              Photo               17             I                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                      [XVI], [XVII]                                                Showing Floor                       0.86               $94.47          $182,138.16                                                                        DOBSON, CELESTE E.                 Owner as of 6/9/15              Tax Records + Title/Deed          3/27/2001           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                         $0.00
                                                                                                                                                                                   Plan and Square                                                                                                                                                                                                                                                                                                                        303
 2851    Ex 10/79   White, Jill and Vincent          11001 Gulf Reflections Drive,   Ft. Myers        FL      33907   [III], [XV],              10/7/2009    Yes         1,526      Property Tax      Yes                                                                  IMT                Photo               32             F                                                                                                                                                           Roberts & Durkee PA Milstein C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                     A304                                                             [XVI], [XVII]                                                   Assessor's                       0.80               $87.88          $134,104.88                                                                        WHITE JILL L                       Owner as of 6/9/15              City or County Tax Records        3/26/2007           Current Owner          Adelman LLP                  2665 South Bayshore Drive Suite                                                        $40,403.05
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          300
 2852    RP         White, John and Evangeline       820 Deslonde Street             New Orleans      LA      70117   [XIII], [XV],             7/5/2011     Yes         1,101          Other         Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com                               See Preservation
                                                                                                                                                                                                                                                                                                                                             WHITE JOHN
                                                                                                                      [XVI], [XVII]                                                                                    0.86               $94.47          $104,011.47                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed          2/26/1996           Current Owner                                       701 Poydras Street, Suite 3650                                                           $0.00           Alliance of New
                                                                                                                                                                                                                                                                                                                                             WHITE EVANGELINE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70166                                                                                    Orleans, Inc. on OCXX
 2853    Ex 10/79   White, Richard and Linda         8495 Chase Preserve Drive       Naples           FL      34113   [XV], [XVI],              7/5/2011     Yes         2,006      Property Tax      Yes                                                                  Chinese            Photo               37             C                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                                                                                                                      [XVII]                                                         Assessor's                        0.80               $87.88          $176,287.28      Manufacturer 2                                                    BAY-SEA LLC                                                        Tax Records + Title/Deed           2/5/2003              8/18/2010                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2854    Ex 10/79   White, Ronald                    1926/1928 Lapeyrouse Street     New Orleans      LA      70116   [IX], [XV],               5/5/2011     Yes         1,460      Property Tax      Yes                                                                  Taihe              Photo               20             I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                     (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                                                                                                                                                                                                                                                                                                                           Young Law Firm
                                                                                                                                                                                                                       0.86               $94.47          $137,926.20                                                                        WHITE RONALD J                     Owner as of 6/9/15              City or County Tax Records        6/28/1996           Current Owner                                                                                                                                $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          1010 Common St., Suite 3040
                                                                                                                                                                                   Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112
 2855    Ex 10/79   White, Taegan and Richard        24331 SW 129 Court              Homestead        FL      33032   [XV], [XVI],              7/5/2011     Yes         1,300      Property Tax      Yes                                                                  Taishan            Photo               2, 9           J                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                             RICHARD WHITE &W TAEGAN
                                                                                                                      [XVII]                                                         Assessor's                        0.81               $88.98          $115,674.00                                                                                                Owner as of 6/9/15                         City or County Tax Records       12/19/2008           Current Owner                                       2100 Southbridge Parkway, Suite                                                          $0.00
                                                                                                                                                                                                                                                                                                                                             WHITE
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          650
 2856    Ex 10/79   Whitfield, Douglas and Sherry    2609 Veronica Drive             Chalmette        LA      70043   [II(B)], [IX],            12/6/2010    Yes         2,067      Property Tax      Yes                                                                  Crescent City      Inspection Report   N/A            D                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                Previous Owner, Did Not Own
                    deLeon, Gordon and Donna                                                                          [XV], [XVI],                                                   Assessor's                        0.86               $94.47          $195,269.49                                                                        ESPIRITU, ROMEO                                                    City or County Tax Records        8/28/2009             11/17/2010                                        27300 Riverview Center Blvd                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                                Property on 6/9/15
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2857    Ex 10/79   Whitfield, Tydell Nealy          5848 Louis Prima Drive, West    New Orleans      LA      70128   [III], [VII], [XV],       10/7/2009    Yes         2,356      Property Tax      Yes                                                                  Taihe              Photo               17, 20         I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                      [XVI], [XVII]                                                  Assessor's                        0.86               $94.47          $222,571.32                                                                        NEALY TYDELL A                     Owner as of 6/9/15              City or County Tax Records         5/8/1998           Current Owner                                       820 O'Keefe Avenue                                                                       $0.00
                                                                                                                                                                                   Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
 2858    Ex 10/79   Whitlock, Scott and Lucille      1124 NE 15th Street             Cape Coral       FL      33909   [II], [III], [IX],        10/7/2009    Yes         1,901      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                             EPPERSON WILLIAM A &               Owner as of 6/9/15, No Longer
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.80               $87.88          $167,059.88                                                                                                                                           Tax Records + Title/Deed          6/17/2005             12/22/2016                                        12800 University Drive, Suite 600                     m                                  $0.00
                                                                                                                                                                                                                                                                                                                                             EPPERSON DEBORAH G                 Owns Property
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
 2859    Ex 10/79   Whitney, Brian                   435 S. Oregon Avenue Unit 402 Tampa              FL      33606   [II(B)], [IX],            12/6/2010    Yes         2,637      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                           Reich & Binstock             Dennis Reich, Esq.                   (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                                                                                                                                                                                                                                                                                Owner as of 6/9/15, No Longer
                                                                                                                      [XV], [XVI],                                                   Assessor's                        0.83               $91.18          $240,441.66                                                                        ROSS CECILIA G TRUSTEE                                             Tax Records + Title/Deed          4/26/2007              3/31/2016                                        4265 San Felipe, Suite 1000                           om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                                Owns Property
                                                                                                                      [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Houston, TX 77027
                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 79 of 82



Claimant Source     Claimant Name                   Affected Property Address     City              State   Zip     Omni(s)                 Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia   Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                      NOTES
                                                                                                                                                                                                               2017 RS Means
Identifier                                                                                                                                   Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                        from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                             Residential Location                                                                                                               Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                               Prior Settlement
                                                                                                                                                 Omni                 Footage      Provided       Verifying                       [B = A x $109.85]       Damages                                             Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                   Factor                                                                                                                 May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                               Payment(s)- REDACTED
                                                                                                                                                                                  Uploaded to Square Footage                                              [SF x B]                                            Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                     [A]
                                                                                                                                                                                   Sharefile
 2860    Ex 10/79   Whitten, Tim and Julie          5223 Municipal Park Drive     Loxley            AL      36551   [III(A)], [VII],          9/16/2010    Yes         1463      Builder's Floor    Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Pittman, Dutton & Hellums    Booth Samuels, Esq.                 (205) 322-8880   BoothS@pittmandutton.com
                                                                                                                                                                                                                                                                                                                                         WHITTEN, TIM D ETAL
                                                                                                                    [XV], [XVI],                                                      Plan                          0.84                $92.27          $134,991.01                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed           3/9/2006           Current Owner                                       2001 Park Pl #1100                                                                      $0.00
                                                                                                                                                                                                                                                                                                                                         WHITTEN, JULIE K
                                                                                                                    [XVII], [XXI]                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35203
 2861    Ex 10/79   Whittington, Brenda and Charles 2105 Governors Pointe Drive   Suffolk           VA      23436   [II], [XV], [XVI],        3/15/2010    No          3,391      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice & N/A           K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                    [XVII]                                                         Assessor's                                                                                               Property Assessment                          WHITTINGTON CHARLES                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                     0.94              $103.26          $350,154.66                                                                                                         Owner as of 6/9/15              City or County Tax Records        7/28/2006           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                           &BRENDA TR                                                                                                                                      Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                          Richard J. Serpe             Coral Gables, FL 33134
 2862    Ex 10/79   Wienstroer, Danny and Patrick   11509 Hammocks Glade Drive    Riverview         FL      33569   [II(C)], [III], [IX],     10/7/2009    Yes         1,550      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         WIENSTROER PATRICK G
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.83              $91.18           $141,329.00                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          8/29/2006           Current Owner                                       27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                         WIENSTROER DANIEL G
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 2863    RP         Wiesman, Robert H. and Juan Z 3508 41st Street SW, Lehigh     Lehigh Acres      FL      33976   [III], [IX], [XV],        10/7/2009    Yes         1,515      Property Tax      Yes                                                                  Taishan            Photo             9              J                                                                                                                                                           Baron & Budd, P.C.           Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                         CERPA MARTIN JOSE LUIS B +
                                                  Acres, Florida 33976                                              [XVI], [XVII]                                                  Assessor's                                                                                                                                                                       Previous Owner, Did Not Own                                                                                                                       Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $133,138.20                                                                      SOLIS ANA DEL PILAR                                                Tax Records + Title/Deed          12/3/2007              4/18/2012                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                      Property on 6/9/15                                                                                                                                3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                         LOZANO H/W
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       Dallas, TX 75219
 2864    Ex 10/79   Wiggins, David Alan             4447 Sierra Lane              Gardendale        AL      35071   [III(A)], [VII],          9/16/2010    Yes         1753       Property Tax      Yes                                                                  Taihe              Photo             20, 21         I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.84              $92.27           $161,749.31                                                                      WIGGINS DAVID ALAN J &             Owner as of 6/9/15              City or County Tax Records         5/1/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        650
 2865    Ex 10/79   Wilcox, Eric and Karen          14117 Stowbridge Avenue       Tampa             FL      33626   [II], [II(C)], [XV],      3/15/2010    Yes         1,367      Property Tax      Yes                                                                  Taihe              Photo             14             H                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                         WILCOX ERIC R
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.83              $91.18           $124,643.06                                                                                                         Owner as of 6/9/15              City or County Tax Records       12/29/2006           Current Owner                                       316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                         WILCOX KAREN M
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
 2866    RP         Wiley, John                     1541 Gerona Terrace           North Point       FL      34286   [II], [VII], [XV],        3/15/2010    Yes         2,049     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                         BILOKOPYTOV IHOR &                 Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                     Plan                           0.83              $91.18           $186,827.82                                                                                                                                         City or County Tax Records        10/6/2005              2/8/2010                                         900 W. Morgan Street                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                         TABAKOVA NADIYA                    Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Raleigh, NC 27603
 2867    RP         Wiley, Thad                     1660 Renaissance Commons      Boynton Beach     FL      33426   [II(C)], [III],           10/7/2009    Yes         1,240     Builder's Floor    Yes                                                                  IMT                Photo             32             F                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                    Blvd., Unit 2111                                                [XV], [XVI],                                                      Plan                           0.82              $90.08           $111,699.20                                                                      CALANDRILLO MICHAEL                                                Tax Records + Title/Deed          5/15/2007              11/9/2010                                        900 W. Morgan Street                                                                  $99,427.31
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                    [XVII]                                                                                                                                                                                                                                                                                                                                                                                            Raleigh, NC 27603
 2868    RP         Wilfer, Rosanne                 1202 Magnolia Alley           Mandeville        LA      70471   [III], [VII], [XV],       10/7/2009    Yes         1,768          Other         Yes                                                                  Taihe              Photo             15             I                                                                                                                                                           The Lambert Firm             Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Unknown
                                                                                                                    [XVI], [XVII]                                                                                    0.79              $86.78           $153,427.04                                                                      ROSENFELD, DAVID B ETUX                                            Tax Records + Title/Deed          2/29/2008                                                               701 Magazine St,                                     om                                 $0.00
                                                                                                                                                                                                                                                                                                                                                                            Purchase Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      New Orleans LA 70130
 2869    Ex 10/79   Wilkie, Robert and Dolores      1742 Bobcat Trail             North Port        FL      34288   [IX], [XIII],             5/5/2011     Yes         2,685     Builder's Floor    Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XV], [XVI],                                                      Plan                           0.83              $91.18           $244,818.30                                                                      WILKIE ROBERT B (TTEE)             Owner as of 6/9/15              Tax Records + Title/Deed          8/30/2006           Current Owner                                       12800 University Drive, Suite 600                    m                               $113,766.44
                                                                                                                    [XVII]                                                                                                                                                                                                                                                                                                                                                                                            Fort Myers, FL 33907
 2870    Ex 10/79   Willey, Ryan and Danielle       1722 Graduate Way             Pensacola         FL      32514   [III], [VII], [XV],       10/7/2009    Yes         2,562      Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                         WILLEY RYAN A & DANIELLE
                                                                                                                    [XVI], [XVII]                                                   Assessor's                       0.85              $93.37           $239,213.94                                                                                               Owner as of 6/9/15                        City or County Tax Records        11/9/2006           Current Owner                                       316 South Baylen St.                                                                    $0.00
                                                                                                                                                                                                                                                                                                                                         J
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Pensacola, FL 32502
 2871    Ex 10/79   Williams, Albert                3015 Clouet Street            New Orleans       LA      70126   [IX], [XV],               5/5/2011     Yes         1,028      Property Tax      Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                                                              Previous Owner, Did Not Own                                                                                                               Young Law Firm
                                                                                                                                                                                                                     0.86              $94.47            $97,115.16                                                                      SCERKA LLC                                                         City or County Tax Records         2/1/2006             10/29/2012                                                                                                                                $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                              Property on 6/9/15                                                                                                                        1010 Common St., Suite 3040
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70112
 2872    Ex 10/79   Williams, Ann                   5940 Kensington Blvd.         New Orleans       LA      70127   [XIII], [XV],             7/5/2011     Yes         5,196       Inspection       Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Barrios, Kingsdorf & Casteix Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                    [XVI], [XVII]                                                Showing Floor                       0.86              $94.47           $490,866.12                                                                      WILLIAMS ANN M                     Owner as of 6/9/15              City or County Tax Records        1/11/2002           Current Owner                                       701 Poydras Street, Suite 3650                                                          $0.00
                                                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70166
 2873    Ex 10/79   Williams, Arnelle and Shelby    3844 Alexander Lane           Marrero           LA      70072   [II(B)], [III],           10/7/2009    Yes         1,697     Builder's Floor    Yes                                                                  Taihe              Photo             15             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [VII], [XV],                                                      Plan                                                                                                                                                                                                                                                                                               LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                     0.86              $94.47           $160,315.59                                                                      WILLIAMS,ARNELLE D                 Owner as of 6/9/15              Tax Records + Title/Deed         11/21/2006           Current Owner                                                                                                                               $0.00
                                                                                                                    [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                     425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LaPlace, LA 70064
 2874    Ex 10/79   Williams, Catina                1032 Kindly Road              North Ft. Myers   FL      33903   [VII], [XV],              1/14/2011    Yes         1,352      Property Tax      Yes                                                                  IMT                Photo             33             F                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         HEYLIGAR MONIQUE                   Previous Owner, Did Not Own
                                                                                                                    [XVI], [XVII]                                                  Assessor's                        0.80              $87.88           $118,813.76                                                                                                                                         City or County Tax Records        5/16/2007              5/13/2014                                        27300 Riverview Center Blvd                                                             $0.00
                                                                                                                                                                                                                                                                                                                                         LOVETTE                            Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
 2875    Ex 10/79   Williams, Damien and Claudette 2904 Alana Lane                Marrero           LA      70072   [III(A)], [VII],          9/16/2010    Yes         1,553     Builder's Floor    Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XV], [XVI],                                                      Plan                                                                                                                                                                                                                                                                                               LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                     0.86              $94.47           $146,711.91                                                                      WILLIAMS,CLAUDETTE R               Owner as of 6/9/15              Tax Records + Title/Deed          1/26/2006           Current Owner                                                                                                                               $0.00
                                                                                                                    [XVII]                                                                                                                                                                                                                                                                                                                                                                                            425 W. Airline Hwy, Suite B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LaPlace, LA 70064
 2876    Ex 10/79   Williams, David                 4859 Evangeline Drive         New Orleans       LA      70127   [IX], [XV],               5/5/2011     Yes         2,090      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Hurricane Legal Center, LLC Jacob Young, Esq.                    (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                    [XVI], [XVII]                                                   Assessor's                                                                                                                                           WILLIAMS DAVID                     Current Owner, Acquired                                                                                                                   Young Law Firm
                                                                                                                                                                                                                     0.86              $94.47           $197,442.30                                                                                                                                         City or County Tax Records        3/31/2016           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                           WILLIAMS PAULA                     Property after 6/9/15                                                                                                                     1010 Common St., Suite 3040
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70112
 2877    RP         Williams, David and Cassidy     334 NW 17th Terrace           Cape Coral        FL      33993   [II], [XV], [XVI],        3/15/2010    Yes         2,118      Property Tax      Yes                                                                  ProWall            Photo             43             G                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                         HOLT JAMES W SR +                  Previous Owner, Did Not Own
                                                                                                                    [XVII]                                                          Assessor's                       0.80              $87.88           $186,129.84                                                                                                                                         Tax Records + Title/Deed          9/11/2008              5/27/2011                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                         REBECCA A                          Property on 6/9/15
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 2878    Ex 10/79   Williams, Deborah               2101 Caluda Lane              Violet            LA      70092   [II(A)], [III],           10/7/2009    Yes         2,400      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Whitfield, Bryson & Mason,   Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                    [VII], [XV],                                                    Assessor's                       0.86              $94.47           $226,728.00                                                                      WILLIAMS, DEBORAH M. 4/7           Owner as of 6/9/15              City or County Tax Records        7/13/2011           Current Owner          LLP Matthews & Associzates 900 W. Morgan Street                                                                      $0.00
                                                                                                                    [XVI], [XVII]                                                Document with                                                                                                                                                                                                                                                                                                                        Raleigh, NC 27603
 2879    Ex 10/79   Williams, Gail                  35 East Carmack               Chalmette         LA      70043   [XV], [XVI],              7/5/2011     Yes         1,190        Appraisal       Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                    [XVII]                                                       Showing Floor                       0.86              $94.47           $112,419.30                                                                      WILLIAMS, GAIL MAE                 Owner as of 6/9/15              City or County Tax Records        2/19/2008           Current Owner                                       425 W. Airline Hwy, Suite B                                                             $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                      LaPlace, LA 70064
 2880    Ex 10/79 & Williams, Helen                 4155 Bismarck Palm Drive      Tamps             FL      33610   [XV], [XVI],              7/5/2011     Yes         1,692      Property Tax      Yes                                                                  Taishan            Photo             7              J                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
         Omni XX                                                                                                    [XVII], [XX]                                                    Assessor's                       0.83              $91.18           $154,276.56                                                                      WILLIAMS HELEN H                   Owner as of 6/9/15              City or County Tax Records        8/28/2007           Current Owner                                       2100 Southbridge Parkway, Suite                                                         $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                        650
 2881    RP         Williams, Jeffrey and Joan      2025 McArthur Avenue          Alva              FL      33920   [II(A)], [VII],           9/16/2010    Yes         1,803      Property Tax      Yes                                                                  Taihe              Photo             17             I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                                                            Previous Owner, Did Not Own
                                                                                                                    [XV], [XVI],                                                    Assessor's                       0.80              $87.88           $158,447.64                                                                      CRUTCHFIELD HOWARD                                                 Tax Records + Title/Deed         10/29/2004              8/20/2011                                        12800 University Drive, Suite 600                    m                                  $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
 2882    Ex 10/79   Williams, Logan A.              2429 Judy Drive               Meraux            LA      70075   [XV], [XVI],              7/5/2011     Yes         1,317        Appraisal       Yes                                                                  Taihe              Photo             20             I                                                                                                                                                           Herman, Herman & Katz        Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                    [XVII]                                                       Showing Floor                                                                                                                                           PARRA, MIRIAM KARINA               Owner as of 6/9/15, No Longer                                                                                                             820 O'Keefe Avenue
                                                                                                                                                                                                                     0.86              $94.47           $124,416.99                                                                                                                                         City or County Tax Records       10/21/2011              8/4/2011                                                                                                                                 $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                         CONTRERAS                          Owns Property                                                                                                                             New Orleans, LA 70113
                                                                                                                                                                                     Footage
 2883    Ex 10/79   Williams, Raymond and Dedre     3325 Lago De Talavera         Loxahatchee       FL      33467   [II(A)], [IX],            9/16/2010    Yes         5,023      Property Tax       No                                                                  BNBM/ BNBMDB Photo                   22, 24         A                                                                                                                                                           McIntosh, Sawran, Peltz &      Manuel Comras, Esq.               (561) 659-5970   MRC@bclmr.com                                      BKC confirmed square
                                                                                                                    [XV], [XVI],                                                    Assessor's                                                                                                                                                                                                                                                                                           Cartaya, PA                    1601 Forum Place, Suite 400                                                                           footage.
                                                                                                                                                                                                                                                                                                                                         WILLIAMS RAYMOND S &
                                                                                                                    [XVII]                                                       Document with                       0.82              $90.08           $452,471.84                                                                                                         Owner as of 6/9/15              City or County Tax Records        8/21/2007           Current Owner                                         West Palm Beach, FL 33401                                                             $0.00
                                                                                                                                                                                                                                                                                                                                         GARDENER DEDRE M
                                                                                                                                                                                 Square Footage

 2884    RP         Williams, Raymond and Johnell 7150 West Renaissance Court     New Orleans       LA      70128   [IX], [XV],               5/5/2011     Yes         1,542      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Hurricane Legal Center, LLC    Jacob Young, Esq.                 (504) 522-4322   jyoung@youngfirmllc.com
                                                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                            WILLIAMS RAYMOND J                                                                                                                                                             Young Law Firm
                                                                                                                                                                                                                     0.86              $94.47           $145,672.74                                                                                                         Owner as of 6/9/15              City or County Tax Records       10/10/2003           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Document with                                                                                                                                           WILLIAMS JOHNELL O                                                                                                                                                             1010 Common St., Suite 3040
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112
 2885    Ex 10/79   Williams, Vashaun and Erika     2730 Beech Grove              Wesley Chapel     FL      33544   [XV], [XVI],              7/5/2011     Yes         2,660      Property Tax      Yes                                                                  Taishan            Photo             1              H                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                    [XVII]                                                         Assessor's                                                                                                                                                                                                                                                                                                                           12800 University Drive, Suite 600                  m
                                                                                                                                                                                 Document with                                                                                                                                           WILLIAMS VASHAUN O &                                                                                                                                                           Fort Myers, FL 33907
                                                                                                                                                                                 Square Footage
                                                                                                                                                                                                                     0.83              $91.18           $242,538.80                                                                                                         Owner as of 6/9/15              City or County Tax Records        7/24/2009           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                         ERIKA F


 2886    Ex 10/79   Williamson, Dennis and Kathy    4901 Trace Street             Violet            LA      70092   [XV], [XVI],              7/5/2011     Yes         2,500      Homeowner's       Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.              (504) 522-2304   gmeunier@gainsben.com
                                                                                                                    [XVII]                                                       Insurance Form                                                                                                                                                                                                                                                                                                                         2800 Energy Centre
                                                                                                                                                                                                                     0.86              $94.47           $236,175.00                                                                      WILLIAMSON, DENNIS R.              Owner as of 6/9/15              City or County Tax Records       10/29/2007           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                   with Square                                                                                                                                                                                                                                                                                                                          1100 Poydras Street
                                                                                                                                                                                   Footage and                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
 2887    Ex 10/79   Wilson, Wilbert and Joyce       4619 Evangeline Drive         New Orleans       LA      70127   [VII], [XV],              1/14/2011    Yes         1,130        Inspection      Yes                                                                  Taihe              Photo             13, 17         I                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                                 Showing Floor                                                                                                                                                                                                                                                                                                                         855 Baronne Street                                 m
                                                                                                                                                                                                                     0.86              $94.47           $106,751.10                                                                      HICKMAN JOYCE K                    Owner as of 6/9/15              City or County Tax Records       11/24/1999           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Plan and Under                                                                                                                                                                                                                                                                                                                         New Orleans, 70113
                                                                                                                                                                                    Air Square
 2888    Ex 10/79   Wilson, Alton and Rhonda        15570 Hwy. 104                Silverhill        AL      36576   [XIII], [XV],             7/5/2011     Yes         1008        Property Tax     Yes                                                                  Taihe              Photo             13, 17         I                                                                                                                                                           Levin Papantonio               Ben Gordon, Esq.                  (850) 435-7000   bgordon@levinlaw.com
                                                                                                                                                                                                                                                                                                                                         WILSON, ALTON W ETAL
                                                                                                                    [XVI], [XVII],                                                  Assessor's                       0.84              $92.27            $93,008.16                                                                                                         Owner as of 6/9/15              City or County Tax Records       12/14/1999           Current Owner                                         316 South Baylen St.                                                                  $0.00
                                                                                                                                                                                                                                                                                                                                         WILSON, RHO
                                                                                                                    [XXI]                                                        Document with                                                                                                                                                                                                                                                                                                                          Pensacola, FL 32502
 2889    Ex 10/79   Wilson, Carolyn                 9910 Grant Street             New Orleans       LA      70127   [VII], [XV],              1/14/2011    Yes         2,186        Appraisal       Yes                                                                  Taihe              Photo             13, 17         I                                                                                                                                                           Bruno & Bruno, LLP             Joseph Bruno, Esq.                (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                    [XVI], [XVII]                                                Showing Floor                                                                                                                                                                                                                                                                                                                          855 Baronne Street                                 m
                                                                                                                                                                                                                     0.86              $94.47           $206,511.42                                                                      WILSON CAROLYN D                   Owner as of 6/9/15              City or County Tax Records        4/20/1999           Current Owner                                                                                                                               $0.00
                                                                                                                                                                                 Plan and Square                                                                                                                                                                                                                                                                                                                        New Orleans, 70113
                                                                                                                                                                                     Footage
 2890    Ex 10/79   Wilson, Darrell and Darlene     24226 Santa Inez Road         Punta Gorda       FL      33955   [II(B)], [III],           10/7/2009    Yes         1,994       Property Tax     Yes                                                                  Taishan            Photo             2, 6           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         WILSON DARRELL E
                                                                                                                    [XV], [XVI],                                                    Assessor's                       0.80              $87.88           $175,232.72                                                                                                         Owner as of 6/9/15              Tax Records + Title/Deed          2/14/2005           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                                                                                                                                                                         TRUSTEE
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2891    Ex 10/79   Wilson, Diane and Richard       11812 Bayport Lane #2404      Ft. Myers         FL      33908   [II(C)], [III], [IX],     10/7/2009    Yes         2,203       Property Tax     Yes                                                                  Taishan            Photo             5, 6           J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                    [XV], [XVI],                                                    Assessor's                       0.80              $87.88           $193,599.64                                                                      WILSON RICHARD A + DIANE Owner as of 6/9/15                        City or County Tax Records        7/28/2006           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2892    Ex 10/79   Wilson, Matthew Jack            4114 W. Watrous Avenue        Tampa             FL      33629   [XV], [XVI],              7/5/2011     Yes         1,798      Builder's Floor   Yes                                                                  Taihe              Photo             18             I                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVII]                                                             Plan                                                                                                                                              PETRILLO VINCENT                   Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.83              $91.18           $163,941.64                                                                                                                                         Tax Records + Title/Deed          3/15/2005              6/15/2015                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                         PETRILLO NOELLE                    Owns Property                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2893    RP         Wilson, Michael                 513 SE 17th Place             Cape Coral        FL      33990   [III], [VII], [XV],       10/7/2009    Yes         2,233     Builder's Floor    Yes                                                                  Taishan            Photo             2, 5, 6, 7     J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                    [XVI], [XVII]                                                     Plan                                                                                                                                                                                  Previous Owner, Did Not Own                                                                                  Budd, P.C.                     Baron & Budd
                                                                                                                                                                                                                     0.80              $87.88           $196,236.04                                                                      LYNCH JEREMY M + AMY A                                             Tax Records + Title/Deed          10/4/2005              3/23/2011                                                                                                                                $0.00
                                                                                                                                                                                                                                                                                                                                                                            Property on 6/9/15                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2894    Ex 10/79   Wilson, Michael and Wilson-     1986 NW 79TH TERRACE          Pembroke Pines    FL      33024   [IX], [XV],               5/5/2011     Yes         1,587      Property Tax      Yes                                                                  Taishan            Photo             2              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                         FEDERAL NATIONAL
                    Romans, Adma                                                                                    [XVI], [XVII]                                                  Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                     0.81              $88.98           $141,211.26                                                                      MORTGAGE ASSN                                                      Tax Records + Title/Deed          11/8/2002              8/9/2016                                                                                                                                 $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                              Owns Property                                                                                                Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                         %DITECH FINANCIAL LLC
                                                                                                                                                                                 Square Footage                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219
 2895    Ex 10/79   Wilson, Reginald and Smith,     1917 North Liberty Street     Jacksonville      FL      32206   [VII], [XV],              1/14/2011    Yes         2,188      Property Tax      Yes                                                                  Taishan            Photo             12             L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                    Marsha                                                                                          [XVI], [XVII]                                                  Assessor's                        0.82              $90.08           $197,095.04                                                                      WILSON REGINALD T                  Owner as of 6/9/15              City or County Tax Records        12/3/2008           Current Owner                                         27300 Riverview Center Blvd                                                           $0.00
                                                                                                                                                                                 Document with                                                                                                                                                                                                                                                                                                                          Bonita Springs, FL 34134
 2896    Ex 10/79   Wilson, Robert F. and Patricia L. 2425 Pecan Drive            Chalmette         LA      70043   [IX], [XIII],             5/5/2011     Yes         1,376      Property Tax      Yes                                                                  Crescent City      Photo             27             D                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                    [XV], [XVI],                                                   Assessor's                        0.86              $94.47           $129,990.72                                                                      COOK, PATRICIA LEFEBVRE            Owner as of 6/9/15              Tax Records + Title/Deed          7/11/2013           Current Owner                                         820 O'Keefe Avenue                                                                    $0.00
                                                                                                                    [XVII]                                                       Document with                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 80 of 82



Claimant Source     Claimant Name                   Affected Property Address    City              State   Zip     Omni(s)               Date of Earliest PPF      Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia    Markings #     Product                                                                                                                                                     Counsel                        Counsel Address                   Counsel Phone    Counsel Email                                     NOTES
                                                                                                                                                                                                            2017 RS Means
Identifier                                                                                                                                Filed Taishan (Yes/No)   Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                         from Taishan   Bucket(s)                                                                                                                         Sell Date if Applicable
                                                                                                                                                                                                          Residential Location                                                                                                                Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                              Prior Settlement
                                                                                                                                              Omni                 Footage       Provided      Verifying                       [B = A x $109.85]       Damages                                              Product ID                                                                                                                                        or Current Owner Per
                                                                                                                                                                                                                Factor                                                                                                                  May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                              Payment(s)- REDACTED
                                                                                                                                                                               Uploaded to Square Footage                                              [SF x B]                                             Catalog                                                                                                                                               Brown Greer
                                                                                                                                                                                                                  [A]
                                                                                                                                                                                 Sharefile
 2897    Ex 10/79   Wilson, Roslyn                  830 W. 31st Street           Norfolk           VA      23508   [XIII], [XV],           7/5/2011     Yes         2,123      Property Tax      Yes                                                                  Venture Supply     Delivery Invoice   N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                Assessor's                                                                                                                                                                                Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                 0.94               $103.26          $219,220.98                                                                       MOREY, EARL W                                                      Tax Records + Title/Deed         12/15/2006              4/13/2016                                                                                                                               $0.00
                                                                                                                                                                              Document with                                                                                                                                                                               Owns Property                                                                                                Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2898    Ex 10/79   Wiltz, Kenneth and Barbara      5337 Cameron Blvd            New Orleans       LA      70112   [II], [VII], [XV],      3/15/2010    Yes         1,282      Property Tax      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Berniard Law Firm Gregory P. Jeffrey Berniard, Esq.              (504) 527-6225   Jeff@getjeff.com
                                                                                                                   [XVI], [XVII]                                                Assessor's                       0.86                $94.47          $121,110.54                                                                       WILTZ, KENNETH L                   Owner as of 6/9/15              City or County Tax Records        8/21/2006           Current Owner          DiLeo, Esquire Kanner &      300 Lafayette St, #101                                                                 $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                            Whiteley, L.L.C.             New Orleans, Louisiana 70130
 2899    Ex 10/79   Winder, Diedre and Merle Dean 10846 Tiberio Drive            Ft. Myers         FL      33913   [II(A)], [XV],          9/16/2010    Yes         1,823     Builder's Floor    Yes                                                                  Taihe              Photo              14             H                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XVI], [XVII]                                                   Plan                                                                                                                                                                                   Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                 0.80                $87.88          $160,205.24                                                                       LANO JOSEPH                                                        City or County Tax Records        9/18/2006             11/25/2015                                                                                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                          Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Dallas, TX 75219
 2900    Ex 10/79   Winn, Brandon and Juliet        12616 20th Street East       Parrish           FL      34219   [II(C)], [III(A)],      9/16/2010    Yes         2,891       Property Tax     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                       KANE, JAMES J                      Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                  Assessor's                       0.83               $91.18          $263,601.38                                                                                                                                          City or County Tax Records        7/30/2007              6/19/2010                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                       KANE, AGEAN                        Property on 6/9/15
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2901    RP         Winsome, Russell n/k/a          184 Wanatah Avenue           Lehigh Acres      FL      33874   [II], [XV], [XVI],      3/15/2010    Yes         2,243       Property Tax     Yes                                                                  Taihe              Photo              16, 20, 13     I                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                       DERILUS NATACHA +                  Previous Owner, Did Not Own
                    Hutchinson, Winsome                                                                            [XVII]                                                        Assessor's                       0.80               $87.88          $197,114.84                                                                                                                                          Tax Records + Title/Deed         12/22/2006              1/31/2011                                        12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                                                                                                                                                                                       AUGUSTE MARVIN C W/H               Property on 6/9/15
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2902    Ex 10/79   Wint, Edmond and Dockery-       1590 Abalom Street           Port Charlotte    FL      33980   [XV], [XVI],            7/5/2011     Yes         1,655       Property Tax     Yes                                                                  Taishan            Photo              12, 2          J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                                                                                                                                                                                                                                       WINT JACQUELINE C D &
                    Wint, Jacqueline                                                                               [XVII]                                                        Assessor's                       0.80               $87.88          $145,441.40                                                                                                          Owner as of 6/9/15              City or County Tax Records       12/18/2006           Current Owner                                       12800 University Drive, Suite 600                    m                               $56,480.58
                                                                                                                                                                                                                                                                                                                                       EDMOND
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2903    RP         Wischler, Robert                3387 Desaix Boulevard        New Orleans       LA      70119   [III], [VII], [XV],     10/7/2009    Yes         1,287        Appraisal       Yes                                                                  Taihe              Photo              15             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                              Showing Floor                       0.86               $94.47          $121,582.89                                                                       ST PIERRE PHILIP D                                                 City or County Tax Records        3/24/2008             11/30/2012                                        425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                              Plan and Square                                                                                                                                                                                                                                                                                                                       LaPlace, LA 70064
 2904    Ex 10/79   Wise, Rebecca                   536-538 Friscoville Avenue   Arabi             LA      70032   [XV], [XVI],            7/5/2011     Yes         2,250        Inspection      Yes                                                                  Crescent City      Photo              27             D                                                                                                                                                           Law Offices of Sidney D.     Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                   [XVII]                                                      Showing Floor                      0.86               $94.47          $212,510.27                                                                       WISE, REBECCA A.                   Owner as of 6/9/15              City or County Tax Records       10/12/2000           Current Owner          Torres, III                  8301 W. Judge Perez Drive, Suite                                                       $0.00
                                                                                                                                                                              Plan and Under                                                                                                                                                                                                                                                                                                                        303
 2905    RP         Wiseman, Patrick                117 Overlook Point           Yorktown          VA      23693   [II(C)], [XV],          1/24/2011    Yes         2,480       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Law Offices of Richard J.    Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                       BLEVINS STEVEN R &
                                                                                                                   [XVI], [XVII]                                                 Assessor's                       0.95              $104.36          $258,812.80                         Property Assessment                                                              Records Not Available           City or County Tax Records        4/27/2006              9/26/2012           Serpe                        580 East Main Street, Suite 310                                                        $0.00
                                                                                                                                                                                                                                                                                                                                       COLLEEN M
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         Norfolk, VA 23510
 2906    Ex 10/79   Wites, Marc and Jennifer        17625 Middlebrook Way        Boca Raton        FL      33496   [III], [VII], [XV],     10/7/2009    Yes         5,961      Builder's Floor   Yes                                                                  Taishan            Photo              5, 6           J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVI], [XVII]                                                    Plan                                                                                                                                               WITES, MARC; WITES                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.82               $90.08          $536,966.88                                                                                                          Owner as of 6/9/15              City or County Tax Records         6/8/2007           Current Owner                                                                                                                              $0.00
                                                                                                                                                                                                                                                                                                                                       JENNIFER                                                                                                                                        Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Richard J. Serpe             Coral Gables, FL 33134
 2907    Ex 10/79   Wohleber, David and Marlene     4095 Cherrybrook Loop        Ft. Myers         FL      33966   [II(C)], [IX],          1/24/2011    Yes         1,675       Property Tax     Yes                                                                  Taishan            Photo              2, 6, 9        J                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                       KRUSZEWSKI ANTHONY F +             Previous Owner, Did Not Own
                                                                                                                   [XV], [XVI],                                                  Assessor's                       0.80               $87.88          $147,199.00                                                                                                                                          City or County Tax Records       11/30/2006             11/17/2011                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                       SANDRA                             Property on 6/9/15
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2908    Ex 10/79   Womack, Randy                   295 Markeeta Road            Leeds             AL      35094   [XIII], [XV],           7/5/2011     Yes         1103        Property Tax     Yes                                                                  Taihe              Photo              13, 17, 20     I           WOMACK WILLIAM & DAISY                                                                                                                          Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVI], [XVII]                                                 Assessor's                                                                                                                                            K                                                                                                                                                                            2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                  0.84               $92.27          $101,773.81                                                                                                          Owner as of 6/9/15              Other                            12/31/1977           Current Owner                                                                                                                              $0.00
                                                                                                                                                                              Document with                                                                                                                                            R WOMACK SEEMS TO BE A                                                                                                                                                       650
                                                                                                                                                                              Square Footage                                                                                                                                           PAST RESIDENT                                                                                                                                                                Birmingham, AL 35209
 2909    RP         Wong, Kenneth                   4230 NW. 33rd Street         Cape Coral        FL      33993   [II(B)], [XIII],        12/6/2010    Yes         1,718       Property Tax     Yes                                                                  Taishan            Photo              2, 11          J                                                                                                                                                           Allison Grant, P.A. Baron & Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XV], [XVI],                                                  Assessor's                                                                                                                                                                               Previous Owner, Did Not Own                                                                                  Budd, P.C.                   Baron & Budd
                                                                                                                                                                                                                  0.80               $87.88          $150,977.84                                                                       AMENDT CHAD + MARION                                               Tax Records + Title/Deed          10/1/2004              7/29/2011                                                                                                                               $0.00
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2910    Ex 10/79   Wood, Bryan and Kimberly        603 Mansion Road             Yorktown          VA      23693   [II], [XV], [XVI],      3/15/2010    Yes         2,580       Property Tax     Yes                                                                  Venture Supply     Delivery Invoice & N/A            K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XVII]                                                        Assessor's                                                                                              Property Assessment                                                                                                                                                                           Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.95              $104.36          $269,248.80                                                                       WOOD BRYAN R ETUX                  Owner as of 6/9/15              City or County Tax Records       12/17/2007           Current Owner                                                                                                                              $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2911    Ex 10/79   Wood, James                     3401 Hazel Drive             Meraux            LA      70075   [III(A)], [XV],         9/16/2010    Yes         2,828        Appraisal       Yes                                                                  Taihe              Photo              15, 17, 20     I                                                                                                                                                           Martzell & Bickford          Scott Bickford, Esq.                (504) 581-9065   srb@mbfirm.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                              Showing Floor                       0.86               $94.47          $267,161.16                                                                       JACKSON, ALVIN F., III                                             City or County Tax Records          2008                 3/12/2013                                        338 Lafayette Street                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                              Plan and Square                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70130
 2912    RP         Woodard, Benjamin and Deborah 10600 Tara Dawn Circle         Pensacola         FL      32534   [VII], [XV],            1/14/2011    Yes         1,619        Appraisal       Yes                                                                  Taihe              Photo              17, 20, 13     I                                                                                                                                                           Levin Papantonio             Ben Gordon, Esq.                    (850) 435-7000   bgordon@levinlaw.com
                                                                                                                   [XVI], [XVII]                                              Showing Floor                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                               316 South Baylen St.
                                                                                                                                                                                                                  0.85               $93.37          $151,166.03                                                                       FUSELIER TODD M II                                                 Tax Records + Title/Deed          3/15/2007              11/8/2012                                                                                                                               $0.00
                                                                                                                                                                              Plan and Square                                                                                                                                                                             Property on 6/9/15                                                                                                                        Pensacola, FL 32502
                                                                                                                                                                                  Footage
 2913    Ex 10/79   Woods, Claudia                  3804 N. 24th Street          Tampa             FL      33610   [II(C)], [VII],         1/14/2011    Yes         1,606       Property Tax     Yes                                                                  Taihe              Photo              14, 18         H, I                                                                                                                                                        Allison Grant, P.A. Baron &  Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [XV], [XVI],                                                  Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                                  0.83               $91.18          $146,435.08                                                                       ASTOR FLA LLC                                                      Tax Records + Title/Deed           7/3/2007              7/22/2015                                                                                                                               $0.00
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                               Owns Property                                                                                                Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219
 2914    Ex 10/79   Woods, Edward A.                410 Highway 6                Calera            AL      35040   [XIII], [XV],           7/5/2011     Yes         2736        Property Tax     Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Doyle Law Firm               Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                   [XVI], [XVII]                                                 Assessor's                       0.84               $92.27          $252,450.72                                                                       WOODS EDWARD A & LISA M Owner as of 6/9/15                         City or County Tax Records       10/24/2006           Current Owner                                       2100 Southbridge Parkway, Suite                                                        $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         650
 2915    Ex 10/79   Woods, Matthew and Vernestine 2430 Ballentine Blvd.          Norfolk           VA      23509   [II(C)]. [XIII],        1/24/2011    Yes         2,284       Property Tax     Yes                                                                  Venture Supply     Photo              40             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XV], [XVI],                                                  Assessor's                                                                                                                                            WOODS, MATTHEW B &                                                                                                                              Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.94              $103.26          $235,845.84                                                                                                          Owner as of 6/9/15              City or County Tax Records         2/5/2002           Current Owner                                                                                                                              $0.00
                                                                                                                   [XVII]                                                     Document with                                                                                                                                            VERNESTINE R                                                                                                                                    Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2916    Ex 10/79   Woods, Randy and Sherry         3205 North West 76th         Jennings          FL      32053   [II(C)], [IX],          1/24/2011    Yes         1,414       Property Tax     Yes                                                                  Taihe              Photo              20             I                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                       WOODS RANDY R & SHERRY
                                                                                                                   [XV], [XVI],                                                  Assessor's                       0.82               $90.08          $127,373.12                                                                                              Owner as of 6/9/15                          City or County Tax Records       11/24/2009           Current Owner                                       27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                       T
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2917    Ex 10/79   Woodson, Gregory and            3965 Border Way              Virginia Beach    VA      23456   [II], [XV], [XVI],      3/15/2010    Yes         2,931       Property Tax     Yes                                                                  Venture Supply     Photo              38             K                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                    Flordeliza                                                                                     [XVII]                                                        Assessor's                                                                                                                                                                                                                                                                                            Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.94              $103.26          $302,655.06                                                                       ALAA SAROUR                        Records Not Available           City or County Tax Records                                                                                                                                                                       $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                            Hausfeld LLP Law Offices of 255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2918    RP         Workforce Housing Ventures,     3907 Langdrum Drive          Wesley Chapel     FL      33543   [XV], [XVI],            7/5/2011     Yes         1,632        Appraisal       Yes                                                                  C&K                Photo              34, 35         B                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                    Inc.                                                                                           [XVII]                                                     Showing Floor                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                               12800 University Drive, Suite 600                    m
                                                                                                                                                                                                                  0.83               $91.18          $148,805.76                                                                       CALBESI ELSA MATILDE                                               Tax Records + Title/Deed          11/8/2010              8/22/2013                                                                                                                               $0.00
                                                                                                                                                                              Plan and Square                                                                                                                                                                             Property on 6/9/15                                                                                                                        Fort Myers, FL 33907
                                                                                                                                                                                  Footage
 2919    Ex 10/79   Worthington, George and Adria   169 SE 2nd Court             Deerfield Beach   FL      33441   [II(B)], [III],         10/7/2009    Yes         1,398       Property Tax     Yes                                                                  Taishan            Photo              6              J                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
                                                                                                                   [VII], [XV],                                                  Assessor's                                                                                                                                            WORTHINGTON,ADRIA M &                                                                                                                           Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                  0.82               $90.08          $125,931.84                                                                                                          Owner as of 6/9/15              City or County Tax Records        8/15/2006           Current Owner                                                                                                                              $0.00
                                                                                                                   [XVI], [XVII]                                              Document with                                                                                                                                            WORTHINGTON,GEORGE                                                                                                                              Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
 2920    RP         Wruble, Aaron and Wendy         1294 Exotic Avenue           North Port        FL      34288   [II], [XIII], [XV],     3/15/2010    Yes         1,674       Property Tax     Yes                                                                  Taishan            Photo              7              J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                 Assessor's                       0.83               $91.18          $152,635.32                                                                       DOWLING BETH                                                       City or County Tax Records        7/17/2008             11/19/2012                                          255 Alhambra Circle, PH                                                              $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                           Coral Gables, FL 33134
 2921    Ex 10/79   Yamamoto, Sean and Christine    1113 NE 4th Avenue           Cape Coral        FL      33909   [XIII], [XV],           7/5/2011     Yes         1,734       Property Tax     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                                                                                                                   [XVI], [XVII]                                                 Assessor's                       0.80               $87.88          $152,383.92                                                                       HERNANDEZ ANIER                                                    Tax Records + Title/Deed          6/28/2005              4/5/2014                                           27300 Riverview Center Blvd                                                          $0.00
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2922    Ex 10/79   Yarbor, Brian                   5583 Douglas Ferry Road      Caryville         FL      32427   [IX], [XV],             5/5/2011     Yes         3,200       Property Tax     Yes                                                                  Taihe              Photo              17             I                                                                                                                                                           Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.             (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                   [XVI], [XVII]                                                 Assessor's                       0.77               $84.58          $270,656.00                                                                       YARBOR, BRIAN                      Owner as of 6/9/15              City or County Tax Records         2/6/2007           Current Owner                                         701 Poydras Street, Suite 3650                                                       $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70166
 2923    Ex 10/79   Yassa, Alain                    3402 NW 5th Terrace          Cape Coral        FL      33993   [II(C)], [III(A)],      9/16/2010    Yes         2,002      Builder's Floor   Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [IX], [XIII],                                                    Plan                                                                                                                                                                                                                                                                                                                              27300 Riverview Center Blvd
                                                                                                                                                                                                                  0.80               $87.88          $175,935.76                                                                       UNKNOWN                            Owner as of 6/9/15              Tax Records + Title/Deed          3/31/2009           Current Owner                                                                                                                              $0.00
                                                                                                                   [XV], [XVI],                                                                                                                                                                                                                                                                                                                                                                                       Bonita Springs, FL 34134
                                                                                                                   [XVII]
 2924    Ex 10/79   Yelton, Charles                 23086 Madelyn Avenue         Port Charlotte    FL      33954   [II(C)], [XIII],        1/24/2011    Yes         2,471       Property Tax     Yes                                                                  Taishan            Photo              5              J                                                                                                                                                           Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                   [XV], [XVI],                                                  Assessor's                                                                                                                                                                               Owner as of 6/9/15, No Longer                                                                                Fishbein, Sedran & Berman    Colson, Hicks, Eidson
                                                                                                                                                                                                                  0.80               $87.88          $217,151.48                                                                       LE KHANG                                                           Tax Records + Title/Deed          4/23/2004             11/19/2015                                                                                                                               $0.00
                                                                                                                   [XVII]                                                     Document with                                                                                                                                                                               Owns Property                                                                                                Hausfeld LLP Law Offices of  255 Alhambra Circle, PH
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                           Richard J. Serpe             Coral Gables, FL 33134
 2925    Ex 10/79   Yeshman, Larry                  2534 NW 25th Place           Cape Coral        FL      33993   [II(C)], [XV],          1/24/2011    Yes         2,196       Property Tax     Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XVI], [XVII]                                                 Assessor's                       0.80               $87.88          $192,984.48                                                                       YESHMAN LARRY                      Owner as of 6/9/15              City or County Tax Records         2/9/2007           Current Owner                                       12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2926    Ex 10/79   Yildirim, Mode                  11553 Bay Gardens Loop       Riverview         FL      33569   [XV], [XVI],            7/5/2011     Yes         1,263       Property Tax     Yes                                                                  Taishan            Photo              6, 12          J                                                                                                                                                           Morgan & Morgan              Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                   [XVII]                                                        Assessor's                       0.83               $91.18          $115,160.34                                                                       YILDIRIM MODE                      Owner as of 6/9/15              Tax Records + Title/Deed          3/31/2006           Current Owner                                       12800 University Drive, Suite 600                    m                                 $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         Fort Myers, FL 33907
 2927    Ex 10/79   Yokers, Stephanie DeAnn         1322 Railroad Drive          Hayden            AL      35079   [II(C)],[XV],           1/24/2011    Yes         1262         Appraisal       Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           Whitfield, Bryson & Mason    Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                   [XVI], [XVII],                                             Showing Floor                       0.84               $92.27          $116,444.74                                                                       HOUSTON, STEPHANIE                 Owner as of 6/9/15              City or County Tax Records        2/22/2007           Current Owner                                       900 W. Morgan Street                                                                   $0.00
                                                                                                                   [XXI]                                                      Plan and Square                                                                                                                                                                                                                                                                                                                       Raleigh, NC 27603
 2928    Ex 10/79   Young, Elizabeth                2330 Summersweet Drive       Alva              FL      33920   [II], [XV], [XVI],      3/15/2010    Yes         1,528       Property Tax     Yes                                                                  Dragon Brand       Photo              26             A                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                       REED, EILEEN M; REED,              Previous Owner, Did Not Own
                                                                                                                   [XVII]                                                        Assessor's                       0.80               $87.88          $134,280.64                                                                                                                                          Tax Records + Title/Deed          10/6/2006              9/25/2013                                        27300 Riverview Center Blvd                                                            $0.00
                                                                                                                                                                                                                                                                                                                                       STEPHEN B                          Property on 6/9/15
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         Bonita Springs, FL 34134
 2929    Ex 10/79   Young, Irvin                    2224 Delary Street           New Orleans       LA      70117   [III], [VII], [XV],     10/7/2009    Yes         1,140       Property Tax     Yes                                                                  Taihe              Photo              13             I                                                                                                                                                           Becnel Law Firm/ Morris Bart Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XVI], [XVII]                                                 Assessor's                                                                                                                                                                                                                                                                                            LLC                          Becnel Law Firm, LLC
                                                                                                                                                                                                                  0.86               $94.47          $107,695.80                                                                       YOUNG IRVIN P                      Owner as of 6/9/15              City or County Tax Records        4/12/1989           Current Owner                                                                                                                              $0.00
                                                                                                                                                                              Document with                                                                                                                                                                                                                                                                                                                         425 W. Airline Hwy, Suite B
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
 2930    Ex 10/79   Young, Melissa                  2909 Monica Lane             Marrero           LA      70072   [III], [VII], [XV],     10/7/2009    Yes         1,797      Builder's Floor   Yes                                                                  Taihe              Photo              21             I                                                                                                                                                           Becnel Law Firm, LLC         Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com
                                                                                                                   [XVI], [XVII]                                                    Plan                          0.86               $94.47          $169,762.59                                                                       YOUNG,MELISSA A                    Owner as of 6/9/15              Tax Records + Title/Deed         11/17/2006           Current Owner                                       425 W. Airline Hwy, Suite B                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
 2931    Ex 10/79   Yudess, Daniel and Karen        1131 Tropicana Parkway W     Cape Coral        FL      33993   [XV], [XVI],            7/5/2011     Yes         2,244      Property Tax      Yes                                                                  ProWall            Photo              43, 44         G                                                                                                                                                           Parker Waichman              Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [XVII]                                                       Assessor's                                                                                                                                                                                Previous Owner, Did Not Own                                                                                                               27300 Riverview Center Blvd
                                                                                                                                                                                                                  0.80               $87.88          $197,202.72                                                                       SFO PROPERTIES INC                                                 Tax Records + Title/Deed         12/27/2005              5/8/2013                                                                                                                                $0.00
                                                                                                                                                                              Document with                                                                                                                                                                               Property on 6/9/15                                                                                                                        Bonita Springs, FL 34134
                                                                                                                                                                              Square Footage
 2932    Ex 10/79   Yusuf, Nejeh                    3732 SW 7th Place #4         Cape Coral        FL      33914   [II(C)], [III(A)],      9/16/2010    Yes          994       Property Tax      Yes                                                                  Taishan            Photo              2              J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                   [IX], [XV],                                                  Assessor's                        0.80               $87.88           $87,352.72                                                                       YUSUF NEJEH                        Owner as of 6/9/15              City or County Tax Records       10/23/2006           Current Owner                                         27300 Riverview Center Blvd                                                          $0.00
                                                                                                                   [XVI], [XVII]                                              Document with                                                                                                                                                                                                                                                                                                                           Bonita Springs, FL 34134
 2933    RP         Zagalsky, Yefim and             1690 Renaissance Commons     Boynton Beach     FL      33426   [II], [XV], [XVI],      3/15/2010    Yes         1,240     Builder's Floor    Yes                                                                  Taishan            Photo              9              J                                                                                                                                                           Whitfield, Bryson & Mason      Dan Bryson, Esq.                  919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                          Previous Owner, Did Not Own
                    Alekseyeva, Yelena              Blvd., Unit 1418                                               [XVII]                                                          Plan                           0.82               $90.08          $111,699.20                                                                       ZAGALSKY RYAN                                                      Tax Records + Title/Deed          3/27/2007              11/5/2011                                          900 W. Morgan Street                                                              $100,566.98
                                                                                                                                                                                                                                                                                                                                                                          Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Raleigh, NC 27603
 2934    Ex 10/79 & Zaki, Hussein                   292 North Broken Oak Trail   Jensen Beach      FL      34957   [IX], [XV],             5/5/2011     Yes         1,458      Property Tax       Yes                                                                 Chinese            Photo              37             C                                                                                                                                                           Allison Grant, P.A. Baron &    Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Omni XX                                                                                                   [XVI], [XVII],                                               Assessor's                                                                            Manufacturer 2                                                                                                                                                                                                   Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                  0.82               $90.08          $131,336.64                                                                       ZAKI HUSSEIN S & ZLATA             Owner as of 6/9/15              City or County Tax Records         7/2/2007           Current Owner                                                                                                                              $0.00
                                                                                                                   [XX]                                                       Document with                                                                                                                                                                                                                                                                                            Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 81 of 82



Claimant Source     Claimant Name                     Affected Property Address      City            State   Zip     Omni(s)                 Date of Earliest PPF          Verified      Type of       Counsel's                                                              Product Brand(s)   Type of Indicia     Markings #     Product                                                                                                                                                      Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                        NOTES
                                                                                                                                                                                                                    2017 RS Means
Identifier                                                                                                                                    Filed Taishan (Yes/No)       Square      Verficiation   Declaration                       2017 Cost Per SF   2017 Remediation                                          from Taishan   Bucket(s)                                                                                                                          Sell Date if Applicable
                                                                                                                                                                                                                  Residential Location                                                                                                                 Current Owner as of             Ownership Status of Named   Proof of Ownership Per Brown    Purchase Date Per                                                                                                                                                   Prior Settlement
                                                                                                                                                  Omni                     Footage       Provided      Verifying                       [B = A x $109.85]       Damages                                               Product ID                                                                                                                                         or Current Owner Per
                                                                                                                                                                                                                        Factor                                                                                                                   May-August 2017 Per Brown Greer       Claimant Per Brown Greer               Greer                  Brown Greer                                                                                                                                                   Payment(s)- REDACTED
                                                                                                                                                                                       Uploaded to Square Footage                                              [SF x B]                                              Catalog                                                                                                                                                Brown Greer
                                                                                                                                                                                                                          [A]
                                                                                                                                                                                         Sharefile
 2935    Ex 10/79   Zaman, Khayru and Najneen         5109 3rd Street, W.            Lehigh Acres    FL      33971   [II(A)], [XV],            9/16/2010    Yes             1,479      Property Tax      Yes                                                                  Taishan            Photo               2              J                                                                                                                                                            Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.co
                                                                                                                     [XVI], [XVII]                                                      Assessor's                       0.80                $87.88          $129,974.52                                                                        ZAMAN NAJMEEN + KHAYRU Owner as of 6/9/15                          City or County Tax Records          8/5/2005           Current Owner                                         12800 University Drive, Suite 600                    m                                    $0.00
                                                                                                                                                                                      Document with                                                                                                                                                                                                                                                                                                                             Fort Myers, FL 33907
 2936    RP         Zamora, Michael                   3044 Lake Manatee Drive        Cape Coral      FL      33909   [III], [IX], [XV],        10/7/2009    Yes             2,558      Property Tax      Yes                                                                  Taishan            Photo               9              J                                                                                                                                                            Roberts & Durkee               C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                                PEPPER BERTRAND +                  Previous Owner, Did Not Own
                                                                                                                     [XVI], [XVII]                                                      Assessor's                       0.80                $87.88          $224,797.04                                                                                                                                           Tax Records + Title/Deed           9/27/2006             12/17/2012                                          2665 South Bayshore Drive Suite                                                           $0.00
                                                                                                                                                                                                                                                                                                                                                MICHELLE                           Property on 6/9/15
                                                                                                                                                                                      Document with                                                                                                                                                                                                                                                                                                                             300
 2937    Ex 10/79   Zapata, Jorge William and         140 S. Dixie Highway, Unit 606 Hollywood       FL      33020   [IX], [XV],               5/5/2011     Yes             1,189     Builder's Floor    Yes                                                                  Taihe              Photo               18             I                                                                                                                                                            Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                    Zapata, Nidia                                                                                    [XVI], [XVII]                                                         Plan                                                                                                                                                 ZAPATA, JORGE WILLIAM &                                                                                                                          Budd, P.C. Alters Boldt        Baron & Budd
                                                                                                                                                                                                                         0.81                $88.98          $105,797.22                                                                                                           Owner as of 6/9/15              City or County Tax Records         9/21/2007           Current Owner                                                                                                                                   $0.00
                                                                                                                                                                                                                                                                                                                                                ZAPATA, NIDIA                                                                                                                                    Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Dallas, TX 75219
 2938    Ex 10/79   Zavala, Carlos                    14119 Danpark Loop             Ft. Myers       FL      33912   [II], [II(C)], [XV],      3/15/2010    Yes             2,628      Property Tax      Yes                                                                  ProWall            Photo               43, 44         G                                                                                                                                                            Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                                                27300 Riverview Center Blvd
                                                                                                                                                                                                                          0.80              $87.88           $230,948.64                                                                        HASHMI REHAN                                                       City or County Tax Records         2/23/2007              1/26/2016                                                                                                                                    $0.00
                                                                                                                                                                                      Document with                                                                                                                                                                                Owns Property                                                                                                                                Bonita Springs, FL 34134
                                                                                                                                                                                      Square Footage
 2939    Ex 10/79   Zelazny, Louis                    405 NW 8th Terrace             Cape Coral      FL      33991   [II(B)], [VII],           12/6/2010    Yes             2,249     Builder's Floor    Yes                                                                  Taishan            Photo               7              J                                                                                                                                                            Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                     [XV], [XVI],                                                          Plan                           0.80              $87.88           $197,642.12                                                                        ZELAZNY LOUIS                      Owner as of 6/9/15              Tax Records + Title/Deed            7/2/2008           Current Owner                                         900 W. Morgan Street                                                                      $0.00
                                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                     Raleigh, NC 27603
 2940    Ex 10/79   Zhang, Dong                       2234 Soho Bay Court            Tampa           FL      33606   [II(A)], [IX],            9/16/2010    Yes             2,155       Property Tax     Yes                                                                  Taihe              Photo               14             H                                                                                                                                                            Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                     [XV], [XVI],                                                        Assessor's                       0.83              $91.18           $196,492.90                                                                        MOLINARI MICHAEL W                                                 Tax Records + Title/Deed           4/16/2007              6/24/2014                                          27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                     [XVII]                                                           Document with                                                                                                                                                                                                                                                                                                                             Bonita Springs, FL 34134
 2941    Ex 10/79   Zhang, Zhou and Zhao, Xug         5941 Kensington Blvd.          New Orleans     LA      70127   [XIII], [XV],             7/5/2011     Yes             4,432        Appraisal       Yes                                                                  Crescent City      Photo               27             D                                                                                                                                                            Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                                   Owner as of 6/9/15, No Longer
                    Ying                                                                                             [XVI], [XVII]                                                    Showing Floor                       0.86              $94.47           $418,691.04                                                                        CAPTAIN, LLC                                                       City or County Tax Records         9/15/2006              9/14/2016                                          701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Owns Property
                                                                                                                                                                                      Plan and Square                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70166
 2942    RP         Zhou, Zhongmin and Huang,         1660 Renaissance Commons       Boynton Beach   FL      33426   [III], [XV],              10/7/2009    Yes             1,119      Builder's Floor   Yes                                                                  Taishan            Inspection Report   N/A            J                                                                                                                                                            Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                    Qinxi                             Blvd., Unit 2416                                               [XVI], [XVII]                                                          Plan                          0.82              $90.08           $100,799.52                                                                        STEFAN LILIANA                                                     Tax Records + Title/Deed           2/12/2007             11/28/2011                                          900 W. Morgan Street                                                                    $99,620.33
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Raleigh, NC 27603
 2943    Ex 10/79   Zitner, Sheldon                   1690 Renaissance Commons       Boynton Beach   FL      33426   [II], [XV], [XVI],        3/15/2010    Yes              817      Builder's Floor    Yes                                                                  Taishan            Photo               2              J                                                                                                                                                            Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                      Blvd., Unit 1311                                               [XVII]                                                                Plan                           0.82              $90.08            $73,595.36                                                                        ZITNER, SHELDON P                  Owner as of 6/9/15              City or County Tax Records         3/21/2007           Current Owner                                         900 W. Morgan Street                                                                    $96,908.87
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Raleigh, NC 27603
 2944    Ex 10/79   Zito, Jessica Marchan, Jose       9817 Paula Drive               River Ridge     LA      70123   [XV], [XVI],              7/5/2011     Yes             1,396        Appraisal        Yes                                                                 Taihe              Photo               13             I                                                                                                                                                            Barrios, Kingsdorf & Casteix   Dawn M. Barrios, Esq.               (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                                                                                                                                                                                                                                                   Previous Owner, Did Not Own
                                                                                                                     [XVII]                                                           Showing Floor                       0.86              $94.47           $131,880.12                                                                        SEC OF HUD                                                         City or County Tax Records         10/24/2008             6/3/2015                                           701 Poydras Street, Suite 3650                                                            $0.00
                                                                                                                                                                                                                                                                                                                                                                                   Property on 6/9/15
                                                                                                                                                                                      Plan and Square                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70166
 2945    Ex 10/79   Zubrowski, Michael and Linda      109 Indian Mound Lane          Slidell         LA      70461   [II], [VII], [XV],        3/15/2010    Yes             2,032        Inspection       Yes                                                                 Crescent City      Photo               27             D                                                                                                                                                            Bruno & Bruno, LLP             Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.co
                                                                                                                                                                                                                                                                                                                                                ZUBROWSKI, MICHAEL J
                                                                                                                     [XVI], [XVII]                                                     Showing Floor                      0.79              $86.78           $176,336.96                                                                                                           Owner as of 6/9/15              Tax Records + Title/Deed           8/20/2008           Current Owner                                         855 Baronne Street                                   m                                    $0.00
                                                                                                                                                                                                                                                                                                                                                ETUX
                                                                                                                                                                                      Plan and Under                                                                                                                                                                                                                                                                                                                            New Orleans, 70113
 2946    Ex 10/79   Sherman, Louise                   11107 Ancient Futures Drive    Tampa           FL      33647   [XV], [XVI],              7/5/2011     No              2713        Property Tax      Yes                                                                 C&K                Photo               34, 35         B                                                                                                                                                            Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                     [XVII]                                                              Assessor's                       0.83              $91.18            $247,371                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite                                                           $0.00
                                                                                                                                                                                      Document with                                                                                                                                             SHERMAN LOUISE S                   Owner as of 6/9/15              Tax Records + Title/Deed           7/2/2008           Current Owner                                          650
 2947    Ex 10/79   Hocker, Dina                      509 E. Sheridan Unit 304       Dania Beach     FL      33004   [XV], [XVI],              7/5/2011     Yes        0              N/A             N/A                                                                     Taihe              Photo               18             I                                                                                                                                                            Allison Grant, P.A. Baron &    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                                  See Sheridan Beach
                                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                      Budd, P.C. Alters Boldt        Baron & Budd                                                                                              Club
                                                                                                                                                                                                                          0.81              $88.98               $0                                                                             HOCKER,DENNIS S &                                                                                                                                                                                                                                                         $0.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Brown Rash & Culmo             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                HOCKER,DINA M                      Owner as of 6/9/15              Tax Records + Title/Deed           5/23/2007          Current Owner                                          Dallas, TX 75219
 2948    Add.       Back, Charles                     1215 Magnolia Alley            Mandeville      LA      70471   [II(C)], [III],           10/7/2009    Yes             1768           Other         Yes                                                                  Taihe              Photo               17             I           BACK, CHARLES D SR ETUX            Owner as of 6/9/15              Tax Records + Title/Deed       2/15/2008            Current Owner             The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
         Taishan                                                                                                     [VII], [XV],                                                                                         0.79               86.78            $153,427                                                                                                                                                                                                                                                          701 Magazine St,                                     om                                   $0.00
         Prop.                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                              New Orleans LA 70130
 2949    Add.       Bernard, Warren and Faith         227 Mission Court              Avondale        LA      70094   [XV], [XVI],              7/5/2011     Yes             1417         Appraisal       Yes                                                                  Taihe              Photo               14             H           BERNARD,WARREN J                   Owner as of 6/9/15              City or County Tax Records Unknown                  Current Owner             The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
         Taishan                                                                                                     [XVII], [IX]                                                     Showing Floor                       0.86               94.47            $133,864                                                                                                                                                                                                                                                          701 Magazine St,                                     om                                   $0.00
         Prop.                                                                                                                                                                        Plan and Square                                                                                                                                                                                                                                                                                                                           New Orleans LA 70130
 2950    Add.       Braselman, Holly                  1206 Magnolia Alley            Mandeville      LA      70471   [II(C)], [III],           10/7/2009    Yes             2079         Appraisal       Yes                                                                  Taihe              Photo               17             I           COOK, JOHN F JR ETUX               Previous Owner, Unknown         City or County Tax Records 3/30/2007                Unknown                   The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
         Taishan                                                                                                     [VII], [XV],                                                     Showing Floor                       0.79               86.78            $180,416                                                                                                             Purchase Date                                                                                                                                701 Magazine St,                                     om                                   $0.00
         Prop.                                                                                                       [XVI], [XVII]                                                    Plan and Square                                                                                                                                                                                                                                                                                                                           New Orleans LA 70130
 2951    Add.       Carroll, Cynthia                  1220 Magnolia Alley            Mandeville      LA      70471   [II], [II(C)], [VII],     3/15/2010    Yes             1843         Appraisal       Yes                                                                  Taihe              Photo               20             I           CARROLL, CYNTHIA TAYLOR Owner as of 6/9/15                         Tax Records + Title/Deed       6/21/2007            Current Owner             The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
         Taishan                                                                                                     [XV], [XVI],                                                     Showing Floor                       0.79               86.78            $159,936                                                                                                                                                                                                                                                          701 Magazine St,                                     om                                   $0.00
         Prop.                                                                                                       [XVII]                                                           Plan and Square                                                                                                                                                                                                                                                                                                                           New Orleans LA 70130
 2952    Add.       Fineschi, Nicola                  1200 Magnolia Alley            Mandeville      LA      70471   [III], [VII], [XV],       10/7/2009    Yes             1768         Appraisal       Yes                                                                  Taihe              Photo               17             I           FINESCHI, NICOLA F ETUX            Owner as of 6/9/15              City or County Tax Records 3/29/2007                Current Owner             The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
         Taishan                                                                                                     [XVI], [XVII]                                                    Showing Floor                       0.79               86.78            $153,427                                                                                                                                                                                                                                                          701 Magazine St,                                     om                                   $0.00
         Prop.                                                                                                                                                                        Plan and Square                                                                                                                                                                                                                                                                                                                           New Orleans LA 70130
 2953    Add.       Finger, Simon and Rebecca         1844 State Street              New Orleans     LA      70115   [II(A)], [XV],            9/16/2010    Yes             5017           Other         Yes                                                                  Taihe              Photo               14, 17         H, I        FINGER SIMON & FINGER              Owner as of 6/9/15              City or County Tax Records 1/9/2006                 Current Owner             The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
         Taishan                                                                                                     [XVI], [XVII]                                                                                        0.86               94.47            $473,956                                                                          REBECCA T                                                                                                                                                                       701 Magazine St,                                     om                                   $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans LA 70130
 2954    Ex 10/79   Pena, Orlando                     824 SW 17th Street             Cape Coral      FL      33991   [II], [XV], [XVI],        3/15/2010    Yes             2136       Property Tax      Yes                                                                  ProWall            Photo                              G                                                                                                                                                            Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                     [XVII]                                                             Assessor's                        0.80              $87.88           $187,711.68                                                                                                                                                                                                                                                        27300 Riverview Center Blvd                                                               $0.00
                                                                                                                                                                                      Document with                                                                                                                                             PENA ORLANDO + BERTHA Owner as of 6/9/15                           Tax Records + Title/Deed           1/24/2006          Current Owner                                          Bonita Springs, FL 34134
 2955    RP         Long, Cleon and Porche            953 Hollymeade Circle          Newport News    VA      23602   [III(A)], [XV],           9/16/2010    Yes             1797       Property Tax      Yes                                                                  Venture Supply     Inspection Report                  K                                                                                                                                                            Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                              HILL DANA D;DEBRA                                                                                                                                                               Baron & Budd
                                                                                                                                                                                                                          0.95              104.36            $187,535                                                                          DENISE HILL &, KENNETH             Previous Owner, Did Not Own City or County Tax                                                                                                                                                                                         $0.00
                                                                                                                                                                                      Document with                                                                                                                                                                                                                                                                                                                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                      Square Footage                                                                                                                                            W HILL SR                          Property on 6/9/15          Records                                5/21/2007             1/20/2011                                           Dallas, TX 75219
 2956    Add.       Chestnut, Thomas                  3700 Lena Drive                Chalmette       LA      70043   [VII], [XV],              1/14/2011    Yes             1604       Property Tax      Yes                                                                  Taihe              Photo                              I                                                                                                                                                            Reich & Binstock               Dennis Reich, Esq.                  (713) 352-7883   DReich@reichandbinstock.c
         Taishan                                                                                                     [XVI], [XVII]                                                      Assessor's                        0.86               94.47            $151,530                                                                                                                                             City or County Tax                                                                                           4265 San Felipe, Suite 1000                          om                                   $0.00
         Prop.                                                                                                                                                                        Document with                                                                                                                                             CHESTNUT, THOMAS M.                Owner as of 6/9/15              Records                           10/15/1990          Current Owner                                          Houston, TX 77027
 2957    Ex 10/79   Lavergne, Sheral Ann              701 Sally Mae Street           Lake Charles    LA      70601   [IX], [XV],               5/5/2011     Yes             2296          Other          Yes                                                                  ProWall            Photo                              G                                                                                                                                                            Reich & Binstock               Dennis Reich, Esq.                  (713) 352-7883   DReich@reichandbinstock.c
                                                                                                                     [XVI], [XVII]                                                                                        0.87               95.57            $219,429                                                                          LAVERGNE, SHERAL                                                   City or County Tax                                                                                           4265 San Felipe, Suite 1000                          om                                   $0.00
                                                                                                                                                                                                                                                                                                                                                MAGEE                              Owner as of 6/9/15              Records                            1/1/1980           Current Owner                                          Houston, TX 77027
 2958    Add.       Reed, Corey Ike and Angelynn      32 Ike and Ann Road            McIntosh        AL      36553   [VII], [XV],              1/14/2011    Yes             1664           Other         Yes                                                                  Taihe              Photo                              I                                                                                                                                                            Whitfield, Bryson & Mason      Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
         Taishan                                                                                                     [XVI], [XVII]                                                                                        0.84               92.27            $153,537                                                                          REED CONEY IKE &                                                                                                                                                                900 W. Morgan Street                                                                      $0.00
         Prop.                                                                                                                                                                                                                                                                                                                                  ANGELYN ORSO REED                  Owner as of 6/9/15              Tax Records + Title/Deed           8/2/1999           Current Owner                                          Raleigh, NC 27603
 2959    Add.       2522 Cambronne Street, LLC c/o 2514 Cambronne Street             New Orleans     LA      70130   [II(B)], [XV],            12/6/2010    Yes             1638       Property Tax      Yes                                                                  Crescent City      Photo                              D                                                                                                                                                            Pro Se                         Michael Toso, III                   504-813-4913     michael@michaeltoso.com
         Taishan    Toso, Michael J. III                                                                             [XVI], [XVII]                                                      Assessor's                        0.86               94.47            $154,742                                                                          PATE DANIEL J                      Previous Owner, Did Not Own City or County Tax                                                                                               1215 Prytania Street, Suite 429                                                           $0.00
         Prop.                                                                                                                                                                        Document with                                                                                                                                             PATE DAISY B                       Property on 6/9/15          Records                                3/31/2006            10/24/2014                                           New Orleans, LA 70130
 2960    RP         Lopez, Rebekah                    1940 SE 23 Avenue              Homestead       FL      33035   [III], [XV],              10/7/2009    Yes             1932       Property Tax      Yes                                                                  Taishan            Photo                              J                                                                                                                                                            VM Diaz and Partners           Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                                                                                                                                                              1900 Washington Ave., Suite 402
                                                                                                                                                                                      Document with                       0.81               88.98            $171,909                                                                                                                                                                                                                                                          Miami Beach, FL 33139                                                                     $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                                                               Previous Owner, Did Not Own
                                                                                                                                                                                                                                                                                                                                                FORCAS LLC                         Property on 6/9/15          Tax Records + Title/Deed               7/18/2006             4/30/2013
 2961    Add.       Braden, Tiffany as                2024 Guerra Drive              Violet          LA      70092   [II], [VII], [XV],        3/15/2010    Yes             1000       Property Tax       No                                                                  Crescent City      Photo                              D                                                                                                                                                            Pro Se
         Taishan    Representative of the Estate of                                                                  [XVI], [XVII]                                                      Assessor's
         Prop.      Jane Bienemy, Deceased                                                                                                                                            Document with                       0.86               94.47             $94,470                                                                                                                                                                                                                                                                                                                                                    $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                                                                                               City or County Tax
                                                                                                                                                                                                                                                                                                                                                BRADEN, TIFFANY 1/8                Owner as of 6/9/15              Records                            6/28/2012          Current Owner
 2962    Add.       Adaniel, Jesus and Amy            9709 Cobblestone Creek Drive   Boynton Beach   FL      33437   [XIII], [XV],             7/5/2011     Yes             4051       Property Tax      Yes                                                                  Taishan            Photo                              J                                                                                                                                                            Pro Se                                                             561 706 9190     adaniel@brightstarhealthcar
         Taishan                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                                                                                                                                                                                                                   e.com
         Prop.                                                                                                                                                                        Document with                       0.82               90.08            $364,914                                                                                                                                                                                                                                                                                                               jadaniel@brightstarcare.co           $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                                                                       m
                                                                                                                                                                                                                                                                                                                                                BARRANTI RICHARD W                 Property on 6/9/15          Tax Records + Title/Deed               8/8/2006             10/21/2011
 2963    Add.       Fisher, Donald and Nadja          3140 N. Roman Avenue           New Orleans     LA      70117   [II], [VII], [XV],        3/5/2010     Yes             1008       Property Tax       No                                                                  Crescent City      Photo                              D                                                                                                                                                            Pro Se                         3140 N. Roman Avenue                504-861-0627
         Taishan                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70117
         Prop.                                                                                                                                                                        Document with                       0.86               94.47             $95,226                                                                                                                                                                                                                                                                                                                                                    $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                            FISHER DONALD R                                                    City or County Tax
                                                                                                                                                                                                                                                                                                                                                FISHER NADJA T                     Owner as of 6/9/15              Records                            1/30/2009          Current Owner
 2964    Add.       Gammage, Dr. Daniel               1210 Magnolia Alley            Mandeville      LA      70471   [II(C)], [VII],           1/14/2011    Yes             1743           Other         Yes                                                                  Taihe              Photo                              I                                                                                                                                                            The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
         Taishan                                                                                                     [XV], [XVI],                                                                                         0.79               86.78            $151,258                                                                          BROWN, BEMJAMIN O                  Previous Owner, Did Not Own                                                                                                                  701 Magazine St,                                     om                                   $0.00
         Prop.                                                                                                       [XVII]                                                                                                                                                                                                                     ETUX                               Property on 6/9/15          Tax Records + Title/Deed               1/30/2008             5/16/2011                                           New Orleans LA 70130
 2965    Add.       Marshall, Gregory                 1912 12th Street               Pascagoula      MS      39567   [III]                     10/7/2009    Yes              725       Property Tax       No                                                                  Taishan/ ProWall   Photo                              G, J                                                                                                                                                         Pro Se                         1912 12th Street                    662-834-2376
         Taishan                                                                                                                                                                        Assessor's                                                                                                                                                                                                                                                                                                                              Pascagoula, MS 39567                228-233-7176
         Prop.                                                                                                                                                                        Document with                       0.84               92.27             $66,896                                                                                                                                                                                                                                                                                                                                                    $0.00
                                                                                                                                                                                      Square Footage
                                                                                                                                                                                                                                                                                                                                                MARSHALL GREGORY K                 Owner as of 6/9/15              Tax Records + Title/Deed           8/8/2007           Current Owner
 2966    Ex 10/79   Prokopetz, Jerry, Jason and       2548 Deerfield Lake Court      Cape Coral      FL      33909   [III], [IX], [XV],        10/7/2009    Yes             1630       Property Tax      Yes                                                                  ProWall            Photo                              G                                                                                                                                                            Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                    Linda                                                                                            [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                                                                                                                               Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                                      Document with                       0.80               87.88            $143,244                                                                          PROKOPETZ JASON R +                                                                                                                                                           300                                                                                         $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                            PROKOPETZ JERRY R +                                                                                                                                                           Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                                PROKOPETZ LINDA J/T                Owner as of 6/9/15              Tax Records + Title/Deed           4/24/2008          Current Owner
 2967    Ex 10/79   Ceminsky, Gerald and Margaret 2572 Keystone Lake Drive           Cape Coral      FL      33993   [IX], [XV],               5/5/2011     Yes             1630       Property Tax      Yes                                                                  ProWall            Photo                              G                                                                                                                                                            Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                                                                                                                               Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                                      Document with                       0.80               87.88            $143,244                                                                          NAUSTDAL DONNA M TR                                                                                                                                                           300                                                                                         $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                            FOR NAUSTDAL FAMILY                Previous Owner, Did Not Own                                                                                                                Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                                TRUST                              Property on 6/9/15          Tax Records + Title/Deed               3/28/2008              3/6/2015
 2968    Ex 10/79   Batra, Vinod                      2565 Deerfield Lake Court      Cape Coral      FL      33993   [III], [IX], [XV],        10/7/2009    Yes             1630       Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                            Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                                                                                                                               Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                                      Document with                       0.80               87.88            $143,244                                                                                                                                                                                                                                                        300                                                                                         $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                                                               Previous Owner, Did Not Own                                                                                                                Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                                IULA FRANCIS                       Property on 6/9/15          Tax Records + Title/Deed               4/30/2008              5/1/2012
 2969    Ex 10/79   Dowdy, Alfred and Joyce           2553 Deerfield Lake Court      Cape Coral      FL      33993   [IX], [XV],               5/5/2011     Yes             1630       Property Tax      Yes                                                                  ProWall            Photo               43             G                                                                                                                                                            Roberts & Durkee PA Milstein C. David Durkee, Esq.                 (305) 442-1700   durkee@rdlawnet.com
                                                                                                                     [XVI], [XVII]                                                      Assessor's                                                                                                                                                                                                                                                                                               Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                                      Document with                       0.80               87.88            $143,244                                                                                                                                                                                                                                                        300                                                                                         $0.00
                                                                                                                                                                                      Square Footage                                                                                                                                            DOWDY JOYCE TR                                                                                                                                                                Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                                FOR JOYCE DOWDY TRUST Owner as of 6/9/15                           Tax Records + Title/Deed           4/8/2008           Current Owner
                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 20912-1 Filed 08/22/17 Page 82 of 82



Claimant Source     Claimant Name                    Affected Property Address   City           State   Zip     Omni(s)              Date of Earliest PPF      Verified      Type of      Counsel's                                                               Product Brand(s)   Type of Indicia       Markings #     Product                                                                                                                                                    Counsel                       Counsel Address                  Counsel Phone    Counsel Email                                NOTES
                                                                                                                                                                                                        2017 RS Means
Identifier                                                                                                                            Filed Taishan (Yes/No)   Square      Verficiation  Declaration                        2017 Cost Per SF   2017 Remediation                                            from Taishan   Bucket(s)                                                                                                                        Sell Date if Applicable
                                                                                                                                                                                                      Residential Location                                                                                                                   Current Owner as of            Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per                                                                                                                                       Prior Settlement
                                                                                                                                          Omni                 Footage       Provided     Verifying                        [B = A x $109.85]       Damages                                                 Product ID                                                                                                                                       or Current Owner Per
                                                                                                                                                                                                            Factor                                                                                                                     May-August 2017 Per Brown Greer      Claimant Per Brown Greer               Greer                 Brown Greer                                                                                                                                       Payment(s)- REDACTED
                                                                                                                                                                           Uploaded to Square Footage                                              [SF x B]                                                Catalog                                                                                                                                              Brown Greer
                                                                                                                                                                                                              [A]
                                                                                                                                                                             Sharefile
 2970    Ex 10/79   Epstein, Kim                     2556 Keystone Lake Drive    Cape Coral     FL      33993   [IX], [XV],            5/5/2011     Yes         1630       Property Tax     Yes                                                                   ProWall            Photo                 44             G                                                                                                                                                          Roberts & Durkee PA Milstein C. David Durkee, Esq.             (305) 442-1700   durkee@rdlawnet.com
                                                                                                                [XVI], [XVII]                                               Assessor's                                                                                                                                                                                                                                                                                               Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                          Document with                      0.80                87.88            $143,244                                                                                                                                                                                                                                                        300                                                                             $0.00
                                                                                                                                                                          Square Footage                                                                                                                                              MAES CHRISTIAN +                   Previous Owner, Did Not Own                                                                                                              Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                      DAVE ANNETTE H/W                   Property on 6/9/15          Tax Records + Title/Deed            4/22/2008              4/22/2011
 2971    Ex 10/79   Schneider-Christians, Michael    2549 Deerfield Lake Court   Cape Coral     FL      33909   [III], [XV],           10/7/2009    Yes         1630       Property Tax      Yes                                                                  ProWall            Photo                 43             G                                                                                                                                                          Roberts & Durkee PA Milstein C. David Durkee, Esq.             (305) 442-1700   durkee@rdlawnet.com
                    and Verena                                                                                  [XVI], [XVII]                                               Assessor's                                                                                                                                                                                                                                                                                               Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                          Document with                       0.80               87.88            $143,244                                                                                                                                                                                                                                                        300                                                                             $0.00
                                                                                                                                                                          Square Footage                                                                                                                                                                                 Owner as of 6/9/15, No Longer                                                                                                            Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                      LANG TIMOTHY & RUTH                Owns Property                 Tax Records + Title/Deed          4/19/2008              6/20/2016
 2972    Ex 10/79   Suarez, Humberto                 208 SE 6th Street           Cape Coral     FL      33990   [III], [IX], [XV],     10/7/2009    Yes         1961       Property Tax      Yes                                                                  ProWall            Photo                 43, 44         G                                                                                                                                                          Roberts & Durkee PA Milstein C. David Durkee, Esq.             (305) 442-1700   durkee@rdlawnet.com
                                                                                                                [XVI], [XVII]                                               Assessor's                                                                                                                                                                                                                                                                                               Adelman LLP                  2665 South Bayshore Drive Suite
                                                                                                                                                                          Document with                       0.80               87.88            $172,333                                                                                                                                                                                                                                                        300                                                                             $0.00
                                                                                                                                                                          Square Footage                                                                                                                                              EMBORSKY EUGENE F +                Previous Owner, Did Not Own                                                                                                              Coconut Grove, FL 33133
                                                                                                                                                                                                                                                                                                                                      JANE A                             Property on 6/9/15          Tax Records + Title/Deed            8/23/2007              11/7/2011
 2973    RP         Anderson, Michael and Renee      17101 83rd Place North      Loxahatchee    FL      33470   [II(A)], [IX],         9/16/2010    Yes         2801       Property Tax       No                                                                  BNBM/ BNBMDB Photo                       22, 24         A                                                                                                                                                          McIntosh, Sawran, Peltz &     Manuel Comras, Esq.              (561) 659-5970   MRC@bclmr.com
                                                     Loxahatchee, FL 33470                                      [XV], [XVI],                                                Assessor's                                                                                                                                                                                                                                                                                               Cartaya, PA                   1601 Forum Place, Suite 400
                                                                                                                [XVII]                                                    Document with                       0.82               90.08            $252,314                                                                                                                                                                                                                                                         West Palm Beach, FL 33401                                                      $0.00
                                                                                                                                                                          Square Footage                                                                                                                                                                                 Previous Owner, Did Not Own
                                                                                                                                                                                                                                                                                                                                      CRUZ FREDYS                        Property on 6/9/15          Tax Records + Title/Deed             8/5/2005              10/2/2014
 2974    Add.       Magdalena Gardens Condo          240 West End Avenue, Unit   Punta Gorda    FL      33950   [II], [XV], [XVI],     3/5/2010     Yes         1300          Other          Yes                                                                  Taishan            Photo                                J                                                                                                                                                          Allison Grant, P.A. Baron &  Russell Budd, Esq.                (214) 521-3605   rbudd@baronbudd.com
         Taishan    Association (Albacete, Alfonso   1313                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                               Budd, P.C. Alters Boldt      Baron & Budd
                                                                                                                                                                                                              0.80               87.88            $114,244                                                                            ALBACETE ALFONSO G &                                                                                                                                                                                                                                      $15,841.30
         Prop.      and Anzola, Francisco)                                                                                                                                                                                                                                                                                                                                                                                                                                           Brown Rash & Culmo           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                      FG ANZOLA                          Owner as of 6/9/15             Tax Records + Title/Deed          1/3/2007           Current Owner                                        Dallas, TX 75219
 2975    Add.       Purse, Jason                     4309 Creeksdie Loop         Williamsburg   VA      23188   [II]                   3/5/2010     No           973       Property Tax      Yes                                                                  Venture Supply     Delivery Invoice &                   K                                                                                                                                                          Colson, Hicks, Eidson Levin, Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
         Taishan                                     Williamsburg, VA 23188                                                                                                 Assessor's                                                                                               Property Assessment                                                                                                                                                                             Fishbein, Sedran & Berman    Colson, Hicks, Eidson
         Prop.                                                                                                                                                            Document with                       0.96               105.46           $102,613                                                                                                                                                                                                                           Hausfeld LLP Law Offices of 255 Alhambra Circle, PH                                                          $0.00
                                                                                                                                                                          Square Footage                                                                                                                                              HAMBURG, MARCIA L                  Owner as of 6/9/15, No Longer City or County Tax                                                            Richard J. Serpe             Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                      TRUSTEE                            Owns Property                 Records                           9/11/2006              6/26/2017
